           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 1 of 350




            1                    UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
            2           BEFORE THE HONORABLE MIRANDA DU, DISTRICT JUDGE
                                           ---o0o---
            3

            4    AMARIN PHARMA, INC., and          :
                 AMARIN PHARMACEUTICALS            :
            5    IRELAND LIMITED,                  :
                                                   :   No.   2:16-cv-02525-MMD-NJK
            6                    Plaintiffs,       :
                                                   :   January 13, 2020
            7             -vs-                     :
                                                   :   Reno, Nevada
            8    HIKMA PHARMACEUTICALS USA         :
                 INC., et al.,                     :   Volume 1
            9                                      :
                                 Defendants.       :
           10                                      :

           11

           12                        TRANSCRIPT OF BENCH TRIAL

           13   APPEARANCES:

           14   FOR THE PLAINTIFFS:            MEAGAN P. KEANE, CHRISTOPHER N.
                                               SIPES, MICHAEL KENNEDY, JEFFREY
           15                                  ELIKAN, JOSEPH KENNEDY, ELAINA M.
                                               WHITT, BARBARA KURYS, HAN PARK,
           16                                  DANIEL J. FARNOLY and ERIC R.
                                               SONNENSCHEIN
           17                                  Attorneys at Law,
                                               Washington, D.C.
           18

08:37:23   19   FOR DEFENDANT HIKMA:           CHARLES B. KLEIN and
                                               CLAIRE A. FUNDAKOWSKI,
           20                                  Attorneys at Law
                                               Washington, D.C.
           21

           22   Reported by:                   Kathyrn M. French, CCR #392, RPR
                                               Official Reporter
           23                                  U.S. District Court
                                               Reno, Nevada
           24

           25   (Appearances continue on next page.)
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 2 of 350
                                                                                  2



            1   APPEARANCES CONTINUED:

            2

            3   FOR DEFENDANT HIKMA:         ALISON M. HEYDORN
                                             Attorney at Law
            4                                Chicago, Illinois

            5                                EIMERIC REIG-PLESSIS
                                             Attorney at Law
            6                                San Francisco, California

            7                                W. WEST ALLEN
                                             Attorney at Law
            8                                Las Vegas, Nevada

            9

08:37:38   10   FOR DEFENDANT DR.            CONSTANCE S. HUTTNER and
                REDDY'S LABORATORIES:        JAMES BARABAS
           11                                Attorneys at Law
                                             Madison, New Jersey
           12
                                             MICHAEL D. ROUNDS
           13                                Attorney at Law
                                             Reno, Nevada
           14

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           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 3 of 350
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            1          RENO, NEVADA, MONDAY, JANUARY 13, 2020, 8:30 A.M.

            2                                 ---o0o---

08:32:45    3

08:32:45    4                  THE CLERK:    2:16-cv-2525-MMD-NJK, Amarin Pharma

08:33:33    5   versus Hikma and Dr. Reddy's Laboratories.

08:36:51    6                  Your Honor, present for plaintiffs, counsel

08:36:55    7   Megan Keane, Chris Sipes, Michael Kennedy, Jeff Elikan, Joe

08:37:08    8   Kennedy, Alaina Whitt, Barbara Kurys, Han Park, Daniel

08:37:17    9   Farnoly, and Eric Sonnenschein.

08:37:20   10                  Present for Defendant Hikma, Charles Klein,

08:37:25   11   Eimeric Reig, West Allen, Claire Fundakowski, and Alison

08:37:32   12   Heydorn.

08:37:35   13                  Present for Dr. Reddy's Laboratories Connie

08:37:39   14   Huttner, Michael Rounds, and James Barabas.

08:37:42   15                  Your Honor, also present are two litigation

08:37:46   16   technology personnel.

08:37:48   17                  Present for Amarin as general counsel and

08:37:51   18   corporate representative is Joe Kennedy.       Present for Hikma

08:37:58   19   defendants is Neema Kumar, and present as in-house counsel for

08:38:03   20   DRL are Andrew Ellen and Deeph Jain.

08:38:11   21                  THE COURT:    All right.    Good morning, everyone.

08:38:13   22                  I think we should begin with the brief openings

08:38:18   23   that I agreed to permit counsel to do.       After openings, I'll

08:38:22   24   address briefly the -- well, I can address it now.

08:38:26   25                  The parties filed stipulated facts which I have
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 4 of 350
                                                                                      4



08:38:29    1   approved.   There are 234 stipulated facts.      So when you refer

08:38:33    2   to the stipulated facts, I would ask that you refer to the

08:38:35    3   number for the record, and then there's also stipulated

08:38:39    4   admitted exhibits which, for the record, I will admit as well.

08:38:43    5   It's ECF number 325.

08:38:46    6                  So when you reference exhibits that have been

08:38:50    7   stipulated to, I would ask you do that as well for the record.

08:38:53    8                  And then for my benefit, I know that counsel

08:38:56    9   used an abbreviation for triglyceride which is TG, but I think

08:39:03   10   we should come up with an abbreviation for

08:39:06   11   hypertriglyceridemia so that I don't have to say it every

08:39:12   12   time.   Would HGTD -- would that suffice?

08:39:17   13                  MR. SIPES:    Your Honor, what we've seen a lot

08:39:19   14   used as abbreviations for hypertriglyceridemia, HTG, severe

08:39:27   15   hypertriglyceridemia, SHGT, or sometimes it's referred to as

08:39:31   16   very high triglycerides which is VHTG.

08:39:36   17                  THE COURT:    So for the one I've seen used in

08:39:39   18   this case most frequently is HTG, hypertriglyceridemia.

08:39:47   19                  MR. SIPES:    HGT.

08:39:47   20                  THE COURT:    HTG.   All right.    So we'll use HTG.

08:39:49   21                  Thank you.    Let's proceed.

08:39:51   22                  MR. SIPES:    Your Honor, one other thing -- this

08:39:53   23   is Christopher Sipes for Amarin.      There's a few preliminary

08:39:57   24   matters we're hoping to address before opening statements if I

08:39:59   25   could, Your Honor.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 5 of 350
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08:40:00    1                  One, a number of exhibits have portions that are

08:40:04    2   confidential or proprietary so we just for now ask for time

08:40:09    3   for redactions after admission before they're published to the

08:40:12    4   public.   So we would appreciate that, Your Honor.

08:40:15    5                  THE COURT:    Well, and I also -- I think what

08:40:18    6   would make sense sometime today -- and if I don't need to

08:40:23    7   resolve it in the morning, I prefer to do it in the afternoon,

08:40:28    8   and that is how the -- process for presenting testimony on

08:40:32    9   sealed -- on sealed testimony basically.

08:40:36   10                  And you saw the order that I issued last Friday

08:40:39   11   that I would be very carefully reviewing what the parties

08:40:42   12   designated as confidential because, quite frankly, I don't

08:40:46   13   find that a lot of information is now proprietary.

08:40:51   14                  So I want to give you a chance to explain, and I

08:40:53   15   thought we would do it end at the of the day.        It's really

08:40:57   16   cumbersome for the Court to seal the entire courtroom every

08:41:00   17   time there's reference to sealed testimony.

08:41:02   18                  So if there's a way to arrange it, whoever is

08:41:05   19   testifying can offer the sealed testimony towards the end,

08:41:09   20   otherwise I would have to ask everyone who is not a party or

08:41:12   21   counsel to leave the courtroom, lock the courtroom, seal that

08:41:16   22   portion of the testimony, and then unseal and start over

08:41:19   23   again.

08:41:19   24                  MR. SIPES:    Your Honor, we don't anticipate

08:41:22   25   needing to seal the courtroom today.       So I think we can put
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 6 of 350
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08:41:26    1   that off.    We can -- at least on our side.

08:41:28    2                   THE COURT:   Well, does that mean that the

08:41:30    3   testimony offered by the expert that you previously designated

08:41:35    4   as sealed will now no longer be sealed if I don't seal the

08:41:38    5   courtroom?

08:41:39    6                   MR. SIPES:   I think in terms of the testimony

08:41:40    7   that we're anticipating coming in today, that would not be

08:41:44    8   confidential that would need to be sealed.

08:41:45    9                   THE COURT:   Then we can address the issue of

08:41:47   10   sealing at the end of the today.

08:41:48   11                   MR. SIPES:   That's what I believe, Your Honor.

08:41:50   12                   The parties also have worked out the process for

08:41:53   13   the submission of deposition designations if it's permissible

08:41:58   14   with the Court.

08:41:58   15                   The parties would submit a list of the parties'

08:42:01   16   deposition designations, counterdesignations and rebuttal

08:42:01   17   designations.   I can find the page and line numbers.        This

08:42:09   18   submission will be considered submission of the testimony into

08:42:10   19   evidence at that time.

08:42:11   20                   At the same time the exhibits associated with

08:42:14   21   such testimony will be moved into evidence.        At the end of the

08:42:18   22   trial the parties will submit thumb drives containing

08:42:22   23   hyperlinked versions of the deposition transcript with the

08:42:25   24   respective parties' designations highlighted in different

08:42:26   25   colors, and the exhibits will be hyperlinked for the Court's
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 7 of 350
                                                                                        7



08:42:30    1   convenience.   So we'll move it in in a timely fashion, but

08:42:33    2   we'll actually give the Court the electronic versions of the

08:42:37    3   actual testimony and exhibits at the end.

08:42:38    4                  THE COURT:    And you're giving me not just the

08:42:40    5   video depositions but the written transcript as well?

08:42:43    6                  MR. SIPES:    That's my understanding, your Honor,

08:42:45    7   and it will be highlighted to identify whether it's the

08:42:46    8   designation, the counterdesignation, or the rebuttal.

08:42:48    9                  THE COURT:    Thank you.

08:42:49   10                  MR. SIPES:    There's one evidentiary thing.       The

08:42:51   11   parties were mostly able to address and work out the

08:42:53   12   evidentiary issues.    I believe there's one remaining issue

08:42:53   13   that my colleague Alaina Whitt will address.

08:42:57   14                  Before we get there, Your Honor, I have a

08:42:59   15   private matter to discuss with the Court.       It's okay with me

08:43:03   16   if counsel comes and addresses an issue that had come up from

08:43:06   17   the court e-mail on Thursday that I was hoping to discuss with

08:43:09   18   the Court in private off the record initially just to raise

08:43:13   19   with the Court.    It's not a big issue, but I would appreciate

08:43:16   20   the opportunity.

08:43:18   21                  THE COURT:    I'm not sure I will -- I would allow

08:43:21   22   sidebar, but it would be on the record.

08:43:24   23                  MR. SIPES:    It's actually a health issue which

08:43:26   24   is why I wanted to just flag for you what it is, then you

08:43:29   25   could decide what you want to put it on the record, if that
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 8 of 350
                                                                                    8



08:43:31    1   would be possible.

08:43:32    2                    THE COURT:   Well, I can seal that part.     I'm

08:43:34    3   just uncomfortable having discussions with counsel that's not

08:43:38    4   on the record.

08:43:39    5                    MR. SIPES:   That would be fine.    Thank you.

08:43:39    6                    THE COURT:   We'll have a sidebar and that

08:43:41    7   portion of our discussion will be sealed.

08:43:43    8                    Counsel, please approach.

08:43:45    9                    MR. SIPES:   I would appreciate it.

08:43:46   10                    (Refer to a separate transcript for sealed 1)

08:46:28   11                    MR. SIPES:   With that, your Honor, I'll

08:46:30   12   introduce my colleague Alaina Whitt who has the one remaining

08:46:35   13   evidentiary issue.

08:46:36   14                    THE COURT:   Thank you.

08:46:41   15                    MS. WHITT:   Good morning.    Alaina Whitt for

08:46:44   16   plaintiffs.

08:46:44   17                    We worked out -- as Chris mentioned, we worked

08:46:45   18   out most of our evidentiary issues.        We have one remaining.

08:46:49   19                    On Saturday night defendants served an updated

08:46:51   20   exhibit list adding about 30 exhibits after filing our

08:46:55   21   complete exhibit list on Monday, pursuant to the Court's order

08:46:59   22   regarding trial.

08:46:59   23                    We -- we've objected to all but two of these

08:47:02   24   exhibits as untimely.    Two of them were created very recently.

08:47:06   25   So we have -- we are fine with those being admitted.         The
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 9 of 350
                                                                                    9



08:47:10    1   remaining --

08:47:10    2                  THE COURT:    Do I need to resolve this now?

08:47:13    3                  In other words, so, I would rather proceed and

08:47:16    4   set aside some time at the end of the day to resolve any

08:47:21    5   disputes that you have about exhibits.

08:47:23    6                  MS. WHITT:    That's fine with us, Your Honor.

08:47:24    7                  THE COURT:    All right.    I'll resolve it at the

08:47:27    8   end of the day.

08:47:28    9                  MS. WHITT:    Okay.

08:47:29   10                  THE COURT:    Anything else before we proceed with

08:47:32   11   openings?

08:47:32   12                  MR. SIPES:    No, Your Honor.

08:47:32   13                  THE COURT:    All right.

08:47:34   14                  MR. SIPES:    Good morning, Your Honor.

08:47:42   15   Christopher Sipes again on behalf of the Amarin plaintiffs.

08:47:44   16                  I want to start this case with the patients who

08:47:47   17   are at the center of the case.       All of the patent claims at

08:47:51   18   issue are claims for the treatment of patients with severe

08:47:55   19   hypertriglyceridemia which I will try to remember to refer to

08:47:55   20   as SHT or VHTG.

08:47:55   21                  THE COURT:    And if you are able to pronounce the

08:47:55   22   full word, that's fine as well.

08:48:05   23                  MR. SIPES:    So the individuals whose

08:48:09   24   triglyceride levels are very high is defined as more than

08:48:12   25   500 milligrams per deciliter in the blood.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 10 of 350
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08:48:16    1                   To give you some perspective, normal levels are

08:48:18    2   below 150 milligrams per deciliter.       So 500 and above is many

08:48:25    3   times the normal level.     In fact, their triglycerides

08:48:29    4   sometimes can get so high that the blood begins to look milky

08:48:31    5   or white.

08:48:31    6                   These are patients who are very sick, but

08:48:33    7   historically they have not been well-served by drug therapy.

08:48:37    8   So let me start with why I say that they've been very sick.

08:48:41    9                   First, they are at risk of cardiovascular

08:48:45   10   disease.    Elevated triglycerides are associated with an

08:48:46   11   increased risk of cardiovascular events like heart attacks and

08:48:50   12   strokes.    In addition, many SHT patients have diabetes or

08:48:56   13   metabolic disorder which further exacerbates the

08:48:59   14   cardiovascular risk.

08:49:02   15                   But even more seriously, they're at risk for

08:49:05   16   pancreatitis which is a life threatening inflammation of the

08:49:09   17   pancreas.   Among other things, pancreatitis can lead to the

08:49:13   18   leaking of digestive enzymes into the body cavity potentially

08:49:15   19   leading to irrevocable organ damage and death.

08:49:20   20                   So serious is the risk of pancreatitis that

08:49:23   21   reduction of triglycerides takes precedence even over

08:49:27   22   preventing heart attacks and strokes.

08:49:30   23                   The first priority with patients with severe

08:49:31   24   hypertriglyceridemia is to get their triglycerides down.

08:49:33   25   Their secondary priority after that is to address their CV
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 11 of 350
                                                                                    11



08:49:39    1   risk.

08:49:39    2                   So what causes SHT.     SHT generally results from

08:49:45    3   an underlying genetic disorder that drives up triglycerides

08:49:47    4   and interferes with the body's ability to clear them.

08:49:50    5                   Defendants in their pretrial briefing emphasize

08:49:53    6   that TGs can become elevated from AN unhealthy lifestyle.          Bad

08:49:58    7   diet, excess alcohol consumption, lack of exercise, certain

08:50:02    8   medications, can all contribute.

08:50:04    9                   We believe it's rare here, even in that case, to

08:50:07   10   get above 500 through lifestyle, and it's principally genetic.

08:50:09   11   But this is a point of dispute between the parties, whether

08:50:14   12   SHT is primarily a genetic disorder requiring chronic

08:50:17   13   treatment or an acute lifestyle disorder that can be treated

08:50:20   14   by diet and exercise alone.

08:50:22   15                   For purposes of this case we can look to

08:50:24   16   defendant's own drug labeling to tell us what kind of patients

08:50:27   17   are at issue here.

08:50:28   18                   And, Mr. Brooks, if we could pull up PX 1209.

08:50:32   19                   This is one of the defendants' proposed

08:50:34   20   labeling, Dr. Reddy's proposed labeling.        And if we look at

08:50:38   21   section 2.1, this is the section on dosage and administration,

08:50:43   22   directions to doctors on what to do before initiating drug

08:50:47   23   therapy with defendants' drugs.      Identical labeling occurs in

08:50:51   24   the other defendants' proposed labeling and in the Vascepa

08:50:55   25   labeling.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 12 of 350
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08:50:55    1                    If you look, for example, at the second bullet,

08:50:57    2   it says,

08:50:58    3                  "Patients should engage in appropriate

08:50:59    4        nutritional intake and physical activity before

08:51:01    5        receiving icosapent ethyl capsules."

08:51:05    6                    The instruction in the labeling itself is to

08:51:07    7   address those patients who can have their high triglycerides

08:51:10    8   or very high triglycerides resolved through diet and

08:51:14    9   exercise through diet and exercise.       The drug is indicated for

08:51:17   10   those patients who have the chronic form, who need drug

08:51:20   11   therapy to break their triglycerides down.

08:51:24   12                    You'll notice in the first bullet there is a

08:51:25   13   similar discussion of trying to manage and address

08:51:29   14   triglyceride elevations that occur through medications.

08:51:33   15                    So the labeling itself is telling us that the

08:51:35   16   patients at issue here are the patients with the chronic

08:51:38   17   genetic form of the disease that will require long-going drug

08:51:43   18   therapy to reduce and maintain their triglyceride levels.

08:51:47   19                    This has confirmed as well by FDA's own review

08:51:50   20   and approval of Vascepa NDA that led to the approved labeling

08:51:55   21   at issue here.

08:51:56   22                    And, Mr. Brooks, if we could pull up Plaintiff's

08:52:00   23   Exhibit 289.    This is the FDA's own Medical Review, the review

08:52:04   24   of the clinical data underlying the labeling here.         And I

08:52:07   25   should point out this is a public document.        Any interested
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 13 of 350
                                                                                   13



08:52:10    1   physician can get on FDA's website and review this document to

08:52:15    2   understand the scope of the labeling.

08:52:18    3                    If we could turn to page 00011, Mr. Brooks, we

08:52:21    4   pull up -- FDA itself says what kind of patients we were

08:52:25    5   talking about.    It says,

08:52:26    6                  "Very high triglycerides, greater than or

08:52:28    7        equal to 500 milligrams per deciliter, has a strong

08:52:31    8        genetic component and is associated with an

08:52:34    9        increasing risk for acute pancreatitis.        The most

08:52:37   10        frequently reported...defects for persons with very

08:52:41   11        high triglycerides are...."

08:52:42   12                    And it goes on to describe the genetic defects

08:52:45   13   that found in these patients.

08:52:47   14                    I won't belabor them but I will note, because

08:52:50   15   we'll come back to it, the most common defects interfere with

08:52:52   16   the action of an enzyme in the body called lipoprotein lipase

08:52:52   17   which you will hear is an enzyme that helps the body clear

08:52:52   18   triglycerides which are carried in particles called VLDL

08:53:03   19   particles, but we'll come back to that.

08:53:05   20                    Let me look as well at page 000142 of the

08:53:07   21   Medical Review, and, Mr. Brooks, if you could highlight

08:53:10   22   questions 21 and 22.     This is a very simple checklist that the

08:53:14   23   FDA has to ensure that the proper evidence has been introduced

08:53:18   24   as part of the clinical package for approval of the

08:53:21   25   indications sought.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 14 of 350
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08:53:23    1                    And you'll see, for example, question 21,

08:53:25    2                   "For chronically administered drugs, have an

08:53:28    3           adequate number of patients (based on ICH guidelines

08:53:33    4           for exposure) been exposed at the dose (or dose

08:53:36    5           range) believed to efficacious?"

08:53:38    6                    And it's checked yes.     So, in fact, Amarin did

08:53:41    7   submit sufficient data for a chronically administered drug

08:53:41    8   here.

08:53:45    9                    The next question,

08:53:45   10                   "For drugs not chronically administered

08:53:48   11           (intermittent or short course), have the requisite

08:53:51   12           number of patients been exposed as requested by the

08:53:54   13           Division?"

08:53:55   14                    And it's checked not applicable.      This is not an

08:53:57   15   acute or intermittent or short course indication.         This is a

08:54:01   16   chronically administered indication, and that's clear from

08:54:05   17   FDA's own public Medical Review.

08:54:08   18                    Now, let me go back to why did I say that these

08:54:09   19   were patients that were historically poorly served.

08:54:14   20                    Very few drugs are power enough at lowering

08:54:18   21   triglycerides to be approved as a treatment for SHT.         Until

08:54:22   22   Vascepa, every single one of them reduced triglycerides in

08:54:26   23   severely hypertriglyceridemic patients only at the expense of

08:54:31   24   dramatically raising LDL-C, the bad cholesterol, the

08:54:31   25   cholesterol that exacerbates cardiovascular risk.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 15 of 350
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08:54:37    1                   That is, until Vascepa, SHT patients could only

08:54:41    2   treat their very high triglycerides at the expense of

08:54:45    3   exacerbating their risk of CV events.       This was a concern that

08:54:48    4   was expressed in the literature very long ago.

08:54:52    5                   Mr. Brooks, if we could pull up PX 1026.

08:54:54    6                   This is an article by Carlson in The Journal of

08:54:58    7   Atherosclerosis from 1977, and it is reporting on a study of

08:55:03    8   niacin to treat very high triglycerides.

08:55:05    9                   And, Mr. Brooks, if we go to page 0007, if you

08:55:09   10   can blow up the middle paragraph.

08:55:11   11                   The article that was the clinical study reported

08:55:15   12   that LDL-C cholesterol went up very high, and the authors

08:55:22   13   observed the finding of, emphasized.

08:55:23   14                  "...major clinical concern in this report is

08:55:26   15        the sometimes quite substantial rise in LDL

08:55:30   16        cholesterol.    This may be quite atherogenic and

08:55:35   17        theoretically the benefit of lowering the VLDL,"

08:55:38   18        that's the lipoprotein that carries TGs "in these

08:55:42   19        patients may be overridden by the potential danger

08:55:48   20        due to the rise in LDL."

08:55:48   21                   So this was concern expressed all the way back

08:55:50   22   in 1977.   Since then fibrates like Fenofibrate and Lovaza and

08:55:58   23   omega-3 mixture product have been approved, but all of them

08:56:00   24   raise LDL-C in SHT patients by around 45 to 50 percent.

08:56:06   25                   To put that in perspective, a patient who came
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 16 of 350
                                                                                   16



08:56:08    1   in with an LDL of a hundred, would end up with an LDL of

08:56:12    2   around 150.    That's a serious increase in their CV risk, but

08:56:16    3   that was the price the patients had to pay in order to address

08:56:20    4   their very high triglycerides and avoid pancreatitis, and it

08:56:24    5   was a necessary price because of the seriousness of

08:56:25    6   pancreatitis.

08:56:25    7                   There were other problems with some of these

08:56:28    8   treatments.    Niacin has terrible side effects.      Fibrates have

08:56:32    9   interaction problems with statins.       But the most serious

08:56:34   10   concern was this dramatic rise in LDL-C.

08:56:38   11                   So universal was the increase in LDL-C

08:56:43   12   accompanying the reduction in triglycerides in SHT patients

08:56:47   13   that it was believed to be a necessary consequence of the TG

08:56:50   14   reduction itself rather than simply a side effect of the

08:56:54   15   particular agent used.

08:56:55   16                   I think to understand why it is helpful to go

08:56:58   17   through how TGs are carried in the blood, and we've prepared a

08:57:02   18   slide, Mr. Brooks, if you could pull that up.

08:57:04   19                   This is simple diagram of the carrying of

08:57:07   20   triglycerides in the blood.      They are made in the liver, and

08:57:11   21   they are put into a lipoprotein which is called VLDL, very

08:57:15   22   low-density lipoprotein, and it contains both triglycerides

08:57:19   23   and cholesterol.

08:57:21   24                   The triglycerides are shown in red, the

08:57:24   25   cholesterol in yellow.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 17 of 350
                                                                                    17



08:57:27    1                    And these are -- these particles pass through

08:57:27    2   the bloodstream.    The triglycerides serve as fuel for cells,

08:57:31    3   and the cholesterol is used as a precursor for things like

08:57:35    4   hormones so they're delivered to cells in the body.

08:57:37    5                    As these VLDL particles pass through the

08:57:42    6   bloodstream, an enzyme, lipoprotein lipase, helps to pick off

08:57:43    7   the triglycerides, and ultimately what happens is the VLDL,

08:57:47    8   these large VLDL particles, shrink down as the triglycerides

08:57:51    9   are removed becoming first IDL, intermediate density

08:57:51   10   lipoproteins, and then ultimately LDL, low-density

08:57:51   11   lipoproteins.

08:58:00   12                    So you can see that the VLDL particles are

08:58:02   13   cleared through removal of triglycerides to become LDL.

08:58:06   14                    What happens with very high triglyceride

08:58:10   15   patients is they're stuck.      They have trouble clearing the

08:58:13   16   VLDL, so they get a huge excess of the LDL.        They make too

08:58:17   17   much.   And then because their lipoprotein lipase enzyme is

08:58:20   18   impaired, they can't clear them.      And so they have a big

08:58:24   19   superabundance of VLDL.     That's why they have so much

08:58:27   20   triglycerides.

08:58:28   21                    When medication is given -- excuse me.      When

08:58:30   22   they get medication, that helps to clear the VLDL.         It's like

08:58:35   23   uncorking the bottle.     All that VLDL is cleared into LDL.

08:58:39   24                    So it was quite natural to believe that in

08:58:41   25   treating very high triglycerides with medication, all this
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 18 of 350
                                                                                   18



08:58:45    1   excess VLDL would clear to LDL and the LDL would go way up.

08:58:50    2   And, in fact, this reasoning continued through into 2008, for

08:58:54    3   example, the McKenney 2007 paper.

08:58:58    4                   If we could, Mr. Brooks, pull PX 923.

08:59:03    5                   So this is a publication from 2007 describing a

08:59:06    6   then relatively new omega-3 product Lovaza which had been

08:59:12    7   approved to treat very high triglycerides, and it showed about

08:59:17    8   a 50 percent rise in LDL-C.

08:59:20    9                   Mr. Brooks, if we go to page 005 and blow up the

08:59:23   10   bottom right-hand corner.

08:59:26   11                   In discussing the pharmacokinetics, the way the

08:59:29   12   product works, the authors observe,

08:59:32   13                  "Importantly, the conversion of VLDL to LDL

08:59:35   14        particles increased 93 percent under the influence of

08:59:39   15        prescription omega-3 fatty acids.       These results

08:59:43   16        illustrates that the enhanced catabolism of

08:59:46   17        triglycerides produced by prescription omega-3 fatty

08:59:48   18        acids results in less secretion and more rapid

08:59:51   19        removal of VLDL particles.      The results also show

08:59:55   20        that VLDL particles are" thus "rapidly converted to

09:00:00   21        LDL particles, thus explaining why LDL cholesterol

09:00:03   22        levels may rise in patients with very high

09:00:06   23        triglycerides when given prescription omega-3 fatty

09:00:06   24        acid therapy."

09:00:10   25                   So there was, in essence, a belief that it was
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 19 of 350
                                                                                        19



09:00:10    1   inevitable, that the necessary consequence of treating

09:00:16    2   severely hypertriglyceridemic patients to clear their

09:00:17    3   triglycerides would raise their LDL-C in patients.

09:00:20    4                   In fact, before initiating the trial that

09:00:25    5   demonstrated the effectiveness of EPA in treating very high

09:00:30    6   triglycerides, the so-called MARINE trial, Amarin convened an

09:00:33    7   expert panel, a panel of outside experts to give them advice

09:00:38    8   on the meeting.

09:00:38    9                   And, Mr. Brooks, if we pull up PX 754.

09:00:42   10                   This was the meeting of December of 2008 in

09:00:47   11   Boston.   It was a confidential meeting that Amarin convened to

09:00:50   12   advise them on this trial, the MARINE trial.

09:00:53   13                   If we go to the second page, Mr. Brooks.

09:00:55   14                   You'll see these are the main comments from

09:00:58   15   experts, and one of their comments is LDL-C --

09:01:02   16                  "LDL-C is likely to go up as it does in

09:01:06   17        virtually all TG-lowering therapies in this group of

09:01:10   18        patients."

09:01:10   19                   There was just a belief among not just people of

09:01:12   20   ordinary skill, but really even people of extraordinary skill,

09:01:16   21   that LDL-C just had to go up when you reduce triglycerides in

09:01:22   22   very high triglyceride patients.

09:01:23   23                   It turns out that's not true of EPA.       Now, we

09:01:26   24   don't exactly know why purified EPA doesn't cause this.            It

09:01:31   25   may well be the very same mechanism does result in an increase
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 20 of 350
                                                                                   20



09:01:35    1   in LDL-C, but EPA has other effects to reduce LDL-C, and we

09:01:41    2   don't really know why.

09:01:42    3                   But it turns out that after the MARINE trial

09:01:44    4   that Vascepa became the first and only treatment for severe

09:01:49    5   hypertriglyceridemia that was actually able to reduce

09:01:52    6   triglycerides in these patients without raising the LDL-C.

09:01:56    7                   This point was conceded by defendants' own

09:01:58    8   retained expert, Dr. Heinecke, and we have his testimony here

09:02:02    9   where he acknowledges that among a long string of products

09:02:05   10   that have been approved for treatment of this condition,

09:02:08   11   Vascepa stands alone as the only one that was able to reduce

09:02:12   12   triglycerides without increasing LDL-C.

09:02:15   13                   So, Mr. Brooks, if we can play that.

09:02:29   14                           (Video recording played.)

09:03:02   15                   So, Your Honor, not surprisingly, this was a

09:03:31   16   rather dramatic result.      But it's not just about numbers

09:03:34   17   because Amarin has gone on and shown that not only is Vascepa

09:03:39   18   able to reduce triglycerides without raising LDL-C but it

09:03:46   19   actually reduces cardiovascular risk, and it reduces

09:03:52   20   cardiovascular risk actually on top of a statin, and it's the

09:03:52   21   first approved treatment for that as well.

09:03:54   22                   So if we look at PX 1185 at 01, this is FDA's

09:03:59   23   press release from December 13th of last year after the

09:04:02   24   REDUCE-IT trial.

09:04:04   25                   FDA noted,
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 21 of 350
                                                                                   21



09:04:06    1                  "Vascepa is the first FDA approved drug to

09:04:09    2        reduce cardiovascular risks among patients with

09:04:14    3        elevated triglyceride levels as an add-on for

09:04:14    4        maximally tolerated statin therapy."

09:04:14    5                   Vascepa is thus the first approved treatment for

09:04:23    6   severe hypertriglyceridemia shown to provide a cardiovascular

09:04:26    7   benefit to those patients in addition to reducing their TGs.

09:04:30    8   So this is a dramatic step forward for treatment of patients

09:04:34    9   with severe hypertriglyceridemia.

09:04:37   10                   Not surprisingly, Vascepa has received industry

09:04:43   11   wide praise and recognition for this.       As soon as the first

09:04:43   12   trial, the MARINE trial, results were announced people

09:04:46   13   recognized their significance.

09:04:48   14                   If we could pull up PX 929, Mr. Brooks.

09:04:53   15                   This is a press report from 2010 on release of

09:04:57   16   the MARINE trial results.      And on the second page, Mr. Brooks,

09:05:00   17   there's quotation from Mr. Steven Nissen, of the Cleveland

09:05:05   18   clinic who is quite knowledgeable on cardiovascular matters.

09:05:09   19   He says,

09:05:10   20                  "This is real advance in the treatment of

09:05:14   21        elevated triglycerides."

09:05:16   22                   "It gives you all of the benefits without

09:05:17   23        the downside."

09:05:18   24                   He goes on to say, "There's still room for

09:05:20   25        small companies to do innovative things...."
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 22 of 350
                                                                                     22



09:05:23    1                   Similarly, PX 959, this is the editorial from

09:05:29    2   The New England Journal of Medicine after the release of the

09:05:33    3   REDUCE-IT trial which showed cardiovascular improvements.

09:05:34    4                   And, again, Mr. Brooks, if we could pull up,

09:05:39    5   thank you, the bottom paragraph there.

09:05:40    6                   The editorial goes on to say,

09:05:41    7                  "We welcome these results with surprise,

09:05:45    8        speculation, and hope.      Most surprising was the

09:05:48    9        difference between the results of REDUCE-IT and those

09:05:50   10        of many previous trials of n-3 fatty acids," which

09:05:55   11        are omega-3 fatty acids.

09:05:59   12                   So Amarin through Vascepa has had a real world

09:06:02   13   impact on the treatment of patients at risk.        In 2019 alone,

09:06:04   14   even before FDA approved the new labeling, the American

09:06:08   15   Diabetes Association, the American Heart Association, the

09:06:12   16   National Lipid Association, the European Society of

09:06:19   17   Cardiology, and the European Atherosclerosis Society, all had

09:06:19   18   charged their treatment guidelines directing them to use of 4

09:06:23   19   grams per day of purified EPA to address cardiovascular risk

09:06:26   20   in patients with elevated triglycerides.

09:06:29   21                   So Amarin has changed the practice of medicine

09:06:32   22   because of these trials.     So who is Amarin?

09:06:35   23                   Amarin is a single product company.       It has

09:06:37   24   devoted its history and resources to the development of EPA

09:06:42   25   and Vascepa.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 23 of 350
                                                                                      23



09:06:42    1                   Its conducted a number of clinical trials

09:06:45    2   through its predecessor Laxdale.      It conducted a number of

09:06:45    3   trials in CNS, neurological indications, Huntington's disease,

09:06:53    4   schizophrenia, and depression.

09:06:54    5                   These failed to meet their end points to support

09:06:56    6   their indications as many clinical trials do, but it provided

09:07:00    7   Amarin scientists with extensive and unique information on

09:07:07    8   EPA's actions in the body, and that's what then led to these

09:07:07    9   cardiovascular indications.

09:07:09   10                   The first was the MARINE trial we talked about

09:07:12   11   showing its effects in severe hypertriglyceridemia.         It then

09:07:15   12   did two subsequent cardiovascular trials, ANCHOR and

09:07:18   13   REDUCE-IT, that were addressed to show the cardiovascular

09:07:22   14   benefit, and that is where we are today.

09:07:23   15                   Who are the inventors?     You will get deposition

09:07:26   16   testimony from two of Amarin inventors, Mehar Manku.         He is a

09:07:32   17   lipidologist.    He has decades of experience with omega-3 fatty

09:07:36   18   acids and extraordinary knowledge of EPA both from the

09:07:39   19   literature and from those proprietary clinical trials from

09:07:42   20   Amarin and Laxdale.     This gave him insights into the

09:07:44   21   biological of EPA that no one else had.

09:07:47   22                   Another is Ian Osterloh.     He's a clinician with

09:07:52   23   expertise in CV drug clinical development.        In fact, he was

09:07:55   24   one of the inventors of the Viagra methods of use.         So he has

09:07:58   25   already shown the ability to perceive unexpected effects of
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 24 of 350
                                                                                   24



09:08:02    1   drugs.

09:08:03    2                    Both are older and retired and living in the

09:08:06    3   north and east of England.      Unfortunately, neither will be

09:08:10    4   here live, but you will receive extensive testimony in

09:08:12    5   deposition form from them.

09:08:12    6                    In terms of infringement, we recognize that the

09:08:12    7   Court has had extensive briefing already on the infringement

09:08:19    8   issues so I won't belabor those points this morning.         I should

09:08:22    9   note that based on the defendants' pretrial brief, I think

09:08:25   10   there's a dispute about the basic issue about how the Court

09:08:28   11   should assess inducements.

09:08:30   12                    In their pretrial brief on pages 13 to 14,

09:08:32   13   defendants assert that the existence of a substantial

09:08:37   14   noninfringing use negates an inducement to infringe.         In

09:08:39   15   essence, they're saying that as long as some physicians are

09:08:42   16   led not to carry on, to carry a noninfringing method, there's

09:08:46   17   no inducement.    That's wrong.

09:08:48   18                    In fact, the Federal Circuit recently has

09:08:50   19   rejected the defendants' exact argument, in fact, West-Ward's

09:08:55   20   own arguments, in a case called Vanda Pharmaceuticals v

09:08:59   21   West-Ward.

09:09:00   22                    They cite Warner-Lambert, a 2003 case, but in

09:09:00   23   West-Ward, 887 F.3d 1117 at 1132 to 33, they note that

09:09:00   24   West-Ward's reliance on Warner-Lambert, an off-label use case,

09:09:16   25   is misplaced, and goes on to point out that substantial
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 25 of 350
                                                                                     25



09:09:16    1   noninfringing use is not a defense to induced infringement.

09:09:21    2                   The proper standard, and they quote the

09:09:21    3   AstraZeneca and Eli-Lilly cases is,

09:09:25    4                  "Evidence that the product labeling that

09:09:27    5        defendants seek would inevitably lead some physicians

09:09:31    6        to infringe establishes the requisite intent for

09:09:34    7        inducement."

09:09:35    8                   Under this proper analysis, Your Honor, we

09:09:37    9   believe infringement here is clear because each defendants'

09:09:40   10   proposed labeling will inevitably lead some physicians to

09:09:45   11   treat some patients in accordance with the claims' methods of

09:09:47   12   treatment.   So we think inducement here is very clear.

09:09:50   13                   Let me talk briefly been obviousness.       Their

09:09:53   14   only invalidity defense is obviousness.       Defendants are not

09:09:56   15   asserting anticipation in the prior art, that is, they have

09:09:59   16   conceded that the claim methods of treating severe

09:10:07   17   hypertriglyceridemia with purified EPA are novel.         The only

09:10:07   18   question is whether the prior art renders then obvious.

09:10:10   19                   To prevail on their defense, defendants must

09:10:13   20   show with clear and convincing evidence that the prior art

09:10:16   21   itself would have motivated a person of ordinary skill in the

09:10:17   22   art to carry out the claim methods of treating severe

09:10:21   23   hypertriglyceridemia and a reasonable expectation of success

09:10:23   24   in achieving the claimed results.

09:10:26   25                   None of defendants' actual cited prior art
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 26 of 350
                                                                                   26



09:10:29    1   suggest a benefit of purified EPA in patients with severe

09:10:34    2   hypertriglyceridemia, and this a fatal flaw in defendants'

09:10:36    3   case.

09:10:37    4                   We believe that the evidence will show that this

09:10:39    5   is a distinct patient population whose therapeutic needs and

09:10:43    6   treatment response were understood to be distinct and

09:10:46    7   different from others.

09:10:47    8                   There was no prior art that provided motivation

09:10:50    9   to use purified EPA to treat severe hypertriglyceridemia, and

09:10:53   10   no reasonable expectation that doing so would provide clinical

09:10:57   11   benefits such as avoiding the rise in LDL-C that had been seen

09:11:02   12   in every prior treatment.

09:11:03   13                   Defendants' rely heavily, for example, two prior

09:11:10   14   art studies, Mori 2000 and Hayashi 1995.        Mori 2000 was

09:11:10   15   actually studying an entirely different patient population in

09:11:18   16   one with just slightly elevated TGs, and there it actually

09:11:18   17   reported a three-and-a-half percent elevation in LDL-C, and,

09:11:21   18   of course, there are even agents that reduce LDL-C in those

09:11:26   19   patients, but show a dramatic rise in LDL-C in SHT patients.

09:11:30   20                   For example, Fenofibrate will reduce LDL-C in

09:11:35   21   the very patients studied in Mori but show almost a 50 percent

09:11:36   22   increase in LDL-C in SHT patients.       SHT patients just respond

09:11:42   23   differently, and it was recognized in the art they were prone

09:11:46   24   to very high increases in LDL-C.

09:11:48   25                   The other paper that they cite to is Hayashi
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 27 of 350
                                                                                    27



09:11:51    1   1995.   Hayashi 2 was really focused on patients with lower

09:11:56    2   triglycerides.    Defendants assert that there were some

09:11:57    3   patients who happened to be in the Hayashi study.         There's

09:12:00    4   some dispute over that, but one thing is clear, there's no

09:12:03    5   reported data for those patients over 500 milligrams per

09:12:08    6   deciliter, and, indeed, the method that Hayashi used to

09:12:12    7   determine LDL-C doesn't even work in those patients so that

09:12:15    8   paper has no bearing on the treatment of severe

09:12:20    9   hypertriglyceridemia.

09:12:20   10                    So the actual prior art they rely on doesn't

09:12:24   11   render the claimed methods here obvious.        Instead, defendants

09:12:27   12   try to refocus it by focusing on Amarin's own statements, and

09:12:31   13   they cite extensively from Amarin's internal documents and

09:12:35   14   Amarin's confidential presentations or submissions to FDA.

09:12:38   15                    That is not the right path to making out an

09:12:42   16   obviousness case.    Obviously Amarin, and the inventors had

09:12:44   17   unique insights into therapeutic effects of EPA and took

09:12:49   18   advantage of them.

09:12:50   19                    If the inventors' own path were a way of showing

09:12:53   20   obviousness, there would be no valid patents.        Inventors have

09:12:57   21   unique insights, and it is improper to rely upon Amarin's own

09:13:02   22   documents to prove obviousness.

09:13:04   23                    So what is at stake in this case?

09:13:06   24                    Amarin has invested the last ten years to

09:13:09   25   developing the Vascepa product and demonstrating to FDA and
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 28 of 350
                                                                                    28



09:13:13    1   the medical community that it has significant real world

09:13:17    2   clinical benefits for patients with elevated triglycerides,

09:13:20    3   including those with severe hypertriglyceridemia.

09:13:24    4                   There can be no dispute that Amarin has

09:13:28    5   succeeded in that quest.     As FDA observed in approving a new

09:13:31    6   indication, Vascepa is the first drug approved to reduce CV

09:13:31    7   risk in patients with elevated TGs as an add-on to statins.

09:13:36    8                   Vascepa has the potential to save tens of

09:13:40    9   thousands of lives, including many patients with severe

09:13:44   10   hypertriglyceridemia, and Amarin achieved this at considerable

09:13:44   11   risk.

09:13:44   12                   Defendants' own retained expert, Dr. Heinecke,

09:13:50   13   whose testimony we saw earlier, was quoted as saying in 2008

09:13:52   14   that if FDA was going to require cardiovascular outcome

09:13:57   15   trials, we are not going to have many new approved drugs.          He

09:14:00   16   recognized at the time the expense, the risk, and the

09:14:04   17   uncertainty of trying to prove cardiovascular benefit.

09:14:08   18                   But Amarin took that risk and it succeeded.        As

09:14:11   19   Dr. Steven Nissen observed after the MARINE trial, Amarin's

09:14:15   20   story shows that there's still room for small companies to do

09:14:18   21   innovative things.     The question that this case will answer is

09:14:22   22   whether Amarin is to enjoy the fruits of its success.

09:14:24   23                   Defendants make much in their pretrial brief of

09:14:26   24   the fact that they have, quote, carved out of their proposed

09:14:29   25   labeling the new cardiovascular indication.        To be clear, this
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 29 of 350
                                                                                   29



09:14:34    1   case should and must be decided on the basis of the labeling

09:14:37    2   they are seeking, but understand that defendants, if approved,

09:14:41    3   are seeking to be deemed interchangeable and likely will be

09:14:45    4   deemed interchangeable with Vascepa, and that means regardless

09:14:48    5   of the carved-out labeling, their product will be substituted

09:14:52    6   at the pharmacy for all prescriptions including REDUCE-IT

09:14:57    7   prescriptions.

09:14:58    8                    So that doesn't change the legal analysis here,

09:15:00    9   but it does mean Amarin's future depends on this case.

09:15:04   10                    So defendants are wrong in saying that this case

09:15:06   11   is simply about Amarin's desire to block generics.         This case

09:15:11   12   is about the industry's incentive to innovate and whether the

09:15:15   13   time spent in conducting cardiovascular outcome trials, trials

09:15:19   14   which are long and expensive, will earn a reward.

09:15:23   15                    That question, I think, is why so many people

09:15:25   16   are watching this case.       This case is equally about whether

09:15:27   17   the Hatch-Waxman system provides adequate protection to

09:15:31   18   preserve the incentive to innovate, particularly in situations

09:15:35   19   like this when a clinical program requires years to complete.

09:15:39   20                    We believe the evidence here will show that

09:15:41   21   Amarin's patent claims are both infringed, and that defendants

09:15:44   22   have not met their burden to prove obviousness.

09:15:47   23                    Thank you, Your Honor.

09:15:48   24                    THE COURT:    Thank you, Mr. Sipes.

09:15:49   25                    And I should have mentioned earlier that I have
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 30 of 350
                                                                                   30



09:15:50    1   reviewed the parties' trial briefs, the plaintiffs' trial

09:15:53    2   brief as well as the defendants' sealed trial brief.

09:15:56    3                   And I think the issues are thoroughly briefed,

09:15:59    4   and I know that while the parties appeal to all these public

09:16:02    5   policies, ultimately the issues are rather straightforward in

09:16:06    6   terms of induced infringement and obviousness, but thank you.

09:16:09    7                   Let me hear from defense counsel.

09:16:16    8                   MR. KLEIN:   Thank you, Your Honor.

09:16:18    9                   We do have some slides, and while they're being

09:16:21   10   put up, I just want to bring the Court's attention to a

09:16:24   11   Federal Circuit case United States -- I'm sorry, AstraZeneca v

09:16:31   12   Apotex from 2012, and the cite 669 F.3d 1370, and it gets to

09:16:35   13   the very point Your Honor made which is that the market

09:16:38   14   realities of automatic substitution are absolutely irrelevant

09:16:42   15   to this case, and that is -- that's established law.

09:16:46   16                   Before I dive into the slides and the specific

09:16:49   17   issues of noninfringement and obviousness, I'd like to start

09:16:53   18   with an overview of the case.

09:16:56   19                   As Your Honor pointed out, this case is

09:16:59   20   straightforward.    It's about fish oil.     Fish oil has been

09:17:03   21   available as supplements and as pharmaceutical products for a

09:17:09   22   long time.

09:17:10   23                   There are five listed inventors on the

09:17:13   24   patents-in-suit.    Not one of them is coming into this court to

09:17:17   25   explain what they purportedly invented.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 31 of 350
                                                                                   31



09:17:20    1                   Normally in these cases the inventor comes in,

09:17:22    2   maybe opens up a lab notebook, talks about what was done

09:17:25    3   before the patent application, what was discovered, what was

09:17:29    4   novel that supports the very rich reward of patent

09:17:33    5   exclusivity.    That's not this case.

09:17:36    6                   The only time you're going to hear from the

09:17:38    7   inventors is in the designated testimony.        And Your Honor may

09:17:42    8   have the same impression that we had from the designated

09:17:45    9   testimony.   It's unclear what many of these inventors even

09:17:48   10   did, and, at most, all they did was help develop this Vascepa

09:17:56   11   product based on the prior art.

09:17:58   12                   There is no invention story here because there

09:18:02   13   is no invention, and so Amarin is trying to change the topic.

09:18:08   14   Instead of focusing on what Amarin did before filing its

09:18:12   15   patent application, Amarin is focusing on clinical trials that

09:18:16   16   were conducted well after the application was filed.         And, to

09:18:20   17   be clear, the evidence will show that these clinical trials

09:18:24   18   were confirmatory clinical trials.       They confirmed what was

09:18:28   19   either known in the prior art or what was reasonably expected.

09:18:32   20                   And the reward for conducting a successful

09:18:38   21   confirmatory clinical trial that results in FDA approved

09:18:42   22   indications, which is what they got, it's not patent

09:18:45   23   exclusivity, it's regulatory exclusivity, and Amarin has

09:18:50   24   already received seven-and-one-half years of regulatory

09:18:55   25   exclusivity because of its MARINE clinical trial in the first
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 32 of 350
                                                                                   32



09:19:01    1   indication, and that period of exclusivity is about to expire

09:19:04    2   at the end of this month.      And the evidence will show that

09:19:06    3   Amarin is not entitled to rely on its patents to further block

09:19:12    4   generic competition, much less for ten years.

09:19:15    5                    Now, with that, Your Honor, I would like to

09:19:18    6   start turning to the slides, and we created a simple timeline

09:19:22    7   that hopefully will orient the Court with regard to some key

09:19:27    8   events and key documents.

09:19:28    9                    And I want to start all the way back in 1991.

09:19:33   10   This is when the Japanese authorities approved a purified EPA

09:19:39   11   product called Epadel, and Epadel was indicated, among other

09:19:46   12   things, to reduce triglycerides.

09:19:49   13                    By 2007, which is before the claimed and

09:19:52   14   disputed conception date of March 2008, Epadel was 98 percent

09:19:58   15   pure.   So you're not going to hear Amarin come in this --

09:20:01   16   come -- make the claim that it invented purified EPA or that

09:20:05   17   it discovered it reduces triglycerides.       That was long known.

09:20:11   18                    In 2004, the FDA approved a product with the two

09:20:15   19   components of fish oil, EPA and DHA, for the exact method of

09:20:21   20   treatment covered by the claims, treating very high

09:20:24   21   triglycerides.

09:20:24   22                    There's a side effect in the label, and I'll

09:20:28   23   talk about that in the -- a bit later.       In some patients,

09:20:33   24   LDL-C increases, and I'll get back to that in a moment.

09:20:37   25                    In 2007 -- and you didn't hear anything about
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 33 of 350
                                                                                    33



09:20:42    1   this from counsel.     In 2007, a very significant clinical study

09:20:48    2   was published in what is one of the most prestigious

09:20:54    3   scientific publications on the planet, The Lancet, and this

09:20:59    4   publication wasn't some small study, it involved 18,000

09:21:04    5   Japanese patients and lasted about four-and-a-half years.

09:21:07    6                   And this reference, referred to as Yokoyama,

09:21:15    7   reached a conclusion that is unambiguous.        EPA is a promising

09:21:16    8   treatment for prevention of major coronary events.         Amarin

09:21:21    9   would like you to believe that they discovered this, but they

09:21:24   10   certainly did not.     This was reported in the literature back

09:21:27   11   in 2007.

09:21:31   12                   In March 2008, Amarin's documents indicate that

09:21:35   13   it's starting to prepare a submission to the FDA with regard

09:21:37   14   to Vascepa.    The code name is AMR 101.

09:21:42   15                   Now, just stepping back a moment, you heard from

09:21:45   16   counsel that before this Amarin was trying to develop EPA for

09:21:50   17   something totally different, Huntington's disease,

09:21:55   18   schizophrenia, depression, and those trials failed, and when

09:21:58   19   those trials failed, Amarin had this purified EPA and looking

09:22:02   20   for other options, and what Amarin decided to do was develop

09:22:06   21   the prior art EPA for the Lovaza indication.

09:22:09   22                   In essence, Amarin took Epadel, or an

09:22:13   23   Epadel-like product, Epadel is a lower dose, to the United

09:22:16   24   States and sought approval for an indication that had already

09:22:20   25   been approved for a similar product.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 34 of 350
                                                                                   34



09:22:22    1                   Amarin says in its internal documents that it

09:22:25    2   expects that an outcome study will not be required given the

09:22:30    3   clinical evidence already available to date.        Amarin is

09:22:34    4   relying on the prior art.

09:22:35    5                   This same document identifies not only Epadel

09:22:38    6   and JELIS, but also the Mori reference.       The Mori reference

09:22:44    7   used four grams of purified EPA.      That is the dose in the

09:22:49    8   claims.

09:22:50    9                   And Mori concluded that the LDL-C, this bad

09:22:54   10   cholesterol, increased significantly with DHA but not with

09:22:58   11   EPA.   Counsel said that there was 3.5 increase in EPA, but

09:23:03   12   that was found not to be statistically significant.         It's

09:23:06   13   essentially no increase.

09:23:07   14                   And Amarin itself relied on this prior art.

09:23:11   15   This -- this reference is not linked to the inventors as far

09:23:15   16   as I can tell, and it's before the alleged date of conception.

09:23:19   17                   About a year later, in February 2009, Amarin

09:23:24   18   files its patent application.      At this point, Your Honor,

09:23:27   19   Amarin had not used purified EPA in a single patient with very

09:23:32   20   high triglycerides.     Amarin relied solely on the prior art to

09:23:36   21   file this patent application.

09:23:38   22                   A year later, Amarin is trying to entice

09:23:43   23   investors to invest in the company for the development of

09:23:46   24   Vascepa, and to convince the investors that the Vascepa is a

09:23:51   25   promising product, Amarin tells the investors that the prior
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 35 of 350
                                                                                   35



09:23:58    1   art had already demonstrated that EPA is LDL neutral.

09:24:03    2                   This is what Amarin claims to have invented?

09:24:07    3                   In March 2010, Amarin is telling the investors

09:24:11    4   that they didn't invent it.      This is discussed in six prior

09:24:14    5   art references, none of them were authored by Amarin, and

09:24:17    6   these include the Mori reference we rely on, as well as the

09:24:17    7   Kurabayashi reference.

09:24:24    8                   It's not until November 2010 that Amarin gets

09:24:26    9   the results from the MARINE study, and, as expected, in view

09:24:30   10   of Mori and those other reference, the median LDL-C did not

09:24:37   11   increase.   So, in essence, the median data was LDL neutral,

09:24:41   12   what Amarin was telling investors.

09:24:44   13                   So Amarin prepares a manuscript, wants to

09:24:47   14   publish the results of the clinical trial data, and, of

09:24:50   15   course, Amarin has this -- their patent applications pending,

09:24:56   16   and so they prepare a manuscript and say that Vascepa did not

09:25:00   17   increase LDL-C levels, and this was an unexpected finding.

09:25:05   18   That's what they put in their manuscript.        And you can see

09:25:07   19   unexpected is actually a little smudged, and that's because

09:25:11   20   it's highlighted in the original.

09:25:13   21                   And they send this manuscript to Dr. Bays who

09:25:16   22   was the principal MARINE investigator, and Dr. Bays is not an

09:25:16   23   inventor, he's looking at this from a scientific perspective,

09:25:16   24   not from a patent perspective.

09:25:20   25                   And he writes this e-mail, and he says the
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 36 of 350
                                                                                   36



09:25:25    1   statement below that this finding that -- that Vascepa did not

09:25:30    2   increase LDL levels was unexpected is in contradiction to the

09:25:35    3   rest of the manuscript.     The manuscript cites the Mori

09:25:39    4   reference.

09:25:39    5                  "My initial sense is that it largely guts the

09:25:42    6        current storyline of the paper and the reality of

09:25:45    7        this drug development program."

09:25:48    8                    The drug development program, the reality is

09:25:54    9   that Amarin developed Vascepa based on the prior art.         That is

09:25:57   10   the reality.

09:25:57   11                    So this gets us to REDUCE-IT.     We expect you're

09:26:01   12   going to hear an awful lot about the REDUCE-IT study, but,

09:26:05   13   Your Honor, this is a side show.      REDUCE-IT is not relevant to

09:26:08   14   this case, and I'll get to that in more depth later.

09:26:13   15                    But, most importantly, the results of REDUCE-IT

09:26:15   16   were expected.    They confirmed the results of the JELIS trial.

09:26:21   17   And today, and in this trial, Amarin, I believe, is going to

09:26:27   18   try to trash the results of the JELIS trial saying that there

09:26:30   19   were methodological flaws or was unreliable.

09:26:34   20                    But at the time that's not what they said

09:26:37   21   internally.    It's not what they told investors, and it's not

09:26:39   22   what they told the FDA.

09:26:41   23                    This is letter from 2014 to the FDA from Amarin

09:26:46   24   characterizing JELIS as a very large, well-designed study, and

09:26:49   25   Amarin believes that its results should not be dismissed
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 37 of 350
                                                                                      37



09:26:52    1   lightly.    Again, JELIS found cardiovascular benefits from

09:26:55    2   purified EPA.    REDUCE-IT confirmed that.

09:26:57    3                   Turning now to the issues, the two issues

09:27:07    4   starting with noninfringement, and I want to get to the heart

09:27:10    5   of Your Honor's summary judgment ruling and start with that,

09:27:14    6   but I do want to make a couple points in response to counsel's

09:27:18    7   arguments.

09:27:19    8                   Number one, the inquiry is absolutely limited to

09:27:25    9   our label.    It doesn't include the Lovaza label.       It doesn't

09:27:30   10   include the FDA medical forms that you saw in openings.            That

09:27:34   11   is clear.

09:27:35   12                   Number two, with regard to the relevance of

09:27:37   13   substantial noninfringing use, counsel mischaracterized our

09:27:41   14   argument.    The law is clear, and this is in the Horizon case.

09:27:45   15   If there's a substantial noninfringing use, you cannot imply

09:27:51   16   inducement.    You cannot imply specific intent.      There can

09:27:55   17   still be induced infringement, but you have to point to some

09:27:56   18   language, some instruction in the label, and this gets to Your

09:28:00   19   Honor's ruling.

09:28:01   20                   Amarin has a very narrow window to prove induced

09:28:08   21   infringement in this case because the label does not

09:28:11   22   explicitly instruct doctors to use icosapent for at least

09:28:16   23   12 weeks.

09:28:16   24                   The only way they can prove inducement under the

09:28:21   25   case law is by showing that the term severe
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 38 of 350
                                                                                   38



09:28:25    1   hypertriglyceridemia necessarily means to physicians that they

09:28:27    2   have to give the drug for at least 12 weeks, and the theory,

09:28:31    3   as we understand it, is that, if doctors read the label, know

09:28:36    4   for a fact for every patient they have to give the drug for 12

09:28:40    5   weeks, well, then, maybe the label doesn't have to explicitly

09:28:44    6   say that.

09:28:45    7                   But unless doctors know severe

09:28:51    8   hypertriglyceridemia is a chronic condition requiring definite

09:28:55    9   treatment and requiring 12-week drug therapy, they cannot meet

09:28:58   10   their burden, and they will not.      The evidence will show they

09:29:01   11   will not meet their burden.

09:29:01   12                   Your Honor wanted to hear from the clinicians so

09:29:04   13   I have a few deposition quotes to give Your Honor a taste of

09:29:07   14   what you can expect to hear at trial.

09:29:09   15                   This is Dr. Budoff, Amarin's primary

09:29:14   16   infringement expert, and he concedes that roughly one fifth of

09:29:21   17   patients with severe hypertriglyceridemia are able to reduce

09:29:25   18   their triglyceride levels below 500 through diet and exercise

09:29:30   19   alone.   This is a critical concession.      Twenty percent of

09:29:35   20   patients.   And the number -- he -- Dr. Budoff is a specialist.

09:29:37   21   The number is probably higher in the general severe

09:29:43   22   hypertriglyceridemia public.

09:29:43   23                   He concedes that 20 percent of patients don't

09:29:46   24   even need any drug therapy.      Doctors know this.     When they see

09:29:50   25   the term severe hypertriglyceridemia, they know that some
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 39 of 350
                                                                                   39



09:29:53    1   patients have some -- a genetic issue, it's a very small

09:29:59    2   minority, they may need long term drug therapy, but at least

09:30:02    3   20 percent don't need any drug therapy, and all of these

09:30:05    4   patients could benefit from a short term course of icosapent

09:30:10    5   that drops the triglycerides immediately, eliminates the risk

09:30:14    6   of pancreatitis, and then the patients don't have to bother

09:30:17    7   taking four pills twice a day because they can maintain levels

09:30:22    8   below 500 with diet and exercise alone.

09:30:25    9                   Dr. Toth is Amarin's validity expert.       He

09:30:29   10   concedes that there could be circumstances where severe

09:30:33   11   hypertriglyceridemia is an acute phenomenon.        This is the

09:30:37   12   opposite of what they need to prove.

09:30:38   13                   And a classic example, Your Honor, is some

09:30:42   14   patients have a genetic predisposition to a triglyceride level

09:30:46   15   of around 400, not severe, but very high.        Those patients can

09:30:51   16   experience spikes above 500, for example, if they drink too

09:30:55   17   much alcohol, if they're smoking, if they take medications

09:30:59   18   like estrogen or corticosteroid.

09:31:02   19                   Their triglycerides can spike above 500, but

09:31:05   20   it's temporary.    If they stop drinking the alcohol, it's going

09:31:08   21   to go down.    That's an acute phenomenon, that's not a chronic

09:31:14   22   condition.

09:31:14   23                   And that testimony, Your Honor, by the way, was

09:31:15   24   not in the summary judgment record, either was this testimony

09:31:19   25   from Dr. Peck who is Amarin's FDA regulatory expert.         He
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 40 of 350
                                                                                   40



09:31:22    1   conceded that the indicated use of the Vascepa is not limited

09:31:26    2   to chronic use.    This goes to the heart of Your Honor's

09:31:29    3   question.

09:31:30    4                   FDA did not limit the indication to chronic use.

09:31:34    5   It's a broad indication.     It covers chronic patients if they

09:31:39    6   need it, but it also covers the 20 percent or more of patients

09:31:43    7   who just need a short term dose of icosapent.

09:31:50    8                   So as Your Honor already found, Amarin's expert,

09:31:53    9   Dr. Budoff, conceded the indication covers use for less than

09:31:58   10   12 weeks, so, again, it's broad.      Doctors can prescribe it for

09:32:01   11   more than 12 weeks for sure, and they do, but they can also

09:32:05   12   prescribe it for less.

09:32:06   13                   And we think Dr. Budoff is right on this point.

09:32:10   14   The only plausible way to read defendants' labels is that it

09:32:16   15   leaves treatment duration entirely to the doctor's discretion.

09:32:20   16   The label is complete indifferent as to duration of therapy.

09:32:24   17   It leaves it up to the doctor to prescribe the drug for

09:32:27   18   4 weeks, 8 weeks, 2 years, it doesn't matter, there is no

09:32:31   19   preference in the label whatsoever, and there certainly is no

09:32:35   20   instruction that doctors should prescribe the drug for at

09:32:39   21   least 12 weeks.

09:32:40   22                   And our expert, Dr. Sheinberg, will explain in

09:32:45   23   more depth why defendants' labels do not recommend, encourage,

09:32:48   24   promote, or otherwise require all -- each and every claim

09:32:52   25   limitation, in particular the 12 weeks, and we point the Court
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 41 of 350
                                                                                   41



09:32:55    1   to the two Federal Circuit decisions from last year,

09:33:00    2   Grunenthal and Horizon.

09:33:01    3                   Now, turning to obviousness, there are lot of

09:33:05    4   legal standards with regard to obviousness, and, for the most

09:33:08    5   part, we're going to leave those to the briefing, but there's

09:33:10    6   one legal standard I just want to focus on because it's very

09:33:14    7   straightforward, it's simple, and it's well-established in

09:33:16    8   Federal Circuit case law, and it relies on the KSR case from

09:33:22    9   the US Supreme Court, and this is the standard.

09:33:24   10                  "For an invention to be obvious to try, there

09:33:25   11        must be a finite number of known choices in the prior

09:33:29   12        art and a reasonable expectation of success with a

09:33:32   13        choice that is tried."

09:33:33   14                   Not a definite expectation, a reasonable

09:33:36   15   expectation, and we submit the evidence will show it was at

09:33:39   16   the very least obvious to try purified EPA in patients with

09:33:44   17   severe hypertriglyceridemia to avoid LDL-C increases.

09:33:50   18                   For example, if you start with the Lovaza

09:33:53   19   product, this was an FDA approved product for the claimed

09:33:55   20   method of treatment, very high triglycerides, 4 grams per day,

09:33:58   21   the claim dose.

09:33:59   22                   Lovaza label talks about two clinical trials,

09:34:03   23   six weeks, 16 weeks, so, like Vascepa, it could be used for

09:34:07   24   less than 12 weeks or more than 12 weeks.        The only difference

09:34:07   25   is that Lovaza, unlike the claims, includes the DHA component
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 42 of 350
                                                                                   42



09:34:17    1   of fish oil.

09:34:17    2                   And as I mentioned at the beginning, in some

09:34:20    3   patients Lovaza causes an increase in the bad cholesterol,

09:34:24    4   this LDL-C, and we submit this warning in the Lovaza PDR

09:34:30    5   raises a question that is incredibly obvious, and you don't

09:34:35    6   need an M.D. to ask this question.

09:34:36    7                   If you have an LDL side effect in a product that

09:34:41    8   is two active ingredients, EPA and DHA, the obvious question

09:34:47    9   is, is the side effect from only one of them, and there's a

09:34:50   10   finite number of answers.      It's either EPA causing the side

09:34:54   11   effect, DHA, or both of them.      Three options.

09:34:57   12                   That would have been obvious to a skilled

09:35:00   13   artisan, and the skilled artisan who have looked for prior art

09:35:04   14   to see is there prior art that talks about whether LDL-C is

09:35:04   15   associated with either DHA or EPA.

09:35:11   16                   And a skilled artisan would have found this Mori

09:35:14   17   reference.   This Mori reference hits this dead on.        The

09:35:18   18   purpose of this clinical study was to see if there were

09:35:21   19   different effects on lipids from DHA and EPA.

09:35:21   20                   They used 4 grams of EPA, the claim dose,

09:35:26   21   compared it to 4 grams of DHA in a 59-person trial, and the

09:35:34   22   finding was that LDL cholesterol increased significantly with

09:35:36   23   DHA but not with EPA.

09:35:39   24                   And there are two other studies that counsel

09:35:40   25   mentioned, Hayashi and Kurabayashi, and these are consistent
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 43 of 350
                                                                                      43



09:35:44    1   with Mori's findings because they both found that EPA had no

09:35:48    2   statistically significant effect on LDL-C.

09:35:52    3                    So as you'll see from Amarin's own documents,

09:35:57    4   the only evidence out there is that EPA did not increase

09:36:00    5   LDL-C.   We don't know why, as counsel said, but the -- but the

09:36:04    6   reasonable expectation was that if you take EPA, you're not

09:36:07    7   going to get that side effect.

09:36:09    8                    So it was, at a minimum, obvious to try the

09:36:12    9   4-gram purified EPA dose in Mori for the Lovaza indication to

09:36:18   10   see if you can reduce the triglycerides, which pure EPA does,

09:36:23   11   without the Lovaza side effect.      It's that simple.     That's

09:36:27   12   what the obviousness case is about.

09:36:28   13                    Amarin makes a number of arguments.      We didn't

09:36:31   14   hear this one, but Amarin in the briefs disputes that it would

09:36:35   15   be obvious to use the 4-gram dose.       We find that argument

09:36:40   16   remarkable because Mori itself used the 4-gram dose, and

09:36:44   17   Amarin's expert concedes there are at least six prior art

09:36:48   18   references showing that 4 grams pure EPA reduces

09:36:48   19   triglycerides.

09:36:51   20                    Amarin also argues that these studies mainly

09:36:54   21   focus on patients who had triglycerides below 500, and that's

09:36:59   22   not surprising, Your Honor, because it's rare to have

09:37:01   23   triglycerides over 500.     This is not a common occurrence.

09:37:04   24   This is a rare condition, and it's extremely rare to have this

09:37:08   25   genetic condition for severe hypertriglyceridemia.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 44 of 350
                                                                                   44



09:37:11    1                   But as you saw from the in limine briefing,

09:37:15    2   Amarin made the same argument to the patent office and

09:37:18    3   submitted the declaration of a statistician, Dr. Lavin, who

09:37:22    4   mischaracterized the prior art and led the examiner to reach

09:37:22    5   this finding in the notice of allowance.

09:37:29    6                  "The prior art does not teach the

09:37:30    7        administration of EPA to patients with triglycerides

09:37:33    8        above 500."

09:37:34    9                   That's what the examiner found, and everyone

09:37:37   10   agrees now that that is not correct.       Dr. Toth, Amarin's

09:37:42   11   expert, concedes that purified EPA was used in the prior art

09:37:47   12   to treat patients above 500.      Amarin did not invent that

09:37:51   13   method.

09:37:51   14                   A skilled artisan had a reasonable expectation

09:37:56   15   of success because each and every claim limitation was

09:37:59   16   disclosed in the prior art, at least in one prior art

09:38:03   17   reference, sometimes multiple references.

09:38:05   18                   Now, to be sure, Amarin crafted its patent

09:38:08   19   claims carefully to narrowly describe the method so that

09:38:12   20   there's not one particular reference that happens to hit every

09:38:16   21   single claim limitation.     So counsel is right, this is not an

09:38:19   22   anticipation case, but all the claims, all the asserted

09:38:24   23   claims, were obvious.

09:38:25   24                   Now, one of the arguments Amarin makes is that

09:38:28   25   the prior art was before the examiner, but the examiner
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 45 of 350
                                                                                   45



09:38:32    1   found -- even despite the misrepresentation from Dr. Lavin,

09:38:37    2   the examiner found that the prior art references led him to

09:38:41    3   the conclusion that it will be obvious to treat patients

09:38:46    4   having triglycerides above 500 with 96 percent pure EPA.

09:38:52    5                   The examiner read the prior art the same we did.

09:38:55    6   The examiner issued the patent only based on the secondary

09:38:58    7   considerations, unexpected results and long-felt need, and as

09:39:01    8   I'll explain in a moment, the examiner made mistakes.

09:39:08    9                   Unexpected results, just to be clear, the

09:39:09   10   examiner wasn't relying on REDUCE-IT, REDUCE-IT came later.

09:39:11   11   The examiner relied on MARINE, and MARINE showed an

09:39:15   12   8.5 percent reduction in apo B, it's a lipid marker.

09:39:20   13                   But the examiner overlooked one of the

09:39:22   14   references, Kurabayashi, which showed a seven percent

09:39:27   15   reduction in apo B from pure EPA.       So that apo B reduction was

09:39:31   16   not an unexpected result.

09:39:33   17                   The examiner also found a long-felt unmet need

09:39:38   18   in view of the Lovaza warning that we talked about, but the

09:39:42   19   examiner didn't appreciate -- keeping in mind, of course, this

09:39:46   20   is an ex parte proceeding, the examiner didn't appreciate that

09:39:49   21   in practice this LDL-C increase was routinely addressed with

09:39:57   22   statins, and Amarin's own validity contentions concede this.

09:40:01   23                   Lovaza was a blockbuster drug.      This LDL-C

09:40:05   24   increase was not in any way stopping doctors or patients from

09:40:09   25   use being Lovaza.    If there was an LDL-C increase, the
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 46 of 350
                                                                                    46



09:40:12    1   patients took a statin.

09:40:14    2                   Now, there was still a motivation in the art, if

09:40:16    3   you could avoid that LDL-C increase, you would.

09:40:19    4                   So this gets us to REDUCE-IT, and there are two

09:40:24    5   independent reasons for why REDUCE-IT is irrelevant.          Already

09:40:28    6   touched on the fact that the REDUCE-It results were

09:40:31    7   confirmatory, they confirmed the JELIS trial results.

09:40:35    8                   Amarin argues that the JELIS study has numerous

09:40:39    9   methodological flaws.     This is contrary to what Amarin said in

09:40:43   10   its internal documents to the FDA and to its investors.

09:40:47   11                   Now, Amarin's point, to be fair, is that FDA

09:40:50   12   didn't find that JELIS was sufficient to approve the new

09:40:53   13   cardiovascular indication, and that is true.        But the

09:40:56   14   standards for FDA, as the case law, the Allergan v Sando makes

09:41:02   15   clear, much, much higher than the standard for reasonable

09:41:05   16   expectation of success.     We have a reasonable expectation of

09:41:08   17   success because of the Lancet article, the Yokoyama JELIS

09:41:14   18   trial.

09:41:15   19                   Just a few months ago Amarin is still telling

09:41:18   20   the FDA that the REDUCE-IT results, the cardiovascular

09:41:22   21   benefits, are consistent with JELIS, and we submit this

09:41:26   22   PharmaStem case gets to the heart of issue.        Scientific

09:41:31   23   confirmation of what was already believed to be true may be a

09:41:34   24   valuable contribution but it does not give rise to a

09:41:37   25   patentable invention, and we submit that is this case is in a
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 47 of 350
                                                                                   47



09:41:42    1   nutshell.

09:41:42    2                   REDUCE-IT is also irrelevant because there's no

09:41:46    3   nexus to the claims.     Regardless of JELIS, there's no nexus.

09:41:51    4   The claims obviously require triglycerides over 500.         The vast

09:41:55    5   majority of prescriptions are for patients with triglycerides

09:41:58    6   under 500.    That's to continue to reduce triglycerides or

09:42:03    7   because of the cardiovascular effects seen in JELIS and

09:42:06    8   REDUCE-IT.    That's the vast majority of prescriptions in this

09:42:10    9   case, and it's probably going to go up now that there's a new

09:42:13   10   indication.

09:42:14   11                   REDUCE-IT, and this is important, Your Honor, is

09:42:16   12   separately patented.     Amarin has a lot of patents covering the

09:42:20   13   REDUCE-IT method.    The REDUCE-IT method is completely

09:42:23   14   different from the claim method of reducing triglycerides.

09:42:26   15   REDUCE-IT is not even focused on reducing triglycerides.

09:42:31   16                   Leads me to my last point, your Honor, is that

09:42:33   17   Amarin -- Amarin has four clinical experts, none of them are

09:42:36   18   independent.

09:42:37   19                   Here is an Amarin document talking about its

09:42:40   20   speakers bureau, and these are three of their experts,

09:42:44   21   Dr. Toth, Dr. Mason, Dr. Budoff; the fourth one, Dr. Ismail.

09:42:48   22   They're all on Amarin's payroll, and they literally have

09:42:52   23   received hundreds of thousands of dollars unrelated to this

09:42:56   24   case.

09:42:56   25                   And we think this is important because if the
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 48 of 350
                                                                                   48



09:42:58    1   experts come and take the stand and try to contradict the

09:43:00    2   deposition testimony that we looked at, or they try to offer

09:43:03    3   opinions that directly conflict with what Amarin said at the

09:43:08    4   time, or to investors, or to the FDA we, submit that this lack

09:43:13    5   of independence becomes very relevant.

09:43:15    6                    All of our experts are independent.

09:43:20    7                    And, with that, Your Honor, we submit that

09:43:22    8   judgment should be entered for defendant on both the issues of

09:43:26    9   noninfringement and obviousness.

09:43:29   10                    Thank you.

09:43:30   11                    THE COURT:   Thank you.

09:43:35   12                    All right.   With that, we'll begin with -- I

09:43:38   13   plan to take our morning break around -- in about 30 minutes

09:43:42   14   or so, but perhaps we could begin with the first witness

09:43:47   15   finally?

09:43:47   16                    MS. KEANE:   Your Honor, Meagan Keane on behalf

09:43:50   17   of plaintiffs.    The plaintiffs call Dr. Steve Ketchum.

09:44:14   18                    And, Your Honor, while Dr. Ketchum is getting

09:44:17   19   settled, we do have a witness binder for the witness as well

09:44:20   20   as opposing counsel.     Our understanding is that Your Honor

09:44:23   21   would prefer not to have a witness binder, but we have extra

09:44:27   22   copies if you would like.

09:44:28   23                    THE COURT:   Thank you.

09:44:28   24                    MS. KEANE:   May we approach and hand out the

09:44:31   25   binders?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 49 of 350
                                                                                   49



09:44:31    1                    THE COURT:   Yes.

            2                    MS. KEANE:   Thank you.

            3                           STEVE KETCHUM,
                        called as a witness on behalf of the Plaintiff,
            4                 was sworn and testified as follows:
09:44:41
09:44:41    5                THE CLERK:   Please be seated.

09:44:44    6                State for the record your full name and spell your

09:44:55    7   last name.

09:44:55    8                    THE WITNESS:   My name is Steve Ketchum;

09:45:01    9   S-t-e-v-e, K-e-t-c-h-u-m.

09:45:07   10                             DIRECT EXAMINATION

09:45:07   11   BY MS. KEANE:

09:45:08   12    Q   Good morning, Dr. Ketchum.

09:45:10   13                Dr. Ketchum, are you currently employed?

09:45:12   14    A   Yes, I am.

09:45:13   15    Q   Where are you currently employed?

09:45:15   16    A   I'm employed at Amarin Pharma, Incorporated.

09:45:18   17    Q   What is your position at Amarin?

09:45:20   18    A   I'm a senior vice-president, president of research and

09:45:28   19   development, and the chief scientific officer at Amarin.

09:45:28   20    Q   What your responsibilities at Amarin?

09:45:29   21    A   They encompass all of the technical disciplines that flow

09:45:32   22   into drug development at Amarin, so that includes all the

09:45:36   23   scientific disciplines, including chemistry, manufacturing,

09:45:41   24   controls, regulatory affairs, clinical development, statistics

09:45:47   25   and data management, and program management.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 50 of 350
                                                                                     50



09:45:49    1    Q      When did you join Amarin?

09:45:51    2    A      I joined in February of 2012.

09:45:54    3    Q      And could you briefly explain what is Amarin.      Tell us

09:45:58    4   about Amarin.

09:45:59    5    A      So Amarin is a pharmaceutical company that's focused on

09:46:03    6   developing cardiovascular therapies for unmet medical needs.

09:46:09    7    Q      And does Amarin have any products?

09:46:11    8    A      Yes, Amarin has one commercialized product.

09:46:14    9    Q      And what is that product?

09:46:15   10    A      Its name is Vascepa Icosapent Ethyl Capsules.

09:46:21   11    Q      Are you familiar with the regulatory history of Vascepa?

09:46:24   12    A      Yes.   My responsibilities at Amarin encompass the

09:46:28   13   regulatory domain so I am familiar with the regulatory

09:46:31   14   aspects.

09:46:32   15    Q      And after you joined Amarin in 2012, did you do anything

09:46:35   16   to familiarize yourself with the regulatory history of Vascepa

09:46:40   17   prior to your time at the company?

09:46:41   18    A      Yes.   So I was recruited into Amarin in the middle of the

09:46:47   19   original NDA review clock for Vascepa, specifically brought in

09:46:52   20   based on my development and regulatory expertise.

09:46:56   21                  So one of the first aspects I did upon joining the

09:47:00   22   company was ensure that I was familiar with that regulatory

09:47:03   23   background with the original NDA application that had been

09:47:09   24   submitted to FDA and the history leading up to that point in

09:47:13   25   time.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 51 of 350
                                                                                   51



09:47:13    1    Q   Are you also familiar with the clinical development of

09:47:17    2   Vascepa?

09:47:17    3    A   Yes, I am.    Again, in my role at Amarin I was brought in

09:47:24    4   to head up clinical research and development, and so I needed

09:47:28    5   to familiarize myself with both the completed studies and any

09:47:34    6   other studies that were designed and underway.

09:47:38    7    Q   What is the active ingredient in Vascepa?

09:47:41    8    A   The active ingredient, its generic name is icosapent

09:47:41    9   ethyl, and what it is, it's an ethyl ester form of a highly

09:47:41   10   purified -- a purified form of eicosapentaenoic acid or EPA

09:47:41   11   which is an omega-3 acid.

09:47:45   12    Q   And what do you mean by highly purified?

           13    A   What I mean is that Vascepa and icosapent ethyl, the

           14   product is sourced, originally sourced, from fish derived

           15   material which contains a range of omega-3s, omega-6 and other

           16   chemical compounds in it just naturally, and to obtain the

           17   single entity, highly purified EPA you have to do a series of

           18   basically manufacturing steps, purifications, distillations,

09:48:01   19   in order to remove those non-EPA compounds.

09:48:01   20    Q   Is Vascepa approved in the U.S.?

09:48:46   21    A   Yes.   Vascepa is approved in the United States.

09:48:50   22    Q   And what conditions is Vascepa approved to treat?

09:48:53   23    A   It's currently approved for two different indications.

09:48:58   24               The first indication was approved in July of 2012 as

09:49:05   25   an adjunct to diet to reduce triglycerides in adult patients
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 52 of 350
                                                                                   52



09:49:11    1   with severe hypertriglyceridemia, and that means that the

09:49:16    2   patients had triglycerides levels greater than or equal to

09:49:19    3   500 milligrams per deciliter.

09:49:22    4              And then more recently, in December of 2019, Vascepa

09:49:26    5   was approved as an adjunct to maximally tolerate its statin

09:49:32    6   therapy to reduce cardiovascular risk in adult patients with

09:49:38    7   elevated triglycerides characterized by triglyceride levels

09:49:43    8   greater than or equal to 150 milligrams per deciliter, and

09:49:48    9   those patients had other risk factors for cardiovascular

09:49:53   10   disease.

09:49:53   11    Q   Why was Vascepa developed?

09:49:54   12    A   Vascepa was developed to address a number of unmet

09:50:00   13   medical needs.

09:50:01   14    Q   And what are those unmet medical needs?

09:50:04   15    A   They're the unmet medical needs that are -- ultimately

09:50:10   16   led to the indications that I just described.

09:50:13   17              So the first was in patients with severe

09:50:20   18   hypertriglyceridemia.     There are number of other treatment

09:50:22   19   options, but the unmet medical need was developing Vascepa to

09:50:32   20   achieve those robust triglyceride reductions that are the

09:50:36   21   primary lipid abnormality in those patients, but to do so

09:50:41   22   without increasing LDL-C, which is bad cholesterol, and to do

09:50:46   23   so in a way that had a favorable side effect profile that was

09:50:53   24   differentiated from some of those existing products.

09:50:56   25    Q   And did Vascepa successfully meet this need?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 53 of 350
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09:50:59    1    A   Yes.   In the study that we called MARINE, we showed that

09:51:04    2   the product could achieve those objectives.

09:51:07    3    Q   And you mentioned there was a second need as well, and

09:51:10    4   what need was that?

09:51:11    5    A   Yeah, so, the other unmet medical need, so the statin

09:51:18    6   class of drugs which address LDL-C or bad cholesterol were

09:51:24    7   certainly important advances in medical science and had been

09:51:29    8   shown to reduce cardiovascular risk to something on the order

09:51:35    9   of 25 to 35 percent.

09:51:39   10               But cardiovascular disease continues to be a very

09:51:43   11   major medical problem in the United States and elsewhere,

09:51:46   12   essentially a leading cause of death and morbidity and cost to

09:51:52   13   the healthcare system, and so it was an unmet medical need for

09:51:57   14   a product that could be added on top of a statin to address

09:52:01   15   that residual risk.

09:52:03   16               And so our goal at Amarin was to address that unmet

09:52:08   17   medical need by demonstrating that Vascepa could be added on

09:52:15   18   top of the statin, of course, without negating the effect of

09:52:20   19   the statin, which was important on it's own to reduce some

09:52:25   20   level of residual cardiovascular risk, and to show that it

09:52:29   21   would be an incremental benefit of adding Vascepa in terms of

09:52:33   22   additional cardiovascular risk reduction and to do so in a

09:52:36   23   safe and tolerable manner.

09:52:40   24    Q   And was Vascepa successful in meeting that need?

09:52:42   25    A   Yes.   The REDUCE-IT study showed that it achieved those
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 54 of 350
                                                                                   54



09:52:46    1   objectives.

09:52:47    2    Q   Could you describe for us Amarin's culture as a company.

09:52:50    3    A   Yes.     Amarin, certainly in the window of time when I

09:52:55    4   joined the company and prior to that, is a small company,

09:52:58    5   literally dozens of individuals as opposed to hundreds of

09:53:04    6   thousands.    So a small innovative company, science driven,

09:53:09    7   very much focused -- as opposed to having a broad portfolio

09:53:14    8   where the individuals' time and scientific attention was split

09:53:18    9   across multiple projects and multiple molecules, was very much

09:53:23   10   focused on the science of EPA, and driving that forward

09:53:27   11   required a lot of focus, so I'd say we're both a very focused,

09:53:34   12   disciplined company.

09:53:35   13                It's always true that drug development takes long

09:53:39   14   periods of time, and so I would say we've had to display a lot

09:53:44   15   of patience and perseverance over time.

09:53:47   16    Q   How long has Amarin been focused on developing Vascepa?

09:53:52   17    A   So for the unmet medical needs that I mentioned earlier

09:53:58   18   in terms of severe hypertriglyceridemia and cardiovascular

09:54:02   19   risk reduction, we've been focused for those for a decade

09:54:07   20   plus, so for ten plus years.

09:54:07   21    Q   And how much was Amarin invested in developing Vascepa?

09:54:12   22    A   Approximately $500 million on those programs across the

09:54:16   23   decade-plus time.

09:54:16   24    Q   And during the development of Vascepa did Amarin face any

09:54:20   25   scientific challenges?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 55 of 350
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09:54:22    1    A      Yes.   Drug development is always fraught with challenges.

09:54:28    2   We had more than our number of technical challenges across the

09:54:34    3   years.

09:54:37    4                  So we had some lofty goals in trying to address

09:54:41    5   these unmet medical needs, and, first, before being able to

09:54:45    6   advance the clinical trials, we had to put together an

09:54:48    7   extensive vendor network to actually go through the steps that

09:54:52    8   I mentioned earlier about obtaining a highly purified single

09:54:56    9   entity EPA product that could be manufactured reliably,

09:55:02   10   consistently, and in a dosage form that would protect its

09:55:06   11   stability across, you know, a sufficient length of time to

09:55:11   12   supply clinical trials and ultimately to have commercial

09:55:14   13   viability.      So that was one domain of technical challenge.

09:55:18   14                  And then we, as sponsors are generally required to

09:55:22   15   do, we had to progress some nonclinical and early clinical

09:55:27   16   work.    Each of those had their own challenges in terms of

09:55:30   17   assembling, you know, the right vendor network with the right

09:55:35   18   skill sets and experience to perform the work professionally

09:55:39   19   and at a high quality to the standards required by FDA and

09:55:44   20   other bodies.

09:55:44   21                  And then clinically, we had to assemble a vendor

09:55:49   22   network again that spanned across the whole development

09:55:57   23   program more than 11 countries and hundreds of sites, and

09:56:00   24   assemble, you know, the people who could progress the work

09:56:04   25   across those domains.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 56 of 350
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09:56:05    1                  So, yes, many technical challenges across the years.

09:56:09    2    Q      And has Amarin faced challenges entering the

09:56:12    3   cardiovascular space?

09:56:14    4    A      You know, so each disease area presents its own

09:56:19    5   challenges.      The cardiovascular metabolic space, because as

09:56:25    6   compared to, for example, some other areas that might be

09:56:29    7   considered ultra orphan or rarer diseases, we're talking

09:56:34    8   about, you know, fairly substantially sized patient

09:56:39    9   populations ultimately when you look -- add to the business

09:56:40   10   objective of bringing a product to fulfill that unmet medical

09:56:45   11   need.

09:56:45   12                  So, classically, I'd say the cardio-metabolic space

09:56:50   13   has been a place for larger pharma, with a multinational

09:56:53   14   presence with the capabilities to conduct the large long-term

09:56:58   15   cardiovascular outcome studies in -- whether it be diabetes

09:57:03   16   or, you know, cardiovascular risk reduction.

09:57:06   17                  So, yes, as a very small player, trying to assemble

09:57:10   18   that network, trying to raise the financial capital needed to

09:57:16   19   conduct the work, we did face a host of challenges.

09:57:22   20    Q      So I'd like you to talk a little bit about your

09:57:25   21   background specifically.      Can you just tell us a little bit

09:57:27   22   about your educational background.

09:57:29   23    A      Yes.   So I have a Bachelor of Science degree in

09:57:32   24   biological sciences from Stanford University, and a Ph.D. in

09:57:37   25   pharmacology from University College London.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 57 of 350
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09:57:41    1    Q   What it pharmacology?

09:57:43    2    A   Pharmacology is basically a field of science that studies

09:57:46    3   how medicines work in the body.

09:57:48    4    Q   And what did you do after graduating from the University

09:57:53    5   College London?

09:57:53    6    A   So my Ph.D fellowship was funded by a Swiss company,

09:57:58    7   Sandos Pharmaceuticals, and I then went on to do a

09:58:01    8   postdoctoral fellowship in Switzerland but for the British

09:58:08    9   company GlaxoSmithKline.

09:58:08   10    Q   And what did you do after your postdoc?

09:58:11   11    A   I was recruited to Serono Pharmaceuticals at their

09:58:17   12   headquarters in Geneva, Switzerland.       I was hired in for my

09:58:24   13   pharmacology and molecular biology expertise to help progress

09:58:27   14   their early phase programs with two recombinant fertility

09:58:33   15   hormones in their international regulatory affairs group.

09:58:35   16    Q   What do you mean by regulatory affairs?

09:58:38   17    A   By regulatory affairs, it's basically a discipline within

09:58:43   18   the pharmaceutical industry that's responsible for assembling

09:58:49   19   documentation for interacting with development teams to ensure

09:58:53   20   that as they progress their work, that they're doing so

09:58:57   21   consistent with regulatory guidances or laws, depending upon

09:59:03   22   the country, and the goals of that particular project.

09:59:10   23              So my role was involved in helping teams to progress

09:59:14   24   towards the original investigational new drug application and

09:59:19   25   progress the clinical trial work in the U.S. and major markets
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 58 of 350
                                                                                   58



09:59:25    1   like Japan and Europe.

09:59:27    2    Q   And what did you do after your work at Serono?

09:59:30    3    A   After Serono I was recruited to join an American firm

09:59:36    4   based in Northern California, Alza Pharmaceuticals, to join

09:59:41    5   their regulatory affairs group and progress a number of their

09:59:45    6   projects through the development process.

09:59:48    7    Q   Okay.     And when you refer to a development process, could

09:59:52    8   you briefly explain what you're referring to?

09:59:54    9    A   Yes.    So, at each of these, whether it be Serono or Alza

10:00:00   10   and subsequently, my role was to work with teams starting with

10:00:05   11   the chemistry manufacturing control teams to progress the

10:00:10   12   manufacture of the clinical trial material and to describe it

10:00:14   13   in documents that needed to be submitted.

10:00:17   14                I'll just for simplicity sake speak to the U.S. FDA.

10:00:22   15   So I would work with teams to assemble chemistry manufacturing

10:00:28   16   controls, nonclinical and clinical information, to open up an

10:00:33   17   original IND application.

10:00:36   18                And the classic phases are, you know, you go through

10:00:40   19   that formulation development, and then you generally need to

10:00:44   20   progress some preclinical study support to support moving into

10:00:49   21   humans, and then you progress through various phases

10:00:54   22   classically.

10:00:55   23                So phase one is classically in healthy -- otherwise

10:00:59   24   healthy human volunteers to administer, you know, the dosage

10:01:04   25   form and to follow its pharmacokinetics typically across some
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 59 of 350
                                                                                   59



10:01:09    1   type of a dose range to get idea of how the drug is behaving

10:01:13    2   in the body, how it's being metabolized, et cetera.

10:01:16    3              And then classically, over time one moves to phase 2

10:01:21    4   to conduct early proof of -- what's called early proof of

10:01:24    5   principle studies.     So in those studies you're again testing

10:01:29    6   generally a number of doses of the study drug, and you're

10:01:32    7   looking at at least preliminary indicators of effectiveness

10:01:37    8   and safety.

10:01:39    9              And then -- and then once a sponsor feels they have

10:01:43   10   sufficient information and generally that the regulatory

10:01:48   11   authority agrees, you would progress into the pivotal phase of

10:01:52   12   drug development, or phase three, where you're generally

10:01:56   13   conducting larger, longer term trials.

10:02:00   14              Sometimes single trials will suffice, other times

10:02:04   15   you have to perform multiple trials, and you're generating the

10:02:09   16   pivotal basis for the determination of effectiveness and

10:02:13   17   safety for a particular indication.

10:02:15   18    Q   So turning back to your background, after Alza what did

10:02:19   19   you do next?

10:02:20   20    A   So Alza, after working and helping to progress three --

10:02:26   21   principally three products through to commercialization, and

10:02:31   22   the company was acquired by Johnson & Johnson, and a number of

10:02:35   23   the scientists and senior management moved on, so I was

10:02:39   24   recruited to join -- by the former CEO of Alza to join

10:02:45   25   Interbiotics Pharmaceuticals as their vice-president of
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 60 of 350
                                                                                      60



10:02:48    1   regulatory affairs.

10:02:49    2    Q   And after Interbiotics, what did you do next?

10:02:53    3    A   After Interbiotics that same former CEO of Alza at that

10:03:00    4   point in time had become the CEO of Reliant Pharmaceuticals in

10:03:06    5   New Jersey, so he and his team recruited me away to join them

10:03:11    6   to become head of R&D at Reliant Pharmaceuticals.

10:03:16    7    Q   And did your position at Reliant change over time?

10:03:19    8    A   Yes, I initially was a senior vice-president and head of

10:03:24    9   R&D, and my role a year or so into expanded to include the

10:03:29   10   medical affairs function.

10:03:32   11    Q   And how did your position while you were at Reliant

10:03:36   12   compare to the previous positions that you held?

10:03:38   13    A   So it was -- it also encompassed the regulatory affairs

10:03:44   14   domain which was similar to my role at Interbiotics.         It was

10:03:49   15   similar in that I also had responsibilities for the chemistry,

10:03:54   16   manufacturing, and controls, and some of quality assurance

10:03:57   17   functions.

10:03:57   18                The key difference was that I had a responsibility

10:04:00   19   at Reliant for the clinical research and development and

10:04:04   20   program management and those functions.

10:04:07   21    Q   Were you responsible for any products during your time at

10:04:11   22   Reliant?

10:04:12   23    A   Yes.    So Reliant had a larger portfolio than some of the

10:04:18   24   prior companies I'd been with.      So upon joining I had

10:04:22   25   responsibility for an a Fenofibrate product called Antara,
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 61 of 350
                                                                                   61



10:04:28    1   which was in the company's portfolio, along with an atrial

10:04:37    2   fibrilation agent called Rhythmol SR.       They had a number of

10:04:37    3   antihypertensive medications, including some controlled

10:04:42    4   release dosage form versions, and they had a statin.

10:04:47    5              And then I was really brought in to help launch a

10:04:55    6   newly licensed asset from Abbott Parmaceuticals which at the

10:05:00    7   time was called Omacor, it's an omega-3 acid ethyl esters

10:05:06    8   product that had been approved in late 2004 for severe

10:05:12    9   hypertriglyceridemia, and I was brought in in May of 2005 to

10:05:18   10   help the team progress towards launch of that product in --

10:05:22   11   within -- later within 2005.

10:05:25   12              That product, its name ultimately needed to be

10:05:28   13   changed to Lovaza.

10:05:30   14    Q   And what specifically is Lovaza?

10:05:32   15    A   So Lovaza is a soft gelatin capsule formulation of

10:05:41   16   omega-3 acid ethyl esters which is basically a mixture of a

10:05:46   17   number of omega-3 fatty acids.

10:05:50   18    Q   And how does the composition of Lovaza compare to

10:05:54   19   Vascepa?

10:05:54   20    A   So, again, Lovaza is a complex mixture, so it has two

10:06:01   21   predominant omega-3 moieties that are, you know,

10:06:07   22   eicosapentaenoic acid EPA and docosahexaenoic acid or DHA, and

10:06:14   23   has other minor omega-3 or omega-6 species that are in that

10:06:18   24   mixture.

10:06:19   25              And so to differentiate it from Vascepa, Vascepa is
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 62 of 350
                                                                                    62



10:06:25    1   a highly purified single entity agent consisting only of EPA.

10:06:31    2    Q      How long did you work for Reliant?

10:06:33    3    A      I worked for Reliant for three years.     About a little

10:06:39    4   over two, two-and-a-half years in, the company was acquired by

10:06:44    5   GlaxoSmithKline, and I remained with the organization to

10:06:50    6   efficiently transfer all the commercialized products and

10:06:53    7   ongoing clinical trials and regulatory activities to that

10:06:57    8   organization, and then I was ready to transition elsewhere.

10:07:01    9    Q      And what years were you -- what was the time frame when

10:07:04   10   you were at Reliant?

10:07:05   11    A      I was at Reliant from May of 2005 through May of 2008.

10:07:10   12    Q      And after Reliant, where were you employed?

10:07:14   13    A      So I was recruited by some former Alza colleagues to

10:07:21   14   rejoin them back out in Northern California, and they hired me

10:07:25   15   in to become their head of R&D at a small oncology focused

10:07:30   16   company called Sunesis Pharmaceuticals.

10:07:34   17    Q      And how long were you with Sunesis?

10:07:37   18    A      I was with Sunesis from essentially May of 2008

10:07:43   19   through -- up to the time of joining Amarin in February of

10:07:46   20   2012.

10:07:47   21    Q      Okay.    So, Dr. Ketchum, I would like to talk a little bit

10:07:52   22   more about Vascepa.       If we could turn to -- if we could turn

10:07:55   23   to Plaintiff's Exhibit 1186 in your binder.

10:08:03   24                   And, Mr. Brooks, if we could --

10:08:06   25                       MS. KEANE:   Oh, Ms. Vannozzi, could we switch --
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 63 of 350
                                                                                   63



10:08:13    1   thank you.

10:08:22    2                    THE COURT:   Did you say 1186?

10:08:24    3                    MS. KEANE:   1186, yes.

10:08:36    4   BY MS. KEANE:

10:08:39    5    Q   Dr. Ketchum, do you recognize Plaintiff's Exhibit 1186?

10:08:44    6    A   Yes, I do.

10:08:45    7    Q   And what is Plaintiff's Exhibit 1186?

10:08:48    8    A   That exhibit is the approved prescribing information for

10:08:54    9   Vascepa as of December 2019.

10:09:01   10                    MS. KEANE:   Your Honor, plaintiffs move to admit

10:09:03   11   Plaintiff's Exhibit 1186 into evidence.

10:09:06   12                    MR. KLEIN:   No objection.

10:09:09   13                    THE COURT:   Exhibit 1186 is admitted.

10:09:09   14                           (Plaintiff's Exhibit 1186 received in
10:09:12                                 evidence.)
10:09:12   15   BY MS. KEANE:

10:09:12   16    Q   So, Dr. Ketchum, could you first explain to us what an

10:09:17   17   indication is.

10:09:18   18    A   Yes.    An indication is an approved medical use for a

10:09:24   19   pharmaceutical product.

10:09:26   20    Q   Could you direct us to where Vascepa's indications are

10:09:31   21   reflected in Exhibit 1186?

10:09:33   22    A   Yes.    The approved indications are reflected in a number

10:09:37   23   of places within the approved prescribing information.

10:09:41   24   Firstly, there within the highlight section, under the heading

10:09:45   25   Indications and Usage.     Also within the full prescribing
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 64 of 350
                                                                                   64



10:09:53    1   information within section 1.

10:09:55    2                    MS. KEANE:   And, Mr. Brooks, if you could pull

10:09:56    3   up section 1 on page 2.

10:09:56    4   BY MS. KEANE:

10:10:02    5    Q   And what is the first indication that's listed for

10:10:05    6   Vascepa?

10:10:05    7    A   So the first indication is:

10:10:09    8                   "As an adjunct to maximally tolerated statin

10:10:13    9        therapy to reduce the risk of myocardial infarction,

10:10:17   10        stroke, coronary revascularization, and unstable

10:10:22   11        angina requiring hospitalization in adult patients

10:10:22   12        with elevated triglyceride (TG) levels greater or

10:10:29   13        equal to 150 milligrams per deciliter, and

10:10:31   14        established cardiovascular disease or diabetes

10:10:35   15        mellitus and two or more additional risk factors for

10:10:39   16        cardiovascular disease."

10:10:40   17    Q   And is this first indication based on the results of a

10:10:44   18   particular clinical trial?

10:10:44   19    A   Yes, there -- on the basis of the REDUCE-IT large

10:10:49   20   long-term cardiovascular outcomes trial.

10:10:51   21    Q   Okay.   So for ease of reference today, is it okay if we

10:10:55   22   refer to this first indication as the REDUCE-IT indication?

10:10:56   23    A   Yes.

10:11:03   24    Q   Dr. Ketchum, what is Vascepa's second indication?

10:11:08   25    A
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 65 of 350
                                                                                   65



10:11:09    1    A              "As an adjunct to diet to reduce TG levels in

10:11:13    2        adult patients with severe (greater than or equal to

10:11:16    3        500 milligrams per deciliter) hypertriglyceridemia."

10:11:22    4    Q   And for -- and is the second indication based on a

10:11:27    5   particular clinical trial?

10:11:28    6    A   Yes.    The pivotal basis for that indication was on the

10:11:34    7   basis of what we refer to as the MARINE trial.

10:11:37    8    Q   Okay.     For purposes of your testimony today, is it okay

10:11:40    9   if we refer to this indication as the MARINE indication?

10:11:44   10    A   Yes.

10:11:44   11    Q   When was Vascepa first approved?

10:11:46   12    A   Vascepa was first approved in July of 2012.

10:11:50   13    Q   Has Vascepa always been approved for both of these two

10:11:54   14   indications?

10:11:54   15    A   No.    No, it is not.

10:11:56   16    Q   And with -- with respect to the original approval of

10:12:01   17   Vascepa, what was the approved indication?

10:12:04   18    A   The original approval in July 2012 was for that second

10:12:10   19   indication that I read in the severely hypertriglyceridemic

10:12:16   20   patient population.

10:12:17   21    Q   And when was the REDUCE-IT indication approved?

10:12:19   22    A   In December 2019.

10:12:21   23    Q   Did -- was there a different labeling associated with

10:12:25   24   Vascepa prior to 2019?

10:12:27   25    A   Yes.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 66 of 350
                                                                                   66



10:12:29    1    Q   If we could turn to Plaintiff's Exhibit 940.

10:12:37    2                   MS. KEANE:   And, Your Honor, I'll note for the

10:12:38    3   record that Plaintiff's Exhibit 940 is actually on the list of

10:12:42    4   admitted exhibits.

10:12:44    5                   THE COURT:   Thank you.

10:12:45    6   BY MS. KEANE:

10:12:45    7    Q   Dr. Ketchum, what is Exhibit 940?

10:12:48    8    A   Exhibit 940 is the approved prescribing information for

10:12:54    9   Vascepa dated February of 2017.

10:12:58   10    Q   And if we could turn to page 2 and take a look at the

10:13:03   11   Indications section.     And where is the initial indication for

10:13:13   12   Vascepa reflected?

10:13:14   13    A   On this portion of the full prescribing information, it's

10:13:19   14   in section 1, Indications and Usage, in the first sentence.

10:13:23   15    Q   And at a high level can you explain the differences

10:13:28   16   between Plaintiffs' Exhibit 940 and Plaintiffs' Exhibit 1186.

10:13:33   17    A   So Exhibit 940 is focused on the information --

10:13:42   18   prescribing information for the first approved indication.

10:13:47   19   And the prior exhibit is focused on the -- the revised

10:13:53   20   approved prescribing information that reflects the addition of

10:13:57   21   the expanded indication for -- based on the REDUCE-IT trial

10:14:02   22   results.

10:14:02   23              And so that section that I read would have changed

10:14:07   24   between the two labels along with other sections that are

10:14:12   25   relevant to a description of the REDUCE-IT trial results or
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 67 of 350
                                                                                     67



10:14:18    1   other information associated with the trial.

10:14:20    2    Q      And if we could turn back to --

10:14:23    3                       MS. KEANE:   Mr. Brooks, if you turn back to

10:14:25    4   Plaintiff's Exhibit 1186.        Okay.   And if we could highlight

10:14:30    5   the MARINE indication.

10:14:30    6   BY MS. KEANE:

10:14:33    7    Q      Dr. Ketchum, the MARINE indication refers to adjunct to

10:14:38    8   diet.    What does an adjunct to diet mean?

10:14:42    9    A      It means in addition to a diet.

10:14:44   10    Q      Okay.   And with respect to the MARINE indication, is

10:14:49   11   Vascepa indicated as AN adjunct to any other drug therapy?

10:14:54   12    A      No.   No.   It's a monotherapy phrasing for an indication.

10:14:59   13    Q      What is Vascepa's dosage form?

10:15:03   14    A      The dosage form is -- appears in the full prescribing

10:15:09   15   information in section 3, and, as I mentioned earlier, Vascepa

10:15:14   16   is a soft gelatin capsule, and it's described within that

10:15:19   17   section 3.

10:15:20   18    Q      If we could turn to section 3.      And where -- where is the

10:15:27   19   dosage form reflected?

10:15:29   20    A      So it's reflected there in the two bulleted elements,

10:15:34   21   describes that it's available in both a 0.5-gram capsule and a

10:15:41   22   one gram capsule.       They're both Amber colored.   One is oval,

10:15:46   23   one is oblong.       Both are soft-gelatin capsules, and they have

10:15:51   24   different imprinting so that the two dosage forms can be

10:15:53   25   distinguished.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 68 of 350
                                                                                   68



10:15:54    1    Q   What is the dosage strength for the Vascepa?

10:15:58    2    A   So the dosage strength is either 0.5 grams or 1 gram.

10:16:03    3    Q   And is the dosage strength also reflected in the

10:16:06    4   labeling?

10:16:07    5    A   Yes.     The dosage strength is indicated within that same

10:16:11    6   section 3.

10:16:12    7    Q   How much of the active ingredient of icosapent ethyl is

10:16:12    8   in each one-gram capsule of Vascepa?

10:16:19    9    A   It involves a one-gram fill of icosapent ethyl.

10:16:24   10    Q   And where is the fill weight of the capsules reflected in

10:16:29   11   the labeling?

10:16:29   12    A   So it appears in a later section in the label in

10:16:34   13   section 11 in the description section of the describing

10:16:41   14   information.

10:16:42   15                    MS. KEANE:   Mr. Brooks, if we could turn to

10:16:44   16   section 11.

10:16:48   17   BY MS. KEANE:

10:16:48   18    Q   Could you show us where the fill weight is reflected in

10:16:52   19   the section 11?

10:16:53   20    A   Yes, it's in the -- in the beginning of the second

10:16:56   21   paragraph there where it says that each Vascepa capsule

10:16:59   22   contains either 0.5 grams or 1 gram of icosapent ethyl in the

10:17:08   23   respective capsule.

10:17:09   24    Q   And what is the daily dose of Vascepa?

10:17:11   25    A   So the total daily dose that's approved for Vascepa is 4
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 69 of 350
                                                                                   69



10:17:16    1   grams per day.

10:17:17    2    Q   And where is the total dose of Vascepa reflected?

10:17:20    3    A   So the total dose of the Vascepa appears back in

10:17:26    4   section 2.2 in the Dosage and Administration section.

10:17:32    5    Q   Could you direct us to where the dosage -- the daily dose

10:17:43    6   of the Vascepa is indicated?

10:17:45    7    A   Yes, in the first bulleted element under section 2.2

10:17:50    8   states,

10:17:50    9                  "The daily dose of Vascepa is 4 grams per day

10:17:53   10        taken as either:     Four 0.5-gram capsules twice daily

10:17:59   11        with food; or as two 1 gram capsules twice daily with

10:18:04   12        food."

10:18:04   13    Q   Okay.    What is the route of administration for Vascepa?

10:18:07   14    A   The route -- it's an oral capsule that, as reflected in

10:18:11   15   this second bullet, is intended to be swallowed whole, not to

10:18:17   16   be broken open, crushed, dissolved, or chewed.

10:18:21   17    Q   Thank you.    So, Dr. Ketchum, I would like to turn to some

10:18:25   18   other subjects, but I --

10:18:27   19                    MS. KEANE:   Your Honor, I would like to turn to

10:18:30   20   a few other subjects.     They wanted to talk about some

10:18:33   21   terminology before we get into a further discussion.

10:18:36   22                    THE COURT:   And perhaps before you turn to the

10:18:38   23   next subject it may be -- let me know when it's a good point

10:18:43   24   to take our morning recess.

10:18:45   25                    MS. KEANE:   Now would be fine, Your Honor.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 70 of 350
                                                                                        70



10:18:46    1                   THE COURT:   All right.    We'll take our recess

10:18:48    2   for about 15 minutes then.

10:18:49    3                   Thank you.

10:18:49    4                           (A recess was taken.)

10:39:48    5                   THE COURT:   Please be seated.

10:39:49    6                   Ready to proceed?

10:39:50    7                   MS. KEANE:   Yes, I'm ready.

10:39:53    8   BY MS. KEANE:

10:39:54    9    Q   So, Dr. Ketchum, before the break, we were about to talk

10:39:56   10   about some terminology related to your testimony today.            Do

10:40:02   11   you have an understanding of what lipids are?

10:40:05   12    A   Yes, I do.

10:40:06   13    Q   What are lipids?

10:40:07   14    A   So lipids are an organic class of compounds that include

10:40:11   15   fatty acids and their derivatives.

10:40:15   16    Q   And are you also familiar this triglycerides?

10:40:17   17    A   Yes, I am.

10:40:19   18    Q   What are triglycerides?

10:40:20   19    A   So triglycerides are fats that exist in your blood, and

10:40:25   20   it can be used for energy storage is one of their purposes.

10:40:30   21    Q   Are you familiar with hypertriglyceridemia?

10:40:33   22    A   Yes, I am.

10:40:34   23    Q   What is hypertriglyceridemia?

10:40:37   24    A   It basically just means high triglyceride levels.

10:40:40   25    Q   And are there different levels of hypertriglyceridemia?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 71 of 350
                                                                                    71



10:40:44    1    A   Yes, there are.     There's various scientific publications

10:40:52    2   and documents that have characterized essentially normal

10:40:57    3   levels of those fats in your blood as 150 milligrams per

10:41:03    4   deciliter and below.

10:41:05    5                People can be considered borderline high if they're

10:41:09    6   in the range of 150 to 199 milligrams per deciliter.         They

10:41:16    7   then get into the range of hypertriglyceridemia.         High is

10:41:22    8   classically characterized as 200 to 499 milligrams per

10:41:28    9   deciliter.    And then if the TG levels in the blood are very

10:41:31   10   high or severely high, that's greater than or equal to

10:41:39   11   500 milligrams per deciliter.

10:41:39   12    Q   Okay.     And the guidelines that you referred to, what

10:41:41   13   guidelines are you referring to?

10:41:43   14    A   I was referring to the National Cholesterol Education

10:41:48   15   Program, or NCEP at ATP3 guidance.

10:41:53   16    Q   Do you know how patients with severe hypertriglyceridemia

10:41:57   17   are treated?

10:41:58   18    A   Yes.    So these -- so this is a chronic asymptomatic

10:42:07   19   condition.    It's -- what I mean by that is a patient cannot

10:42:11   20   feel their triglycerides or these levels of fat in their

10:42:16   21   blood.   They can't feel if they're normal or abnormal.

10:42:20   22                And so people are essentially diagnosed with severe

10:42:26   23   hypertriglyceridemia by having their blood lipids measured,

10:42:30   24   and then, if they're determined to be severely

10:42:33   25   hypertriglyceridemic, they can -- in addition to lifestyle
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 72 of 350
                                                                                   72



10:42:39    1   aspects such as making sure they're on a healthy diet, that

10:42:43    2   they're exercising, they can be placed pharmacotherapy or drug

10:42:49    3   therapy.

10:42:50    4    Q   And why is it that triglycerides levels in these patients

10:42:55    5   need to be reduced?

10:42:56    6    A   So the -- so the medical condition of those excessively

10:43:01    7   high triglycerides levels can lead to acute pancreatitis which

10:43:09    8   is referring to the internal organ, the pancreas, and an

10:43:17    9   inflammation basically that can result from the pancreas

10:43:21   10   that's acute, meaning that it needs, it needs attention, that

10:43:26   11   it can actually -- the triglycerides can build up, and it can

10:43:30   12   actually lead to the need to go to the emergency room and can

10:43:34   13   have some significant medical consequences.

10:43:37   14    Q   So let's turn to the clinical development of Vascepa.

10:43:41   15   During development was Vascepa known by any other name?

10:43:46   16    A   During its clinical development there was a code

10:43:49   17   identifier, AMR 101.     Certain documents would also just

10:43:55   18   simplify referring to it as, you know, containing EPA.

10:44:02   19    Q   Can you, at a high level, describe the clinical

10:44:06   20   development program for Vascepa.

10:44:09   21    A   Yes.   So the clinical development program that was put in

10:44:14   22   place to address those unmet medical needs that I mentioned

10:44:17   23   earlier is basically a three-part clinical development

10:44:22   24   program.

10:44:22   25               The first study that was intended to address the
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 73 of 350
                                                                                   73



10:44:26    1   unmet medical need in severe hypertriglyceridemia we refer to

10:44:32    2   as the MARINE trial.     That was a 12-week -- had a 12-week

10:44:36    3   randomized, double-blind, placebo-controlled, lipid-focused

10:44:42    4   component, and a 40-week open label extension component to

10:44:47    5   that trial.

10:44:49    6              A second trial -- so that was in a severely

10:44:52    7   hypertriglyceridemic patient population.        The second trial was

10:44:55    8   focused in patients who were on statin therapy to control

10:45:01    9   their bad cholesterol, their LDL, but in spite of that statin

10:45:08   10   therapy had elevated triglycerides or high triglycerides in

10:45:11   11   the range of 200 to 499 milligrams per deciliter.         That,

10:45:16   12   again, was a 12-week, lipid-focused trial.

10:45:21   13              And the third trial was a large, long term

10:45:21   14   cardiovascular outcomes trial looking at Vascepa on top of

10:45:31   15   statin therapy in patients with elevated triglycerides in the

10:45:34   16   range of 150 to 499 milligrams per deciliter and who had other

10:45:42   17   CV, cardiovascular disease risk factors.

10:45:45   18    Q   And were all three of these studies successful?

10:45:49   19    A   Yes, all three studies were successful in meeting their

10:45:53   20   pre-specified primary endpoints and showing a safe and

10:45:59   21   tolerable profile.

10:46:01   22    Q   So let's turn to the timeline relating to the clinical

10:46:05   23   development program.     When did Amarin first approach FDA about

10:46:09   24   its clinical development program?

10:46:11   25    A   Amarin first approached FDA in the spring of 2008 to
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 74 of 350
                                                                                      74



10:46:17    1   discuss the proposed development program for those trials and

10:46:23    2   those proposed indications.

10:46:24    3    Q   And how -- how was it that Amarin approached the FDA?

10:46:28    4    A   The R&D regulatory team reached out to the relevant

10:46:35    5   review division at FDA, the Division of Metabolism -- or,

10:46:40    6   excuse me, Metabolic and Endocrinology Drug Products, also

10:46:45    7   referred to as DMEP, and indicated a desire to meet.

10:46:50    8              And as is typical in that situation, the sponsor

10:46:55    9   then fills out a formal meeting request.        In this case, they

10:47:00   10   filled out what's called a meeting request for a type B

10:47:05   11   pre-IND interaction.

10:47:07   12    Q   And, Dr. Ketchum, if you could turn to exhibit --

10:47:15   13   Plaintiff's Exhibit 482 in your binder.

10:47:18   14                    MS. KEANE:   And, Your Honor, I would just like

10:47:20   15   to note for the record this is one of the exhibits that my

10:47:22   16   colleague referenced earlier that we would like the

10:47:25   17   opportunity to redact before it is included in the public

10:47:28   18   record.   But for purposes of today's testimony, I don't expect

10:47:31   19   to get into anything that would require sealing the courtroom.

10:47:37   20                    THE COURT:   Thank you.

10:47:41   21   BY MS. KEANE:

10:47:42   22    Q   So, Dr. Ketchum, if you could turn to Exhibit 482.            It's

10:47:45   23   put up on the screen.     And 482 is a compilation of documents;

10:47:48   24   is that right?

10:47:49   25    A   Yes, it's a series of communications.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 75 of 350
                                                                                   75



10:47:55    1    Q   Okay.    And if we could start with the document on page 1.

10:48:00    2   What is the document that begins on page 1?

10:48:03    3    A   So the document that begins on page 1 is a letter from a

10:48:10    4   party acting on behalf of Amarin to the Director of DMEP

10:48:23    5   requesting -- formally requesting a pre-IND meeting.

10:48:24    6    Q   And what is the date of that document?

10:48:26    7    A   The date of that document is May 9th, 2008.

10:48:27    8    Q   If we could turn to page 7.

10:48:35    9                Do you recognize the document that begins on page 7?

10:48:38   10    A   Yes, I do.

10:48:38   11    Q   What is the document that begins on page 7?

10:48:41   12    A   So this is a communication from a project manager at

10:48:47   13   FDA's DMEP sharing the minutes from the pre-IND meeting with

10:48:55   14   the agent acting on behalf of Amarin.

10:48:59   15    Q   And if we could turn now to page 24.

10:49:05   16                And do you recognize the document that begins on

10:49:15   17   page 24?

10:49:15   18    A   Yes, I do.

10:49:16   19    Q   What is this document?

10:49:18   20    A   This is a communication from that same project manager at

10:49:24   21   FDA's DMEP again to the agent acting on behalf of Amarin.

10:49:32   22   It's dated May 20th of 2008, and it's communicating that

10:49:37   23   FDA -- they're acknowledging the receipt of that May 9th

10:49:44   24   pre-IND meeting request, and they're assigning to Amarin a

10:49:49   25   specific pre-IND number.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 76 of 350
                                                                                    76



10:49:54    1    Q   If we could turn to page 27.

10:50:01    2                What is the document that begins at page 27?

10:50:04    3    A   This is -- appears to be a communication from that same

10:50:17    4   project manager at FDA's DMEP, and it's attaching a copy of

10:50:25    5   the official meeting minutes from that pre-IND interaction.

10:50:30    6    Q   Okay.     And if we turn to page 28.

10:50:33    7                What is the document that begins on page 28?

10:50:37    8    A   So on page 28 is the beginning of a correspondence from

10:50:43    9   that same project manager at FDA's DMEP to the agent of

10:50:51   10   Amarin, thi is on May 22nd, 2008, and it's basically

10:50:58   11   communicating that the sponsor's request for a meeting has

10:51:02   12   been granted and that the meeting will be held on July 14,

10:51:08   13   2008, at the FDA campus, and it identifies the tentatively

10:51:12   14   identified individuals from FDA who would participate in that

10:51:16   15   interaction.

10:51:16   16    Q   Okay.     And if you could turn to page 31 of the

10:51:21   17   document -- I'm sorry, 31 of Plaintiff's Exhibit 482.

10:51:26   18                And what is the document that begins on page 31?

10:51:29   19    A   It's a communication from the director of the FDA's DMEP

10:51:38   20   to Amarin's agent, and it is -- apparently there had been a

10:51:49   21   request from Amarin, specific date, requesting revision of

10:51:53   22   those official meeting minutes of the pre-IND meeting, and

10:51:58   23   it's communicating FDA's feedback to those various requests

10:52:02   24   from Amarin.

10:52:04   25                    MS. KEANE:   Okay.   And, Your Honor, plaintiffs
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 77 of 350
                                                                                    77



10:52:05    1   move to admit Plaintiff's Exhibit 482 with the caveat that I

10:52:09    2   mentioned earlier about requesting time to seal the document.

10:52:12    3                       MR. KLEIN:   No objection.

10:52:14    4                       THE COURT:   Exhibit 482 is admitted.

10:52:14    5                              (Plaintiff's Exhibit 482 received in
10:52:14                                    evidence.)
10:52:14    6   BY MS. KEANE:

10:52:18    7    Q   So, Dr. Ketchum, if we could turn back to the timeline.

10:52:22    8                You referenced a pre-IND meeting that occurred in

10:52:26    9   the contents of the document.        When did that meeting occur?

10:52:30   10    A   It occurred on July 14th of 2008.

10:52:33   11    Q   Okay.    And are the discussions at that meeting reflected

10:52:37   12   in the document that begins on page 8 of Exhibit 482?

10:52:42   13    A   (Witness reviews document.)

10:52:51   14                Yes.    They begin on that page 8.

10:52:54   15    Q   And do the meeting minutes reflect who attended the

10:52:58   16   meeting on behalf of Amarin?

10:52:59   17    A   Yes.    It towards the bottom of page 8 under the External

10:53:04   18   Constituent Attendees.

10:53:07   19                       MS. KEANE:   And, Mr. Brooks, if we could pull up

10:53:09   20   the attendees.

10:53:09   21   BY MS. KEANE:

10:53:11   22    Q   And, Dr. Ketchum, who attend the meeting on behalf of

10:53:14   23   Amarin?

10:53:14   24    A   Dr. Declan Doogan, who is the head of research and

10:53:19   25   development, Dr. Mehar Manku, vice-president of research,
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 78 of 350
                                                                                   78



10:53:25    1   Chris Shilling, who is project management consultant to

10:53:28    2   Amarin, Dr. Pierre Wicker, a clinical strategy consultant to

10:53:32    3   Amarin, Adam Woolley, who is a nonclinical strategy

10:53:36    4   consultant, and David Zuchero who is a regulatory affairs

10:53:42    5   consultant to Amarin.

10:53:42    6    Q   And after --

10:53:45    7                   MS. KEANE:   Mr. Brooks, we can take down that

10:53:47    8   exhibit.

10:53:47    9   BY MS. KEANE:

10:53:48   10    Q   After the pre-IND meeting in 2008, what happened next

10:53:51   11   with respect to Amarin's clinical development program?

10:53:55   12    A   So Amarin assimilated the feedback that it received at

10:53:59   13   the pre-IND meeting.     There was some aspects that Amarin

10:54:08   14   needed to address in progressing towards opening.

10:54:12   15              So it had been given in the series of communications

10:54:16   16   a pre-IND number, and then moved towards opening up an

10:54:20   17   investigational new drug application, and starting to progress

10:54:25   18   additional interactions with the Food and Drug Administration

10:54:28   19   prior to embarking on its clinical development program.

10:54:32   20    Q   And when did the clinical development program actually

10:54:36   21   start?

10:54:36   22    A   It started in -- approximately in 2009.        So there was

10:54:43   23   some other steps and interactions needed with FDA before they

10:54:47   24   could begin those clinical trials.

10:54:49   25    Q   And with which study did the clinical development program
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 79 of 350
                                                                                   79



10:54:53    1   start?

10:54:53    2    A    With what we refer to as the MARINE trial.

10:54:57    3    Q    When did the MARINE study start?

10:54:58    4    A    It started in 2009.

10:55:01    5    Q    And when was it concluded?

10:55:04    6    A    It was concluded in late -- towards the very end of 2010.

10:55:10    7    Q    And what was the purpose -- what was the purpose of the

10:55:14    8   MARINE study?

10:55:15    9    A    Of the MARINE study?

10:55:17   10    Q    Yes.

10:55:17   11    A    Yes.   So the purpose was to fulfill that unmet medical

10:55:23   12   need that I spoke to earlier.

10:55:24   13                It was to demonstrate that robust triglyceride

10:55:29   14   reductions could be achieved in severely hypertriglyceridemic

10:55:35   15   patients but with a tolerability and safety profile that

10:55:39   16   helped to differentiate it from some of the existing products.

10:55:42   17    Q    And what are the existing products that you're referring

10:55:45   18   to?

10:55:45   19    A    So at this point in time there were a number of products

10:55:50   20   that had triglyceride-lowering effects and that were approved

10:55:54   21   in this space.

10:55:55   22                They included Lovaza, which was the omega-3 acid

10:56:01   23   ethyl esters product I mentioned, and then there were multiple

10:56:05   24   Fenofibrate containing products, and also multiple niacin

10:56:10   25   containing products.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 80 of 350
                                                                                   80



10:56:11    1    Q   And do these products that were available, do they have

10:56:18    2   any side effects associated with them?

10:56:21    3    A   All drugs have side effects.       But, yes, each of those

10:56:25    4   have their own particular safety and tolerability profile.

10:56:30    5               In the case of Lovaza, the pivotal trials that are

10:56:38    6   reflected in that approved label had shown that it did reduce

10:56:43    7   triglycerides, but that those reductions were associated with

10:56:46    8   an increase in bad cholesterol, and there were also certain

10:56:52    9   gastrointestinal tolerability profile that was described

10:56:56   10   within the label.

10:56:58   11               In terms of fibrates, they can also be associated

10:57:02   12   with increases in bad cholesterol, and they can also be

10:57:08   13   associated with other side effects such as muscle pain,

10:57:12   14   particularly in combination with statin therapy.

10:57:16   15               And then niacin containing products, I'd say the

10:57:20   16   most significant reaction can be a flushing, a facial

10:57:27   17   reddening that can lead both the physician or patient to

10:57:31   18   withdraw from that therapy in this window of time that we're

10:57:34   19   talking about.

10:57:35   20               And so the goal was to have the product that

10:57:40   21   differentiated itself from those other existing therapies.

10:57:43   22    Q   Are there documents that describe the design of the

10:57:46   23   MARINE study?

10:57:48   24    A   Yes.   The clinical study report describes the design of

10:57:54   25   the MARINE study.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 81 of 350
                                                                                   81



10:57:55    1    Q   And if we could turn to Exhibit 807 in your binder.

10:57:59    2                    MS. KEANE:   And I'll also note, Your Honor, for

10:58:01    3   the record that Exhibit 807 is on the parties' list of

10:58:05    4   admitted exhibits.

10:58:06    5                    THE COURT:   Thank you.

10:58:07    6   BY MS. KEANE:

10:58:11    7    Q   And, Dr. Ketchum, do you recognize Exhibit 807?

10:58:14    8    A   Yes, I do.

10:58:15    9    Q   And what is Exhibit 807?

10:58:19   10    A   This is the final clinical study report for the MARINE

10:58:23   11   trial.

10:58:24   12    Q   And who prepared the MARINE clinical study report?

10:58:32   13    A   So the study report was prepared by the individuals who

10:58:37   14   are delineated on the next page, on page 2 of the clinical

10:58:43   15   study report.

10:58:44   16    Q   And just a further explanation, what is a clinical study

10:58:50   17   report?

10:58:50   18    A   So a clinical study report is a detailed description of a

10:58:55   19   clinical study design.     Its objectives, the -- both primary,

10:59:04   20   secondary, tertiary objectives.      It lists out in considerable

10:59:10   21   detail the endpoints including the primary endpoint of focus

10:59:15   22   and any secondary, tertiary, exploratory endpoints.

10:59:18   23                It spells out how the study is going to be

10:59:24   24   conducted.    So inclusion-exclusion criteria, the various

10:59:29   25   visits that the patients are going to be required to follow
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 82 of 350
                                                                                   82



10:59:33    1   consistent with the study design.

10:59:35    2               And then it also reports out all of the results

10:59:39    3   across those various efficacy and safety variables.

10:59:43    4    Q     And was the MARINE clinical study report submitted to

10:59:47    5   FDA?

10:59:48    6    A     Yes, it was submitted to FDA as part of the original new

10:59:52    7   drug application.

10:59:54    8                    MS. KEANE:   And, Mr. Brooks, if we could go to

10:59:56    9   page 27, Figure 1.

10:59:56   10   BY MS. KEANE:

11:00:02   11    Q     And, Dr. Ketchum, could you explain what Figure 1 on

11:00:06   12   page 27 shows.

11:00:06   13    A     So Figure 1 on that page 27 is showing at eye level the

11:00:12   14   design of the MARINE study.

11:00:14   15    Q     Could you briefly walk us through what the design of the

11:00:17   16   MARINE study was?

11:00:19   17    A     Yes, so the MARINE study involved a 4- to 6-week lead in

11:00:24   18   period.   The purpose of that period, other lipid altering

11:00:30   19   drugs beyond statins and an agent known as ezetimibe, any

11:00:36   20   agent beyond those two were not allowed in the study, so if

11:00:40   21   patients were on those they needed to be washed out.

11:00:44   22               And the other purpose was they were intended to be

11:00:47   23   on a stable diet and exercise regimen.

11:00:52   24               And then there was a 2- to 3-week qualifying period

11:00:56   25   across these various phases, samples, blood is being taken
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 83 of 350
                                                                                   83



11:00:56    1   periodically ultimately to determine if they meet the

11:01:04    2   inclusion criterion of the triglyceride levels for example.

11:01:08    3                If they met the study inclusion and inclusion

11:01:12    4   criteria, that larger area shows that they could meet the

11:01:16    5   criteria and be randomized or enrolled into the study in a

11:01:21    6   one-to-one-to-one manner, that means a third, a third, and a

11:01:26    7   third of the patients were enrolled on to either the placebo

11:01:32    8   arm, the Vascepa 2-gram per day arm, or the Vascepa 4-gram per

11:01:38    9   day arm, and then they were followed across the pivotal

11:01:42   10   12-week safety and efficacy safety period with the primary

11:01:47   11   endpoint being determined at the end of that 12-week period.

11:01:51   12                And then in MARINE patients could also be enrolled

11:01:56   13   at a dose of 4 grams per day into a 40-week open label

11:01:59   14   extension phase.

11:02:02   15                    MS. KEANE:   If we could -- Mr. Brooks, if we

11:02:03   16   could turn to section 9.1.1 as refers to the screening period.

11:02:03   17   BY MS. KEANE:

11:02:08   18    Q   What was the -- what was the screening period that's

11:02:11   19   referred to here?

11:02:12   20    A   So the screening period was a 4- or 6-week diet and

11:02:17   21   lifestyle stabilization period and wash out period as I

11:02:21   22   mentioned.

11:02:21   23    Q   What was the purpose of the diet and lifestyle

11:02:26   24   stabilization period?

11:02:27   25    A   Again, these patients, these severely
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 84 of 350
                                                                                    84



11:02:32    1   hypertriglyceridemic patients have a chronic asymptomatic

11:02:36    2   condition.    They have excessive levels of fat in their blood.

11:02:42    3                So the classic way to approach these patients is to

11:02:47    4   also ensure that their intake of dietary fact is not excessive

11:02:52    5   and is healthy because you certainly don't want to contribute

11:02:56    6   to the underlying condition in that manner.

11:02:58    7                As I mentioned, triglycerides, those fats in your

11:03:02    8   blood, they do serve a purpose if they're at controllable

11:03:05    9   levels, and that is that your body deploys them to parts of

11:03:11   10   your body to be used as energy storage.

11:03:14   11                So they're stored in your fat cells, and then, as an

11:03:17   12   example in between meals or in periods of exercise, they can

11:03:21   13   be deployed to be used for energy.

11:03:24   14                So that's a long way of saying that you needed to

11:03:27   15   control the intake so that you weren't contributing to adding

11:03:35   16   even more fat to the blood, and that people were not

11:03:39   17   sedentary, that they were having some level of physical

11:03:42   18   activity that they would continue throughout the trial, and

11:03:44   19   that takes a period of time for people to become, let's say,

11:03:49   20   customary to.

11:03:51   21    Q   And what was the purpose of the wash-out period?

11:03:54   22    A   So the focal point of this study was on the ability of

11:04:01   23   Vascepa to lead to robust triglyceride reductions.         So the

11:04:05   24   purpose of the wash-out -- so washing out of other lipid

11:04:08   25   altering medications was to reduce a potentially confounding
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 85 of 350
                                                                                   85



11:04:13    1   variable of having other agents onboard that could potentially

11:04:17    2   in the backdrop be also contributing to, you know, some aspect

11:04:22    3   of lipid reduction.

11:04:25    4                    MS. KEANE:   And, Mr. Brooks, if we could go back

11:04:28    5   to Figure 1.

11:04:28    6   BY MS. KEANE:

11:04:32    7    Q   So you just -- you mentioned the 40-week open label

11:04:35    8   extension previously.     What was the purpose of the 40-week

11:04:38    9   open label extension?

11:04:40   10    A   Right.     So in the discussions with FDA, Amarin was laying

11:04:49   11   out its plans for its development program, and, you know, this

11:04:54   12   is a drug that's being developed as a new chemical entity for

11:05:00   13   a chronic condition, and there are standard international kind

11:05:07   14   of regulatory considerations for how to design a development

11:05:12   15   program and the expected requirements across all the major

11:05:16   16   regions, including the United States.

11:05:18   17              And that -- to kind of simplify that, what they're

11:05:21   18   looking for is a certain minimum number of patients who are

11:05:26   19   exposed to the drug in question for a -- and a certain minimum

11:05:35   20   number of patients who are exposed to the study drug across a

11:05:40   21   one year or longer period of time.

11:05:42   22              So the purpose of that 40-week open label extension

11:05:46   23   was to contribute to meeting that internationally recognized

11:05:50   24   and FDA agreed requirement to have a number certain number of

11:05:55   25   patients exposed to the 4-gram per day dose of Vascepa for a
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 86 of 350
                                                                                   86



11:06:01    1   year, so the 12-week, plus the 40-week, meeting that one year

11:06:05    2   level of exposure.

11:06:06    3    Q   An what is the purpose of the 12-week safety and efficacy

11:06:11    4   portion of the MARINE trial?

11:06:13    5    A   So that portion was what we would call the pivotal

11:06:17    6   portion of the trial in that it was, unlike that 40-week

11:06:23    7   extension which was open label, the 12-week portion was a

11:06:28    8   double-blind, placebo-controlled.       So that was -- the pivotal

11:06:35    9   determination of safety and effectiveness was done in that

11:06:40   10   12-week window.

11:06:41   11    Q   And if we take a look at Figure 1, it refers to both

11:06:48   12   ARM1014 grams per day and AMR 1012 grams per day.         Did Amarin

11:06:54   13   evaluate two different dosage strengths during the MARINE

11:06:59   14   study?

11:06:59   15    A   Yes, Amarin evaluated those two doses.

11:07:04   16    Q   And why did Amarin evaluate both a 2-gram and a 4-gram

11:07:09   17   dose of ARM101?

11:07:13   18                   MR. KLEIN:   Objection, Your Honor.      These

11:07:14   19   documents are -- the witness doesn't have personal knowledge

11:07:16   20   of the documents.

11:07:18   21                   I'm giving counsel some leeway to walk through

11:07:20   22   the documents to tell the story, but to the extent questions

11:07:24   23   are being asked about documents before the witness was there,

11:07:26   24   I object.

11:07:28   25                   MS. KEANE:   I mean, Your Honor, I think we've
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 87 of 350
                                                                                    87



11:07:30    1   established that Dr. Ketchum certainly has foundation with

11:07:33    2   respect to various different documents that we are talking

11:07:37    3   about.

11:07:38    4                   He -- one of his responsibilities at Amarin is

11:07:40    5   to be familiar with the regulatory history as well as the

11:07:44    6   clinical development program, and that would include the

11:07:47    7   design and the conduct of the studies that are -- support the

11:07:51    8   ultimate approval of the product.

11:07:52    9                   THE COURT:   I assume that because you asked he's

11:07:54   10   going to know the answer.      What would be the source of

11:07:56   11   information that provides the answer?       His review of the

11:07:59   12   documents?

11:08:00   13                   MS. KEANE:   I believe it would be a combination

11:08:02   14   of his review of the documents and his interaction over time

11:08:06   15   with obviously other individuals at the company, and having to

11:08:11   16   understand that full development history for purposes of his

11:08:15   17   employment.

11:08:15   18                   MR. KLEIN:   Then I'll add hearsay to the

11:08:18   19   objection.

11:08:18   20                   THE COURT:   Ultimately the issue isn't that

11:08:22   21   significant, is it, why the 2 grams a day was included, is it?

11:08:28   22                   Mr. KLEIN:   No, and that's why generally I've

11:08:30   23   been giving a lot of leeway on this, and I will be asking some

11:08:34   24   questions because the witness was 30(b)(6) witness.         But I

11:08:37   25   think comments that go beyond the scope of the documents
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 88 of 350
                                                                                       88



11:08:41    1   should be limited before he was at -- before he joined the

11:08:44    2   company.

11:08:44    3                    THE COURT:   Well, this is a bench trial, and I

11:08:47    4   certainly -- I think that the evidentiary issues are more

11:08:51    5   relaxed.   I'll allow the question to be asked, and I'll give

11:08:54    6   the answer whatever weight I think it should be given.

11:08:57    7                    I have another question out of curiosity.         I

11:09:01    8   know this is not relevant.

11:09:03    9                    If the study was designed with the four- to

11:09:08   10   six-week lead-in period where the subjects in the clinical

11:09:13   11   trial were expected to regulate their diet and exercise, how

11:09:17   12   can Amarin isolate the reason for the reduction in TG to the

11:09:24   13   omega -- to EPA versus lifestyle change?

11:09:28   14                    I don't know if this witness knows the answer.

11:09:31   15   I'm just curious.

11:09:32   16                    MS. KEANE:   And to be clear, is the question for

11:09:35   17   me or is the question for the witness?

11:09:36   18                    THE COURT:   Question for you, if you want to

11:09:38   19   incorporate it, that's great.      But if at some point in time

11:09:43   20   the witness can answer that curiosity question, I would

11:09:46   21   appreciate it.

11:09:50   22                    And while I'm on curiosity, I'm also curious as

11:09:55   23   to why Vascepa developed the .5-milligram capsule when the

11:10:01   24   recommended dosage is 4 grams.      Is it 4 grams or 4 milligrams?

11:10:06   25   I can't remember.    4 grams?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 89 of 350
                                                                                     89



11:10:08    1                      MS. KEANE:   It's 4 grams, Your Honor.

11:10:09    2   BY MS. KEANE:

11:10:10    3    Q      Dr. Ketchum, maybe now would be a good time to address

11:10:14    4   Your Honor's question, or Judge Du's question with respect to

11:10:17    5   the 500-milligram capsules.

11:10:21    6    A      Yes.   So it was presented as an alternative dosage form.

11:10:27    7   So one-gram soft-gelatin capsules, there's a certain

11:10:33    8   proportion of patients who prefer a smaller dosage form.

11:10:38    9                  Although there were no challenges encountered during

11:10:43   10   the clinical trial with the population swallowing the capsule,

11:10:47   11   there are still some patients who prefer a smaller dosage

11:10:51   12   form.    So we developed that later on.      It was actually several

11:10:55   13   years later after, the one-gram dosage form, just as another

11:11:00   14   option for patients.

11:11:02   15                      THE COURT:   Thank you.   Did you want to proceed

11:11:07   16   with your question about the 2 grams?

11:11:09   17                      MS. KEANE:   Yes, Your Honor.

11:11:09   18   BY MS. KEANE:

11:11:10   19    Q      And so, Dr. Ketchum, why is it that Amarin looked at both

11:11:13   20   a 2-gram and 4-gram dose of AMR 101?

11:11:16   21    A      Yes.   So this was a topic that emanated from the pre-IND

11:11:22   22   meeting earlier on.

11:11:24   23                  So when I came on board Amarin in February 2012, the

11:11:32   24   application with FDA was under review.        So this is something

11:11:39   25   that I needed to become deeply familiar with as I was
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 90 of 350
                                                                                   90



11:11:44    1   interacting with FDA.

11:11:45    2              And it is classic in drug development to study more

11:11:48    3   than one dose.    So -- and preferably a multiple factor dose

11:11:57    4   range, meaning, you know, double.       So, in this case, not just

11:12:00    5   4-gram but something that was half at much.

11:12:03    6              And the reason for that is that across -- when you

11:12:10    7   conduct a patient trial, you need to establish that a

11:12:14    8   particular dose has a certain safety and efficacy profile, and

11:12:19    9   ideally your characterizing across multiple doses because not

11:12:23   10   all patients weigh the same, they're not all the same age,

11:12:26   11   they don't all have some other background characteristics, and

11:12:30   12   it's important to establish a body of information that

11:12:33   13   supports a recommended dose in an average presenting patient

11:12:39   14   who's presenting with that medical condition.

11:12:41   15              So this was actually discussed and agreed with FDA

11:12:44   16   that a two full dose range should be studied in the pivotal

11:12:50   17   safety and efficacy program in this trial.

11:12:57   18                    MS. KEANE:   Dr. Ketchum, if we could turn to --

11:12:59   19   or, Mr. Brooks, if we could turn to page 61 of Exhibit 807.

11:13:06   20   If we could pull up Figure 2.

11:13:06   21   BY MS. KEANE:

11:13:09   22    Q   Dr. Ketchum, how many patients were enrolled in MARINE?

11:13:12   23    A   As reflected in the second oval down, there were a total

11:13:17   24   of 229 patients randomized or enrolled in the MARINE study.

11:13:23   25    Q   If we could turn back to pages 30 and 31 of Exhibit 807.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 91 of 350
                                                                                   91



11:13:33    1               Can you briefly describe the patient population that

11:13:36    2   Amarin studied in MARINE.

11:13:38    3    A   Yes.   So this patient population needed to be willing to

11:13:45    4   adhere to the study schedule, they needed to be men and women

11:13:50    5   age 18 or older.

11:13:51    6               They needed to be willing to go off of other lipid

11:13:55    7   altering therapy, apart from statin, with or without this

11:14:02    8   other agent Ezetimibe, and then, importantly, they needed to

11:14:07    9   have fasting triglycerides levels greater than or equal to

11:14:11   10   500 milligrams per deciliter, and less than or equal to

11:14:15   11   2,000 milligrams per deciliter, and be willing to maintain a

11:14:20   12   stable diet and physical activity level throughout the study.

11:14:25   13    Q   And why did Amarin impose an upper limit of 2,000

11:14:32   14   milligrams per deciliter?

11:14:32   15    A   So as I mentioned before, these patients -- kind of the

11:14:36   16   backdrop is these patients with excessive fat levels in their

11:14:41   17   blood are at risk of acute pancreatitis, and so there was

11:14:45   18   upper limit established to ensure that if there were

11:14:49   19   triglyceride fluctuations, that they would not exceed a

11:14:52   20   certain level that would put the patients at undue risk.

11:14:56   21    Q   And why was there a diet and lifestyle stabilization

11:15:01   22   period before patients were randomized in the study?

11:15:05   23    A   So the purpose of the diet and lifestyle, as I mentioned

11:15:09   24   before, so this is a -- the whole context of this development

11:15:16   25   program was to move towards a proposed indication where it
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 92 of 350
                                                                                   92



11:15:20    1   would be used as an adjunct to diet, and also in a situation

11:15:26    2   where patients were exercising appropriately.

11:15:29    3              So the purpose of the lead-in phase was to

11:15:35    4   accommodate them to that study requirement of being on a diet

11:15:39    5   and being willing to maintain physical activity throughout the

11:15:44    6   study.

11:15:45    7              And, you know, and that if the patients couldn't

11:15:49    8   adhere to that, or if, by virtue of that, the patients didn't

11:15:53    9   meet the other study inclusion criterion such as the fasting

11:15:58   10   triglyceride levels, then they would not have been enrolled

11:16:01   11   onto this study.

11:16:02   12    Q   Were any of the patients in MARINE on additional lipid

11:16:08   13   altering medications?

11:16:09   14    A   Yes, there were approximately 25 percent of the patients

11:16:12   15   in MARINE who were on -- concomitantly on a statin.

11:16:18   16    Q   And why were some patients permitted to remain on statin

11:16:22   17   during the period?

11:16:23   18    A   It was -- as described in that same section, it was an

11:16:26   19   allowed medication.     Those patients needed the statin to

11:16:30   20   control their levels of bad cholesterol or LDL-C.

11:16:35   21    Q   What was the primary endpoint in MARINE?

11:16:38   22    A   The primary endpoint in MARINE was the percentage of TG

11:16:43   23   reduction, triglyceride reduction out at week 12 in the

11:16:48   24   Vascepa arm relative to the placebo arm.

11:16:52   25    Q   Did MARINE -- I'm sorry, were there any other endpoints
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 93 of 350
                                                                                   93



11:16:56    1   that were studied in the MARINE study?

11:17:00    2    A   Yes, there were a number of secondary and exploratory

11:17:04    3   efficacy endpoints in the MARINE study.

11:17:07    4    Q   And are the efficacy variables for MARINE reflected in

11:17:10    5   the clinical study report?

11:17:12    6    A   Yes, they are.

11:17:13    7                    MS. KEANE:   Mr. Brooks, if you could pull up

11:17:16    8   section 9.5.2 on page 42 of Exhibit 807.

11:17:16    9   BY MS. KEANE:

11:17:24   10    Q   And, Dr. Ketchum, could you briefly describe what is

11:17:26   11   depicted on page 42.

11:17:29   12    A   On this page is listed the primary efficacy variable in

11:17:33   13   the first sentence that I mentioned, and then a series of

11:17:37   14   secondary efficacy variables are listed in the next sentence,

11:17:42   15   and it moves on to list other exploratory efficacy variables

11:17:47   16   and endpoints.

11:17:48   17    Q   Okay.   If we could focus on the secondary efficacy

11:17:52   18   variable, there's reference there to VLDL-C?

11:17:57   19    A   Yes.

11:17:57   20    Q   What is VLDL-C?

11:18:00   21    A   It stands for very low-density lipoprotein cholesterol.

11:18:03   22    Q   And why was VLDL-C studied?

11:18:07   23    A   It's a classic lipid parameter that's collected in lipid

11:18:13   24   panels and -- especially in triglyceride trials.         It's -- VLDL

11:18:21   25   gets involved in shuttling and transporting triglycerides, and
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 94 of 350
                                                                                     94



11:18:26    1   so it's a key aspect to study in these types of trials.

11:18:30    2    Q      And the secondary efficacy variables there's also a

11:18:37    3   reference to apo B.     What is apo B?

11:18:40    4    A      Apo B is an apolipoprotein that is associated with

11:18:45    5   atherogenic, so particles -- lipid -- lipoprotein particles

11:18:53    6   that can contribute to atherosclerosis.

11:18:58    7                    MS. KEANE:   Mr. Brooks, if you could go to the

11:19:00    8   next section of the document under Exploratory Efficacy.

11:19:00    9   BY MS. KEANE:

11:19:05   10    Q      Dr. Ketchum, there's reference here to LDL-C.      What is

11:19:10   11   LDL-C?

11:19:12   12    A      LDL-C is low-density lipoprotein cholesterol commonly

11:19:17   13   referred to as bad cholesterol.

11:19:18   14    Q      And why did Amarin study LDL-C?

11:19:21   15    A      LDL-C at this point in time in the 2008-2009 time frame

11:19:27   16   was the single most highly validated lipid marker.

11:19:32   17                By that I mean a series of pharmaceutical companies

11:19:37   18   had conducted very large clinical development programs to show

11:19:43   19   that statins were highly effective in lowering bad

11:19:48   20   cholesterol, and also that that reduction in low cholesterol,

11:19:55   21   bad cholesterol, was associated with cardiovascular risk

11:19:59   22   reduction.    So -- and, likewise, that increases in bad

11:20:06   23   cholesterol were associated with increased cardiovascular

11:20:12   24   risk.

11:20:12   25                So as the most highly validated lipid marker, it was
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 95 of 350
                                                                                   95



11:20:15    1   an expected component of a development program like this.

11:20:18    2    Q      Generally speaking, what were the results of the MARINE

11:20:21    3   study?

11:20:22    4    A      So at a high level, the MARINE study robustly met its

11:20:28    5   primary efficacy endpoint and also achieved its secondary

11:20:33    6   efficacy endpoints and on down in through the exploratory

11:20:40    7   endpoints, and it established a safe and tolerable profile as

11:20:44    8   well.

11:20:44    9    Q      And where are the results of MARINE reflected?

11:20:47   10    A      They're reflected within this clinical study report, and

11:20:53   11   then -- obviously which formed the basis for the original new

11:20:58   12   drug application to FDA, and so the results were reflected

11:21:02   13   into that review and then subsequently into the approved

11:21:06   14   prescribing information across various sections of the label,

11:21:11   15   and the results themselves are described in section 14 of that

11:21:15   16   approved prescribing information.

11:21:18   17                     MS. KEANE:   If we could turn to Plaintiff's

11:21:21   18   Exhibit 1186, Mr. Brooks.      If we could pull up Exhibit 1186.

11:21:26   19   If we could turn to section 14.2.

11:21:26   20   BY MS. KEANE:

11:21:34   21    Q      Dr. Ketchum, were you involved with the drafting of

11:21:37   22   Exhibit 1186?

11:21:39   23    A      Yes, I was.

11:21:40   24    Q      Okay.   And, again, this is Amarin's current prescribing

11:21:44   25   information?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 96 of 350
                                                                                   96



11:21:45    1    A   This is Amarin's current prescribing information for

11:21:48    2   Vascepa.

11:21:49    3    Q   So why is a summary of the MARINE clinical trial included

11:21:55    4   in section 14.2 of labeling?

11:21:58    5    A   So this section is intended to describe the trial or

11:22:05    6   trials that served as the pivotal basis for the determination

11:22:09    7   of effectiveness and safety.

11:22:12    8              And so, in this case, the MARINE trial results

11:22:17    9   formed that pivotal basis for the determination of

11:22:20   10   effectiveness and safety of Vascepa for the MARINE indication,

11:22:24   11   and so it's to provide information to the reviewers, the

11:22:31   12   potential prescribing physicians, around the trial that was

11:22:36   13   conducted to form that pivotal basis.

11:22:39   14                   MS. KEANE:   And, Mr. Brooks, if we could focus

11:22:41   15   on the first paragraph on the top of page 11.

11:22:41   16   BY MS. KEANE:

11:22:45   17    Q   And, Dr. Ketchum, what is the purpose of the first

11:22:48   18   paragraph on page 11 -- I'm sorry, the first paragraph in the

11:23:01   19   Clinical Study section on page 11 which is also the first

11:23:03   20   paragraph in the clinical study section?

11:23:06   21    A   So the purpose of this paragraph is at a high level to

11:23:10   22   describe the design of the MARINE study, the inclusion, key

11:23:17   23   inclusion criterion, and then -- that takes up the first two

11:23:22   24   sentences of that paragraph, and then in the subsequent number

11:23:28   25   of sentences on through the end of that paragraph it's
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 97 of 350
                                                                                   97



11:23:32    1   basically conveying what we call the baseline demographics or

11:23:37    2   the baseline characteristics of the patients who were enrolled

11:23:41    3   into the MARINE study.

11:23:43    4                   MS. KEANE:   And, Mr. Brooks, if we can now focus

11:23:45    5   on the next paragraph on page 11.

11:23:45    6   BY MS. KEANE:

11:23:49    7    Q   So, Dr. Ketchum, the next paragraph refers to major

11:23:53    8   lipoprotein lipid parameters.      Do you see that?

11:23:56    9    A   Yes, I see that.

11:23:57   10    Q   What does major lipoprotein lipid parameters mean?

11:24:02   11    A   So they are the key lipoprotein and lipid parameters that

11:24:08   12   were studied in the MARINE study in terms of the primary and

11:24:12   13   secondary and other endpoints.

11:24:14   14                   MS. KEANE:   Okay.   And, Mr. Brooks, if you could

11:24:16   15   go down to table 2.

11:24:16   16   BY MS. KEANE:

11:24:20   17    Q   Dr. Ketchum, what's depicted in table 2?

11:24:23   18    A   So table 2 depicts the results from the MARINE study on

11:24:28   19   those major lipid and lipoprotein parameters.

11:24:33   20    Q   And what was the effect of Vascepa 4 grams per day on

11:24:38   21   triglyceride levels?

11:24:38   22    A   So on triglyceride levels in the far right hand column it

11:24:43   23   reflects that a 33 percent reduction in triglycerides relative

11:24:47   24   to placebo was achieved at a dose of 4 grams per day.

11:24:52   25    Q   And what was the effect of Vascepa 4 grams per day on
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 98 of 350
                                                                                   98



11:24:56    1   apo B?

11:24:58    2    A   Treatment with Vascepa at 4 grams per day led to a nine

11:25:02    3   percent reduction relative to placebo.

11:25:07    4    Q   And what was the effect of Vascepa 4 grams per day on

11:25:13    5   LDL-C?

11:25:14    6    A   A minus 2 or 2 percent reduction relative to placebo at a

11:25:18    7   dose of 4 grams per day of Vascepa.

11:25:21    8    Q   And if we could continue down below the table on the same

11:25:44    9   page, there are a couple of statements there, Dr. Ketchum.

11:25:48   10   Why did Amarin include this paragraph under table 2 in the

11:25:55   11   Vascepa labeling?

11:25:56   12    A   So this information, as I mentioned, is directed to

11:26:00   13   healthcare professionals so that as they review it, they're

11:26:06   14   being apprised of key information from that pivotal trial.

11:26:13   15              And it's -- you know, one can either assume that

11:26:17   16   someone can glean the key information from a table, or

11:26:20   17   classically, because you don't want to leave things to chance

11:26:23   18   in the context of a prescribing information, the intent of

11:26:28   19   those two sentences is to draw the key information from the

11:26:33   20   table that's presented above, and it's tied to the asterisked

11:26:39   21   elements in the first sentence.

11:26:41   22              So the first instance -- or the first sentence below

11:26:45   23   table 2 is tied to the asterisked elements above in table 2,

11:26:51   24   which in turn are the -- as we previously discussed, the

11:26:55   25   primary efficacy variable was triglyceride reduction, and two
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 99 of 350
                                                                                   99



11:27:02    1   key secondary efficacy variables were VLDL-C and apo B.

11:27:10    2                So it's drawing the healthcare professional's

11:27:12    3   attention to that key information and explaining that Vascepa

11:27:16    4   4 grams per day reduced each of those lipid or lipoprotein

11:27:21    5   parameters from baseline relative to placebo.

11:27:26    6                The intent of the second sentence is, as I

11:27:28    7   mentioned, LDL-C or bad cholesterol is the most -- continues

11:27:33    8   to be the most highly validated lipid marker, and so the

11:27:37    9   intent of that second sentence was again to draw the

11:27:40   10   healthcare professional's attention to the fact that in terms

11:27:45   11   of that important lipid parameter, the treatment with Vascepa

11:27:51   12   at 4 grams per day led to the reduction in TGs that were

11:27:57   13   observed, but that observation was not associated with

11:27:59   14   elevations in bad cholesterol relative to placebo.

11:28:05   15    Q   Okay.    Dr. Ketchum, we previously talked about -- I

11:28:09   16   believe you testified that there are about 25 percent of

11:28:12   17   patients in MARINE who were on concomitant statin therapy; is

11:28:18   18   that right?

11:28:18   19    A   Yes, that was listed in the paragraph above the table 2.

11:28:22   20    Q   Did Amarin study whether the results of MARINE were

11:28:25   21   consistent across patients who took statins and people who did

11:28:29   22   not take a statin?

11:28:31   23    A   Yes.     This would have been part of the additional

11:28:33   24   analyses performed on the data set by Amarin.

11:28:38   25    Q   And how did the results between those two groups of
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 100 of 350
                                                                                    100



11:28:40    1   patients compare?

11:28:41    2    A    There were no differences.

11:28:43    3    Q    And where is the analysis that Amarin conducted between

11:28:50    4   those two patient groups, where is that analysis reflected?

11:28:53    5    A    It's reflected at the back of the clinical study report

11:28:57    6   in what's called a set of posttext tables and figures.

11:29:02    7                    MS. KEANE:   Okay.   If we could turn to

11:29:04    8   Plaintiff's Exhibit 807, and, Mr. Brooks, if you could bring

11:29:10    9   up page 459, and, Dr. Ketchum, I would like to direct you to

11:29:15   10   page 459.

11:29:15   11   BY MS. KEANE:

11:29:22   12    Q    Dr. Ketchum, can you explain what is depicted in table

11:29:25   13   14.2.97?

11:29:28   14    A    Yes.   As listed in the heading there, in the middle

11:29:33   15   towards the top, it specifies that this is the subgroup who

11:29:37   16   was on statin therapy.      So this is the subset of patients

11:29:43   17   receiving co-therapy with statin.

11:29:46   18                And then in the table below, in the top line of

11:29:53   19   the -- it lists the number of subjects who were on statin

11:29:57   20   therapy across each of the three treatment groups.         It shows

11:30:02   21   there baseline, and then week 12 endpoint levels, and then,

11:30:09   22   you know, towards the bottom what it's doing is a statistical

11:30:14   23   comparison as reflected by the p-values, and it shows that

11:30:19   24   there's no difference in the LDL-C in this -- across these

11:30:26   25   various Vascepa treatment groups.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 101 of 350
                                                                                    101



11:30:31    1    Q    If we could turn to page 460.

11:30:34    2                 Would you explain what's depicted in table 14.2.9 on

11:30:39    3   page 460.

11:30:40    4    A    So this is for the larger subgroup who was not currently

11:30:46    5   also taking a statin therapy, and, similarly, down towards the

11:30:53    6   bottom in the right-hand portion it's doing a statistical

11:30:58    7   comparison between the 2-gram daily dose and the 4-gram daily

11:31:04    8   dose of Vascepa, and the p-values show that there's no

11:31:07    9   statistical difference between those values for LDL

11:31:12   10   cholesterol.

11:31:16   11    Q    Okay.    And how did the results that are depicted in table

11:31:22   12   14.2.97 compare with the results in table 14.2.98?

11:31:29   13    A    They're comparable.

11:31:32   14    Q    I think as we've previously talked about the MARINE study

11:31:39   15   led to an approved indication; is that right?

11:31:42   16    A    Yes, that's correct.

11:31:43   17    Q    And that's the MARINE indication?

11:31:45   18    A    It's the MARINE indication.

11:31:47   19    Q    Do you have an understanding of why the Vascepa was

11:31:54   20   approved?

11:31:55   21    A    Yes.    Vascepa was approved for that indication because we

11:32:01   22   had conducted the study under what's called a special protocol

11:32:05   23   assessment agreement with FDA.       So we prediscussed the study

11:32:10   24   that we were going to conduct and the analyses that we were

11:32:14   25   going to perform, and one condition of that agreement was that
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 102 of 350
                                                                                    102



11:32:17    1   the trial read out, meet its pre-specified primary endpoint,

11:32:23    2   and, you know, show a safe and effective profile.         So that's

11:32:29    3   one component as to why the product was approved.

11:32:34    4                That's -- and that has to do with the 12-week

11:32:38    5   randomized, double-blind, placebo-controlled phase that formed

11:32:45    6   that part of the basis for approval.

11:32:47    7                Amarin also conducted the 40-week open label

11:32:50    8   extension phase which formed the basis for another requirement

11:32:56    9   which was having a certain minimum number of patients exposed

11:33:02   10   for one year at the intended approved dose which was 4 grams

11:33:07   11   per day.

11:33:08   12                And then there was a third component that formed the

11:33:11   13   basis of the acceptability of the application for this

11:33:15   14   approved indication, and that was the total number of patients

11:33:20   15   exposed to Vascepa, and so --

11:33:25   16                And also included in the new drug application were

11:33:28   17   the results of this separate lipid trial that we called

11:33:31   18   ANCHOR, and so the totality of those data sets formed the

11:33:37   19   basis for the approval of the MARINE indication.

11:33:41   20    Q    And are the -- is your understanding of the reasons for

11:33:47   21   approval based on any documents or reflected in any documents?

11:33:51   22    A    Yes.   When FDA reviews a new drug application, a variety

11:33:57   23   of technical disciplines review the application, including,

11:34:02   24   importantly, the medical reviewer plays a -- plays a lead role

11:34:05   25   in that determination, so within FDA's medical review that is
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 103 of 350
                                                                                    103



11:34:15    1   publicly available -- becomes publically available at some

11:34:20    2   point.

11:34:20    3    Q    And if we could turn to Plaintiff's Exhibit 289, what is

11:34:29    4   Exhibit 289?

11:34:32    5    A    So Exhibit 289 is the medical review from FDA in

11:34:40    6   conjunction with our original new drug application based on

11:34:44    7   the MARINE study.

11:34:58    8                    MS. KEANE:   Mr. Brooks, if you could pull up

11:35:01    9   section 6.1.9 on page 68 as well as the corresponding figure

11:35:08   10   on the next page.

11:35:08   11   BY MS. KEANE:

11:35:22   12    Q    Dr. Ketchum, can you explain what is depicted in

11:35:26   13   section 6.1.9 of the medical review.

11:35:30   14    A    Yes.   So this is a section of the medical review where

11:35:36   15   the medical reviewer is touching on the aspects pertaining to

11:35:41   16   persistence of efficacy.

11:35:43   17                And so the medical reviewer is -- through its

11:35:52   18   team -- or actually in -- this particular figure actually was

11:35:56   19   sourced from the MARINE clinical study report itself.          So the

11:36:00   20   medical review -- medical reviewer would have had access to

11:36:05   21   this figure from the clinical study reports submitted by

11:36:09   22   Amarin.

11:36:11   23                And what this medical reviewer is drawing attention

11:36:14   24   to is, in that second sentence, where it's talking about the

11:36:19   25   maximum TG-lowering effect, speaking to the lowest curve on
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 104 of 350
                                                                                    104



11:36:25    1   that plot, the one that in -- the key further below is showing

11:36:29    2   the inverted red triangles, those data points pertain to the

11:36:36    3   Amarin -- the Vascepa, the 4-gram per day dose, and it's

11:36:39    4   saying that the maximum effects occurred by week four and that

11:36:43    5   they were maintained throughout the 12-week study.

11:36:47    6               And it's comparing and contrasting that observation

11:36:52    7   to what was observed in the intermediate curve within that

11:36:59    8   plot, which is the dashed line with the blue crosses.

11:37:07    9               And it's -- you know, and then the other part of

11:37:12   10   that same sentence is acknowledging that there were certain TG

11:37:18   11   fluctuations in the third arm of the study, which was the

11:37:22   12   highest curve with the solid line and the green diamonds.

11:37:36   13               So the medical reviewer is essentially concluding

11:37:39   14   that the Vascepa 4-gram per day dose led to maximal effects by

11:37:47   15   week four and maintaining those effects through the 12-week

11:37:51   16   study period.

11:37:52   17    Q    And, Dr. Ketchum, you explained earlier that there were

11:37:56   18   additional safety requirements that Amarin was required to

11:38:00   19   meet in support of its NDA; is that right?

11:38:04   20    A    Yes, that's correct.

11:38:05   21    Q    And are there -- is the requirement for those -- well,

11:38:16   22   let me back up.

11:38:17   23               How did Amarin meet FDA's additional safety

11:38:22   24   requirements?

11:38:23   25    A    So it met those requirements through the 40-week open
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 105 of 350
                                                                                    105



11:38:29    1   label extension phase of MARINE.       So that satisfied the

11:38:34    2   component of having a certain minimum number of patients

11:38:38    3   exposed to one year at the dose of 4 grams per day.

11:38:41    4                And then separately Amarin conducted the ANCHOR

11:38:46    5   12-week study which had an additional 702 patients enrolled,

11:38:54    6   and that satisfied the requirement for, you know, a multi

11:39:02    7   hundred number of patients exposed to the study drop in total.

11:39:08    8    Q    And FDA ultimately concluded that Vascepa was safe for

11:39:13    9   the intended use?

11:39:14   10    A    Yes, yes, the FDA did.

11:39:16   11    Q    Are there any documents that reference or reflect FDA's

11:39:20   12   safety requirements for Vascepa?

11:39:23   13    A    Yes.   So within the same medical review, obviously teams

11:39:29   14   of medical reviewers review different drugs across

11:39:34   15   different -- from different sponsors, and there's a checklist

11:39:40   16   that -- a guidance, basically that they're given for their

11:39:43   17   review, and that appears at the end of the -- that checklist

11:39:47   18   appears at the end of the medical review.

11:39:50   19                    MS. KEANE:   Mr. Brooks, if we could pull up

11:39:52   20   page 138 of Exhibit 289.

11:39:52   21   BY MS. KEANE:

11:40:01   22    Q    And, Dr. Ketchum, is the checklist that you're referring

11:40:07   23   to, is that where it's reflected on page 138?

11:40:10   24    A    Yes, that's the start of the clinical checklist.

11:40:13   25    Q    And what is the purpose of the clinical filing checklist?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 106 of 350
                                                                                    106



11:40:17    1    A    So it's intended to -- it follows a defined format and

11:40:24    2   lists the domains that the medical reviewer or the clinical

11:40:28    3   review team is expected to touch upon during its review to

11:40:33    4   ensure that there's a thorough review for all of the expected

11:40:37    5   components that would support a recommendation for approval as

11:40:43    6   a safe and effective drug for that proposed indication.

11:40:47    7    Q    Where are the safety requirements reflected in the

11:40:50    8   checklist?

11:40:50    9    A    There's a separate -- that checklist is separated by

11:40:55   10   subheadings involved and there is a safety related subsection.

11:41:04   11                    MS. KEANE:   Mr. Brooks, if you could pull up

11:41:08   12   page 142, and if we could focus on the safety section.

11:41:08   13   BY MS. KEANE:

11:41:21   14    Q    Dr. Ketchum, could you explain what's depicted here in

11:41:25   15   the safety section of the NDA filing checklist.

11:41:28   16    A    Yes.   So it's again spelling out certain content aspects

11:41:36   17   from a new drug application that are phrased as questions to

11:41:40   18   the medical reviewer for them to answer yes, no, or not

11:41:44   19   applicable, and what I was speaking to was element 21.

11:41:55   20                So severe hypertriglyceridemia, again, it's a

11:42:01   21   chronic asymptomatic condition.       This was a new chemical

11:42:05   22   entity being submitted so it's expected to abide by ICH or --

11:42:10   23   that's an abbreviation for the International Conference on

11:42:13   24   Harmonization.

11:42:15   25                So the major regions of Japan, Europe, and the U.S.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 107 of 350
                                                                                    107



11:42:20    1   came together over a series of years and spelled out certain

11:42:24    2   guidelines across certain topics including in this instance

11:42:28    3   safety, and so they had certain expectations about the

11:42:33    4   exposure information that a sponsor is going to provide in a

11:42:37    5   new drug application.

11:42:38    6               And in this instance, the medical reviewer ticked

11:42:43    7   yes in that box.     And there's a footnote 1 that provides some

11:42:48    8   additional information and it's -- again, this is a

11:42:52    9   recommendation.

11:42:54   10               It gives the medical reviewer and FDA some latitude

11:42:59   11   depending on the drug in question.       The patient population in

11:43:03   12   question are not absolutely rigid.       But they are expected to

11:43:07   13   approach or meet these types of numbers for chronically

11:43:11   14   administered drugs.

11:43:13   15               And that's where the 100 patients for one year

11:43:17   16   aspect was met by the randomized, double-blind,

11:43:24   17   placebo-controlled portion of the MARINE study, plus the

11:43:27   18   40-week open label component, and that open label component

11:43:33   19   was conducted at 4 grams per day which factors into the

11:43:36   20   whole -- the last sentence about the dose or dose range

11:43:40   21   believed to be efficacious.

11:43:42   22               And then the 229 patients in the MARINE study, plus

11:43:47   23   the 702 patients enrolled in ANCHOR approached a thousand

11:43:52   24   patients so -- and in the context of arguably a safer than

11:44:00   25   average drug class, all of these factors led to the medical
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 108 of 350
                                                                                    108



11:44:05    1   reviewer ticking that box yes.

11:44:08    2                    MS. KEANE:   If we could -- Mr. Brooks, if we

11:44:09    3   could focus on line 22, or row 22.

11:44:09    4   BY MS. KEANE:

11:44:15    5    Q    And, Dr. Ketchum, what does row 22 convey?

11:44:18    6    A    So row 22 is highlighting another potential scenario that

11:44:25    7   might face the medical reviewer in the context of a submitted

11:44:29    8   new drug application.

11:44:31    9                Some drugs are not intended for chronic

11:44:34   10   administration, they're intended for intermittent or short

11:44:38   11   course use, and in that situation then the medical reviewer is

11:44:45   12   being asked, you know, have the requisite number of patients

11:44:50   13   been exposed, and the medical reviewer has ticked this not

11:44:54   14   applicable because of his or her answer to 21.

11:45:00   15                    MS. KEANE:   Dr. Ketchum -- or, Mr. Brooks, we

11:45:03   16   can take down this exhibit.

11:45:03   17   BY MS. KEANE:

11:45:05   18    Q    Did Amarin submit data from any preclinical studies as

11:45:10   19   part of its NDA for the MARINE indications?

11:45:14   20    A    Yes.   As discussed in the pre-IND meeting in July 2008,

11:45:19   21   because this was a new chemical entity for a chronic disease

11:45:24   22   state, Amarin was required to conduct what's called

11:45:29   23   carcinogenicity studies.      So essentially these are studies of

11:45:34   24   the ability of a drug to contribute to uncontrolled cell

11:45:38   25   growth or cancer.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 109 of 350
                                                                                    109



11:45:39    1                It's an important component particularly for new

11:45:42    2   chemical entities and chronically administered drugs, and we

11:45:46    3   were required to conduct those studies in two species and fold

11:45:51    4   that information into our new drug application.

11:45:54    5    Q    And is the requirement -- was that preclinical

11:45:57    6   requirement reflected in any documents?

11:46:01    7    A    Yes.   So it was -- after being discussed at the pre-IND

11:46:07    8   meeting, it ultimately -- after we had conducted the studies

11:46:10    9   and submitted the information, it's folded into the approved

11:46:14   10   prescribing information for Vascepa.

11:46:19   11                    MS. KEANE:   And, Mr. Brooks, if we could pull up

11:46:21   12   page 7 of Exhibit 482.      Exhibit 482 is previously admitted.

11:46:21   13   BY MS. KEANE:

11:46:30   14    Q    Dr. Ketchum, for the record, what is the document that

11:46:32   15   begins on page 7 of Exhibit 482?

11:46:35   16    A    So this is the cover page from the FDA project manager at

11:46:49   17   DMEP sharing the official minutes of that pre-IND meeting with

11:46:53   18   Amarin.

11:46:53   19    Q    And where in the document is the requirement for

11:46:57   20   preclinical studies discussed?

11:47:02   21    A    So in preparing its request for the meeting, Amarin posed

11:47:06   22   a series of questions arranged by topics according to the

11:47:11   23   technical discipline, and there's a nonclinical -- a series of

11:47:16   24   nonclinical questions within those meeting minutes that

11:47:19   25   contain Amarin's question and FDA's response, and that
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 110 of 350
                                                                                    110



11:47:26    1   appears -- I believe it's question -- nonclinical question

11:47:32    2   number six.

11:47:36    3                    MS. KEANE:   Mr. Brooks, if we could pull up

11:47:38    4   question six starting on page 11.

11:47:38    5   BY MS. KEANE:

11:47:45    6    Q    And, Dr. Ketchum, what is reflected in question number

11:47:47    7   six on page 11?

11:47:50    8    A    So the italicized text at the top is Amarin's question to

11:47:56    9   FDA, and it's essentially proposing not to need to further

11:48:04   10   study the carcinogenic potential of the icosapent ethyl.

11:48:11   11                The bolded preliminary response is from FDA and was

11:48:15   12   communicated to Amarin in advance of the face-to-face meeting.

11:48:19   13   The preliminary response was no.

11:48:22   14                It's generally expected that a carcinogenicity study

11:48:22   15   be conducted in two rodent species to support marketing

11:48:30   16   approval of a new chemical entity for a chronic use

11:48:32   17   indication, and essentially leading up to the meeting

11:48:40   18   discussion, which we affirmed the need for Amarin -- that's

11:48:44   19   the subsequent underlined text beginning at the bottom of that

11:48:48   20   screen, and at the end, Amarin needed to perform those two

11:48:56   21   carcinogenicity studies in each of two rodent species.

11:49:01   22    Q    In the section titled Preliminary Response there's

11:49:05   23   reference to chronic use indication.        Do you see that?

11:49:08   24    A    Yes.

11:49:08   25    Q    What chronic use indication is that referring to?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 111 of 350
                                                                                      111



11:49:11    1    A    That's referring to the MARINE indication.

11:49:14    2    Q    There's also a reference in that section to a new

11:49:19    3   chemical entity.     Do you see that?

11:49:21    4    A    Yes.

11:49:21    5    Q    What is a new chemical entity?

11:49:24    6    A    A new chemical entity is a -- basically, a chemical

11:49:32    7   compound that has never been approved before, and so it's --

11:49:40    8   it doesn't exist in nature as it is, and has never before been

11:49:49    9   progressed through a clinical development program and moved

11:49:54   10   towards an approved pharmaceutical use.

11:49:56   11    Q    And the carcinogenicity studies that are referenced in

11:50:06   12   question number six, did Amarin perform those carcinogenicity

11:50:12   13   studies?

11:50:12   14    A    Yes, Amarin did.

11:50:14   15    Q    And where are the results of those studies reflected?

11:50:16   16    A    They're reflected in the approved prescribing information

11:50:20   17   for Vascepa.

11:50:20   18    Q    If we could turn back to Plaintiffs' Exhibit 1186.            Where

11:50:27   19   are those results reflected in Exhibit 1186?

11:50:32   20    A    So the nonclinical section of the label is section 13.

11:50:39   21                   MS. KEANE:    And, Mr. Brooks, if we could pull up

11:50:42   22   section 13.

11:50:42   23   BY MS. KEANE:

11:50:48   24    Q    And where specifically in section 13 are the

11:50:52   25   carcinogenicity studies reflected?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 112 of 350
                                                                                    112



11:50:55    1    A    So the rat study appears in the first paragraph of

11:51:00    2   section 13.1, and the mouse study appears in paragraph 2 of

11:51:06    3   section 13.1.

11:51:07    4    Q    And generally speaking, what were the results of the

11:51:10    5   carcinogenicity studies?

11:51:12    6    A    Neither -- so both studies supported there was no

11:51:16    7   carcinogenic potential of icosapent ethyl.

11:51:30    8    Q    Dr. Ketchum, I want to change gears a little bit.

11:51:34    9                 How did the MARINE study support Amarin's ability to

11:51:40   10   differentiate Vascepa from other triglyceride-lowering

11:51:42   11   medications?

11:51:44   12    A    So as I mentioned before, the other existing therapies

11:51:52   13   were associated with increases in LDL-C or bad cholesterol.

11:51:57   14   Our MARINE study showed that the triglyceride reductions were

11:52:00   15   not associated with those rises in bad cholesterol so that was

11:52:04   16   one point of differentiation.

11:52:07   17                 And then another was within the adverse effects

11:52:11   18   section.    We -- our product was shown not to be associated

11:52:16   19   with some of the side effects that are reported in the labels

11:52:21   20   of those other products.

11:52:23   21    Q    Okay.    And does Amarin promote Vascepa as a treatment for

11:52:26   22   reducing triglycerides in adult patients with severe

11:52:30   23   hypertriglyceridemia?

11:52:31   24    A    Yes, Amarin does.

11:52:32   25    Q    And does Amarin mention Vascepa's lack of an effect on
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 113 of 350
                                                                                    113



11:52:36    1   LDL-C when promoting Vascepa?

11:52:40    2    A    Yes, Amarin does.

11:52:41    3                   MS. KEANE:    Mr. Brooks, can we pull up

11:52:44    4   Exhibit 287.

11:52:44    5   BY MS. KEANE:

11:52:46    6    Q    And, Dr. Ketchum, if could you take a look at

11:52:49    7   Exhibit 287.    What is Exhibit 287?

11:52:52    8    A    Exhibit 287 is a direct-to-consumer print advertisement

11:53:00    9   for Vascepa.

11:53:00   10    Q    And are you familiar with Exhibit 287?

11:53:03   11    A    Yes, I am.

11:53:09   12                   MS. KEANE:    Your Honor, plaintiffs move to admit

11:53:11   13   Exhibit Plaintiffs' 287 into evidence.

11:53:14   14                   MR. KLEIN:    No objection.

11:53:14   15                   THE COURT:    Exhibit 287 is admitted.

11:53:14   16                           (Plaintiff's Exhibit 287 received in
11:53:17                                 evidence.)
11:53:17   17   BY MS. KEANE:

11:53:18   18    Q    Dr. Ketchum, does Plaintiffs' Exhibit 287 make any

11:53:21   19   reference to LDL-C?

11:53:23   20    A    Yes, it does.    In the right middle portion that's

11:53:30   21   demarcated by two lines there in the second paragraph, it says

11:53:38   22   that Vascepa, along with diet, is clinically proven to lower

11:53:43   23   very high triglycerides by 33 percent in adults without

11:53:47   24   raising bad cholesterol, and then there's a qualifying

11:53:52   25   footnote.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 114 of 350
                                                                                    114



11:53:54    1    Q    If you could turn to Plaintiffs' Exhibit 286 in your

11:53:59    2   binder as well.

11:54:02    3                   MS. KEANE:    And, Mr. Brooks, could you pull up

11:54:04    4   Exhibit 286.

11:54:04    5   BY MS. KEANE:

11:54:06    6    Q    What is Exhibit 286?

11:54:09    7    A    So as indicated at the top, this is a direct-to-consumer

11:54:18    8   TV ad for Vascepa, and this is what's called a storyboard.          So

11:54:23    9   it lays out the flow of the TV ad.

11:54:29   10    Q    And, Dr. Ketchum, are you familiar with Plaintiffs'

11:54:33   11   Exhibit 286?

11:54:33   12    A    Yes, I am.

11:54:34   13                   MS. KEANE:    Your Honor, plaintiffs move to admit

11:54:36   14   Plaintiffs' Exhibit 286 into evidence.

11:54:38   15                   MR. KLEIN:    No objection.

11:54:38   16                   THE COURT:    286 is admitted as well.

11:54:38   17                           (Plaintiffs' Exhibit 286 received in
11:54:43                                 evidence.)
11:54:43   18   BY MS. KEANE:

11:54:43   19    Q    Dr. Ketchum, does Plaintiffs' Exhibit 286 make any

11:54:46   20   reference to LDL-C?

11:54:49   21    A    Yes, it does.    It's in frame 11, or storyboard 11, on

11:54:58   22   page 3 of that exhibit.

11:55:00   23                   MS. KEANE:    And, Mr. Brooks, if we could turn to

11:55:02   24   page 3 and pull up slide 11.

11:55:11   25                   THE WITNESS:    So in that frame it's conveying --
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 115 of 350
                                                                                    115



11:55:14    1   and there's a voiceover, the acronym AVO is speaking to an

11:55:19    2   audio voice over which, in conjunction with the visual there

11:55:24    3   in the center of that screen, is saying that Vascepa along

11:55:27    4   with diet is clinically proven to lower very high

11:55:32    5   triglycerides by 33 percent of adults without raising bad

11:55:36    6   cholesterol.

11:55:36    7   BY MS. KEANE:

11:55:37    8    Q    And does Amarin believe it's permissible to reference

11:55:40    9   Vascepa's effect on LDL-C in its promotional materials?

11:55:46   10    A    Yes.

11:55:47   11    Q    And why is that?

11:55:49   12    A    That's because it's a part of the approved prescribing

11:55:52   13   information for Vascepa.

11:55:53   14    Q    And does FDA regulate prescription drug promotion?

11:55:58   15    A    Yes, it does.

11:55:58   16    Q    And has Amarin asked FDA to review its promotional

11:56:04   17   materials?

11:56:04   18    A    Yes.   These DTC print advertisement and TV spot

11:56:10   19   storyboard were shared with FDA's Office of Prescription Drug

11:56:15   20   Promotion for their review in advance of finalization and

11:56:20   21   dissemination.

11:56:21   22    Q    And has FDA -- to your knowledge, has FDA raised a

11:56:25   23   concern with Amarin regarding Vascepa promotional materials

11:56:29   24   that reference the lack of LDL-C increase?

11:56:33   25    A    No.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 116 of 350
                                                                                    116



11:56:33    1    Q    Could we take a look at Exhibit 762, and, Dr. Ketchum,

11:56:46    2   what is Plaintiffs' Exhibit 762?

11:56:49    3    A    Exhibit 762 is a letter from FDA's Office of Prescription

11:56:58    4   Drug Promotion from the NSPO regulatory review officer at OPDP

11:57:06    5   addressed to me conveying their feedback in response to a

11:57:11    6   submission that we made containing a draft print DTC

11:57:16    7   advertisement and a draft TV ad storyboard.

11:57:20    8    Q    And what are those draft print advertisements and DTC

11:57:25    9   storyboards?

11:57:25   10    A    They were in the prior materials that we just pulled up

11:57:30   11   onto the screen.

11:57:30   12    Q    They were Plaintiffs' Exhibits 286 and 287?

11:57:33   13    A    Yes.

11:57:38   14    Q    And Plaintiffs' Exhibit 762, that's addressed to you?

11:57:40   15    A    Yes, it is.

11:57:42   16    Q    And are you familiar with this document?

11:57:46   17    A    I am.

11:57:46   18                   MS. KEANE:    Your Honor, plaintiffs also move to

11:57:48   19   admit Plaintiffs' Exhibit 762 into evidence.

11:57:52   20                   MR. KLEIN:    No objection.

11:57:52   21                   THE COURT:    762 is admitted.

11:57:52   22                           (Plaintiffs' Exhibit 762 received in
11:57:55                                 evidence.)
11:57:55   23   BY MS. KEANE:

11:57:55   24    Q    And, Dr. Ketchum, can you explain what role Exhibit 762

11:57:59   25   played in FDA's review process.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 117 of 350
                                                                                    117



11:58:04    1    A    So Exhibit 762 was the end, the culmination of their

11:58:11    2   review of our proposed DTC promotional materials.

11:58:16    3    Q    And what concerns, if any, did FDA raise regarding the

11:58:19    4   statements -- the statements regarding Vascepa's effect on

11:58:24    5   LDL-C?

11:58:25    6    A    FDA had no requested or proposed revisions to those

11:58:31    7   statements.

11:58:33    8    Q    Okay.    Dr. Ketchum, I would like to turn to the ANCHOR

11:58:42    9   study, and this is the second study that you referenced

11:58:47   10   earlier in your testimony with respect to Vascepa.         What was

11:58:50   11   the ANCHOR study designed to evaluate?

11:58:54   12    A    So the ANCHOR study was in a different

11:59:03   13   hypertriglyceridemic patient population.        So the goal of this

11:59:06   14   study, these were patients to contrast with the severely

11:59:10   15   hypertriglyceridemic patients, these were patients that had

11:59:13   16   multiple lipid abnormalities.

11:59:17   17                 So their primary lipid abnormality was they needed

11:59:23   18   statin to control their bad cholesterol, and in spite of that,

11:59:27   19   they had elevated triglycerides in the range of 200 to

11:59:31   20   499 milligrams per deciliter.

11:59:34   21                 So the goal of this study was to demonstrate that

11:59:38   22   robust triglyceride reductions could be achieved but without

11:59:45   23   perturbing the effect of the statin to control LDL-C, and

11:59:49   24   there were other secondary and tertiary and exploratory goals

11:59:54   25   of the study.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 118 of 350
                                                                                    118



11:59:55    1    Q    And are there any documents that describe the design of

12:00:00    2   the ANCHOR study?

12:00:01    3    A    Yes.    One of the those would be the primary publication

12:00:04    4   on the ANCHOR study by Dr. Christie Ballantyne.

12:00:07    5    Q    And, Dr. Ketchum, I'll have you turn to Exhibit 942 in

12:00:10    6   your binder.    And, Dr. Ketchum, what is Exhibit 942?

12:00:20    7    A    Exhibit 942 is the publication of the ANCHOR study

12:00:27    8   results, primary study results, in the American Journal of

12:00:33    9   Cardiology.

12:00:33   10    Q    and are you familiar with Exhibit 942 from your work at

12:00:35   11   Amarin?

12:00:36   12    A    Yes, I am.

12:00:38   13                    MS. KEANE:   Your Honor, plaintiffs also move to

12:00:40   14   admit Plaintiffs' Exhibit 942.

12:00:42   15                    MR. KLEIN:   No objection.

12:00:43   16                    THE COURT:   942 is admitted.

12:00:43   17                           (Plaintiffs' Exhibit 942 received in
12:00:45                                 evidence.)
12:00:45   18   BY MS. KEANE:

12:00:46   19    Q    Dr. Ketchum, where in Exhibit 942 is the design of the

12:00:50   20   ANCHOR study discussed?

12:00:55   21    A    So it's discussed in a number of places, but pictorially

12:01:00   22   it's shown in Figure 1, the high level study design, page 2 of

12:01:06   23   that article.

12:01:08   24                    MS. KEANE:   Mr. Brooks, if we could pull up

12:01:11   25   Figure 1.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 119 of 350
                                                                                    119



12:01:11    1   BY MS. KEANE:

12:01:12    2    Q    And can you -- Dr. Ketchum, can you briefly describe the

12:01:15    3   design of the ANCHOR study.

12:01:17    4    A    Yes.   Similar to the MARINE trial, it had a four- to

12:01:21    5   six-week lead-in period, a two- to three-week qualifying

12:01:26    6   period, and then after patients were determined whether or not

12:01:30    7   they met the inclusion-exclusion criteria, those who did could

12:01:34    8   be randomized one-to-one-to-one onto either of three treatment

12:01:39    9   arms, placebo plus their stable statin dose, Vascepa 2-gram

12:01:46   10   per day along with their stable statin dose, or Vascepa 4

12:01:46   11   grams per day along with their stable statin dose.

12:01:52   12                And then they were followed across a 12-week

12:01:55   13   double-blind period until the primary endpoint was -- and

12:01:59   14   other measurements were made at the end of that 12-week

12:02:02   15   period.

12:02:03   16    Q    If we could turn to Figure 2 on page 3.

12:02:11   17                How many patients were involved in the ANCHOR study?

12:02:13   18    A    There were a total of 702 patients randomized or enrolled

12:02:19   19   into the ANCHOR study.

12:02:21   20    Q    And can you describe the patient population studied in

12:02:25   21   ANCHOR?

12:02:25   22    A    Yes.   This was a patient population, again, men and women

12:02:31   23   aged 18 or older.     They had to be willing to abide by the

12:02:37   24   study schedule, same principle around diet and exercise that

12:02:45   25   they needed to maintain throughout the trial.         They needed to
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 120 of 350
                                                                                    120



12:02:48    1   agree to remain on their stable statin dose throughout the

12:02:52    2   trial as well, and then, importantly, they needed to have

12:02:56    3   fasting triglyceride levels between 200 and 499 milligrams per

12:03:02    4   deciliter.

12:03:02    5    Q    And why is it that patients in ANCHOR were required to be

12:03:10    6   on a statin?

12:03:11    7    A    Because of their lipid abnormality characterized by too

12:03:17    8   high levels of bad cholesterol needing statin control.

12:03:22    9    Q    And what were the results of the ANCHOR study?

12:03:27   10    A    So ANCHOR -- the ANCHOR study met its prespecified

12:03:35   11   primary and secondary and other endpoints, and characterized

12:03:37   12   an acceptable safety and tolerability profile.

12:03:41   13    Q    Are the results of ANCHOR reflected in Exhibit 942?

12:03:46   14    A    Yes.   This was the peer-reviewed publication

12:03:53   15   communicating those primary efficacy and safety results.

12:03:57   16    Q    And if we pull up Figure 3 in Exhibit 942.

12:04:01   17                What was the effect in ANCHOR of Vascepa 4 grams per

12:04:12   18   day on triglycerides?

12:04:12   19    A    As depicted in the dark shaded bar at the left hand of

12:04:18   20   this histogram plot, Vascepa 4 grams per day on top of statin

12:04:23   21   led to a 21.5 percent highly statistically significant

12:04:29   22   reduction in triglycerides in the patients studied.

12:04:32   23    Q    And what was the effect in ANCHOR on Vascepa 4 grams per

12:04:39   24   day on LDL-C?

12:04:39   25    A    So in addition to that degree of triglyceride reduction
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 121 of 350
                                                                                    121



12:04:46    1   relative to placebo, Vascepa 4 grams per day was associated

12:04:47    2   with 6.2 percent reduction in bad cholesterol relative to

12:04:54    3   placebo.    That also was highly statistically significant.

12:04:58    4    Q    What was the effect in ANCHOR of Vascepa 4 grams per day

12:04:58    5   on apo B?

12:05:03    6    A    The effect of Vascepa 4 grams per day on apo B relative

12:05:07    7   to placebo was a 9.3 highly statistically significant

12:05:14    8   reduction.

12:05:18    9    Q    Dr. Ketchum, what is an SPA or a special protocol

12:05:27   10   assessment?

12:05:28   11    A    So an SPA or special protocol assessment is a regulatory

12:05:36   12   process by which a sponsor can approach FDA and share its

12:05:42   13   perspectives on the design and conduct of, in this case, a

12:05:47   14   clinical development program to seek approval for a proposed

12:05:52   15   indication.    So it's a regulatory process that has specific

12:05:58   16   requirements.

12:05:58   17    Q    Did Amarin have an SPA with respect to the ANCHOR study?

12:06:04   18    A    Yes, similar to MARINE and REDUCE-IT, Amarin had an SPA

12:06:10   19   agreement for ANCHOR.

12:06:10   20    Q    And, generally speaking, what were the terms of the SPA?

12:06:13   21    A    Generally speaking the terms of that SPA were to conduct

12:06:18   22   the ANCHOR study to have it meet its prespecified primary

12:06:24   23   endpoint, that it also meet its endpoint to rule out a certain

12:06:30   24   percentage rise in bad cholesterol, and that it characterized

12:06:35   25   the safety profile, and that obviously would be a subject of
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 122 of 350
                                                                                      122



12:06:40    1   the subsequent review, but it clearly needed to have a safe

12:06:43    2   and tolerable profile.      That was one -- the whole conduct of

12:06:48    3   ANCHOR was one component of the SPA agreement.

12:06:52    4               Other components were that the safety portion from

12:06:55    5   ANCHOR needed to be submitted with the original NDA for FDA's

12:07:00    6   review, and that the efficacy component of the ANCHOR study

12:07:04    7   could not be submitted to FDA for its review until the large,

12:07:10    8   long-term cardiovascular outcome study had been enrolled to

12:07:15    9   the 50 percent point, and until that point, Amarin could not

12:07:23   10   submit the supplemental new drug application for ANCHOR.

12:07:27   11    Q     You reference a requirement with respect to LDL-C.           Why

12:07:32   12   was there a requirement with respect to LDL-C in the ANCHOR

12:07:37   13   SPA?

12:07:38   14    A     So again we're speaking about a patient population where

12:07:47   15   their primary lipid abnormality is their bad cholesterol and

12:07:53   16   needing control by the statin, and in the spirit of first do

12:07:58   17   no harm, when you consider adding another therapy onto a

12:08:02   18   statin, you -- you know, your medical intent is not to detract

12:08:07   19   from the ability of that statin to exert its effect.

12:08:11   20               There are certain rules of thumb about the degree of

12:08:15   21   increase in bad cholesterol that can lead to the need to

12:08:19   22   double the statin dose.      It's roughly in the 4 to 6 percent

12:08:24   23   range, and so Amarin had to power its ANCHOR study to rule out

12:08:29   24   that degree of rise.     It's actually exceptionally overpowered

12:08:34   25   on the triglyceride reduction.       You can just see the
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 123 of 350
                                                                                    123



12:08:37    1   difference between MARINE, which had 220 patients, to have a

12:08:41    2   robust powering for the triglyceride reduction endpoint, now

12:08:45    3   we're talking about a 702 patient study.

12:08:49    4                  The ANCHOR patient population and actually the power

12:08:53    5   of that study was driven by the need to rule out the 4 to

12:08:58    6   6 percent rise in bad cholesterol.

12:09:00    7    Q      You also reference a requirement for a cardiovascular

12:09:04    8   outcome study; is that right?

12:09:05    9    A      Yes.   So the -- as I mentioned before, statins had shown

12:09:17   10   across a series of drug sponsored programs the ability to

12:09:21   11   reduce cardiovascular risk by around 25 to 35 percent, and

12:09:27   12   here we're talking about adding on another agent, and FDA

12:09:35   13   required Amarin to have its cardiovascular outcomes trial far

12:09:40   14   enough along that there would be -- to minimize the delay

12:09:43   15   between the two study results.

12:09:45   16    Q      And the cardiovascular outcome study you're referring to,

12:09:51   17   is that REDUCE-IT?

12:09:51   18    A      Yes, it's REDUCE-IT.

12:09:52   19    Q      Did Amarin meet its obligations under the ANCHOR SPA?

12:09:54   20    A      Yes, Amarin did.

12:09:56   21    Q      Did Amarin submit an SNDA seeking an indication based on

12:09:59   22   the ANCHOR study?

12:10:01   23    A      Yes, it submitted that SNDA in approximately February of

12:10:05   24   2013.

12:10:07   25    Q      And just to be clear, what is an SNDA?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 124 of 350
                                                                                    124



12:10:10    1    A    The S stands for supplemental, and NDA stands for new

12:10:16    2   drug application.     You can't supplement an application until

12:10:20    3   you have an approval of an original NDA.

12:10:23    4    Q    And what was the proposed indication that Amarin was

12:10:26    5   seeking in the SNDA?

12:10:28    6    A    So in the ANCHOR SNDA Amarin was seeking a separate and

12:10:34    7   distinct indication to reduce triglycerides and other lipid,

12:10:41    8   lipoprotein, inflammatory marker parameters as an adjunct to

12:10:47    9   statin therapy in patients with high triglycerides in the

12:10:50   10   range of 200 to 499 milligrams per deciliter.

12:10:55   11    Q    And did FDA approve the additional indication?

12:10:59   12    A    No, FDA did not approve that proposed indication.

12:11:03   13    Q    Do you have an understanding as to why that is?

12:11:07   14    A    Yes, I do.

12:11:07   15    Q    What is that understanding based on?

12:11:10   16    A    On my firsthand responsibilities as the primary point of

12:11:15   17   contact with the Food and Drug Administration.

12:11:17   18    Q    And what is your understanding of why the ANCHOR

12:11:23   19   indication was not approved?

12:11:25   20    A    So FDA felt -- and this became apparent in the

12:11:32   21   October 2013 time frame at our open public advisory committee

12:11:40   22   meeting in which window of time FDA --

12:11:44   23                   MR. KLEIN:    I just want to lodge an objection to

12:11:46   24   the extent he's going to offer hearsay.        I can't tell whether

12:11:51   25   he's going to, but it sounds like he might.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 125 of 350
                                                                                    125



12:11:55    1                   MS. KEANE:    Your Honor, the question was for his

12:11:57    2   understanding of why ANCHOR was not approved.

12:11:59    3                   MR. KLEIN:    Yeah, and I don't -- maybe he's not

12:12:02    4   going to do it, but it sounded like he was going to relay

12:12:05    5   conversations from the FDA.

12:12:06    6                   THE COURT:    Well, if his understanding is based

12:12:09    7   on what he heard from other people, that would pose a hearsay

12:12:12    8   concern, wouldn't it?

12:12:14    9                   MS. KEANE:    I think Dr. Ketchum -- and I'm happy

12:12:16   10   to ask him additional questions -- testified that he was

12:12:19   11   responsible for the proceedings back and forth with FDA

12:12:24   12   relating to the ANCHOR indication, so I think he is intimately

12:12:28   13   familiar with the correspondence and the issues.

12:12:32   14                   THE COURT:    Well, the objection is not his

12:12:33   15   personal knowledge.     The objection deals with how he obtained

12:12:37   16   this information.

12:12:40   17                   Certainly, I think he -- he started to testify

12:12:43   18   as to his understanding, but then he stopped and explained --

12:12:47   19   and I thought he was going to reference some meeting.

12:12:50   20                   Perhaps he could just answer his understanding

12:12:53   21   as to why the FDA did not approve the supplemental NDA based

12:12:58   22   on -- for the ANCHOR study.      Is there an objection to him

12:13:02   23   answering that question?

12:13:03   24                   MR. KLEIN:    No.   I mean, if the witness is going

12:13:05   25   to refer to documents, and I don't know where you're going, if
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 126 of 350
                                                                                    126



12:13:08    1   you're going to some document where the FDA responded, I'm

12:13:11    2   fine with that.     But if the witness is going to relay

12:13:14    3   conversation -- oral conversations from FDA people, I would

12:13:17    4   object to that.

12:13:17    5                    MS. KEANE:   I don't think we need to get into a

12:13:19    6   discussion of oral conversations that have been relayed.

12:13:23    7                    THE COURT:   All right.    So you know the

12:13:24    8   objection.    Why don't you proceed.

12:13:25    9                    MS. KEANE:   Okay.

12:13:26   10   BY MS. KEANE:

12:13:26   11    Q    So, Dr. Ketchum, turning back to the question, what is

12:13:29   12   your understanding -- well, let me back up.

12:13:32   13                What is your -- do you have an understanding as to

12:13:36   14   why FDA did not approve the indication?

12:13:39   15    A    Yes, I have an understanding.

12:13:40   16    Q    And what is that understanding based on?

12:13:42   17    A    My understanding is based on the occurrences at the open

12:13:49   18   public advisory committee hearing, and then, importantly,

12:13:53   19   afterwards being sent a letter addressed to me officially

12:13:57   20   rescinding the special protocol assessment agreement for

12:14:02   21   ANCHOR in which they spelled out their reasons.

12:14:08   22    Q    And what is your understanding as to why FDA did not

12:14:14   23   approve the ANCHOR indication?

12:14:17   24    A    So my understanding, as based on what I just described,

12:14:23   25   is that there was scientific uncertainty caused by a series of
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 127 of 350
                                                                                    127



12:14:31    1   failed cardiovascular outcomes trials of other

12:14:36    2   triglyceride-lowering agents that included a Fenofibrate

12:14:41    3   compound in the ACCORD lipid trial, and two niacin containing

12:14:48    4   products in the AIM HIGH and HPS2 THRIVE trials.

12:14:55    5                And the uncertainty was created by the fact that

12:14:59    6   there were triglyceride, robust triglyceride reductions in

12:15:03    7   those trials, but that each of those trials failed to meet

12:15:07    8   their prespecified endpoint in the cardiovascular outcome

12:15:13    9   trial.

12:15:14   10                Their view of ANCHOR and of Vascepa in this patient

12:15:18   11   population was that one would only add Vascepa on top of the

12:15:23   12   statin to further reduce cardiovascular risk, and that ANCHOR

12:15:28   13   was clearly not designed in its 12-week trial context as a

12:15:33   14   cardiovascular risk reduction trial, and, therefore, they

12:15:36   15   pointed ahead to the need for the REDUCE-IT trial to be

12:15:40   16   completed and reported to them for their review.

12:15:43   17    Q    And I just wanted to clarify, I know you referred to a

12:15:46   18   number of -- or a few failed outcome studies.         You referred to

12:15:51   19   one with respect to Fenofibrates; is that right?

12:15:51   20    A    Yes.

12:15:55   21    Q    And what study was that that you're referring to?

12:15:56   22    A    That trial was referred to as ACCORD Lipid.

12:16:01   23    Q    And did Amarin agree with FDA's decision not to approve

12:16:07   24   the ANCHOR indication?

12:16:08   25    A    No, it did not.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 128 of 350
                                                                                    128



12:16:10    1    Q    And how was FDA's decision conveyed to Amarin?

12:16:15    2    A    It was conveyed on FDA letterhead in a letter to Amarin.

12:16:21    3    Q    And after Amarin received that letter, what steps did

12:16:26    4   Amarin take to respond to FDA's decision not to approve the

12:16:32    5   ANCHOR indication?

12:16:33    6    A    So that letter was issued by the Review Division, so the

12:16:33    7   Division of Metabolic and Endocrinology products, or DMEP,

12:16:33    8   D-M-E-P.

12:16:33    9               So what Amarin, after internal consultation, was

12:16:56   10   required to do to interact with FDA was to request a formal

12:16:57   11   reconsideration meeting at that division level, which it did,

12:17:02   12   and then subsequently went up to two higher levels within FDA

12:17:09   13   through a formal dispute resolution process.

12:17:13   14    Q    And in the course of that appeal, those appeal processes,

12:17:21   15   did Amarin make arguments to FDA with respect to the ANCHOR

12:17:26   16   indication?

12:17:27   17    A    Yes, it did.

12:17:27   18    Q    And what arguments did Amarin present to FDA in support

12:17:31   19   of its request for reconsideration?

12:17:33   20    A    Well, firstly, that we had done everything in accordance

12:17:38   21   with the agreement in terms of those various components that I

12:17:42   22   mentioned previously in terms of having submitted the safety

12:17:46   23   data as part of the original NDA, the efficacy data as part of

12:17:51   24   the supplemental NDA, and a holding off on submitting that

12:17:56   25   SNDA until we had our large, long term cardiovascular outcomes
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 129 of 350
                                                                                    129



12:18:02    1   trial 50 percent enrolled, and not only that, but that the

12:18:06    2   results had read out robustly and consistently meeting all

12:18:11    3   prespecified endpoints.

12:18:12    4    Q    And did Amarin -- did Amarin state any evidence in

12:18:16    5   support of its positions?

12:18:18    6    A    Yes.   So they communicated that there was scientific

12:18:26    7   uncertainty because of failed cardiovascular outcomes trials

12:18:30    8   of other agents.

12:18:32    9                So we felt they should be judging our data set on

12:18:37   10   the basis of what we had submitted and not, you know, on the

12:18:42   11   basis of these failed cardiovascular outcomes trials.          So we

12:18:47   12   stated arguments and stated positions about how they should

12:18:53   13   view icosapent ethyl differently from Fenofibrate and niacin

12:18:59   14   containing products as an example.

12:19:01   15    Q    What is the JELIS study?

12:19:05   16    A    The JELIS study is a Japanese study that was published in

12:19:17   17   the 2007 time frame.     It's a study of -- so it's a large

12:19:21   18   cardiovascular outcomes trial conducted in a Japanese patient

12:19:26   19   population with a commercially available purified EPA product

12:19:34   20   manufactured by a Japanese company called Mochida.

12:19:38   21    Q    And what were the results of JELIS?

12:19:40   22    A    So the authors in Lancet reported that -- that Epadel,

12:19:49   23   the name of the product, on top of statin therapy, and the

12:19:54   24   Epadel dose was 1.8 grams per day, that in the patient

12:20:00   25   population study it led to a 19 percent relative risk
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 130 of 350
                                                                                    130



12:20:05    1   reduction on their primary cardiovascular event endpoint.

12:20:11    2    Q    At the time of Amarin's discussions with FDA regarding

12:20:16    3   the ANCHOR indication, what were Amarin's views of JELIS?

12:20:21    4    A    Amarin, you know, as the sponsor of an IND and new drug

12:20:31    5   application, we're responsible for being conversant and

12:20:36    6   current with the literature so we had seen the results.

12:20:40    7               We them found interesting in the sense of that, you

12:20:48    8   know, there's a very mixed history with omega-3s in the

12:20:53    9   cardiovascular outcomes domain, and also in this window of

12:20:58   10   time where we're interacting with FDA on the ANCHOR SPA

12:21:02   11   recision, there's other failed cardiovascular outcomes trials.

12:21:07   12               So this is a challenging space, and I think we noted

12:21:10   13   it as having certain significant limitations, but having, you

12:21:16   14   know, certain aspects that were worthy of pointing out to FDA

12:21:24   15   as -- you know, with the benefit at that point in time of our

12:21:28   16   MARINE and ANCHOR results in hand, we were able to fold

12:21:34   17   certain aspects of JELIS into our arguments with FDA as

12:21:38   18   amongst the reasons that they shouldn't rush to a decision to

12:21:43   19   rescind the SPA.

12:21:46   20    Q    And in the course of that process, did you gain an

12:21:49   21   understanding of FDA's views of JELIS?

12:21:52   22    A    Yes, we did.

12:21:53   23    Q    And what is that understanding based on?

12:21:56   24    A    It's based on formal communications from FDA via the

12:22:02   25   reconsideration and formal dispute resolution process with
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 131 of 350
                                                                                    131



12:22:07    1   FDA.

12:22:07    2    Q     And when you refer to formal communications, are you

12:22:10    3   referring to documents?

12:22:12    4    A     Yes, documents on FDA letterhead formerly sent to the

12:22:19    5   regulatory point of contact at Amarin.

12:22:28    6    Q     If we could take -- Dr. Ketchum, if you could turn to

12:22:33    7   Exhibit 990 in your binder.

12:22:40    8               Do you recognize Exhibit 990?

12:22:43    9    A     Yes, I do.

12:22:45   10    Q     What is Exhibit 990?

12:22:49   11    A     So Exhibit 990 is a communication from FDA addressed to

12:22:57   12   me at Amarin, and it is communicating the fact that our

12:23:05   13   appeal, this is to the Office of Drug Evaluation, too, so we

12:23:10   14   had to go back to the Review Division for formal

12:23:15   15   reconsideration before we were allowed to appeal to the next

12:23:19   16   higher level within FDA, and this is the end result of their

12:23:24   17   review denying our appeal.

12:23:27   18                   MS. KEANE:    Your Honor, plaintiffs move to admit

12:23:30   19   Exhibit 990 into evidence.

12:23:31   20                   MR. KLEIN:    No objection.

12:23:31   21                   THE COURT:    990 is admitted.

12:23:31   22                           (Plaintiffs' Exhibit 990 received in
12:23:34                                 evidence.)
12:23:34   23   BY MS. KEANE:

12:23:35   24    Q     And, Dr. Ketchum, who, who authored Exhibit 990 or who

12:23:43   25   signed Exhibit 990?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 132 of 350
                                                                                    132



12:23:44    1    A    So the director of the Office of Drug Evaluation 2 at

12:23:50    2   this point in time was Dr. Curtis Rosebrow.

12:23:56    3    Q    And where in Exhibit 990 does FDA discuss its views with

12:24:02    4   respect to the JELIS study?

12:24:09    5    A    It discusses them at a variety of points.        It goes out by

12:24:17    6   study, study-by-study, and discussion of JELIS appears --

12:24:28    7    Q    If I could direct your attention to page 11.

12:24:31    8    A    Sure.    Page 11.   Yep, there in the middle paragraph.

12:24:38    9    Q    And what are FDA's views on the JELIS study?

12:24:43   10    A    So Dr. Rosebrow is indicating a number of what he

12:24:52   11   considers design limitations, saying that caution must be

12:24:59   12   exercised on interpreting the JELIS findings, one of those

12:25:03   13   reasons being it was an open label study.

12:25:06   14                 And then he goes on to say a couple of aspects that

12:25:12   15   in, you know, in his team's role in protecting the public

12:25:17   16   health of citizens of the United States, he's pointing out

12:25:21   17   certain limitations and focusing on a study conducted in Japan

12:25:29   18   about potentially inadequate statin therapy.

12:25:33   19                 And then he mentions that one of the components of

12:25:38   20   the cardiovascular end -- kind of endpoint composite considers

12:25:45   21   more subjective than some of the other major adverse

12:25:50   22   cardiovascular event endpoints.

12:25:54   23                 And then he goes on to say that the positive results

12:26:02   24   on that cardiovascular endpoint are contrasted by the fact

12:26:06   25   that triglycerides were not decreased by a substantial amount
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 133 of 350
                                                                                    133



12:26:11    1   so views the trial as supportive.

12:26:17    2    Q    So if you're -- you referred to a subjective endpoint.

12:26:24    3   What endpoint are you referring to?

12:26:25    4    A    Dr. Rosebrow cites unstable angina, which a simpler term

12:26:33    5   is chest pain.

12:26:35    6    Q    And you referred to a subjective endpoint.        What does

12:26:40    7   that mean, a subjective endpoint?

12:26:42    8    A    So subjective, so this endpoint is an endpoint that

12:26:50    9   classically requires hospitalization.        So an individual

12:26:56   10   presenting with chest pain -- not all individuals presenting

12:27:00   11   with chest pain -- some of them will not require

12:27:04   12   hospitalization.

12:27:05   13               An open label trial can potentially introduce bias

12:27:10   14   because if someone interviewing the patient is understanding

12:27:16   15   that they're on multiple medications, it might incline them to

12:27:21   16   hospitalize them more so than not being informed of that

12:27:26   17   information.

12:27:26   18               So there's -- there's some subjectively by virtue of

12:27:31   19   the open label nature with the hospitalization requirement,

12:27:35   20   and it's also less objective than something like

12:27:44   21   cardiovascular death.

12:27:50   22    Q    And after receiving Plaintiffs' Exhibit 990, how did

12:27:58   23   Amarin respond?

12:28:01   24    A    So Amarin regrouped.     There's a lot of information

12:28:05   25   contained in this appeal denial.       And then it had to weigh the
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 134 of 350
                                                                                    134



12:28:12    1   pros and cons of deciding whether or not to appeal to the next

12:28:15    2   level, which it did in appealing to the Office of New Drugs,

12:28:22    3   the next higher level within FDA.

12:28:27    4    Q    And did FDA change its mind with respect to refusing to

12:28:32    5   approve the ANCHOR indication?

12:28:34    6    A    No.    FDA did not in that subsequent appeal step, and also

12:28:42    7   consulted the Office of New Drugs, extended the time frame for

12:28:50    8   the appeal process, consulted with an even higher level within

12:28:56    9   FDA called the Medical Policy Council which is comprised of

12:29:00   10   senior leadership within FDA, and then ultimately denied

12:29:05   11   Amarin's appeal at that level.

12:29:08   12                 So we received a similar letter but from the

12:29:14   13   director of the Office of New Drugs after that.

12:29:18   14    Q    Okay.    And then after receiving the letter from the

12:29:22   15   Office of New Drugs, what steps did Amarin take?

12:29:26   16    A    So Amarin again had another rather lengthy letter to

12:29:31   17   assimilate and to discuss the pros and cons, because Office of

12:29:37   18   New Drugs had consulted even more senior FDA leadership as

12:29:43   19   part of conveying the appeal denial.        We ultimately decided

12:29:47   20   not to appeal to the next higher level.

12:29:51   21    Q    And did Amarin take any additional steps after deciding

12:29:56   22   not to appeal again?

12:29:57   23    A    Yes.    So then Amarin took a First Amendment approach to

12:30:04   24   try to obtain the right to truthfully and nonmisleadingly

12:30:11   25   promote the ANCHOR study results.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 135 of 350
                                                                                    135



12:30:14    1    Q    Okay.   And in -- well, what type of proceeding was that?

12:30:21    2    A    That was a First Amendment legal proceeding.

12:30:25    3    Q    Okay.   And were FDA's views reflected -- I'm sorry, were

12:30:31    4   FDA reviews from that proceeding reflected?

12:30:36    5    A    In the FDA senior official declaration that was made.

12:30:45    6                   MS. KEANE:    And, Mr. Brooks, we can take down, I

12:30:47    7   think, Plaintiffs' Exhibit 990.

12:30:47    8   BY MS. KEANE:

12:30:51    9    Q    And did FDA maintain its positions with respect to JELIS

12:30:55   10   in the First Amendment litigation?

12:30:59   11    A    Yes, FDA did.

12:31:00   12    Q    And did FDA also maintain its positions with respect to

12:31:03   13   the ANCHOR indication during the First Amendment proceeding?

12:31:10   14    A    So FDA did not overturn its decision about rescinding the

12:31:18   15   ANCHOR indication, but through that process it did agree with

12:31:24   16   the characterization of the safety and efficacy results as

12:31:31   17   reported by Amarin through that process.

12:31:33   18    Q    And where are FDA's views from the First Amendment

12:31:37   19   proceeding reflected?

12:31:38   20    A    They're reflected in Dr. Curtis Rosebrow's declaration.

12:31:43   21    Q    If we could turn to Exhibit 990 -- I'm sorry, 994 in your

12:31:49   22   binder.   And what is Exhibit 994?

12:32:01   23    A    That is Dr. Curtis Rosebrow's declaration for the First

12:32:05   24   Amendment lawsuit.

12:32:09   25    Q    And are you familiar with Director Rosebrow's
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 136 of 350
                                                                                    136



12:32:11    1   declaration?

12:32:11    2    A    Yes, I am.

12:32:12    3                   MS. KEANE:    Okay.   Your Honor, plaintiffs move

12:32:14    4   to admit Plaintiffs' Exhibit 994 into evidence.

12:32:19    5                   MR. KLEIN:    No objection.

12:32:20    6                   THE COURT:    994 is admitted.

12:32:20    7                           (Plaintiffs' Exhibit 994 received in
12:32:20                                 evidence.)
12:32:20    8   BY MS. KEANE:

12:32:28    9    Q    And, Dr. Ketchum, what is your understanding of FDA's

12:32:36   10   views on JELIS based on Dr. Rosebrow's declaration?

12:32:40   11    A    That they maintained their stance that there were

12:32:48   12   significant design flaws or limitations in the JELIS study.

12:32:53   13    Q    And what was the effect of FDA's decision not to approve

12:32:58   14   the ANCHOR indication on Amarin?

12:33:01   15    A    It had an extremely significant impact on Amarin, both

12:33:09   16   immediately -- in the fourth quarter of 2013 as we received

12:33:16   17   the formal communication from FDA rescinding the ANCHOR

12:33:23   18   special protocol assessment agreement, we had to let

12:33:23   19   approximately 50 percent of our workforce go.

12:33:27   20               You know, really an -- atypical and unprecedented

12:33:37   21   situation of an SPA being rescinded, we obviously had devised

12:33:42   22   the three-part clinical program with each study leading to

12:33:48   23   successively expanded indications and had built a business

12:33:54   24   model whereby those expanded indications, assuming they would

12:34:00   25   be approved, would likely lead to increased revenue for the
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 137 of 350
                                                                                    137



12:34:04    1   business that would enable us to -- not just to grow in

12:34:08    2   general, but also to offset the cost of the very expensive,

12:34:13    3   large, long-term REDUCE-IT study.

12:34:18    4    Q    If we could turn now to the REDUCE-IT study.        Can you

12:34:24    5   briefly describe the REDUCE-IT study.

12:34:27    6                   THE COURT:    And, Ms. Keane, before you move to

12:34:28    7   the REDUCE-IT study, do you think this is a good time to take

12:34:32    8   our lunch break?

12:34:33    9                   MS. KEANE:    That would be great from my

12:34:33   10   perspective.

12:34:34   11                   THE COURT:    All right.    We'll take -- I think we

12:34:36   12   agreed on a 30-minute lunch break.       We'll take our lunch break

12:34:40   13   at this time.

12:34:41   14                   Thank you.

12:34:41   15                           (The noon recess was taken.)

12:34:42   16                                  --o0o--

12:34:42   17

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           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 138 of 350
                                                                                    138



12:34:42    1           RENO, NEVADA, MONDAY, JANUARY 13, 2020, 1:05 P.M.

12:34:42    2                                  ---o0o---

01:06:29    3

01:08:58    4                   THE COURT:    Ms. Keane, you ready to resume?

01:08:59    5                   MS. KEANE:    Yes, Your Honor.

01:08:59    6                          DIRECT EXAMINATION RESUMED

01:08:59    7   BY MS. KEANE:

01:09:01    8    Q    Dr. Ketchum, I just wanted to ask a few follow-up

01:09:04    9   questions about a few things we discussed this morning.

01:09:08   10                   MS. KEANE:    Mr. Brooks, can you pull up

01:09:11   11   Plaintiffs' Exhibit 1186, the Vascepa prescribing information.

01:09:17   12   If you could turn to Section 14.2, and specifically if we

01:09:24   13   could go to page 11 with the results from the MARINE study.

01:09:29   14   Could you pull up Table 2.

01:09:29   15   BY MS. KEANE:

01:09:35   16    Q    Dr. Ketchum, when are -- with respect to the MARINE

01:09:39   17   study, when were baseline triglycerides levels measured?

01:09:43   18    A    At baseline following randomization into the study.

01:09:50   19    Q    Okay.   And when was diet and lifestyle, the diet and

01:09:54   20   lifestyle stabilization period initiated as it relates to the

01:10:00   21   baseline measurements?

01:10:01   22    A    In the weeks prior to randomization.

01:10:05   23    Q    And how long prior to randomization?

01:10:08   24    A    So there was a four- to six-week diet and lifestyle

01:10:14   25   lead-in, and then a two- to three-week qualifying period, so
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 139 of 350
                                                                                    139



01:10:18    1   that's like six to nine weeks in advance of randomization.

01:10:22    2    Q      And did that diet and lifestyle time period apply to each

01:10:27    3   of the arms of the MARINE study?

01:10:29    4    A      Yes, it did.   It applied to all patients.

01:10:32    5    Q      So that would include patients who received placebo as

01:10:37    6   well?

01:10:37    7    A      Yes.

01:10:37    8    Q      And then the comparison, the results that are shown in

01:10:44    9   Table 2, are those results based on a comparison between a

01:10:51   10   placebo group that received diet and lifestyle as compared to

01:10:57   11   individuals on the -- with the active ingredient also on diet

01:11:01   12   and lifestyle?

01:11:02   13    A      Yes, specifically at the 12-week primary efficacy

01:11:06   14   endpoint.

01:11:06   15    Q      I want to spend some time now talking about the REDUCE-IT

01:11:15   16   study.    Could you briefly describe for us the REDUCE-IT study.

01:11:22   17    A      Yes.   REDUCE-IT was a large, long-term cardiovascular

01:11:26   18   outcome study looking at patients who were on a statin, but,

01:11:31   19   in spite of that, had elevated triglycerides in the range of

01:11:34   20   200 hundred to 499.      Actually, the enrollment criteria was 150

01:11:39   21   to 499 milligrams per deciliter.       And they had other

01:11:44   22   characteristics, either established cardiovascular disease or

01:11:48   23   other risk factors.

01:11:49   24                  And this was a study conducted across 11 countries,

01:11:54   25   hundreds of sites, total of over 8,000 patients, and they were
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 140 of 350
                                                                                    140



01:12:00    1   followed across a median of 4.9 years to follow the occurrence

01:12:07    2   of cardiovascular events.

01:12:09    3    Q    What was the medical rationale for the REDUCE-IT study?

01:12:13    4    A    So the medical rationale was that there was an un-met

01:12:16    5   medical need that, in spite of the advances of statin therapy,

01:12:20    6   that patients still have approximately 65 to 75 percent

01:12:25    7   residual risk, and they need other therapies to help address

01:12:31    8   that residual risk.

01:12:33    9    Q    Can you briefly describe the resources that Amarin

01:12:36   10   devoted to REDUCE-IT.

01:12:37   11    A    Yes.   So including the planning and design phase, this

01:12:43   12   was a decade-plus process, and of that total of $500 million

01:12:50   13   that I mentioned for the three-part clinical program,

01:12:55   14   approximately $300 million were deployed in the direction of

01:13:00   15   REDUCE-IT.

01:13:00   16    Q    And was REDUCE-IT successful?

01:13:03   17    A    REDUCE-IT was successful.      It met all of its primary, key

01:13:07   18   secondary, and other endpoints.

01:13:10   19    Q    Are there documents that describe the design of the

01:13:13   20   REDUCE-IT study?

01:13:14   21    A    Yes.   We published a design paper in Clinical Cardiology.

01:13:19   22    Q    If you could turn to Exhibit 30 -- I'm sorry, Exhibit 439

01:13:23   23   in your binder.     And what is Exhibit 439?

01:13:31   24    A    That's the 2017 design paper in Clinical Cardiology for

01:13:36   25   REDUCE-IT.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 141 of 350
                                                                                    141



01:13:37    1    Q    And are you one of the coauthors of Exhibit 439?

01:13:40    2    A    Yes, I am.

01:13:43    3                   MS. KEANE:    Your Honor, plaintiffs move to admit

01:13:45    4   Plaintiffs' Exhibit 439 into evidence.

01:13:47    5                   MR. KLEIN:    No objection.

01:13:48    6                   THE COURT:    439 is admitted.

01:13:48    7                           (Plaintiffs' Exhibit 439 received in
01:13:52                                 evidence.)
01:13:52    8   BY MS. KEANE:

01:13:54    9    Q    Dr. Ketchum, where in Exhibit 439 is the design of the

01:13:58   10   REDUCE-IT study discussed?

01:14:00   11    A    It's presented in the Figure 1 on page 2 of the article

01:14:07   12   in a study design figure.

01:14:11   13                   MS. KEANE:    Mr. Brooks, if we could pull up

01:14:14   14   Figure 1.

01:14:14   15   BY MS. KEANE:

01:14:15   16    Q    Dr. Ketchum, what was the patient population that was

01:14:18   17   studied in REDUCE-IT?

01:14:20   18    A    So as indicated at the top of the design figure, this was

01:14:24   19   a study of men and women aged 45 years or older who needed to

01:14:30   20   be on statin for their bad cholesterol, and then the patients

01:14:36   21   additionally needed to either have established cardiovascular

01:14:41   22   disease, meaning a prior heart attack, stroke, et cetera.

01:14:46   23               This represented approximately 70 percent of the

01:14:48   24   patients enrolled into REDUCE-IT with the remainder qualifying

01:14:52   25   on the basis of having diabetes mellitus and at least one
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 142 of 350
                                                                                    142



01:14:59    1   additional risk factor.

01:15:00    2                And in terms of lipid criteria, on a fasting

01:15:07    3   triglyceride basis, they needed to have triglycerides in the

01:15:11    4   range of 150 milligrams per deciliter to 499 milligrams per

01:15:17    5   deciliter, and they needed to have their bad cholesterol

01:15:22    6   controlled in the range of 41 milligrams per deciliter to

01:15:26    7   100 milligrams per deciliter.

01:15:29    8    Q    So you mentioned triglyceride levels.       Were there

01:15:32    9   patients in the REDUCE-IT study who had triglyceride levels

01:15:37   10   above 500 milligrams per deciliter?

01:15:40   11    A    Yes, there were.

01:15:41   12    Q    Could you briefly describe -- well, actually, let me back

01:15:45   13   up.

01:15:45   14                Can you explain why it's the case that there are

01:15:48   15   patients with triglyceride levels above 500 milligrams per

01:15:53   16   deciliter who were in the study?

01:15:55   17    A    Yes.   So during the screening period the patients were

01:15:58   18   determined to be eligible for the study if they had a fasting

01:16:02   19   triglyceride measurement in the ranges depicted in that

01:16:07   20   shadowed -- shaded box.

01:16:09   21                But patients' triglycerides do fluctuate, that's a

01:16:15   22   well-known phenomenon, and patients were determined based on

01:16:21   23   their qualifying measurement, but then when they were

01:16:24   24   randomized, it's the baseline measurement that gets reported

01:16:28   25   for all of the key efficacy results.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 143 of 350
                                                                                    143



01:16:31    1                And there were patients both above 500 milligrams

01:16:36    2   per deciliter and below the lower end of the triglyceride

01:16:40    3   range following randomization and upon evaluation of their

01:16:47    4   base-line measurement.

01:16:49    5    Q    So if you can turn to Figure 1, could you briefly

01:16:51    6   describe the design of the REDUCE-IT study.

01:16:53    7    A    Yes.   So REDUCE-IT, during the screening period, it

01:16:58    8   involved a lead-in where patients were ensured to be

01:17:02    9   stabilized on their statin.      Again, they were washed out of

01:17:06   10   any other lipid-altering medications, so as to not confound

01:17:10   11   the ability to determine the incremental effect of the Vascepa

01:17:14   12   on top of the statin.

01:17:15   13                And then they -- as I mentioned before, they had

01:17:18   14   some lipid qualification measurements.        If they met the

01:17:22   15   inclusion/exclusion criterion, then they were able to be

01:17:26   16   randomized one-to-one to receive either icosapent ethyl

01:17:32   17   Vascepa, 4 grams per day, on top of their statin, or a

01:17:36   18   placebo, a matching placebo on top of their statin.

01:17:40   19                And then there were scheduled visits across the

01:17:42   20   subsequent years until the end of the study.

01:17:45   21                After a certain number of primary cardiovascular

01:17:48   22   endpoints had been accrued, then that was the end of the

01:17:52   23   study, and the primary endpoint is listed there at the bottom

01:17:56   24   of that slide.

01:17:57   25    Q    And what was the primary endpoint of REDUCE-IT?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 144 of 350
                                                                                    144



01:18:00    1    A    It was the time from randomization to the first

01:18:04    2   occurrence of any one of five major adverse cardiovascular

01:18:09    3   events, specifically cardiovascular death, non-fatal

01:18:12    4   myocardial infarction, also known as heart attack, non-fatal

01:18:18    5   stroke, coronary revascularization, or unstable angina

01:18:24    6   requiring hospitalization.

01:18:25    7    Q    Were there any secondary endpoints in REDUCE-IT?

01:18:28    8    A    Yes.    There was a prespecified key secondary endpoint

01:18:33    9   that focused on three composite major adverse cardiovascular

01:18:37   10   events, and then there were other secondary, tertiary, and

01:18:43   11   exploratory endpoints.

01:18:45   12    Q    Are there documents that describe the results from

01:18:47   13   REDUCE-IT?

01:18:48   14    A    Yes.    The results are described within the clinical study

01:18:53   15   report and in a primary results publication that we made in

01:18:59   16   The New England Journal of Medicine.

01:19:02   17    Q    Okay.    If we could turn to Plaintiffs' Exhibit 1189 in

01:19:05   18   your binder.

01:19:11   19                    MS. KEANE:   And, Your Honor, just for the

01:19:12   20   record, again, I just want to note that Plaintiffs'

01:19:16   21   Exhibit 1189 is one that we would request time to redact

01:19:22   22   before it's made publically available.

01:19:22   23   BY MS. KEANE:

01:19:25   24    Q    Do you recognize Exhibit 1189, Dr. Ketchum?

01:19:27   25    A    Yes, I do.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 145 of 350
                                                                                    145



01:19:28    1    Q    And what is Exhibit 1189?

01:19:30    2    A    That Exhibit 1189 is the final clinical study report for

01:19:36    3   the REDUCE-IT study.

01:19:37    4    Q    And what role did you play in compiling the REDUCE-IT

01:19:42    5   clinical study report?

01:19:43    6    A    As reflected on the next page, on page 2 of the clinical

01:19:48    7   study report, I was one of the reviewers and signatories of

01:19:54    8   the document.

01:19:56    9                    MS. KEANE:   Your Honor, plaintiffs move to admit

01:19:58   10   Exhibit 1189 into evidence.

01:20:00   11                    MR. KLEIN:   No objection.

01:20:01   12                    THE COURT:   1189 is admitted.

01:20:01   13                           (Plaintiffs' Exhibit 1189 received in
01:20:04                                 evidence.)
01:20:04   14   BY MS. KEANE:

01:20:05   15    Q    Dr. Ketchum, could you please turn to Exhibit 272 in your

01:20:09   16   binder.   What is Exhibit 272?

01:20:14   17    A    Exhibit 272 is our publication of the primary results of

01:20:25   18   REDUCE-IT in The New England Journal of Medicine.

01:20:28   19    Q    Okay.    And, again, you're listed as an author on

01:20:31   20   Exhibit 272?

01:20:31   21    A    Yes, I am.

01:20:33   22                    MS. KEANE:   Your Honor, plaintiffs move to admit

01:20:35   23   Exhibit 272 into evidence.

01:20:36   24                    MR. KLEIN:   No objection.

01:20:38   25                    THE COURT:   272 is admitted as well.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 146 of 350
                                                                                    146



01:20:38    1                           (Plaintiffs' Exhibit 272 received in
01:20:38                                 evidence.)
01:20:38    2   BY MS. KEANE:

01:20:41    3    Q    And where in Exhibit 272 are the results of REDUCE-IT

01:20:45    4   discussed?

01:20:46    5    A    They're discussed beginning on the third page of the

01:20:51    6   publication and those primary and key secondary endpoints

01:20:57    7   results are depicted in Figure 1 on page 5 of the publication.

01:21:03    8                    MS. KEANE:   Mr. Brooks, can we pull up Figure 1,

01:21:07    9   specifically, Figure 1A.

01:21:07   10   BY MS. KEANE:

01:21:12   11    Q    Dr. Ketchum, can you explain what Figure 1A depicts.

01:21:17   12    A    Yes.   So this is a graphical depiction of the

01:21:20   13   prespecified primary endpoint of the REDUCE-IT clinical trial.

01:21:25   14                The inset is just a further magnification of the

01:21:30   15   graphical display that occurs on the outside, and the

01:21:37   16   horizontal axis is the year since patients were randomized

01:21:42   17   into the trial.     So time is increasing, moving to the right.

01:21:46   18                And the number -- excuse me, the percentage of

01:21:49   19   patients with major adverse cardiovascular event are depicted

01:21:57   20   on the vertical axis.

01:21:59   21                And what it's showing are the two treatment arms in

01:22:02   22   the REDUCE-IT study.     So, the placebo plus statin arm is

01:22:07   23   depicted by the dotted red line, and the Vascepa, or icosapent

01:22:14   24   ethyl plus statin arm is depicted by the solid blue line.

01:22:23   25                And what it's showing is the accrual of those -- you
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 147 of 350
                                                                                     147



01:22:25    1   know, the difference in the events between those two treatment

01:22:28    2   arms, and the results are expressed as -- so you can see by

01:22:33    3   virtue of the placebo curve being on top of the Vascepa curve,

01:22:40    4   that the greater percentage of events occurred in the one drug

01:22:42    5   arm than in the two drug arms.

01:22:43    6                And the way that those results are expressed are as

01:22:47    7   a hazard ratio which is, basically, just converted.          So it's

01:22:55    8   expressed to zero -- a hazard ratio of 0.75, that means there

01:23:00    9   was a 25 percent relative risk reduction in the pre-specified

01:23:05   10   primary endpoint.

01:23:07   11                    MS. KEANE:   And, Mr. Brooks, if we could pull up

01:23:09   12   Figure 1B.

01:23:09   13   BY MS. KEANE:

01:23:11   14    Q    Dr. Ketchum, could you explain what is depicted in

01:23:14   15   Figure 1B.

01:23:14   16    A    Yes.   So this is the same type of plot.       It's called a

01:23:18   17   Kaplan-Meier plot, and this time, as opposed to the time to

01:23:24   18   the first occurrence of any one of five types of major adverse

01:23:29   19   cardiovascular event, this plot is focused on the times of the

01:23:33   20   first occurrence of any one of three major adverse

01:23:38   21   cardiovascular events; specifically, cardiovascular death,

01:23:42   22   non-fatal myocardial infarction, and non-fatal stroke.

01:23:48   23                And, again, the results are expressed as a hazard

01:23:51   24   ratio, so in this instance there was a 26 percent relative

01:23:54   25   risk reduction observed by virtue of Vascepa on top of statin
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 148 of 350
                                                                                    148



01:24:00    1   therapy.

01:24:01    2    Q    And if we could turn to Figure 4 on page 10.

01:24:14    3               And, Dr. Ketchum, what is shown on Figure 4 on

01:24:17    4   page 10?

01:24:17    5    A    So Figure 4 is a different type of graphical

01:24:22    6   transformation of the efficacy data in REDUCE-IT.         It's called

01:24:28    7   a Forest plot, and it's depicting graphically the hazard

01:24:35    8   ratio.

01:24:35    9               So as I mentioned before, in the first row, the top

01:24:39   10   row, that's the pre-specified primary five component, major

01:24:45   11   adverse cardiovascular event, where a 25 percent relative risk

01:24:50   12   reduction was observed.

01:24:51   13               The second row is presenting the key secondary

01:24:55   14   endpoint results.     And these are listed in what's known as a

01:24:58   15   statistical hierarchy.

01:25:01   16               So, as part our special protocol assessment

01:25:05   17   agreement with FDA, we had to, in essence, pre-declare our

01:25:09   18   criteria by determining -- for determining success at the

01:25:11   19   trial, and we had to list these in a specific order, and

01:25:15   20   according to the statistical analyses, you could not move from

01:25:20   21   the top row, to the second, to the third, fourth, et cetera,

01:25:24   22   without the prior endpoint having met the criteria and first

01:25:30   23   statistical significance, which is listed at the far right in

01:25:33   24   the P value column.

01:25:35   25               And as reflected here, there was robustness,
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 149 of 350
                                                                                    149



01:25:38    1   consistency in the sequential order within the prespecified

01:25:43    2   statistical hierarchy.      The only endpoint not achieving that

01:25:48    3   significance was death from any cause in the bottom row.

01:25:53    4    Q    And you had previously mentioned a 25 percent risk

01:25:56    5   reduction with respect to the primary endpoint; is that right?

01:26:00    6    A    Yes.

01:26:00    7    Q    And what does a 25 percent reduction mean for our

01:26:07    8   patients?

01:26:08    9    A    So to address that, I'll make a couple of comments to

01:26:14   10   hopefully put it in perspective.

01:26:16   11                One is that, as I mentioned earlier, there had been

01:26:19   12   a range of statin drugs developed by a series of drug

01:26:23   13   companies over a number of years that had shown anywhere from

01:26:27   14   25 to 35 percent cardiovascular risk reduction.

01:26:32   15                So patients only on a statin therapy have about that

01:26:38   16   much to hope for in terms of their ability to have their

01:26:43   17   cardiovascular risk reduced.      That leaves 65 to 75 percent

01:26:47   18   remaining.    So to have 25 percent of that on top of the statin

01:26:51   19   therapy addressed by virtue of another agent is very

01:26:55   20   significant indeed.

01:26:57   21    Q    And one of the studies we talked about earlier today was

01:27:01   22   JELIS.   How did the REDUCE-IT results compare to JELIS?

01:27:06   23    A    So they were more robust and consistent across the series

01:27:17   24   of endpoints described on this slide as one example.          And, you

01:27:25   25   know, in addition, there was a -- you know, a very well
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 150 of 350
                                                                                    150



01:27:29    1   characterized safety profile that was, you know, very well

01:27:36    2   established, and in a multi-national patient population.

01:27:44    3                So in comparing and contrasting to JELIS, that's an

01:27:49    4   important consideration that patients from 11 countries were

01:27:53    5   involved in this trial, so a broader patient population was

01:27:57    6   enrolled.

01:27:58    7                And also, this trial had the benefit of a placebo

01:28:04    8   arm, which was one of the significant criticisms of the JELIS

01:28:08    9   trial.

01:28:10   10    Q    Did Amarin pursue an additional -- well, did Amarin

01:28:15   11   pursue an additional indication based on REDUCE-IT?

01:28:18   12    A    Yes.   By virtue of having met the conditions of the

01:28:21   13   special protocol assessment agreement, we proceeded with an

01:28:26   14   SNDA submission in March 2019.

01:28:29   15    Q    And after Amarin's submission in March of 2019, what

01:28:34   16   happened with respect to that submission?

01:28:36   17    A    So when a sponsor submits a supplemental new drug

01:28:40   18   application, there's a period during which the FDA is

01:28:45   19   determining whether it should be accepted for filing, whether

01:28:48   20   it's complete in terms of all the electronic and other

01:28:52   21   components that are submitted.

01:28:55   22                So, that occurred, and then Amarin was formally

01:29:00   23   notified of the official acceptance of the application, and

01:29:04   24   that it had been granted priority review.

01:29:08   25                And then subsequent to that acceptance period, the
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 151 of 350
                                                                                    151



01:29:12    1   review team then goes into -- begins its detailed review of

01:29:17    2   the submitted information, and during that period of time they

01:29:25    3   start to review and have questions for the sponsor, and they

01:29:30    4   also make a determination as to whether or not they need an

01:29:34    5   open public FDA advisory committee meeting.

01:29:37    6               In our case, for this SNDA, they determined the need

01:29:41    7   for such an open public forum, which occurred in November

01:29:47    8   of 2019, and then FDA, after convening that forum, which led

01:29:53    9   to a 16 to zero favorable vote in favor of an expanded

01:29:58   10   indication based on REDUCE-IT, the FDA completed its review

01:30:03   11   and then approved Vascepa for that expanded indication in

01:30:08   12   December of 2019.

01:30:10   13                   MS. KEANE:    Okay.   And, Mr. Brooks, if we could

01:30:12   14   go to Exhibit 1186, and if we could turn to page 2 and pull up

01:30:23   15   the indications.

01:30:23   16   BY MS. KEANE:

01:30:29   17    Q    And, Dr. Ketchum, we discussed earlier today the first

01:30:33   18   indication listed on Exhibit 1186 is the REDUCE-IT indication?

01:30:38   19    A    Yes, the first bullet point is the REDUCE-IT indication.

01:30:42   20    Q    And what triglyceride levels does the indication cover?

01:30:48   21    A    Elevated triglyceride levels greater than or equal to 150

01:30:53   22   milligrams per deciliter.

01:30:54   23    Q    And does that also include patients with triglyceride

01:30:58   24   levels above 500 milligrams per deciliter?

01:30:59   25    A    Yes, it does.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 152 of 350
                                                                                        152



01:30:59    1    Q    You'll see the indication also refers to a maximally

01:31:03    2   tolerated statin therapy?      Do you see that?

01:31:06    3    A    Yes.

01:31:06    4    Q    What does maximally tolerated statin therapy mean?

01:31:10    5    A    So it means that patients can be on a range of statins,

01:31:16    6   on statin doses to control their bad cholesterol, and so

01:31:21    7   that -- that medical reality is factored into that statement,

01:31:28    8   but also that some patients cannot tolerate statins, and some

01:31:32    9   patients are unwilling to go onto statins.        So it encompasses

01:31:38   10   all three of those aspects.

01:31:39   11    Q    Now, if we could turn to Defendants' Exhibit 2247.

01:32:01   12                 Do you recognize Defendants' Exhibit 2247?

01:32:05   13    A    Yes.    This is the approved prescribing information for

01:32:11   14   Vascepa as of March 2019.

01:32:14   15    Q    Okay.    If you could take a look at the indications.         I

01:32:19   16   believe you just referred to it as the approved prescribing --

01:32:23   17    A    I apologize.    There's no cover page indicating.

01:32:26   18                 This is the version -- we submitted a supplemental

01:32:29   19   new drug application in March of 2019.        As part of the SNDA,

01:32:35   20   we're required, as the sponsor, to submit our proposed -- our

01:32:42   21   proposed prescribing information in a specific format, and

01:32:47   22   it's submitted in this form without any other, you know, draft

01:32:54   23   watermarks or anything like that, but it is a draft proposed

01:32:58   24   prescribing information.

01:32:59   25                     MS. KEANE:   Okay.   And, Mr. Brooks, if we could
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 153 of 350
                                                                                    153



01:33:02    1   turn to Section 6.2 --

01:33:05    2                    THE COURT:   I'm sorry.    Did you reference

01:33:07    3   Exhibit 2247?

01:33:08    4                    MS. KEANE:   Yes, Your Honor.

01:33:09    5                    THE COURT:   Plaintiff or defendant?

01:33:12    6                    MS. KEANE:   Defendants'.

01:33:15    7                    THE COURT:   Thank you.

01:33:15    8   BY MS. KEANE:

01:33:17    9    Q      If we could pull up Section 6.2, the postmarketing

01:33:22   10   experience.

01:33:22   11                Dr. Ketchum, do you see in Section 6.2 there's a

01:33:28   12   reference there to a chronic care population.         Do you see

01:33:34   13   that?

01:33:34   14    A      Yes, in the second sentence.

01:33:37   15    Q      And what is that a reference to?

01:33:39   16    A      So, again, this is in the context of a proposed label.

01:33:46   17   This is one of the required sections.

01:33:48   18                We already had an approved indication that had been

01:33:51   19   marketed for some time, so we had an obligation to list out

01:33:55   20   proposed adverse reactions that should be reflected in the

01:34:00   21   revised label, and we're reflecting that that existing

01:34:03   22   approved indication is for a chronic indication.

01:34:13   23    Q      And when Amarin refers to the population in the draft

01:34:17   24   labeling, what is that population or reference to?

01:34:20   25    A      That's the MARINE population.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 154 of 350
                                                                                    154



01:34:23    1    Q    And why did -- why did Amarin describe the MARINE

01:34:28    2   population as a chronic care population?

01:34:31    3    A    It's a factually accurate characterization of the patient

01:34:37    4   population in the MARINE study and indication.

01:34:41    5    Q    All right.    And is the phrase "chronic care population"

01:34:45    6   present in the final version of the Vascepa approved labeling?

01:34:52    7    A    No, it is not.

01:34:53    8    Q    All right.    And why not?

01:34:54    9    A    So I don't know specifically, in that in the labeling

01:35:03   10   comments provided by FDA it was a strike-through comment, so I

01:35:09   11   have no additional direct feedback from FDA in the

01:35:14   12   communication sent to us.

01:35:20   13               So in my evaluation, it was felt that it was

01:35:23   14   sufficiently --

01:35:24   15                   MR. KLEIN:    Objection.    Calls for speculation.

01:35:28   16                   MS. KEANE:    Well, let me see if I can rephrase

01:35:32   17   the question?

01:35:32   18                   THE COURT:    Yes.

01:35:33   19                   MS. KEANE:    Okay.

01:35:33   20   BY MS. KEANE:

01:35:34   21    Q    And, Dr. Ketchum, do you have an understanding as to why

01:35:37   22   the "chronic care population" phrase is not in the final

01:35:41   23   version of labeling?

01:35:42   24                   MS. KEANE:    Same objection.    He testified that

01:35:45   25   FDA didn't tell him, so he's just going to speculate.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 155 of 350
                                                                                    155



01:35:49    1                   THE COURT:    Ms. Keane, what's your response?

01:35:52    2                   MS. KEANE:    I think that based on Dr. Ketchum's

01:35:56    3   experience and his familiarity with the discussions with FDA,

01:36:00    4   that he has an understanding as to why the labeling does

01:36:07    5   not -- why the phrase is not included in the final labeling.

01:36:10    6   He's involved in the labeling discussions back and forth with

01:36:14    7   FDA.

01:36:14    8                   THE COURT:    If that's the position, I think you

01:36:16    9   need to lay some more foundation, because without that

01:36:18   10   additional foundation, seems to me like he's being asked to

01:36:22   11   speculate as to why the FDA did not approve that additional

01:36:25   12   language.

01:36:26   13                   MS. KEANE:    Okay.   And I can ask a few

01:36:27   14   additional questions.

01:36:28   15   BY MS. KEANE:

01:36:29   16    Q     Dr. Ketchum, were you involved with the labeling

01:36:32   17   discussions with FDA relating to the final Vascepa approved

01:36:38   18   labeling?

01:36:39   19    A     Yes, I was.

01:36:39   20    Q     And what was your role in those discussions?

01:36:41   21    A     I was an integral part of the team interacting with FDA

01:36:48   22   on all of these labeling interactions.

01:36:51   23    Q     And did you review the various versions of the labelings

01:36:54   24   that were exchanged back and forth between Amarin and FDA?

01:36:57   25    A     Yes, I did.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 156 of 350
                                                                                    156



01:36:58    1    Q    Could you actually tell us a little bit about the process

01:37:02    2   as to how the labeling is, I guess, discussed between Amarin

01:37:09    3   and FDA.

01:37:10    4    A    Yes.   So that earlier version that we -- the defendants'

01:37:17    5   exhibit that we walked through that was the proposed version

01:37:20    6   of the label that we submitted to FDA, at -- post the advisory

01:37:27    7   committee meeting, in the final weeks, when they're

01:37:34    8   determining that they're going to move in a favorable

01:37:36    9   direction towards approval, and really never before then, FDA

01:37:41   10   will start to interact with the sponsor and share by e-mail, a

01:37:47   11   strike through addition, sometimes with comment boxes,

01:37:51   12   depending on whether they feel they need to elaborate on the

01:37:55   13   strike-through or the addition.

01:37:57   14                That's sent by e-mail to the regulatory affairs to a

01:38:01   15   single point of contact within Amarin who reports in through

01:38:05   16   me, and then we assemble a team to evaluate FDA's feedback,

01:38:11   17   and then it's an iterative process.

01:38:14   18                So classically, there's two or three such iterations

01:38:18   19   back and forth between a sponsor --

01:38:21   20    Q    And --

01:38:21   21    A    -- and in this instance, they struck through "chronic

01:38:29   22   care population."

01:38:33   23    Q    And I believe, as you've mentioned before that -- well,

01:38:38   24   let me back up.

01:38:39   25                Did FDA provide a comment with respect to the
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 157 of 350
                                                                                    157



01:38:41    1   strike-through for chronic care?

01:38:43    2    A    Not for this particular comment.

01:38:46    3    Q    And based on your experience with respect to labeling

01:39:00    4   negotiations, do you have an understanding as to why FDA does

01:39:03    5   not include comments with strike-throughs?

01:39:06    6                   THE COURT:    Are you asking in general or --

01:39:08    7                   MS. KEANE:    In general.

01:39:09    8                   THE COURT:    All right.    In general, I'm going to

01:39:10    9   permit it.    In general, my understanding of the question is,

01:39:13   10   based on his experience, what's his general understanding as

01:39:16   11   to why the FDA would sometimes strike out certain language?

01:39:19   12                   MS. KEANE:    Yes.

01:39:20   13                   THE WITNESS:    Yeah.   So my understanding from my

01:39:25   14   experience in regulatory affairs, having gone through labeling

01:39:29   15   negotiations on multiple commercialized products, is that very

01:39:34   16   commonly a Review Division who has purview for multiple

01:39:39   17   products, so they are not just reviewing Amarin's Vascepa, but

01:39:44   18   over time they have reviewed other products from other

01:39:48   19   sponsors, and there's some attempt to try to keep the number,

01:39:52   20   nature, phrasing of statements similar across products.

01:39:58   21   BY MS. KEANE:

01:39:59   22    Q    And did you do anything to look into why this phasing in

01:40:02   23   this particular circumstance was deleted?

01:40:05   24    A    Yes.   I -- knowing that the Review Division was

01:40:10   25   responsible for reviewing a range of other lipid agents that
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 158 of 350
                                                                                    158



01:40:18    1   had -- you know, in which either lipid-lowering studies had

01:40:23    2   been conducted, or cardiovascular outcome studies, I looked

01:40:27    3   back through those labels, and that helped me understand that

01:40:31    4   that language did not appear, for example, in the Lovaza

01:40:37    5   label.

01:40:40    6    Q    And were there any other labels that you reviewed in

01:40:43    7   addition to the Lovaza label?

01:40:45    8    A    Yes.    I looked at a number of products that had reported

01:40:50    9   out cardiovascular outcomes results in the diabetes class and

01:40:58   10   also in the PCSK-9 inhibitor class.

01:41:04   11    Q    And what did that review convey with respect to the

01:41:13   12   chronic care population phraseology?

01:41:19   13    A    So, for example, in the Lovaza label which had

01:41:22   14   significant postmarketing experience, and was also indicated

01:41:26   15   for use in a chronic use situation, that phrasing did not

01:41:30   16   appear.

01:41:33   17                 So we did not counter -- in the subsequent labeling

01:41:37   18   round, we had that type of understanding and so it did not

01:41:45   19   counterpropose it back to FDA.

01:41:47   20    Q    And did that -- the review you did of additional labels,

01:41:52   21   that informed your understanding as to why the language is not

01:41:55   22   included in the final labeling?

01:41:57   23    A    Yes, it did.

01:41:58   24    Q    Okay.    And so do you have an understanding as to why that

01:42:03   25   language is not included in the final labeling?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 159 of 350
                                                                                    159



01:42:06    1    A    Yes, because it was not considered necessary or typical.

01:42:09    2    Q    And when you say "not necessary or typical," what do you

01:42:14    3   mean by that?

01:42:16    4    A    The context of the development programs for placebo

01:42:23    5   was -- were in chronic indications.

01:42:26    6    Q    If we could turn to Plaintiffs' Exhibit 1185.

01:42:39    7                Do you recognize Plaintiffs' Exhibit 1185?

01:42:46    8    A    Yes, I do.

01:42:47    9    Q    And what is Plaintiffs' Exhibit 1185?

01:42:51   10    A    It's a news release issued by the Food & Drug

01:42:56   11   Administration on the date of approval -- of their approval of

01:43:00   12   Vascepa for the expanded indication for cardiovascular risk

01:43:03   13   reduction.

01:43:05   14                    MS. KEANE:   Your Honor, plaintiffs move to admit

01:43:07   15   Plaintiffs' Exhibit 1185 into evidence.

01:43:10   16                    MR. KLEIN:   No objection.

01:43:10   17                    THE COURT:   1185 is admitted.

01:43:10   18                           (Plaintiffs' Exhibit 1185 received in
01:43:13                                 evidence.)
01:43:13   19   BY MS. KEANE:

01:43:13   20    Q    And do you know whether FDA typically issues a press

01:43:17   21   release when it approves a new drug?

01:43:21   22    A    It does not always issue a press release in my experience

01:43:26   23   with the -- its approval of a new drug application or a

01:43:30   24   supplemental new drug application.

01:43:32   25    Q    And is it a frequent occurrence for FDA to issue a press
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 160 of 350
                                                                                    160



01:43:36    1   release with a new drug application?

01:43:39    2    A    No.    I would say that it's typically reserved for

01:43:43    3   instances of first in class approvals or similar situations.

01:43:49    4    Q    If we could pull up paragraphs -- the second and third

01:43:55    5   paragraphs of the press release.

01:43:58    6                FDA states in the press release,

01:44:02    7                   "The FDA recognizes that there is a need for

01:44:04    8         additional medical treatments for cardiovascular

01:44:07    9         disease."

01:44:07   10                     Do you see that?

01:44:08   11    A    Yes.

01:44:09   12    Q    And then it goes on to state,

01:44:11   13                   "Today's approval will give patients with

01:44:13   14         elevated triglycerides and other important risk

01:44:16   15         factors, including heart disease, stroke, and

01:44:19   16         diabetes, an adjunctive treatment option that can

01:44:22   17         help decrease their risk of cardiovascular events."

01:44:25   18                     Do you see that?

01:44:26   19    A    Yes.

01:44:26   20    Q    What was Amarin's reaction to this press release?

01:44:30   21    A    So we were not aware of FDA's intent to issue a press

01:44:35   22   release until quite late in the process.        We had plans for our

01:44:42   23   own press release.

01:44:43   24                Obviously, as a small public company, and given the

01:44:46   25   materiality, we were pleased.        It's -- some of those
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 161 of 350
                                                                                    161



01:44:51    1   statements are consistent with what occurred early on in the

01:44:54    2   review clock in terms of granting Vascepa priority review for

01:44:59    3   this indication, which is also reflective of the un-met

01:45:02    4   medical need and the need for additional therapies in this

01:45:05    5   disease area.

01:45:07    6    Q    And generally how have the results of REDUCE-IT been

01:45:11    7   received?

01:45:11    8    A    They've been received quickly, and I think with much

01:45:18    9   acclamation.    Some clinicians have considered it, you know,

01:45:28   10   the most significant advance since statin therapy, others

01:45:33   11   considered it practice changing.

01:45:35   12                And just speaking to a situation which is somewhat

01:45:38   13   atypical, when the results, even prior to FDA approval, had

01:45:44   14   already been embraced by a number -- and adopted by a number

01:45:49   15   of national or international medical societies in terms of

01:45:54   16   identifying icosapent ethyl as a promising therapy for the --

01:46:01   17   as an add-on to statin therapy and cardiovascular risk

01:46:04   18   reduction.

01:46:05   19    Q    And what additional groups are you referring to?

01:46:08   20    A    Amongst them are the American Diabetes Association, the

01:46:14   21   National Lipid Association, the European Society of

01:46:17   22   Cardiology, the European Atherosclerosis Society, and others.

01:46:23   23                    MS. KEANE:   Thank you, Dr. Ketchum.     I have no

01:46:25   24   further questions at this time.

01:46:38   25                    THE COURT:   Mr. Klein, do you need a few moments
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 162 of 350
                                                                                    162



01:46:40    1   to set up?

01:46:41    2                   MR. KLEIN:    Just a minute.    We'll hand out

01:46:43    3   binders, but I think I can do it pretty quickly.

01:46:51    4                   May she approach the witness?

01:46:53    5                   THE COURT:    Yes.

01:47:07    6                   MR. KLEIN:    Your Honor, as technical matter, I'm

01:47:10    7   going to be using slides.      What I've done in advance to try to

01:47:13    8   speed things along is I put snapshots and slides to go along.

01:47:17    9                   Do you want a copy of it?

01:47:19   10                   THE COURT:    I don't need a copy.     Thank you.

01:47:20   11                   MR. KLEIN:    Okay.

01:47:21   12                   THE COURT:    As long as the slide -- well, we'll

01:47:21   13   take a look at the slide, but on the slide do you reference a

01:47:26   14   particular exhibit number?

01:47:27   15                   MR. KLEIN:    I do.

01:47:28   16                   THE COURT:    Thank you.

01:47:30   17                   MR. KLEIN:    And one other housekeeping.      Unlike

01:47:33   18   plaintiff's counsel, what I intend to do is introduce all the

01:47:36   19   exhibits I use at the end because I think it would be quicker,

01:47:40   20   if that's okay.

01:47:41   21                   THE COURT:    Well, usually I think it's

01:47:43   22   introduced as it goes along because of foundational issues.

01:47:46   23   But if you believe there's not going to be any objections such

01:47:49   24   that you don't have to worry about foundation, I'm fine with

01:47:52   25   the approach of introducing all of the exhibits at the end.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 163 of 350
                                                                                    163



01:47:55    1                   MR. KLEIN:    Okay.   I mean, it's up to you.

01:47:56    2                   THE COURT:    In fact, there may even be a

01:47:58    3   stipulation that the exhibits you want to offer are all

01:48:01    4   admitted.

01:48:02    5                   MR. KLEIN:    I don't think there were any

01:48:04    6   objections outstanding, but, you know, if something comes up,

01:48:09    7   you're, obviously, free to object.

01:48:11    8                   MS. KEANE:    Yeah, Your Honor, I think there's

01:48:12    9   just a couple of remaining issues.       I think, in general, we

01:48:15   10   don't have any remaining objections, because there are a few.

01:48:18   11   And obviously we reserve the right, depending on how it is

01:48:22   12   used with the witness, to object on foundation grounds.

01:48:24   13                   THE COURT:    So my concern, if you refer

01:48:27   14   extensively to an exhibit, and you don't offer it for

01:48:29   15   admission, and there's an objection at the end, and I sustain

01:48:33   16   the objection, you would have wasted your time, and I would

01:48:36   17   have to strike the testimony relating to that particular

01:48:40   18   exhibit.

01:48:40   19                   MR. KLEIN:    I would say that's probably pretty

01:48:42   20   unlikely, but I can --

01:48:43   21                   THE COURT:    You're pretty optimistic.

01:48:45   22                   MR. KLEIN:    Well, we exchanged objections in

01:48:47   23   advance, so, yeah.

01:48:47   24                   THE COURT:    We'll proceed that way if you think

01:48:49   25   that's more efficient.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 164 of 350
                                                                                    164



01:48:50    1                     MR. KLEIN:   If there's an issue that comes up,

01:48:52    2   we can raise it at the time.

01:48:59    3                           CROSS-EXAMINATION

01:48:59    4   BY MR. KLEIN:

01:48:59    5    Q    Good afternoon, Dr. Ketchum.

01:49:01    6    A    Good afternoon.

01:49:02    7    Q    You and I haven't met, right?

01:49:03    8    A    That's correct.

01:49:04    9    Q    My name is Charles Klein.      I represent the defendants in

01:49:07   10   this case.

01:49:10   11                 You were designated as a corporate representative

01:49:15   12   for Amarin during discovery under Federal Rule of Civil

01:49:19   13   Procedure 30(b)(6), right?

01:49:21   14    A    Yes, I was.

01:49:22   15    Q    Okay.    Let's go to -- and you probably heard the

01:49:26   16   colloquy.     What I'm going to be doing is, for the most part,

01:49:29   17   putting snapshots on screen just because I think it will move

01:49:32   18   things along.     You obviously have a binder in front of you if

01:49:36   19   you need it.

01:49:37   20                 DX 1809, do you recognize this as the Notice of

01:49:42   21   Deposition that defendants served?

01:49:45   22    A    I -- I can see that it's a Notice of Deposition.

01:49:54   23    Q    Okay.    You may not recall the specific notice, but you

01:50:00   24   recall a Notice of Deposition was served, and there were a

01:50:03   25   number of topics on which you were designated to testify?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 165 of 350
                                                                                    165



01:50:07    1    A    Yes.

01:50:07    2    Q    Okay.    And I'm not going to go through all of them, but I

01:50:11    3   just want to cover a few just so, for the record, we have the

01:50:14    4   context for your 30(b)(6) testimony.

01:50:19    5                 So, topic 12 was Amarin's methods, actions, steps

01:50:23    6   taken, the rationale to differentiate Vascepa from Lovaza.          Do

01:50:28    7   you remember that?

01:50:28    8    A    Yes.

01:50:29    9    Q    By the way, you said Lo-vais-a.       I don't know if that's

01:50:32   10   the proper terminology.      I've been calling it Lo-vau-sa for

01:50:36   11   years -- or is it to-mait-o to-maut-o?

01:50:39   12    A    Lo-vais-a is the correct pronunciation.

01:50:40   13    Q    Okay.    I'll try to remember that.

01:50:42   14                 If we go to -- this is the same exhibit, DX 1809.

01:50:47   15   I'll try to remember to call out the demonstrative as well.

01:50:50   16   It's DDX 2.2.

01:50:52   17                 Another topic concerned Amarin's presentations to

01:50:56   18   investors.     Do you remember that?

01:50:57   19    A    Yes.

01:50:58   20    Q    Then on DDX 2.3, Amarin's clinical programs for Vascepa.

01:51:05   21   Do you remember that?

01:51:06   22    A    Yes.

01:51:07   23    Q    And then topic 32, this is DDX 2.4, was Amarin's

01:51:13   24   assessment, impressions, and reliance on the JELIS clinical

01:51:18   25   trial in their own clinical program for Vascepa and in
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 166 of 350
                                                                                    166



01:51:21    1   communications with FDA regarding Vascepa.        Do you remember

01:51:24    2   that?

01:51:24    3    A      Yes.

01:51:25    4    Q      All right.    We move to the next exhibit, and this exhibit

01:51:31    5   is DX 2255, and I'm -- for the record, I'm on DDX 2.5.

01:51:42    6                   On direct you spent some time discussing Amarin's

01:51:46    7   MARINE, ANCHOR, and REDUCE-IT clinical studies, right?

01:51:50    8    A      Yes.

01:51:51    9    Q      Okay.    And you're obviously proud of those studies,

01:51:54   10   right?

01:51:54   11    A      Yes.

01:51:55   12    Q      Okay.    And those studies resulted in two FDA approved

01:51:59   13   indications?

01:51:59   14    A      Yes, they did.

01:52:00   15    Q      And Amarin's reward for these successful clinical studies

01:52:05   16   and new indications was a period of regulatory exclusivity,

01:52:10   17   right?

01:52:11   18                   Let me rephrase because I know you're still waiting

01:52:14   19   on the second one.

01:52:15   20                   For the first indication, you received regulatory

01:52:15   21   exclusivity in return for the successful clinical trial and

01:52:23   22   the severe hypertriglyceridemia indication, correct?

01:52:26   23    A      Yes, with some delay.

01:52:26   24    Q      Right.

01:52:27   25    A      As reflected in the dating on this document.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 167 of 350
                                                                                    167



01:52:29    1    Q    Right.   Yeah.   And I'll a talk about that.

01:52:32    2               And then with regard to the new indication, Amarin

01:52:35    3   is going to be applying for additional regulatory exclusivity,

01:52:39    4   correct?

01:52:40    5    A    Amarin will be entitled to additional exclusivity on the

01:52:45    6   basis of having undertaken work, additional clinical work

01:52:49    7   deemed to be essential for reviewing and approving an expanded

01:52:53    8   indication for an additional use.

01:52:56    9    Q    Right.   And regulatory exclusivity means that FDA won't

01:53:01   10   approve any generic product for some particular period, right?

01:53:05   11    A    Yes, and its intent is to acknowledge that the sponsor,

01:53:10   12   in arriving at that expanded indication has exerted a certain

01:53:16   13   amount of time, energy, and financial wherewithal to get to

01:53:20   14   that point.

01:53:20   15    Q    Exactly.   It's, in essence, a reward for the time and

01:53:24   16   money you spent on the clinical trial, correct?

01:53:28   17    A    It's -- it's to acknowledge and to allow the sponsor to

01:53:36   18   have the opportunity to, you know, basically, you know,

01:53:45   19   commercialize that expanded indication and continue to be have

01:53:50   20   incentives to continue to develop, you know, other therapies

01:53:50   21   for other unmet medical needs which is a timely and --

01:54:07   22               So I was just saying that exclusivity is a period of

01:54:13   23   time that's an acknowledgement of the sponsor's resources that

01:54:19   24   its deployed in the direction of that expanded indication

01:54:23   25   because it's not always a successful endeavor.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 168 of 350
                                                                                    168



01:54:29    1                 It's very commonly all of that time, energy, and

01:54:32    2   effort is spent without -- and the whole intent is to

01:54:36    3   encourage innovation of therapies that can meet unmet medical

01:54:42    4   needs, and that's just an inherently risky process.

01:54:45    5    Q    Understood.    And these periods of regulatory exclusivity

01:54:49    6   are very important to companies like yours that's going

01:54:53    7   through the effort in running clinical trials, right?

01:54:55    8    A    I'm sorry, could you repeat the question again?

01:54:58    9    Q    Sure.    These periods of exclusivity, regulatory

01:55:01   10   exclusivity, is very important to a company like your company

01:55:05   11   that is undertaking the expense of a clinical trial, right?

01:55:08   12    A    Yes.    It's a very important consideration.

01:55:10   13    Q    Right.    It's designed, as I think you put it, to

01:55:13   14   incentivize companies like Amarin to go ahead and spend the

01:55:17   15   money on the clinical trial because you know that, if it's

01:55:20   16   successful, you'll get a period exclusivity, right?

01:55:23   17    A    And because many times it's not successful, and so we

01:55:27   18   can't just focus on the situations where it is successful

01:55:31   19   because sponsors are continually doing trials that don't

01:55:35   20   succeed and that they never see the benefit of that level of

01:55:40   21   effort.

01:55:45   22    Q    Right.    Right.

01:55:46   23                 The MARINE study supported the original indication,

01:55:49   24   and I think you even called it the MARINE indication on

01:55:52   25   direct, right?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 169 of 350
                                                                                    169



01:55:52    1    A    That's correct.

01:55:53    2    Q    And so on the screen is DX 2255.       This is a press release

01:56:01    3   from Amarin from May 31st, 2016, right?

01:56:05    4    A    That's correct.

01:56:06    5    Q    And here Amarin is announcing that the FDA has determined

01:56:13    6   that Vascepa capsules are eligible for five years, new

01:56:19    7   chemical entity, marketing exclusivity, pursuant to the

01:56:22    8   Hatch-Waxman amendments, right?

01:56:24    9    A    Yes.    That's what that press release says.

01:56:26   10    Q    And Amarin did in fact receive five years of new chemical

01:56:31   11   entity exclusivity for the MARINE indication, right?

01:56:34   12    A    Yes, it did, as reflected here.

01:56:36   13    Q    Okay.    Now, as you said, there was some delay.       Initially

01:56:40   14   FDA did not award the NCE, the new chemical entity

01:56:46   15   exclusivity, right?

01:56:47   16    A    Yes.    It was not coincident with the date of FDA approval

01:56:53   17   on July 26th, 2012.

01:56:54   18    Q    Right.   There was some litigation with FDA, and

01:56:58   19   eventually it was resolved, and you got the NCE exclusivity

01:57:05   20   right?

01:57:05   21    A    Yes.

01:57:05   22    Q    If we go to DDX 2.6, this press release says,

01:57:13   23                   ""NC exclusivity for Vascepa runs from its

01:57:15   24         date of FDA approval on July 26, 2012, and extends

01:57:17   25         until July 26, 2017.     The statutory 30-month stay
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 170 of 350
                                                                                    170



01:57:23    1         triggered by patent litigation following generic

01:57:26    2         applications.    Submissions permitted on July 26,

01:57:29    3         2016, would expire on January 26, 2020,

01:57:32    4         seven-and-a-half years from FDA approval."

01:57:37    5                    Do you see that?

01:57:37    6    A    Yes, I see that statement.

01:57:38    7    Q    Okay.    And you understand then under -- the way this

01:57:44    8   five-year new chemical entity exclusivity works, the generics

01:57:49    9   could not even file an application until four years into that

01:57:53   10   period?

01:57:53   11    A    Yes, I understand that.

01:57:54   12    Q    Okay.    And then the defendants' here obviously filed

01:57:56   13   their applications, right?      You knew that happened, right?

01:58:00   14    A    Yes, I don't know exactly what date, but I do know that

01:58:03   15   they've been filed.

01:58:03   16    Q    But understand that after, after the defendants filed

01:58:07   17   their applications Amarin brought suit and then there was an

01:58:11   18   automatic 30-month stay that was instituted?

01:58:15   19    A    Yes, I'm aware of that.

01:58:16   20    Q    Okay.    So the total amount of exclusivity plus the

01:58:21   21   30-month stay totals seven-and-a-half years, right?

01:58:25   22    A    Yes, it does.

01:58:26   23    Q    Right.   And so Amarin received seven-and-a-half years of

01:58:30   24   regulatory exclusivity which means it was free from generic

01:58:35   25   competition for that entire period, correct?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 171 of 350
                                                                                    171



01:58:38    1    A    Yes.

01:58:39    2    Q    And Amarin got this exclusivity because FDA eventually

01:58:46    3   determined that Vascepa is a new chemical entity; is that

01:58:50    4   right?

01:58:50    5    A    Yes.

01:58:50    6    Q    And Vascepa is purified EPA, correct?

01:58:54    7    A    Vascepa is an ethyl ester form of highly purified EPA.

01:58:59    8    Q    Right.    I mean, that's the chemical entity essentially?

01:59:02    9    A    Icosapent ethyl.

01:59:05   10    Q    Right.    Amarin did not invent purified EPA though, right?

01:59:10   11    A    I don't totally agree with that statement.        Amarin is the

01:59:18   12   owner of the NDA which describes all of the chemistry

01:59:24   13   manufacturing controls of the particular ethyl ester form, a

01:59:30   14   specific highly purified form of EPA, that is comprised in

01:59:35   15   Vascepa as icosapent ethyl.

01:59:38   16    Q    Let me clarify the question.

01:59:39   17                 Amarin was not the first company to come up with a

01:59:43   18   purified EPA product.     Do you agree with that?

01:59:46   19    A    I agree with that.

01:59:47   20    Q    Yeah.

01:59:48   21    A    We --

01:59:49   22    Q    Yeah.

01:59:49   23    A    Just as an example, we discussed earlier the Epadel

01:59:53   24   product --

01:59:53   25    Q    Correct.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 172 of 350
                                                                                    172



01:59:53    1    A    In Japan.

01:59:54    2    Q    And, in fact, there were EPA containing dietary

02:00:02    3   supplements available for quite some time, right?

02:00:05    4    A    Yes, there are a range of dietary supplements containing

02:00:11    5   omega-3s like EPA.

02:00:13    6    Q    And then the Japanese authorities approved Epadel in

02:00:18    7   Japan which is a purified EPA product, right?

02:00:22    8    A    Yes, Epadel was approved in Japan for specified uses.

02:00:26    9    Q    And Amarin's seven-and-a-half years of regulatory

02:00:29   10   exclusivity was not based on a finding that Amarin had

02:00:33   11   invented purified EPA, right?

02:00:36   12    A    It was based on it being classified as a new chemical

02:00:40   13   entity.

02:00:41   14    Q    And what that means is that Amarin was the first to get

02:00:44   15   FDA approval of a purified EPA product, correct?

02:00:48   16    A    Amarin was the first in -- to bring that type of product

02:00:52   17   to the market in the United States.

02:00:53   18    Q    Right.   But just to be clear, the NCE exclusivity doesn't

02:01:00   19   mean that you created and was the first to invent purified

02:01:04   20   EPA, you were just the first to get FDA approval of a purified

02:01:08   21   EPA product; is that fair?

02:01:10   22    A    That's correct, and, in fact, our new drug application

02:01:13   23   had some degree of reliance on nonclinical information from

02:01:16   24   the Mochida product.

02:01:17   25    Q    Right.   And just --
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 173 of 350
                                                                                      173



02:01:18    1    A    Which classified it as a 505(b)(2) NDA while still being

02:01:23    2   an NCE.

02:01:24    3    Q    I'll unpack that a little bit.      Number one, Mochida is

02:01:29    4   the manufacturer of Epadel, right?

02:01:31    5    A    Yes.

02:01:31    6    Q    Okay.   And so you reference a 505(b)(2) product.        What

02:01:36    7   that means is that under the regulations you told FDA that you

02:01:40    8   were going to rely on Mochida's Epadel's information in part

02:01:44    9   to support your application, correct?

02:01:47   10    A    Yes.    That's correct.

02:01:48   11    Q    Now, we talked about how Amarin will be entitled to

02:01:56   12   another three years of exclusivity related to the REDUCE-IT

02:02:00   13   indication, right?

02:02:00   14    A    Yes.

02:02:01   15    Q    And what that means is that there won't be generic

02:02:06   16   competition in terms of generic products that had the

02:02:09   17   REDUCE-IT indication in their label for at least three years

02:02:12   18   regardless of patents, correct?

02:02:14   19    A    That's correct.

02:02:16   20    Q    And that, too, is a regulatory incentive and a reward for

02:02:27   21   Amarin to go ahead and conduct studies like the REDUCE-IT

02:02:31   22   study, right?

02:02:32   23    A    Yes, that took a decade plus and approximately

02:02:35   24   $300 million.

02:02:36   25    Q    And you understand that all this regulatory exclusivity,
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 174 of 350
                                                                                     174



02:02:39    1   the seven-and-a-half years for MARINE and the three years for

02:02:42    2   REDUCE-IT, is totally independent of patent rights, correct?

02:02:45    3    A    I'm not an intellectual property expert, but, yes, I

02:02:51    4   understand the regulatory provisions.

02:02:53    5    Q    Those are just two totally different types of

02:02:56    6   exclusivity, right?     Those are two different types of

02:03:00    7   exclusivity.

02:03:01    8    A    Yes.    Regulatory exclusivity in terms of NCE and

02:03:07    9   Hatch-Waxman for having conducted a clinical trial and getting

02:03:11   10   three years is different from additional exclusivity that can

02:03:15   11   be afforded through other mechanisms.

02:03:18   12    Q    And you're not a patent law expert, I assume, right?

02:03:22   13    A    I am not.

02:03:23   14    Q    But you generally understand sometimes clinical trials

02:03:26   15   can support a patent, and sometimes they can't, right?

02:03:29   16    A    I -- that sounds like a reasonable statement.

02:03:33   17    Q    Okay.

02:03:34   18    A    Again, not being a patent lawyer.

02:03:37   19    Q    All right.    So let's take a look at the last paragraph on

02:03:41   20   DDX 2.7.     Here it says,

02:03:44   21                   "'Amarin's goal is to protect the commercial

02:03:46   22         potential of Vascepa to 2030,' stated John Theorow,

02:03:50   23         president and chief executive officer of Amarin.         NCE

02:03:53   24         regulatory exclusivity complements multiple patents

02:03:57   25         covering Vascepa with expiration dates in 2030."
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 175 of 350
                                                                                    175



02:04:01    1                     Do you see that?

02:04:01    2    A    I see that statement.

02:04:04    3    Q    And so you understand that -- well, number one, you

02:04:06    4   understand that seven-and-a-half years is about to expire in

02:04:10    5   the next couple weeks, right?

02:04:11    6    A    Yes, based on the date in that press release.

02:04:14    7    Q    Okay.    But Amarin is hoping that its patents, the patents

02:04:17    8   at issue in this case, are going to continue to block generic

02:04:21    9   competition all the way to 2030; is that right?

02:04:24   10    A    Amarin's perspective is that those patents support

02:04:28   11   coverage of Vascepa for a longer period of time.

02:04:31   12    Q    And you generally understand -- and I promise I'm not

02:04:36   13   going to ask you details about it, but you generally

02:04:37   14   understand that defendants are contending that they don't

02:04:39   15   infringe the patents and that they're obvious, right?

02:04:42   16    A    I understand that at a high level, again, not being an

02:04:46   17   intellectual property lawyer.

02:04:48   18    Q    All right.    Now, let's go to DDX 2.8, and this is a

02:04:58   19   snapshot from Amarin's proposed findings of fact, and it's ECF

02:05:03   20   number 331.

02:05:05   21                 Here, I just -- it's really an orientation question,

02:05:07   22   I'm not going to ask you details about the inventors, but do

02:05:13   23   you understand that Amarin contends in this case that the

02:05:16   24   inventors listed on the patents conceived of their claimed

02:05:20   25   inventions on or by March 25th, 2008?        Is that something you
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 176 of 350
                                                                                    176



02:05:25    1   understand?

02:05:26    2    A    This is not a document that I'm familiar with.

02:05:29    3    Q    Okay.    I will represent to you that this is -- this is a

02:05:33    4   document that was filed with the court by counsel.         Okay?    And

02:05:37    5   so you're saying you've never seen it?

02:05:39    6    A    I'm saying I don't recall seeing it, and I don't recall

02:05:43    7   the content of this document.

02:05:46    8    Q    Well, let's -- let's proceed this way then.        I will

02:05:50    9   represent to you that the contention in this case -- just to

02:05:54   10   orient yourself with regard to some of my next questions, the

02:05:58   11   contentions in this case is that the alleged inventors

02:06:03   12   conceived of the claimed invention by March 25th, 2008.

02:06:07   13                 Okay?   Do you this that date in your mind?

02:06:09   14    A    I see that date on that slide.

02:06:11   15    Q    All right.      Let's go to the next slide.    This is DDX 2.9,

02:06:22   16   and it references DX 1814.

02:06:27   17                 Do you recognize DX 1814?

02:06:35   18    A    I believe I've seen this document before.

02:06:38   19    Q    Okay.    And as we just discussed, Amarin asserts that its

02:06:44   20   date of conception is March 25th, 2008.        Do you remember that?

02:06:48   21    A    I -- I'm sorry, were you citing a different date than is

02:06:54   22   highlighted there?

02:06:55   23    Q    Well, I'm citing the date that we just talked about from

02:06:58   24   the attorney submission to the court.        That was March 25th, do

02:07:03   25   you remember that?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 177 of 350
                                                                                    177



02:07:03    1    A      I remember that from that slide.

02:07:05    2    Q      And so this is -- I'm just orienting you vis-à-vis that

02:07:09    3   date.

02:07:10    4                   So this document is March 10th, right?

02:07:13    5    A      The date on this document is March 10th.

02:07:15    6    Q      Okay.

02:07:15    7    A      Again, just for clarity, this is not a point in time when

02:07:18    8   I'm at Amarin so -- I was not hired in until February of 2012.

02:07:24    9    Q      Okay.    And I understand that, but this is one of the

02:07:27   10   documents you discussed during your deposition, right?

02:07:30   11    A      Yes.

02:07:30   12    Q      Okay.

02:07:31   13    A      I did.

02:07:31   14    Q      And this document is dated 15 days before the alleged

02:07:34   15   conception date, right?

02:07:36   16    A      Based on those two slides, it's 15 days in advance.

02:07:44   17    Q      Okay.    And you understand that this document -- it's an

02:07:46   18   internal Amarin document, right?

02:07:47   19    A      It appears to be so.    That's my recollection that it was

02:07:52   20   an internal Amarin document.

02:07:54   21    Q      Okay.    And it discusses the rationale and outline of the

02:07:57   22   proposed development program for Vascepa, correct?

02:08:01   23    A      Yes.    It's for the icosapent ethyl program for

02:08:07   24   hypertriglyceridemia.

02:08:10   25    Q      Okay.    Let's go DX 1814, page 2, it's DDX 2.10, and this
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 178 of 350
                                                                                    178



02:08:17    1   is the second page of the document if you're looking at a hard

02:08:21    2   copy.

02:08:21    3    A      Uh-huh.

02:08:22    4    Q      It's the introduction.

02:08:29    5                   And you see generally the introduction starts by

02:08:32    6   discussing the state of the art as of the date of this

02:08:36    7   document, March 10, 2008, right?

02:08:38    8    A      It's providing some type of introductory background.        I

02:08:42    9   can't comment on the state of the art portion of that

02:08:46   10   statement.

02:08:46   11    Q      Okay.    Well, what I highlighted says,

02:08:48   12                      "Ethyl EPA capsules, Epadel, have been

02:08:51   13           marketed by Mochida in Japan since 1991.      The

02:08:55   14           approved indications are hyperlipidemia,"

02:08:59   15   and then it goes on.       Do you see that?

02:09:01   16    A      Yes, I do see that.

02:09:03   17    Q      And you generally understand that Mochida had marketed

02:09:07   18   Epadel as a purified EPA product since 1991; is that right?

02:09:10   19    A      Yes, that's correct.

02:09:11   20    Q      And the approved indication includes hyperlipidemia, you

02:09:16   21   knew that, right?

02:09:16   22    A      Yes.

02:09:17   23    Q      And hyperlipidemia means an abnormally high concentration

02:09:21   24   of fats or lipids in the blood?

02:09:23   25    A      It connotes that medical terminology.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 179 of 350
                                                                                    179



02:09:27    1    Q      It includes high triglycerides, right?

02:09:32    2    A      I can't recall specifically how the Japanese characterize

02:09:37    3   hyperlipidemia, but the term can mean multiple lipid

02:09:40    4   abnormalities.

02:09:41    5    Q      And hyperlipidemia also includes very high levels of

02:09:46    6   triglycerides, right?

02:09:47    7    A      I don't know in the specific context that it's

02:09:49    8   specifically encompassed.

02:09:50    9    Q      The term hyper --

02:09:53   10    A      It's such a broad term as phrased on this document that

02:09:56   11   there might be other documents that might need to be consulted

02:10:00   12   to confirm.

02:10:00   13    Q      Generally speaking, the term hyperlipidemia would include

02:10:05   14   very high triglyceride levels, right?

02:10:07   15    A      I -- that's a very broad statement that I can't agree

02:10:11   16   with.

02:10:12   17                   Normally, it would be qualified by, as an example,

02:10:16   18   hypercholesterolemia, as was studied in the JELIS study, means

02:10:22   19   high total cholesterol.

02:10:24   20                   Hyperlipidemia is such a broad term, it's unclear

02:10:31   21   precisely what it means in this specific context on this page.

02:10:31   22    Q      Okay.    But you understand that the Epadel product was

02:10:34   23   used to reduce triglyceride levels, right?

02:10:36   24    A      I know it was used to reduce a number of lipids.

02:10:41   25    Q      Including triglycerides?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 180 of 350
                                                                                    180



02:10:43    1    A      I know that there had been some level of work done to

02:10:46    2   characterize its ability to lower triglycerides, but, again,

02:10:51    3   this statement is in the context of an approved indication,

02:10:54    4   and I think there are other documents, Japanese documents,

02:10:57    5   that would have to be consulted to clarify the meaning of that

02:11:00    6   term in that marketed territory.

02:11:02    7    Q      All right.   Sir, even putting aside the document for now,

02:11:06    8   it's just a straightforward question.        You understand that the

02:11:09    9   Epadel product was used before 2008 to reduce triglycerides in

02:11:14   10   patients, right?

02:11:15   11    A      It -- it was used -- I can't comment on how it was used

02:11:22   12   by Japanese physicians in that marketed territory.         Quite

02:11:26   13   possibly it was used by some physicians to address a

02:11:31   14   hyperlipidemic abnormality that included the need to lower

02:11:35   15   triglycerides.

02:11:36   16    Q      Okay, sir.   So have you read any of the studies involving

02:11:40   17   ep --

02:11:40   18    A      Yes, I have, very closely, and that's why I referred to

02:11:44   19   the most significant of those studies is the JELIS study where

02:11:47   20   specifically the patients, their primary lipid abnormality was

02:11:55   21   hypercholesterolemia meaning high total cholesterol.          That was

02:11:58   22   by far the most extensive study conducted by Mochida, and

02:12:00   23   those patients actually had very modest triglyceride level.

02:12:05   24    Q      But you're also aware of studies, aside from JELIS, that

02:12:08   25   used Epadel and showed that Epadel reduced triglycerides,
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 181 of 350
                                                                                    181



02:12:15    1   correct?

02:12:15    2    A    There's some reports in the peer reviewed literature that

02:12:20    3   show --    that showed some ability of Epadel to reduce

02:12:23    4   triglycerides.

02:12:24    5                 Just to clarify for the judge, I'm reacting to the

02:12:27    6   specific words where it's in a marketed context, and I want to

02:12:30    7   make sure that I'm accurate about how I'm characterizing

02:12:35    8   hyperlipidemia.

02:12:36    9    Q    Okay.    I'm not sure what you mean by marketed context.

02:12:36   10   I'm not --

02:12:39   11    A    The highlighted portion on the slide.

02:12:40   12    Q    Putting aside the document, I'm just asking you generally

02:12:43   13   does it -- in even clinical studies, you understand that

02:12:49   14   Epadel or -- that Epadel was used in studies discussing the

02:12:55   15   prior art to reduce triglycerides in human patients, right?

02:13:00   16    A    You're using -- you know, prior art.       I'm not one of the

02:13:05   17   inventors on the patent so I --

02:13:06   18    Q    Okay.

02:13:07   19    A    That's not a term that I use in my day-to-day, you know,

02:13:12   20   R&D responsibilities.

02:13:14   21    Q    Okay.    Fair enough.   We'll get back to that.

02:13:18   22                 If we go to the next slide, DDX 2.11, it's just

02:13:25   23   different highlighting, it says,

02:13:26   24                    "The efficacy and safety of Ethyl EPA in

02:13:30   25         Japan have been further supported by the publication
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 182 of 350
                                                                                    182



02:13:32    1         in The Lancet earlier this year of the JELIS study in

02:13:36    2         which over 18,000 patients with hyperlipidemia were

02:13:41    3         randomized to receive ethyl-EPA or placebo on

02:13:45    4         background statin therapy."

02:13:47    5                   Do you see that?

02:13:48    6    A    Yes, I do.

02:13:49    7    Q    And you understand that The Lancet is one of the most

02:13:52    8   prestigious scientific journals, right?

02:13:54    9    A    Yes, I do.

02:13:56   10    Q    And you're familiar with the JELIS study, obviously,

02:13:58   11   right?

02:13:58   12    A    Yes.

02:13:58   13    Q    Let's go on to the last sentence on DDX 2.12.         It says,

02:14:02   14                  "After a mean follow-up of 4.6 years, there

02:14:04   15         was a clinically and statistically significant

02:14:08   16         19 percent reduction in the primary endpoint of major

02:14:11   17         coronary events."

02:14:13   18                   Do you see that?

02:14:13   19    A    Yes, I do.

02:14:14   20    Q    And that's what The Lancet reported, right?

02:14:16   21    A    It did, and, again, in a patient population with high

02:14:21   22   total cholesterol.

02:14:22   23    Q    Okay.   Let's go to DDX 2.13, which is page 2 of the

02:14:30   24   document, and here it says,

02:14:31   25                  "Ethyl EPA as a single agent is not approved
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 183 of 350
                                                                                    183



02:14:34    1         as a prescription medicine in any other markets, but

02:14:37    2         a combination of esters of EPA and DHA are marketed

02:14:42    3         in USA as Lovaza" -- I got it right -- "and in

02:14:46    4         various European countries as Omacor."

02:14:49    5                    That's a true statement, right?

02:14:54    6    A    That is a true statement.

02:14:55    7    Q    Okay.    And so before March 2008, the FDA had approved

02:15:00    8   Lovaza as a combination EPA-DHA product, right?

02:15:04    9    A    Yes.    It approved it in 2004 for Lovaza.

02:15:09   10    Q    Right.   And it was indicated for very high triglycerides,

02:15:13   11   right?

02:15:13   12    A    Yes, it was.

02:15:14   13    Q    All right.    Let me move on to another paragraph on

02:15:18   14   page 2, this is DDX 2.14, and here it says,

02:15:22   15                   "Amarin has been investigating the potential

02:15:25   16         of Ethel EPA to treat Huntington's disease,

02:15:31   17         depression, and schizophrenia."

02:15:31   18                    Do you see that?

02:15:32   19    A    Yes.

02:15:32   20    Q    Okay.    And I think you mentioned on direct that these

02:15:35   21   investigations did not lead to a viable product, correct?

02:15:39   22    A    I don't recall mentioning it previously, but you are

02:15:43   23   correct that the prior development program in Huntington's

02:15:47   24   disease by Amarin did not lead to an approved indication in

02:15:52   25   any territory.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 184 of 350
                                                                                         184



02:15:52    1    Q      Okay.    I might be thinking of the opening statement, but

02:15:56    2   I remember it coming up earlier today.

02:15:56    3                   In DDX 2.15 is page 7 of the document, and here it

02:16:03    4   says,

02:16:03    5                      "Amarin has not performed any clinical trials

02:16:05    6           of ethyl-EPA in patients with dyslipidemia."

02:16:11    7                       So you understand as of March of 2008, Amarin

02:16:14    8   had not yet performed any clinical trials to assess whether

02:16:19    9   purified EPA could reduce triglycerides, correct?

02:16:21   10    A      Yes, and the sentence goes on to explain what it had

02:16:25   11   studied.

02:16:26   12    Q      Right.    It's the Huntington's disease, depression, and

02:16:29   13   schizophrenia, right?

02:16:32   14    A      Yes, CNS disorders.

02:16:34   15    Q      Okay.    Let's go to the next slide which is DDX 2.16, and

02:16:38   16   this is DX 1814 at page 10.

02:16:43   17                   Here, the document -- it's the same document.       It

02:16:50   18   says,

02:16:50   19                      "Extensive clinical data attest to the safety

02:16:54   20           and efficacy of combinations of EPA-DHA as treatment

02:16:58   21           of dyslipidemias," and then it says, "approval of

02:17:01   22           Lovaza, 4 milligrams daily, by FDA for severe

02:17:06   23           hypertriglyceridemia."

02:17:09   24                       Do you see that?

02:17:11   25    A      Yes, I do see that.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 185 of 350
                                                                                    185



02:17:12    1    Q    Okay.    And -- all right.     Let's go to the next slide,

02:17:20    2   DDX 2.17, this is page 10 of the document.

02:17:23    3                 And here Amarin talks about how,

02:17:25    4                    "In view of the extensive clinical experience

02:17:28    5         with ultra pure EPA, and with EPA-DHA products,

02:17:32    6         Amarin contends that only further limited clinical

02:17:36    7         data are required to confirm the efficacy and safety

02:17:40    8         of ethyl-EPA as a treatment of severe

02:17:44    9         hypertriglyceridemia."

02:17:45   10                     Do you see that?

02:17:46   11    A    Yes, I see that statement in that section.

02:17:48   12    Q    Okay.    And so because there was a lot of data on Epadel

02:17:56   13   and purified EPA, and also a lot of data on Lovaza, Amarin

02:18:04   14   just needed to confirm that purified EPA without DHA could be

02:18:11   15   used for the same purpose as Lovaza, correct?

02:18:14   16    A    I don't agree with that statement.

02:18:16   17    Q    Okay.    It says,

02:18:18   18                    "Further limited clinical data are required

02:18:21   19         to confirm the efficacy and safety of ethyl-EPA as a

02:18:27   20         treatment of severe hypertriglyceridemia."

02:18:28   21                     How is that different from what --

02:18:30   22    A    Well, what I'm -- what I'm saying is that there was -- by

02:18:34   23   virtue of Lovaza, I would acknowledge that there was a

02:18:37   24   regulatory precedent.     That precedent pointed to that a single

02:18:42   25   trial could suffice for severe hypertriglyceridemia.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 186 of 350
                                                                                    186



02:18:50    1                 I don't consider that confirmation, I consider that

02:18:53    2   a separate development program that had its own safety and

02:18:53    3   efficacy requirements in order to surpass that development

02:18:58    4   hurdle.    That's different from just confirming someone else's

02:19:02    5   efforts.

02:19:02    6    Q    All right.    So it's one -- Amarin felt it could proceed

02:19:06    7   with developing Vascepa for the Lovaza indication with limited

02:19:10    8   clinical data, correct?

02:19:12    9    A    Yes.    The prior regulatory precedent of Lovaza would have

02:19:17   10   given the Amarin team the confidence that a relatively compact

02:19:23   11   development program could suffice for severe

02:19:26   12   hypertriglyceridemia.

02:19:26   13    Q    Okay.    Let's go to DDX 2.18.

02:19:29   14                 Here, I just highlighted a different sentence.

02:19:33   15                    "Specifically data are required to confirm

02:19:36   16         the magnitude of effect and the dose response

02:19:39   17         relationship of ethyl-EPA in lowering triglyceride

02:19:43   18         levels in patients with baseline levels above

02:19:47   19         500 milligrams per deciliter."

02:19:49   20                     Do you see that?

02:19:50   21    A    I see that statement.

02:19:51   22    Q    And so Amarin was looking for confirmation data to

02:19:55   23   support the development program for Vascepa, right?

02:19:58   24    A    So, again, the context of this document is an internal

02:20:05   25   document.     I'm not entirely clear who the authors intended to
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 187 of 350
                                                                                    187



02:20:11    1   be the audience for that internal document, but it's spelling

02:20:15    2   out the rationale for a clinical development program.

02:20:18    3    Q    You raise a good point.     You're not aware of this

02:20:21    4   document being tied to any of the inventors, right?

02:20:25    5    A    I -- I am looking at the document.       I don't see any names

02:20:35    6   on the document.

02:20:38    7    Q    Let's go to DDX 2.19.     Here it says,

02:20:42    8                    "Amarin does not believe there's a need to

02:20:44    9         conduct any additional pharmacokinetic drug

02:20:48   10         interaction or other studies," right?

02:20:50   11    A    I see those words.

02:20:55   12    Q    Okay.    Is that -- is that what you were referring to with

02:20:58   13   the 505(b)(2), that you were going to rely on Mochida's -- I

02:21:03   14   say you, that Amarin was going to rely on Mochida's data?

02:21:07   15    A    No.

02:21:07   16    Q    Okay.

02:21:08   17    A    In fact -- so I guess what I'm saying is some elements of

02:21:11   18   this document are aspirational.       They predate the significant

02:21:15   19   interactions with FDA which didn't occur until the pre-IND

02:21:20   20   meeting later.

02:21:21   21                 So this is an instance where the authors of this

02:21:27   22   document are making a certain rationale and proposal that has

02:21:31   23   not yet been vetted with FDA.

02:21:34   24                 Fast forward over time, as reflected in the approved

02:21:37   25   prescribing information for the MARINE indication, in fact
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 188 of 350
                                                                                    188



02:21:40    1   Amarin did need to conduct a series of drug drug interaction

02:21:44    2   studies to -- for the original new drug application to be

02:21:48    3   received for review.

02:21:49    4    Q      Got it.    Okay.

02:21:51    5                   This was the initial -- one of the initial drug

02:21:55    6   development internal documents, right, and you're saying, you,

02:21:58    7   know things may not have worked out as planned as the

02:22:02    8   regulatory process unfolded?

02:22:03    9    A      I can't comment on initial and demarcate any period of

02:22:12   10   time.    This is a team that's been working on EPA for quite

02:22:16   11   some years, and, yes, in a different context, in a CNS

02:22:20   12   context, but they obviously had been steeped in EPA for some

02:22:24   13   time.

02:22:24   14    Q      Okay.    Let's go to the next slide, still in same

02:22:28   15   document, page 10, it's DX 1814, page 10.        It's DDX 2.20.

02:22:34   16                   And this internal document -- development document

02:22:38   17   where we've been discussing cites some references, right?

02:22:42   18    A      Yes, it does.

02:22:43   19    Q      And two of the references that are cited are Lovaza and

02:22:47   20   Yokoyama, right?

02:22:48   21    A      Yes, that's correct.

02:22:49   22    Q      And you understand Yokoyama is the JELIS article in The

02:22:56   23   Lancet, right?

02:22:56   24    A      Yes.

02:22:56   25    Q      Okay.    Let's go to the next slide, and this is another
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 189 of 350
                                                                                    189



02:23:10    1   document, it's -- there are actually two documents here, and

02:23:15    2   I'll explain it in a moment.        It's DX 1829, which is the

02:23:20    3   document on the left, and then DX 2241 is the metadata for

02:23:25    4   that document, and that's what's on the right, and the slide

02:23:29    5   is DDX 2.21, and the document on the left --

02:23:34    6    A      I'm sorry, could I --

02:23:35    7    Q      Sure, sure.

02:23:36    8    A      Could you explain what metadata means in this

02:23:39    9   particular -- I'm just kind of familiar with the general term.

02:23:43   10    Q      Okay.    Let me back up a little bit.

02:23:45   11                   So the document on the left you recognize, DX 1829,

02:23:49   12   from your deposition, right?

02:23:51   13    A      Yes.

02:23:51   14    Q      Okay.    The metadata is what was produced to us from

02:23:56   15   Amarin that ties to this document that gives us some more

02:24:00   16   information such as the date and the custodian whose files it

02:24:05   17   came from.       That's what metadata means.

02:24:08   18                   Okay.   And I'm including the metadata because I

02:24:10   19   could not find a date on the document, so we looked at the

02:24:13   20   metadata for the date.

02:24:15   21                   And so I'll represent to you that the date of the

02:24:19   22   document, according to the metadata, is March 20th, 2008.

02:24:24   23   Okay?

02:24:24   24    A      Okay.

02:24:25   25    Q      All right.      We're still five days before the alleged date
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 190 of 350
                                                                                    190



02:24:30    1   of conception which, as you recall, was March 25th, 2008,

02:24:34    2   right?

02:24:36    3    A    Again, with that background on the March 20th date, yes,

02:24:39    4   that would be five guys before.

02:24:41    5    Q    Okay.    If we go to DDX 2.22, I've highlighted the

02:24:47    6   custodian of the document from the metadata, and this

02:24:51    7   indicates that the document it came from Stewart Sedlack's

02:24:56    8   files.   Okay.    You see that?

02:24:57    9    A    I see that.

02:24:59   10    Q    And he is a senior VP of corporate development, right?

02:25:03   11    A    I was not with Amarin at this time, but that's my

02:25:07   12   understanding is that was his functional role.

02:25:12   13    Q    And I think you explained at the deposition that your

02:25:15   14   understanding is that this document, DX 1829, is a business

02:25:19   15   development document; is that right?

02:25:20   16    A    That's my understanding.

02:25:22   17    Q    And you understand that Mr. Sedlack is not one of

02:25:28   18   inventors in this case, do you understand?

02:25:29   19    A    Yes, I understand.

02:25:31   20    Q    All right.    Let's go to the next slide which is -- we're

02:25:34   21   looking now at page 4 of DX 1829, and the slide is DDX 2.23.

02:25:42   22                 You see the heading is Amarin's ARM101 for

02:25:46   23   Triglyceride Lowering, that's the title?

02:25:49   24    A    Yes, that's the title of that Section.

02:25:51   25    Q    And you mentioned this earlier, but AMR 101 is the code
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 191 of 350
                                                                                    191



02:25:56    1   name for Vascepa, right?

02:25:57    2    A    Yes.

02:25:58    3    Q    And I highlighted a sentence that says,

02:26:00    4                  "An identical drug, Epadel, ultra pure

02:26:05    5         ethyl-EPA, has already been approved in Japan for

02:26:08    6         this indication."

02:26:09    7                    The indication referring to triglyceride

02:26:11    8   lowering, right?

02:26:12    9    A    I see those words.

02:26:15   10    Q    And do you --

02:26:16   11    A    And I was just going to say Stewart Sedlack is not a --

02:26:21   12   was not an R&D scientist or a regulatory affairs professional,

02:26:27   13   and so I can't speak to his precise choice of words within

02:26:31   14   this document.

02:26:31   15    Q    Okay.   But does this refresh your recollection as to

02:26:35   16   whether Epadel was approved for lowering triglycerides in

02:26:41   17   Japan?

02:26:42   18    A    As an R&D and regulatory affairs person, I'd prefer to be

02:26:48   19   looking at the approved labeling in Japan as opposed to going

02:26:52   20   from an internal Amarin document.

02:26:54   21    Q    And Mr. Sedlack characterized Vascepa, or AMR 101, as

02:27:01   22   identical to Epadel in this document, right?

02:27:06   23    A    Yes, he did.

02:27:07   24    Q    Let's go to the next slide which is just going down the

02:27:10   25   page and over to the next page, it's DX 1829, pages 4 to 5,
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 192 of 350
                                                                                    192



02:27:15    1   DDX 2.24.

02:27:17    2                 And here there's a header that says Lovaza Versus --

02:27:20    3   I'll just call it Vascepa, okay?       It says AMR 101, but for

02:27:26    4   short I'll just call it Vascepa.       Do you see that?

02:27:29    5    A    Yes, I do.

02:27:30    6    Q    Okay.    And it says,

02:27:30    7                    "It is clear from the data generated to date

02:27:33    8         that both Lovaza, EPA-DHA, and Epadel EPA identical

02:27:39    9         to Vascepa, are effective in lower triglycerides."

02:27:42   10                     Do you see that?

02:27:42   11    A    Yes, I can see those statements written in this document

02:27:47   12   by that author.

02:27:48   13    Q    But that was well-known as of March 2008, right?

02:27:51   14    A    Identical is -- there's --

02:28:00   15    Q    Let me rephrase.    I'm not actually referring to

02:28:03   16   identical.

02:28:03   17                 It is well-known that both Lovaza and Epadel are

02:28:09   18   effective in lowering triglycerides as of March 2008, right?

02:28:09   19    A    I would say to differing degrees.       Clearly one was

02:28:13   20   approved for that use in the United States, and one was

02:28:16   21   approved for use in a broader hyperlipidemic context within

02:28:22   22   another territory, Japan.

02:28:24   23    Q    Right.    But Amarin certainly did not discover that

02:28:27   24   purified EPA could lower triglycerides, right?

02:28:30   25    A    Amarin -- so, I think it's important to point out that --
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 193 of 350
                                                                                    193



02:28:39    1   as I did in an different context, that there are differences

02:28:45    2   in the way that Mochida conducted its studies in totally

02:28:51    3   different patient population, different dietary backdrop.

02:28:56    4               We only have a certain level of understanding

02:29:01    5   exactly how Mochida performed those studies.         There's

02:29:04    6   relatively little information in the peer reviewed literature.

02:29:08    7   So I don't consider it having been established to the same

02:29:12    8   degree.

02:29:12    9               And so I think there was some views, some rationale

02:29:18   10   of being developed by certain Amarin authors of, you know, how

02:29:25   11   to design and conduct a development program.         But, they were

02:29:30   12   in possession of other information from the CNS program that

02:29:35   13   they'd worked on for many years, and so those weren't the only

02:29:39   14   sources of information in terms of pointing to Lovaza or

02:29:44   15   Epadel.

02:29:44   16    Q    Sir, I think you varied from my question.        Let me try to

02:29:47   17   be more concise.

02:29:49   18               Are you disputing that it was clear from the data

02:29:53   19   generated in March 2008 that both Lovaza and Epadel are

02:29:57   20   effective in lowering triglycerides?

02:29:59   21    A    It's the term effective.      There's various standards

02:30:05   22   required to establish effectiveness.        So I'm using it in a

02:30:10   23   registration context.     So my view is that Lovaza had been

02:30:14   24   proven to a greater degree than had Epadel.

02:30:18   25    Q    But they --
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 194 of 350
                                                                                    194



02:30:18    1    A      In a U.S. patient population context.

02:30:21    2    Q      Okay.    I'm not limiting my questions to the United

02:30:24    3   States.    Let's try to break it down a little bit.

02:30:26    4                   The data generated by March 2008 clearly

02:30:30    5   demonstrated that Epadel was effective in lowering

02:30:34    6   triglycerides, correct?

02:30:36    7    A      There was some body of evidence established by Mochida

02:30:39    8   that Epadel could reduce triglycerides.

02:30:42    9    Q      And Lovaza was FDA approved for lowering triglycerides at

02:30:47   10   least in patients with very high triglycerides, right?

02:30:50   11    A      Yes, as an adjunct to diet and with its particular other

02:30:54   12   label considerations.

02:30:56   13    Q      So Amarin didn't discover either of those two things.

02:31:00   14   Can we agree on that?

02:31:02   15    A      Amarin was not the first in the severe

02:31:08   16   hypertriglyceridemia space.       You know, I would acknowledge

02:31:11   17   that.    And Amarin -- EPA had been studied in other

02:31:21   18   formulations previously, including by Amarin, in a different

02:31:27   19   disease area.

02:31:28   20    Q      And pure EPA was also studied in triglyceride-lowering --

02:31:35   21    A      A form of purified EPA.    Again, it's -- there are

02:31:39   22   differences, different dosage form, different supply chain,

02:31:44   23   different raw material suppliers.       All of those are important.

02:31:48   24   Not all so-called EPA products are the same from a chemistry

02:31:54   25   manufacturing and control perspective.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 195 of 350
                                                                                    195



02:31:56    1    Q    Okay.    Let's go to further down in this paragraph again

02:32:00    2   we're on DX 1829, pages 4 to 5, and DDX 2.25.

02:32:06    3                 Here is says,

02:32:07    4                    "However, one differentiating feature is

02:32:10    5         their respective effect on LDL levels.        Lovaza

02:32:13    6         treatment may result in elevations in LDL in some

02:32:17    7         individuals, and such individuals should be monitored

02:32:20    8         to ensure their LDLs do not increase excessively.

02:32:25    9         Consequently, the FDA required this information be

02:32:28   10         included in Lovaza's package insert.       Conversely,

02:32:32   11         Epadel treatment does not appear to have the same

02:32:36   12         effect on LDL levels as supported by Mochida's

02:32:40   13         studies on Epadel as well as independent studies."

02:32:43   14                     Do you see that?

02:32:44   15    A    I see those words.

02:32:45   16    Q    Yes.    Okay.   So the phrase "Mochida's studies on Epadel

02:32:52   17   as well as independent studies" is clearly referring to

02:32:56   18   studies that were not conducted by Amarin, correct?

02:32:59   19    A    Those would not have been -- I -- it seems to be

02:33:09   20   constructed to be speaking about Epadel only so Amarin would

02:33:14   21   not have conducted those studies.

02:33:17   22    Q    And this Amarin document from March 20, 2008, says that

02:33:23   23   Epadel treatment does not appear to have the same effect on

02:33:30   24   LDL levels as Lovaza according to published studies conducted

02:33:34   25   by others, correct?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 196 of 350
                                                                                    196



02:33:35    1    A    I'm sorry, which part of this are you referring to?

02:33:39    2    Q    It's the conversely sentence, the last sentence that's

02:33:43    3   highlighted.

02:33:44    4    A    Uh-huh.

02:33:44    5    Q    So this document from March 20th, 2008, says that,

02:33:48    6                   "Epadel treatment does not appear to have the

02:33:50    7         same effect on LDL levels as supported by Mochida's

02:33:55    8         studies on Epadel as well as independent studies."

02:33:59    9                    Do you see that?

02:33:59   10    A    Yes.    I'm focused on the "does not appear."

02:34:02   11    Q    Okay.    All right.

02:34:03   12    A    It's differentiated from the level of information that

02:34:07   13   had been established in the phrasing within the prior

02:34:10   14   sentences for Lovaza.

02:34:11   15    Q    All right.    Well, the next sentence on DDX 2.26 says,

02:34:15   16                   "Hence there's no reference to Epadel

02:34:17   17         treatment causing LDL elevation in Epadel's packaging

02:34:22   18         insert.   Vascepa is also expected to have a better

02:34:27   19         dosing regimen compared to Lovaza, 2 grams per day

02:34:29   20         versus 1 gram per day."

02:34:31   21                    Do you see that?

02:34:32   22    A    I see those words.

02:34:33   23    Q    Okay.    You understand that the Epadel product -- are you

02:34:38   24   familiar with the Epadel product label?

02:34:41   25    A    I'm familiar with aspects of it, yes.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 197 of 350
                                                                                    197



02:34:43    1    Q    Okay.    But you understand it does not contain a warning

02:34:46    2   about LDL-C side effects like the warning in the Lovaza label,

02:34:51    3   right?

02:34:51    4    A    I haven't consulted the Epadel, you know, approved

02:34:56    5   prescribing information recently.

02:34:57    6    Q    But you have no reason to doubt the statement in here --

02:35:00    7    A    I have a priori reason to doubt this statement.

02:35:04    8    Q    Okay.    Fair enough.

02:35:06    9                 Let's go to the next slide, same document, DX 1829,

02:35:11   10   page 5, DDX 2.27.

02:35:13   11                 The title here is AMR 101 or Vascepa in Triglyceride

02:35:19   12   Lowering Next Steps.     Do you see that?

02:35:20   13    A    Yes, I see that heading.

02:35:22   14    Q    And it says,

02:35:23   15                    "Amarin is currently preparing a submission

02:35:25   16         for the FDA to obtain guidance regarding the

02:35:28   17         development program required for approval of AMR 101

02:35:32   18         in triglyceride lowering.      At this time Amarin

02:35:35   19         expects that an outcome study will not be required

02:35:39   20         given the clinical evidence already available to

02:35:43   21         date."

02:35:44   22                     Do you see that?

02:35:44   23    A    I see that phrasing.

02:35:46   24    Q    Okay.    And, again, you understand that the clinical

02:35:48   25   evidence already available to date is referring to the
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 198 of 350
                                                                                      198



02:35:52    1   clinical evidence other than -- outside the context of Amarin,

02:35:57    2   right?

02:35:57    3    A    I don't necessarily interpret it that way.

02:36:02    4    Q    Okay.

02:36:02    5    A    It's vague enough that it could encompass some of the

02:36:06    6   Amarin work.

02:36:06    7    Q    All right.    Let's go to the next slide, which is

02:36:13    8   DDX 2.28, and this is DX 1829, page 6.

02:36:15    9                 This section is Scientific Support, A Review of Key

02:36:19   10   Publications.     Do you see that?

02:36:21   11    A    Yes, I see that section.

02:36:23   12    Q    And then it says hypertriglyceridemia and cardiovascular

02:36:27   13   disease?

02:36:28   14    A    Yes.

02:36:28   15    Q    And then underneath it says,

02:36:31   16                    "Several studies have explored and supported

02:36:33   17         the protective effect of omega-3 fatty acids of

02:36:37   18         MARINE origin against serum lipids and cardiovascular

02:36:43   19         disease including...."

02:36:44   20                     Do you see that?

02:36:45   21    A    I see that preface, yes.

02:36:47   22    Q    Okay.    And if we go to the next slide, and I promise I

02:36:50   23   won't ask you to read it, but you can just generally see that

02:36:53   24   where we left off before, there are four bullets with four

02:36:57   25   discussions of literature dating before March 2, 2008.          Can
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 199 of 350
                                                                                      199



02:37:04    1   you generally see that?

02:37:05    2    A      Yes, I see those sections.

02:37:07    3    Q      Okay.    I'm going to zoom in now to the fourth one.        This

02:37:10    4   is DDX 2.30, and here it says,

02:37:14    5                     "While data to date supports the positive

02:37:17    6           effects of both EPA, Epadel/Vascepa and EPA-DHA

02:37:25    7           (Lovaza) in lowering triglycerides, no clinical

02:37:28    8           studies have been conducted directly comparing the

02:37:30    9           efficacy of these treatments.    However, a few studies

02:37:33   10           have assessed the independent effects of EPA and DHA.

02:37:37   11           One such study was described by Trevor Mori, et al.,

02:37:40   12           in the American Journal of Clinical Nutrition in

02:37:45   13           2000."

02:37:45   14                      Do you see that?

02:37:46   15    A      I see that statement.

02:37:49   16    Q      Okay.    And are you familiar with the Mori reference from

02:37:51   17   2000?

02:37:51   18    A      Yes, I've got that publication before.

02:37:55   19    Q      All right.   Let's take look at that, that's DX 1538.        Do

02:37:59   20   you recognize this as the Mori reference?

02:38:02   21    A      Yes, I do.

02:38:03   22    Q      And the objective --

02:38:05   23                      MS. KEANE:   Objection, Your Honor.

02:38:07   24                      Dr. Ketchum is not here as an expert witness, he

02:38:10   25   is here as a fact witness, and this is getting into substance
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 200 of 350
                                                                                     200



02:38:14    1   of expert testimony.

02:38:15    2                    MR. KLEIN:   I'm discussing the study that's in

02:38:17    3   the document on which he was designated as a 30(b)(6) witness.

02:38:21    4                    I'm not going to ask him to interpret the

02:38:24    5   document, I'm just going to ask him what Mori reported

02:38:27    6   according to its plain language.

02:38:29    7                    THE COURT:   Ms. Keane, was Dr. Ketchum

02:38:31    8   designated as a 30(b)(6) witness on this particular topic?

02:38:35    9                    MS. KEANE:   He was designated as a 30(b)(6)

02:38:38   10   witness.    I don't believe he was designated on this document

02:38:41   11   specifically.

02:38:42   12                    MR. KLEIN:   This document was addressed in his

02:38:44   13   deposition, and this is a reference that's referred to in the

02:38:48   14   document.

02:38:49   15                    MS. KEANE:   So I agree that he discussed the

02:38:51   16   document during his deposition, that does not mean he was

02:38:54   17   designated as a 30(b)(6) on this topic.

02:38:58   18                    THE COURT:   Well, if he already has been deposed

02:39:02   19   on this issue, and counsel is representing that he's not going

02:39:05   20   to go into any question requiring the expertise, then I'm

02:39:09   21   going to overrule the objection.

02:39:11   22                    The objection is he's not an expert and hasn't

02:39:13   23   been designated as an expert on this topic.         I'm overruling

02:39:16   24   the objection.    We'll see the specific question as we go

02:39:19   25   along.   If you believe there's basis to object, Ms. Keane, you
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 201 of 350
                                                                                    201



02:39:23    1   can object.

02:39:23    2                    MS. KEANE:   Okay.   Thank you, Your Honor.

02:39:25    3   BY MR. KLEIN:

02:39:25    4    Q    You understand, based on your familiarity with the Mori

02:39:30    5   reference, that the objective of this study was to determine

02:39:33    6   whether EPA or DHA acids have differential effects on the

02:39:38    7   serum lipids?

02:39:39    8    A    I see that stated objective within the publication.

02:39:43    9    Q    Okay.    And if we go to DDX 2.32, you understood that the

02:39:48   10   design of this study was a double-blind, placebo-controlled

02:39:55   11   trial of parallel design, right?

02:39:57   12    A    Yes, but my understand is that's it's not within a

02:39:57   13   registration context to differentiate it from some of the

02:40:01   14   other studies that we've discussed.

02:40:04   15    Q    A registration context?     What do you mean?

02:40:06   16    A    Yes.    In terms of the level of rigor on certain terms

02:40:11   17   like double-blind, placebo-controlled, can convey that they

02:40:16   18   have a certain level of, you know, regulatory gravitas, and

02:40:20   19   I'm saying that my understanding is that this is not a study

02:40:23   20   in that type of category.

02:40:25   21    Q    I see.    So you're saying this isn't like an FDA study.

02:40:28   22    A    This is not FDA reviewed --

02:40:28   23    Q    Understood.

02:40:30   24    A    -- designed in agreement with FDA to compare with the

02:40:33   25   Lovaza or with the Vascepa studies.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 202 of 350
                                                                                    202



02:40:36    1    Q    But you understand that the EPA product at issue in Mori

02:40:40    2   was 4 grams?

02:40:41    3    A    I do.    But I don't believe it's the same as Epadel, and

02:40:46    4   I'm not entirely sure how it was formulated.

02:40:49    5    Q    Okay.    I didn't ask whether it was the same --

02:40:51    6    A    I know, I'm just commenting as part of my perspectives on

02:40:55    7   this study, I'm unaware of exactly how the EPA was

02:40:59    8   administered in terms of a dosage form.

02:41:01    9    Q    Understood, but, you know, because this is cross-examine,

02:41:04   10   try to limit your answers to my question.

02:41:06   11                 You also understand that what Mori reported was that

02:41:10   12   LDL cholesterol increased significantly with DHA but not with

02:41:15   13   EPA, right?

02:41:16   14    A    I see the P values and the level of nonsignificance.

02:41:23   15                 It's a small study, and I think there are other

02:41:28   16   sections of the paper that put into context the views on the

02:41:34   17   relative effects of EPA and DHA on other lipid parameters.

02:41:38   18    Q    I didn't ask about those other effects.

02:41:40   19                 Let's go back to the document that we were looking

02:41:43   20   at, DX 1829, page 11.     There's an appendix devoted to the Mori

02:41:49   21   reference, do you see that?

02:41:51   22    A    Yes.

02:41:53   23    Q    Okay.    And it's called Appendix 4, EPA versus DHA, Mori,

02:41:58   24   et al., do you see that?

02:41:59   25    A    Yes, I see that.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 203 of 350
                                                                                    203



02:42:01    1    Q     And the top of the page says,

02:42:02    2                    "There have been relatively few studies aimed

02:42:04    3          at determining whether EPA and DHA have differing

02:42:07    4          effects on serum lipids and lipoproteins in humans.

02:42:12    5          However, one such study was described by Trevor

02:42:16    6          Mori."

02:42:16    7                     Right?   I think we talked about that moment ago.

02:42:18    8    A     Yes.

02:42:19    9    Q     And what we didn't look at is the chart.       You see there's

02:42:22   10   a chart in this document that repeats this statement that we

02:42:26   11   just looked at,

02:42:26   12                    "In Mori, serum LDL increased significantly

02:42:30   13          with DHA by 8 percent, but not with EPA,

02:42:34   14          3.5 percent."

02:42:35   15                     Right?

02:42:35   16    A     Yes, I see those words.

02:42:37   17    Q     Okay.    And that comment is consistent with what we just

02:42:40   18   looked at in Mori, right?

02:42:46   19    A     Those particular statements are consistent between those

02:42:50   20   two sections.

02:42:50   21    Q     Right.   Let's blow up the bottom of the chart a little

02:42:55   22   bit.   Here it says,

02:42:56   23                    "DHA was also associated with an increase in

02:42:59   24          LDL cholesterol."

02:43:02   25                     Do you see that?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 204 of 350
                                                                                    204



02:43:03    1    A    I see that.

02:43:03    2    Q    Okay.   And these observations by Amarin were obviously

02:43:07    3   based on the publically available Mori reference which was

02:43:11    4   published back in 2000, correct?

02:43:12    5    A    That would have been one of the elements in the

02:43:20    6   scientific literature available to Amarin.

02:43:21    7    Q    All right.    Let's go back to this busy page that

02:43:27    8   identified four references.      Do you remember that?

02:43:29    9    A    Yes.

02:43:30   10    Q    Okay.   And I'm going to now zero in on the third one.

02:43:34   11   This is DDX 2.36.     And here it says,

02:43:39   12                  "In 2007, the investigators of a large scale

02:43:43   13         study, the Japan EPA lipid intervention study JELIS,

02:43:47   14         reported in The Lancet, that the frequency of major

02:43:49   15         coronary events is reduced with EPA, 19 percent, P

02:43:56   16         equals 0.01, given in combination with statin versus

02:43:59   17         treatment with statin alone."

02:44:01   18                   Do you see that?

02:44:02   19    A    Yes, I see that.

02:44:07   20    Q    Let's turn the page 10 of DX 1829, and you see there's an

02:44:11   21   appendix devoted to EPA in the JELIS study?

02:44:17   22    A    Yes, I see that.

02:44:19   23    Q    And the last sentence of this paragraph says JELIS was

02:44:23   24   set up to test the hypothesis that long-term use of EPA is

02:44:28   25   effective in reduction of major coronary events in Japanese
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 205 of 350
                                                                                    205



02:44:35    1   hypercholesteremia patients given statins, right?

02:44:38    2    A      Yes, I see that sentence.

02:44:39    3    Q      Okay.    And if we go further on, page 10 of DX 1829, it

02:44:44    4   says,

02:44:44    5                      "In summary, the JELIS study showed that the

02:44:48    6           frequency of major coronary events is reduced with

02:44:51    7           EPA 19 percent compared to controls," right?

02:44:55    8    A      Yes.

02:44:55    9    Q      And that was in fact an accurate description of the JELIS

02:44:59   10   study, right?

02:45:00   11    A      It was in terms of the administration of that dosage form

02:45:04   12   in that patient population.

02:45:06   13    Q      Okay.    Now, we spent some time going through two

02:45:09   14   documents.       Both of these documents are before March 25th,

02:45:13   15   2008, right?

02:45:14   16    A      Yes, they are.

02:45:17   17    Q      Okay.    So I want to just recap what we went through.

02:45:20   18                   Number one, Amarin knew from public sources that

02:45:29   19   before 2008 it was known that purified EPA was approved in

02:45:35   20   Japan to reduce triglycerides, right?

02:45:36   21    A      So that's the hyperlipidemia aspect that I was mentioning

02:45:41   22   that I'm just not personally familiar with the details of the

02:45:46   23   Japanese label to confirm whether it's approved specifically

02:45:51   24   to reduce triglycerides.

02:45:53   25                   The hyperlipidemia term is different than
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 206 of 350
                                                                                     206



02:45:58    1   hypertriglyceridemia, but I'm allowing for the fact that there

02:46:00    2   had been some work conducted to show that there was some

02:46:03    3   reduction in triglycerides.

02:46:04    4    Q      Let me go back a couple slides here to 2.32.      Going back

02:46:09    5   to the Mori reference.       We didn't talk about this, but if you

02:46:14    6   see the second snapshot, it says,

02:46:18    7                      "After adjusting for baseline values

02:46:22    8           triacy" -- it's another word for triglycerides,

02:46:23    9           right?    "Decreased significantly by 18.4 percent with

02:46:27   10           EPA."

02:46:31   11                       Do you see that?

02:46:33   12    A      Triacylglycerols --

02:46:37   13    Q      Is that another word for triglyceride?

02:46:39   14    A      Well, it would depend on the methodology described in the

02:46:42   15   paper and how the compounds were extracted from the blood.

02:46:46   16   There might be some differences, actually.

02:46:49   17    Q      Okay.    Do you understand, based on your reading of Mori,

02:46:53   18   that Mori reported that triglycerides were reduced by EPA?

02:47:00   19    A      I'm sorry, I'm trying to find the Mori publication again.

02:47:04   20    Q      Well, let's -- let's go back to this demonstrative I had

02:47:10   21   here.

02:47:10   22                   Let's take out Epadel.   Pure EPA was -- well, no,

02:47:16   23   Epadel was approved in Japan, right?        You understand that.

02:47:19   24    A      Yes.

02:47:19   25    Q      Okay.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 207 of 350
                                                                                    207



02:47:20    1    A    Epadel was approved in Japan for a number of indications.

02:47:24    2    Q    Okay.    And it included triglycerides.     You understand

02:47:29    3   that, right?

02:47:29    4    A    I'm --

02:47:31    5    Q    Yeah.

02:47:32    6    A    -- accepting what you're saying with my comment that I'm

02:47:36    7   not sitting here with the approved prescribing information for

02:47:40    8   Japan.

02:47:41    9    Q    And Epadel did not warn about LDL-C increases, correct?

02:47:45   10    A    Again, I'll accept it on the same basis that I'm not

02:47:49   11   sitting here with the approved prescribing information in

02:47:51   12   Japan.

02:47:52   13    Q    Okay.    Lovaza was approved in the US to treat severe

02:47:56   14   hypertriglyceridemia, right?

02:47:58   15    A    That's correct.

02:47:59   16    Q    Lovaza warned about LDL-C increases, right?

02:48:02   17    A    Yes, in addition to reflecting that the triglyceride

02:48:06   18   reductions were associated with those LDL-C increases.

02:48:09   19    Q    And Mori used 4 grams, 96 percent pure EPA, to reduce

02:48:15   20   triglycerides, right?

02:48:17   21    A    Of some -- I don't know the purity.       I don't know the

02:48:22   22   formulation.    I don't know the sources for the formulation

02:48:28   23   used in Mori.

02:48:37   24    Q    Do you have any reason to dispute that Mori used 4 grams,

02:48:40   25   96 percent pure EPA to reduce triglycerides?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 208 of 350
                                                                                    208



02:48:45    1    A    If it's extracted from the publication, and you're saying

02:48:54    2   that, then I have no reason to not believe that.

02:48:59    3    Q    Okay.    Mori found LDL-C increased significantly with DHA

02:49:04    4   and not EPA.     You remember that, right?

02:49:07    5    A    I just want to say that we're citing Mori a fair amount,

02:49:25    6   but at the end, the conclusion of the article is that DHA --

02:49:29    7    Q    No, I --

02:49:29    8    A    -- may be more favorable.

02:49:31    9    Q    -- understand there are other comments in Mori with

02:49:33   10   regard to DHA.     You know, if your counsel wants to bring them

02:49:37   11   up, that's fine.      I'm sure it's going to come up with the

02:49:40   12   experts.    But I'm just asking you about that one statement.

02:49:43   13                 Mori found LDL-C increased significantly with DHA

02:49:47   14   but not EPA.     That comes from the paper, right?

02:49:58   15                 So I'll go back to the chart we just looked at.

02:50:01   16   This is from the document.

02:50:05   17                    "Serum LDL increased significantly with DHA

02:50:09   18         but not with EPA."

02:50:09   19                     Do you see that?

02:50:09   20    A    Yes, I see that.

02:50:11   21    Q    I'm not misleading you.

02:50:13   22    A    I see that.

02:50:14   23    Q    Okay.    And,

02:50:15   24                    "JELIS showed the frequency of major coronary

02:50:19   25         events is reduced with EPA 19 percent compared to
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 209 of 350
                                                                                    209



02:50:22    1           controls."

02:50:23    2                       That was known as of March 2008, right?

02:50:25    3    A      Statin controls without a placebo.

02:50:29    4    Q      Right.

02:50:37    5                   Now, have you read Amarin's pretrial brief in this

02:50:41    6   case?

02:50:44    7    A      I don't believe that I have.

02:50:46    8    Q      Okay.    All right.   Well, I'll represent to you that this

02:50:51    9   page, page 19, comes from Amarin's pretrial brief which is ECF

02:50:56   10   327, and here, Amarin says,

02:50:58   11                      "Even in patients with modestly elevated

02:51:01   12           triglycerides, the prior art did not teach that EPA

02:51:04   13           would avoid rises in LDL-C."

02:51:07   14                       Do you see that?

02:51:07   15    A      I see that sentence.

02:51:09   16    Q      All right.    And then it goes on to say,

02:51:12   17                      "To the contrary, defendants' own reference,

02:51:15   18           Mori 2000, reported that EPA, like DHA, increased

02:51:18   19           LDL-C," it goes on.

02:51:20   20                       Do you see that?

02:51:21   21    A      I see that next sentence.

02:51:23   22    Q      Okay.    And then Amarin says,

02:51:26   23                      "The prior art as a whole reflected the

02:51:29   24           understanding that both DHA and EPA raised LDL-C even

02:51:34   25           in mildly hyperlipidemic patients."
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 210 of 350
                                                                                    210



02:51:37    1                      Do you see that?

02:51:38    2                      MS. KEANE:   Your Honor, I like to renew the

02:51:41    3   objection about asking Dr. Ketchum about subject matters that

02:51:41    4   are expert testimony.

02:51:41    5                      Counsel is now asking him about discussions

02:51:41    6   about the prior art.      Dr. Ketchum is not here to testify as an

02:51:49    7   expert.

02:51:49    8                      THE COURT:   There hasn't been a question asked

02:51:51    9   yet.   He's just reading what Amarin's statement is.         I'm going

02:51:54   10   to at least give counsel the benefit of the doubt.         Have him

02:51:58   11   ask a question.      If you have an objection, then you have your

02:52:01   12   objection.

02:52:01   13   BY MR. KLEIN:

02:52:02   14    Q     These not the types of statements that Amarin told

02:52:05   15   investors back in the 2008 to 2010 time frame, right?

02:52:09   16    A     I was not present at Amarin.     I can't comment with that

02:52:14   17   general statement.

02:52:14   18    Q     Okay.    Fair enough.    We'll look at some of the documents

02:52:18   19   that were used in your deposition.

02:52:20   20                  This is DX 1800, and the slide is DX 2.41.

02:52:25   21                  Do you remember this document called Next Generation

02:52:27   22   Lipid Modification in Cardiovascular Disease?

02:52:30   23    A     Yes, I've seen this document before.

02:52:32   24    Q     Okay.    It's dated March 2010, right?

02:52:35   25    A     It is.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 211 of 350
                                                                                    211



02:52:35    1    Q    Okay.    You understand this was a document for investors?

02:52:41    2    A    Yes.    By virtue of the second page that has a forward

02:52:47    3   looking statement.     My understanding is this was directed to

02:52:49    4   an investor audience.

02:52:51    5    Q    Okay.    And given that this was a presentation for

02:52:54    6   potential investors, Amarin did the best job it could, to your

02:52:58    7   understanding, to make sure the representations in the

02:53:00    8   presentation were accurate, right?

02:53:02    9    A    Yes.    I'm not aware of the authors, but, yes, that would

02:53:06   10   have been their operating principle.

02:53:08   11    Q    Yeah, that's -- generally speaking, that's Amarin's

02:53:12   12   policy is they want to be candid and forthcoming with

02:53:15   13   investors, right?

02:53:16   14    A    Amarin wants to be truthful in its representation of

02:53:20   15   information, yes.

02:53:21   16    Q    Okay.    Let's go to DX 1800, page 3, and the slide is

02:53:27   17   DDX 2.42.

02:53:28   18                 Do you see this heading, Amarin Positioned For Near

02:53:31   19   Term Success?

02:53:31   20    A    Yes.

02:53:32   21    Q    And here Amarin's talking to investors about its lead

02:53:37   22   product which is AMR 101 Vascepa for elevated triglycerides,

02:53:43   23   right?

02:53:43   24    A    Yes.

02:53:44   25    Q    Okay.    And if we go to the slide 10, DX 1800, page 10,
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 212 of 350
                                                                                    212



02:53:48    1   and the demonstrative is DDX 2.43, the slide says there's

02:53:54    2   clear a differentiation between Vascepa and Lovaza, right?

02:53:58    3    A    Yes, that's the slide heading.

02:54:02    4    Q    Okay.    And Vascepa, like Lovaza, was being developed for

02:54:06    5   patients with triglycerides above 500 at this time, right?

02:54:10    6    A    Lovaza had been approved for about six years at this

02:54:15    7   point, five, six years.

02:54:16    8    Q    Yeah.    No, my question really -- and it may not have been

02:54:19    9   asked very well.     Amarin was developing Vascepa for the same

02:54:25   10   indication that had been approved for Lovaza, that is, very

02:54:28   11   high triglycerides, correct?

02:54:29   12    A    It was pursuing the same indication, yes.

02:54:33   13    Q    Right.   And you see there's a line, LDL effect?

02:54:37   14    A    Yes.

02:54:37   15    Q    And Amarin told the investors that for Lovaza the LDL

02:54:43   16   effect is it elevates LDL-C, right?

02:54:47   17    A    Yes.

02:54:47   18    Q    And then Amarin told the investors that for LDL effect

02:54:50   19   for Vascepa there was no DHA induced elevation, right?

02:54:55   20    A    I see those words.     I'm -- I was not an author of this

02:55:01   21   document so I'm not entirely sure exactly what was factored

02:55:05   22   into that statement.

02:55:07   23    Q    Understood.    And I understand you're testifying as a

02:55:12   24   corporate witness here, but you do understand that these

02:55:16   25   statements came from what was taught in the prior art, right?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 213 of 350
                                                                                    213



02:55:20    1   Or in the literature, I'll say the literature.

02:55:25    2    A    I -- I wouldn't say that it was exclusively in other

02:55:34    3   people's work.    So in March 2010, Amarin had -- even before

02:55:41    4   embarking on the cardiovascular trials mentioned here, the

02:55:45    5   lipid-lowering trials, it had conducted its own work in a

02:55:50    6   range of disease areas.

02:55:52    7    Q    Okay.   Let's see what the document says.       If we go to

02:55:55    8   DX 1800, page 12, this is DDX 2.44, do you see there's a slide

02:56:01    9   devoted to the title Multiple Studies Demonstrate That DHA

02:56:07   10   Raises LDL-C?

02:56:07   11    A    Yes, I see that heading.

02:56:09   12    Q    And, to the best of your knowledge, Amarin thought this

02:56:12   13   was a truthful statement that it was making to the investors,

02:56:16   14   right?

02:56:18   15    A    Yes.

02:56:18   16    Q    Okay.   And you can see all the references are dated

02:56:23   17   before 2008, right?

02:56:24   18    A    The publications at the left of that are all before 2008.

02:56:31   19    Q    And then if we go to DX 1800, slide 13, and this is

02:56:38   20   DDX 2.45, there's a slide devoted to the point that multiple

02:56:42   21   studies demonstrate that EPA is LDL neutral, right?

02:56:47   22    A    Yes, that's the content of that slide.

02:56:50   23    Q    And this was a truthful statement by Amarin to its

02:56:53   24   investors, correct?

02:56:55   25    A    Yes.    Multiple studies, that allows for not all studies.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 214 of 350
                                                                                     214



02:57:02    1    Q      Okay.   And there are six studies listed in the slide?

02:57:07    2    A      There are six studies listed on that slide.

02:57:10    3    Q      Okay.   And that was done in case the investors wanted to

02:57:14    4   confirm the statement, presumably, right?

02:57:17    5    A      Yes.    It was intended as a resource.

02:57:19    6    Q      Okay.   And all -- none of these studies were Amarin

02:57:23    7   studies, correct?

02:57:26    8    A      Looking at the authors, I do not believe that any of

02:57:32    9   those were.

02:57:32   10    Q      And they're all dated before 2008?

02:57:36   11    A      They are all dated before 2008.

02:57:38   12    Q      Okay.   And the slide lists the Mori reference we talked

02:57:42   13   about, right?

02:57:42   14    A      I don't know whether Mori published multiple.       I -- I

02:57:53   15   assume that it's the same publication we were speaking about

02:57:56   16   previously.

02:57:57   17    Q      Okay.   You see there's --

02:57:58   18    A      There's not a more specific annotation, that's what I'm

02:58:01   19   referring to.

02:58:02   20    Q      Okay.   And you see it says Change in LDL on the right for

02:58:05   21   Mori?

02:58:05   22    A      Yes.

02:58:06   23    Q      And it says zero?

02:58:08   24    A      I see the zero.

02:58:10   25    Q      And that's truthful because Mori said there was no
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 215 of 350
                                                                                    215



02:58:13    1   statistically significant increase in LDL, right?

02:58:19    2    A    Again, the authors report it, and this presumably is a

02:58:27    3   faithful reporting of what the authors reported.

02:58:30    4    Q    And then there's the reference Kurabayashi from 2000 is

02:58:35    5   on the chart as well, right?

02:58:36    6    A    Yes.

02:58:37    7    Q    That --

02:58:39    8    A    I can't tell on that slide whether that's -- whether

02:58:42    9   there's a sign in front of the --

02:58:46   10    Q    What do you mean by a sign?

02:58:47   11    A    Like a negative sign or a plus sign.

02:58:50   12    Q    Oh, in the change in LDL?

02:58:50   13    A    Yes.

02:58:52   14    Q    That's what I was actually just going to look at.         It's

02:58:55   15   negative 5.88 percent.

02:58:57   16    A    Okay.

02:58:58   17    Q    Okay.   So that would have been a truthful representation

02:59:01   18   of Kurabayashi reference by Amarin to the investors, right?

02:59:06   19    A    It would have -- I, again, was not author, I was not at

02:59:08   20   Amarin at the time, but Amarin would expect that the people

02:59:11   21   constructing this slide, that they would have consulted the

02:59:15   22   reference and pulled the numbers and done a crosschecking to

02:59:18   23   make sure that there was an accurate pulling from the

02:59:20   24   reference.

02:59:21   25    Q    And so Amarin told investors back in March 2010 that
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 216 of 350
                                                                                    216



02:59:26    1   Kurabayashi, Mori, and other references, demonstrated EPA is

02:59:31    2   LDL neutral, right?

02:59:33    3    A    Yes.    Those slides are saying that there are multiple

02:59:38    4   studies in the peer reviewed literature that support those

02:59:44    5   points.   That's not to say that they're exhaustive and that

02:59:48    6   all studies demonstrate that.

02:59:50    7    Q    Right.    I didn't ask you that, but --

02:59:52    8    A    Uh-huh.

02:59:53    9    Q    And you said support those points, what you mean is the

02:59:56   10   point that multiple studies demonstrate that EPA is LDL

03:00:01   11   neutral, correct?

03:00:01   12    A    Yes.

03:00:02   13    Q    Okay.    Let's go to another exhibit, DX 2104, and this,

03:00:09   14   for the record, is DDX 2.46.

03:00:12   15                 Do you recognize this as an Amarin citizen petition

03:00:17   16   filed on June 24th, 2014, with the FDA?

03:00:23   17    A    Yes.    I see -- I see that it's a document from Amarin

03:00:29   18   with that date.

03:00:30   19    Q    And if we go to DDX 2.47, it's the last page, you signed

03:00:38   20   this citizen petition, right?

03:00:40   21    A    Yes, I did.

03:00:40   22    Q    And so you were making representations on behalf of

03:00:43   23   Amarin to the FDA in this document, right?

03:00:46   24    A    Yes, I was.

03:00:49   25    Q    And FDA regulates Amarin, right?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 217 of 350
                                                                                    217



03:00:51    1    A      Yes, FDA does.

03:00:53    2    Q      So you obviously did the best job you could to ensure

03:00:56    3   that your representations to the FDA were truthful and

03:01:00    4   accurate, right?

03:01:01    5    A      Yes, that's correct.

03:01:03    6    Q      Let's go to DDX 2.48, and this DX 2104, page 1.

03:01:09    7                   In this citizen petition, generally speaking, I'm

03:01:13    8   not going to ask you the details about the merits of the

03:01:15    9   citizen petition, but you were generally requesting that FDA

03:01:19   10   impose sort of bioequivalence testing requirements on any ANDA

03:01:26   11   that lists Vascepa as the reference listed drug, right?

03:01:30   12    A      Yes.

03:01:31   13    Q      Let's go to DX 2104, page 9, and this is DDX 2.49.

03:01:38   14                   And you see -- I highlighted a sentence here that

03:01:41   15   says,

03:01:41   16                      "Additionally, in a double-blind,

03:01:44   17           placebo-controlled trial comparing the biological

03:01:47   18           effects of EPA and DHA in hyperlipidemic men, doses

03:01:52   19           of 4 grams per day of EPA or DHA administered for six

03:01:56   20           weeks each significantly lowered triglyceride

03:01:59   21           levels."

03:01:59   22                       Do you see that?

03:02:00   23    A      Yes.    I see that sentence.

03:02:03   24    Q      Okay.    Sounds familiar, right?

03:02:05   25    A      Yes.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 218 of 350
                                                                                    218



03:02:06    1    Q    Okay.    The footnote is the Mori reference we were talking

03:02:10    2   about, right?

03:02:10    3    A    Yes.

03:02:11    4    Q    Okay.    And so Mori did report that 4 grams per day of EPA

03:02:18    5   significantly lowered triglyceride levels, correct?

03:02:22    6    A    Yes, and, again, in the context of what's being phrased

03:02:29    7   in this document, not to the level of registration quality

03:02:36    8   study.

03:02:37    9    Q    Right.    No, and I'm not asking you whether it was FDA

03:02:39   10   type study.

03:02:40   11    A    Uh-huh.

03:02:41   12    Q    Okay.    DDX 2.51, I just highlighted the next sentence

03:02:45   13   which says,

03:02:45   14                   "The data from that study support, however,

03:02:48   15         that EPA and DHA have differential effects on other

03:02:53   16         well-studied lipid parameters such as LDL-C and

03:02:57   17         HDL-C."

03:02:57   18                    Do you see that?

03:02:58   19    A    Yes.

03:02:59   20    Q    Okay.    And so you told the FDA that Mori supports the

03:03:02   21   finding that EPA and DHA have differential effects on LDL-C,

03:03:10   22   correct?

03:03:10   23    A    In the context of there being additional requirements for

03:03:15   24   ANDA filers because of some of these observations.

03:03:19   25    Q    Right.    What you were doing --
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 219 of 350
                                                                                    219



03:03:21    1    A    It's a different context than other contexts that we've

03:03:25    2   discussed in the Mori article.

03:03:27    3    Q    Fair enough.    What you're -- you're citing this in the

03:03:30    4   citizen petition because you're arguing to the FDA that DHA in

03:03:34    5   essence would be an impurity in a generic product, right?

03:03:39    6    A    Yes, and it that could lead to different types of lipid

03:03:43    7   effects.

03:03:43    8    Q    Right.   And so you're telling the FDA EPA and DHA have

03:03:47    9   differential effects, and therefore, if generics had DHA, then

03:03:53   10   it's not bioequivalent, right?

03:03:53   11    A    Or that could be extended to other impurity profiles.

03:03:58   12    Q    Fair enough.    And, as you recall, the Mori reference

03:04:02   13   concluded that LDL-C increased significantly with DHA but not

03:04:06   14   with EPA, right?

03:04:08   15    A    That was one of the statements in that publication.

03:04:12   16    Q    Right.   And so one of the reasons DHA could be an

03:04:18   17   impurity in a generic would be that it could have the side

03:04:23   18   effect of LDL-C.     That's what you're telling the FDA, right?

03:04:30   19    A    We're telling the FDA that a highly purified EPA product

03:04:36   20   that does not exclude any other impurities could lead to

03:04:40   21   different biological effects, and it's citing this as one

03:04:44   22   example of that, but it's not be an exhaustive, it was done as

03:04:49   23   a representative example.      It could have had, you know,

03:04:52   24   another omega-3 or omega-6 or other impurity in there.

03:04:56   25    Q    Okay.    The only reference you cited was the Mori
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 220 of 350
                                                                                    220



03:04:59    1   reference for this proposition, right?

03:05:01    2    A    Yes.

03:05:01    3    Q    Mori said, vis-à-vis differential effects, among other

03:05:05    4   things, DHA can increase LDL-C, but EPA will not, correct?

03:05:12    5    A    It said that in that study that there were differential

03:05:16    6   effects between those two.

03:05:18    7    Q    Yeah, and found that DHA increased LDL-C, but EPA did

03:05:22    8   not, right?

03:05:22    9    A    In that single, rather small, nonregistration study.

03:05:32   10    Q    Now, we talked about the JELIS study a few moments ago.

03:05:38   11   Do you remember that?

03:05:38   12                    THE COURT:   Mr. Klein, are you about to move to

03:05:40   13   another exhibit?

03:05:41   14                    MR. KLEIN:   Yes.   Do you want to take a break?

03:05:42   15                    THE COURT:   I think this is a good point for us

03:05:45   16   to take our afternoon break of about 15 minutes.

03:23:43   17                           (A recess was taken.)

03:23:43   18                    THE COURT:   Please be seated.

03:23:50   19                    Mr. Klein?

03:23:51   20                    MR. KLEIN:   Thank you.

03:23:51   21   BY MR. KLEIN:

03:23:52   22    Q    Let's move on to the next document which is DX 1816, and

03:23:56   23   the slide is DDX 2.52.

03:23:59   24                Do you recognize -- you're familiar with this

03:24:06   25   document, sir?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 221 of 350
                                                                                    221



03:24:06    1    A    Yes.

03:24:07    2    Q    This may have been one of the ones you look at on direct.

03:24:14    3   Honestly I can't recall because of lot of them look the same.

03:24:18    4   Is this one of the ones you testified to on direct?

03:24:20    5    A    This is basically the intermediate between some of the

03:24:24    6   other communications that were in a prior exhibit.

03:24:28    7                 So previously shared the actual request from Amarin,

03:24:33    8   the conduct at the meeting, this is some time after the

03:24:40    9   meeting was granted, Amarin sharing the package, the

03:24:47   10   premeeting package with FDA.

03:24:50   11    Q    I see.    Okay.   And so this is letter -- just to be clear,

03:24:52   12   this is letter from Amarin's US agent to the FDA dated

03:24:56   13   June 16th, 2008, right?

03:24:58   14    A    Yes, that's correct.

03:25:00   15    Q    Okay.    And do you understand that Amarin didn't file its

03:25:04   16   first patent application until February 2009, so after this

03:25:08   17   document?

03:25:09   18    A    I'm not an inventor on any of those patents.        I don't --

03:25:13   19    Q    That's fair.

03:25:15   20    A    It's not my domain of responsibility.

03:25:17   21    Q    Fair enough.

03:25:18   22    A    I hear the date that you said.

03:25:22   23    Q    Generally speaking, this is an information package for

03:25:26   24   FDA concerning Amarin's investigation on a new drug

03:25:28   25   application for Vascepa, right?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 222 of 350
                                                                                    222



03:25:30    1    A    Yes, it's the pre-IND meeting package.

03:25:33    2    Q    Okay.    In essence, what that means it's Amarin's applying

03:25:37    3   to FDA to start clinical testing, right?

03:25:42    4    A    So this is a consultative meeting before the IND has been

03:25:47    5   submitted and opened which would enable the subsequent

03:25:47    6   clinical development.

03:25:55    7    Q    And Amarin obviously wanted to be candid and truthful in

03:25:59    8   all of its representations to the FDA, right?

03:26:01    9    A    Yes.

03:26:02   10    Q    Let's go to DX 1816, page 80, which is DDX 2.53.

03:26:08   11                 Do you see this is section 11.4.2, Published Studies

03:26:13   12   JELIS Trial, right?

03:26:15   13    A    Yes.

03:26:16   14    Q    Okay.    And I'm not sure I asked you this question, but

03:26:19   15   just so the record is clear, Amarin had nothing to do with the

03:26:22   16   JELIS trial, right?

03:26:23   17    A    Correct.

03:26:24   18    Q    JELIS was sponsored by Mochida, the maker of Epadel?

03:26:30   19    A    That's correct.

03:26:31   20    Q    Okay.    But Amarin was relying on the JELIS trial to

03:26:35   21   support its investigational new drug application, right?

03:26:39   22    A    Relying on is perhaps too strong a word.        It was

03:26:44   23   mentioning it within -- along with many other pieces of work

03:26:47   24   in this same meeting package.

03:26:50   25    Q    Okay.    This is one of the published studies that Amarin
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 223 of 350
                                                                                    223



03:26:52    1   is reporting on in its application to the FDA, right?

03:26:55    2    A    This is not an application.

03:26:56    3    Q    I mean --

03:26:57    4    A    This is a --

03:26:58    5    Q    -- in the letter.

03:26:59    6    A    This is a meeting package to form the basis for a

03:27:02    7   dialogue around what would be required for the development of

03:27:05    8   Vascepa.

03:27:06    9    Q    I stand corrected.     But this is -- Amarin's discussing

03:27:09   10   the JELIS trial as one of the published studies to be

03:27:13   11   discussed with FDA, right?

03:27:16   12    A    It's certainly one of the trials that is mentioned within

03:27:22   13   that background package.

03:27:24   14    Q    Let's go to DX 1816 page 81, and this is DDX 2.54.

03:27:32   15                And Amarin is explaining to the FDA -- you can

03:27:35   16   generally see the paragraphs talking about JELIS, right?

03:27:35   17    A    Yes.

03:27:39   18    Q    And Amarin's -- if you look at what I highlighted, Amarin

03:27:42   19   is explaining to FDA that each capsule in the JELIS trial

03:27:46   20   contained 98 percent purified EPA, right?

03:27:49   21    A    I see those words.

03:27:51   22    Q    And then Amarin says,

03:27:53   23                   "Although the study was not double-blind, all

03:27:54   24         endpoints and severe adverse events were reviewed and

03:27:58   25         adjudicated in a blinded fashion by an endpoint,
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 224 of 350
                                                                                    224



03:28:02    1         committee," right?

03:28:03    2    A    Yes, with that sentence highlighted by you.

03:28:06    3    Q    And, by the way, Amarin did not invent -- was not the

03:28:12    4   first party to create a 98 percent pure EPA product, right?

03:28:18    5    A    I -- again, I'm not a chemistry manufacturing controls

03:28:31    6   formulation development expert.       I'm not -- I'm seeing the

03:28:36    7   words on the page.

03:28:37    8               I do know that Epadel had different purities over

03:28:42    9   time and across its own commercialization and development

03:28:46   10   pathway, and that there were earlier iterations that were

03:28:51   11   lesser percentages of purity.

03:28:53   12    Q    Given that this was a representation to the FDA, is it

03:28:56   13   reasonable for Court to assume that Mochida created a 98

03:29:02   14   percent pure EPA product before March 2008?

03:29:10   15    A    This -- this information, if it's pulled accurately from

03:29:14   16   the source documentation, which I believe it would be, is

03:29:17   17   speaking to Mochida representing that it had a 98 percent

03:29:24   18   purified EPA formulation at the time -- you know, prior to the

03:29:28   19   time that this briefing book was submitted.

03:29:30   20    Q    And what Amarin is saying here is that even though JELIS

03:29:36   21   was not double-blind, Amarin's speaking positively about the

03:29:41   22   JELIS study and saying it was adjudicated in a blinded fashion

03:29:46   23   by an endpoint committee, correct?

03:29:48   24    A    Yes, that is a positive aspect of the JELIS trial.

03:29:52   25    Q    And if we go to DX 1816, page 83, which is DDX 2.55,
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 225 of 350
                                                                                    225



03:29:59    1   there is a section here called 11.5.2, Rationale For

03:30:04    2   Development of Ethyl-EPA For the Treatment of Severe

03:30:08    3   Hypertriglyceridemia.     Do you see that?

03:30:11    4    A    Yes, I do.

03:30:11    5    Q    So this is explaining the rationale for developing

03:30:15    6   Vascepa, right?

03:30:15    7    A    Yes, for that indication.

03:30:16    8    Q    Okay.   And let's go to the last paragraph of this

03:30:18    9   section, it's DX 1816, page 85, DDX 2.56, and this says,

03:30:25   10                   "Currently Lovaza is the only FDA-approved

03:30:27   11         product derived from fish oil that is available for

03:30:32   12         prescription to patients with severe

03:30:34   13         hypertriglyceridemia."

03:30:36   14                    Do you see that?

03:30:36   15    A    Yes, I see that statement.

03:30:37   16    Q    And then it says,

03:30:39   17                   "A formulation of highly purified Ethyl-EPA

03:30:42   18         may have some advantages over Lovaza."

03:30:45   19                    Right?   That part actually wasn't highlighted.

03:30:47   20    A    Uh-huh.   I see that sentence.

03:30:49   21    Q    Then is says,

03:30:50   22                   "Lovaza is known to cause rises in LDL

03:30:54   23         cholesterol particularly in patients with marked

03:30:57   24         hypertriglyceridemia at baseline," right?

03:31:00   25    A    Yes.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 226 of 350
                                                                                    226



03:31:03    1    Q    And then Amarin tells the FDA,

03:31:16    2                  "In clinical studies performed with Ethyl-EPA

03:31:19    3         to date, including the 18,000 patient JELIS study,

03:31:23    4         there is no evidence of a significant rise in LDL

03:31:27    5         cholesterol," correct?

03:31:28    6    A    Yes, that's what this sentence says.

03:31:30    7    Q    Okay.   And as of this point in time, Amarin had not

03:31:34    8   conducted any of its own trials to assess whether EPA

03:31:38    9   increases LDL-C, correct?

03:31:42   10    A    Amarin had not yet conducted any clinical studies in

03:31:46   11   their cardiovascular development program, but it had spent

03:31:51   12   years conducting studies in other disease areas where lipid

03:31:57   13   panels might have been taken.

03:31:59   14    Q    Okay.   But this statement to the FDA that,

03:32:01   15                  "In clinical studies performed with EPA to

03:32:04   16         date, there's no evidence of a significant rise in

03:32:07   17         LDL cholesterol,"

03:32:09   18   that's referring to JELIS and Epadel studies and studies like

03:32:13   19   Mori, not Amarin studies, correct?

03:32:17   20    A    That specific sentence isn't annotated with footnoted --

03:32:23   21   so certainly speaking to JELIS, it's not clear exactly the

03:32:31   22   expansiveness to which it's referring.

03:32:33   23    Q    Okay.   But you're pretty confident that this is not

03:32:35   24   referring to any Amarin study testing whether EPA causes a

03:32:39   25   significant rise in LDL cholesterol, that was not something
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 227 of 350
                                                                                    227



03:32:43    1   that Amarin had looked into as of this date, right?

03:32:46    2    A    I'm was not an author of this document so I cannot state

03:32:49    3   that definitively.

03:32:51    4    Q    Okay.

03:32:52    5    A    The authors might very well have had access to other

03:32:55    6   information.

03:32:56    7    Q    The authors certainly didn't say they were relying on

03:32:59    8   Amarin data, right?

03:33:00    9    A    This is not the type of a document where you use terms

03:33:04   10   like relying upon, that sounds more like intellectual property

03:33:09   11   terminology.

03:33:10   12    Q    Okay.    Let's go to the next document.     These are actually

03:33:12   13   two documents, but they're related.       DX 1837 is on the left,

03:33:16   14   and DX 1836 is on the right, and I started on the left because

03:33:20   15   this is a letter from you to the FDA, February 27th, 2014,

03:33:25   16   right?

03:33:25   17    A    Yes, that's correct.

03:33:27   18    Q    And that's the cover letter to DX 1836, correct?

03:33:35   19    A    That is the cover letter to that other exhibit, 1836.

03:33:40   20    Q    Okay.    And DX 1836 is the formal dispute resolution

03:33:44   21   request that you talked about on direct, right?

03:33:46   22    A    That's correct.

03:33:47   23    Q    And so just for some context, Amarin before this had

03:33:53   24   conducted the ANCHOR study, right?

03:33:55   25    A    Yes.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 228 of 350
                                                                                    228



03:33:56    1    Q    And the purpose of the ANCHOR study was to support a

03:34:00    2   separate indication for cardiovascular effects, right?

03:34:03    3    A    No, it was for a separate lipid focused indication in

03:34:10    4   patients who were on a statin with triglycerides in the range

03:34:15    5   of 200 to 499, to reduce triglycerides and lipids and

03:34:20    6   lipoproteins inflammatory markers.

03:34:20    7    Q    Fair enough.    And we'll talk about that in a little bit.

03:34:22    8   But the FDA rejected it, right?

03:34:24    9    A    The --

03:34:27   10    Q    The baseline --

03:34:28   11    A    Precise regulatory terminology --

03:34:28   12                    (Simultaneous indecipherable conversation.)

03:34:36   13                    MR. KLEIN:   Sorry.   Go ahead.    Go ahead.

03:34:38   14                    THE WITNESS:   So FDA first rescinded the special

03:34:41   15   protocol assessment without acting on the application.          That

03:34:48   16   enabled us to go through these various disputes -- dispute and

03:34:52   17   appeals which took quite some time.

03:34:58   18                    I believe the complete response letter was not

03:35:00   19   issued until sometime in 2015.       So there was quite a delay.

03:35:05   20                    The action date was supposed to be in December

03:35:10   21   of 2013.    So you can see that this process took some time.

03:35:13   22   BY MR. KLEIN:

03:35:13   23    Q    Right.    And I'm just setting up the context for this

03:35:16   24   formal dispute resolution request.       This is in the context of

03:35:19   25   FDA -- you disputing FDA's findings with regard to the ANCHOR
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 229 of 350
                                                                                    229



03:35:24    1   study, correct?

03:35:25    2    A    Yes, we were disputing their rescission of the SPA.

03:35:29    3    Q    And you obviously tried to be truthful in this document

03:35:33    4   as it was submitted to FDA, correct?

03:35:35    5    A    Correct.

03:35:35    6    Q    Let's go to DX 1836, page 6, which is DDX 2.58.

03:35:42    7                 This is a section that talks about the ANCHOR SNDA,

03:35:47    8   right?

03:35:47    9    A    Yes.    That's correct.

03:35:49   10    Q    And this is the indication that you were referring to a

03:35:54   11   moment ago, right, about lipids?

03:35:56   12    A    Yes, that was submitted with the original -- as part of

03:36:00   13   the supplemental new drug application, yes.

03:36:03   14    Q    Okay.    And without repeating the entire indication, one

03:36:08   15   portion of the indication that you were seeking approval for

03:36:11   16   was the use of Vascepa as an adjunct to diet to reduce apo B

03:36:19   17   right?

03:36:19   18    A    In that stream.

03:36:21   19    Q    Right.

03:36:21   20    A    Yes, in that stream of parameters.

03:36:24   21    Q    Okay.    Then let's -- take a slight detour, DX 1558, pages

03:36:32   22   4 and 5.

03:36:33   23                 This is the complete response letter, right?

03:36:39   24    A    That is the complete response letter.

03:36:42   25    Q    Okay.    So this letter went from FDA to you, right, on
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 230 of 350
                                                                                    230



03:36:46    1   April --

03:36:46    2    A      Yes, on April 27th, 2015.

03:36:49    3    Q      Exactly.    Thank you.   And that's why I have the date

03:36:51    4   because the FDA puts the date all the way at the end instead

03:36:56    5   of on the cover page for reasons I'll never understand.

03:36:59    6                   But DDX 2.6 is -- we're going back -- this is the

03:37:05    7   complete response letter DX 1558, right?

03:37:10    8    A      This is DX 1558.

03:37:12    9    Q      Right.    And this is where the FDA determined that they

03:37:16   10   cannot approved Amarin's application in its present form for

03:37:20   11   the indication that included the use of Vascepa to reduce

03:37:28   12   apo B, correct?

03:37:29   13    A      Yes.    This spells out FDA's reasons why they could not

03:37:33   14   approve the SNDA.

03:37:35   15    Q      Right.    And let's go back to the dispute letter, which is

03:37:43   16   DX 1836, let's go to page 70, it's a long document.          This is

03:37:49   17   DDX 2.61.

03:37:59   18    A      Yes.

03:38:00   19    Q      Okay.    So given the strict regulatory requirements for

03:38:03   20   FDA approval, FDA did not accept Amarin's reliance on the

03:38:07   21   JELIS study to support the ANCHOR indication, right?

03:38:11   22    A      Amarin did not rely on the JELIS results for its ANCHOR

03:38:16   23   SNDA.    The ANCHOR SNDA was based solely on the conditions of

03:38:23   24   the SPA agreement which were ANCHOR focused on its safety and

03:38:24   25   efficacy data, and on having a large, long-term outcomes trial
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 231 of 350
                                                                                    231



03:38:30    1   50 percent of the way in a multinational patient population.

03:38:35    2    Q      I mean, Amarin certainly cited the JELIS study to the FDA

03:38:40    3   in connection with this dispute, right?

03:38:41    4    A      Amarin did mention JELIS, amongst other pieces in the

03:38:47    5   scientific literature, in trying to appeal the SPA recission,

03:38:53    6   that is correct.

03:38:54    7    Q      And Amarin disagreed with FDA's views concerning the

03:38:59    8   JELIS trial, right?

03:39:00    9    A      They disagreed with certain of its views.      Not all of its

03:39:04   10   views.

03:39:05   11    Q      Fair enough.   Fair enough.

03:39:06   12                And so here we're in subsection D, DMEP, Assertion

03:39:12   13   4,

03:39:12   14                   "The JELIS trial results should be dismissed

03:39:14   15           on the basis of design flaws and being inapplicable

03:39:18   16           to United States population."

03:39:19   17                    That's something that FDA said, right?

03:39:21   18    A      Yes, amongst other things.

03:39:23   19    Q      Right, and we'll get that.

03:39:25   20                And you say, "Counterpoints to these assertions are

03:39:29   21   provided below," right?

03:39:31   22    A      Yes, they are.

03:39:32   23    Q      Let's go to DDX 2.62, this is page 70.

03:39:39   24                So the first counterpoint, counterpoint 4.1, is

03:39:39   25   that,
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 232 of 350
                                                                                    232



03:39:43    1                    "JELIS is the only trial with positive

03:39:45    2         outcomes data for statin add-on therapy, and it used

03:39:49    3         the same active ingredient for Vascepa," right?

03:39:52    4    A    Yes, that's the phrasing of a counterpart to that FDA

03:40:00    5   assertion that you previously had on the prior slide.

03:40:03    6    Q    Right.    And then you describe the JELIS study,

03:40:08    7                    "Compared to statin therapy alone (control),

03:40:10    8         statin plus EPA treatment resulted in a significant

03:40:14    9         19 percent relative risk reduction in the primary

03:40:18   10         endpoint," right?

03:40:18   11    A    Yes, in the context of -- this is an appendix on page 70

03:40:24   12   of a document that -- so it's relegated to an appendix where

03:40:28   13   we're trying to provide counterpoints to certain rather strong

03:40:33   14   statements from FDA.

03:40:35   15    Q    And even though was in the appendix, it's a truthful and

03:40:38   16   accurate characterization of JELIS.

03:40:42   17    A    Yes.    Yes, it is, just that context I provided is

03:40:45   18   important.

03:40:45   19    Q    Okay.    Let's go to the next slide which is DX 1837 [sic],

03:40:50   20   page 71, which is DDX 2.63.

03:40:54   21                 And here, you say,

03:40:55   22                    "The JELIS investigators also performed a

03:40:59   23         subanalysis of primary prevention patients with

03:41:01   24         abnormal lipid levels," and then you defined them.

03:41:04   25         "Compared to patients with normal serum triglycerides
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 233 of 350
                                                                                    233



03:41:08    1         and HDL-C levels, those with abnormal levels had

03:41:14    2         significantly higher coronary artery disease hazard

03:41:18    3         ratio, and EPA treatment suppressed the risk of

03:41:21    4         coronary artery disease by 53 percent in this higher

03:41:25    5         risk population," right?

03:41:27    6    A    Yes, I see those words.

03:41:28    7    Q    Okay.   That's a bit technical, but, in essence, Amarin

03:41:31    8   was telling FDA that JELIS showed pure EPA achieved

03:41:39    9   significant cardiovascular benefits, right?

03:41:39   10    A    So I don't have that -- I have the cover letter to that

03:41:43   11   exhibit in this binder.      If I understand the overlays, this is

03:41:47   12   from a different -- is this from the same --

03:41:51   13    Q    This is from your dispute resolution request.

03:41:54   14    A    Yes, but this isn't the prior --

03:41:57   15                   THE COURT:    I'm sorry, Mr. Klein, let me

03:41:58   16   interrupt you for a moment.      I thought you referenced this as

03:42:01   17   coming from DX 1837, but I see that DX 1837 only has one page.

03:42:07   18   Are you referring --

03:42:08   19                   MR. KLEIN:    Oh, this is a misnomer.     I think

03:42:10   20   it's 1836.    I apologize.    1837 is the cover letter.

03:42:18   21                   THE WITNESS:    So this should be 1836, and it's

03:42:23   22   page 71?

03:42:24   23                   MR. KLEIN:    This is page 71.

03:42:24   24   BY MR. KLEIN:

03:42:29   25    Q    And I know this statement is technical, but let me try to
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 234 of 350
                                                                                    234



03:42:33    1   boil it down.     You told FDA on behalf of Amarin that JELIS was

03:42:38    2   a positive outcome study in which the primary endpoint was

03:42:42    3   successful, correct?

03:42:43    4    A    Yes.    And, again, this is a counterpoint to an insertion

03:42:48    5   that's entirely dismissive of JELIS saying it has absolutely

03:42:51    6   no value and is totally inapplicable to the U.S. patient

03:42:57    7   population.     So this is a counterpoint to that assertion.

03:42:59    8    Q    All right.    And this Amarin's position to what FDA was

03:43:02    9   saying, right?

03:43:02   10    A    Yeah, in the face of that whole-scale dismissal.

03:43:05   11    Q    Okay.    And here it says,

03:43:09   12                    "This 53 percent reduction represents a

03:43:12   13         positive subgroup analysis derived from a positive

03:43:17   14         outcome study in which the primary endpoint was

03:43:17   15         successfully met."

03:43:19   16                     That's what I -- I guess that's what I just

03:43:20   17   asked you about, right?      That's an accurate statement?

03:43:22   18    A    It is, and particularly in contrast as stated in the

03:43:27   19   prior sentences to what occurred in the niacin and fibrate

03:43:31   20   studies which had a negative result on its primary endpoint

03:43:35   21   and had positive indications from posthoc subgroup analyses.

03:43:41   22                 So JELIS had some additional positive attributes

03:43:47   23   relative to the other studies that they were trying to lump

03:43:51   24   our product into the same bucket.

03:43:53   25    Q    Let's go to DX 1836, page 72, DDX 2.65.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 235 of 350
                                                                                    235



03:44:00    1                This is another counterpoint.

03:44:03    2                   "JELIS was a very large, PROBE design study

03:44:06    3         that included blinded endpoint evaluation," right?

03:44:10    4    A    Yes, it did.

03:44:11    5    Q    And PROBE stands for Prospective Randomized Open Label

03:44:11    6   Blinded Endpoint Evaluation?

03:44:12    7    A    Yes.

03:44:18    8    Q    Sorry.   I need to slow down.

03:44:24    9                Okay.   And then you see the sentence starting

03:44:27   10   "therefore"?

03:44:28   11    A    Yes.

03:44:29   12    Q    You told the FDA that,

03:44:31   13                   "Therefore, overall, JELIS was a very large,

03:44:34   14         well-designed study with blinded endpoint evaluation

03:44:37   15         that demonstrated a statistically significant

03:44:40   16         reduction in cardiovascular risk due to a statin

03:44:45   17         add-on therapy," right?

03:44:46   18    A    Yes.   Amarin did say that as a counterpoint to an FDA

03:44:49   19   assertion to the contrary.

03:44:51   20    Q    This was actually a document that was submitted under

03:44:54   21   your cover letter, right, so you actually said this, right?

03:44:57   22    A    Yes.   We sent it, again, and this is in the context of

03:45:00   23   disputing the recission of the ANCHOR SPA where they were

03:45:08   24   saying that because of failed trials of other agents in

03:45:13   25   cardiovascular outcomes trials, that there were -- there was
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 236 of 350
                                                                                    236



03:45:16    1   scientific uncertainty that caused them to rescind our SPA.

03:45:22    2    Q    Right.

03:45:22    3    A    So we were pushing back on it.

03:45:24    4    Q    And then -- so on page 71, DDX 2.66, you told the FDA

03:45:35    5   that Amarin believes that its results, the JELIS results,

03:45:41    6   should not be dismissed, lightly correct?

03:45:43    7    A    Yes, that's correct.

03:45:44    8    Q    In fact, that was Amarin's strongly held belief that FDA

03:45:49    9   should not lightly dismiss the JELIS study results, correct?

03:45:52   10    A    Again, in the context of them saying it had absolutely no

03:45:56   11   value.

03:45:56   12    Q    Okay.    DDX 2.67, here's another counterpoint.       We're on

03:46:02   13   page 71 of DX 1836.     And this counterpoint is,

03:46:05   14                   "Precedent suggests that results from

03:46:08   15         cardiovascular studies conducted in an exclusively

03:46:11   16         Japanese population are applicable to the United

03:46:14   17         States population," right?

03:46:15   18                    That was a point that Amarin made to the FDA?

03:46:19   19    A    Yes.    And the counterpoints are structured because a part

03:46:24   20   of FDA's assertion is that it's inapplicable to a US patient

03:46:31   21   population.

03:46:31   22    Q    Right.   Understood.    Each of these counterpoints are

03:46:34   23   responding to a point that FDA made.

03:46:35   24    A    To construct of their assertion.

03:46:37   25    Q    Understood.    If we go to page 72, DDX 2.68, this is
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 237 of 350
                                                                                    237



03:46:37    1   another counterpoint.

03:46:45    2                    "Vascepa 4 grams per day in a United

03:46:46    3         States-based population achieves similar plasma EPA

03:46:49    4         levels as EPA 1.8 grams per day in a Japanese

03:46:54    5         population," right?

03:46:56    6    A    Yes.    At the time this document was written, we had our

03:47:00    7   MARINE results, our ANCHOR results.

03:47:04    8                 We had subsequently, years later, published some

03:47:07    9   plasma EPA level data.      And years after the initial Yokoyama

03:47:13   10   Lancet publication, they, in turn, published some level of

03:47:17   11   information.     So this is speaking to that -- to that -- those

03:47:21   12   facts.

03:47:21   13    Q    Okay.    What you're saying is that a lower dose in a

03:47:26   14   Japanese population can equate to a lower dose, specifically

03:47:31   15   1.8 grams per day, equates to the Vascepa dose 4 grams per day

03:47:37   16   in the U.S., correct?

03:47:38   17    A    Equates goes beyond the statement that's phrased there.

03:47:41   18    Q    Comparable?    Similar?

03:47:46   19    A    Similar.    And.

03:47:46   20    Q    Similar.    I'll take similar.

03:47:47   21    A    And there are obviously differences --

03:47:49   22    Q    Okay.

03:47:49   23    A    -- between the dosage forms, et cetera.

03:47:52   24    Q    DDX 2.69, this is page 73 of DX 1836, the next

03:47:59   25   counterpoint is,
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 238 of 350
                                                                                      238



03:48:00    1                    "LDL-C was adequately controlled for the

03:48:00    2         majority of JELIS patients as it was treated

03:48:00    3         according to JAS guidelines."

03:48:00    4                       That's the Japanese Atherosclerosis Society

03:48:13    5   guidelines, right?

03:48:13    6    A    Yes, that's correct.

03:48:15    7    Q    Okay.    And, generally speaking, you told FDA that JELIS

03:48:27    8   was a very large, well-designed study demonstrating that

03:48:31    9   Vascepa would support -- helping convince the FDA that Vascepa

03:48:36   10   would significantly reduce cardiovascular events, right?

03:48:39   11    A    Again, in the backdrop of having an approved MARINE

03:48:42   12   indication, so a successful MARINE trial, a successful ANCHOR

03:48:48   13   trial for which we had submitted supplemental new drug

03:48:52   14   application totally consistent with our special protocol

03:48:57   15   assessment agreement with FDA, so those were the core points

03:48:59   16   that we raised earlier on within the document.

03:49:02   17                 These are relegated to an appendix because they are

03:49:06   18   additional arguments that we're putting fourth to

03:49:10   19   counterassert certain rather strong and definitive statements

03:49:15   20   from FDA.

03:49:15   21                       THE COURT:   Dr. Ketchum, I want to make sure you

03:49:18   22   listen to the question and limit your answer to the question,

03:49:21   23   otherwise you'll be here extensively tomorrow as well.

03:49:24   24                       THE WITNESS:   Yes, Your Honor.   I understand.

           25                 ///
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 239 of 350
                                                                                    239



03:49:27    1   BY MR. KLEIN:

03:49:27    2    Q    Let's look at the conclusion, okay?       To move this on.

03:49:30    3   DX 1836, page 80, is the DDX 2.70.

03:49:36    4                The conclusions actually run several paragraphs.       So

03:49:40    5   if we go the next slide, this is the fourth point in the

03:49:43    6   conclusion, page 81, DDX 2.71.

03:49:46    7                You see here Amarin is telling the FDA,

03:49:49    8                   "JELIS is the single cardiovascular outcome

03:49:54    9         study that has demonstrated a cardiovascular benefit

03:49:54   10         of a statin add-on therapy.      Despite some design

03:50:01   11         constraints, JELIS is very large, well-designed study

03:50:04   12         that demonstrated a significant improvement in its

03:50:08   13         primary endpoint and in subsequent subgroup analyses,

03:50:08   14         such as a 53 percent reduction in cardiovascular

03:50:15   15         events in patients with elevated baseline

03:50:18   16         triglyceride and low baseline HDL-C."

03:50:23   17                    That was accurate statement to the FDA, correct?

03:50:26   18    A    Yes.

03:50:26   19    Q    At the end of this paragraph you tell the FDA that,

03:50:29   20                   "These points strongly support the

03:50:32   21         consideration of JELIS study results in evaluating

03:50:36   22         the potential cardiovascular benefits of Vascepa

03:50:42   23         therapy," right?

03:50:43   24    A    Yes, that's the statement.

03:50:43   25    Q    And Amarin was making all these statements with regard to
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 240 of 350
                                                                                    240



03:50:46    1   JELIS, painting JELIS in a positive light, to try to convince

03:50:51    2   FDA to take favorable regulatory action, correct?

03:50:55    3    A    It was amongst those arguments, yes.

03:50:59    4    Q    I want to go to one of the documents that we looked at,

03:51:04    5   or you looked at during the direct examination.

03:51:07    6                    MR. KLEIN:   Mr. Gross, can you put up PX 990,

03:51:12    7   please.

03:51:12    8   BY MR. KLEIN:

03:51:18    9    Q    Just to orient you, do you remember this document to you

03:51:21   10   from FDA, the appeal denied letter?

03:51:24   11    A    Yes.

03:51:26   12                    MR. KLEIN:   Okay.   And if we go to PX 990,

03:51:30   13   page 11 -- and can you highlight that?        Yeah.

03:51:30   14   BY MR. KLEIN:

03:51:35   15    Q    Do you remember talking about this paragraph?

03:51:40   16    A    Yes.

03:51:41   17    Q    Okay.    And you were talking about how FDA was criticizing

03:51:47   18   the JELIS study, right?

03:51:49   19    A    Yes.

03:51:50   20    Q    But there are some statements in this paragraph where the

03:51:53   21   FDA talked about how there were positive results on clinical

03:51:58   22   benefit from JELIS, right?      That's what the FDA found?

03:52:03   23    A    That's what that statement in referring to, yes.

03:52:05   24    Q    Right.    And then this statement below says,

03:52:07   25                   "This trial may be supportive in reducing
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 241 of 350
                                                                                    241



03:52:11    1         cardiovascular events with the use of EPA for those

03:52:14    2         patients taking baseline low intensity statins,"

03:52:19    3         right?

03:52:19    4    A    That's what that sentence says.

03:52:20    5    Q    But FDA did not believe that JELIS was run according to

03:52:25    6   the very high bar of FDA standards for clinical trials,

03:52:30    7   correct?

03:52:30    8    A    That's correct.

03:52:34    9                    MR. KLEIN:   Let's go back to the slide deck.

03:52:47   10                    Okay.   Let's go to DX 1838, and this is

03:52:54   11   demonstrative DDX 2.73.

03:52:54   12   BY MR. KLEIN:

03:52:58   13    Q    Do you recognize this as a PowerPoint presentation

03:53:02   14   presented at a 2017 national meeting?

03:53:05   15    A    Yes, I do.

03:53:06   16    Q    And you presented this with Dr. Rebecca Juliano?

03:53:11   17    A    Yes.

03:53:12   18    Q    And the presentation is on REDUCE-IT, right?

03:53:16   19    A    It is.

03:53:16   20    Q    Is this an Amarin national meeting?

03:53:18   21    A    This is a sales national meeting of Amarin employees.

03:53:28   22    Q    I see.    It's an internal Amarin meeting?

03:53:30   23    A    Yes, it's an internal Amarin meeting.

03:53:32   24    Q    Okay.    And you're obviously the Steve Ketchum on the

03:53:35   25   slide deck, right?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 242 of 350
                                                                                    242



03:53:36    1    A    I am, yes.

03:53:37    2    Q    If we go to DX 1838, page 8, which is DDX 2.74, there's a

03:53:45    3   slide called EPA Benefit in CHD Risk Supported By JELIS Trial.

03:53:51    4   Do you see that?

03:53:51    5    A    Yes.

03:53:53    6    Q    And CHD stands for coronary heart disease, right?

03:53:57    7    A    That's correct.

03:53:57    8    Q    And this slide summarizes the JELIS trial, right?

03:53:57    9    A    From -- the source publication is highlighted in the

03:54:01   10   bottom.

03:54:02   11    Q    Right.   And the chart on the left says the cumulative

03:54:06   12   incidence of major coronary events decreased by 19 percent in

03:54:10   13   the JELIS trial, right?

03:54:12   14    A    Yes.

03:54:12   15    Q    And that's citing Yokoyama, The Lancet article?

03:54:16   16    A    Yes.

03:54:17   17    Q    And the subgroup on the right says that the cumulative

03:54:20   18   incidents of major coronary events was reduced by 53 percent

03:54:25   19   according to the subgroup analysis, right?

03:54:27   20    A    Yes.

03:54:28   21    Q    And that's citing a reference called Saito dated 2008,

03:54:33   22   right?

03:54:33   23    A    That's correct.

03:54:37   24    Q    If we go DDX 2.75, this is DX 1838, page 9, the title of

03:54:44   25   this slide is REDUCE-IT Design is Well Informed, right?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 243 of 350
                                                                                    243



03:54:48    1    A    Yes.

03:54:49    2    Q    And it says -- the second bullet says,

03:54:52    3                    "Events driven study design incorporates

03:54:56    4         learnings from the positive JELIS study (Japan

03:55:01    5         cardiovascular outcomes study of EPA) and other well

03:55:05    6         designed CVOTs," right?

03:55:07    7    A    Yes.

03:55:07    8    Q    What is CVOTs?

03:55:10    9    A    Cardiovascular outcomes trials.

03:55:12   10    Q    Okay.    And then the sub bullet says, "JELIS administered

03:55:14   11   ethyl-EPA; same active component as Vascepa."

03:55:19   12                 You see that, right?

03:55:19   13    A    Yes, I see that.

03:55:21   14    Q    Okay.    And so you told everyone who attended this 2017

03:55:24   15   annual meeting that JELIS was a positive study, correct?

03:55:27   16    A    Yes.

03:55:29   17    Q    And you also told them that JELIS administered ethyl-EPA

03:55:34   18   which is the same active component at Vascepa, correct?

03:55:38   19    A    Yes.

03:55:44   20    Q    Let's go to DX 2252, and the slide is 2.76.

03:55:50   21                 Do you recognize this as a section of Amarin's

03:55:54   22   March 29 supplemental NDA submission?

03:56:00   23    A    Yes.

03:56:00   24    Q    Let's go to DX 2252, page 9, which is DDX 2.77, and we're

03:56:09   25   looking at section 2.7.3, Summary of Clinical Efficacy, right?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 244 of 350
                                                                                    244



03:56:16    1    A    Yes.

03:56:16    2    Q    And if we go further into this section, DX 2252, page 62,

03:56:22    3   which is DDX 2.78, there's a statement that,

03:56:27    4                   "Administration of ethyl-EPA plus statins in

03:56:31    5         JELIS resulted in 19 percent relative reduction in

03:56:34    6         the risk of major coronary events despite a

03:56:38    7         relatively small (5 percent) reduction in TG

03:56:42    8         (Yokoyama 2007), suggesting the effects of EPA

03:56:47    9         therapy on cardiovascular outcomes likely go beyond

03:56:52   10         traditional clinical lipid modification," right?

03:56:55   11    A    Yes.    The five percent results didn't seem to explain the

03:56:59   12   19 percent.

03:56:59   13    Q    Okay.   But this is what you told the --

03:57:02   14    A    That's correct.

03:57:01   15    Q    -- FDA, correct?

03:57:03   16    A    Yeah, that's what it's conveying.

03:57:05   17    Q    Right, in the context of seeking approval of your

03:57:08   18   supplement NDA, correct?

03:57:10   19    A    Yes.

03:57:10   20    Q    And if we go to DDX 2.79, which is page 62, you say,

03:57:17   21                   "In agreement, initial REDUCE-IT subgroup

03:57:20   22         analyses of TG levels at study baseline and achieved

03:57:25   23         at one year suggest that the effects of EPA therapy

03:57:28   24         on CV outcomes likely go beyond TG lowering and are

03:57:34   25         distinct from other therapies that lower TG levels,"
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 245 of 350
                                                                                    245



03:57:40    1         right?

03:57:40    2    A    Yes.

03:57:41    3    Q    And so what you're saying is -- to the FDA is that the

03:57:45    4   explanation for the cardiovascular benefits observed in JELIS

03:57:50    5   is in agreement with the explanation for the cardiovascular

03:57:54    6   benefit observed in REDUCE-IT, correct?

03:57:57    7    A    What we're saying there are some similarities, yes.

03:58:00    8    Q    Let's go to page 63 of DX 2252, DDX 2.80.

03:58:07    9                Here, Amarin is telling the FDA that,

03:58:12   10                   "JELIS evaluated statin alone (no placebo) in

03:58:17   11         the control arm, but the ethyl-EPA preparation

03:58:20   12         demonstrated substantial coronary risk reduction

03:58:23   13         similar to Vascepa in REDUCE-IT," correct?

03:58:26   14    A    Yes.

03:58:29   15    Q    And so Amarin told FDA that the coronary risk reduction

03:58:34   16   observed in JELIS is similar to that in observed with Vascepa

03:58:40   17   in REDUCE-IT, right?

03:58:41   18    A    It's -- the purpose of that section is to say that the

03:58:45   19   use of the placebo in REDUCE-IT is not the explanation for why

03:58:51   20   we observed a 25 percent relative risk reduction.

03:58:56   21    Q    Right.   Okay.   Let's go to a new document, DX 2226, which

03:59:02   22   is demonstrative DDX 2.81.

03:59:08   23                And do you recognize this as the Endocrinologic and

03:59:15   24   Metabolic Drugs Advisory Committee Briefing Document, dated

03:59:19   25   November 14th, 2019?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 246 of 350
                                                                                    246



03:59:21    1    A     Yes, I do.

03:59:21    2    Q     Okay.    This was the briefing document for the advisory

03:59:24    3   committee related to Amarin's supplemental NDA, right?

03:59:29    4    A     That's correct.

03:59:30    5    Q     Okay.    And let's go to DX 2226, page 6, slide DDX 2.82.

03:59:36    6                  And here Amarin is -- or -- yeah, this is created by

03:59:43    7   Amarin, right, this briefing document?

03:59:46    8    A     I'm sorry, could I see the cover page again?

03:59:50    9    Q     Sure.

03:59:51   10    A     This -- yes, this is Amarin's briefing document.

03:59:58   11    Q     Okay.    And Amarin is saying that.

03:59:59   12                     "...a 25 percent RRR," relative risk

04:00:03   13          reduction, "in the primary endpoint that is

04:00:05   14          consistent with the observed risk reduction in the

04:00:09   15          Japan EPA JELIS study," right?

04:00:13   16    A     Yes.

04:00:13   17    Q     And Amarin made this comparison of REDUCE-IT to JELIS to

04:00:18   18   support favorable regulatory action, in particular, approval

04:00:22   19   of the supplemental NDA, correct?

04:00:24   20    A     Principally to put the placebo aspect into context.

04:00:29   21    Q     Now, let's go to another document, DX 2235, and it's

04:00:34   22   slide DDX 2.83.

04:00:36   23                  Do you recognize this as a presentation to the FDA

04:00:39   24   advisory committee that was considering Amarin's supplemental

04:00:44   25   NDA?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 247 of 350
                                                                                    247



04:00:44    1    A    Yes, I do.

04:00:45    2    Q    All right.    Let's turn to DX 2235, page 70, which is

04:00:51    3   DDX 2.84, and this is a slide called Mineral Oil Placebo

04:00:55    4   Analyses, right?

04:00:57    5    A    Yes.

04:00:57    6    Q    And the last bullet says,

04:01:00    7                   "Prior trial reported a cardiovascular

04:01:02    8         benefit with EPA consistent with REDUCE-IT," right?

04:01:05    9    A    Yes.

04:01:06   10    Q    And the prior trial that's consistent with REDUCE-IT

04:01:10   11   that's being referenced is the JELIS study, right?

04:01:13   12    A    That's correct.

04:01:23   13    Q    All right.    Let's go -- well, let's back up.

04:01:27   14                In December 2019, FDA approved the supplemental NDA,

04:01:31   15   right?

04:01:31   16    A    Yes.

04:01:32   17    Q    And that resulted in what you call the REDUCE-IT

04:01:34   18   indication, right?

04:01:35   19    A    Yes.

04:01:35   20    Q    And then FDA approved the new Vascepa label?

04:01:40   21    A    Yes.

04:01:41   22    Q    But FDA did not approve the precise indication that

04:01:45   23   Amarin had proposed, right?

04:01:47   24    A    That's very common, but, yes.

04:01:49   25    Q    I'm not saying whether it's common or not.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 248 of 350
                                                                                    248



04:01:52    1    A    Uh-huh.

04:01:53    2    Q    But let's turn -- just so we can determine what the

04:01:57    3   distinctions are, on the left is DX 2247.        That's the proposed

04:02:04    4   label that Amarin submitted in March 2019, right?

04:02:08    5    A    Yes.

04:02:09    6    Q    Okay.    So that's the proposed REDUCE-IT indication,

04:02:13    7   right?

04:02:14    8    A    In the SNDA, yes.

04:02:17    9    Q    Right.    And on the right DX 2248, and, by the way, this

04:02:21   10   is DDX 2.85, on the right is what is now the REDUCE-IT

04:02:26   11   indication, correct?

04:02:28   12    A    Yes.

04:02:28   13    Q    Okay.    And so Amarin sought approval for Vascepa to,

04:02:32   14   among other things, reduce the risk of cardiovascular death

04:02:37   15   right?

04:02:37   16    A    Yes, that was one of the endpoints study.

04:02:40   17    Q    Okay.    And FDA did not approve that indication, right?

04:02:43   18    A    Not in the stream of -- that's listed within the

04:02:49   19   indication.

04:02:49   20    Q    Right.    And Amarin sought approval for Vascepa in adult

04:02:55   21   patients with elevated triglyceride levels greater or equal to

04:02:57   22   135 milligrams per deciliter and other risk factors for

04:03:02   23   cardiovascular disease, right?

04:03:05   24    A    Yes, that's what we proposed.

04:03:08   25    Q    And FDA determined that the approved patient population
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 249 of 350
                                                                                    249



04:03:11    1   should be limited to patients with triglyceride levels above

04:03:14    2   150 with either established cardiovascular disease or diabetes

04:03:20    3   plus two or more additional risk factors for cardiovascular

04:03:25    4   disease; is that right?

04:03:26    5    A     At the indication level.

04:03:28    6    Q     Yes, right.

04:03:29    7    A     As opposed to other sections.

04:03:31    8    Q     Okay.    Now, I want to talk about something that was

04:03:34    9   covered on direct, but I just want to clarify a couple of

04:03:37   10   points.

04:03:38   11                  On direct you talked about how in March 2019, Amarin

04:03:41   12   had proposed a section 6.2 postmarketing experience, right?

04:03:47   13    A     Yes.

04:03:47   14    Q     And that's DX 2247, and then in the final label, the FDA

04:03:55   15   made some change, right?

04:03:57   16    A     Yes.

04:03:57   17    Q     And that is DX 2248, and, for the record, this is

04:04:04   18   DDX 2.86.

04:04:05   19                  And the highlighted section that Amarin proposed

04:04:08   20   was,

04:04:09   21                     "Because these reactions are reported

04:04:11   22          voluntarily from a chronic care population of

04:04:15   23          uncertain size."

04:04:17   24                      Do you see that?

04:04:17   25    A     Yes I see that.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 250 of 350
                                                                                    250



04:04:18    1    Q    And the only thing that the FDA struck was the term

04:04:22    2   chronic care.

04:04:23    3    A    Yes.

04:04:24    4    Q    And you don't know why FDA struck it because they didn't

04:04:27    5   tell you, right?

04:04:28    6    A    That's correct.

04:04:28    7    Q    Right.    But, as a result, the Vascepa label does not

04:04:35    8   refer to the patient population as requiring chronic care,

04:04:40    9   right?

04:04:40   10    A    Those words are not in that specific section of the

04:04:44   11   label.

04:04:45   12    Q    And the Vascepa label, the current Vascepa label, does

04:04:48   13   not ever say that patients were severe hypertriglyceridemia

04:04:53   14   have a chronic condition, correct?

04:04:55   15    A    It's supported by the statements we walked through

04:05:00   16   earlier this morning in terms of the checklist and the

04:05:03   17   development requirements.

04:05:05   18    Q    Please listen to the question carefully.

04:05:07   19                The Vascepa label as approved does not say that

04:05:12   20   severe hypertriglyceridemia is a chronic condition, correct?

04:05:16   21    A    It does not use those words.

04:05:22   22    Q    And let's go back to a document that you covered on

04:05:26   23   direct, PX 286.

04:05:47   24                Do you remember this document, the -- I forget what

04:05:52   25   you call it, the sound board?       Is that what --
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 251 of 350
                                                                                    251



04:05:54    1    A      Storyboard.

04:05:55    2    Q      Storyboard.    Thank you.   Storyboard for the commercial.

04:05:55    3    A      Yes.

04:06:00    4    Q      And you talked about how in the commercial it mentions

04:06:03    5   no -- without raising LDL-C versus placebo, do you remember

04:06:09    6   that?

04:06:09    7    A      Yes, I believe it was frame 11.

04:06:12    8    Q      It's a simple question.

04:06:15    9    A      Yes.

04:06:15   10    Q      Amarin's commercials don't advertise that Vascepa lowers

04:06:23   11   apo B, correct?

04:06:24   12    A      These specific advertisements is what your asking me

04:06:27   13   about?

04:06:27   14    Q      Yes.

04:06:28   15    A      These specific advertisements do not.

04:06:31   16    Q      All right.    Let's go back to the slide deck.    Let's go to

04:06:44   17   DX 2267, and, for the record, it's demonstrative DDX 2.87.

04:06:55   18                   Before I ask you to explain what this document is,

04:06:58   19   you understand that when FDA approves a new indication the

04:07:02   20   sponsor of the application needs to notify the FDA of any

04:07:06   21   relevant patents.

04:07:07   22    A      Yes.

04:07:07   23    Q      It's generally referred to as patent information, right?

04:07:12   24    A      Yes.

04:07:14   25    Q      Okay.    And then what FDA does is FDA takes the
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 252 of 350
                                                                                     252



04:07:19    1   information from the NDA holder, the patent information, and

04:07:23    2   publishes it in what's referred to as the Orange Book, right?

04:07:27    3    A     Yes.

04:07:28    4    Q     Okay.   But the Orange Book is actually online?

04:07:30    5    A     It is online.

04:07:31    6    Q     Okay.   And you recognize DX 2267 as the Orange Book

04:07:40    7   patent listing for Vascepa, right?

04:07:43    8    A     As of some specific date that I'm not familiar with.

04:07:50    9   But, yes, I recognize that as the patent listing.

04:07:52   10                    THE COURT:   Mr. Klein, I have a question for

04:07:54   11   you.

04:07:54   12                    MR. KLEIN:   Sure.

04:07:54   13                    THE COURT:   The exhibits that were offered to

04:07:56   14   the Court by the parties, both in the exhibit list and the

04:08:00   15   actual exhibits for defendants, end at DX 2265.

04:08:05   16                    MR. KLEIN:   Yes, this was a new exhibit.      I

04:08:08   17   think -- did we provide a thumb drive to someone?         This is a

04:08:12   18   new exhibit because it was recently created.

04:08:15   19                    THE CLERK:   Your Honor, they did provide a thumb

04:08:18   20   drive, they have not provided an updated exhibit list to my

04:08:22   21   knowledge.

04:08:23   22                    MR. KLEIN:   Okay.   We can do that.

04:08:24   23                    THE COURT:   That's all right.     I want to make

04:08:26   24   sure that I receive any exhibits.       So a thumb drive was

04:08:30   25   provided with the additional exhibits?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 253 of 350
                                                                                    253



04:08:33    1                      MR. KLEIN:    Yes, Your Honor.

04:08:33    2                      THE CLERK:    Yes.    Two copies.

04:08:33    3   BY MR. KLEIN:

04:08:34    4    Q      And I can clarify.      The Orange Book listing for Vascepa

04:08:39    5   was updated very recently, right?

04:08:41    6    A      Yes.

04:08:41    7    Q      And that's because the new indication was approved in

04:08:45    8   December.

04:08:45    9    A      That's correct.

04:08:45   10    Q      And -- but you recognize this as the current Orange Book

04:08:49   11   listing?       Does it look right?      I'll represent to you that we

04:08:52   12   did our best to print out the most recent one.

04:08:55   13    A      Yes.    So my regulatory affairs team takes the information

04:09:00   14   from intellectual property lawyers and helps to progress the

04:09:03   15   submission.      So this appears to be the Orange Book listing

04:09:10   16   that incorporates the latest information submitted on

04:09:13   17   January 6th.

04:09:14   18    Q      Okay.    And by my count, Amarin has listed 46 patents as

04:09:17   19   related to Vascepa, does that sound about right?

04:09:20   20    A      Yeah.    I haven't counted, but I'll take your word for

04:09:23   21   that.

04:09:24   22    Q      Okay.    And you understand that there are forms that

04:09:26   23   Amarin has to submit to the FDA that links the patent to

04:09:32   24   particular indications or methods of use, right?

04:09:35   25    A      Yes, I understand that.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 254 of 350
                                                                                    254



04:09:37    1    Q    Okay.    So, generally speaking, these patents are

04:09:40    2   associated either with the MARINE indication or the REDUCE-IT

04:09:44    3   indication, right?

04:09:46    4    A    Or some other category of patent.       Again, I'm not the

04:09:51    5   inventor on any of these patents so I'm not as familiar with

04:09:55    6   the details.

04:09:56    7    Q    Are you ultimately responsible for their submissions to

04:10:01    8   the FDA on this point?

04:10:02    9    A    Yes, but there are other parties who are more familiar

04:10:07   10   from an intellectual property perspective who help us to

04:10:07   11   confirm that the details are accurate prior to submission.

04:10:11   12    Q    But you generally understand that in the patent

04:10:14   13   information submitted to the FDA, Amarin tied patents either

04:10:18   14   to the MARINE indication or to the REDUCE-IT indication,

04:10:21   15   right?

04:10:21   16    A    Generally speaking, yes.

04:10:25   17                    MR. KLEIN:   Okay.   And let's go to -- we've

04:10:30   18   marked this as DX 2299, and I will move to admit it as a

04:10:34   19   summary exhibit.     There may be objection, and, if so, we'll

04:10:39   20   deal with it at the end, but at a minimum it's a demonstrative

04:10:44   21   exhibit, DDX 2.88.

04:10:44   22   BY MR. KLEIN:

04:10:46   23    Q    Do you have DX 2299 in your binder?

04:10:49   24    A    I do, yes.

04:10:49   25    Q    Okay.    Do you recognize that as the patent information
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 255 of 350
                                                                                    255



04:10:53    1   that's submitted to the FDA?

04:10:54    2    A    Again, in looking at an Orange Book listing, I haven't

04:11:00    3   sorted them out and done this diagram myself.

04:11:05    4    Q    No, no, I asked you if you recognize DX 2250 as the

04:11:09    5   patent information that Amarin submitted to the FDA.

04:11:13    6    A    2250.

04:11:14    7    Q    2250.    Oh, oh, it's actually not in your binder.

04:11:26    8                 It's voluminous because it's a number -- it relates

04:11:29    9   to a number of patents, right, that were just recently listed?

04:11:33   10    A    Yes, a number of patents were just recently listed.

04:11:37   11    Q    Okay.    And do you generally understand that none of the

04:11:40   12   patents that are asserted in this case have been associated

04:11:44   13   with the REDUCE-IT indication?

04:11:48   14    A    So my -- again, in my role as the head of R&D, I'm not an

04:11:56   15   intellectual property expert so I'm not defining

04:12:01   16   overlappingness or, you know, being involved in these various

04:12:06   17   assertions.

04:12:07   18    Q    Okay.

04:12:07   19    A    I'm not an expert in that area.

04:12:09   20    Q    And so you have no knowledge as to whether, from a

04:12:13   21   regulatory standpoint, the patents that -- that are asserted

04:12:18   22   in this case are associated with the REDUCE-IT indication from

04:12:25   23   a regulatory perspective.

04:12:27   24    A    So from a regulatory perspective, my staff and I have

04:12:31   25   been involved to the extent to confirm that the list is
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 256 of 350
                                                                                    256



04:12:34    1   accurate, meets intellectual property considerations and have

04:12:39    2   been filed consistent with FDA requirements.         That's the level

04:12:43    3   of my involvement in that patent related process.

04:12:47    4    Q    Okay.    But do you generally understand that Amarin has a

04:12:50    5   number of patents that are covering the REDUCE-IT indication?

04:12:54    6    A    Yes, I do.

04:12:55    7    Q    And those patents are not also covering the MARINE

04:13:00    8   indication, correct?

04:13:00    9    A    I am not aware of the details of the various patent

04:13:05   10   families so I don't -- I don't know what to what extent they

04:13:10   11   might overlap.

04:13:11   12    Q    Okay.    To your knowledge -- well, that's fine.

04:13:20   13                    MR. KLEIN:   All right.    Let's -- I want to mark

04:13:23   14   a slide.     This is not in evidence, and I'm marking it just for

04:13:30   15   identification, it's DX 2297.       I'm using it as demonstrative,

04:13:38   16   and it's DDX 2.89.

04:13:38   17   BY MR. KLEIN:

04:13:41   18    Q    Do you generally recognize this Investor Relations Amarin

04:13:44   19   document?

04:13:45   20    A    Yes, I do.

04:13:45   21    Q    And you see it's dated February 16th, 2012?

04:13:49   22    A    Yes.

04:13:49   23    Q    Okay.    Let's go to the next slide, which is DDX 2.9, and

04:13:56   24   that's when you were hired by Amarin, right?

04:13:58   25    A    Yes, that was in the time frame when I was hired.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 257 of 350
                                                                                    257



04:14:03    1    Q    And when you were hired you received a grant of Amarin

04:14:13    2   stock, correct?

04:14:13    3    A    Of options.

04:14:15    4    Q    Options, I'm sorry, you're right.

04:14:17    5                And it says,

04:14:17    6                   "The grant to Dr. Ketchum consisted of

04:14:20    7         nonqualified options to purchase 600,000 shares of

04:14:24    8         the Amarin ordinary shares represented by the

04:14:27    9         American Depository shares with a ten-year term and

04:14:32   10         then an exercise price equal to the closing price of

04:14:36   11         Amarin American Depository receipts on the date of

04:14:40   12         grant," right?

04:14:41   13    A    Yes.

04:14:42   14    Q    And so, in essence, you were given options to purchase

04:14:49   15   600,000 shares with is a ten-year term, correct?

04:14:51   16    A    Yes.

04:14:51   17    Q    And all these 600,000 shares will vest in February '22?

04:14:59   18    A    I'd have to look at the way this subsequent -- it spells

04:15:02   19   out what tranches would become available across what time

04:15:06   20   frame.

04:15:06   21    Q    I'm just going off it's ten years.

04:15:08   22    A    Ten years.

04:15:09   23    Q    And it's February 2012.

04:15:11   24    A    I think that's speaking to the ten-year term of the

04:15:14   25   options.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 258 of 350
                                                                                    258



04:15:14    1    Q    I see.    Okay.

04:15:15    2    A    The vesting is spelled out in the subsequent sentences.

04:15:19    3    Q    All right.

04:15:20    4    A    About the period of time.

04:15:22    5    Q    I'll go to another slide, DX 2298 for identification, and

04:15:27    6   it's DDX 2.91.     I will represent to you that I took this from

04:15:34    7   Yahoo! Finance.     Okay.   I'll ask you if it's correct.

04:15:46    8                 According to this document, you currently have

04:15:54    9   400 -- about 454,000 shares of Amarin stock; is that right?

04:15:59   10    A    I don't know the precise number, but it is publically

04:16:03   11   available information.

04:16:05   12    Q    Okay.    And you own more Amarin stock than any other

04:16:10   13   employee except for the CEO, correct?

04:16:12   14    A    Again, I don't know that for sure, but it's publically

04:16:16   15   available information.

04:16:18   16    Q    You have no reason to doubt -- the information on the

04:16:21   17   screen looks generally correct to you, right?

04:16:23   18    A    It looks -- assuming it's pulled from publicly available

04:16:29   19   sources, it looks generally correct.

04:16:32   20    Q    Okay.    And I haven't checked the stock price today, but

04:16:36   21   over the weekend it was about $19 a share.        Does that sound

04:16:40   22   about right?

04:16:41   23    A    Sounds about right.

04:16:42   24    Q    And if my math is correct, your Amarin stock is currently

04:16:46   25   valued at about eight and-a-half million dollars; is that
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 259 of 350
                                                                                    259



04:16:49    1   right?

04:16:49    2    A    I haven't done the math, but if you have, that might be

04:16:53    3   the approximate value at this point in time.

04:16:56    4    Q    Do you have a general understanding about the value of

04:16:59    5   your Amarin stock?

04:17:00    6    A    It's not -- I'm focused on taking care of my R&D

04:17:04    7   responsibilities.     I've learned through my years in the

04:17:06    8   industry that this is a standard mix of compensation, and I

04:17:11    9   don't focus on it too much.

04:17:13   10    Q    Okay.    But it's somewhere in the neighborhood of 8 to

04:17:17   11   $10 million, correct?

04:17:18   12    A    Subject to whatever taxes, et cetera.       So there are other

04:17:22   13   considerations that would diminish that number.

04:17:26   14    Q    And you understand that the outcome of this litigation

04:17:30   15   could dramatically affect the stock price, right?

04:17:34   16    A    Over the eight years of my employment with Amarin there

04:17:37   17   have been many milestones or occurrences that could impact the

04:17:42   18   stock, so, again, I'm not focused on that.

04:17:45   19    Q    Okay.    But it's safe to say, sir, that you have a very

04:17:48   20   large financial interest in the outcome of this litigation?

04:17:53   21    A    I have a financial stake in Amarin.

04:17:58   22    Q    And --

04:17:59   23    A    Yes, I do.

04:17:59   24    Q    And that financial stake can turn on this litigation,

04:18:04   25   correct?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 260 of 350
                                                                                     260



04:18:04    1    A    Turn?   I don't know what is meant by the --

04:18:07    2    Q    Sir, do you have a general understanding that if you lose

04:18:11    3   this case, and the generics get on the market within the next

04:18:15    4   couple of months, that Amarin's stock may decrease

04:18:17    5   significantly?

04:18:18    6    A    I have an understanding that there are things that can

04:18:22    7   impact Amarin's business, and I'm focused on playing my role

04:18:25    8   in that business.

04:18:26    9    Q    Fair enough, but you certainly have a financial interest

04:18:29   10   in the case, correct?

04:18:30   11    A    By virtue of owning stock in Amarin, yes, I have a

04:18:34   12   financial interest in this case and any other business that

04:18:37   13   Amarin conducts.

04:18:38   14                    MR. KLEIN:   Okay.   No further questions, Your

04:18:38   15   Honor.

04:18:44   16                    THE COURT:   Are you moving to admit any of the

04:18:46   17   exhibits you referenced?

04:18:47   18                    MR. KLEIN:   Yes.    Thank you.   Thank you, Your

04:18:50   19   Honor.

04:18:50   20                    Yes, we move DX 1809, 1558 -- these are all DX

04:18:55   21   numbers.

04:18:55   22                    THE COURT:   I'm sorry, so this is why I was

04:18:57   23   concerned earlier when you said you wanted to -- because now I

04:19:00   24   have to make sure that whatever exhibits you're referencing

04:19:03   25   you did reference.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 261 of 350
                                                                                    261



04:19:05    1                   Are you about to read a list of exhibits that

04:19:07    2   you referenced?

04:19:08    3                   MR. KLEIN:    Yes.    These are the exhibits I

04:19:10    4   referenced in the testimony.

04:19:11    5                   THE COURT:    Give me one -- I'll let you read it,

04:19:14    6   but I think I need to verify my notes unless there's no

04:19:18    7   objection before I rule.      But why don't you read your exhibits

04:19:22    8   slowly so Miss Clerk can take notes as to what exhibits have

04:19:26    9   been identified.

04:19:27   10                   MR. KLEIN:    Okay.   DX 1809 -- and, again, these

04:19:28   11   are all DX 1809 numbers, 1558, 1800, 1809, 1814, 1816, 1829,

04:19:42   12   1836, 1837, 1838, 2104, 2226, 2235, 2241, 2247, 2248, 2250,

04:20:04   13   2252, 2255, 2267, and 2299.

04:20:12   14                   And we also --

04:20:15   15                   THE COURT:    2299 was a demonstrative that you

04:20:18   16   didn't even ask any question on?       Is this the one where you

04:20:21   17   had the two charts.     Are you seeking to admit that

04:20:23   18   demonstrative exhibit?

04:20:25   19                   MR. KLEIN:    Yes, I did ask questions about

04:20:27   20   that --

04:20:27   21                   THE COURT:    Well, you started to ask questions,

04:20:29   22   then you referred to the copies of the patents that are

04:20:32   23   attached as Exhibit DX 2250, and I don't recall you going back

04:20:36   24   to 2299.

04:20:39   25                   MR. KLEIN:    That summary exhibit was a summary
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 262 of 350
                                                                                    262



04:20:41    1   exhibit of that document.

04:20:42    2                    THE COURT:   All right.    So keep reading I'll see

04:20:44    3   if there's any objection.      So 2299?

04:20:47    4                    MR. KLEIN:   And 2250.

04:20:53    5                    THE COURT:   All right.    Ms. Keane, do you have

04:20:56    6   any objection?

04:20:58    7                    MS. KEANE:   Yes, Your Honor.

04:20:58    8                    So, first of all, DX 2250, I don't think we saw

04:21:04    9   that during the examination.

04:21:06   10                    THE COURT:   I'm sorry, which one?

04:21:09   11                    MS. KEANE:   DX 2250.

04:21:11   12                    THE COURT:   What is your -- you said you

04:21:13   13   would -- didn't see that exhibit referenced?

04:21:16   14                    MS. KEANE:   Not during this examination, no.

04:21:26   15                    THE COURT:   I thought 2250 was a patent.

04:21:29   16                    MR. KLEIN:   I think 2250 is this --

04:21:33   17                    THE COURT:   It was referenced right around the

04:21:37   18   time --

04:21:37   19                    MR. KLEIN:   This summary --

04:21:38   20                    THE COURT:   Hang on, let's not talk over each

04:21:40   21   other.    It's the end of the day, I don't want to make it too

04:21:44   22   difficult for our court reporter.

04:21:45   23                    2250 was referenced around the same time that

04:21:48   24   2299 was offered.

04:21:50   25                    MR. KLEIN:   Correct, they're related.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 263 of 350
                                                                                    263



04:21:51    1                   THE COURT:    That's a copy of all the patents.

04:21:54    2                   MR. KLEIN:    2250 is the patent information that

04:21:58    3   forms the basis for the summary exhibit which is 2299.

04:22:02    4                   THE COURT:    So, Ms. Keane, what's your objection

04:22:04    5   to 2250?

04:22:05    6                   MS. KEANE:    So, yes, Your Honor, DX 2250 was not

04:22:09    7   in the witness binder so it's not shown to the witness, and

04:22:12    8   there's no foundation with this witness to admit that into

04:22:15    9   evidence.

04:22:15   10                   MR. KLEIN:    I do think a foundation was

04:22:18   11   established that the witness is actually in charge, ultimately

04:22:21   12   in charge of filing these forms.

04:22:23   13                   MS. KEANE:    And then he pointed out that he does

04:22:25   14   not have experience or he's not specifically involved with the

04:22:28   15   listing decisions.

04:22:29   16                   MR. KLEIN:    Well, right.    People who report to

04:22:31   17   him filed the forms, but he's the person responsible for them.

04:22:37   18                   THE COURT:    Give me one moment.     Other than

04:22:39   19   2250, do you have any objection to any other exhibits?

04:22:42   20                   MS. KEANE:    Yes, we also have objection to

04:22:45   21   DX 2299 which defendants purport to be a summary exhibit.

04:22:50   22   Again, there is no foundation with this witness to actually

04:22:54   23   confirm the accuracy of this exhibit or to admit it.

04:23:01   24                   THE COURT:    Any other objection to any other

04:23:04   25   exhibits?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 264 of 350
                                                                                    264



04:23:11    1                   MS. KEANE:    No, Your Honor.    I don't believe so.

04:23:15    2                   THE COURT:    All right.    So give me one moment,

04:23:18    3   please.

04:23:23    4                   Thank you, Ms. Keane.      I realize I've been

04:23:26    5   mispronouncing your name.      I apologize.    You need to correct

04:23:30    6   me when I'm wrong.

04:23:31    7                   All right.    So I'll rule on Exhibit 2299 in a

04:23:38    8   moment, but given that there's an objection to DX 2250, and I

04:23:43    9   don't recall any question to lay a foundation for admission of

04:23:47   10   that exhibit, I'm going to give Mr. Klein the opportunity to

04:23:50   11   do so.

04:23:52   12                   And I'm warning counsel going forward we're

04:23:55   13   proceeding in terms of offering the exhibit each time so that

04:23:59   14   we don't run into this issue.        Why don't you ask Dr. Ketchum

04:24:04   15   about 2250.

04:24:06   16                   MR. KLEIN:    Mr. Gross, can you put on DX 2250,

04:24:10   17   please.

04:24:10   18   BY MR. KLEIN:

04:24:11   19    Q    Dr. Ketchum, do you recognize this document?

04:24:13   20    A    Is it a single page document?

04:24:17   21    Q    No.   In fact, may I approach, Your Honor?       I'll give the

04:24:20   22   witness a copy.

04:24:21   23                   THE COURT:    Yes.

04:24:46   24                   THE WITNESS:    So the role of my group is to make

04:24:51   25   the submission of the collated information.         We don't prepare
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 265 of 350
                                                                                    265



04:24:56    1   the underlying documents, we verify --

04:24:59    2                   THE COURT:    Dr. Ketchum -- Mr. Klein, please

04:25:01    3   repeat your question, and that was, I thought, whether he

04:25:04    4   recognized Exhibit 2250.

04:25:06    5                   MR. KLEIN:    Correct.

04:25:07    6                   THE WITNESS:    I recognize that -- the document.

04:25:11    7   BY MR. KLEIN:

04:25:12    8    Q    You were in charge of making sure that document was filed

04:25:15    9   with the FDA?

04:25:16   10    A    Yes, we had to push the button to FDA.

04:25:21   11                   MR. KLEIN:    Okay?

04:25:23   12                   MS. KEANE:    No, we don't object.

04:25:25   13                   THE COURT:    I'm sorry, are you withdrawing your

04:25:28   14   objection?

04:25:28   15                   MS. KEANE:    Yes, Your Honor.

04:25:29   16                   THE COURT:    All right.    So the only objection

04:25:31   17   left would be to the demonstrative Exhibit 2299.

04:25:34   18                   MR. KLEIN:    Right.

04:25:37   19                   THE COURT:    Is that right?

04:25:38   20                   MS. KEANE:    Yes, Your Honor, that's correct.

04:25:40   21                   Subject to -- we just need to double check the

04:25:42   22   list of exhibits, but I'm pretty sure otherwise that taking

04:25:46   23   Mr. Klein's representation that the other exhibits were

04:25:49   24   actually addressed during the questioning, then, yes, DX 2299.

04:25:55   25                   THE COURT:    Would you show Exhibit 2299 again,
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 266 of 350
                                                                                    266



04:25:58    1   the demonstrative exhibit.

04:26:02    2                   So they're just comparing the patent numbers; is

04:26:05    3   that right?

04:26:06    4                   MR. KLEIN:    Correct.   It's comparing the --

04:26:09    5   well, the patent information that's submitted to the FDA also

04:26:13    6   references indications and portions of the label, and this

04:26:17    7   summary exhibit was designed to prevent going through every

04:26:22    8   single one of those forms.      I think each form is four pages or

04:26:27    9   so, and there might be a dozen of the forms.

04:26:32   10                   And so I don't think there was objection that

04:26:34   11   the summary exhibit was inaccurate, it was more of a

04:26:36   12   foundation objection, if I understood it.

04:26:39   13                   THE COURT:    Ms. Keane, do you want to repeat

04:26:41   14   your objection?

04:26:42   15                   MS. KEANE:    Sure.

04:26:42   16                   THE COURT:    I thought there was some objection

04:26:45   17   to the accuracy to 2299.

04:26:47   18                   MS. KEANE:    The objection was, one, as to

04:26:50   19   foundation and, two, we have not confirmed the accuracy at

04:26:54   20   this point.    And so, given that there's no foundation, we

04:26:54   21   don't think it should be admitted.

04:26:57   22                   MR. KLEIN:    Well, but --

04:26:57   23                   THE COURT:    I thought the foundation was based

04:26:59   24   on DX 2250.

04:27:01   25                   MS. KEANE:    Well, that's Mr. Klein's
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 267 of 350
                                                                                    267



04:27:03    1   representation, but there's no foundation with Dr. Ketchum

04:27:06    2   with respect to DX 2299.

04:27:09    3                   THE COURT:    And, Mr. Klein, that is consistent

04:27:11    4   with my recollection.     You showed the exhibit, then you moved

04:27:15    5   on to DX 2250, and I don't recall there was any question about

04:27:21    6   2299.

04:27:22    7                   I'm going to permit you the opportunity to do

04:27:24    8   that, and then I think I have a proposed solution.         Do you

04:27:27    9   want to ask questions about 2299?

04:27:29   10                   MR. KLEIN:    I think the witness said that he

04:27:31   11   could not verify it on the stand.

04:27:35   12                   THE COURT:    So isn't that a basis not to admit

04:27:38   13   2299?

04:27:39   14                   MR. KLEIN:    Well, it's still a summary exhibit,

04:27:41   15   and if the information is accurate, I think it still can be

04:27:44   16   admitted into evidence based on the underlying information as

04:27:48   17   long as counsel confirms its accuracy.        I think that would be

04:27:52   18   convenient for the Court.

04:27:52   19                   THE COURT:    It is a demonstrative exhibit so

04:27:55   20   it's not admitted as other exhibits.

04:27:59   21                   I'm going to defer ruling on the objection to

04:28:02   22   DX 2299.    I'm going to give Ms. Keane the opportunity to

04:28:07   23   review that exhibit to see if you have any objection.

04:28:10   24                   If it's a simple summary, I don't see that it's

04:28:13   25   objectionable as long as it accurate.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 268 of 350
                                                                                    268



04:28:16    1                   So I'm going to give plaintiff's counsel the

04:28:18    2   opportunity to verify the accuracy of the information.          Once

04:28:21    3   you represent to me it's accurate, then I'll just tell you

04:28:24    4   what I'm going to do with the exhibit.

04:28:26    5                   Other than that, the remaining exhibits that

04:28:28    6   were identified are admitted, so other than Exhibit 22999.

04:19:31    7                           (Defendants'     Exhibits 1558, 1800, 1809,
04:19:36                                 1814, 1816,     1829, 1836, 1837, 1838,
04:19:50    8                            2104, 2226,     2235, 2241, 2247, 2248,
04:20:03                                 2250, 2252,     2255, 2267 received in
04:28:37    9                            evidence.)

04:28:37   10                   MS. KEANE:    Okay.

04:28:44   11                   THE COURT:    I have one other concern, Mr. Klein,

04:28:46   12   and that is -- I know when we started you started on the

04:28:49   13   cross-examination, you offered to give me a copy of your

04:28:52   14   demonstrative exhibits.

04:28:54   15                   MR. KLEIN:    Yes.

04:28:54   16                   THE COURT:    And I declined.    So here's my

04:28:57   17   concern because there were times when you referenced the

04:29:00   18   exhibit and you referenced the DDX number --

04:29:03   19                   MR. KLEIN:    Correct.

04:29:04   20                   THE COURT:    -- without referencing the actual

04:29:06   21   page number of the exhibit.

04:29:08   22                   So if I don't include your demonstrative, I'm

04:29:12   23   concerned the record may mot be entirely clear what you're

04:29:16   24   referring to because you didn't identify the page number.

04:29:19   25                   MR. KLEIN:    I tried to do that, but I certainly
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 269 of 350
                                                                                     269



04:29:21    1   may have missed a couple.

04:29:22    2                   THE COURT:    I think there were times when you

04:29:24    3   didn't, and I ignored it, because I have the actual exhibit

04:29:27    4   and I was able to find the information.

04:29:29    5                   But as -- towards the end of the

04:29:32    6   cross-examination I was thinking I would be concerned that for

04:29:36    7   appellate purposes, I want to make sure the record is clear as

04:29:40    8   to what you're referring to.

04:29:41    9                   So one option is to take your demonstrative and

04:29:46   10   attach it as an exhibit to the minutes of today's trial so

04:29:51   11   it's just there in case there's any question about what page

04:29:56   12   you were referring to.

04:29:57   13                   And since all the exhibits are admitted, I don't

04:29:59   14   know if plaintiff would have any objection to that proposed

04:30:03   15   solution.    If you want to think about it, I'll allow you to do

04:30:07   16   that as well.

04:30:08   17                   MS. KEANE:    Yes, Your Honor.     Could we take a

04:30:10   18   moment to confer?

04:30:11   19                   THE COURT:    So I just need to find a way to have

04:30:14   20   a record of what DDX 2.63, for example, means.         And so you

04:30:23   21   don't have to decide this today, you can tell me this in the

04:30:25   22   morning, and I'll find a way to resolve it so I have some

04:30:28   23   record of what Mr. Klein was referring to.

04:30:31   24                   MS. KEANE:    Okay.   Thank you.

04:30:32   25                   MR. KLEIN:    Thank you.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 270 of 350
                                                                                    270



04:30:32    1                      THE COURT:   Thank you.

04:30:54    2                      I'm sorry, one more clarification, Mr. Klein.

04:31:06    3   You offered DX 2297 also as demonstrative; is that right?

04:31:11    4                      MR. KLEIN:   2297.   I don't think so.

04:31:18    5                      THE CLERK:   Also 2287.

04:31:24    6                      THE COURT:   I thought you said offered as

04:31:26    7   demonstrative, I can't remember.

04:31:27    8                      MR. KLEIN:   These were really for

04:31:29    9   identification.      I think the information got in through the

04:31:31   10   testimony.      These documents we're not moving into evidence.

04:31:34   11                      THE COURT:   Thank you.

04:31:57   12                      MS. KEANE:   Your Honor, may I proceed?

04:31:58   13                      THE COURT:   Yes.

04:31:58   14                             REDIRECT EXAMINATION

04:31:58   15   BY MS. KEANE:

04:31:59   16    Q     Dr. Ketchum, I just have some follow-up questions for

04:32:03   17   you.   I may jump around a bit so we'll cover a couple of

04:32:07   18   different topics.

04:32:08   19                  One of the things that you talked about with

04:32:13   20   Mr. Klein was the JELIS study?

04:32:16   21    A     Yes.

04:32:16   22    Q     Okay.    The patients in the JELIS study, the publication

04:32:24   23   that is -- the JELIS publication is Yokoyama; is that right?

04:32:26   24    A     Yes.

04:32:27   25    Q     And the patients in Yokoyama are patients with
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 271 of 350
                                                                                    271



04:32:31    1   hypercholesterolemia?

04:32:36    2    A    Yes, high total cholesterol.

04:32:39    3    Q    And how does it the patient population in Yokoyama

04:32:44    4   compared to the patient population in Amarin's REDUCE-IT

04:32:49    5   study?

04:32:49    6    A    It's very different.     So their primary lipid abnormality

04:32:55    7   is total cholesterol, whereas in REDUCE-IT -- and actually the

04:33:00    8   patients in JELIS were put on a statin when they started the

04:33:05    9   study.

04:33:06   10               So in REDUCE-IT, we're talking about patients who

04:33:09   11   are already on a statin for controlling their bad cholesterol

04:33:14   12   and who had elevated triglycerides as another lipid

04:33:17   13   abnormality.

04:33:19   14    Q    And did Yokoyama include patients with severe

04:33:25   15   hypertriglyceridemia?

04:33:26   16    A    No, it did not.

04:33:28   17    Q    And did the REDUCE-IT study demonstrate cardiovascular

04:33:35   18   benefits in patients with severe hypertriglyceridemia?

04:33:38   19    A    Yes, it did, in patients from all triglyceride levels.

04:33:43   20    Q    And that the finding in the REDUCE-IT study with respect

04:33:49   21   to severe hypertriglyceridemia, that's reflected in Amarin's

04:33:52   22   updated or revised labeling?

04:33:55   23    A    Yes, based on the triglyceride levels in the approved

04:34:00   24   indication.

04:34:02   25    Q    And on the topic of JELIS, you also discussed JELIS with
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 272 of 350
                                                                                    272



04:34:16    1   Mr. Klein in the context of FDA's rescission of the ANCHOR

04:34:25    2   SPA, do you recall that?

04:34:26    3    A    Yes, I do.

04:34:27    4    Q    And during that discussion you referenced blood levels,

04:34:30    5   EPA blood levels, I believe?

04:34:33    6    A    Yes, plasma levels of EPA.

04:34:36    7    Q    And that was a comparison of blood levels from patients

04:34:43    8   who participated in the JELIS study versus patients in the

04:34:46    9   Amarin studies; is that right?

04:34:48   10    A    Yes, a so-called cross study comparison, meaning we

04:34:52   11   didn't have access to the samples from JELIS so we had to

04:34:56   12   compare to their published information.

04:34:59   13    Q    And where -- where was the information that Amarin had to

04:35:03   14   compare that -- those blood levels, where did that come from?

04:35:07   15    A    It came from a follow-on publication from the JELIS study

04:35:12   16   group.

04:35:12   17    Q    And how about the blood levels with respect to Amarin

04:35:16   18   studies, where did that come from?

04:35:19   19    A    It came from an Amarin directed publication.

04:35:22   20    Q    Were there particular Amarin studies that were underlying

04:35:25   21   that information?

04:35:26   22    A    Both MARINE and ANCHOR.

04:35:31   23    Q    And the published data that you referred to with the

04:35:35   24   blood levels from the JELIS study, do you recall when that

04:35:40   25   information was made available, when it was published?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 273 of 350
                                                                                    273



04:35:43    1    A    Some years after the Yokoyama publication.        I do not

04:35:48    2   remember the precise date.

04:35:50    3    Q    Another topic that you discussed with Mr. Klein was the

04:36:21    4   Mori reference, do you recall that?

04:36:23    5    A    Yes.

04:36:25    6                    MS. KEANE:    And if we could take a look at --

04:36:30    7   we'll use -- I believe it's Defendants' Exhibit Number 1538,

04:36:39    8   and if we could turn to page ending n 006.

04:36:48    9                   And, Mr. Brooks, could you pull up the second

04:36:51   10   column on page -- I think it's 006.       Actually, I think it's --

04:37:10   11   this should be -- is this DX 1538?       Okay.   If we could go to

04:37:18   12   page 6.    And then if we can pull up the full paragraph in the

04:37:29   13   second column starting "although."

04:37:29   14   BY MS. KEANE:

04:37:35   15    Q    And the statement there in -- on page 6 states that,

04:37:39   16   "Although the LDL-C" -- or,

04:37:42   17                   "Although the LDL-cholesterol concentration

04:37:45   18         increased after EPA and DHA intakes, the increase was

04:37:49   19         significant only after DHA."

04:37:51   20                    Do you see that?

04:37:51   21    A    Yes, I see those words.

04:37:53   22    Q    And so it's the case that in Mori the LDL-C levels

04:37:59   23   increased after the administration of EPA as well?

04:38:05   24    A    It increased, yes.      It increased after taking both EPA

04:38:13   25   and DHA.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 274 of 350
                                                                                    274



04:38:14    1    Q      If we could take a look at Table 2 on page 4, and Table

04:38:27    2   2, the third row down refers to LDL cholesterol.         Do you see

04:38:34    3   That?

04:38:34    4    A      Yes, I do.

04:38:34    5    Q      In this row, is that reporting the data on LDL

04:38:39    6   cholesterol?

04:38:40    7    A      Yes.

04:38:41    8    Q      And that includes the data from the placebo EPA and DHA

04:38:46    9   as well?

04:38:47   10    A      Yes.

04:38:47   11    Q      And, again, that shows an increase in LDL-C after

04:38:52   12   administration of EPA?

04:38:54   13    A      Yes.   In the far right-hand column it shows increases in

04:38:58   14   both EPA and DHA.

04:39:00   15    Q      If you see at the top of Table 2, the reference refers

04:39:06   16   to -- under the EPA heading, there's an N of 19?         Do you see

04:39:12   17   that?

04:39:12   18    A      Yes.

04:39:15   19    Q      What does that N of 19 refer to?

04:39:15   20    A      That's 19 samples or patients in that treatment group.

04:39:20   21    Q      And how many patients were in the DHA treatment group?

04:39:24   22    A      Seventeen.

04:39:25   23    Q      And how -- do you consider the sizes of the -- the sample

04:39:37   24   sizes in the study to be large samples?

04:39:40   25    A      No, they're small.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 275 of 350
                                                                                    275



04:39:43    1    Q    In addition, I think when you discussing the Mori

04:39:47    2   article, so DX 1539, with Mr. Klein, there was more

04:39:53    3   information that you wanted to convey about the Mori article

04:39:56    4   in response to one of his questions?

04:39:58    5    A    Within the author's conclusions at the end of the article

04:40:03    6   in the last paragraph.

04:40:05    7    Q    Are you referring to page -- the page ending in 8?

04:40:09    8    A    The page ending in 8.

04:40:15    9    Q    And what is it that you were referring to?

04:40:18   10    A    I'm referring to the entire paragraph that's trying to

04:40:23   11   sum up the author's findings in this study, that they suggest

04:40:27   12   that despite an increase in LDL cholesterol after DHA

04:40:34   13   supplementation, that it may represent a more favorable lipid

04:40:39   14   profile than that seen after EPA supplementation.         So, if

04:40:48   15   anything, it was pointing to DHA rather than EPA.

04:40:52   16    Q    And when you say you're referring to the authors --

04:40:55   17    A    The authors, Mori, et al.

04:41:10   18    Q    Do you recall you were also --

04:41:12   19                   MS. KEANE:    Mr. Brooks, you can take down the

04:41:13   20   screen, thank you.

04:41:13   21   BY MS. KEANE:

04:41:15   22    Q    Do you recall that you were also shown a number of -- or

04:41:18   23   a few internal documents from Amarin from the 2008 time

04:41:22   24   period?

04:41:22   25    A    Yes.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 276 of 350
                                                                                    276



04:41:23    1    Q    And specifically, those were Defendants' Exhibits 1814

04:41:30    2   and 1829?

04:41:31    3    A    Yes.

04:41:32    4    Q    And there were no authors listed on the documents that

04:41:38    5   you reviewed; is that right?

04:41:39    6    A    That's correct.

04:41:41    7    Q    And I think you discussed with Mr. Klein that your

04:41:48    8   understanding is the documents were from the 2008 time frame;

04:41:52    9   is that right?

04:41:53   10    A    Yes.

04:41:53   11    Q    How large of a company was Amarin back in 2008?

04:41:59   12    A    It was maybe marginally beyond a dozen employees at that

04:42:06   13   stage.

04:42:06   14    Q    So it was a small company?

04:42:08   15    A    Very small company.

04:42:09   16    Q    And, to your knowledge, did the individuals who are named

04:42:15   17   as inventors on the patents, would they, you know, regularly

04:42:20   18   communicate with their colleagues?

04:42:22   19    A    Yes, they would.

04:42:23   20                    MR. KLEIN:   Objection, foundation.     I think the

04:42:26   21   question is directed to the 2008 time frame which was four

04:42:30   22   years before Dr. Ketchum joined the company.

04:42:34   23                    THE COURT:   Would you lay some additional --

04:42:37   24   clarify the time frame of your question.

04:42:39   25                    MS. KEANE:   Sure, and I'll rephrase the
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 277 of 350
                                                                                    277



04:42:41    1   question.

04:42:41    2   BY MS. KEANE:

04:42:42    3    Q    Based on the documents, is there any indication that

04:42:46    4   other employees at Amarin were not also involved in the

04:42:51    5   discussions that are reflected in those documents?

04:42:55    6                   MR. KLEIN:    Objection.    Calls for speculation.

04:42:56    7                   MS. KEANE:    Your Honor, Mr. Klein just crossed

04:42:58    8   him on these exhibits extensively and asked him a lot of

04:43:03    9   information about these documents.

04:43:05   10                   To the extent -- to the extent that Dr. Ketchum

04:43:09   11   has foundation to speak to the documents in 2008 on cross, I

04:43:13   12   think he has foundation to respond to that now.

04:43:15   13                   THE COURT:    But the objection is that you're

04:43:17   14   asking for information that's outside of these documents.

04:43:20   15   You're asking whether he knew that the staff at the time in

04:43:23   16   2008 before he joined Amarin were conferring.

04:43:26   17                   MS. KEANE:    No, my question, Your Honor, right

04:43:28   18   now, is based on the documents.

04:43:30   19                   THE COURT:    Based on what documents?

04:43:32   20                   MS. KEANE:    So if we could turn to Defendants'

04:43:36   21   Exhibits 1814, and, on the other hand, I can clarify my

04:43:49   22   questions if --

04:43:50   23                   THE COURT:    Yes.

04:43:50   24   BY MS. KEANE:

04:43:51   25    Q    Okay.   So, Dr. Ketchum, Defendants' Exhibit 1814 is a
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 278 of 350
                                                                                      278



04:43:56    1   document that you discussed earlier with Mr. Klein.          Do you

04:43:59    2   recall that?

04:43:59    3    A    Yes.

04:44:00    4    Q    And one of the things that you discussed with Mr. Klein

04:44:05    5   are various statements that are contained within the document?

04:44:07    6    A    Yes.

04:44:08    7    Q    Can you tell from the document who the author of the

04:44:13    8   document was?

04:44:14    9    A    No.    The author's name is not listed on the front of the

04:44:19   10   document.

04:44:19   11    Q    Okay.    And, to your knowledge, as of the date that is

04:44:24   12   listed on the document, March 10th, 2008, were any of the

04:44:29   13   inventors of the patents employees of Amarin?

04:44:32   14    A    Yes, they were.

04:44:33   15    Q    And at that point in time the size of the company was

04:44:38   16   small, approximately 12 people?

04:44:40   17    A    Yes.

04:44:40   18    Q    So as far as -- with respect to the documents, do you

04:44:59   19   have -- is it your understanding that it's possible that the

04:45:01   20   documents reflect the views of multiple people?

04:45:03   21                    MR. KLEIN:   Objection.    Calls for speculation.

04:45:05   22   Lack of foundation.

04:45:07   23                    THE COURT:   So the -- would you state your

04:45:09   24   question again?

04:45:10   25                    MS. KEANE:   Sure.   The question is based on the
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 279 of 350
                                                                                    279



04:45:12    1   document, do you have -- based on the document, is it possible

04:45:15    2   the document reflects the views of multiple people.

04:45:18    3                    THE COURT:   And the objection is speculation; is

04:45:19    4   that right?

04:45:20    5                    MR. KLEIN:   Yes.

04:45:20    6                    THE COURT:   The objection is sustained.

04:45:39    7                    And I would explain that because the question

04:45:41    8   asked for whether -- a possibility as to whether it reflected

04:45:44    9   views of multiple people, that is a quintessential speculation

04:45:51   10   question.

04:45:53   11   BY MS. KEANE:

04:46:25   12    Q    If we could turn to Defendants' Exhibit -- I'm going to

04:46:39   13   go back to -- actually, if we could stay with Exhibit 1814.

04:46:48   14               Is there anything in the document that indicates

04:46:52   15   that the contents of any of the statements in the document did

04:46:57   16   not come from any of the 12 people employed by Amarin at that

04:47:03   17   point in time?

04:47:07   18    A    No.

04:47:08   19    Q    If we could go to --

04:47:11   20                    MS. KEANE:   I don't know if it's possible to go

04:47:14   21   to defendants' demonstrative 2.19.       Would it be possible to

04:47:19   22   pull that up?

04:47:30   23                    COMPUTER TECHNICIAN:    Switch back over?

04:47:32   24                    MS. KEANE:   Two point --

04:47:34   25                    THE COURT:   I'm sorry, what's the number again?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 280 of 350
                                                                                    280



04:47:36    1                     MS. KEANE:   This is from defendants'

04:47:37    2   demonstratives, it's DDX 2.19, and the document that is

04:47:44    3   referred to in the document is Defendants' Exhibit 1814.

04:47:56    4   We're going to take a look at page 10.

04:47:56    5   BY MS. KEANE:

04:48:02    6    Q    Dr. Ketchum, do you recall that you discussed the

04:48:04    7   highlighted statement on page 10 with Mr. Klein?

04:48:07    8    A    Yes.

04:48:08    9    Q    Okay.    You state that,

04:48:10   10                    "Amarin does not believe there is a need to

04:48:13   11         conduct any additional pharmacokinetic drug

04:48:18   12         interaction or other studies."

04:48:21   13    A    Yes.

04:48:21   14    Q    And as of 2008, I believe you testified earlier that

04:48:27   15   Amarin had conducted its own CNS studies; is that right?

04:48:32   16    A    Yes.

04:48:33   17    Q    And so are the studies that are referenced on DX 1814 on

04:48:41   18   page 10, are those referring to internal Amarin studies?

04:48:48   19    A    Still in the context of the highlighted sentence?

04:48:53   20    Q    Yes.    Well, let me rephrase the question.

04:48:55   21                 At the time of this statement did Amarin have its

04:48:58   22   own pharmacokinetic and drug interaction studies?

04:49:03   23    A    Not in support of the indication for severe

04:49:06   24   hypertriglyceridemia.

04:49:06   25    Q    Did it have those studies with respect to CNS
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 281 of 350
                                                                                    281



04:49:10    1   indications?

04:49:11    2    A      It had some other clinical development information that

04:49:14    3   was required for the Huntington's disease submissions.

04:49:18    4    Q      And at that point in time Amarin had its own internal

04:49:22    5   data?

04:49:22    6    A      It had, certainly, internal data on a number of clinical

04:49:28    7   pharmacology studies, including dose range finding in some

04:49:35    8   other disease areas.

04:49:40    9                    MS. KEANE:   If we could turn to defendants'

04:49:43   10   demonstrative 2.56.     Would it be possible to pull up

04:50:12   11   defendants' -- oh, thank you very much.

04:50:12   12   BY MS. KEANE:

04:50:15   13    Q      And the document cited here is Defendants' Exhibit 1816

04:50:20   14   on page 85.    And do you recall, Dr. Ketchum, that during --

04:50:30   15   that you discussed with Mr. Klein the sentences that are

04:50:34   16   highlighted on the page?

04:50:37   17    A      Yes.

04:50:37   18    Q      And do you recall the date of this document?

04:50:43   19    A      The date of this document is June 16th, 2008.

04:50:48   20    Q      And I want to direct your attention to the sentence

04:50:52   21   that's not highlighted after the last sentence, the last

04:50:56   22   highlighted sentence on DDX 2.56, and you see there's a

04:51:01   23   statement there that says,

04:51:03   24                   "However, there have been no controlled

04:51:05   25           studies of highly purified ethyl-EPA in patients with
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 282 of 350
                                                                                    282



04:51:10    1          severe hypertriglyceridemia, the group must

04:51:11    2          susceptible to marked rises in LDL cholesterol

04:51:16    3          induced by Lovaza."

04:51:16    4    A     Yes.

04:51:17    5    Q     And that is information that Amarin provided to FDA in

04:51:23    6   the document that is DX 1816?

04:51:28    7    A     Yes, that's correct.

04:51:50    8    Q     Dr. Ketchum, one of the things that you -- you also

04:51:52    9   referenced Omacor during your testimony?

04:51:56   10    A     Yes.

04:51:57   11    Q     And Omacor is now known as Lovaza?

04:52:02   12    A     That's correct, in the United States.

04:52:04   13    Q     Is Lovaza approved as a fixed dose combination of EPA and

04:52:10   14   DHA?

04:52:10   15    A     It's approved as an omega-3 acid ethyl esters that

04:52:21   16   includes EPA and DHA is the predominant omega-3 species, yes.

04:52:21   17    Q     Well, and what does that mean that it includes other

04:52:27   18   omega three species?

04:52:28   19    A     It means that the two major peaks, if you look at this on

04:52:36   20   a particular instrument, are EPA and DHA, but that there are

04:52:40   21   other omega-3s and omega-6s that can be in that product.

04:52:48   22    Q     And when you were at -- you were at Reliant and then GSK

04:52:59   23   in the 2005-2008 time frame?

04:53:01   24    A     Yes, that's correct.

04:53:03   25    Q     And when you were at Reliant and GSK, what was your view
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 283 of 350
                                                                                    283



04:53:07    1   of purified EPA?

04:53:10    2    A    We were not --

04:53:12    3                    MR. KLEIN:   Objection.    This is going beyond the

04:53:14    4   scope of my cross.     I didn't say ask any questions along these

04:53:19    5   lines.

04:53:19    6                    MS. KEANE:   Your Honor, I think Mr. Klein asked

04:53:22    7   a number of questions about what was known about DHA and EPA

04:53:27    8   back in the time frame of 2008 in various different

04:53:27    9   references.

04:53:33   10                    MR. KLEIN:   I didn't ask any questions about his

04:53:35   11   work at GSK.

04:53:39   12                    MS. KEANE:   And, to be clear, I'm not asking

04:53:41   13   specifically for his work, I'm just asking for his

04:53:42   14   understanding.

04:53:43   15                    THE COURT:   You're saying that you get to ask

04:53:45   16   him about his time at Reliant because on cross-examination

04:53:49   17   there were questions about the 2008 time period?

04:53:52   18                    MS. KEANE:   I'm just trying to understand -- I'm

04:53:55   19   just trying to ask him for more information about what was

04:53:58   20   understood about purified EPA back in 2008 which is in

04:53:58   21   response to Mr. Klein's questions about what references

04:54:07   22   conveyed about EPA and DHA back in --

04:54:07   23                    MR. KLEIN:   That's also calling for expert

04:54:10   24   testimony then.     I was asking factual questions about what

04:54:13   25   documents say.    I didn't ask him for any expert testimony.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 284 of 350
                                                                                    284



04:54:17    1                     MS. KEANE:   Your Honor, I think Mr. Klein's

04:54:20    2   questioning, to be fair, went -- we gave him leeway with the

04:54:23    3   questions, but they went beyond questions just asking for

04:54:29    4   recitation of what's in the document.

04:54:30    5                     THE COURT:   Well, so on direct examination

04:54:34    6   Dr. Ketchum testified extensively about kind of what existed

04:54:38    7   before in terms of in the scientific community and in the drug

04:54:45    8   environment, what was available.

04:54:46    9                     But I don't recall that those questions were

04:54:48   10   asked on cross-examination, and certainly there were no

04:54:51   11   questions related to his time at other companies.

04:54:55   12                     So on that basis I sustain the objection unless

04:54:58   13   you have an another reason how you can ask him questions that

04:55:02   14   exceed the scope of the cross-examination.

04:55:05   15                     MS. KEANE:   Your Honor, I can -- I'll withdraw

04:55:08   16   the question and I'll ask a different question.

04:55:11   17   BY MS. KEANE:

04:55:27   18    Q    Dr. Ketchum, once you -- once you joined Amarin, did you

04:55:31   19   understand Amarin's views of the benefits of purified EPA to

04:55:37   20   differ than other views in the field?

04:55:43   21                     MR. KLEIN:   Objection to form.    I don't

04:55:44   22   understand the question.

04:55:46   23                     THE COURT:   Well --

04:55:47   24                     MS. KEANE:   I'll rephrase the question.

           25               ///
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 285 of 350
                                                                                    285



04:55:49    1   BY MS. KEANE:

04:55:50    2    Q    Dr. Ketchum, when you joined Amarin, what were Amarin's

04:55:54    3   views of purified EPA?

04:55:56    4    A    So Amarin had deeply-held beliefs and confidence in

04:56:03    5   progressing a program.      By that point in time, both the MARINE

04:56:08    6   and ANCHOR trial results had read out by the time I joined in

04:56:13    7   February of 2012.

04:56:16    8    Q    And since you have been at Amarin, is it your view that

04:56:25    9   Amarin's view of the clinical benefit the purified EPA are

04:56:30   10   different than those outside of Amarin?

04:56:31   11    A    Yes.

04:56:31   12                   THE COURT:    I'm sorry, you're asking for his

04:56:34   13   view as to what Amarin's view is?

04:56:36   14                   MS. KEANE:    I'm sorry, I'm asking for -- whether

04:56:39   15   you have an understanding as to Amarin's view compares to

04:56:44   16   others in the field.

04:56:45   17                   MR. KLEIN:    I have a number of objections,

04:56:48   18   foundation, speculation, hearsay.

04:56:51   19                   He was a 30(b)(6) witness which allows us to

04:56:54   20   question him on behalf of Amarin, but I don't think plaintiffs

04:56:59   21   can ask him to answer questions on behalf of Amarin generally.

04:57:04   22   If it includes hearsay, it's speculation.

04:57:08   23                   THE COURT:    Well, the question is whether he has

04:57:10   24   an understanding that Amarin has a different view than all the

04:57:14   25   views outside of Amarin?      Is that the gist of the question?
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 286 of 350
                                                                                    286



04:57:19    1                    MS. KEANE:   Yes.   My question is really how

04:57:22    2   Amarin's views differ than others that are in the field for --

04:57:27    3   others in the field.

04:57:28    4                    THE COURT:   But doesn't that require him to

04:57:31    5   identify all the views that are in the field as to what they

04:57:34    6   are before he compares them to Amarin?

04:57:37    7                    I agree.   I have a problem with the question

04:57:39    8   given it also seems to exceed the scope of this trial as well.

04:57:43    9                    I know that prior art -- there's a lot of

04:57:44   10   discussions about the prior arts, and so if you can ground it

04:57:47   11   in the studies that have been introduced, but then that will

04:57:49   12   be repetitive of what's already testified to.

04:57:54   13                    MS. KEANE:   Understood, Your Honor.     I'll

04:57:56   14   withdraw the question.

04:57:57   15   BY MS. KEANE:

04:58:15   16    Q    Dr. Ketchum, in light of Amarin's results with the

04:58:21   17   REDUCE-IT study, what are Amarin's -- since the REDUCE-IT

04:58:27   18   study has been completed, what is your view of the JELIS

04:58:32   19   study?

04:58:34   20    A    They have been kind of touched upon in some of the other

04:58:43   21   documents.    There's some limitations to the JELIS study.

04:58:47   22                I think one key difference between JELIS and

04:58:50   23   REDUCE-IT is, as I mentioned earlier, that shortly after the

04:58:55   24   New England Journal of Medicine publication of the REDUCE-IT

04:58:58   25   results, that there was this broad and rapid acceptance of the
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 287 of 350
                                                                                    287



04:59:04    1   REDUCE-IT results, in medical society guidelines, that even up

04:59:07    2   to that point in time that had never happened with the JELIS

04:59:11    3   study results.    So that's -- that would be my overarching

04:59:17    4   view.

04:59:54    5                    MS. KEANE:   Your Honor, I have no further

04:59:57    6   questions at this time.

04:59:58    7                    THE COURT:   Thank you.

05:00:02    8                    Mr. Klein, do you have any brief redirect?

05:00:05    9                    MR. KLEIN:   I do not.

05:00:05   10                    THE COURT:   I mean, recross, I'm sorry.

05:00:05   11                    MR. KLEIN:   I don't --

05:00:07   12                    THE COURT:   You do not either way, no redirect

05:00:09   13   or recross.

05:00:09   14                    MR. KLEIN:   Either one, yes.

05:00:10   15                    THE COURT:   All right.    Dr. Ketchum, you may be

05:00:12   16   excused.

05:00:14   17                    THE WITNESS:   Thank you.

05:00:14   18                           (The witness was excused.)

05:00:25   19                    THE COURT:   I know I indicated that each day we

05:00:27   20   would recess at 5:30.     For today, there was an evidentiary --

05:00:32   21   there was some issue with the exhibits that were identified

05:00:34   22   earlier.    I wonder if it would make sense for me to resolve

05:00:39   23   that objection instead of having Amarin call its next witness.

05:00:42   24   I don't know how long it would take to resolve that objection.

05:00:50   25                    MS. WHITT:   Thank you, Your Honor.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 288 of 350
                                                                                    288



05:00:59    1                   As I mentioned this morning, on Saturday night

05:01:01    2   we were served a new exhibit list that added 29 new exhibits.

05:01:06    3   As you know, we -- under your order regarding, trial we were

05:01:11    4   required to submit our final exhibit list on Monday,

05:01:15    5   January 6, and then we got these 48 hours before the beginning

05:01:20    6   of trial.

05:01:20    7                   We did not object to two because they were very

05:01:22    8   recently created documents so recently available.         It came up

05:01:27    9   during Mr. Klein's cross-examination, that was one the

05:01:31   10   documents on this list, so we're not objecting to those two

05:01:34   11   that were recently added, it's the remaining 27 on the list

05:01:37   12   that have been in defendants' possession for quite some time.

05:01:47   13                   THE COURT:    So the exhibit list that was filed

05:01:49   14   before trial ended at 2265, and earlier I admitted 2267 and --

05:01:56   15   well, 2299 I'm deferring ruling on.

05:02:00   16                   Are those the two exhibits that you reference

05:02:01   17   that there are is no objection to?

05:02:05   18                   MS. WHITT:    There's also a 2266 on the updated

05:02:07   19   exhibit list that we were served.       I think that that's not yet

05:02:12   20   on the version that the Court has.

05:02:14   21                   THE COURT:    My version ends at 2265, and I don't

05:02:18   22   recall hearing that 2266 was offered yet.

05:02:22   23                   MS. WHITT:    2266 is, like I said, is on the

05:02:24   24   version that the defendants' gave us on Saturday night, and

05:02:27   25   it's a new document that was created recently.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 289 of 350
                                                                                    289



05:02:30    1                   THE COURT:    I'm sorry.    So of the 29 new

05:02:34    2   exhibits that were added as of Saturday night, plaintiff does

05:02:38    3   not object to two of them which are what number again?

05:02:41    4                   MS. WHITT:    2266 and 2267.

05:02:45    5                   THE COURT:    Because they were new documents or

05:02:49    6   based on information recently produced or created?

05:02:54    7                   MS. WHITT:    Yeah, that's right.     They recently

05:02:56    8   became available.

05:02:57    9                   It's also my understanding from our meet and

05:03:00   10   confer last night that the defendants have withdrawn two of

05:03:03   11   these exhibits, but that leaves the 25 additional exhibits.

05:03:07   12                   THE COURT:    Let me hear from defendant as to the

05:03:09   13   reason for the late disclosure.

05:03:16   14                   MR. ROUNDS:    Your Honor, good afternoon.

05:03:20   15   Michael Rounds for the Dr. Reddy's defendants.

05:03:20   16                   As the Court knows, approximately 2,000 exhibits

05:03:24   17   have been marked by the parties in this case.

05:03:27   18                   These came up when my colleague Connie Huttner

05:03:30   19   and I were preparing for two of the experts that defendants

05:03:33   20   have in this case, specifically, Dr. Mason and Dr. Ismail.          We

05:03:38   21   discovered these documents as we were preparing for their

05:03:42   22   cross-examination.

05:03:43   23                   THE COURT:    Well, you discovered them, but they

05:03:45   24   have been produced --

05:03:47   25                   MR. ROUNDS:    That's true.    That's true.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 290 of 350
                                                                                    290



05:03:49    1                   THE COURT:    -- all along.

05:03:50    2                   MR. ROUNDS:    That's true.

05:03:51    3                   THE COURT:    So it hasn't been a recent discovery

05:03:53    4   technically.

05:03:54    5                   MR. ROUNDS:    No, no.   So we merely disclosed

05:03:57    6   them as exhibits to the other side.

05:03:59    7                   The real thing here, Your Honor, is there's no

05:04:02    8   prejudice.    These witnesses aren't going to testify for

05:04:05    9   another two weeks in all likelihood.

05:04:07   10                   So they know the exact exhibits that we've

05:04:10   11   identified for these experts.       There's no prejudice here

05:04:14   12   whatsoever.

05:04:15   13                   And I would point out --

05:04:16   14                   THE COURT:    Is the reason -- just because the

05:04:18   15   witnesses are not expected to testify in a couple of weeks

05:04:21   16   doesn't excuse the late disclosure.        There's a reason why I

05:04:26   17   have these orders about when exhibits are to be produced so

05:04:30   18   there's no surprise to the other side.

05:04:33   19                   So the defendants' reason for the late

05:04:35   20   disclosure is we realized we need these exhibits when we

05:04:39   21   started to prepare for the cross-examination of experts.

05:04:44   22                   MR. ROUNDS:    Yes, they were inadvertently not

05:04:47   23   included in the Pretrial Order in the exhibit list, that's

05:04:50   24   true.

05:04:50   25                   THE COURT:    All right.    Let me hear from the
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 291 of 350
                                                                                    291



05:04:52    1   plaintiff then given that that's the explanation as to why the

05:04:57    2   Court should exclude them.

05:04:58    3                   MR. ROUNDS:    Your Honor, one other point is that

05:05:00    4   these things happen during trial.       So, for example --

05:05:03    5                   THE COURT:    These things happen, but not 27 new

05:05:07    6   exhibits.

05:05:07    7                   MR. ROUNDS:    Well, so Dr. Nicholson, who they

05:05:10    8   have identified as an expert on the issue of commercial

05:05:13    9   success, he was not listed in the pretrial order as witness.

05:05:17   10   We didn't take issue with that.       We know about him.

05:05:20   11                   They know about these documents.       It's their

05:05:22   12   documents.    Of course, they know about them.       There's no

05:05:25   13   prejudice to allow us to use these in two weeks.

05:05:28   14                   THE COURT:    All right.    So all the documents

05:05:29   15   that -- so now I understand there's 27 new total, they don't

05:05:35   16   object to two of them, so 25 new exhibits, and you're saying

05:05:38   17   all these 25 exhibits are plaintiff's documents?

05:05:42   18                   MR. ROUNDS:    Yes, they are.    They're all Amarin

05:05:44   19   documents, they're e-mails and then some prior art.

05:05:47   20                   THE COURT:    All right.

05:05:53   21                   MS. WHITT:    It's true that they are Amarin

05:05:58   22   documents.    They were produced almost three years ago pursuant

05:06:03   23   to --

05:06:03   24                   THE COURT:    Which probably explains why they

05:06:06   25   hadn't thought to look at them.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 292 of 350
                                                                                    292



05:06:07    1                   So the real question is what would be the

05:06:10    2   prejudice to Amarin if I were to allow the late disclosure

05:06:16    3   documents to be used given that they're Amarin documents and

05:06:20    4   that, as Mr. Rounds represents, these witnesses are not

05:06:25    5   expected to testify until the second week of the trial?

05:06:29    6                   MS. WHITT:    I'm not sure that that's correct --

05:06:31    7   I don't know if that's correct.

05:06:33    8                   THE COURT:    Which part do you not know?

05:06:35    9                   MS. WHITT:    I don't know if it's correct that

05:06:38   10   they won't testify until two weeks from now.

05:06:40   11                   I will say that, you know, we have pretrial

05:06:43   12   exchanges to avoid these late disclosures and avoid the burden

05:06:48   13   of viewing of these exhibits and creating -- preserving

05:06:48   14   objections to them.

05:06:52   15                   We exchanged our initial exhibit list back in

05:06:54   16   November, on, I believe, November 11, under a stipulation

05:06:57   17   between the parties.     I think that's docket entry 280, and so

05:07:01   18   we had that agreement.      So we had that initial exchange.

05:07:05   19                   There have been numerous amendments to that

05:07:08   20   exhibit list between that November 11th date and January 6th,

05:07:12   21   and the point is there has to be a line somewhere to avoid the

05:07:18   22   burden of reviewing these exhibits and objecting to them and

05:07:22   23   meeting and conferring on them, and that seems to have passed.

05:07:28   24                   THE COURT:    I agree that there -- this is a

05:07:31   25   reason why there are deadlines that are set.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 293 of 350
                                                                                    293



05:07:33    1                   This is what I'm going to do.       I'm going to

05:07:36    2   require the defendants, for the 25 new exhibits that were

05:07:40    3   disclosed to which there's objection, to identify the witness

05:07:44    4   that you plan to use -- the witness for which you plan to

05:07:51    5   use the cross -- the witness you plan to cross-examine

05:07:56    6   those -- let me see if I can say this better.         It's end of the

05:07:58    7   day, I'm sorry.

05:07:59    8                   My plan is that you have to identify which

05:08:02    9   witnesses you plan to use these new documents for, and I would

05:08:05   10   like -- because they were not given to me, I don't know how

05:08:08   11   many pages are -- how many pages are involved in each of the

05:08:12   12   exhibits.

05:08:13   13                   Certainly, if each one -- one, the reason that I

05:08:17   14   would allow for them to be admitted or offered, anyways, is

05:08:23   15   the fact that they're Amarin's documents, but I also agree

05:08:27   16   that if these documents are extensive, I would be concerned

05:08:31   17   about counsel's ability to prepare these witnesses for trial.

05:08:35   18                   So for me to decide whether or not I'm going to

05:08:39   19   accept of lack of prejudice argument, I need to see the

05:08:42   20   documents, one.

05:08:44   21                   Two, to alleviate any argument that Amarin now

05:08:48   22   has less time to prepare for those documents to be offered,

05:08:52   23   I'm going to require that defendants' counsel identify the

05:08:56   24   witnesses they plan to use these documents for, and that

05:09:00   25   should be done by tomorrow, and then I would like to see the
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 294 of 350
                                                                                    294



05:09:03    1   documents tomorrow so hopefully at the end of the day I'll

05:09:07    2   have a ruling for you on the documents.

05:09:08    3                   Peggie will also tell you that whenever you

05:09:11    4   update the exhibit list you're supposed to file them on the

05:09:15    5   docket and give her and I a copy, and the reason I'm very

05:09:19    6   particular about how exhibits are offered is I am taking notes

05:09:24    7   so that I can check what exhibits have been admitted for the

05:09:28    8   record.   Peggie is doing the same thing.

05:09:31    9                   And earlier I noticed that there were some -- so

05:09:35   10   I'm juggling several lists here.       I'm looking at the

05:09:39   11   stipulated list of exhibits, I'm looking at the parties' list

05:09:42   12   of exhibits.    I've marked them so I can make sure I can

05:09:47   13   identify what's been admitted which is why I want to make sure

05:09:51   14   that this is kind of easy for me to do as well.

05:09:53   15                   So going forward, the exhibits will be offered

05:09:57   16   at the time they're introduced so I can mark them so I

05:09:59   17   decide -- so I can easily verify whether they've been

05:10:01   18   admitted.

05:10:02   19                   Is there anything else?      Did I sort of resolve

05:10:04   20   the issue with exhibits?

05:10:06   21                   MS. WHITT:    Yes, thank you, Your Honor.

05:10:07   22                   Since we have a little more time today, I

05:10:09   23   thought it might make sense to also offer the deposition

05:10:12   24   designations that plaintiffs want to offer at this point.

05:10:15   25                   So we have -- as Mr. Sipes mentioned this
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 295 of 350
                                                                                     295



05:10:17    1   morning, we have reached an agreement where we provide the

05:10:19    2   Court with the page and line number.        We have those on flash

05:10:23    3   drives for the Court, and then I just need to move in the

05:10:26    4   exhibits that are referenced in those page and line numbers.

05:10:30    5                   THE COURT:    And what are those exhibits?

05:10:35    6                   MS. WHITT:    Those exhibits are trial exhibits.

05:10:38    7   I'll go slow; 291, 292 --

05:10:39    8                   THE COURT:    I'm sorry, are these all plaintiffs'

05:10:41    9   exhibits?

05:10:43   10                   MS. WHITT:    Yes.

05:10:43   11                   THE COURT:    PX?

05:10:43   12                   MS. WHITT:    Yes.

05:10:43   13                   THE COURT:    All right.    I know that there's an

05:10:46   14   ending number but I don't remember what it is.         It would be

05:10:49   15   easier if I start out with -- so PX291?

05:10:53   16                   MS. WHITT:    Yes, 291, 292, 307, 294, 308, 273,

05:11:03   17   185, 186 --

05:11:07   18                   THE COURT:    So hang on.    Slow down just one

05:11:09   19   moment, I'm sorry.

05:11:11   20                   MS. WHITT:    My apologies.

05:11:11   21                   THE COURT:    My Surface doesn't react as fast as

05:11:15   22   your -- the speed at which you're talking.        So I ended at 308.

05:11:20   23                   MS. WHITT:    308, 273, 185, 186, 198, 196, 273,

05:11:40   24   193, 192, 195, 187, 188, 194, 274, 189, 190, 821, 815, 817,

05:12:08   25   818, 816, 813, 819, 814, 820, 812, 219, 21, 226, 227, 210,
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 296 of 350
                                                                                    296



05:12:36    1   216, 217, 219, 228, 208, 206, 207, 203, 479, 935, 753, 755,

05:13:07    2   757, 754, 479, 480, 474, 475, 472, 476, 469 and 470.

05:13:36    3                   That's it.

05:13:37    4                   THE COURT:    Any objection to those exhibits

05:13:40    5   being admitted?

05:13:41    6                   MR. KLEIN:    No objection.

05:13:42    7                   THE COURT:    All right.    Then the exhibits that

05:13:43    8   have been identified are admitted, and I will accept the flash

05:13:48    9   drive of the deposition testimony.

05:10:53   10                           (Plaintiffs' Exhibits 291, 292, 307, 294,
05:10:58                                 308, 273, 185, 186, 198, 196, 273, 193,
05:11:41   11                            192, 195, 187, 188, 194, 274, 189, 190,
05:12:01                                 821, 815, 817, 818, 816, 813, 819, 814,
05:12:18   12                            820, 812, 219, 21, 226, 227, 210, 216,
05:12:37                                 217, 219, 228, 208, 206, 207, 203, 479,
05:12:58   13                            935, 753, 755, 757, 754, 479, 480, 474,
05:13:20                                 475, 472, 476, 469 and 470 received in
05:13:50   14                            evidence.)

05:13:50   15                   MS. WHITT:    May I approach?

05:13:53   16                   THE COURT:    Thank you.

05:14:00   17                   MS. HUTTNER:    I'm sorry, Your Honor, just to be

05:14:01   18   clear the exhibit that was submitted is both the designations

05:14:04   19   and counterdesignations from the defendants.

05:14:07   20                   MS. WHITT:    That's correct.

05:14:08   21                   THE COURT:    I don't know, I just wrote down the

05:14:10   22   exhibit numbers.

05:14:11   23                   MS. WHITT:    That is correct.

05:14:12   24                   I believe that that flash drive -- because we

05:14:14   25   were intending -- we thought we might get to Dr. -- our next
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 297 of 350
                                                                                    297



05:14:17    1   witness' testimony, that flash drive also includes an

05:14:20    2   electronic version of his demonstrative slides so it will be

05:14:26    3   for the Court's convenience.        It also contains a copy of the

05:14:30    4   opening slides that were used by plaintiffs.

05:14:32    5                   THE COURT:    How is it identified on the flash

05:14:32    6   drive?

05:14:34    7                   MS. WHITT:    I believe it's identified by file

05:14:38    8   name, but I'll have to confirm.

05:14:40    9                   THE COURT:    Yes, because I'm going to have the

05:14:42   10   exhibits that we use tomorrow downloaded to my external hard

05:14:46   11   drive so I have access to them, so I just need to know what is

05:14:50   12   so that the Court's IT staff can do it for me.

05:14:54   13                   MS. WHITT:    Sure.    And if it's at all an

05:14:57   14   inconvenience, we can provide a different flash drive that

05:14:58   15   just has these deposition designations.        We were just trying

05:14:58   16   to --

05:14:59   17                   THE COURT:    They probably would prefer to have

05:15:01   18   it tonight as opposed to tomorrow.

05:15:05   19                   MS. WHITT:    Okay.    Thank you.

05:15:05   20                   THE CLERK:    Counsel, your flash drive has a

05:15:09   21   password to it?

05:15:10   22                   MS. WHITT:    Oh.

05:15:13   23                   THE COURT:    You should write it on the envelope.

05:15:17   24                   MS. WHITT:    The password is on the plastic that

05:15:19   25   the flash drive was in.
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 298 of 350
                                                                                     298



05:15:23    1                   THE CLERK:    This right here?

05:15:25    2                   MS. WHITT:    Yes, that' right.

05:15:25    3                   THE COURT:    All right.    Is there anything else I

05:15:27    4   need to address before we recess until tomorrow?

05:15:29    5                   Then we'll take earlier recess today.

05:15:32    6                   MR. SIPES:    Your Honor, I apologize.      We did

05:15:33    7   have one question we just wanted to confirm, which is, the

05:15:37    8   rule once a witness is sworn, as to whether or not the witness

05:15:40    9   can talk to counsel until they're sworn for cross or whether

05:15:45   10   or not the rule goes down as soon as they're sworn for direct.

05:15:49   11                   THE COURT:    Well, I -- I can tell you my

05:15:51   12   experience in criminal cases, they always ask me to ensure the

05:15:55   13   witness does not confer with counsel until the end of

05:15:57   14   testimony.

05:15:58   15                   I haven't had this issue come up in a civil

05:16:01   16   trial.   If there's an objection to counsel talking to

05:16:04   17   witnesses during their cross-examination --

05:16:07   18                   MR. KLEIN:    There is certainly an objection to

05:16:10   19   that.    I don't think that's what you --

05:16:12   20                   MR. SIPES:    No, no, actually either is fine with

05:16:14   21   me.   So I know, in some courts, once a witness is sworn, even

05:16:18   22   for direct, they can no longer confer with counsel, and in

05:16:21   23   some courts that bar conferring with counsel does not begin

05:16:25   24   until their direct ends and the cross starts.

05:16:28   25                   I think we've --
           Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 299 of 350
                                                                                    299



05:16:29    1                    THE COURT:   It would be the latter for me in a

05:16:31    2   civil case.

05:16:32    3                    MR. SIPES:   That's fine.    That sounds fine with

05:16:35    4   us, too.

05:16:35    5                    MR. KLEIN:   That's fine.

05:16:37    6                    THE COURT:   In terms of the schedule, kind of

05:16:43    7   what we did today will be how I plan to proceed with a

05:16:47    8   15-minute break, 15-minute break, and a 30-minute break.

05:16:50    9                    I assume you're all setup in the courthouse and

05:16:53   10   that doesn't create too much inconvenience, and, if so, I

05:16:56   11   would entertain a request for a longer break if you need it.

05:17:01   12   But keep in mind the schedule, that I do need to finish by the

05:17:03   13   end of the month.

05:17:05   14                    All right.   We'll recess for the day then.

05:17:11   15                           (The evening recess was taken.)
05:17:11
           16                                    -o0o-

           17

           18                 I certify that the foregoing is a correct
                             transcript from the record of proceedings in the
           19                above-entitled matter.

           20
                             /s/Kathryn M. French
           21               ___________________________________ 1/23/2020
                           Kathyrn M. French, CCR #392, RPR       Date
           22

           23

           24

           25
Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 300 of 350
                                                                           300



 1                                  I N D E X

 2

 3   PLAINTIFFS' WITNESSES:                                              PAGE:

 4      KETCHUM, Steve
          Direct Examination by Ms. Keane                                  49
 5        Cross-examination by Mr. Klein                                  164
          Redirect Examination by Ms. Keane                               270
 6

 7   PLAINTIFFS' EXHIBITS:                                ID      EVIDENCE

 8     21   -                                                             296
      187   -                                                             296
 9    188   -                                                             296
      189   -                                                             296
10    190   -                                                             296
      192   -                                                             296
11    193   -                                                             296
      194   -                                                             296
12    203   -                                                             296
      206   -                                                             296
13    207   -                                                             296
      208   -                                                             296
14    210   -                                                             296
      216   -                                                             296
15    217   -                                                             296
      219   -                                                             296
16    226   -                                                             296
      227   -                                                             296
17    228   -                                                             296
      272   -                                                             146
18    273   -                                                             296
      274   -                                                             296
19    286   -                                                             114
      287   -                                                             113
20    291   -                                                             296
      292   -                                                             296
21    294   -                                                             296
      307   -                                                             296
22    308   -                                                             296
      439   -                                                             141
23    453   -                                                             296
      454   -                                                             296
24    455   -                                                             296

25   (Index continued on next page.)
Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 301 of 350
                                                                           301



 1                           I N D E X (Continued)

 2

 3                                                                       PAGE:

 4   PLAINTIFF'S EXHIBITS:                                ID      EVIDENCE

 5    457 -                                                              296
      469 -                                                              296
 6    470 -                                                              296
      472 -                                                              296
 7    474 -                                                              296
      475 -                                                              296
 8    476 -                                                              296
      479 -                                                              296
 9    480 -                                                              296
      482 -                                                               77
10    762 -                                                              296
      814 -                                                              296
11    815 -                                                              296
      816 -                                                              296
12    817 -                                                              296
      818 -                                                              296
13    819 -                                                              296
      821 -                                                              296
14    935 -                                                              296
      942 -                                                              118
15    990 -                                                              131
      994 -                                                              136
16    1185 -                                                             159
      1186 -                                                              63
17    1189 -                                                             159

18

19   DEFENDANTS' EXHIBITS:

20   1558   -                                                             268
     1800   -                                                             268
21   1809   -                                                             268
     1814   -                                                             268
22   1816   -                                                             268
     1829   -                                                             268
23   1836   -                                                             268
     1837   -                                                             268
24   1838   -                                                             268

25   (Index continued on next page.)
Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 302 of 350
                                                                           302



 1                           I N D E X (Continued)

 2

 3                                                                       PAGE:

 4   DEFENDANTS' EXHIBITS:                                ID      EVIDENCE

 5   2104   -                                                             268
     2226   -                                                             268
 6   2235   -                                                             268
     2241   -                                                             268
 7   2247   -                                                             268
     2248   -                                                             268
 8   2250   -                                                             268
     2252   -                                                             268
 9   2267   -                                                             268

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
   Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 303 of 350


                                                                                                                                    1
            #                197:11, 197:17,            13.1 [2] - 112:2, 112:3    280:3, 280:17,         1977 [2] - 15:7, 15:22
                             211:22                     131 [1] - 301:15           301:21                 198 [2] - 295:23,
#392 [2] - 1:22, 299:21     1012 [1] - 86:12            135 [1] - 248:22          1816 [10] - 220:22,      296:10
                            1026 [1] - 15:5             136 [1] - 301:15           222:10, 223:14,        199 [1] - 71:6
            $               10th [3] - 177:4, 177:5,    1370 [1] - 30:12           224:25, 225:9,         1991 [3] - 32:9,
                             278:12                     138 [2] - 105:20,          261:11, 268:7,          178:13, 178:18
$10 [1] - 259:11            11 [22] - 55:23, 68:13,      105:23                    281:13, 282:6,         1995 [2] - 26:14, 27:1
$19 [1] - 258:21             68:16, 68:19, 96:15,       13th [1] - 20:23           301:22                 1:05 [1] - 138:1
$300 [2] - 140:14,           96:18, 96:19, 97:5,        14 [3] - 24:12, 76:12,    1829 [15] - 189:2,      1A [2] - 146:9, 146:11
 173:24                      110:4, 110:7,               95:15                     189:11, 190:14,        1B [2] - 147:12, 147:15
$500 [2] - 54:22,            114:21, 114:24,            14.2 [3] - 95:19, 96:4,    190:21, 191:25,
 140:12                      132:7, 132:8,                                         195:2, 197:9, 198:8,
                                                         138:12                                                      2
                             138:13, 139:24,            14.2.9 [1] - 101:2         202:20, 204:20,
             '               150:4, 202:20,             14.2.97 [2] - 100:13,      205:3, 261:11,         2 [36] - 27:1, 40:18,
                             240:13, 251:7,              101:12                    268:7, 276:2, 301:22    59:3, 64:3, 66:10,
'22 [1] - 257:17             292:16                     14.2.98 [1] - 101:12      1836 [15] - 227:14,      81:14, 82:24, 87:21,
                            11.4.2 [1] - 222:11         141 [1] - 300:22           227:18, 227:19,         89:16, 90:20, 97:15,
            /               11.5.2 [1] - 225:1          142 [1] - 106:12           227:20, 229:6,          97:17, 97:18, 98:6,
                            1117 [1] - 24:23            146 [1] - 300:17           230:16, 233:20,         98:10, 98:23, 99:19,
/s/Kathryn [1] - 299:20     113 [1] - 300:19                                       233:21, 234:25,         112:2, 118:22,
                                                        14th [2] - 77:10,
                            1132 [1] - 24:23             245:25                    236:13, 237:24,         119:16, 132:1,
            0               114 [1] - 300:19            15 [4] - 70:2, 177:14,
                                                                                   239:3, 261:12,          138:14, 139:9,
                            118 [1] - 301:14                                       268:7, 301:23           141:11, 145:6,
                                                         177:16, 220:16
0.01 [1] - 204:16                                                                 1837 [8] - 227:13,       151:14, 177:25,
                            1185 [8] - 20:22,           15-minute [2] - 299:8
0.5 [2] - 68:2, 68:22                                                              232:19, 233:17,         182:23, 183:14,
                             159:6, 159:7, 159:9,       150 [11] - 10:2, 16:2,
0.5-gram [2] - 67:21,                                                              233:20, 261:12,         196:19, 198:25,
                             159:15, 159:17,             52:8, 64:13, 71:3,
 69:10                       159:18, 301:16                                        268:7, 301:23           274:1, 274:2, 274:15
                                                         71:6, 73:16, 139:20,
0.75 [1] - 147:8            1186 [20] - 62:23, 63:2,                              1838 [6] - 241:10,      2,000 [3] - 91:11,
                                                         142:4, 151:21, 249:2
00011 [1] - 13:3             63:3, 63:5, 63:7,                                     242:2, 242:24,          91:13, 289:16
                                                        1538 [3] - 199:19,
000142 [1] - 13:20           63:11, 63:13, 63:14,                                  261:12, 268:7,         2-gram [5] - 83:8,
                                                         273:7, 273:11
0007 [1] - 15:9              63:21, 66:16, 67:4,                                   301:24                  86:16, 89:20, 101:7,
                                                        1539 [1] - 275:2
005 [1] - 18:9               95:18, 95:22,                                        185 [3] - 295:17,        119:9
                                                        1558 [7] - 229:21,
006 [2] - 273:8, 273:10      111:18, 111:19,                                       295:23, 296:10         2.1 [1] - 11:21
                                                         230:7, 230:8,
01 [1] - 20:22               138:11, 151:14,                                      186 [3] - 295:17,       2.10 [1] - 177:25
                                                         260:20, 261:11,
                             151:18, 301:16                                        295:23, 296:10         2.11 [1] - 181:22
                                                         268:7, 301:20
            1               1189 [9] - 144:17,          159 [2] - 301:16,
                                                                                  187 [3] - 295:24,       2.12 [1] - 182:13
                             144:21, 144:24,                                       296:11, 300:8          2.13 [1] - 182:23
                                                         301:17
1 [26] - 1:8, 8:10, 64:1,    145:1, 145:2,                                        188 [3] - 295:24,       2.14 [1] - 183:14
                                                        16 [2] - 41:23, 151:9
 64:3, 66:14, 68:2,          145:10, 145:12,                                       296:11, 300:9          2.15 [1] - 184:3
                                                        164 [1] - 300:5
 68:22, 69:11, 75:1,         145:13, 301:17                                       189 [3] - 295:24,       2.16 [1] - 184:15
 75:2, 75:3, 82:9,                                      16th [3] - 221:13,
                            11th [1] - 292:20                                      296:11, 300:9          2.17 [1] - 185:2
 82:11, 82:13, 85:5,                                     256:21, 281:19
                            12 [15] - 37:23, 38:2,                                19 [13] - 129:25,       2.18 [1] - 186:13
 86:11, 107:7,                                          18 [2] - 91:5, 119:23
                             38:4, 40:10, 40:11,                                   182:16, 204:15,        2.19 [3] - 187:7,
 118:22, 118:25,                                        18,000 [3] - 33:4,
                             40:21, 40:25, 41:24,                                  205:7, 208:25,          279:21, 280:2
 141:11, 141:14,                                         182:2, 226:3
                             92:23, 100:21,                                        209:9, 232:9,          2.2 [3] - 69:4, 69:7,
 143:5, 146:7, 146:8,                                   18.4 [1] - 206:9
                             165:5, 213:8,                                         242:12, 244:5,          165:16
 196:20, 217:6                                          1800 [8] - 210:20,
                             278:16, 279:16                                        244:12, 274:16,        2.20 [1] - 188:15
1.8 [3] - 129:24, 237:4,                                 211:16, 211:25,
                            12-week [18] - 38:9,                                   274:19, 274:20         2.21 [1] - 189:5
 237:15                                                  213:8, 213:19,
                             73:2, 73:12, 83:10,                                  190 [3] - 295:24,       2.22 [1] - 190:5
1/23/2020 [1] - 299:21                                   261:11, 268:7,
                             83:11, 86:1, 86:3,                                    296:11, 300:10         2.23 [1] - 190:21
10 [14] - 148:2, 148:4,                                  301:20
                             86:7, 86:10, 102:4,                                  192 [3] - 295:24,       2.24 [1] - 192:1
 178:7, 184:16,                                         1809 [8] - 164:20,
                             104:5, 104:15,                                        296:11, 300:10         2.25 [1] - 195:2
 185:2, 188:15,                                          165:14, 260:20,
                             105:5, 119:12,                                       193 [3] - 295:24,       2.26 [1] - 196:15
 204:20, 205:3,                                          261:10, 261:11,
                             119:14, 127:13,                                       296:10, 300:11
                                                         268:7, 301:21                                    2.27 [1] - 197:10
 211:25, 280:4,              139:13                                               194 [3] - 295:24,
                                                        1814 [14] - 176:16,                               2.28 [1] - 198:8
 280:7, 280:18              1209 [1] - 11:18                                       296:11, 300:11
100 [2] - 107:15, 142:7                                  176:17, 177:25,                                  2.3 [1] - 165:20
                            13 [8] - 1:6, 3:1, 24:12,                             195 [2] - 295:24,
101 [9] - 33:14, 72:17,                                  184:16, 188:15,                                  2.30 [1] - 199:4
                             111:20, 111:22,                                       296:11
 89:20, 190:25,                                          261:11, 268:7,                                   2.32 [2] - 201:9, 206:4
                             111:24, 138:1,                                       196 [2] - 295:23,
 191:21, 192:3,                                          276:1, 277:21,                                   2.36 [1] - 204:11
                             213:19                                                296:10
                                                         277:25, 279:13,                                  2.4 [1] - 165:23



          MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                              (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 304 of 350


                                                                                                                                     2
2.41 [1] - 210:20         2000 [7] - 26:14,           140:24, 169:25,            261:12, 261:23,           176:12, 176:20,
2.42 [1] - 211:17          199:13, 199:17,            241:14, 243:14             262:4, 262:8,             176:24, 190:1,
2.43 [1] - 212:1           204:4, 209:18, 215:4      2019 [15] - 22:13, 52:4,    262:11, 262:15,           205:14
2.44 [1] - 213:8          2003 [1] - 24:22            63:9, 65:22, 65:24,        262:16, 262:23,          26 [5] - 147:24,
2.45 [1] - 213:20         2004 [3] - 32:18, 61:8,     150:14, 150:15,            263:2, 263:5, 263:6,      169:24, 169:25,
2.46 [1] - 216:14          183:9                      151:8, 151:12,             263:19, 264:8,            170:2, 170:3
2.47 [1] - 216:19         2005 [3] - 61:9, 61:11,     152:14, 152:19,            264:15, 264:16,          268 [18] - 301:20,
2.48 [1] - 217:6           62:11                      245:25, 247:14,            265:4, 266:24,            301:20, 301:21,
2.49 [1] - 217:13         2005-2008 [1] - 282:23      248:4, 249:11              267:5, 268:8, 302:8       301:21, 301:22,
2.5 [1] - 166:5           2007 [9] - 18:3, 18:5,     2020 [4] - 1:6, 3:1,       2252 [7] - 243:20,         301:22, 301:23,
2.51 [1] - 218:12          32:13, 32:25, 33:1,        138:1, 170:3               243:24, 244:2,            301:23, 301:24,
2.52 [1] - 220:23          33:11, 129:17,            203 [3] - 296:1,            245:8, 261:13,            302:5, 302:5, 302:6,
2.53 [1] - 222:10          204:12, 244:8              296:12, 300:12             268:8, 302:8              302:6, 302:7, 302:7,
2.54 [1] - 223:14         2008 [54] - 18:2, 19:10,   2030 [3] - 174:22,         2255 [4] - 166:5,          302:8, 302:8, 302:9
2.55 [1] - 224:25          28:13, 32:14, 33:12,       174:25, 175:9              169:2, 261:13, 268:8     26th [1] - 169:17
2.56 [3] - 225:9,          62:11, 62:18, 73:25,      206 [3] - 296:1,           226 [3] - 295:25,         27 [8] - 76:1, 76:2,
 281:10, 281:22            75:7, 75:22, 76:10,        296:12, 300:12             296:12, 300:16            82:9, 82:12, 82:13,
2.58 [1] - 229:6           76:13, 77:10, 78:10,      207 [3] - 296:1,           2265 [3] - 252:15,         288:11, 291:5,
                           108:20, 175:25,            296:12, 300:13             288:14, 288:21            291:15
2.6 [2] - 169:22, 230:6
                           176:12, 176:20,           208 [3] - 296:1,           2266 [4] - 288:18,        270 [1] - 300:5
2.61 [1] - 230:17
                           178:7, 180:9, 183:7,       296:12, 300:13             288:22, 288:23,          272 [9] - 145:15,
2.62 [1] - 231:23
                           184:7, 189:22,            20th [4] - 75:22,           289:4                     145:16, 145:17,
2.63 [2] - 232:20,
                           190:1, 192:13,             189:22, 190:3, 196:5      2267 [7] - 251:17,         145:20, 145:23,
 269:20
                           192:18, 193:19,           21 [7] - 13:22, 14:1,       252:6, 261:13,            145:25, 146:1,
2.65 [1] - 234:25
                           194:4, 195:22,             106:19, 108:14,            268:8, 288:14,            146:3, 300:17
2.66 [1] - 236:4
                           196:5, 198:25,             295:25, 296:12,            289:4, 302:9             273 [6] - 295:16,
2.67 [1] - 236:12
                           205:15, 205:19,            300:8                     227 [3] - 295:25,          295:23, 296:10,
2.68 [1] - 236:25
                           209:2, 210:15,            21.5 [1] - 120:21           296:12, 300:16            300:18
2.69 [1] - 237:24
                           213:17, 213:18,           210 [3] - 295:25,          228 [3] - 296:1,          274 [3] - 295:24,
2.7 [1] - 174:20
                           214:10, 214:11,            296:12, 300:14             296:12, 300:17            296:11, 300:18
2.7.3 [1] - 243:25
                           221:13, 224:14,           2104 [6] - 216:13,         2287 [1] - 270:5          27th [2] - 227:15,
2.70 [1] - 239:3
                           242:21, 275:23,            217:6, 217:13,            229 [2] - 90:24, 107:22    230:2
2.71 [1] - 239:6           276:8, 276:11,             261:12, 268:8, 302:5      2297 [3] - 256:15,        28 [3] - 76:6, 76:7,
2.73 [1] - 241:11          276:21, 277:11,           216 [3] - 296:1,            270:3, 270:4              76:8
2.74 [1] - 242:2           277:16, 278:12,            296:12, 300:14            2298 [1] - 258:5          280 [1] - 292:17
2.75 [1] - 242:24          280:14, 281:19,           217 [3] - 296:1,           2299 [20] - 254:18,       286 [11] - 114:1, 114:4,
2.76 [1] - 243:20          283:8, 283:17,             296:12, 300:15             254:23, 261:13,           114:6, 114:11,
2.77 [1] - 243:24          283:20                                                                          114:14, 114:16,
                                                     219 [5] - 295:25,           261:15, 261:24,
2.78 [1] - 244:3          2008-2009 [1] - 94:15                                  262:3, 262:24,            114:17, 114:19,
                                                      296:1, 296:12,
2.79 [1] - 244:20         2009 [4] - 34:17,                                      263:3, 263:21,            116:12, 250:23,
                                                      296:12, 300:15
2.8 [1] - 175:18           78:22, 79:4, 221:16                                   264:7, 265:17,            300:19
                                                     22 [5] - 13:22, 108:3,
2.80 [1] - 245:8          2010 [8] - 21:15, 35:3,     108:5, 108:6               265:24, 265:25,          287 [11] - 113:4, 113:7,
2.81 [1] - 245:22          35:8, 79:6, 210:15,       220 [1] - 123:1             266:17, 267:2,            113:8, 113:10,
2.82 [1] - 246:5           210:24, 213:3,            2226 [5] - 245:21,          267:6, 267:9,             113:13, 113:15,
2.83 [1] - 246:22          215:25                     246:5, 261:12,             267:13, 267:22,           113:16, 113:18,
2.84 [1] - 247:3          2012 [14] - 30:12, 50:2,    268:8, 302:5               288:15                    116:12, 300:19
2.85 [1] - 248:10          50:15, 51:24, 62:20,      2235 [5] - 246:21,         22999 [1] - 268:6         289 [5] - 12:23, 103:3,
2.86 [1] - 249:18          65:12, 65:18, 89:23,       247:2, 261:12,            22nd [1] - 76:10           103:4, 103:5, 105:20
2.87 [1] - 251:17          169:17, 169:24,            268:8, 302:6              234 [1] - 4:1             29 [3] - 243:22, 288:2,
2.88 [1] - 254:21          177:8, 256:21,            2241 [4] - 189:3,          24 [2] - 75:15, 75:17      289:1
2.89 [1] - 256:16          257:23, 285:7              261:12, 268:8, 302:6      24th [1] - 216:16         291 [4] - 295:7,
2.9 [2] - 176:15,         2013 [4] - 123:24,         2247 [8] - 152:11,         25 [16] - 53:9, 92:14,     295:16, 296:10,
 256:23                    124:21, 136:16,            152:12, 153:3,             99:16, 123:11,            300:20
2.91 [1] - 258:6           228:21                     248:3, 249:14,             147:9, 148:11,           292 [4] - 295:7,
20 [4] - 38:23, 39:3,     2014 [3] - 36:23,           261:12, 268:8, 302:7       149:4, 149:7,             295:16, 296:10,
 40:6, 195:22              216:16, 227:15            2248 [5] - 248:9,           149:14, 149:18,           300:20
200 [7] - 71:8, 73:11,    2015 [2] - 228:19,          249:17, 261:12,            245:20, 246:12,          294 [3] - 295:16,
 117:19, 120:3,            230:2                      268:8, 302:7               289:11, 291:16,           296:10, 300:21
 124:10, 139:20,          2016 [2] - 169:3, 170:3    2250 [23] - 255:4,          291:17, 293:2            296 [47] - 300:8, 300:8,
 228:5                    2017 [5] - 66:9,            255:6, 255:7,             25th [6] - 175:25,         300:9, 300:9,



          MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                              (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 305 of 350


                                                                                                                                     3
 300:10, 300:10,                                     296:13, 301:7             6.1.9 [2] - 103:9,         813 [2] - 295:25,
                                     4
 300:11, 300:11,                                    475 [3] - 296:2,            103:13                     296:11
 300:12, 300:12,          4 [55] - 22:18, 40:18,     296:13, 301:7             6.2 [5] - 121:2, 153:1,    814 [3] - 295:25,
 300:13, 300:13,           41:20, 42:20, 42:21,     476 [3] - 296:2,            153:9, 153:11,             296:11, 301:10
 300:14, 300:14,           43:18, 68:25, 69:9,       296:13, 301:8              249:12                    815 [3] - 295:24,
 300:15, 300:15,           82:17, 83:13, 83:20,     479 [5] - 296:1, 296:2,    600,000 [3] - 257:7,        296:11, 301:11
 300:16, 300:16,           88:24, 88:25, 89:1,       296:12, 296:13,            257:15, 257:17            816 [3] - 295:25,
 300:17, 300:18,           97:20, 97:24, 97:25,      301:8                     61 [1] - 90:19              296:11, 301:11
 300:18, 300:20,           98:2, 98:4, 98:7,        48 [1] - 288:5             62 [2] - 244:2, 244:20     817 [3] - 295:24,
 300:20, 300:21,           99:4, 99:12, 102:10,     480 [3] - 296:2,           63 [2] - 245:8, 301:16      296:11, 301:12
 300:21, 300:22,           105:3, 107:19,            296:13, 301:9             65 [2] - 140:6, 149:17     818 [3] - 295:25,
 300:23, 300:23,           119:10, 120:17,          482 [12] - 74:13, 74:22,   669 [1] - 30:12             296:11, 301:12
 300:24, 301:5,            120:20, 120:23,           74:23, 76:17, 77:1,       68 [1] - 103:9             819 [3] - 295:25,
 301:5, 301:6, 301:6,      121:1, 121:4, 121:6,      77:4, 77:5, 77:12,        6th [2] - 253:17,           296:11, 301:13
 301:7, 301:7, 301:8,      122:22, 123:5,            109:12, 109:15,            292:20                    820 [2] - 295:25,
 301:8, 301:9,             143:17, 148:2,            301:9                                                 296:12
 301:10, 301:10,           148:3, 148:5,            49 [1] - 300:4
 301:11, 301:11,
                                                                                           7              821 [3] - 295:24,
                           184:22, 190:21,          499 [10] - 71:8, 73:11,                                296:11, 301:13
 301:12, 301:12,           191:25, 195:2,            73:16, 117:20,            7 [6] - 75:8, 75:9,        83 [1] - 224:25
 301:13, 301:13,           202:2, 202:23,            120:3, 124:10,             75:11, 109:12,            85 [2] - 225:9, 281:14
 301:14                    207:19, 207:24,           139:20, 139:21,            109:15, 184:3             887 [1] - 24:23
2:16-cv-02525-MMD-         217:19, 218:4,            142:4, 228:5              70 [5] - 141:23,           8:30 [1] - 3:1
 NJK [1] - 1:5             229:22, 231:13,                                      230:16, 231:23,
2:16-cv-2525-MMD-          237:2, 237:15, 274:1                5                232:11, 247:2
 NJK [1] - 3:4            4-gram [11] - 43:9,
                                                                                                                     9
                                                                               702 [4] - 105:5,
                           43:15, 43:16, 83:8,      5 [6] - 146:7, 191:25,      107:23, 119:18,           9 [3] - 217:13, 242:24,
           3               85:25, 86:16, 89:20,      195:2, 197:10,             123:3                      243:24
                           90:5, 101:7, 104:3,       229:22, 244:7             71 [5] - 232:20,           9.1.1 [1] - 83:16
3 [9] - 67:15, 67:17,      104:14                   5-milligram [1] - 88:23     233:22, 233:23,           9.3 [1] - 121:7
 67:18, 68:6, 114:22,     4.1 [1] - 231:24          5.88 [1] - 215:15           236:4, 236:13             9.5.2 [1] - 93:8
 114:24, 119:16,          4.6 [1] - 182:14          50 [7] - 15:24, 18:8,      72 [2] - 234:25, 236:25    923 [1] - 18:4
 120:16, 211:16           4.9 [1] - 140:1            26:21, 122:9, 129:1,      73 [1] - 237:24            929 [1] - 21:14
3-week [1] - 82:24        40-week [10] - 73:4,       136:19, 231:1             75 [2] - 140:6, 149:17     93 [1] - 18:14
3.5 [2] - 34:11, 203:14    83:13, 85:7, 85:8,       500 [26] - 9:25, 10:2,     753 [2] - 296:1, 296:13    935 [3] - 296:1,
30 [4] - 8:20, 48:13,      85:22, 86:1, 86:6,        11:10, 13:7, 27:5,        754 [3] - 19:9, 296:2,      296:13, 301:14
 90:25, 140:22             102:7, 104:25,            38:18, 39:8, 39:16,        296:13                    940 [6] - 66:1, 66:3,
30(b)(6 [8] - 87:24,       107:18                    39:19, 43:21, 43:23,      755 [2] - 296:1, 296:13     66:7, 66:8, 66:16,
 164:13, 165:4,           400 [2] - 39:15, 258:9     44:8, 44:12, 45:4,        757 [2] - 296:2, 296:13     66:17
 200:3, 200:8, 200:9,     41 [1] - 142:6             47:4, 47:6, 52:3,         762 [10] - 116:1, 116:2,   942 [11] - 118:5, 118:6,
 200:17, 285:19           42 [2] - 93:8, 93:11       65:3, 71:11, 91:10,        116:3, 116:14,             118:7, 118:10,
30-minute [2] -           439 [8] - 140:22,          142:10, 142:15,            116:19, 116:21,            118:14, 118:16,
 137:12, 299:8             140:23, 141:1,            143:1, 151:24,             116:22, 116:24,            118:17, 118:19,
30-month [3] - 169:25,     141:4, 141:6, 141:7,      186:19, 212:5              117:1, 301:10              120:13, 120:16,
 170:18, 170:21            141:9, 300:22            500-milligram [1] -        77 [1] - 301:9              301:14
307 [3] - 295:16,         45 [2] - 15:24, 141:19     89:5                                                 959 [1] - 22:1
 296:10, 300:21           453 [1] - 300:23          505(b)(2 [3] - 173:1,
308 [5] - 295:16,                                    173:6, 187:13
                                                                                           8              96 [3] - 45:4, 207:19,
                          454 [1] - 300:23                                                                 207:25
 295:22, 295:23,          454,000 [1] - 258:9       53 [4] - 233:4, 234:12,    8 [9] - 40:18, 77:12,      98 [5] - 32:14, 223:20,
 296:10, 300:22           455 [1] - 300:24           239:14, 242:18             77:14, 77:17,              224:4, 224:13,
31 [4] - 76:16, 76:17,    457 [1] - 301:5           59-person [1] - 42:21       203:13, 242:2,             224:17
 76:18, 90:25             459 [2] - 100:9, 100:10   5:30 [1] - 287:20           259:10, 275:7, 275:8      990 [16] - 131:7, 131:8,
31st [1] - 169:3          46 [1] - 253:18                                      8,000 [1] - 139:25          131:10, 131:11,
32 [1] - 165:23           460 [2] - 101:1, 101:3               6               8.5 [1] - 45:12             131:19, 131:21,
325 [1] - 4:5             469 [3] - 296:2,                                     80 [2] - 222:10, 239:3      131:22, 131:24,
327 [1] - 209:10           296:13, 301:5            6 [8] - 122:22, 123:6,     807 [8] - 81:1, 81:3,       131:25, 132:3,
33 [4] - 24:23, 97:23,    470 [3] - 296:2,           198:8, 229:6, 246:5,       81:7, 81:9, 90:19,         133:22, 135:7,
 113:23, 115:5             296:13, 301:6             273:12, 273:15,            90:25, 93:8, 100:8         135:21, 240:6,
331 [1] - 175:20          472 [3] - 296:2,           288:5                     81 [2] - 223:14, 239:6      240:12, 301:15
35 [3] - 53:9, 123:11,     296:13, 301:6            6-week [2] - 82:17,        812 [2] - 295:25,          994 [6] - 135:21,
 149:14                   474 [3] - 296:2,           83:20                      296:12                     135:22, 136:4,



         MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                             (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 306 of 350


                                                                                                                                      4
 136:6, 136:7, 301:15     ACCORD [2] - 127:3,         232:3, 243:11,             55:4, 72:22, 72:25,        288:14, 293:14,
9th [2] - 75:7, 75:23      127:22                     243:18                     78:14, 89:3, 140:7,        294:7, 294:13,
                          accordance [2] -           activities [1] - 62:7       149:9, 180:13, 298:4       294:18, 296:5, 296:8
           A               25:11, 128:20             activity [4] - 12:4,       addressed [9] - 23:13,     adopted [1] - 161:14
                          according [9] -             84:18, 91:12, 92:5         45:21, 116:5,             adult [6] - 51:25, 52:6,
A.M [1] - 3:1              109:22, 148:20,           actual [7] - 7:3, 25:25,    116:14, 126:19,            64:11, 65:2, 112:22,
Abbott [1] - 61:6          189:22, 195:24,            27:10, 221:7,              131:11, 149:19,            248:20
abbreviation [3] - 4:9,    200:6, 238:3, 241:5,       252:15, 268:20,            200:12, 265:24            adults [2] - 113:23,
 4:10, 106:23              242:19, 258:8              269:3                     addresses [1] - 7:16        115:5
abbreviations [1] -       accrual [1] - 146:25       acute [8] - 11:13, 13:9,   adequate [2] - 14:3,       advance [9] - 21:20,
 4:14                     accrued [1] - 143:22        14:15, 39:11, 39:21,       29:17                      55:6, 110:12,
abide [2] - 106:22,       accuracy [5] - 263:23,      72:7, 72:10, 91:17        adequately [1] - 238:1      115:20, 139:1,
 119:23                    266:17, 266:19,           ad [3] - 114:8, 114:9,     adhere [2] - 91:4, 92:8     161:10, 162:7,
ability [12] - 11:4,       267:17, 268:2              116:7                     adjudicated [2] -           163:23, 177:16
 23:25, 84:22,            accurate [14] - 154:3,     Adam [1] - 78:3             223:25, 224:22            advances [2] - 53:7,
 108:24, 112:9,            181:7, 205:9, 211:8,      add [9] - 21:3, 28:7,      adjunct [11] - 51:25,       140:5
 122:19, 123:10,           215:23, 217:4,             56:9, 87:18, 127:11,       52:5, 64:8, 65:1,         advantage [1] - 27:18
 143:11, 149:16,           232:16, 234:17,            161:17, 232:2,             67:7, 67:8, 67:11,        advantages [1] -
 180:2, 181:3, 293:17      239:17, 254:11,            235:17, 239:10             92:1, 124:8, 194:11,       225:18
able [10] - 7:11, 9:21,    256:1, 267:15,            add-on [6] - 21:3,          229:16                    adverse [10] - 112:17,
 20:5, 20:11, 20:18,       267:25, 268:3              28:7, 161:17, 232:2,      adjunctive [1] -            132:21, 144:2,
 38:17, 55:5, 130:16,     accurately [1] -            235:17, 239:10             160:16                     144:9, 146:19,
 143:15, 269:4             224:15                    added [5] - 53:14,         adjusting [1] - 206:7       147:18, 147:20,
abnormal [3] - 71:21,     achieve [2] - 52:20,        53:17, 288:2,             administer [1] - 58:24      148:11, 153:20,
 232:24, 233:1             53:2                       288:11, 289:2             administered [10] -         223:24
abnormalities [2] -       achieved [8] - 28:10,      adding [5] - 8:20,          14:2, 14:7, 14:10,        advertise [1] - 251:10
 117:16, 179:4             53:25, 79:14, 95:5,        53:21, 84:15,              14:16, 107:14,            advertisement [3] -
abnormality [8] -          97:24, 117:22,             122:17, 123:12             109:2, 202:8,              113:8, 115:18, 116:7
 52:21, 117:17,            233:8, 244:22             addition [12] - 10:12,      217:19, 243:10,           advertisements [3] -
 120:7, 122:15,           achieves [1] - 237:3        21:7, 66:20, 67:9,         243:17                     116:8, 251:12,
 180:14, 180:20,          achieving [2] - 25:24,      71:25, 120:25,            Administration [4] -        251:15
 271:6, 271:13             149:2                      149:25, 156:11,            69:4, 78:18, 124:17,      advice [1] - 19:7
abnormally [1] -          acid [9] - 18:24, 51:10,    156:13, 158:7,             159:11                    advise [1] - 19:12
 178:23                    51:11, 61:7, 61:16,        207:17, 275:1             administration [8] -       Advisory [1] - 245:24
above-entitled [1] -       61:22, 79:22, 282:15      additional [37] -           11:21, 44:7, 69:13,       advisory [6] - 124:21,
 299:19                   acids [9] - 18:15,          53:22, 64:15, 78:18,       108:10, 205:11,            126:18, 151:5,
absolutely [5] - 30:14,    18:18, 22:10, 22:11,       92:12, 99:23,              244:4, 273:23,             156:6, 246:2, 246:24
 37:8, 107:12, 234:5,      23:18, 61:17, 70:15,       104:18, 104:23,            274:12                    affairs [14] - 49:24,
 236:10                    198:17, 201:6              105:5, 107:8,             admission [3] - 5:3,        57:15, 57:16, 57:17,
accept [4] - 207:10,      acknowledge [4] -           124:11, 125:10,            163:15, 264:9              58:5, 60:1, 60:10,
 230:20, 293:19,           167:11, 167:17,            134:21, 142:1,            admit [19] - 4:4, 63:10,    60:13, 78:4, 156:14,
 296:8                     185:23, 194:16             150:10, 150:11,            77:1, 113:12,              157:14, 191:12,
acceptability [1] -       acknowledgement [1]         154:11, 155:10,            114:13, 116:19,            191:18, 253:13
 102:13                    - 167:23                   155:11, 155:14,            118:14, 131:18,           affect [1] - 259:15
acceptable [1] -          acknowledges [1] -          158:20, 160:8,             136:4, 141:3, 145:9,      affirmed [1] - 110:18
 120:12                    20:9                       161:4, 161:19,             145:22, 159:14,           afforded [1] - 174:11
acceptance [3] -          acknowledging [2] -         167:3, 167:5, 167:6,       254:18, 260:16,           afternoon [5] - 5:7,
 150:23, 150:25,           75:23, 104:10              167:8, 174:10,             261:17, 263:8,             164:5, 164:6,
 286:25                   acquired [2] - 59:22,       187:9, 218:23,             263:23, 267:12             220:16, 289:14
accepted [1] - 150:19      62:4                       234:22, 238:18,           admitted [30] - 4:4,       afterwards [1] -
accepting [1] - 207:6     acronym [1] - 115:1         249:3, 252:25,             8:25, 63:13, 66:4,         126:19
access [4] - 103:20,      acting [4] - 75:4,          276:23, 280:11,            77:4, 81:4, 109:12,       age [2] - 90:10, 91:5
 227:5, 272:11,            75:14, 75:21, 228:15       289:11                     113:15, 114:16,           aged [2] - 119:23,
 297:11                   action [4] - 13:16,        additionally [2] -          116:21, 118:16,            141:19
acclamation [1] -          228:20, 240:2,             141:21, 217:16             131:21, 136:6,            agent [14] - 16:15,
 161:9                     246:18                    address [24] - 3:24,        141:6, 145:12,             61:2, 62:1, 75:14,
accommodate [1] -         actions [2] - 23:8,         4:24, 6:9, 7:11, 7:13,     145:25, 159:17,            75:21, 76:9, 76:20,
 92:4                      165:5                      10:25, 12:7, 12:13,        163:4, 266:21,             82:19, 82:20, 91:8,
accompanying [1] -        active [8] - 42:8, 51:7,    16:3, 22:19, 52:12,        267:16, 267:20,            123:12, 149:19,
 16:12                     51:8, 68:7, 139:11,        53:6, 53:14, 53:16,        268:6, 269:13,             182:25, 221:12



         MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                             (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 307 of 350


                                                                                                                           5
agents [6] - 26:18,        39:8, 204:17, 232:7,    115:8, 115:16,          222:7, 222:15,           165:23, 166:6,
 85:1, 127:2, 129:8,       245:10                  115:23, 118:11,         222:20, 222:25,          166:15, 172:9,
 157:25, 235:24           altering [5] - 82:18,    121:17, 121:18,         223:15, 223:18,          174:21, 175:10,
ago [6] - 15:4, 46:19,     84:25, 91:7, 92:13,     122:9, 122:23,          223:22, 224:3,           175:19, 190:22,
 203:7, 220:10,            143:10                  123:13, 123:19,         224:20, 226:1,           209:5, 209:9, 210:9,
 229:11, 291:22           alternative [1] - 89:6   123:20, 123:21,         226:7, 226:10,           211:11, 211:21,
agree [13] - 120:1,       Alza [7] - 58:4, 58:9,   124:4, 124:6,           226:19, 226:24,          221:12, 221:24,
 127:23, 135:15,           59:18, 59:20, 59:24,    127:23, 128:1,          227:1, 227:8,            222:2, 223:9,
 171:11, 171:18,           60:3, 62:13             128:2, 128:3, 128:4,    227:23, 230:22,          223:18, 224:21,
 171:19, 179:15,          AMARIN [2] - 1:4, 1:4    128:9, 128:15,          231:2, 231:4, 231:7,     230:10, 230:20,
 185:16, 194:14,          Amarin [363] - 3:4,      128:18, 129:4,          233:7, 234:1,            234:8, 236:8,
 200:15, 286:7,            3:17, 4:23, 9:15,       130:4, 131:5,           235:18, 236:5,           243:21, 246:3,
 292:24, 293:15            14:6, 19:6, 19:11,      131:12, 133:23,         236:18, 239:7,           246:10, 246:24,
agreed [4] - 3:23,         20:17, 22:12, 22:21,    133:24, 134:15,         239:25, 241:20,          251:10, 260:4,
 85:24, 90:15, 137:12      22:22, 22:23, 23:7,     134:16, 134:21,         241:21, 241:22,          260:7, 271:4,
agreement [16] -           23:16, 23:20, 27:16,    134:23, 135:17,         241:23, 245:9,           271:21, 284:19,
 101:23, 101:25,           27:24, 28:4, 28:10,     136:14, 136:15,         245:15, 246:6,           285:2, 285:9,
 121:19, 122:3,            28:18, 28:22, 31:13,    140:9, 150:10,          246:7, 246:11,           285:13, 285:15,
 126:20, 128:21,           31:14, 31:15, 31:23,    150:22, 153:23,         246:17, 247:23,          286:2, 286:16,
 136:18, 148:17,           32:3, 32:15, 33:8,      154:1, 155:24,          248:4, 248:13,           286:17, 293:15
 150:13, 201:24,           33:16, 33:19, 33:20,    156:2, 156:15,          248:20, 249:11,         Amber [1] - 67:22
 230:24, 238:15,           33:22, 34:1, 34:3,      164:12, 167:2,          249:19, 253:18,         Amendment [6] -
 244:21, 245:5,            34:14, 34:17, 34:19,    167:5, 168:14,          253:23, 254:13,          134:23, 135:2,
 292:18, 295:1             34:20, 34:22, 34:25,    169:3, 169:5,           255:5, 256:4,            135:10, 135:13,
agrees [2] - 44:10,        35:2, 35:3, 35:5,       169:10, 170:17,         256:18, 256:24,          135:18, 135:24
 59:11                     35:8, 35:12, 35:13,     170:23, 171:2,          257:1, 257:8,           amendments [2] -
ahead [5] - 127:15,        35:15, 36:9, 36:17,     171:10, 171:11,         257:11, 258:9,           169:8, 292:19
 168:14, 173:21,           36:23, 36:25, 37:20,    171:17, 172:10,         258:12, 258:24,         American [8] - 22:14,
 228:13                    43:13, 43:14, 43:20,    172:14, 172:16,         259:5, 259:16,           22:15, 58:3, 118:8,
AIM [1] - 127:4            44:2, 44:12, 44:18,     173:11, 173:21,         259:21, 260:11,          161:20, 199:12,
aimed [1] - 203:2          44:24, 46:8, 46:9,      174:23, 175:7,          260:13, 272:9,           257:9, 257:11
al [4] - 1:8, 199:11,      46:19, 47:12, 47:17,    175:23, 176:19,         272:13, 272:17,         amount [4] - 132:25,
 202:24, 275:17            47:19, 48:3, 49:16,     177:8, 177:18,          272:19, 272:20,          167:13, 170:20,
Alaina [4] - 3:8, 7:13,    49:17, 49:19, 49:20,    177:20, 183:15,         275:23, 276:11,          208:5
 8:12, 8:15                49:22, 50:1, 50:3,      183:24, 184:5,          277:4, 277:16,          AMR [10] - 33:14,
alcohol [3] - 11:7,        50:4, 50:5, 50:7,       184:7, 185:3, 185:6,    278:13, 279:16,          72:17, 86:12, 89:20,
 39:17, 39:20              50:8, 50:12, 50:15,     185:13, 186:6,          280:10, 280:15,          190:25, 191:21,
ALISON [1] - 2:3           50:18, 51:3, 53:16,     186:10, 186:22,         280:18, 280:21,          192:3, 197:11,
                           54:3, 54:16, 54:21,     187:8, 187:14,          281:4, 282:5,            197:17, 211:22
Alison [1] - 3:11
                           54:24, 56:2, 62:19,     188:1, 189:15,          284:18, 285:2,          AN [2] - 11:6, 67:11
alleged [4] - 34:16,
                           73:23, 73:25, 74:3,     190:11, 191:20,         285:4, 285:8,           Analyses [1] - 247:4
 176:11, 177:14,
                           75:4, 75:14, 75:21,     192:23, 192:25,         285:10, 285:20,         analyses [6] - 99:24,
 189:25
                           75:24, 76:10, 76:21,    193:10, 194:13,         285:21, 285:24,          101:24, 148:20,
ALLEN [1] - 2:7
                           76:24, 77:16, 77:23,    194:15, 194:17,         285:25, 286:6,           234:21, 239:13,
Allen [1] - 3:11
                           78:2, 78:3, 78:5,       194:18, 195:18,         287:23, 291:18,          244:22
Allergan [1] - 46:14
                           78:12, 78:13, 85:10,    195:20, 195:22,         291:21, 292:2,          analysis [6] - 25:8,
alleviate [1] - 293:21
                           86:12, 86:15, 86:16,    197:15, 197:18,         292:3, 293:21            29:8, 100:3, 100:4,
allow [7] - 7:21, 88:5,
                           87:4, 88:12, 89:19,     198:1, 198:6, 204:2,   Amarin's [77] - 27:12,    234:13, 242:19
 167:17, 269:15,
                           89:23, 91:2, 91:13,     204:6, 205:18,          27:13, 27:14, 27:21,    ANCHOR [71] - 23:12,
 291:13, 292:2,
                           94:14, 98:10, 99:20,    209:10, 209:22,         28:19, 29:9, 29:11,      102:18, 105:4,
 293:14
                           99:24, 100:3, 102:7,    210:14, 210:16,         29:21, 33:12, 38:15,     107:23, 117:8,
allowance [1] - 44:5
                           103:22, 104:3,          211:6, 211:14,          39:9, 39:25, 40:8,       117:11, 117:12,
allowed [3] - 82:20,
                           104:18, 104:23,         211:18, 212:9,          43:3, 43:17, 44:10,      118:2, 118:4, 118:7,
 92:19, 131:15
                           105:4, 108:18,          212:15, 212:18,         45:22, 46:11, 47:22,     118:20, 119:3,
allowing [1] - 206:1                               213:3, 213:12,
                           108:22, 109:18,                                 54:2, 76:20, 78:11,      119:17, 119:19,
allows [2] - 213:25,                               213:23, 214:6,          95:24, 96:1, 109:25,
                           109:21, 110:12,                                                          119:21, 120:5,
 285:19                                            215:18, 215:20,         110:8, 112:9, 130:2,
                           110:18, 110:20,                                                          120:9, 120:10,
almost [2] - 26:21,                                215:25, 216:15,         130:3, 134:11,
                           111:12, 111:14,                                                          120:13, 120:17,
 291:22                                            216:17, 216:23,         150:15, 157:17,
                           112:21, 112:24,                                                          120:23, 121:4,
alone [8] - 11:14,                                 216:25, 221:7,          160:20, 165:5,
                           112:25, 113:2,                                                           121:17, 121:19,
 20:11, 22:13, 38:19,                              221:9, 221:15,          165:17, 165:20,



         MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                             (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 308 of 350


                                                                                                                                   6
 121:22, 122:3,           apolipoprotein [1] -      apply [1] - 139:2         109:9, 111:7,             arms [5] - 119:9,
 122:5, 122:6,             94:4                     applying [2] - 167:3,     111:10, 111:16,            139:3, 146:21,
 122:10, 122:12,          apologies [1] - 295:20     222:2                    115:12, 124:19,            147:2, 147:5
 122:23, 123:4,           apologize [4] -           appreciate [6] - 5:4,     125:2, 136:25,            arrange [1] - 5:18
 123:19, 123:22,           152:17, 233:20,           7:19, 8:9, 45:19,        151:11, 152:13,           arranged [1] - 109:22
 124:6, 124:18,            264:5, 298:6              45:20, 88:21             152:16, 153:18,           arriving [1] - 167:12
 125:2, 125:12,           Apotex [1] - 30:12        apprised [1] - 98:14      153:22, 154:6,            art [41] - 25:15, 25:18,
 125:22, 126:21,          apparent [1] - 124:20     approach [11] - 8:8,      155:17, 166:12,            25:20, 25:22, 25:25,
 126:23, 127:10,          appeal [16] - 30:4,        48:24, 73:23, 84:3,      172:6, 172:8,              26:8, 26:14, 26:23,
 127:12, 127:24,           128:14, 131:13,           107:13, 121:12,          178:14, 178:20,            27:10, 31:11, 31:19,
 128:5, 128:15,            131:15, 131:17,           134:23, 162:4,           180:3, 182:25,             33:21, 34:4, 34:14,
 130:3, 130:10,            133:25, 134:1,            162:25, 264:21,          183:7, 183:9,              34:20, 35:1, 35:5,
 130:16, 134:5,            134:6, 134:8,             296:15                   183:24, 187:24,            36:9, 41:12, 42:13,
 134:25, 135:13,           134:11, 134:19,          approached [3] -          191:5, 191:16,             42:14, 43:17, 44:4,
 135:15, 136:14,           134:20, 134:22,           73:25, 74:3, 107:23      191:19, 192:20,            44:6, 44:11, 44:16,
 136:17, 166:7,            231:5, 240:10            appropriate [1] - 12:3    192:21, 194:9,             44:25, 45:2, 45:5,
 227:24, 228:1,           appealing [1] - 134:2     appropriately [1] -       197:4, 205:19,             46:2, 178:6, 178:9,
 228:25, 229:7,           appeals [1] - 228:17       92:2                     205:23, 206:23,            181:15, 181:16,
 230:21, 230:22,          appear [6] - 158:4,       approval [32] - 12:20,    207:1, 207:7,              209:12, 209:23,
 230:23, 230:24,           158:16, 195:11,           13:24, 33:24, 65:16,     207:11, 207:13,            210:6, 212:25,
 235:23, 237:7,            195:23, 196:6,            65:18, 87:8, 102:6,      212:6, 212:10,             286:9, 291:19
 238:12, 272:1,            196:10                    102:19, 102:21,          225:10, 230:10,           artery [2] - 233:2,
 272:22, 285:6            Appearances [1] -          106:5, 110:16,           238:11, 247:14,            233:4
and-a-half [1] - 258:25    1:25                      121:14, 124:3,           247:20, 248:25,           article [12] - 15:6,
ANDA [2] - 217:10,        APPEARANCES [2] -          156:9, 159:11,           250:19, 253:7,             15:11, 46:17,
 218:24                    1:13, 2:1                 159:23, 160:13,          271:23, 282:13,            118:23, 141:11,
Andrew [1] - 3:20         appellate [1] - 269:7      161:13, 169:16,          282:15                     188:22, 208:6,
angina [3] - 64:11,       appendix [6] - 202:20,     169:24, 170:4,          approves [2] - 159:21,      219:2, 242:15,
 133:4, 144:5              204:21, 232:11,           172:15, 172:20,          251:19                     275:2, 275:3, 275:5
annotated [1] - 226:20     232:12, 232:15,           184:21, 197:17,         approving [2] - 28:5,      artisan [4] - 42:13,
annotation [1] -           238:17                    229:15, 230:20,          167:7                      42:16, 44:14
 214:18                   Appendix [1] - 202:23      244:17, 246:18,         approximate [1] -          arts [1] - 286:10
announced [1] - 21:12     applicable [4] - 14:14,    248:13, 248:20           259:3                     aside [4] - 9:4, 180:7,
announcing [1] -           106:19, 108:14,          approvals [1] - 160:3    April [2] - 230:1, 230:2    180:24, 181:12
 169:5                     236:16                   approve [15] - 46:12,    are... [1] - 13:11         aspect [6] - 85:2, 94:1,
annual [1] - 243:15       application [45] -         124:11, 124:12,         area [5] - 56:4, 83:4,      107:16, 205:21,
answer [11] - 28:21,       31:3, 31:15, 31:16,       125:21, 126:14,          161:5, 194:19,             224:24, 246:20
 87:10, 87:11, 88:6,       34:18, 34:21, 50:23,      126:23, 127:23,          255:19                    aspects [11] - 50:14,
 88:14, 88:20,             57:24, 58:17, 78:17,      128:4, 134:5,           areas [4] - 56:6, 213:6,    50:21, 72:1, 78:13,
 106:18, 108:14,           82:7, 89:24, 95:12,       136:13, 155:11,          226:12, 281:8              103:15, 106:16,
 125:20, 238:22,           102:13, 102:16,           167:10, 230:14,         arguably [1] - 107:24       130:14, 130:17,
 285:21                    102:22, 102:23,           247:22, 248:17          argues [2] - 43:20,         132:14, 152:10,
answering [1] -            103:6, 106:17,           approved [101] - 4:1,     46:8                       196:25
 125:23                    107:5, 108:8, 109:4,      12:20, 14:21, 15:23,    arguing [1] - 219:4        aspirational [1] -
answers [2] - 42:10,       122:10, 124:2,            18:7, 20:10, 20:21,     argument [6] - 24:19,       187:18
 202:10                    130:5, 150:18,            21:1, 21:5, 22:14,       37:14, 43:15, 44:2,       assemble [5] - 55:21,
Antara [1] - 60:25         150:23, 152:19,           28:6, 28:15, 29:2,       293:19, 293:21             55:24, 56:17, 58:15,
anticipate [1] - 5:24      159:23, 159:24,           31:21, 32:10, 32:18,    arguments [10] -            156:16
anticipating [1] - 6:7     160:1, 170:9,             33:25, 41:19, 51:20,     24:20, 37:7, 43:13,       assembling [2] -
anticipation [2] -         172:22, 173:9,            51:21, 51:22, 51:23,     44:24, 128:15,             55:17, 57:18
 25:15, 44:22              188:2, 221:16,            51:24, 52:5, 61:8,       128:18, 129:12,           assert [2] - 24:13, 27:2
antihypertensive [1] -     221:25, 222:21,           63:8, 63:18, 63:22,      130:17, 238:18,           asserted [3] - 44:22,
 61:3                      223:1, 223:2,             63:23, 65:11, 65:12,     240:3                      255:12, 255:21
anyways [1] - 293:14       228:15, 229:13,           65:13, 65:17, 65:21,    arm [11] - 83:8, 83:9,     asserting [1] - 25:15
apart [1] - 91:7           230:10, 238:14,           66:8, 66:18, 66:20,      92:24, 104:11,            Assertion [1] - 231:12
apo [13] - 45:12,          251:20                    68:25, 79:20, 80:6,      146:22, 146:24,           assertion [5] - 232:5,
 45:15, 94:3, 94:4,       applications [4] -         95:13, 95:16,            147:5, 150:8, 245:11       234:7, 235:19,
 98:1, 99:1, 121:5,        35:15, 170:2,             101:15, 101:20,         ARM101 [2] - 86:17,         236:20, 236:24
 121:6, 229:16,            170:13, 170:17            101:21, 102:3,           190:22                    assertions [2] -
 230:12, 251:11           applied [1] - 139:4        102:10, 102:14,         ARM1014 [1] - 86:12         231:20, 255:17



         MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                             (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 309 of 350


                                                                                                                                    7
asserts [1] - 176:19       243:14                    awful [1] - 36:12          138:21, 142:24,           231:21, 240:24
assess [3] - 24:11,       Attendees [1] - 77:18      axis [2] - 146:16,         186:18, 206:7,           bench [1] - 88:3
 184:8, 226:8             attendees [1] - 77:20       146:20                    225:24, 228:10,          BENCH [1] - 1:12
assessed [1] - 199:10     attention [8] - 30:10,                                239:15, 239:16,          benefit [17] - 4:8,
assessment [10] -          54:8, 72:10, 99:3,                   B               241:2, 244:22             15:17, 21:7, 23:14,
 101:23, 121:10,           99:10, 103:23,                                      basic [1] - 24:10          26:1, 28:17, 39:4,
 121:11, 126:20,           132:7, 281:20             Bachelor [1] - 56:23      basis [25] - 29:1,         53:21, 130:15,
 136:18, 148:16,          attest [1] - 184:19        backdrop [4] - 85:2,       59:16, 64:19, 65:6,       150:7, 168:20,
 150:13, 165:24,          attorney [1] - 176:24       91:16, 193:3, 238:11      65:7, 95:11, 96:6,        210:10, 239:9,
 228:15, 238:15           Attorney [4] - 2:3, 2:5,   background [9] -           96:9, 96:13, 102:6,       240:22, 245:6,
asset [1] - 61:6           2:7, 2:13                  50:23, 56:21, 56:22,      102:8, 102:13,            247:8, 285:9
assigning [1] - 75:24     Attorneys [3] - 1:17,       59:18, 90:11, 178:8,      102:19, 129:10,          Benefit [1] - 242:3
assimilate [1] - 134:17    1:20, 2:11                 182:4, 190:3, 223:13      129:11, 141:25,          benefits [10] - 21:22,
assimilated [1] -         attributes [1] - 234:22    bad [31] - 11:6, 14:24,    142:3, 167:6,             26:11, 28:2, 37:1,
 78:12                    atypical [2] - 136:20,      34:9, 42:3, 52:22,        200:25, 207:10,           46:21, 233:9,
associated [23] - 6:20,    161:13                     53:6, 73:9, 80:8,         223:6, 231:15,            239:22, 245:4,
 10:10, 13:8, 42:15,      audience [2] - 187:1,       80:12, 92:20, 94:13,      263:3, 267:12,            271:18, 284:19
 65:23, 67:1, 80:2,        211:4                      94:19, 94:21, 94:22,      284:12                   best [4] - 211:6,
 80:7, 80:11, 80:13,      audio [1] - 115:2           99:7, 99:14, 112:13,     Bays [2] - 35:21, 35:22    213:12, 217:2,
 94:4, 94:21, 94:23,      author [6] - 145:19,        112:15, 113:24,          bearing [1] - 27:8         253:12
 99:13, 112:13,            192:12, 212:20,            115:5, 117:18,           became [3] - 20:4,        better [2] - 196:18,
 112:15, 112:18,           215:19, 227:2, 278:7       120:8, 121:2,             124:20, 289:8             293:6
 121:1, 203:23,           author's [3] - 275:5,       121:24, 122:15,          become [8] - 11:6,        between [25] - 11:11,
 207:18, 254:2,            275:11, 278:9              122:21, 123:6,            17:13, 60:4, 60:6,        22:9, 66:16, 66:24,
 255:12, 255:22           authored [2] - 35:5,        141:20, 142:5,            62:15, 84:19, 89:25,      84:12, 99:25, 100:3,
Association [5] -          131:24                     152:6, 271:11             257:19                    101:7, 101:9, 120:3,
 22:15, 22:16,            authorities [2] - 32:10,   Ballantyne [1] - 118:4    becomes [2] - 48:5,        123:1, 123:15,
 161:20, 161:21            172:6                     bar [3] - 120:19,          103:1                     139:9, 147:1,
assume [6] - 87:9,        authority [1] - 59:11       241:6, 298:23            becoming [1] - 17:9        155:24, 156:2,
 98:15, 174:12,           authors [15] - 15:12,      Barabas [1] - 3:14        BEFORE [1] - 1:2           156:19, 203:19,
 214:15, 224:13,           18:12, 129:22,            BARABAS [1] - 2:10        begin [6] - 3:22,          212:2, 220:6, 221:5,
 299:9                     186:25, 187:21,           BARBARA [1] - 1:15         48:12, 48:14, 77:14,      237:23, 286:22,
assuming [2] -             193:10, 211:9,            Barbara [1] - 3:8          78:24, 298:23             292:17, 292:20
 136:24, 258:18            214:8, 215:2, 215:3,      base [1] - 143:4          beginning [6] - 42:2,     beyond [9] - 82:19,
assurance [1] - 60:16      227:5, 227:7,             base-line [1] - 143:4      68:20, 76:8, 110:19,      82:20, 87:25,
asterisked [2] - 98:20,    275:16, 275:17,           based [47] - 14:3,         146:5, 288:5              237:17, 244:9,
 98:23                     276:4                      24:9, 31:11, 36:9,       begins [12] - 10:4,        244:24, 276:12,
AstraZeneca [2] -         automatic [2] - 30:14,      45:6, 50:20, 58:4,        75:2, 75:3, 75:9,         283:3, 284:3
 25:3, 30:11               170:18                     64:17, 65:4, 66:21,       75:11, 75:16, 76:2,      bias [1] - 133:13
asymptomatic [3] -        available [22] - 30:21,     102:21, 103:6,            76:7, 76:18, 77:12,      big [2] - 7:19, 17:18
 71:18, 84:1, 106:21       34:3, 67:21, 80:1,         123:21, 124:15,           109:15, 151:1            binder [17] - 48:19,
atherogenic [2] -          103:1, 129:19,             125:6, 125:21,           behalf [12] - 9:15,        48:21, 62:23, 74:13,
 15:16, 94:5               144:22, 172:3,             126:16, 126:17,           48:16, 49:3, 75:4,        81:1, 114:2, 118:6,
atherosclerosis [1] -      197:20, 197:25,            126:24, 130:23,           75:14, 75:21, 77:16,      131:7, 135:22,
 94:6                      204:3, 204:6,              130:24, 136:10,           77:22, 216:22,            140:23, 144:18,
Atherosclerosis [4] -      225:11, 257:19,            139:9, 142:22,            234:1, 285:20,            145:16, 164:18,
 15:7, 22:17, 161:22,      258:11, 258:15,            150:11, 151:10,           285:21                    233:11, 254:23,
 238:4                     258:18, 272:25,            155:2, 157:3,            behaving [1] - 59:1        255:7, 263:7
ATP3 [1] - 71:15           284:8, 288:8, 289:8        157:10, 172:10,          belabor [2] - 13:14,      binders [2] - 48:25,
atrial [1] - 61:1         average [2] - 90:13,        172:12, 175:6,            24:8                      162:3
attach [1] - 269:10        107:25                     177:16, 201:4,           belief [3] - 18:25,       bioequivalence [1] -
attached [1] - 261:23     AVO [1] - 115:1             204:3, 206:17,            19:19, 236:8              217:10
attaching [1] - 76:4      avoid [7] - 16:4, 41:17,    230:23, 237:3,           beliefs [1] - 285:4       bioequivalent [1] -
attack [2] - 141:22,       46:3, 209:13,              266:23, 267:16,          believes [2] - 36:25,      219:10
                           292:12, 292:21             271:23, 277:3,            236:5                    biological [4] - 23:21,
 144:4
                          avoiding [1] - 26:11        277:18, 277:19,          below [13] - 10:2,         56:24, 217:17,
attacks [2] - 10:11,
                          award [1] - 169:14          278:25, 279:1, 289:6      36:1, 38:18, 39:8,        219:21
 10:22
                          aware [6] - 160:21,        baseline [16] - 97:1,      43:21, 71:4, 98:8,       biology [1] - 57:13
attempt [1] - 157:19
                           170:19, 180:24,            97:2, 99:5, 100:21,       98:22, 100:18,           bit [13] - 32:23, 56:20,
attend [1] - 77:22
                           187:3, 211:9, 256:9        138:17, 138:18,           104:1, 143:2,             56:21, 62:21, 112:8,
attended [2] - 77:15,



         MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                             (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 310 of 350


                                                                                                                                  8
 156:1, 173:3,             break [13] - 12:11,        Budoff [5] - 38:15,       285:1, 286:15            127:12, 127:14,
 189:10, 194:3,             48:13, 70:9, 137:8,        38:20, 40:9, 40:13,                               128:25, 129:7,
 203:22, 228:7,             137:12, 194:3,             47:21                             C               129:11, 129:18,
 233:7, 270:17              220:14, 220:16,           build [1] - 72:11                                  130:1, 130:9,
blind [10] - 73:3, 86:8,    299:8, 299:11             built [1] - 136:23       California [3] - 2:6,     130:11, 132:20,
 102:5, 107:16,            brief [9] - 3:22, 24:9,    bullet [7] - 12:1,        58:4, 62:14              132:22, 132:24,
 119:13, 201:10,            24:12, 28:23, 30:2,        12:12, 69:15,           campus [1] - 76:13        133:21, 139:17,
 201:17, 217:16,            209:5, 209:9, 287:8        151:19, 243:2,          cancer [1] - 108:25       139:22, 140:2,
 223:23, 224:21            briefed [1] - 30:3          243:10, 247:6           candid [2] - 211:12,      141:21, 143:21,
Blinded [1] - 235:6        briefing [8] - 11:5,       bulleted [2] - 67:20,     222:7                    144:2, 144:3, 144:9,
blinded [4] - 223:25,       24:7, 41:5, 44:1,          69:7                    cannot [7] - 37:15,       146:19, 147:19,
 224:22, 235:3,             224:19, 246:2,            bullets [1] - 198:24      37:16, 38:9, 71:19,      147:21, 148:11,
 235:14                     246:7, 246:10             burden [5] - 29:22,       152:8, 227:2, 230:10     149:14, 149:17,
block [3] - 29:11, 32:3,   Briefing [1] - 245:24       38:10, 38:11,           capabilities [1] -        158:2, 158:9,
 175:8                     briefly [13] - 3:24,        292:12, 292:22           56:14                    159:12, 160:8,
blockbuster [1] -           25:13, 50:3, 58:8,        bureau [1] - 47:20       capital [1] - 56:18       160:17, 161:17,
 45:23                      82:15, 91:1, 93:10,       business [7] - 56:9,     capsule [11] - 61:15,     198:12, 198:18,
blood [22] - 9:25, 10:4,    119:2, 137:5,              136:23, 137:1,           67:16, 67:21, 67:22,     213:4, 226:11,
 16:17, 16:20, 70:19,       139:16, 140:9,             190:14, 260:7,           68:8, 68:21, 68:23,      228:2, 233:9,
 71:3, 71:9, 71:21,         142:12, 143:5              260:8, 260:12            69:14, 88:23, 89:10,     235:16, 235:25,
 71:23, 82:25, 84:2,       briefs [2] - 30:1, 43:14   busy [1] - 204:7          223:19                   236:15, 238:10,
 84:8, 84:16, 91:17,       bring [4] - 30:10,         button [1] - 265:10      capsules [9] - 12:5,      239:8, 239:9,
 178:24, 206:15,            100:8, 172:16,            BY [87] - 49:11, 63:4,    67:23, 68:10, 69:10,     239:14, 239:22,
 272:4, 272:5, 272:7,       208:10                     63:15, 64:4, 66:6,       69:11, 89:5, 89:7,       241:1, 243:5, 243:9,
 272:14, 272:17,           bringing [1] - 56:10        67:6, 68:17, 70:8,       169:6, 178:12            244:9, 245:4, 245:5,
 272:24                    British [1] - 57:8          74:21, 77:6, 77:21,     Capsules [1] - 50:10      247:7, 248:14,
bloodstream [2] -          broad [7] - 40:5,           78:9, 81:6, 82:10,      carcinogenic [2] -        248:23, 249:2,
 17:2, 17:6                 40:10, 54:7, 179:10,       83:17, 85:6, 89:2,       110:10, 112:7            249:3, 271:17
blow [3] - 15:10, 18:9,     179:15, 179:20,            89:18, 90:21, 93:9,     carcinogenicity [7] -    care [11] - 153:12,
 203:21                     286:25                     94:9, 95:20, 96:16,      108:23, 110:14,          154:2, 154:5,
blue [2] - 104:8,          broader [2] - 150:5,        97:6, 97:16, 100:11,     110:21, 111:11,          154:22, 156:22,
 146:24                     192:21                     103:11, 105:21,          111:12, 111:25,          157:1, 158:12,
board [2] - 89:23,         broken [1] - 69:16          106:13, 108:4,           112:5                    249:22, 250:2,
 250:25                    brooks [2] - 16:18,         108:17, 109:13,         cardio [1] - 56:12        250:8, 259:6
bodies [1] - 55:20          68:15                      110:5, 111:23,          cardio-metabolic [1] -   carefully [3] - 5:11,
body [11] - 10:18,         Brooks [51] - 11:18,        113:5, 113:17,           56:12                    44:19, 250:18
 13:16, 13:17, 17:4,        12:22, 13:3, 13:21,        114:5, 114:18,          Cardiology [5] -         Carlson [1] - 15:6
 23:8, 57:3, 59:2,          15:5, 15:9, 18:4,          115:7, 116:23,           22:17, 118:9,           carried [2] - 13:18,
 84:9, 84:10, 90:12,        18:9, 19:9, 19:13,         118:18, 119:1,           140:21, 140:24,          16:17
 194:7                      20:13, 21:14, 21:16,       126:10, 131:23,          161:22                  carries [1] - 15:18
body's [1] - 11:4           22:4, 62:24, 64:2,         135:8, 136:8, 138:7,    Cardiovascular [1] -     carry [3] - 24:16,
boil [1] - 234:1            67:3, 77:19, 78:7,         138:15, 141:8,           210:22                   25:22
bolded [1] - 110:11         82:8, 83:15, 85:4,         141:15, 144:23,         cardiovascular [108] -   carrying [1] - 16:19
Book [7] - 252:2,           90:19, 93:7, 94:7,         145:14, 146:2,           10:9, 10:11, 10:14,     carved [2] - 28:24,
 252:4, 252:6, 253:4,       95:18, 96:14, 97:4,        146:10, 147:13,          14:25, 20:19, 20:20,     29:5
 253:10, 253:15,            97:14, 100:8, 103:8,       151:16, 153:8,           21:2, 21:6, 21:18,      carved-out [1] - 29:5
 255:2                      105:19, 106:11,            154:20, 155:15,          22:3, 22:19, 23:9,      case [61] - 4:18, 9:16,
book [1] - 224:19           108:2, 108:15,             157:21, 159:19,          23:12, 23:13, 28:14,     9:17, 11:9, 11:15,
borderline [1] - 71:5       109:11, 110:3,             164:4, 201:3,            28:17, 28:25, 29:13,     24:20, 24:22, 24:24,
Boston [1] - 19:11          111:21, 113:3,             210:13, 220:21,          37:1, 46:13, 46:20,      26:3, 27:16, 27:23,
bother [1] - 39:6           114:3, 114:23,             228:22, 233:24,          47:7, 50:6, 52:6,        28:21, 29:1, 29:9,
bottle [1] - 17:23          118:24, 135:6,             239:1, 240:8,            52:9, 53:8, 53:10,       29:10, 29:11, 29:16,
bottom [10] - 18:10,        138:10, 141:13,            240:14, 241:12,          53:20, 53:22, 54:18,     30:11, 30:15, 30:18,
 22:5, 77:17, 100:22,       146:8, 147:11,             253:3, 254:22,           56:3, 56:5, 56:15,       30:19, 31:5, 36:14,
 101:6, 110:19,             151:13, 152:25,            256:17, 264:18,          56:16, 64:14, 64:16,     37:14, 37:21, 37:25,
 143:23, 149:3,             273:9, 275:19              265:7, 270:15,           64:20, 73:14, 73:17,     41:8, 43:12, 44:22,
 203:21, 242:10            brought [5] - 50:19,        273:14, 275:21,          94:21, 94:23, 122:8,     46:14, 46:22, 46:25,
box [3] - 107:7, 108:1,     51:3, 61:5, 61:9,          277:2, 277:24,           123:7, 123:11,           47:9, 47:24, 74:9,
 142:20                     170:17                     279:11, 280:5,           123:13, 123:16,          80:5, 90:4, 96:8,
                           bucket [1] - 234:24         281:12, 284:17,          127:1, 127:8,            121:13, 142:14,
boxes [1] - 156:11



          MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                              (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 311 of 350


                                                                                                                                    9
 151:6, 164:10,            237:23, 259:12            169:10, 169:14,           156:21, 157:1,            classically [8] - 56:12,
 175:8, 175:23,           chain [1] - 194:22         170:8, 171:3, 171:8,      158:12, 158:15,            58:22, 58:23, 59:3,
 176:9, 176:11,           challenge [1] - 55:13      172:12                    159:5, 249:22,             71:8, 98:17, 133:9,
 190:18, 209:6,           challenges [9] -          chemistry [7] - 49:23,     250:2, 250:8,              156:18
 214:3, 255:12,            54:25, 55:1, 55:2,        58:11, 58:15, 60:15,      250:14, 250:20            classified [2] - 172:12,
 255:22, 260:3,            55:16, 56:1, 56:2,        171:12, 194:24,          chronically [6] - 14:2,     173:1
 260:10, 260:12,           56:5, 56:19, 89:9         224:5                     14:7, 14:10, 14:16,       clear [31] - 11:4,
 269:11, 273:22,          challenging [1] -         chest [3] - 133:5,         107:13, 109:2              13:17, 14:16, 17:18,
 289:17, 289:20,           130:12                    133:10, 133:11           Circuit [4] - 24:18,        17:22, 18:1, 19:2,
 299:2                    chance [2] - 5:14,        chewed [1] - 69:16         30:11, 41:1, 41:8          25:9, 25:12, 25:20,
cases [3] - 25:3, 31:1,    98:17                    Chicago [1] - 2:4         circumstance [1] -          27:4, 28:25, 31:17,
 298:12                   Change [1] - 214:20       chief [2] - 49:19,         157:23                     37:11, 37:14, 45:9,
catabolism [1] - 18:16    change [8] - 29:8,         174:23                   circumstances [1] -         46:15, 88:16,
category [2] - 201:20,     31:13, 60:7, 88:13,      choice [2] - 41:13,        39:10                      123:25, 172:18,
 254:4                     112:8, 134:4,             191:13                   cite [4] - 24:22, 26:25,    186:25, 192:7,
caused [2] - 126:25,       215:12, 249:15           choices [1] - 41:11        27:13, 30:12               193:18, 212:2,
 236:1                    changed [3] - 22:21,      Cholesterol [1] -         cited [5] - 25:25,          221:11, 222:15,
causes [3] - 11:2,         61:13, 66:23              71:14                     188:19, 219:25,            226:21, 268:23,
 42:3, 226:24             changing [1] - 161:11     cholesterol [58] -         231:2, 281:13              269:7, 283:12,
causing [2] - 42:10,      characteristics [3] -      14:24, 14:25, 15:12,     cites [3] - 36:3, 133:4,    296:18
 196:17                    90:11, 97:2, 139:22       15:16, 16:23, 16:25,      188:17                    cleared [2] - 17:13,
caution [1] - 132:11      characterization [3] -     17:3, 18:21, 34:10,      citing [7] - 176:21,        17:23
caveat [1] - 77:1          135:16, 154:3,            42:3, 42:22, 52:22,       176:23, 208:5,            clearing [1] - 17:15
cavity [1] - 10:18         232:16                    53:6, 73:9, 80:8,         219:3, 219:21,            clearly [5] - 122:1,
CCR [2] - 1:22, 299:21    characterize [2] -         80:12, 92:20, 93:21,      242:15, 242:21             127:13, 192:19,
cell [1] - 108:24          179:2, 180:2              94:12, 94:13, 94:20,     citizen [5] - 216:15,       194:4, 195:17
cells [3] - 17:2, 17:4,   characterized [8] -        94:21, 94:23, 99:7,       216:20, 217:7,            Clerk [1] - 261:8
 84:11                     52:7, 71:2, 71:8,         99:14, 101:10,            217:9, 219:4              CLERK [7] - 3:4, 49:5,
center [2] - 9:17,         120:7, 120:11,            112:13, 112:15,          citizens [1] - 132:16       252:19, 253:2,
 115:3                     121:24, 150:1,            113:24, 115:6,           Civil [1] - 164:12          270:5, 297:20, 298:1
CEO [4] - 59:24, 60:3,     191:21                    117:18, 120:8,           civil [2] - 298:15,        Cleveland [1] - 21:17
 60:4, 258:13             characterizing [3] -       121:2, 121:24,            299:2                     clinic [1] - 21:18
certain [33] - 11:7,       36:24, 90:9, 181:7        122:15, 122:21,          claim [9] - 25:16,         Clinical [5] - 96:19,
 72:17, 80:8, 85:18,      charge [3] - 263:11,       123:6, 141:20,            25:22, 32:16, 40:24,       140:21, 140:24,
 85:19, 85:24, 89:7,       263:12, 265:8             142:5, 152:6,             41:21, 42:20, 44:15,       199:12, 243:25
 90:8, 91:20, 102:9,      charged [1] - 22:18        179:19, 180:21,           44:21, 47:14              clinical [116] - 12:24,
 104:10, 105:2,           Charles [2] - 3:10,        182:22, 202:12,          claimed [6] - 25:24,        13:24, 15:11, 15:14,
 106:16, 107:1,            164:9                     203:24, 225:23,           27:11, 32:13, 41:19,       23:1, 23:6, 23:19,
 107:2, 107:3,            CHARLES [1] - 1:19         226:5, 226:17,            175:24, 176:12             23:23, 26:10, 28:2,
 121:23, 122:20,          chart [6] - 203:9,         226:25, 271:2,           claims [12] - 9:17,         29:19, 31:15, 31:17,
 130:13, 130:14,           203:10, 203:21,           271:7, 271:11,            9:18, 29:21, 32:20,        31:18, 31:21, 31:25,
 130:17, 132:17,           208:15, 215:5,            273:17, 274:2,            34:8, 35:2, 41:25,         33:1, 34:3, 35:14,
 143:21, 157:11,           242:11                    274:6, 275:12, 282:2      44:19, 44:22, 44:23,       41:22, 42:18, 47:17,
 167:12, 187:22,          charts [1] - 261:17       Chris [3] - 3:7, 8:17,     47:3, 47:4                 49:24, 51:1, 51:4,
 193:4, 193:10,           CHD [2] - 242:3, 242:6     78:1                     claims' [1] - 25:11         55:6, 55:12, 55:15,
 201:16, 201:18,          check [2] - 265:21,       Christie [1] - 118:4      Claire [1] - 3:11           57:25, 58:12, 58:16,
 231:9, 232:13,            294:7                    CHRISTOPHER [1] -         CLAIRE [1] - 1:19           60:19, 62:7, 64:18,
 238:19                   checked [3] - 14:6,        1:14                     clarification [1] -         65:5, 72:14, 72:16,
certainly [19] - 33:10,    14:14, 258:20            Christopher [2] - 4:23,    270:2                      72:19, 72:21, 72:23,
 40:19, 53:7, 54:3,       checklist [10] - 13:22,    9:15                     clarify [8] - 127:17,       73:22, 73:24, 78:2,
 84:5, 87:1, 88:4,         105:15, 105:17,          chronic [32] - 11:12,      171:16, 180:5,             78:11, 78:19, 78:20,
 125:17, 192:23,           105:22, 105:24,           12:10, 12:16, 38:8,       181:5, 249:9, 253:4,       78:24, 78:25, 80:24,
 223:12, 226:21,           105:25, 106:8,            39:21, 40:2, 40:4,        276:24, 277:21             81:10, 81:12, 81:14,
 227:7, 231:2, 260:9,      106:9, 106:15,            40:5, 71:18, 84:1,       clarity [1] - 177:7         81:16, 81:18, 81:19,
 268:25, 281:6,            250:16                    85:13, 106:21,           class [6] - 53:6, 70:14,    82:4, 87:6, 88:10,
 284:10, 293:13,          chemical [17] - 51:16,     108:9, 108:21,            107:25, 158:9,             89:10, 93:5, 94:18,
 298:18                    85:12, 106:21,            110:16, 110:23,           158:10, 160:3              95:10, 96:3, 96:20,
certify [1] - 299:18       108:21, 109:2,            110:25, 153:12,          classic [5] - 39:13,        100:5, 103:19,
cetera [5] - 59:2,         110:16, 111:3,            153:22, 154:2,            58:18, 84:3, 90:2,         103:21, 105:24,
 141:22, 148:21,           111:5, 111:6, 169:7,      154:5, 154:22,            93:23                      105:25, 106:2,




         MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                             (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 312 of 350


                                                                                                                          10
 111:9, 121:14,            183:8, 204:16,         companies [8] -            13:8, 41:25, 73:4,      conclusions [2] -
 136:22, 140:13,           282:13                  21:25, 28:20, 60:24,      95:1, 102:3, 102:12,     239:4, 275:5
 144:14, 145:2,           combinations [1] -       94:17, 149:13,            105:2, 107:18,          concomitant [1] -
 145:5, 145:6,             184:20                  168:6, 168:14,            109:1, 122:3, 122:6,     99:17
 146:13, 165:20,          coming [4] - 6:7,        284:11                    148:10, 243:11,         concomitantly [1] -
 165:24, 165:25,           30:24, 184:2, 233:17   company [27] - 22:23,      243:18                   92:15
 166:7, 166:15,           comment [10] -           34:23, 50:5, 50:17,      components [6] -         condition [15] - 20:10,
 166:21, 167:6,            154:10, 156:11,         50:22, 54:2, 54:4,        32:19, 106:5, 122:4,     38:8, 39:22, 43:24,
 167:16, 168:7,            156:25, 157:2,          54:6, 54:12, 57:6,        128:21, 132:19,          43:25, 71:19, 72:6,
 168:11, 168:15,           178:9, 180:11,          57:9, 59:22, 62:4,        150:21                   84:2, 84:6, 85:13,
 174:9, 174:14,            188:9, 203:17,          62:16, 87:15, 88:2,      composite [2] -           90:14, 101:25,
 181:13, 184:5,            207:6, 210:16           129:20, 160:24,           132:20, 144:9            106:21, 250:14,
 184:8, 184:19,           commenting [1] -         168:10, 171:17,          composition [1] -         250:20
 185:4, 185:6,             202:6                   276:11, 276:14,           61:18                   conditions [3] - 51:22,
 185:18, 186:8,           comments [7] - 19:14,    276:15, 276:22,          compound [2] - 111:7,     150:12, 230:23
 187:2, 197:20,            19:15, 87:25, 149:9,    278:15                    127:3                   conduct [17] - 56:14,
 197:24, 198:1,            154:10, 157:5, 208:9   company's [1] - 61:1      compounds [4] -           56:19, 59:4, 87:7,
 199:7, 222:3, 222:6,     commercial [5] -        comparable [2] -           51:16, 51:19, 70:14,     90:7, 101:24,
 226:2, 226:10,            55:12, 174:21,          101:13, 237:18            206:15                   108:22, 109:3,
 226:15, 240:21,           251:2, 251:4, 291:8    compare [8] - 60:12,      comprised [2] - 134:9,    121:13, 121:21,
 241:6, 244:10,           commercialization [2]    61:18, 100:1,             171:14                   122:2, 173:21,
 281:2, 281:6, 285:9       - 59:21, 224:9          101:12, 149:22,          COMPUTER [1] -            187:9, 188:1,
clinically [4] - 55:21,   commercialize [1] -      201:24, 272:12,           279:23                   193:11, 221:8,
 113:22, 115:4,            167:19                  272:14                   concede [1] - 45:22       280:11
 182:15                   commercialized [3] -    compared [9] - 42:21,     conceded [4] - 20:7,     conducted [31] - 23:1,
clinician [1] - 23:22      50:8, 62:6, 157:15      56:6, 139:10,             25:16, 40:1, 40:9        23:2, 31:16, 81:24,
clinicians [2] - 38:12,   commercially [1] -       196:19, 205:7,           concedes [5] - 38:16,     94:18, 96:13, 100:3,
 161:9                     129:19                  208:25, 232:7,            38:23, 39:10, 43:17,     101:22, 102:7,
clock [2] - 50:19,        commercials [1] -        232:25, 271:4             44:11                    105:4, 107:19,
 161:2                     251:10                 compares [2] -            conceived [2] -           109:8, 110:15,
closely [1] - 180:18      Committee [1] -          285:15, 286:6             175:24, 176:12           129:18, 132:17,
closing [1] - 257:10       245:24                 comparing [6] - 104:6,    concentration [2] -       139:24, 158:2,
CNS [6] - 23:3,           committee [8] -          150:3, 199:8,             178:23, 273:17           174:9, 180:22,
 184:14, 188:11,           124:21, 126:18,         217:17, 266:2, 266:4     conception [5] -          193:2, 195:18,
 193:12, 280:15,           151:5, 156:7, 224:1,   comparison [7] -           32:14, 34:16,            195:21, 195:24,
 280:25                    224:23, 246:3,          100:23, 101:7,            176:20, 177:15,          199:8, 206:2, 213:5,
co [1] - 100:17            246:24                  139:8, 139:9,             190:1                    226:8, 226:10,
co-therapy [1] -          common [4] - 13:15,      246:17, 272:7,           concern [9] - 15:3,       227:24, 236:15,
 100:17                    43:23, 247:24,          272:10                    15:14, 15:21, 16:10,     280:15
coauthors [1] - 141:1      247:25                 compensation [1] -         115:23, 125:8,          conducting [4] -
code [3] - 33:14,         commonly [3] - 94:12,    259:8                     163:13, 268:11,          29:13, 31:20, 59:13,
 72:16, 190:25             157:16, 168:1          competition [4] - 32:4,    268:17                   226:12
coincident [1] -          communicate [1] -        170:25, 173:16,          concerned [5] -          conducts [1] - 260:13
 169:16                    276:18                  175:9                     165:17, 260:23,         confer [4] - 269:18,
collated [1] - 264:25     communicated [2] -      compilation [1] -          268:23, 269:6,           289:10, 298:13,
colleague [4] - 7:13,      110:12, 129:6           74:23                     293:16                   298:22
 8:12, 74:16, 289:18      communicating [5] -     compiling [1] - 145:4     concerning [2] -         Conference [1] -
colleagues [2] -           75:22, 76:11, 76:23,   complements [1] -          221:24, 231:7            106:23
 62:13, 276:18             120:15, 131:12          174:24                   concerns [1] - 117:3     conferring [3] -
collected [1] - 93:23     communication [7] -     complete [8] - 8:21,      concession [1] -          277:16, 292:23,
College [2] - 56:25,       75:12, 75:20, 76:3,     29:19, 40:16,             38:19                    298:23
 57:5                      76:19, 131:11,          150:20, 228:18,          concise [1] - 193:17     confidence [2] -
colloquy [1] - 164:16      136:17, 154:12          229:23, 229:24,          concluded [5] - 34:9,     186:10, 285:4
colored [1] - 67:22       communications [6] -     230:7                     79:5, 79:6, 105:8,      confident [1] - 226:23
colors [1] - 6:25          74:25, 78:15,          completed [4] - 51:5,      219:13                  confidential [5] - 5:2,
column [5] - 97:22,        130:24, 131:2,          127:16, 151:10,          concluding [1] -          5:12, 6:8, 19:11,
 148:24, 273:10,           166:1, 221:6            286:18                    104:13                   27:14
 273:13, 274:13           community [2] - 28:1,   completely [1] - 47:13    conclusion [5] - 33:7,   confirm [12] - 179:12,
combination [6] -          284:7                  complex [1] - 61:20        45:3, 208:6, 239:2,      185:7, 185:14,
 80:14, 87:13, 183:2,     compact [1] - 186:10    component [16] -           239:6                    185:19, 186:15,




          MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                              (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 313 of 350


                                                                                                                            11
 205:23, 214:4,          CONSTANCE [1] -            201:13, 201:15,          convened [2] - 19:6,       183:21, 183:23,
 254:11, 255:25,          2:10                      202:16, 218:6,            19:11                     184:9, 185:15,
 263:23, 297:8, 298:7    Constituent [1] -          218:23, 219:1,           convenience [2] - 7:1,     186:8, 188:21,
confirmation [3] -        77:18                     227:23, 228:23,           297:3                     194:6, 195:18,
 46:23, 186:1, 186:22    constraints [1] -          228:24, 232:11,          convenient [1] -           195:25, 204:4,
confirmatory [3] -        239:11                    232:17, 235:22,           267:18                    207:9, 207:15,
 31:18, 31:21, 46:7      construct [1] - 236:24     236:10, 244:17,          convening [1] - 151:8      212:11, 213:24,
confirmed [6] - 12:19,   constructed [1] -          246:20, 272:1,           conversant [1] - 130:5     214:7, 216:11,
 31:18, 36:16, 37:2,      195:20                    280:19                   conversation [2] -         217:5, 218:5,
 46:7, 266:19            constructing [1] -        contexts [1] - 219:1       126:3, 228:12             218:22, 220:4,
confirming [1] - 186:4    215:21                   continually [1] -         conversations [3] -        221:14, 222:17,
confirms [1] - 267:17    consultant [4] - 78:1,     168:19                    125:5, 126:3, 126:6       222:19, 224:23,
conflict [1] - 48:3       78:2, 78:4, 78:5         continue [7] - 1:25,      conversely [2] -           226:5, 226:9,
confound [1] - 143:10    consultation [1] -         47:6, 84:18, 98:8,        195:10, 196:2             226:19, 227:17,
confounding [1] -         128:9                     167:19, 167:20,          conversion [1] - 18:13     227:18, 227:22,
 84:25                   consultative [1] -         175:8                    converted [2] - 18:20,     229:1, 229:4, 229:5,
conjunction [2] -         222:4                    continued [3] - 18:2,      147:7                     229:9, 230:12,
 103:6, 115:2            consulted [7] - 134:7,     300:25, 301:25           convey [4] - 108:5,        231:6, 234:3, 236:6,
connection [1] - 231:3    134:8, 134:18,           Continued [2] - 301:1,     158:11, 201:17,           236:7, 236:9,
Connie [2] - 3:13,        179:11, 180:5,            302:1                     275:3                     237:16, 238:6,
 289:18                   197:4, 215:21            CONTINUED [1] - 2:1       conveyed [3] - 128:1,      239:17, 240:2,
connotes [1] - 178:25    consumer [2] - 113:8,     continues [2] - 53:10,     128:2, 283:22             241:7, 241:8, 242:7,
cons [2] - 134:1,         114:7                     99:7                     conveying [5] - 97:1,      242:23, 243:15,
 134:17                  consumption [1] -         contradict [1] - 48:1      114:25, 116:5,            243:18, 244:14,
                          11:7                     contradiction [1] -        134:19, 244:16            244:15, 244:18,
consequence [2] -
                         contact [3] - 124:17,      36:2                                                245:6, 245:13,
 16:13, 19:1                                                                 convince [3] - 34:24,
                          131:5, 156:15            contrary [3] - 46:9,                                 246:4, 246:19,
consequences [1] -                                                            238:9, 240:1
                                                    209:17, 235:19                                      247:12, 248:11,
 72:13                   contain [2] - 109:25,                               convincing [1] - 25:20
                                                   contrast [2] - 117:14,                               250:6, 250:14,
consequently [1] -        197:1                                              copies [3] - 48:22,
                                                    234:18                                              250:20, 251:11,
 195:9                   contained [3] -                                      253:2, 261:22
                                                   contrasted [1] -                                     253:9, 256:8, 257:2,
consider [5] - 122:17,    133:25, 223:20,                                    copy [9] - 76:4, 162:9,
                                                    132:24                                              257:15, 258:7,
 186:1, 193:7, 274:23     278:5                                               162:10, 178:2,
                                                   contrasting [2] -                                    258:13, 258:17,
considerable [2] -       containing [10] - 6:22,                              263:1, 264:22,
                                                    104:6, 150:3                                        258:19, 258:24,
 28:10, 81:20             72:18, 79:24, 79:25,                                268:13, 294:5, 297:3
                                                                                                        259:11, 259:25,
consideration [3] -       80:15, 116:6, 127:3,     contribute [5] - 11:8,    core [1] - 238:15
                                                                                                        260:10, 262:25,
 150:4, 168:12,           129:14, 172:2, 172:4      84:5, 85:23, 94:6,       corner [1] - 18:10
                                                                                                        264:5, 265:5,
 239:21                  contains [4] - 16:22,      108:24                   coronary [16] - 33:8,
                                                                                                        265:20, 266:4,
considerations [5] -      51:15, 68:22, 297:3      contributing [2] -         64:10, 144:5,
                                                                                                        268:19, 276:6,
 45:7, 85:14, 194:12,    contending [1] -           84:15, 85:2               182:17, 204:15,
                                                                                                        282:7, 282:12,
 256:1, 259:13            175:14                   contribution [1] -         204:25, 205:6,
                                                                                                        282:24, 292:6,
considered [6] - 6:18,   contends [2] - 175:23,     46:24                     208:24, 233:2,
                                                                                                        292:7, 292:9,
 56:7, 71:5, 159:1,       185:6                    control [12] - 58:11,      233:4, 242:6,
                                                                                                        296:20, 296:23,
 161:9, 161:11           content [3] - 106:16,      73:8, 84:15, 92:20,       242:12, 242:18,
                                                                                                        299:18
considering [1] -         176:7, 213:22             117:18, 117:23,           244:6, 245:12,
                                                                                                       corrected [1] - 223:9
 246:24                  contention [1] - 176:9     120:8, 122:16,            245:15
                                                                                                       correspondence [2] -
considers [2] -          contentions [2] -          152:6, 194:25,           corporate [4] - 3:18,
                                                                                                        76:8, 125:13
 132:11, 132:20           45:22, 176:11             232:7, 245:11             164:11, 190:10,
                                                                                                       corresponding [1] -
consisted [1] - 257:6    contents [2] - 77:9,      controllable [1] - 84:8    212:24
                                                                                                        103:9
consistency [1] -         279:15                   controlled [11] - 61:3,   correct [114] - 44:10,
                                                                                                       corticosteroid [1] -
 149:1                   context [38] - 91:24,      73:3, 86:8, 102:5,        101:16, 104:20,
                                                                                                        39:18
consistent [15] -         98:18, 107:24,            107:17, 142:6,            164:8, 165:12,
                                                                                                       cost [2] - 53:12, 137:2
 42:25, 46:21, 57:21,     108:7, 127:13,            201:10, 201:17,           166:22, 167:4,
                                                                                                       Council [1] - 134:9
 82:1, 99:21, 149:23,     153:16, 159:4,            217:17, 238:1,            167:16, 169:1,
                                                    281:24                                             counsel [35] - 3:6,
 161:1, 203:17,           165:4, 179:7,                                       169:4, 170:25,
                                                   controlling [1] -                                    3:17, 3:19, 3:23, 4:8,
 203:19, 238:14,          179:21, 180:3,                                      171:6, 171:25,
                                                    271:11                                              5:21, 7:16, 8:3, 8:8,
 246:14, 247:8,           181:6, 181:9,                                       172:15, 172:22,
                                                                                                        30:7, 33:1, 33:16,
 247:10, 256:2, 267:3     186:24, 188:11,          controls [8] - 49:24,      173:9, 173:10,
                                                                                                        34:11, 37:13, 42:24,
consistently [2] -        188:12, 192:21,           58:16, 60:16,             173:18, 173:19,
                                                                                                        43:5, 44:21, 48:20,
 55:10, 129:2             193:1, 193:23,            171:13, 205:7,            174:2, 177:22,
                                                                                                        86:21, 162:18,
consisting [1] - 62:1     194:1, 198:1,             209:1, 209:3, 224:5       178:19, 181:1,



         MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                             (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 314 of 350


                                                                                                                            12
 176:4, 200:19,            9:21, 29:24, 48:11,     290:25, 291:5,            cross [17] - 202:9,      69:10, 69:11, 101:7,
 208:10, 210:5,            48:23, 49:1, 63:2,      291:14, 291:20,            268:13, 269:6,          184:22
 210:10, 264:12,           63:13, 66:5, 69:22,     291:24, 292:8,             272:10, 277:11,        damage [1] - 10:19
 267:17, 268:1,            70:1, 70:5, 74:20,      292:24, 295:5,             283:4, 283:16,         danger [1] - 15:19
 293:23, 297:20,           77:4, 81:5, 87:9,       295:8, 295:11,             284:10, 284:14,        Daniel [1] - 3:8
 298:9, 298:13,            87:20, 88:3, 88:18,     295:13, 295:18,            288:9, 289:22,         DANIEL [1] - 1:16
 298:16, 298:22,           89:15, 113:15,          295:21, 296:4,             290:21, 293:5,         dark [1] - 120:19
 298:23                    114:16, 116:21,         296:7, 296:16,             298:9, 298:17,         dashed [1] - 104:8
counsel's [2] - 37:6,      118:16, 125:6,          296:21, 297:5,             298:24                 data [37] - 12:24, 14:7,
 293:17                    125:14, 126:7,          297:9, 297:17,            cross-examination [9]    27:5, 35:11, 35:14,
count [1] - 253:18         131:21, 136:6,          297:23, 298:3,             - 268:13, 269:6,        49:25, 99:24,
counted [1] - 253:20       137:6, 137:11,          298:11, 299:1, 299:6       283:16, 284:10,         102:18, 104:2,
counter [1] - 158:17       138:4, 141:6,          court [5] - 7:17, 30:24,    284:14, 288:9,          108:18, 128:23,
counterassert [1] -        145:12, 145:25,         176:4, 176:24,             289:22, 290:21,         129:9, 148:6,
 238:19                    153:2, 153:5, 153:7,    262:22                     298:17                  184:19, 185:7,
counterdesignation         154:18, 155:1,         Court's [5] - 6:25,        CROSS-                   185:12, 185:13,
 [1] - 7:8                 155:8, 157:6, 157:8,    8:21, 30:10, 297:3,        EXAMINATION [1] -       185:18, 186:8,
counterdesignations        159:17, 161:25,         297:12                     164:3                   186:15, 186:22,
 [2] - 6:16, 296:19        162:5, 162:10,         courthouse [1] -           Cross-examination        187:14, 192:7,
counterpart [1] -          162:12, 162:16,         299:9                      [1] - 300:5             193:18, 194:4,
 232:4                     162:21, 163:2,         courtroom [6] - 5:16,      cross-examine [2] -      199:5, 218:14,
counterpoint [10] -        163:13, 163:21,         5:21, 5:25, 6:5,           202:9, 293:5            227:8, 230:25,
 231:24, 234:4,            163:24, 200:7,          74:19                     crosschecking [1] -      232:2, 237:9,
 234:7, 235:1,             200:18, 210:8,         courts [2] - 298:21,        215:22                  272:23, 274:5,
 235:18, 236:12,           220:12, 220:15,         298:23                    crossed [1] - 277:7      274:8, 281:5, 281:6
 236:13, 237:1,            220:18, 233:15,        cover [12] - 109:16,       crosses [1] - 104:8     date [45] - 32:14, 34:3,
 237:25                    238:21, 252:10,         151:20, 152:17,           crushed [1] - 69:16      34:16, 75:6, 75:7,
Counterpoints [1] -        252:13, 252:23,         165:3, 227:18,            culmination [1] -        76:21, 159:11,
 231:20                    260:16, 260:22,         227:19, 230:5,             117:1                   169:16, 169:24,
counterpoints [3] -        261:5, 261:15,          233:10, 233:20,           culture [1] - 54:2       170:14, 175:6,
 232:13, 236:19,           261:21, 262:2,          235:21, 246:8,            cumbersome [1] -         176:13, 176:14,
 236:22                    262:5, 262:10,          270:17                     5:16                    176:20, 176:21,
counterpropose [1] -       262:12, 262:15,        coverage [1] - 175:11                               176:23, 177:3,
                                                                             cumulative [2] -
 158:19                    262:17, 262:20,        covered [3] - 32:20,                                177:5, 177:15,
                                                                              242:11, 242:17
countries [4] - 55:23,     263:1, 263:4,           249:9, 250:22                                      178:6, 189:16,
                                                                             curiosity [3] - 88:7,
 139:24, 150:4, 183:4      263:18, 263:24,        covering [4] - 47:12,                               189:19, 189:20,
                                                                              88:20, 88:22
                           264:2, 264:23,          174:25, 256:5, 256:7                               189:21, 189:25,
country [1] - 57:22                                                          curious [2] - 88:15,
                           265:2, 265:13,         covers [3] - 40:5, 40:6,                            190:3, 192:7,
couple [12] - 37:6,                                                           88:22
                           265:16, 265:19,         40:9                                               197:21, 197:25,
 98:9, 132:14, 149:9,                                                        current [6] - 36:6,
                           265:25, 266:13,        crafted [1] - 44:18                                 199:5, 216:18,
 163:9, 175:5, 206:4,                                                         95:24, 96:1, 130:6,
                           266:16, 266:23,        create [2] - 224:4,                                 221:22, 226:3,
 249:9, 260:4, 269:1,                                                         250:12, 253:10
                           267:3, 267:12,          299:10                                             226:16, 227:1,
 270:17, 290:15                                                              Curtis [3] - 132:2,
                           267:19, 268:11,        created [10] - 8:24,                                228:20, 230:3,
course [11] - 14:11,                                                          135:20, 135:23
                           268:16, 268:20,         32:6, 127:5, 172:19,                               230:4, 252:8,
 14:15, 26:18, 35:15,                                                        curve [5] - 103:25,
                           269:2, 269:19,          224:13, 246:6,                                     257:11, 273:2,
 39:4, 45:19, 53:18,                                                          104:7, 104:12, 147:3
                           270:1, 270:6,           252:18, 288:8,                                     278:11, 281:18,
 108:11, 128:14,                                                             custodian [2] -
                           270:11, 270:13,         288:25, 289:6                                      281:19, 292:20
 130:20, 291:12                                                               189:16, 190:6
                           276:23, 277:13,                                                           Date [1] - 299:21
Court [20] - 1:23, 5:16,                          creating [1] - 292:13      customary [1] - 84:20
                           277:19, 277:23,                                                           dated [11] - 66:9,
 6:14, 7:2, 7:15, 7:18,                           criminal [1] - 298:12      CV [7] - 10:25, 15:3,
                           278:23, 279:3,                                                             75:22, 177:14,
 7:19, 24:7, 24:10,                               criteria [8] - 81:24,       16:2, 23:23, 28:6,
                           279:6, 279:25,                                                             210:24, 213:16,
 32:7, 40:25, 41:9,                                83:4, 83:5, 119:7,         73:17, 244:24
                           283:15, 284:5,                                                             214:10, 214:11,
 224:13, 252:14,                                   139:20, 142:2,            CVOTs [2] - 243:6,
                           284:23, 285:12,                                                            221:12, 242:21,
 267:18, 288:20,                                   148:18, 148:22             243:8
                           285:23, 286:4,                                                             245:24, 256:21
 289:16, 291:2,                                   criterion [4] - 83:2,
                           287:7, 287:10,                                                            dates [1] - 174:25
 295:2, 295:3                                      92:9, 96:23, 143:15
                           287:12, 287:15,                                              D            dating [2] - 166:25,
COURT [172] - 1:1,                                critical [1] - 38:19
                           287:19, 288:13,                                                            198:25
 3:21, 4:17, 4:20, 5:5,                           criticisms [1] - 150:8     D-M-E-P [1] - 128:8
                           288:21, 289:1,                                                            David [1] - 78:4
 6:2, 6:9, 7:4, 7:9,                              criticizing [1] - 240:17   D.C [2] - 1:17, 1:20
                           289:5, 289:12,
 7:21, 8:2, 8:6, 8:14,                            CROSS [1] - 164:3          daily [9] - 68:24,      day-to-day [1] -
                           289:23, 290:1,
 9:2, 9:7, 9:10, 9:13,                            Cross [1] - 300:5           68:25, 69:5, 69:9,      181:19
                           290:3, 290:14,



          MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                              (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 315 of 350


                                                                                                                             13
days [3] - 177:14,       decide [4] - 7:25,         24:13, 25:5, 25:14,        213:21, 216:6,            257:9, 257:11
 177:16, 189:25           269:21, 293:18,           25:19, 27:2, 27:11,        216:10, 271:17           depression [4] - 23:4,
DDX [78] - 165:16,        294:17                    28:23, 29:2, 29:10,       demonstrated [8] -         33:18, 183:17,
 165:20, 165:23,         decided [3] - 29:1,        29:21, 164:9,              19:5, 35:1, 194:5,        184:12
 166:5, 169:22,           33:20, 134:19             164:21, 170:16,            216:1, 235:15,           depth [2] - 36:14,
 174:20, 175:18,         deciding [2] - 134:1,      175:14, 252:15,            239:9, 239:12,            40:23
 176:15, 177:25,          134:21                    263:21, 289:10,            245:12                   derivatives [1] - 70:15
 181:22, 182:13,         deciliter [32] - 9:25,     289:15, 289:19,           demonstrating [3] -       derived [3] - 51:14,
 182:23, 183:14,          10:2, 13:7, 27:6,         293:2, 296:19              27:25, 53:17, 238:8       225:11, 234:13
 184:3, 184:15,           52:3, 52:8, 64:13,       Defendants' [9] -          demonstrative [21] -      describe [22] - 13:12,
 185:2, 186:13,           65:3, 71:4, 71:6,         152:11, 152:12,            165:15, 206:20,           44:19, 54:2, 58:12,
 187:7, 188:15,           71:9, 71:11, 73:11,       273:7, 276:1,              212:1, 241:11,            72:19, 80:22, 91:1,
 189:5, 190:5,            73:16, 91:10, 91:11,      277:20, 277:25,            245:22, 251:17,           93:10, 96:5, 96:22,
 190:21, 192:1,           91:14, 117:20,            279:12, 280:3,             254:20, 256:15,           118:1, 119:2,
 195:2, 196:15,           120:4, 124:10,            281:13                     261:15, 261:18,           119:20, 137:5,
 197:10, 198:8,           139:21, 142:4,           defendants' [27] -          265:17, 266:1,            139:16, 140:9,
 199:4, 201:9,            142:5, 142:6, 142:7,      11:19, 11:23, 11:24,       267:19, 268:14,           140:19, 142:12,
 204:11, 211:17,          142:10, 142:16,           20:7, 24:9, 24:19,         268:22, 269:9,            143:6, 144:12,
 212:1, 213:8,            143:2, 151:22,            25:9, 25:25, 26:2,         270:3, 270:7,             154:1, 232:6
 213:20, 216:14,          151:24, 186:19,           26:13, 28:12, 30:2,        279:21, 281:10,          described [11] - 52:16,
 216:19, 217:6,           248:22                    40:14, 40:23, 153:6,       297:2                     67:16, 80:9, 92:18,
 217:13, 218:12,         decision [6] - 127:23,     156:4, 170:12,            demonstratives [1] -       95:15, 126:24,
 220:23, 222:10,          128:1, 128:4,             209:17, 268:7,             280:2                     144:14, 149:24,
 223:14, 224:25,          130:18, 135:14,           279:21, 280:1,            denial [2] - 133:25,       199:11, 203:5,
 225:9, 229:6, 230:6,     136:13                    281:9, 281:11,             134:19                    206:14
 230:17, 231:23,         decisions [2] - 41:1,      288:12, 288:24,           denied [2] - 134:10,      describes [3] - 67:21,
 232:20, 234:25,          263:15                    290:19, 293:23             240:10                    80:24, 171:12
 236:4, 236:12,          deck [3] - 241:9,         DEFENDANTS' [2] -          density [5] - 16:22,      describing [2] - 18:5,
 236:25, 237:24,          241:25, 251:16            301:19, 302:4              17:9, 17:10, 93:21,       68:13
 239:3, 239:6,           Declan [1] - 77:24        defense [4] - 25:1,         94:12                    description [4] -
 241:11, 242:2,          declaration [6] - 44:3,    25:14, 25:19, 30:7        denying [1] - 131:17       66:25, 68:13, 81:18,
 242:24, 243:24,          135:5, 135:20,           defer [1] - 267:21         depicted [14] - 93:11,     205:9
 244:3, 244:20,           135:23, 136:1,           deferring [1] - 288:15      97:17, 100:12,           Design [1] - 242:25
 245:8, 245:22,           136:10                   defined [3] - 9:24,         101:2, 101:11,           design [31] - 80:22,
 246:5, 246:22,          declare [1] - 148:17       106:1, 232:24              103:12, 106:14,           80:24, 81:19, 82:1,
 247:3, 248:10,          declined [1] - 268:16     defining [1] - 255:15       120:19, 142:19,           82:14, 82:15, 85:14,
 249:18, 251:17,         decrease [2] - 160:17,    definite [2] - 38:8,        146:7, 146:19,            87:7, 96:22, 118:1,
 254:21, 256:16,          260:4                     41:14                      146:23, 146:24,           118:19, 118:22,
 256:23, 258:6,          decreased [3] -           definitive [1] - 238:19     147:14                    119:3, 121:13,
 268:18, 269:20,          132:25, 206:9,           definitively [1] - 227:3   depicting [1] - 148:7      132:11, 136:12,
 280:2, 281:22            242:12                   degree [7] - 56:23,        depiction [1] - 146:12     140:11, 140:19,
dead [1] - 42:17         deemed [3] - 29:3,         120:25, 122:20,           depicts [2] - 97:18,       140:21, 140:24,
deadlines [1] - 292:25    29:4, 167:7               122:24, 172:23,            146:11                    141:9, 141:12,
deal [1] - 254:20        Deeph [1] - 3:20           193:8, 193:24             deployed [3] - 84:13,      141:18, 143:6,
deals [1] - 125:15       deeply [2] - 89:25,       degrees [1] - 192:19        140:14, 167:24            193:11, 201:10,
death [7] - 10:19,        285:4                    delay [4] - 123:14,        deploys [1] - 84:9         201:11, 231:15,
 53:12, 133:21,          deeply-held [1] -          166:23, 169:13,           deposed [1] - 200:18       235:2, 239:10, 243:3
 144:3, 147:21,           285:4                     228:19                    Deposition [3] -          designated [12] - 5:12,
 149:3, 248:14           defects [2] - 13:12,      deleted [1] - 157:23        164:21, 164:22,           6:3, 31:7, 31:8,
decade [4] - 54:19,       13:15                    delineated [1] - 81:14      164:24                    164:11, 164:25,
 54:23, 140:12,          DEFENDANT [3] -           delivered [1] - 17:4       deposition [16] - 6:13,    200:3, 200:8, 200:9,
 173:23                   1:19, 2:3, 2:10          demarcate [1] - 188:9       6:16, 6:23, 23:15,        200:10, 200:17,
decade-plus [2] -        defendant [3] - 48:8,     demarcated [1] -            24:5, 38:13, 48:2,        200:23
 54:23, 140:12            153:5, 289:12             113:21                     177:10, 189:12,          designation [1] - 7:8
decades [1] - 23:17      Defendant [1] - 3:10      demographics [1] -          190:13, 200:13,          designations [7] -
December [9] - 19:10,    defendant's [1] -          97:1                       200:16, 210:19,           6:13, 6:16, 6:17,
 20:23, 52:4, 63:9,       11:16                    Demonstrate [1] -           294:23, 296:9,            6:24, 294:24,
 65:22, 151:12,          Defendants [1] - 1:9       213:9                      297:15                    296:18, 297:15
 228:20, 247:14,         defendants [24] -         demonstrate [6] -          depositions [1] - 7:5     designed [12] - 36:24,
 253:8                    3:19, 8:19, 11:5,         79:13, 117:21,            Depository [2] -           51:6, 88:9, 117:11,




         MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                             (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 316 of 350


                                                                                                                              14
 127:13, 168:13,         95:1, 111:9, 121:14,       88:11, 91:12, 91:21,        138:6                     156:2, 171:23,
 201:24, 235:14,         159:4, 177:22,             91:23, 92:1, 92:4,         direct [22] - 63:20,       176:19, 177:10,
 238:8, 239:11,          183:23, 186:2,             113:22, 115:4,              69:5, 100:9, 113:8,       200:15, 201:14,
 243:6, 266:7            186:3, 186:11,             119:24, 138:19,             114:7, 132:7,             219:2, 223:11,
desire [2] - 29:11,      186:23, 187:2,             138:24, 139:2,              154:11, 166:6,            271:25, 273:3,
 74:7                    188:6, 188:16,             139:10, 139:11,             168:25, 183:20,           276:7, 278:1, 278:4,
despite [4] - 45:1,      190:10, 190:15,            194:11, 229:16              221:2, 221:4,             280:6, 281:15
 239:10, 244:6,          193:11, 197:17,           dietary [4] - 84:4,          227:21, 240:5,           discusses [2] - 132:5,
 275:12                  222:6, 223:7, 224:6,       172:2, 172:4, 193:3         249:9, 249:11,            177:21
detail [1] - 81:21       224:9, 226:11,            differ [2] - 284:20,         250:23, 281:20,          discussing [8] -
detailed [2] - 81:18,    250:17, 281:2              286:2                       284:5, 298:10,            18:11, 166:6, 178:6,
 151:1                  devised [1] - 136:21       difference [8] - 22:9,       298:22, 298:24            181:14, 188:17,
details [7] - 175:13,   devoted [6] - 22:24,        41:24, 60:18,              Direct [1] - 300:4         200:2, 223:9, 275:1
 175:22, 205:22,         140:10, 202:20,            100:24, 101:9,             direct-to-consumer        discussion [7] - 8:7,
 217:8, 254:6,           204:21, 213:9,             123:1, 147:1, 286:22        [2] - 113:8, 114:7        12:13, 69:21,
 254:11, 256:9           213:20                    differences [6] -           directed [4] - 98:12,      110:18, 126:6,
determination [6] -     DHA [58] - 32:19,           66:15, 100:2, 193:1,        211:3, 272:19,            132:6, 272:4
 59:16, 86:9, 96:6,      34:10, 41:25, 42:8,        194:22, 206:16,             276:21                   discussions [12] - 8:3,
 96:9, 102:25, 151:4     42:11, 42:15, 42:19,       237:21                     directing [1] - 22:18      77:11, 85:10, 130:2,
determine [5] - 27:7,    42:21, 42:23, 61:22,      different [46] - 6:24,      direction [3] - 140:14,    155:3, 155:6,
 83:1, 143:11, 201:5,    183:2, 183:8,              26:7, 26:15, 33:17,         156:9, 167:24             155:17, 155:20,
 248:2                   184:20, 185:5,             42:19, 47:14, 51:23,       directions [1] - 11:22     198:25, 210:5,
determined [10] -        185:14, 192:8,             65:23, 67:24, 70:25,       directly [2] - 48:3,       277:5, 286:10
 71:24, 83:11, 119:6,    199:6, 199:10,             86:13, 87:2, 105:14,        199:8                    disease [32] - 10:10,
 142:18, 142:22,         201:6, 202:12,             105:15, 117:12,            Director [2] - 75:4,       12:17, 23:3, 33:17,
 151:6, 169:5, 171:3,    202:17, 202:23,            148:5, 174:5, 174:6,        135:25                    52:10, 53:10, 56:4,
 230:9, 248:25           203:3, 203:13,             174:10, 176:21,            director [3] - 76:19,      64:14, 64:16, 73:17,
determining [5] -        203:23, 208:3,             181:23, 185:21,             132:1, 134:13             108:21, 139:22,
 148:18, 150:19,         208:6, 208:10,             186:4, 186:14,             disagreed [2] - 231:7,     141:22, 160:9,
 156:8, 203:3            208:13, 208:17,            188:11, 193:1,              231:9                     160:15, 161:5,
detour [1] - 229:21      209:18, 209:24,            193:3, 194:18,             discipline [2] - 57:17,    183:16, 183:24,
detract [1] - 122:18     212:19, 213:9,             194:22, 194:23,             109:23                    184:12, 194:19,
develop [4] - 31:10,     217:18, 217:19,            205:25, 219:1,             disciplined [1] - 54:12    198:13, 198:19,
 33:16, 33:20, 167:20    218:15, 218:21,            219:6, 219:21,             disciplines [3] -          213:6, 226:12,
developed [9] - 36:9,    219:4, 219:8, 219:9,       224:8, 233:12,              49:21, 49:23, 102:23      233:2, 233:4, 242:6,
 52:11, 52:12, 85:12,    219:13, 219:16,            270:18, 271:6,             disclosed [3] - 44:16,     248:23, 249:2,
 88:23, 89:12,           220:4, 220:7,              283:8, 284:16,              290:5, 293:3              249:4, 281:3, 281:8
 149:12, 193:10,         273:18, 273:19,            285:10, 285:24,            disclosure [4] -          Disease [1] - 210:22
 212:4                   273:25, 274:8,             297:14                      289:13, 290:16,          diseases [1] - 56:7
developing [8] -         274:14, 274:21,           differential [6] - 201:6,    290:20, 292:2            dismiss [1] - 236:9
 27:25, 50:6, 52:19,     275:12, 275:15,            218:15, 218:21,                                      dismissal [1] - 234:10
                                                                               disclosures [1] -
 54:16, 54:21, 186:7,    282:14, 282:16,            219:9, 220:3, 220:5                                  dismissed [3] - 36:25,
                                                                                292:12
 212:9, 225:5            282:20, 283:7,            differentiate [5] -                                    231:14, 236:6
                                                                               discover [2] - 192:23,
Development [1] -        283:22                     61:25, 79:16,                                        dismissive [1] - 234:5
                                                                                194:13
 225:2                  diabetes [7] - 10:12,       112:10, 165:6,                                       disorder [4] - 10:13,
                                                                               discovered [5] - 31:3,
development [66] -       56:15, 64:14,              201:13                                                11:3, 11:12, 11:13
                                                                                32:17, 33:9, 289:21,
 22:24, 23:23, 34:23,    141:25, 158:9,            differentiated [3] -                                  disorders [1] - 184:14
                                                                                289:23
 36:7, 36:8, 49:19,      160:16, 249:2              52:24, 80:21, 196:12                                 display [2] - 54:14,
                                                                               discovery [2] -
 49:22, 49:24, 50:20,   Diabetes [2] - 22:15,      differentiating [1] -                                  146:15
                                                                                164:12, 290:3
 51:1, 51:4, 54:13,      161:20                     195:4                                                dispute [13] - 11:11,
                                                                               discretion [1] - 40:15
 54:24, 55:1, 55:22,    diagnosed [1] - 71:22      differentiation [2] -                                  24:10, 27:4, 28:4,
                                                                               discuss [5] - 7:15,
 57:19, 58:6, 58:7,     diagram [2] - 16:19,        112:16, 212:2                                         128:13, 130:25,
                                                                                7:17, 74:1, 132:3,
 58:19, 59:12, 60:19,    255:3                     differently [2] - 26:23,                               207:24, 227:20,
                                                                                134:17
 72:14, 72:15, 72:16,   dialogue [1] - 223:7        129:13                                                228:16, 228:24,
                                                                               discussed [28] - 35:4,
 72:20, 72:21, 72:23,   diamonds [1] - 104:12      differing [2] - 192:19,                                230:15, 231:3,
                                                                                90:15, 98:24,
 73:23, 73:24, 74:1,    diet [32] - 11:7, 11:14,    203:3                                                 233:13
                                                                                108:20, 109:7,
 77:25, 78:11, 78:19,    12:8, 12:9, 38:18,        difficult [1] - 262:22       109:20, 118:20,          disputed [1] - 32:14
 78:20, 78:25, 85:11,    39:8, 51:25, 65:1,        digestive [1] - 10:18        118:21, 138:9,           disputes [3] - 9:5,
 85:14, 87:6, 87:16,     67:8, 67:9, 72:1,         diminish [1] - 259:13        141:10, 146:4,            43:14, 228:16
 90:2, 91:24, 94:18,     82:23, 83:20, 83:23,      DIRECT [2] - 49:10,          146:5, 151:17,           disputing [4] - 193:18,



        MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                            (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 317 of 350


                                                                                                                         15
 228:25, 229:2,          184:17, 185:2,          188:6, 189:1,             237:15, 281:7,          105:22, 106:14,
 235:23                  186:24, 186:25,         205:14, 210:18,           282:13                  108:5, 108:15,
dissemination [1] -      187:1, 187:4, 187:5,    227:13, 240:4,           doses [5] - 59:6,        109:14, 110:6,
 115:21                  187:6, 187:18,          265:1, 270:10,            86:15, 90:9, 152:6,     112:8, 113:6,
dissolved [1] - 69:16    187:22, 188:15,         275:23, 276:4,            217:18                  113:18, 114:10,
distillations [1] -      188:16, 189:1,          276:8, 277:3, 277:5,     dosing [1] - 196:19      114:19, 116:1,
 51:18                   189:3, 189:4, 189:5,    277:9, 277:11,           dotted [1] - 146:23      116:24, 117:8,
distinct [4] - 26:5,     189:11, 189:15,         277:14, 277:18,          double [13] - 73:3,      118:4, 118:5, 118:6,
 26:6, 124:7, 244:25     189:19, 189:22,         277:19, 278:18,           86:8, 90:4, 102:5,      118:19, 119:2,
distinctions [1] -       190:6, 190:7,           278:20, 283:25,           107:16, 119:13,         121:9, 125:9,
 248:3                   190:14, 190:15,         286:21, 288:8,            122:22, 201:10,         126:11, 131:6,
distinguished [1] -      191:14, 191:20,         288:10, 289:5,            201:17, 217:16,         131:24, 132:2,
 67:25                   191:22, 192:11,         289:21, 291:11,           223:23, 224:21,         132:10, 133:4,
DISTRICT [3] - 1:1,      195:22, 196:5,          291:12, 291:14,           265:21                  135:20, 135:23,
 1:1, 1:2                197:9, 200:3, 200:5,    291:17, 291:19,          double-blind [10] -      136:9, 136:10,
District [1] - 1:23      200:10, 200:12,         291:22, 292:3,            73:3, 86:8, 102:5,      138:8, 138:16,
dive [1] - 30:16         200:14, 200:16,         293:9, 293:15,            107:16, 119:13,         141:9, 141:16,
Division [7] - 14:13,    202:19, 203:10,         293:16, 293:20,           201:10, 201:17,         144:24, 145:15,
 74:5, 128:6, 128:7,     208:16, 210:21,         293:22, 293:24,           217:16, 223:23,         146:11, 147:14,
 131:14, 157:16,         210:23, 211:1,          294:1, 294:2              224:21                  148:3, 151:17,
 157:24                  212:21, 213:7,         dollars [2] - 47:23,      doubt [4] - 197:6,       153:11, 154:21,
division [2] - 74:5,     216:17, 216:23,         258:25                    197:7, 210:10,          155:2, 155:16,
 128:11                  218:7, 220:22,         domain [5] - 50:13,        258:16                  161:23, 164:5,
DMEP [10] - 74:7,        220:25, 221:17,         55:13, 60:14, 130:9,     down [22] - 10:24,       199:24, 200:7,
 75:4, 75:13, 75:21,     227:2, 227:9,           221:20                    12:11, 17:8, 39:21,     210:3, 210:6,
 76:4, 76:9, 76:19,      227:12, 229:3,         domains [2] - 55:25,       78:7, 90:23, 95:6,      238:21, 241:16,
 109:17, 128:7,          230:16, 232:12,         106:2                     97:15, 98:8, 101:5,     257:6, 264:14,
 231:12                  235:20, 237:6,         done [11] - 31:2, 86:9,    108:16, 135:6,          264:19, 265:2,
docket [2] - 292:17,     238:16, 240:9,          128:20, 162:7,            191:24, 194:3,          267:1, 270:16,
 294:5                   245:21, 246:2,          180:1, 214:3,             195:1, 234:1, 235:8,    276:22, 277:10,
                         246:7, 246:10,          215:22, 219:22,           274:2, 275:19,          277:25, 280:6,
docosahexaenoic [1]
                         246:21, 250:22,         255:3, 259:2, 293:25      295:18, 296:21,         281:14, 282:8,
 - 61:22
                         250:24, 251:18,        Doogan [1] - 77:24         298:10                  284:6, 284:18,
doctor [1] - 40:17
                         256:19, 258:8,         dosage [23] - 11:21,      downloaded [1] -         285:2, 286:16,
doctor's [1] - 40:15
                         262:1, 264:19,          55:10, 58:24, 61:4,       297:10                  287:15, 289:15,
doctors [8] - 11:22,
                         264:20, 265:6,          67:13, 67:14, 67:19,     downside [1] - 21:23     289:20, 291:7,
 37:22, 38:3, 38:7,
                         265:8, 278:1, 278:5,    67:24, 68:1, 68:2,       dozen [2] - 266:9,       296:25
 38:24, 40:10, 40:20,
                         278:7, 278:8,           68:3, 68:5, 69:5,         276:12                 draft [6] - 116:6,
 45:24
                         278:10, 278:12,         86:13, 88:24, 89:6,      dozens [1] - 54:5        116:7, 116:8,
Document [1] -
                         279:1, 279:2,           89:8, 89:11, 89:13,      DR [1] - 2:10            152:22, 152:23,
 245:24
                         279:14, 279:15,         194:22, 202:8,           Dr [135] - 3:5, 3:13,    153:23
document [142] -
                         280:2, 280:3,           205:11, 237:23            11:20, 20:8, 28:12,    drafting [1] - 95:21
 12:25, 13:1, 34:5,
                         281:13, 281:18,        Dosage [1] - 69:4          28:19, 35:21, 35:22,   dramatic [4] - 16:10,
 47:19, 75:1, 75:2,
                         281:19, 282:6,         dose [48] - 14:4,          38:15, 38:20, 39:9,     20:16, 21:8, 26:19
 75:3, 75:6, 75:7,
                         284:4, 288:25           33:23, 34:7, 40:7,        39:25, 40:9, 40:13,    dramatically [2] -
 75:9, 75:11, 75:16,
                        documentation [2] -      41:21, 42:20, 43:9,       40:22, 44:3, 44:10,     14:24, 259:15
 75:19, 76:2, 76:7,
                         57:19, 224:16           43:15, 43:16, 59:1,       45:1, 47:21, 48:17,    draw [2] - 98:19, 99:9
 76:17, 76:18, 77:2,
                        documents [77] -         68:24, 68:25, 69:2,       48:18, 49:12, 49:13,   drawing [2] - 99:2,
 77:9, 77:12, 77:13,
                         27:13, 27:22, 32:8,     69:3, 69:5, 69:9,         62:21, 63:5, 63:16,     103:23
 94:8, 109:14,
                         33:12, 34:1, 43:3,      83:13, 85:25, 86:17,      64:24, 66:7, 67:7,     drink [1] - 39:16
 109:19, 116:16,
                         46:10, 58:13, 71:2,     89:20, 90:3, 90:8,        69:17, 70:9, 74:12,    drinking [1] - 39:20
 126:1, 145:8,
                         72:17, 74:23, 80:22,    90:13, 90:16, 97:24,      74:22, 77:7, 77:22,    drive [11] - 252:17,
 166:25, 176:2,
                         86:19, 86:20, 86:22,    98:7, 101:7, 101:8,       77:24, 77:25, 78:2,     252:20, 252:24,
 176:4, 176:7,
                         86:23, 87:2, 87:12,     102:10, 104:3,            81:7, 82:11, 87:1,      296:9, 296:24,
 176:18, 177:4,
                         87:14, 87:25,           104:14, 105:3,            89:3, 89:19, 90:18,     297:1, 297:6,
 177:5, 177:14,
                         102:21, 105:11,         107:20, 119:9,            90:22, 93:10, 94:10,    297:11, 297:14,
 177:17, 177:18,
                         109:6, 118:1,           119:10, 119:11,           95:21, 96:17, 97:7,     297:20, 297:25
 177:20, 178:1,
                         125:25, 131:3,          120:1, 122:22,            97:17, 98:9, 99:15,    driven [3] - 54:6,
 178:7, 179:10,
                         131:4, 140:19,          129:24, 186:16,           100:9, 100:12,          123:5, 243:3
 180:7, 181:12,
                         144:12, 177:10,         237:13, 237:14,           103:12, 104:17,        drives [3] - 6:22, 11:3,
 182:24, 184:3,
                         179:11, 180:4,



         MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                             (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 318 of 350


                                                                                                                           16
 295:3                      106:3, 135:13,                                   220:6, 228:2, 244:8,     elevation [3] - 26:17,
                                                             E
driving [1] - 54:10         142:17, 143:7,                                   244:23                    196:17, 212:19
DRL [1] - 3:20              150:18, 151:2,         e-mail [4] - 7:17,       efficacious [2] - 14:5,   elevations [3] - 12:14,
drop [1] - 105:7            164:12, 177:10,         35:25, 156:10,           107:21                    99:14, 195:6
drops [1] - 39:5            200:16, 240:5,          156:14                  efficacy [31] - 82:3,     Eli [1] - 25:3
Drug [8] - 74:6, 78:18,     262:9, 262:14,         e-mails [1] - 291:19      83:10, 86:3, 90:8,       Eli-Lilly [1] - 25:3
 115:19, 116:4,             265:24, 272:4,         early [5] - 55:15,        90:17, 93:3, 93:4,       eligible [2] - 142:18,
 124:17, 131:13,            281:14, 282:9,          57:14, 59:4, 161:1       93:12, 93:14, 93:15,      169:6
 132:1, 159:10              288:9, 291:4, 298:17   earn [1] - 29:14          93:17, 94:2, 95:5,       ELIKAN [1] - 1:15
drug [77] - 10:7, 11:16,   DX [96] - 164:20,       ease [1] - 64:21          95:6, 98:25, 99:1,       Elikan [1] - 3:7
 11:22, 12:9, 12:10,        165:14, 166:5,         easier [1] - 295:15       103:16, 120:15,          eliminates [1] - 39:5
 12:17, 14:7, 21:1,         169:2, 176:16,         easily [1] - 294:17       122:6, 128:23,           Ellen [1] - 3:20
 23:23, 28:6, 36:7,         176:17, 177:25,        east [1] - 24:3           135:16, 139:13,          elsewhere [2] - 53:11,
 36:8, 38:2, 38:4,          184:16, 188:15,        easy [1] - 294:14         142:25, 148:6,            62:8
 38:9, 38:24, 39:2,         189:2, 189:3,          ECF [3] - 4:5, 175:19,    181:24, 184:20,          emanated [1] - 89:21
 39:3, 40:17, 40:20,        189:11, 190:14,         209:9                    185:7, 185:19,           embarking [2] - 78:19,
 45:23, 49:22, 54:13,       190:21, 191:25,        editorial [2] - 22:1,     186:3, 199:9, 230:25      213:4
 55:1, 57:24, 59:1,         195:2, 197:9, 198:8,    22:6                    Efficacy [2] - 94:8,      embraced [1] - 161:14
 59:6, 59:12, 67:11,        199:19, 202:20,                                  243:25                   emergency [1] - 72:12
                                                   Education [1] - 71:14
 72:2, 78:17, 82:7,         204:20, 205:3,                                  efficient [1] - 163:25
                                                   educational [1] -                                  emphasize [1] - 11:5
 85:12, 85:19, 85:20,       210:20, 211:16,                                 efficiently [1] - 62:6
                                                    56:22                                             emphasized [1] -
 90:2, 95:12, 102:16,       211:25, 213:8,                                  effort [3] - 168:2,
                                                   effect [35] - 16:14,                                15:13
 102:22, 103:6,             213:19, 216:13,                                  168:7, 168:21
                                                    32:22, 42:7, 42:9,                                employed [5] - 49:13,
 106:6, 106:17,             217:6, 217:13,                                  efforts [1] - 186:5
                                                    42:11, 43:2, 43:7,                                 49:15, 49:16, 62:12,
 107:5, 107:11,             220:22, 222:10,                                 eicosapentaenoic [2]
                                                    43:11, 52:23, 53:18,                               279:16
 107:25, 108:8,             223:14, 224:25,                                  - 51:10, 61:22
                                                    97:20, 97:25, 98:4,                               employee [1] - 258:13
 108:24, 109:4,             225:9, 227:13,                                  eight [2] - 258:25,
                                                    103:25, 112:25,                                   employees [4] -
 115:14, 122:10,            227:14, 227:18,                                  259:16
                                                    115:9, 117:4,                                      241:21, 276:12,
 123:10, 124:2,             227:20, 229:6,                                  Eimeric [1] - 3:11
                                                    117:23, 120:17,                                    277:4, 278:13
 130:4, 147:4, 147:5,       229:21, 230:7,                                  EIMERIC [1] - 2:5
                                                    120:23, 121:4,                                    employment [2] -
 149:12, 150:17,            230:8, 230:16,                                  either [21] - 31:19,
                                                    121:6, 122:19,                                     87:17, 259:16
 152:19, 159:21,            232:19, 233:17,                                  39:24, 42:10, 42:15,
                                                    136:13, 143:11,                                   enable [2] - 137:1,
 159:23, 159:24,            234:25, 236:13,                                  68:2, 68:22, 69:10,
                                                    186:16, 195:5,                                     222:5
 160:1, 172:22,             237:24, 239:3,                                   83:7, 98:15, 119:8,
                                                    195:12, 195:23,                                   enabled [1] - 228:16
 187:9, 188:1, 188:2,       241:10, 242:2,                                   139:22, 141:21,
                                                    196:7, 198:17,                                    encompass [3] -
 188:5, 191:4,              242:24, 243:20,                                  143:16, 158:1,
                                                    212:13, 212:16,                                    49:21, 50:12, 198:5
 217:11, 221:24,            243:24, 244:2,                                   194:13, 249:2,
                                                    212:18, 219:18                                    encompassed [2] -
 222:21, 229:13,            245:8, 245:21,                                   254:2, 254:13,
                                                   effective [9] - 94:19,                              60:13, 179:8
 238:13, 280:11,            246:5, 246:21,                                   287:12, 287:14,
                                                    102:2, 106:6, 192:9,                              encompasses [1] -
 280:22, 284:7              247:2, 248:3, 248:9,                             298:20
                                                    192:18, 193:20,                                    152:9
Drugs [6] - 134:2,          249:14, 249:17,                                 elaborate [1] - 156:12
                                                    193:21, 194:5,                                    encountered [1] -
 134:7, 134:13,             251:17, 252:6,                                  ELAINA [1] - 1:15
                                                    204:25                                             89:9
 134:15, 134:18,            252:15, 254:18,
                                                   effectiveness [7] -      electronic [3] - 7:2,     encourage [2] - 40:23,
 245:24                     254:23, 255:4,
                                                    19:5, 59:7, 59:16,       150:20, 297:2             168:3
drugs [14] - 11:23,         256:15, 258:5,
                                                    86:9, 96:7, 96:10,      element [2] - 69:7,       end [38] - 5:15, 5:19,
 14:2, 14:10, 14:20,        260:20, 261:10,
                                                    193:22                   106:19                    6:10, 6:21, 7:3, 9:4,
 24:1, 28:15, 53:6,         261:11, 261:23,
                                                   effects [34] - 16:8,     elements [5] - 67:20,      9:8, 16:1, 23:5, 32:2,
 80:3, 82:19, 105:14,       262:8, 262:11,
                                                    20:1, 23:11, 23:25,      98:21, 98:23,             79:6, 83:11, 96:25,
 107:14, 108:9,             263:6, 263:21,
                                                    27:17, 42:19, 47:7,      187:17, 204:5             105:17, 105:18,
 109:2, 149:12              264:8, 264:16,
                                                    79:20, 80:2, 80:3,      elevated [21] - 10:10,     110:20, 117:1,
DTC [4] - 115:18,           265:24, 266:24,
                                                    80:13, 104:4,            11:6, 21:3, 21:21,        119:14, 131:16,
 116:6, 116:8, 117:2        267:2, 267:5,
                                                    104:14, 104:15,          22:20, 26:16, 28:2,       132:20, 143:2,
DU [1] - 1:2                267:22, 270:3,
                                                    112:17, 112:19,          28:7, 52:7, 64:12,        143:20, 143:22,
Du's [1] - 89:4             273:11, 275:2,
                                                    197:2, 199:6,            73:10, 73:15,             162:19, 162:25,
due [2] - 15:20, 235:16     280:17, 282:6
                                                    199:10, 201:6,           117:19, 139:19,           163:15, 208:6,
duration [2] - 40:15,      dyslipidemia [1] -
                                                    202:17, 202:18,          151:21, 160:14,           230:4, 239:19,
 40:16                      184:6
                                                    203:4, 217:18,           209:11, 211:22,           252:15, 254:20,
during [26] - 54:24,       dyslipidemias [1] -
                                                    218:15, 218:21,          239:15, 248:21,           262:21, 269:5,
 60:21, 72:15, 72:16,       184:21
                                                    219:7, 219:9,            271:12                    275:5, 293:6, 294:1,
 86:13, 89:9, 92:17,                                219:21, 220:3,          elevates [1] - 212:16      298:13, 299:13



          MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                              (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 319 of 350


                                                                                                                           17
endeavor [1] - 167:25     91:18, 106:4, 195:8,     182:25, 183:2,          129:24, 171:23,           ester [3] - 51:9, 171:7,
ended [2] - 288:14,       217:2, 298:12            183:8, 183:16,          172:6, 172:8, 173:4,       171:13
 295:22                  ensured [1] - 143:8       184:6, 184:9,           178:12, 178:18,           esters [5] - 61:7,
ending [4] - 273:8,      entered [1] - 48:8        184:20, 185:5,          179:22, 180:9,             61:16, 79:23, 183:2,
 275:7, 275:8, 295:14    entering [1] - 56:2       185:8, 185:13,          180:25, 181:3,             282:15
Endocrinologic [1] -     entertain [1] - 299:11    185:14, 185:19,         181:14, 185:12,           estrogen [1] - 39:18
 245:23                  entice [1] - 34:22        186:17, 188:10,         191:4, 191:16,            et [9] - 1:8, 59:2,
Endocrinology [2] -      entire [4] - 5:16,        188:12, 191:5,          191:22, 192:8,             141:22, 148:21,
 74:6, 128:7              170:25, 229:14,          192:8, 192:24,          192:17, 193:15,            199:11, 202:24,
endpoint [42] - 81:21,    275:10                   194:17, 194:20,         193:19, 193:24,            237:23, 259:12,
 83:11, 92:21, 92:22,    entirely [7] - 26:15,     194:21, 194:24,         194:5, 194:8,              275:17
 95:5, 100:21, 102:1,     40:15, 186:25,           199:6, 199:10,          195:11, 195:13,           Ethel [1] - 183:16
 119:13, 121:23,          202:4, 212:21,           201:6, 202:1, 202:7,    195:16, 195:20,           Ethyl [7] - 50:10,
 123:2, 127:8, 130:1,     234:5, 268:23            202:13, 202:17,         195:23, 196:6,             178:12, 181:24,
 132:20, 132:24,         entities [1] - 109:2      202:23, 203:3,          196:8, 196:16,             182:25, 225:2,
 133:2, 133:3, 133:6,    entitled [4] - 32:3,      203:13, 204:13,         196:23, 196:24,            225:17, 226:2
 133:7, 133:8,            167:5, 173:11,           204:15, 204:21,         197:4, 202:3,             ethyl [33] - 12:5, 51:9,
 139:14, 143:23,          299:19                   204:24, 205:7,          206:22, 206:23,            51:13, 61:7, 61:16,
 143:25, 144:8,          entity [17] - 51:17,      205:19, 206:10,         207:1, 207:9,              68:7, 68:9, 68:22,
 146:13, 147:10,          55:9, 62:1, 85:12,       206:18, 206:22,         222:18, 224:8,             79:23, 110:10,
 148:14, 148:22,          106:22, 108:21,          207:19, 207:25,         226:18                     112:7, 129:13,
 149:2, 149:5,            110:16, 111:3,           208:4, 208:14,         Epadel's [2] - 173:8,       143:16, 146:24,
 182:16, 223:25,          111:5, 111:6, 169:7,     208:18, 208:25,         196:17                     161:16, 171:7,
 224:23, 232:10,          169:11, 169:14,          209:12, 209:18,        Epadel-like [1] - 33:23     171:9, 171:13,
 234:2, 234:14,           170:8, 171:3, 171:8,     209:24, 213:21,        Epadel/Vascepa [1] -        171:15, 177:23,
 234:20, 235:3,           172:13                   216:1, 216:10,          199:6                      182:3, 184:6, 185:8,
 235:14, 239:13,         entry [1] - 292:17        217:18, 217:19,        equal [11] - 13:7, 52:2,    185:19, 186:17,
 246:13                  envelope [1] - 297:23     218:4, 218:15,          52:8, 64:13, 65:2,         191:5, 243:11,
Endpoint [1] - 235:6     environment [1] -         218:21, 219:8,          71:10, 91:9, 91:10,        243:17, 244:4,
endpoints [20] -          284:8                    219:14, 219:19,         151:21, 248:21,            245:11, 281:25,
 73:20, 81:21, 81:22,                              220:4, 220:7,           257:10                     282:15
                         enzyme [4] - 13:16,
 92:25, 93:3, 93:16,                               223:20, 224:4,         equally [1] - 29:16        Ethyl-EPA [3] - 225:2,
                          13:17, 17:6, 17:17
 95:6, 95:7, 97:13,                                224:14, 224:18,        equals [1] - 204:16         225:17, 226:2
                         enzymes [1] - 10:18
 120:11, 129:3,                                    225:2, 225:17,         equate [1] - 237:14        ethyl-EPA [11] - 182:3,
                         ep [1] - 180:17
 132:22, 140:18,                                   226:2, 226:8,          equates [2] - 237:15,       184:6, 185:8,
                         EPA [183] - 19:5,
 143:22, 144:7,                                    226:15, 226:24,         237:17                     185:19, 186:17,
                          19:23, 19:24, 20:1,
 144:11, 146:6,                                    232:8, 233:3, 233:8,   Eric [1] - 3:9              191:5, 243:11,
                          22:19, 22:24, 23:18,
 149:24, 223:24,                                   237:3, 237:4, 237:9,   ERIC [1] - 1:16             243:17, 244:4,
                          23:21, 25:17, 26:1,
 248:16                                            241:1, 242:3, 243:5,   especially [1] - 93:24      245:11, 281:25
                          26:9, 27:17, 32:10,
ends [2] - 288:21,                                 243:11, 243:17,        essence [10] - 18:25,      Europe [2] - 58:1,
                          32:16, 32:19, 33:7,
 298:24                                            244:4, 244:8,           24:15, 33:22, 35:11,       106:25
                          33:16, 33:19, 33:21,
energy [5] - 70:20,                                244:23, 245:11,         148:17, 167:15,           European [5] - 22:16,
                          34:7, 34:11, 34:19,
 84:10, 84:13,                                     246:15, 247:8,          219:5, 222:2, 233:7,       22:17, 161:21,
                          35:1, 37:2, 41:16,
 167:13, 168:1                                     272:5, 272:6,           257:14                     161:22, 183:4
                          42:8, 42:10, 42:15,
engage [1] - 12:3                                  273:18, 273:23,        essential [1] - 167:7      evaluate [4] - 86:13,
                          42:19, 42:20, 42:23,
England [5] - 22:2,                                273:24, 274:8,                                     86:16, 117:11,
                          43:1, 43:4, 43:6,                               essentially [10] -
 24:3, 144:16,                                     274:12, 274:14,                                    156:16
                          43:9, 43:10, 43:18,                              34:13, 53:12, 62:18,
 145:18, 286:24                                    274:16, 275:14,                                   evaluated [2] - 86:15,
                          44:7, 44:11, 45:4,                               71:2, 71:22, 104:13,
enhanced [1] - 18:16                               275:15, 281:25,                                    245:10
                          45:15, 51:10, 51:17,                             108:23, 110:9,
                                                   282:13, 282:16,
enjoy [1] - 28:22         51:19, 54:10, 55:9,                              110:17, 171:8             evaluating [1] -
                                                   282:20, 283:1,
enrolled [14] - 83:5,     61:22, 62:1, 72:18,                             establish [3] - 90:7,       239:21
                                                   283:7, 283:20,
 83:7, 83:12, 90:22,      88:13, 129:19,                                   90:12, 193:22             evaluation [4] - 143:3,
                                                   283:22, 284:19,
 90:24, 92:10, 97:2,      171:6, 171:7,                                   established [14] -          154:13, 235:3,
                                                   285:3, 285:9
 105:5, 107:23,           171:10, 171:14,                                  30:15, 41:7, 64:14,        235:14
                                                  EPA's [1] - 23:8
 119:18, 122:8,           171:18, 172:2,                                   87:1, 91:18, 95:7,        Evaluation [3] -
                                                  EPA-DHA [5] - 183:8,
 129:1, 141:24, 150:6     172:5, 172:7,                                    139:22, 141:21,            131:13, 132:1, 235:6
                                                   184:20, 185:5,
enrollment [1] -          172:11, 172:15,                                  150:2, 193:7, 194:7,      evening [1] - 299:15
                                                   192:8, 199:6
 139:20                   172:20, 172:21,                                  196:13, 249:2,            event [5] - 130:1,
                                                  Epadel [52] - 32:11,
ensure [9] - 13:23,       178:12, 178:18,                                  263:11                     132:22, 146:19,
                                                   32:14, 33:22, 33:23,
 50:22, 57:19, 84:4,      181:24, 182:3,                                  establishes [1] - 25:6      147:19, 148:11
                                                   34:5, 129:22,



         MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                             (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 320 of 350


                                                                                                                                 18
events [24] - 10:11,       298:17, 300:5              174:10, 174:24            145:2, 145:10,              290:6, 290:10,
 15:3, 32:8, 33:8,        Examination [2] -          excuse [4] - 17:21,        145:13, 145:15,             290:17, 290:20,
 140:2, 144:3,             300:4, 300:5               74:6, 146:18, 290:16      145:16, 145:17,             291:6, 291:16,
 144:10, 147:1,           EXAMINATION [4] -          excused [2] - 287:16,      145:20, 145:23,             291:17, 292:13,
 147:4, 147:21,            49:10, 138:6, 164:3,       287:18                    146:1, 146:3,               292:22, 293:2,
 160:17, 182:17,           270:14                    executive [1] - 174:23     151:14, 151:18,             293:12, 294:6,
 204:15, 204:25,          examine [2] - 202:9,       exercise [11] - 11:7,      152:11, 152:12,             294:7, 294:11,
 205:6, 208:25,            293:5                      11:14, 12:9, 38:18,       153:3, 159:6, 159:7,        294:12, 294:15,
 223:24, 238:10,          examiner [14] - 44:4,       39:8, 82:23, 84:12,       159:9, 159:15,              294:20, 295:4,
 239:15, 241:1,            44:9, 44:25, 45:2,         88:11, 119:24,            159:18, 261:23,             295:5, 295:6, 295:9,
 242:12, 242:18,           45:5, 45:6, 45:8,          257:10                    264:7, 265:4,               296:4, 296:7, 297:10
 243:3, 244:6              45:10, 45:11, 45:13,      exercised [1] - 132:12     265:17, 265:25,            EXHIBITS [4] - 300:7,
eventually [2] -           45:17, 45:19, 45:20       exercising [2] - 72:2,     268:6, 273:7,               301:4, 301:19, 302:4
 169:19, 171:2            example [21] - 12:1,        92:2                      277:25, 279:12,            Exhibits [5] - 116:12,
evidence [48] - 6:19,      14:1, 18:3, 26:13,        exert [1] - 122:19         279:13, 280:3,              268:7, 276:1,
 6:21, 13:23, 25:4,        26:20, 39:13, 39:16,      exerted [1] - 167:12       281:13                      277:21, 296:10
 25:20, 26:4, 29:20,       41:18, 56:6, 83:2,        exhaustive [2] - 216:5,   exhibit [57] - 8:20,        exist [2] - 70:19, 111:8
 31:17, 32:2, 34:3,        84:12, 129:14,             219:22                    8:21, 63:8, 66:19,         existed [1] - 284:6
 38:10, 41:15, 43:4,       149:24, 158:4,            Exhibit [135] - 12:23,     74:12, 78:8, 108:16,       existence [1] - 24:13
 63:11, 63:14, 77:5,       158:13, 171:23,            62:23, 63:5, 63:7,        114:22, 156:5,             existing [6] - 52:24,
 113:13, 113:16,           179:17, 219:22,            63:11, 63:13, 63:14,      162:14, 163:14,             79:16, 79:17, 80:21,
 114:14, 114:17,           219:23, 269:20,            63:21, 66:1, 66:3,        163:18, 165:14,             112:12, 153:21
 116:19, 116:22,           291:4                      66:7, 66:8, 66:16,        166:4, 216:13,             expanded [11] - 60:9,
 118:17, 129:4,           exceed [3] - 91:19,         66:17, 67:4, 74:13,       220:13, 221:6,              66:21, 136:23,
 131:19, 131:22,           284:14, 286:8              74:22, 76:17, 77:1,       227:19, 233:11,             136:24, 151:9,
 136:4, 136:7, 141:4,     except [1] - 258:13         77:4, 77:5, 77:12,        252:14, 252:16,             151:11, 159:12,
 141:7, 145:10,           exceptionally [1] -         81:1, 81:3, 81:7,         252:18, 252:20,             167:7, 167:12,
 145:13, 145:23,           122:24                     81:9, 90:19, 90:25,       254:19, 254:21,             167:19, 167:24
 146:1, 159:15,           excess [3] - 11:7,          93:8, 95:18, 95:22,       261:18, 261:25,            expansiveness [1] -
 159:18, 194:7,            17:16, 18:1                100:8, 103:3, 103:4,      262:1, 262:13,              226:22
 197:20, 197:25,          excessive [3] - 84:2,       103:5, 105:20,            263:3, 263:21,             expect [4] - 36:11,
 198:1, 226:4,             84:4, 91:16                109:12, 109:15,           263:23, 264:10,             38:14, 74:18, 215:20
 226:16, 256:14,          excessively [2] - 72:6,     111:18, 111:19,           264:13, 266:1,             expectation [9] -
 263:9, 267:16,            195:8                      113:4, 113:7, 113:8,      266:7, 266:11,              25:23, 26:10, 41:12,
 268:9, 270:10,           exchange [1] - 292:18       113:10, 113:13,           267:4, 267:14,              41:14, 41:15, 43:6,
 296:14                   exchanged [3] -             113:15, 113:16,           267:19, 267:23,             44:14, 46:16
EVIDENCE [3] - 300:7,      155:24, 163:22,            113:18, 114:1,            268:4, 268:18,             expectations [1] -
 301:4, 302:4              292:15                     114:4, 114:6,             268:21, 269:3,              107:3
evidentiary [6] - 7:10,   exchanges [1] -             114:11, 114:14,           269:10, 288:2,             expected [14] - 31:19,
 7:12, 8:13, 8:18,         292:12                     114:17, 114:19,           288:4, 288:13,              35:9, 36:16, 85:15,
 88:4, 287:20                                         116:1, 116:2, 116:3,      288:19, 290:23,             88:11, 95:1, 106:3,
                          exclude [2] - 219:20,
ex [1] - 45:20                                        116:14, 116:19,           292:15, 292:20,             106:4, 106:22,
                           291:2
exacerbates [2] -                                     116:22, 116:24,           294:4, 296:18,              107:12, 110:14,
                          exclusion [2] - 81:24,
 10:13, 14:25                                         117:1, 118:5, 118:6,      296:22                      196:18, 290:15,
                           119:7
exacerbating [1] -                                    118:7, 118:10,           exhibits [66] - 4:4, 4:6,    292:5
                          exclusively [2] -
 15:3                                                 118:14, 118:17,           5:1, 6:20, 6:25, 7:3,      expects [2] - 34:2,
                           213:2, 236:15
exact [3] - 24:19,                                    118:19, 120:13,           8:20, 8:24, 9:5, 66:4,      197:19
                          exclusivity [33] - 31:5,
 32:19, 290:10                                        120:16, 131:7,            74:15, 81:4, 162:19,       expense [4] - 14:23,
                           31:23, 31:25, 32:1,
exactly [8] - 19:24,                                  131:8, 131:10,            162:25, 163:3,              15:2, 28:16, 168:11
                           166:16, 166:21,
 167:15, 170:14,                                      131:11, 131:19,           252:13, 252:15,            expensive [2] - 29:14,
                           167:3, 167:5, 167:9,
 193:5, 202:7,                                        131:22, 131:24,           252:24, 252:25,             137:2
                           167:22, 168:5,
 212:21, 226:21,                                      131:25, 132:3,            260:17, 260:24,
                           168:9, 168:10,                                                                  experience [14] -
 230:3                                                133:22, 135:7,            261:1, 261:3, 261:7,
                           168:16, 169:7,                                                                   23:17, 39:16, 55:18,
examination [14] -                                    135:21, 135:22,           261:8, 263:19,
                           169:11, 169:15,                                                                  153:10, 155:3,
 240:5, 262:9,                                        136:4, 136:7,             263:25, 265:22,
                           169:19, 169:23,                                                                  157:3, 157:10,
 262:14, 268:13,                                      138:11, 140:22,           265:23, 267:20,
                           170:8, 170:20,                                                                   157:14, 158:14,
 269:6, 283:16,                                       140:23, 141:1,            268:5, 268:14,
                           170:24, 171:2,                                                                   159:22, 185:4,
 284:5, 284:10,                                       141:4, 141:7, 141:9,      269:13, 277:8,
                           172:10, 172:18,                                                                  249:12, 263:14,
 284:14, 288:9,                                       144:17, 144:21,           287:21, 288:2,
                           173:12, 173:25,                                                                  298:12
 289:22, 290:21,                                      144:24, 145:1,            288:16, 289:2,
                           174:6, 174:7, 174:8,                                                            expert [25] - 6:3, 19:7,
                                                                                289:11, 289:16,



         MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                             (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 321 of 350


                                                                                                                            19
 20:8, 28:12, 38:16,      extends [1] - 169:24       factual [1] - 283:24         275:13                  172:20, 173:7,
 39:9, 39:25, 40:8,       extension [8] - 73:4,      factually [1] - 154:3       FDA [237] - 13:4,        183:7, 184:22,
 40:22, 43:17, 44:11,      83:14, 85:8, 85:9,        failed [10] - 23:5,          13:23, 20:25, 21:1,     187:19, 187:23,
 174:3, 174:12,            85:22, 86:7, 102:8,         33:18, 33:19, 127:1,       22:14, 27:14, 27:25,    194:9, 195:9,
 199:24, 200:1,            105:1                       127:7, 127:18,             28:5, 28:14, 31:21,     197:16, 201:21,
 200:22, 200:23,          extensive [8] - 23:7,        129:7, 129:11,             32:18, 33:13, 36:22,    201:22, 201:24,
 210:4, 210:7, 224:6,      24:4, 24:7, 55:7,           130:11, 235:24             36:23, 37:10, 39:25,    216:16, 216:23,
 255:15, 255:19,           180:22, 184:19,           fair [15] - 46:11,           40:4, 41:19, 46:10,     216:25, 217:1,
 283:23, 283:25,           185:4, 293:16               172:21, 181:21,            46:11, 46:14, 46:20,    217:3, 217:9, 218:9,
 291:8                    extensively [5] -            197:8, 208:5,              48:4, 50:24, 55:19,     218:20, 219:4,
expertise [4] - 23:23,     27:13, 163:14,              210:18, 219:3,             58:14, 73:23, 73:25,    219:8, 219:18,
 50:20, 57:13, 200:20      238:23, 277:8, 284:6        219:12, 221:19,            74:3, 74:5, 75:23,      219:19, 221:10,
experts [10] - 19:7,      extent [6] - 86:22,          221:21, 228:7,             76:13, 76:14, 78:23,    221:12, 221:24,
 19:15, 47:17, 47:20,      124:24, 255:25,             231:11, 260:9, 284:2       82:5, 82:6, 85:10,      222:3, 222:8, 223:1,
 48:1, 48:6, 208:12,       256:10, 277:10            fairly [1] - 56:8            85:24, 89:24, 90:1,     223:11, 223:15,
 289:19, 290:11,          external [1] - 297:10      faithful [1] - 215:3         90:15, 95:12,           223:19, 224:12,
 290:21                   External [1] - 77:17       familiar [26] - 50:11,       101:23, 102:22,         225:10, 226:1,
expiration [1] - 174:25   extra [1] - 48:21            50:13, 50:22, 51:1,        103:5, 105:8,           226:14, 227:15,
expire [3] - 32:1,        extracted [2] - 206:15,      70:16, 70:21, 87:5,        105:10, 107:10,         228:8, 228:14,
 170:3, 175:4              208:1                       89:25, 113:10,             109:16, 110:9,          228:25, 229:4,
explain [23] - 5:14,      extraordinary [2] -          114:10, 116:16,            110:11, 115:14,         229:25, 230:4,
 30:25, 40:22, 45:8,       19:20, 23:18                118:10, 125:13,            115:16, 115:22,         230:9, 230:20,
 50:3, 58:8, 63:16,       extremely [2] - 43:24,       135:25, 176:2,             117:3, 117:6,           231:2, 231:17,
 66:15, 82:11,             136:15                      182:10, 189:9,             121:12, 122:7,          232:4, 232:14,
 100:12, 101:2,           eye [1] - 82:13              196:24, 196:25,            123:12, 124:11,         233:8, 234:1, 234:8,
 103:12, 106:14,          Ezetimibe [1] - 91:8         199:16, 205:22,            124:12, 124:20,         235:12, 235:18,
 116:24, 142:14,                                       217:24, 220:24,            124:22, 125:5,          236:4, 236:8,
                          ezetimibe [1] - 82:19
 146:11, 147:14,                                       252:8, 254:5, 254:9        125:11, 125:21,         236:18, 236:23,
 184:10, 189:2,                                      familiarity [2] - 155:3,     126:1, 126:3,           238:7, 238:9,
 189:8, 244:11,
                                     F                                            126:14, 126:22,         238:15, 238:20,
                                                       201:4
 251:18, 279:7            F.3d [2] - 24:23, 30:12    familiarize [2] - 50:16,     128:2, 128:10,          239:7, 239:17,
explained [3] -           face [6] - 54:24, 56:19,     51:5                       128:12, 128:15,         239:19, 240:2,
 104:17, 125:18,            108:7, 110:12,           families [1] - 256:10        128:18, 130:2,          240:10, 240:17,
 190:13                     234:10                   far [7] - 34:15, 97:22,      130:10, 130:14,         240:21, 240:22,
explaining [5] - 18:21,                                123:13, 148:23,            130:17, 130:24,         241:5, 241:6,
                          face-to-face [1] -
 99:3, 223:15,                                         180:22, 274:13,            131:1, 131:4,           244:15, 245:3,
                            110:12
 223:19, 225:5                                         278:18                     131:11, 131:16,         245:9, 245:15,
                          faced [1] - 56:2
explains [1] - 291:24                                Farnoly [1] - 3:9            132:3, 134:3, 134:4,    246:23, 247:14,
                          facial [1] - 80:16
explanation [5] -                                    FARNOLY [1] - 1:16           134:6, 134:9,           247:20, 247:22,
                          fact [28] - 10:3, 14:6,
 81:16, 245:4, 245:5,                                                             134:10, 134:18,         248:17, 248:25,
                            18:2, 19:4, 23:23,       fashion [3] - 7:1,
 245:19, 291:1                                                                    135:4, 135:5, 135:9,    249:14, 250:1,
                            24:18, 24:19, 28:24,       223:25, 224:22
explicitly [2] - 37:22,                                                           135:11, 135:12,         250:4, 251:19,
                            38:4, 46:6, 84:4,        fast [2] - 187:24,
 38:5                                                                             135:14, 136:17,         251:20, 251:25,
                            99:10, 127:5,              295:21
exploratory [6] -                                                                 148:17, 150:18,         253:23, 254:8,
                            131:12, 132:24,          fasting [5] - 91:9,
 81:22, 93:2, 93:15,                                                              151:5, 151:8,           254:13, 255:1,
                            163:2, 169:10,             92:9, 120:3, 142:2,
 95:6, 117:24, 144:11                                                             151:10, 154:10,         255:5, 256:2, 265:9,
                            172:2, 172:22,             142:18
Exploratory [1] - 94:8                                                            154:11, 154:25,         265:10, 266:5, 282:5
                            175:19, 187:17,          fat [5] - 71:20, 84:2,
explored [1] - 198:16                                                             155:3, 155:7,          FDA's [35] - 12:19,
                            187:25, 199:25,            84:11, 84:16, 91:16
exposed [10] - 14:4,                                                              155:11, 155:17,         12:23, 13:1, 14:17,
                            205:9, 206:1, 236:8,     fatal [5] - 26:2, 144:3,
 14:12, 85:19, 85:20,                                                             155:21, 155:24,         20:22, 75:13, 75:21,
                            264:21, 293:15             144:4, 147:22
 85:25, 102:9,                                                                    156:3, 156:6, 156:9,    76:4, 76:9, 76:19,
                          factor [2] - 90:3, 142:1   fats [4] - 70:19, 71:3,
 102:15, 105:3,                                                                   156:25, 157:4,          76:23, 102:25,
                          factored [2] - 152:7,        84:7, 178:24
 105:7, 108:13                                                                    157:11, 158:19,         104:23, 105:11,
                            212:21                   fatty [9] - 18:15, 18:17,
                                                                                  159:20, 159:25,         109:25, 115:19,
exposure [3] - 14:4,      factors [9] - 52:9,          18:23, 22:10, 22:11,
                                                                                  160:6, 160:7,           116:3, 116:25,
 86:2, 107:4                64:15, 73:17,              23:17, 61:17, 70:15,
                                                                                  161:13, 166:1,          122:5, 127:23,
expressed [6] - 15:4,       107:19, 107:25,            198:17
                                                                                  166:12, 167:9,          128:1, 128:4,
 15:21, 147:2, 147:6,       139:23, 160:15,          favor [1] - 151:9
                                                                                  169:5, 169:14,          130:21, 132:9,
 147:8, 147:23              248:22, 249:3            favorable [7] - 52:23,
                                                                                  169:16, 169:18,         135:3, 135:18,
extended [2] - 134:7,     facts [4] - 3:25, 4:1,       151:9, 156:8, 208:8,
                                                                                  169:24, 170:4,          136:9, 136:13,
 219:11                     4:2, 237:12                240:2, 246:18,
                                                                                  171:2, 172:15,          156:16, 160:21,



         MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                             (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 322 of 350


                                                                                                                                   20
  228:25, 230:13,           filed [11] - 3:25, 31:16,     166:20, 171:17,           272:15                     194:18
  231:7, 236:20, 272:1        170:12, 170:15,             172:14, 172:16,          follow-on [1] - 272:15    forth [4] - 125:11,
FDA-approved [1] -            170:16, 176:4,              172:19, 172:20,          follow-up [3] - 138:8,      155:6, 155:24,
  225:10                      216:16, 256:2,              194:15, 221:16,           182:14, 270:16             156:19
feature [1] - 195:4           263:17, 265:8,              224:4, 228:14,           followed [3] - 83:9,      forthcoming [1] -
February [13] - 34:17,        288:13                      231:24, 262:8             119:12, 140:1              211:12
  50:2, 62:19, 66:9,        filers [1] - 218:24         First [6] - 134:23,        following [3] - 138:18,   forum [2] - 151:7,
  89:23, 123:23,            files [3] - 34:18,            135:2, 135:10,            143:3, 170:1               151:8
  177:8, 221:16,              189:16, 190:8               135:13, 135:18,          follows [2] - 49:4,       forward [6] - 21:8,
  227:15, 256:21,           filing [6] - 8:20, 31:14,     135:23                    106:1                      54:10, 187:24,
  257:17, 257:23,             105:25, 106:15,           firsthand [1] - 124:16     food [2] - 69:11, 69:12     211:2, 264:12,
  285:7                       150:19, 263:12            firstly [2] - 63:24,       Food [3] - 78:18,           294:15
Federal [5] - 24:18,        fill [3] - 68:9, 68:10,       128:20                    124:17, 159:10           foundation [19] - 87:1,
  30:11, 41:1, 41:8,          68:18                     fish [6] - 30:20, 32:19,   footnote [3] - 107:7,       155:9, 155:10,
  164:12                    filled [1] - 74:10            42:1, 51:14, 225:11       113:25, 218:1              162:24, 163:12,
feedback [5] - 76:23,       fills [1] - 74:9            five [11] - 30:23,         footnoted [1] - 226:20      263:8, 263:10,
  78:12, 116:5,             final [11] - 81:10,           144:2, 147:18,           FOR [4] - 1:14, 1:19,       263:22, 264:9,
  154:11, 156:16              145:2, 154:6,               148:10, 169:6,            2:3, 2:10                  266:12, 266:19,
fellowship [2] - 57:6,        154:22, 155:5,              169:10, 170:8,           foregoing [1] - 299:18      266:20, 266:23,
  57:8                        155:17, 156:7,              189:25, 190:4,           Forest [1] - 148:7          267:1, 276:20,
felt [6] - 45:7, 45:17,       158:22, 158:25,             212:7, 244:11            forget [1] - 250:24         277:11, 277:12,
  124:20, 129:9,              249:14, 288:4             five-year [1] - 170:8      form [28] - 12:10,          278:22, 285:18
  154:13, 186:6             finalization [1] -          fixed [1] - 282:13          12:17, 24:5, 51:9,       foundational [1] -
Fenofibrate [6] -             115:20                    flag [1] - 7:24             51:10, 55:10, 58:25,       162:22
  15:22, 26:20, 60:25,      finally [1] - 48:15         flash [8] - 295:2,          61:4, 67:13, 67:14,      four [16] - 33:5, 34:7,
  79:24, 127:2, 129:13      Finance [1] - 258:7           296:8, 296:24,            67:19, 89:6, 89:8,         39:7, 47:17, 69:10,
Fenofibrates [1] -          financial [7] - 56:18,        297:1, 297:5,             89:12, 89:13, 96:13,       88:9, 104:4, 104:15,
  127:19                      167:13, 259:20,             297:14, 297:20,           152:22, 171:7,             119:4, 138:24,
fertility [1] - 57:14         259:21, 259:24,             297:25                    171:13, 171:14,            170:9, 198:24,
few [16] - 4:23, 14:20,       260:9, 260:12             flaw [1] - 26:2             194:21, 194:22,            204:8, 266:8, 276:21
  38:13, 46:19, 69:20,      findings [5] - 43:1,        flaws [4] - 36:19, 46:9,    202:8, 205:11,           four-and-a-half [1] -
  127:18, 138:8,              132:12, 175:19,             136:12, 231:15            223:6, 230:10,             33:5
  138:9, 155:13,              228:25, 275:11            flow [2] - 49:21, 114:9     266:8, 284:21            fourth [6] - 47:21,
  161:25, 163:10,           fine [13] - 8:5, 8:25,      fluctuate [1] - 142:21     formal [10] - 74:9,         136:16, 148:21,
  165:3, 199:9, 203:2,        9:6, 9:22, 69:25,         fluctuations [2] -          128:10, 128:13,            199:3, 238:18, 239:5
  220:10, 275:23              126:2, 162:24,              91:19, 104:11             130:24, 130:25,          frame [16] - 62:9,
fibrate [1] - 234:19          208:11, 256:12,           flushing [1] - 80:16        131:2, 131:14,             94:15, 114:21,
fibrates [3] - 15:22,         298:20, 299:3, 299:5      focal [1] - 84:22           136:17, 227:20,            114:25, 124:21,
  16:8, 80:11               finish [1] - 299:12         focus [11] - 41:6,          228:24                     129:17, 134:7,
fibrilation [1] - 61:2      finite [2] - 41:11,           43:21, 54:11, 81:21,     formally [2] - 75:5,        210:15, 251:7,
field [6] - 57:2, 284:20,     42:10                       93:17, 96:14, 97:4,       150:22                     256:25, 257:20,
  285:16, 286:2,            firm [1] - 58:3               106:12, 108:3,           format [2] - 106:1,         276:8, 276:21,
  286:3, 286:5              first [61] - 10:9, 10:23,     168:18, 259:9             152:21                     276:24, 282:23,
fifth [1] - 38:16             12:12, 17:9, 20:4,        focused [22] - 27:1,       formed [6] - 95:11,         283:8
Figure [22] - 82:9,           20:21, 21:1, 21:5,          47:15, 50:5, 54:7,        96:9, 102:5, 102:8,      Francisco [1] - 2:6
  82:11, 82:13, 85:5,         21:11, 23:10, 28:6,         54:10, 54:11, 54:16,      102:12, 102:18           frankly [1] - 5:12
  86:11, 90:20,               31:25, 48:14, 50:21,        54:19, 62:15, 66:17,     former [3] - 59:24,       fraught [1] - 55:1
  118:22, 118:25,             51:24, 52:17, 55:5,         66:19, 73:3, 73:8,        60:3, 62:13              free [2] - 163:7, 170:24
  119:16, 120:16,             63:16, 64:5, 64:7,          73:12, 144:9,            formerly [1] - 131:4      French [3] - 1:22,
  141:11, 141:14,             64:17, 64:22, 65:11,        147:19, 196:10,          forms [9] - 37:10,          299:20, 299:21
  143:5, 146:7, 146:8,        65:12, 66:14, 66:18,        228:3, 230:24,            67:24, 237:23,           frequency [3] -
  146:9, 146:11,              69:7, 72:25, 73:23,         259:6, 259:18, 260:7      253:22, 263:3,             204:14, 205:6,
  147:12, 147:15,             73:25, 93:13, 96:15,      focusing [4] - 27:12,       263:12, 263:17,            208:24
  148:2, 148:3, 148:5         96:17, 96:18, 96:19,        31:14, 31:15, 132:17      266:8, 266:9             frequent [1] - 159:25
figure [5] - 103:9,           96:23, 98:21, 98:22,      fold [2] - 109:3,          formulated [1] - 202:4    frequently [2] - 4:18,
  103:18, 103:21,             112:1, 122:16,              130:16                   formulation [7] -           13:10
  141:12, 141:18              144:1, 147:18,            folded [1] - 109:9          58:19, 61:15,            Friday [1] - 5:10
figures [1] - 100:6           147:20, 148:9,            follow [7] - 58:25,         207:22, 224:6,           front [3] - 164:18,
file [5] - 34:21, 170:9,      148:22, 151:17,             81:25, 138:8, 140:1,      224:18, 225:17             215:9, 278:9
  221:15, 294:4, 297:7        151:19, 160:3,              182:14, 270:16,          formulations [1] -        fruits [1] - 28:22



          MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                              (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 323 of 350


                                                                                                                              21
fuel [1] - 17:2            170:8, 219:9, 260:3       greater [11] - 13:6,      29:17, 169:8, 174:9       hence [1] - 196:16
fulfill [2] - 56:10,      genetic [9] - 11:3,         52:2, 52:8, 64:12,      Hayashi [6] - 26:14,       Heydorn [1] - 3:12
 79:11                     11:10, 11:12, 12:17,       65:2, 71:10, 91:9,       26:25, 27:1, 27:3,        HEYDORN [1] - 2:3
full [8] - 9:22, 49:6,     13:8, 13:12, 39:1,         147:4, 151:21,           27:6, 42:25               HGT [1] - 4:19
 63:25, 66:13, 67:14,      39:14, 43:25               193:24, 248:21          hazard [5] - 147:7,        HGTD [1] - 4:12
 87:16, 90:16, 273:12     Geneva [1] - 57:12         green [1] - 104:12        147:8, 147:23,            hierarchy [2] - 148:15,
function [1] - 60:10      gist [1] - 285:25          Gross [2] - 240:6,        148:7, 233:2               149:2
functional [1] - 190:12   given [21] - 17:21,         264:16                  HDL [3] - 218:17,          HIGH [1] - 127:4
functions [2] - 60:17,     18:23, 34:2, 78:15,       ground [1] - 286:10       233:1, 239:16             high [52] - 4:16, 9:24,
 60:20                     88:6, 105:16,             grounds [1] - 163:12     HDL-C [3] - 218:17,         10:4, 12:7, 12:8,
Fundakowski [1] -          160:24, 186:10,           group [9] - 19:17,        233:1, 239:16              13:6, 13:11, 15:2,
 3:11                      197:20, 204:16,            57:15, 58:5, 139:10,    head [6] - 51:4, 60:6,      15:8, 15:12, 16:4,
FUNDAKOWSKI [1] -          205:1, 211:5,              264:24, 272:16,          60:8, 62:15, 77:24,        17:14, 17:25, 18:7,
 1:19                      224:12, 230:19,            274:20, 274:21,          255:14                     18:22, 19:5, 19:22,
funded [1] - 57:6          257:14, 264:8,             282:1                   header [1] - 192:2          26:24, 32:20, 34:20,
future [1] - 29:9          266:20, 286:8,            groups [5] - 99:25,      heading [8] - 63:24,        39:15, 41:20, 55:19,
                           291:1, 292:3, 293:10       100:4, 100:20,           100:14, 190:22,            66:15, 70:24, 71:5,
          G               GlaxoSmithKline [2] -       100:25, 161:19           197:13, 211:18,            71:7, 71:10, 72:7,
                           57:9, 62:5                grow [1] - 137:1          212:3, 213:11,             72:19, 73:10, 95:4,
gain [1] - 130:20         glean [1] - 98:16          growth [1] - 108:25       274:16                     96:21, 113:23,
gastrointestinal [1] -    goal [5] - 53:16, 80:20,   Grunenthal [1] - 41:2    headquarters [1] -          115:4, 118:22,
 80:9                      117:13, 117:21,           GSK [3] - 282:22,         57:12                      120:8, 124:9,
gears [1] - 112:8          174:21                     282:25, 283:11          health [2] - 7:23,          175:16, 178:23,
gelatin [4] - 61:15,      goals [3] - 55:4, 57:22,   guess [3] - 156:2,        132:16                     179:1, 179:5,
 67:16, 67:23, 89:7        117:24                     187:17, 234:16          healthcare [4] - 53:13,     179:14, 179:19,
general [13] - 3:17,      graduating [1] - 57:4      guidance [3] - 71:15,     98:13, 99:2, 99:10         180:21, 182:21,
 38:21, 137:2, 157:6,     gram [9] - 67:22, 68:2,     105:16, 197:16          healthy [4] - 58:23,        183:10, 194:10,
 157:7, 157:8, 157:9,      68:8, 68:9, 68:22,        guidances [1] - 57:21     58:24, 72:1, 84:5          212:11, 241:6, 271:2
 157:10, 163:9,            69:11, 89:7, 89:13,       guidelines [8] - 14:3,   hear [12] - 13:17, 30:7,   higher [9] - 38:21,
 189:9, 210:17,            196:20                     22:18, 71:12, 71:13,     31:6, 32:15, 32:25,        46:15, 128:12,
 259:4, 260:2             grams [49] - 22:19,         107:2, 238:3, 238:5,     36:12, 38:12, 38:14,       131:16, 134:3,
generally [38] - 11:2,     34:7, 41:20, 42:20,        287:1                    43:14, 221:22,             134:8, 134:20,
 55:14, 58:19, 59:6,       42:21, 43:18, 68:2,       guts [1] - 36:5           289:12, 290:25             233:2, 233:4
 59:10, 59:12, 87:22,      68:22, 69:1, 69:9,        guys [1] - 190:4         heard [3] - 33:15,         highest [1] - 104:12
 95:2, 110:14, 112:4,      83:13, 86:12, 87:21,                                125:7, 164:15             highlight [4] - 13:21,
 121:20, 121:21,           88:24, 88:25, 89:1,                                hearing [2] - 126:18,       63:24, 67:4, 240:13
                                                               H
 161:6, 174:14,            89:16, 97:20, 97:24,                                288:22                    highlighted [22] -
 175:12, 175:13,           97:25, 98:2, 98:4,        half [12] - 26:17,       hearsay [5] - 87:18,        6:24, 7:7, 35:20,
 178:5, 178:17,            98:7, 99:4, 99:12,         31:24, 33:5, 62:4,       124:24, 125:7,             176:22, 178:11,
 179:13, 181:12,           102:10, 105:3,             90:5, 170:4, 170:21,     285:18, 285:22             181:11, 186:14,
 198:23, 199:1,            107:19, 119:11,            170:23, 172:9,          Heart [1] - 22:15           190:5, 191:3, 196:3,
 211:11, 217:7,            120:17, 120:20,            174:1, 175:4, 258:25    heart [9] - 10:11,          217:14, 218:12,
 217:9, 221:23,            120:23, 121:1,            HAN [1] - 1:15            10:22, 37:4, 40:2,         223:18, 224:2,
 223:16, 238:7,            121:4, 121:6,             Han [1] - 3:8             46:22, 141:22,             225:19, 242:9,
 251:23, 254:1,            129:24, 143:17,           hand [9] - 18:10,         144:4, 160:15, 242:6       249:19, 280:7,
 254:12, 254:16,           196:19, 202:2,             48:24, 97:22, 101:6,    heavily [1] - 26:13         280:19, 281:16,
 255:11, 256:4,            207:19, 207:24,            120:19, 130:16,         Heinecke [2] - 20:8,        281:21, 281:22
 256:18, 258:17,           217:19, 218:4,             162:2, 274:13,           28:12                     highlighting [2] -
 258:19, 285:21            237:2, 237:4, 237:15       277:21                  held [4] - 60:12, 76:12,    108:6, 181:23
generated [3] - 192:7,    grant [3] - 257:1,         hang [2] - 262:20,        236:8, 285:4              highly [17] - 51:9,
 193:19, 194:4             257:6, 257:12              295:18                  help [7] - 31:10, 57:13,    51:12, 51:17, 55:8,
generating [1] - 59:15    granted [3] - 76:12,       happy [1] - 125:9         61:5, 61:10, 140:7,        62:1, 94:16, 94:19,
Generation [1] -           150:24, 221:9             hard [2] - 178:1,         160:17, 254:10             94:25, 99:8, 120:21,
 210:21                   granting [1] - 161:2        297:10                  helped [2] - 79:16,         121:3, 121:7, 171:7,
generic [10] - 32:4,      graphical [3] - 146:12,    harm [1] - 122:17         158:3                      171:14, 219:19,
 51:8, 167:10, 170:1,      146:15, 148:5             Harmonization [1] -      helpful [1] - 16:16         225:17, 281:25
 170:24, 173:15,          graphically [1] - 148:7     106:24                  helping [3] - 57:23,       HIKMA [3] - 1:8, 1:19,
 173:16, 175:8,           gravitas [1] - 201:18      Hatch [3] - 29:17,        59:20, 238:9               2:3
 219:5, 219:17            great [2] - 88:19,          169:8, 174:9            helps [4] - 13:17, 17:6,   Hikma [3] - 3:5, 3:10,
generics [4] - 29:11,      137:9                     Hatch-Waxman [3] -        17:22, 253:14              3:18




         MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                             (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 324 of 350


                                                                                                                               22
hired [6] - 57:12,         hoping [3] - 4:24,         10:24, 20:5, 21:6,        identifier [1] - 72:17    incentives [1] - 167:20
 62:14, 177:8,              7:17, 175:7               21:9, 23:11, 25:17,       identifies [2] - 34:5,    incentivize [1] -
 256:24, 256:25,           Horizon [2] - 37:14,       25:23, 26:2, 26:9,          76:13                     168:14
 257:1                      41:2                      27:9, 28:3, 28:10,        identify [7] - 7:7,       incidence [1] - 242:12
histogram [1] - 120:20     horizontal [1] - 146:16    38:1, 38:8, 38:17,          268:24, 286:5,          incidents [1] - 242:18
historically [2] - 10:7,   hormones [2] - 17:4,       38:22, 38:25, 39:11,        293:3, 293:8,           incline [1] - 133:15
 14:19                      57:15                     41:17, 43:25, 52:1,         293:23, 294:13          include [13] - 35:6,
history [7] - 22:24,       hospitalization [5] -      52:18, 54:18, 61:9,       identifying [1] -           37:9, 37:10, 60:9,
 50:11, 50:16, 50:24,       64:11, 133:9,             65:3, 70:21, 70:23,         161:16                    70:14, 87:6, 98:10,
 87:5, 87:16, 130:8         133:12, 133:19,           70:25, 71:7, 71:16,       IDL [1] - 17:9              139:5, 151:23,
hit [1] - 44:20             144:6                     71:23, 73:1, 106:20,      ignored [1] - 269:3         157:5, 179:13,
hits [1] - 42:17           hospitalize [1] -          112:23, 166:22,           Illinois [1] - 2:4          268:22, 271:14
holder [1] - 252:1          133:16                    177:24, 184:23,           illustrates [1] - 18:16   included [15] - 74:17,
holding [1] - 128:24       host [1] - 56:19           185:9, 185:20,            immediately [2] -           79:22, 87:21, 96:3,
honestly [1] - 221:3       hours [1] - 288:5          185:25, 186:12,             39:5, 136:16              102:16, 127:2,
Honor [93] - 3:6, 3:15,    house [1] - 3:19           194:16, 198:12,           impact [4] - 22:13,         155:5, 158:22,
 4:13, 4:22, 4:25, 5:4,    housekeeping [1] -         206:1, 207:14,              136:15, 259:17,           158:25, 180:14,
 5:24, 6:11, 7:6, 7:14,     162:17                    225:13, 225:24,             260:7                     195:10, 207:2,
 8:11, 9:6, 9:12, 9:14,    HPS2 [1] - 127:4           250:13, 250:20,           impaired [1] - 17:18        230:11, 235:3,
 20:15, 25:8, 29:23,       HTG [4] - 4:14, 4:18,      271:15, 271:18,           imply [2] - 37:15,          290:23
 30:8, 30:13, 30:19,        4:20                      271:21, 280:24,             37:16                   includes [10] - 41:25,
 31:7, 32:5, 34:18,        huge [1] - 17:16           282:1                     important [15] - 47:11,     49:22, 178:20,
 36:13, 38:12, 38:13,      human [2] - 58:24,        Hypertriglyceridemi          47:25, 53:7, 53:19,       179:1, 179:5, 274:8,
 39:13, 39:23, 40:8,        181:15                    a [1] - 225:3               90:12, 99:11, 109:1,      282:16, 282:17,
 43:22, 47:11, 47:16,      humans [2] - 58:21,       hypertriglyceridemic         150:4, 160:14,            285:22, 297:1
 48:7, 48:16, 48:18,                                  [9] - 14:23, 19:2,                                  including [16] - 28:3,
                            203:4                                                 168:6, 168:10,
 48:20, 63:10, 66:2,       hundred [3] - 16:1,        65:19, 71:25, 73:7,         168:12, 192:25,           28:9, 29:6, 49:23,
 69:19, 69:25, 74:14,       105:7, 139:20             79:14, 84:1, 117:13,        194:23, 232:18            61:3, 81:21, 85:16,
 76:25, 81:2, 86:18,                                  117:15                    importantly [6] -           102:23, 107:2,
                           hundreds [4] - 47:23,
 86:25, 89:1, 89:17,                                 hypothesis [1] -             18:13, 36:15, 91:8,       140:11, 160:15,
                            54:5, 55:23, 139:25
 113:12, 114:13,                                      204:24                      102:24, 120:2,            179:25, 189:18,
                           Huntington's [6] -
 116:18, 118:13,            23:3, 33:17, 183:16,                                  126:18                    194:18, 226:3, 281:7
 125:1, 131:18,             183:23, 184:12,                      I              impose [2] - 91:13,       including... [1] -
 136:3, 138:5, 141:3,       281:3                                                 217:10                    198:19
 144:19, 145:9,                                      Ian [1] - 23:22                                      inclusion [8] - 81:24,
                           hurdle [1] - 186:4                                   impression [1] - 31:8
 145:22, 153:4,                                      ICH [2] - 14:3, 106:22                                 83:2, 83:3, 92:9,
                           HUTTNER [2] - 2:10,                                  impressions [1] -
 159:14, 162:6,                                      Icosapent [1] - 50:10                                  96:22, 96:23, 119:7
                            296:17                                                165:24
 163:8, 199:23,                                      icosapent [18] - 12:5,                               inclusion-exclusion
                           Huttner [2] - 3:14,                                  imprinting [1] - 67:24
 201:2, 210:2,                                         37:22, 39:4, 40:7,                                   [2] - 81:24, 119:7
                            289:18                                              improper [1] - 27:21
 238:24, 252:19,                                       51:8, 51:13, 68:7,                                 inclusion/exclusion
                           hyper [1] - 179:9                                    improvement [1] -
 253:1, 260:15,                                        68:9, 68:22, 110:10,                                 [1] - 143:15
                           hypercholesteremia                                     239:12
 260:19, 262:7,                                        112:7, 129:13,                                     inconvenience [2] -
                            [1] - 205:1                                         improvements [1] -
 263:6, 264:1,                                         143:16, 146:23,                                      297:14, 299:10
                           hypercholesterolemi                                    22:3
 264:21, 265:15,                                       161:16, 171:9,                                     incorporate [1] -
                            a [3] - 179:18,                                     impurities [1] - 219:20
 265:20, 269:17,                                       171:15, 177:23                                       88:19
                            180:21, 271:1                                       impurity [4] - 219:5,
 270:12, 277:7,                                      ID [3] - 300:7, 301:4,                               Incorporated [1] -
                           hyperlinked [2] - 6:23,                                219:11, 219:17,
 277:17, 283:6,                                        302:4                                                49:16
                            6:25                                                  219:24
 284:1, 284:15,                                      idea [1] - 59:1                                      incorporates [2] -
                           hyperlipidemia [11] -                                in-house [1] - 3:19
 286:13, 287:5,                                      ideally [1] - 90:9                                     243:3, 253:16
                            178:14, 178:20,                                     inaccurate [1] -
 287:25, 289:14,                                     identical [6] - 11:23,                               increase [25] - 16:2,
                            178:23, 179:3,                                        266:11
 290:7, 291:3,                                         191:4, 191:22,                                       16:11, 19:25, 26:22,
                            179:5, 179:13,                                      inadequate [1] -
 294:21, 296:17,                                       192:8, 192:14,                                       34:11, 34:13, 35:11,
                            179:20, 181:8,                                        132:18
 298:6                                                 192:16                                               35:17, 36:2, 42:3,
                            182:2, 205:21,                                      inadvertently [1] -
Honor's [4] - 37:5,                                  identification [3] -                                   43:4, 45:21, 45:24,
                            205:25                                                290:22
 37:19, 40:2, 89:4                                     256:15, 258:5, 270:9                                 45:25, 46:3, 80:8,
                           hyperlipidemic [4] -                                 inapplicable [3] -
HONORABLE [1] - 1:2                                  identified [10] - 76:14,                               115:24, 122:21,
                            180:14, 192:21,                                       231:15, 234:6,
hope [2] - 22:8,                                       204:8, 261:9, 268:6,                                 195:8, 203:23,
                            209:25, 217:18                                        236:20
 149:16                                                287:21, 290:11,                                      215:1, 220:4,
                           hypertriglyceridemia                                 INC [2] - 1:4, 1:8
hopefully [3] - 32:7,                                  291:8, 296:8, 297:5,                                 273:18, 274:11,
                            [59] - 4:11, 4:14,                                  incentive [3] - 29:12,
 149:10, 294:1                                         297:7                                                275:12
                            4:15, 4:18, 9:19,                                     29:18, 173:20



          MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                              (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 325 of 350


                                                                                                                                 23
increased [18] - 10:11,     64:24, 65:4, 65:6,       207:1, 234:21,             254:13, 254:25,            intake [3] - 12:4, 84:4,
  18:14, 34:10, 42:22,      65:9, 65:17, 65:19,      253:24, 266:6, 281:1       255:5, 258:11,               84:15
  94:23, 136:25,            65:21, 66:11, 66:18,   indicators [1] - 59:7        258:15, 258:16,            intakes [1] - 273:18
  202:12, 203:12,           66:21, 67:5, 67:7,     indifferent [1] - 40:16      263:2, 264:25,             integral [1] - 155:21
  208:3, 208:13,            67:10, 67:12, 91:25,   individual [1] - 133:9       266:5, 267:15,             intellectual [7] -
  208:17, 209:18,           96:10, 101:15,         individuals [10] - 9:23,     267:16, 268:2,               174:3, 175:17,
  219:13, 220:7,            101:17, 101:18,          54:5, 76:14, 81:13,        269:4, 270:9,                227:10, 253:14,
  273:18, 273:23,           101:21, 102:14,          87:15, 133:10,             272:12, 272:13,              254:10, 255:15,
  273:24                    102:19, 106:6,           139:11, 195:7,             272:21, 272:25,              256:1
increases [11] - 26:24,     110:17, 110:23,          276:16                     275:3, 277:9,              intend [1] - 162:18
  32:24, 41:17, 80:12,      110:25, 111:1,         individuals' [1] - 54:8      277:14, 281:2,             intended [11] - 69:15,
  94:22, 112:13,            121:15, 123:21,        induced [6] - 25:1,          282:5, 283:19, 289:6         72:25, 82:22, 96:5,
  207:9, 207:16,            124:4, 124:7,            30:6, 37:17, 37:20,      informed [2] - 133:16,         102:10, 105:9,
  207:18, 226:9,            124:11, 124:12,          212:19, 282:3              158:21                       106:1, 108:9,
  274:13                    124:19, 125:12,        inducement [6] -           Informed [1] - 242:25          108:10, 186:25,
increasing [4] - 13:9,      126:14, 126:23,          24:14, 24:17, 25:7,      infringe [3] - 24:14,          214:5
  20:12, 52:22, 146:17      127:24, 128:5,           25:12, 37:16, 37:24        25:6, 175:15               intending [1] - 296:25
incredibly [1] - 42:5       128:16, 130:3,         inducements [1] -          infringed [1] - 29:21        intensity [1] - 241:2
incremental [2] -           134:5, 135:13,           24:11                    infringement [8] -           intent [9] - 25:6,
  53:21, 143:11             135:15, 136:14,        industry [3] - 21:10,        24:6, 24:7, 25:1,            37:16, 98:18, 99:6,
IND [20] - 58:17,           150:11, 151:10,          57:18, 259:8               25:9, 30:6, 37:17,           99:9, 122:18,
  74:11, 75:5, 75:13,       151:11, 151:18,        industry's [1] - 29:12       37:21, 38:16                 160:21, 167:11,
  75:24, 75:25, 76:5,       151:19, 151:20,        inevitable [1] - 19:1      ingredient [5] - 51:7,         168:2
  76:22, 77:8, 78:10,       152:1, 153:18,         inevitably [2] - 25:5,       51:8, 68:7, 139:11,        interact [2] - 128:10,
  78:13, 78:16, 89:21,      153:22, 154:4,           25:10                      232:3                        156:10
  108:20, 109:7,            159:12, 161:3,         infarction [3] - 64:9,     ingredients [1] - 42:8       interacting [4] - 57:19,
  109:17, 130:4,            166:20, 166:22,          144:4, 147:22            inherently [1] - 168:4         90:1, 130:10, 155:21
  187:19, 222:1, 222:4      167:2, 167:8,                                     inhibitor [1] - 158:10       interaction [9] - 16:9,
                                                   inflammation [2] -
indecipherable [1] -        167:12, 167:19,                                   initial [9] - 36:5, 66:11,     74:11, 76:5, 76:15,
                                                     10:16, 72:9
  228:12                    167:24, 168:23,                                     188:5, 188:9, 237:9,         87:14, 187:10,
                                                   inflammatory [2] -
indeed [2] - 27:6,          168:24, 169:11,                                     244:21, 292:15,              188:1, 280:12,
                                                     124:8, 228:6
  149:20                    173:13, 173:17,                                     292:18                       280:22
                                                   influence [1] - 18:14
independence [1] -          178:20, 180:3,                                    initiated [1] - 138:20       interactions [4] -
                                                   information [90] -
  48:5                      183:24, 186:7,                                    initiating [2] - 11:22,        78:18, 78:23,
                                                     5:13, 23:7, 58:16,
independent [8] -           187:25, 191:6,                                      19:4                         155:22, 187:19
                                                     59:10, 63:8, 63:23,
  46:5, 47:18, 48:6,        191:7, 212:10,                                    innovate [2] - 29:12,
                                                     64:1, 66:8, 66:13,                                    Interbiotics [4] -
  174:2, 195:13,            212:12, 225:7,                                      29:18
                                                     66:17, 66:18, 66:20,                                    59:25, 60:2, 60:3,
  195:17, 196:8,            228:2, 228:3,
                                                     67:1, 67:15, 68:14,      innovation [1] - 168:3         60:14
  199:10                    229:10, 229:14,
                                                     87:11, 90:12, 95:14,     innovative [3] - 21:25,      interchangeable [2] -
Index [2] - 300:25,         229:15, 230:11,
                                                     95:16, 95:25, 96:1,        28:21, 54:6                  29:3, 29:4
  301:25                    230:21, 238:12,
                                                     96:11, 98:12, 98:14,     inquiry [1] - 37:8           interest [3] - 259:20,
indicate [1] - 33:12        247:18, 247:22,
                                                     98:16, 98:18, 98:19,     insert [2] - 195:10,           260:9, 260:12
indicated [12] - 12:9,      248:6, 248:11,
                                                     99:3, 107:4, 107:8,        196:18                     interested [1] - 12:25
  32:11, 40:1, 67:11,       248:17, 248:19,
                                                     109:4, 109:9,            insertion [1] - 234:4        interesting [1] - 130:7
  68:5, 69:6, 74:7,         249:5, 251:19,
                                                     109:10, 111:16,          inset [1] - 146:14           interfere [1] - 13:15
  114:7, 141:18,            253:7, 254:2, 254:3,
                                                     115:13, 125:16,          insights [3] - 23:20,        interferes [1] - 11:4
  158:14, 183:10,           254:14, 255:13,
                                                     133:17, 133:24,            27:17, 27:21               intermediate [3] -
  287:19                    255:22, 256:5,
                                                     138:11, 151:2,           instance [6] - 98:22,          17:9, 104:7, 221:5
                            256:8, 271:24,
indicates [2] - 190:7,                               152:13, 152:21,            107:2, 107:6,              intermittent [3] -
                            277:3, 280:23
  279:14                                             152:24, 172:23,            147:24, 156:21,              14:11, 14:15, 108:10
                          Indications [3] -
indicating [2] -                                     173:8, 187:25,             187:21                     internal [18] - 27:13,
                            63:25, 66:11, 66:14
  132:10, 152:17                                     189:16, 193:6,           instances [1] - 160:3          34:1, 46:10, 72:8,
                          indications [25] -
indication [132] -                                   193:12, 193:14,          instead [4] - 27:11,           128:9, 177:18,
                            13:25, 23:3, 23:6,
  14:15, 14:16, 28:6,                                195:9, 196:12,             31:14, 230:4, 287:23         177:20, 186:24,
                            23:9, 31:22, 51:23,
  28:25, 32:1, 33:21,                                197:5, 207:7,            instituted [1] - 170:18        187:1, 188:6,
                            52:16, 63:20, 63:22,
  33:24, 40:4, 40:5,                                 207:11, 211:15,          instruct [1] - 37:22           188:16, 191:20,
                            65:14, 74:2, 108:19,
  40:9, 43:9, 46:13,                                 221:23, 224:15,          instruction [3] - 12:6,        241:22, 241:23,
                            136:23, 136:24,
  47:10, 51:24, 59:17,                               227:6, 237:11,             37:18, 40:20                 275:23, 280:18,
                            151:15, 152:15,
  63:17, 63:18, 64:5,                                251:23, 252:1,           instrument [1] -               281:4, 281:6
                            159:5, 166:13,
  64:7, 64:17, 64:22,                                253:13, 253:16,            282:20                     internally [1] - 36:21
                            166:16, 178:14,



         MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                             (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 326 of 350


                                                                                                                                 24
International [1] -         183:21                     36:15, 37:2, 45:10,       Japan [20] - 58:1,         243:10, 243:15,
  106:23                  investigator [1] -           46:4, 46:5, 46:20,         106:25, 132:17,           243:17, 244:5,
international [3] -         35:22                      47:2, 47:8, 47:11,         172:1, 172:7, 172:8,      245:4, 245:10,
  57:15, 85:13, 161:15    investigators [2] -          47:13, 47:15, 53:25,       178:13, 181:25,           245:16, 246:15,
internationally [1] -       204:12, 232:22             64:19, 64:22, 65:21,       191:5, 191:17,            246:17, 247:11,
  85:23                   investor [1] - 211:4         66:21, 66:25,              191:19, 192:22,           270:20, 270:22,
interpret [2] - 198:3,    Investor [1] - 256:18        121:18, 123:17,            204:13, 205:20,           270:23, 271:8,
  200:4                   investors [21] - 34:23,      123:18, 127:15,            206:23, 207:1,            271:25, 272:8,
interpreting [1] -          34:24, 34:25, 35:3,        137:3, 137:4, 137:5,       207:8, 207:12,            272:11, 272:15,
  132:12                    35:12, 36:21, 46:10,       137:7, 139:15,             243:4, 246:15             272:24, 286:18,
interrupt [1] - 233:16      48:4, 165:18,              139:16, 139:17,           Japanese [15] - 32:10,     286:21, 286:22,
intervention [1] -          210:15, 211:1,             140:3, 140:10,             33:5, 129:16,             287:2
  204:13                    211:6, 211:13,             140:15, 140:16,            129:18, 129:20,         Jersey [2] - 2:11, 60:5
interviewing [1] -          211:21, 212:15,            140:17, 140:20,            172:6, 179:2, 180:4,    job [2] - 211:6, 217:2
  133:14                    212:18, 213:13,            140:25, 141:10,            180:12, 204:25,         Joe [2] - 3:7, 3:18
intimately [1] - 125:12     213:24, 214:3,             141:17, 141:24,            205:23, 236:16,         John [1] - 174:22
introduce [3] - 8:12,       215:18, 215:25             142:9, 143:6, 143:7,       237:4, 237:14, 238:4    Johnson [2] - 59:22
  133:13, 162:18          involved [16] - 33:4,        143:25, 144:7,            JAS [1] - 238:3          join [6] - 50:1, 58:3,
introduced [4] -            57:23, 82:17, 93:25,       144:13, 145:3,            Jeff [1] - 3:7             58:4, 59:24, 60:5
  13:23, 162:22,            95:21, 106:10,             145:4, 145:18,            JEFFREY [1] - 1:14       joined [9] - 50:2,
  286:11, 294:16            119:17, 143:8,             146:3, 146:13,            JELIS [112] - 34:6,        50:15, 54:4, 88:1,
introducing [1] -           150:5, 155:6,              146:22, 148:6,             36:16, 36:18, 36:24,      276:22, 277:16,
  162:25                    155:16, 255:16,            149:22, 150:11,            37:1, 46:7, 46:8,         284:18, 285:2, 285:6
introduction [2] -          255:25, 263:14,            151:10, 151:18,            46:12, 46:17, 46:21,    joining [3] - 50:21,
  178:4, 178:5              277:4, 293:11              151:19, 161:6,             47:3, 47:7, 129:15,       60:24, 62:19
                          involvement [1] -            166:7, 173:12,             129:16, 129:21,         JOSEPH [1] - 1:15
introductory [1] -
                            256:3                      173:17, 173:21,            130:3, 130:17,          Journal [7] - 15:6,
  178:8
                          involves [1] - 68:9          174:2, 241:18,             130:21, 132:4,            22:2, 118:8, 144:16,
invalidity [1] - 25:14
                          involving [1] - 180:16       242:25, 244:21,            132:6, 132:9,             145:18, 199:12,
invent [5] - 35:4,
                          IRELAND [1] - 1:5            245:6, 245:13,             132:12, 135:9,            286:24
  44:12, 171:10,
                          irrelevant [3] - 30:14,      245:17, 245:19,            136:10, 136:12,         journals [1] - 182:8
  172:19, 224:3
                            46:5, 47:2                 246:17, 247:8,             149:22, 150:3,          Judge [1] - 89:4
invented [4] - 30:25,
                          irrevocable [1] - 10:19      247:10, 247:17,            150:8, 165:24,          judge [1] - 181:5
  32:16, 35:2, 172:11
                          Ismail [2] - 47:21,          248:6, 248:10,             179:18, 180:19,
invention [5] - 31:12,                                                                                    JUDGE [1] - 1:2
                            289:20                     254:2, 254:14,             180:24, 182:1,
  31:13, 41:10, 46:25,                                                                                    judging [1] - 129:9
                                                       255:13, 255:22,            182:10, 188:22,
  176:12                  isolate [1] - 88:12                                                             judgment [3] - 37:5,
                                                       256:5, 271:4, 271:7,       204:13, 204:21,
inventions [1] -          issue [27] - 6:9, 7:12,                                                           39:24, 48:8
                                                       271:10, 271:17,            204:23, 205:5,
  175:25                    7:16, 7:19, 7:23,                                                             juggling [1] - 294:10
                                                       271:20, 286:17,            205:9, 208:24,
inventor [4] - 31:1,        8:13, 9:18, 11:17,                                                            Juliano [1] - 241:16
                                                       286:23, 286:24,            220:10, 222:12,
  35:23, 221:18, 254:5      12:16, 12:21, 24:10,                                                          July [10] - 51:24,
                                                       287:1, 297:12              222:16, 222:18,
inventors [17] - 23:15,     39:1, 46:22, 87:20,                                                             65:12, 65:18, 76:12,
                                                     italicized [1] - 110:8       222:20, 223:10,
  23:16, 23:24, 27:16,      159:22, 159:25,                                                                 77:10, 108:20,
                                                     iterations [2] - 156:18,     223:16, 223:19,
  27:20, 30:23, 31:7,       160:21, 164:1,                                                                  169:17, 169:24,
                            175:8, 200:19,             224:10                     224:20, 224:22,
  31:9, 34:15, 175:22,                                                                                      169:25, 170:2
                            202:1, 264:14,           iterative [1] - 156:17       224:24, 226:3,
  175:24, 176:11,                                                                                         jump [1] - 270:17
                            287:21, 291:8,           itself [9] - 12:6, 12:15,    226:18, 226:21,
  181:17, 187:4,                                                                                          June [3] - 216:16,
                            291:10, 294:20,            13:4, 16:14, 25:21,        230:21, 230:22,
  190:18, 276:17,                                                                                           221:13, 281:19
                            298:15                     34:14, 43:16, 80:21,       231:2, 231:4, 231:8,
  278:13
                          issued [5] - 5:10, 45:6,     103:19                     231:14, 232:1,
inventors' [1] - 27:19
                                                                                  232:6, 232:16,                     K
inverted [1] - 104:2        128:6, 159:10,
invest [1] - 34:23          228:19                               J                232:22, 233:8,          K-e-t-c-h-u-m [1] -
                          issues [14] - 7:12,                                     234:1, 234:5,            49:9
invested [2] - 27:24,                                Jain [1] - 3:20
                            8:18, 24:8, 30:3,                                     234:22, 235:2,
  54:21                                                                                                   Kaplan [1] - 147:17
                                                     JAMES [1] - 2:10             235:13, 236:5,
investigating [1] -         30:5, 30:17, 37:3,                                                            Kaplan-Meier [1] -
                                                     James [1] - 3:14             236:9, 238:2, 238:7,
  183:15                    48:8, 88:4, 125:13,                                                            147:17
                            159:20, 162:22,          January [5] - 1:6,           239:8, 239:11,
investigation [1] -                                                                                       Kathyrn [2] - 1:22,
                            163:9                     170:3, 253:17,              239:21, 240:1,
  221:24                                                                                                   299:21
                          IT [101] - 20:24, 22:3,     288:5, 292:20               240:18, 240:22,
investigational [3] -                                                                                     KEANE [197] - 1:14,
                            22:9, 23:13, 29:6,       JANUARY [2] - 3:1,           241:5, 242:3, 242:8,
  57:24, 78:17, 222:21                                                                                     48:16, 48:24, 49:2,
                            36:11, 36:12, 36:13,      138:1                       242:13, 243:4,
investigations [1] -                                                                                       49:11, 62:25, 63:3,



         MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                             (775) 329-9980
 Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 327 of 350


                                                                                                                         25
63:4, 63:10, 63:15,     262:11, 262:14,           121:9, 125:9,              233:24, 239:1,          225:22, 282:11,
64:2, 64:4, 66:2,       263:6, 263:13,            126:11, 131:6,             240:6, 240:8,           283:7
66:6, 67:3, 67:6,       263:20, 264:1,            131:24, 136:9,             240:12, 240:14,        knows [2] - 88:14,
68:15, 68:17, 69:19,    265:12, 265:15,           138:8, 138:16,             241:9, 241:12,          289:16
69:25, 70:7, 70:8,      265:20, 266:15,           141:9, 141:16,             252:12, 252:16,        KSR [1] - 41:8
74:14, 74:21, 76:25,    266:18, 266:25,           144:24, 145:15,            252:22, 253:1,         Kumar [1] - 3:19
77:6, 77:19, 77:21,     268:10, 269:17,           146:11, 147:14,            253:3, 254:17,         Kurabayashi [6] -
78:7, 78:9, 81:2,       269:24, 270:12,           148:3, 151:17,             254:22, 256:13,         35:7, 42:25, 45:14,
81:6, 82:8, 82:10,      270:15, 273:6,            153:11, 154:21,            256:17, 260:14,         215:4, 215:18, 216:1
83:15, 83:17, 85:4,     273:14, 275:19,           155:16, 161:23,            260:18, 261:3,         KURYS [1] - 1:15
85:6, 86:25, 87:13,     275:21, 276:25,           164:5, 199:24,             261:10, 261:19,        Kurys [1] - 3:8
88:16, 89:1, 89:2,      277:2, 277:7,             200:7, 210:3, 210:6,       261:25, 262:4,
89:17, 89:18, 90:18,    277:17, 277:20,           238:21, 241:24,            262:16, 262:19,
                                                                                                              L
90:21, 93:7, 93:9,      277:24, 278:25,           257:6, 264:14,             262:25, 263:2,
94:7, 94:9, 95:17,      279:11, 279:20,           264:19, 265:2,             263:10, 263:16,        lab [1] - 31:2
95:20, 96:14, 96:16,    279:24, 280:1,            267:1, 270:16,             264:16, 264:18,        Label [1] - 235:5
97:4, 97:6, 97:14,      280:5, 281:9,             276:22, 277:10,            265:5, 265:7,          label [49] - 24:24,
97:16, 100:7,           281:12, 283:6,            277:25, 280:6,             265:11, 265:18,          32:22, 37:9, 37:18,
100:11, 103:8,          283:12, 283:18,           281:14, 282:8,             266:4, 266:22,           37:21, 38:3, 38:5,
103:11, 105:19,         284:1, 284:15,            284:6, 284:18,             267:10, 267:14,          40:16, 40:19, 41:22,
105:21, 106:11,         284:17, 284:24,           285:2, 286:16,             268:15, 268:19,          68:12, 73:4, 80:6,
106:13, 108:2,          285:1, 285:14,            287:15                     268:25, 269:25,          80:10, 83:13, 85:7,
108:4, 108:15,          286:1, 286:13,           KETCHUM [2] - 49:3,         270:4, 270:8,            85:9, 85:22, 86:7,
108:17, 109:11,         286:15, 287:5             300:4                      276:20, 277:6,           95:14, 102:7, 105:1,
109:13, 110:3,         Keane [14] - 3:7,         Ketchum's [1] - 155:2       278:21, 279:5,           107:18, 111:20,
110:5, 111:21,          48:16, 137:6, 138:4,     Key [1] - 198:9             283:3, 283:10,           132:13, 133:13,
111:23, 113:3,          155:1, 200:7,            key [18] - 32:7, 32:8,      283:23, 284:21,          133:19, 153:16,
113:5, 113:12,          200:25, 262:5,            60:18, 94:1, 96:22,        285:17, 287:9,           153:21, 156:6,
113:17, 114:3,          263:4, 264:4,             97:11, 98:14, 98:16,       287:11, 287:14,          158:5, 158:7,
114:5, 114:13,          266:13, 267:22,           98:19, 99:1, 99:3,         296:6, 298:18, 299:5     158:13, 173:17,
114:18, 114:23,         300:4, 300:5              104:1, 140:17,            Klein [26] - 3:10,        194:12, 196:24,
115:7, 116:18,         keep [3] - 157:19,         142:25, 144:8,             161:25, 164:9,           197:2, 205:23,
116:23, 118:13,         262:2, 299:12             146:6, 148:13,             220:12, 220:19,          247:20, 248:4,
118:18, 118:24,        keeping [1] - 45:19        286:22                     233:15, 252:10,          249:14, 250:7,
119:1, 125:1, 125:9,   KENNEDY [2] - 1:14,       kind [11] - 11:16, 13:4,    264:10, 265:2,           250:11, 250:12,
126:5, 126:9,           1:15                      85:13, 85:17, 91:15,       267:3, 268:11,           250:19, 266:6
126:10, 131:18,        Kennedy [3] - 3:7, 3:8,    132:20, 189:9,             269:23, 270:2,         labeling [40] - 11:16,
131:23, 135:6,          3:18                      284:6, 286:20,             270:20, 272:1,           11:20, 11:23, 11:24,
135:8, 136:3, 136:8,   Ketchum [98] - 48:17,      294:14, 299:6              273:3, 275:2, 276:7,     11:25, 12:6, 12:15,
137:9, 138:5, 138:7,    48:18, 49:8, 49:12,      KLEIN [104] - 1:19,         277:7, 278:1, 278:4,     12:20, 12:24, 13:2,
138:10, 138:15,         49:13, 62:21, 63:5,       30:8, 63:12, 77:3,         280:7, 281:15,           22:14, 25:4, 25:10,
141:3, 141:8,           63:16, 64:24, 66:7,       86:18, 87:18, 87:22,       283:6, 287:8, 300:5      28:25, 29:1, 29:5,
141:13, 141:15,         67:7, 69:17, 70:9,        113:14, 114:15,           Klein's [5] - 265:23,     65:23, 68:4, 68:11,
144:19, 144:23,         74:12, 74:22, 77:7,       116:20, 118:15,            266:25, 283:21,          96:4, 98:11, 153:24,
145:9, 145:14,          77:22, 81:7, 82:11,       124:23, 125:3,             284:1, 288:9             154:6, 154:9,
145:22, 146:2,          87:1, 89:3, 89:19,        125:24, 131:20,           knowing [1] - 157:24      154:23, 155:4,
146:8, 146:10,          90:18, 90:22, 93:10,      136:5, 141:5,             knowledge [10] -          155:5, 155:6,
147:11, 147:13,         94:10, 95:21, 96:17,      145:11, 145:24,            23:18, 86:19,            155:16, 155:18,
151:13, 151:16,         97:7, 97:17, 98:9,        154:15, 159:16,            115:22, 125:15,          155:22, 156:2,
152:25, 153:4,          99:15, 100:9,             162:2, 162:6,              213:12, 252:21,          157:3, 157:14,
153:6, 153:8,           100:12, 103:12,           162:11, 162:15,            255:20, 256:12,          158:17, 158:22,
154:16, 154:19,         104:17, 105:22,           162:17, 163:1,             276:16, 278:11           158:25, 191:19,
154:20, 154:24,         106:14, 108:5,            163:5, 163:19,            knowledgeable [1] -       271:22
155:2, 155:13,          108:15, 109:14,           163:22, 164:1,             21:18                  labelings [1] - 155:23
155:15, 157:7,          110:6, 112:8, 113:6,      164:4, 200:2,             known [15] - 31:19,     labels [7] - 40:14,
157:12, 157:21,         113:18, 114:10,           200:12, 201:3,             32:17, 41:11, 72:15,     40:23, 66:24,
159:14, 159:19,         114:19, 116:1,            210:13, 220:14,            82:19, 142:22,           112:19, 158:3,
161:23, 163:8,          116:24, 117:8,            220:20, 220:21,            144:4, 148:14,           158:6, 158:20
199:23, 200:9,          118:5, 118:6,             228:13, 228:22,            192:13, 192:17,        LABORATORIES [1] -
200:15, 201:2,          118:19, 119:2,            233:19, 233:23,            205:19, 209:2,           2:10
210:2, 262:7,



       MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                           (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 328 of 350


                                                                                                                                   26
Laboratories [2] - 3:5,      175:17                    275:12, 282:2              41:16, 43:17, 44:16,        237:9, 237:10,
  3:13                     lawyers [1] - 253:14      LDL-C [81] - 14:24,          59:7, 141:25,               249:5, 256:2
lack [6] - 11:7, 48:4,     Laxdale [2] - 23:2,         15:12, 15:24, 16:10,       173:17, 194:10,           levels [69] - 9:24, 10:1,
  112:25, 115:24,            23:20                     16:11, 18:8, 19:3,         210:10                      12:18, 18:22, 21:3,
  278:22, 293:19           lay [3] - 155:9, 264:9,     19:15, 19:16, 19:21,     leave [3] - 5:21, 41:5,       35:17, 36:2, 38:18,
Lambert [2] - 24:22,         276:23                    20:1, 20:6, 20:12,         98:17                       39:7, 52:2, 52:7,
  24:24                    laying [1] - 85:10          20:18, 26:11, 26:17,     leaves [4] - 40:15,           64:12, 65:1, 70:24,
Lancet [10] - 33:3,        lays [1] - 114:9            26:18, 26:19, 26:20,       40:17, 149:17,              70:25, 71:3, 71:9,
  46:17, 129:22,           LDL [129] - 14:24,          26:22, 26:24, 27:7,        289:11                      71:20, 72:4, 72:7,
  182:1, 182:7,              15:12, 15:15, 15:20,      32:24, 34:9, 35:10,      led [14] - 12:20, 23:8,       83:2, 84:2, 84:9,
  182:20, 188:23,            15:24, 16:1, 16:10,       35:17, 41:17, 42:4,        24:16, 44:4, 45:2,          91:9, 91:16, 92:10,
  204:14, 237:10,            16:11, 17:10, 17:13,      42:14, 43:2, 43:5,         52:16, 98:2, 99:12,         92:20, 97:21, 97:22,
  242:15                     17:16, 17:23, 18:1,       45:21, 45:23, 45:25,       101:15, 104:14,             100:21, 120:3,
language [7] - 37:18,        18:8, 18:13, 18:21,       46:3, 52:22, 53:6,         107:25, 120:21,             120:8, 128:12,
  155:12, 157:11,            19:3, 19:15, 19:16,       92:20, 94:10, 94:11,       129:25, 151:8               138:17, 142:8,
  158:4, 158:21,             19:21, 20:1, 20:6,        94:12, 94:14, 94:15,     leeway [3] - 86:21,           142:9, 142:15,
  158:25, 200:6              20:12, 20:18, 26:11,      98:5, 99:7, 100:24,        87:23, 284:2                151:20, 151:21,
large [20] - 17:8,           26:17, 26:18, 26:19,      112:13, 113:1,           left [11] - 120:19,           151:24, 179:5,
  36:24, 56:14, 64:19,       26:20, 26:22, 26:24,      113:19, 114:20,            189:3, 189:5,               179:14, 179:23,
  73:13, 94:18, 122:7,       27:7, 32:24, 34:9,        115:9, 115:24,             189:11, 198:24,             186:18, 195:5,
  128:25, 129:17,            35:1, 35:10, 35:11,       117:5, 117:23,             213:18, 227:13,             195:12, 195:24,
  137:3, 139:17,             35:17, 36:2, 41:17,       120:24, 122:11,            227:14, 242:11,             196:7, 217:21,
  204:12, 230:25,            42:4, 42:7, 42:14,        122:12, 197:2,             248:3, 265:17               218:5, 232:24,
  235:2, 235:13,             42:22, 43:2, 43:5,        207:9, 207:16,           legal [4] - 29:8, 41:4,       233:1, 237:4,
  238:8, 239:11,             45:21, 45:23, 45:25,      207:18, 208:3,             41:6, 135:2                 244:22, 244:25,
  259:20, 274:24,            46:3, 52:22, 53:6,        208:13, 209:13,          length [1] - 55:11            248:21, 249:1,
  276:11                     73:9, 92:20, 94:10,       209:19, 209:24,          lengthy [1] - 134:16          271:19, 271:23,
largely [1] - 36:5           94:11, 94:12, 94:14,      212:16, 213:10,          less [8] - 18:18, 32:4,       272:4, 272:5, 272:6,
larger [5] - 56:13,          94:15, 98:5, 99:7,        218:16, 218:21,            40:9, 40:12, 41:24,         272:7, 272:14,
  59:13, 60:23, 83:4,        100:24, 101:9,            219:13, 219:18,            91:10, 133:20,              272:17, 272:24,
  101:4                      112:13, 113:1,            220:4, 220:7, 226:9,       293:22                      273:22
Las [1] - 2:8                113:19, 114:20,           238:1, 251:5,            lesser [1] - 224:11         licensed [1] - 61:6
last [18] - 5:10, 20:23,     115:9, 115:24,            273:16, 273:22,          letter [26] - 36:23,        life [1] - 10:16
  27:24, 41:1, 47:16,        117:5, 117:23,            274:11                     75:3, 116:3, 126:19,      lifestyle [15] - 11:6,
  49:7, 107:20,              120:24, 122:11,         LDL-cholesterol [1] -        128:2, 128:3, 128:6,        11:10, 11:13, 71:25,
  174:19, 182:13,            122:12, 195:5,            273:17                     134:12, 134:14,             83:21, 83:23, 88:13,
  196:2, 204:23,             195:6, 195:12,          LDLs [1] - 195:8             134:16, 221:11,             91:21, 91:23,
  216:19, 225:8,             195:24, 196:7,          lead [21] - 10:17, 25:5,     221:12, 223:5,              138:19, 138:20,
  247:6, 275:6,              196:17, 197:2,            25:10, 72:7, 72:12,        227:15, 227:18,             138:24, 139:2,
  281:21, 289:10             202:12, 203:12,           80:17, 82:17, 84:23,       227:19, 228:18,             139:10, 139:12
lasted [1] - 33:5            203:24, 207:9,            88:10, 92:3, 102:24,       229:23, 229:24,           light [2] - 240:1,
late [8] - 61:8, 79:6,       207:16, 207:18,           119:5, 122:21,             229:25, 230:7,              286:16
  160:22, 289:13,            208:3, 208:13,            136:25, 138:25,            230:15, 233:10,           lightly [3] - 37:1,
  290:16, 290:19,            208:17, 209:13,           143:8, 183:21,             233:20, 235:21,             236:6, 236:9
  292:2, 292:12              209:19, 209:24,           183:24, 211:21,            240:10                    likelihood [1] - 290:9
latest [1] - 253:16          212:13, 212:15,           219:6, 219:20            letterhead [2] - 128:2,     likely [5] - 19:16, 29:3,
latitude [1] - 107:10        212:16, 212:18,         lead-in [5] - 88:10,         131:4                       136:25, 244:9,
latter [1] - 299:1           213:10, 213:21,           92:3, 119:5, 138:25,     level [34] - 10:3, 39:14,     244:24
launch [2] - 61:5,           214:20, 215:1,            143:8                      53:20, 66:15, 72:19,      likewise [1] - 94:22
  61:10                      215:12, 216:2,          leadership [2] -             82:13, 84:17, 86:2,       Lilly [1] - 25:3
Lavin [2] - 44:3, 45:1       216:10, 218:16,           134:10, 134:18             91:12, 91:20, 95:4,       limine [1] - 44:1
Law [7] - 1:17, 1:20,        218:21, 219:13,         leading [5] - 10:19,         96:21, 118:22,            limit [5] - 40:4, 91:13,
  2:3, 2:5, 2:7, 2:11,       219:18, 220:4,            50:24, 53:12,              128:11, 131:16,             91:18, 202:10,
  2:13                       220:7, 225:22,            110:17, 136:22             134:2, 134:3, 134:8,        238:22
law [6] - 30:15, 37:14,      226:4, 226:9,           leads [1] - 47:16            134:11, 134:20,           limitation [3] - 40:25,
  37:25, 41:8, 46:14,        226:17, 226:25,         leaking [1] - 10:18          168:20, 175:16,             44:15, 44:21
  174:12                     238:1, 251:5,           learned [1] - 259:7          180:1, 180:23,            limitations [5] -
                             273:16, 273:17,         learnings [1] - 243:4        193:4, 196:12,              130:13, 132:11,
laws [1] - 57:21
                             273:22, 274:2,          least [13] - 6:1, 37:22,     201:16, 201:18,             132:17, 136:12,
lawsuit [1] - 135:24
                             274:5, 274:11,            38:2, 39:2, 40:21,         202:14, 218:7,              286:21
lawyer [2] - 174:18,



          MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                              (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 329 of 350


                                                                                                                              27
limited [7] - 37:8,          17:10, 17:11, 203:4,    long-felt [2] - 45:7,        212:2, 212:4, 212:6,     33:8, 53:11, 57:25,
  40:1, 88:1, 185:6,         228:6                     45:17                      212:10, 212:15,          85:15, 97:7, 97:10,
  185:18, 186:7, 249:1     list [25] - 6:15, 8:20,   long-going [1] - 12:17       225:10, 225:18,          97:19, 106:25,
LIMITED [1] - 1:5            8:21, 66:3, 81:3,       long-term [7] - 56:14,       225:22, 282:3,           132:21, 144:2,
limiting [1] - 194:2         93:15, 148:19,            64:20, 122:8, 137:3,       282:11, 282:13           144:9, 146:19,
line [12] - 6:17,            153:19, 252:14,           139:17, 204:24,          Lovaza's [1] - 195:10      147:18, 147:20,
  100:18, 104:8,             252:20, 255:25,           230:25                   low [7] - 16:22, 17:10,    148:10, 182:16,
  104:12, 108:3,             261:1, 265:22,          look [30] - 10:4, 11:15,     93:21, 94:12, 94:20,     204:14, 204:25,
  143:4, 146:23,             288:2, 288:4,             11:20, 12:1, 13:20,        239:16, 241:2            205:6, 208:24,
  146:24, 212:13,            288:10, 288:11,           20:22, 56:9, 66:10,      low-density [4] -          242:12, 242:18,
  292:21, 295:2, 295:4       288:13, 288:19,           86:11, 113:6, 116:1,       16:22, 17:10, 93:21,     244:6, 282:19
lines [2] - 113:21,          290:23, 292:15,           152:15, 157:22,            94:12                   majority [3] - 47:5,
  283:5                      292:20, 294:4,            162:13, 174:19,          lower [12] - 27:1,         47:8, 238:2
linked [1] - 34:15           294:11                    199:19, 203:9,             33:23, 113:22,          maker [1] - 222:18
links [1] - 253:23         listed [23] - 30:23,        210:18, 215:14,            115:4, 143:2, 180:2,    manage [1] - 12:13
lipase [3] - 13:16,          64:5, 93:12, 93:14,       221:2, 221:3,              180:14, 192:9,          management [5] -
  17:6, 17:17                99:19, 100:14,            223:18, 239:2,             192:24, 237:13,          49:25, 59:23, 60:20,
Lipid [4] - 22:16,           143:23, 145:19,           253:11, 257:18,            237:14, 244:25           78:1
  127:22, 161:21,            148:14, 148:23,           273:6, 274:1, 280:4,     lowered [2] - 217:20,     manager [5] - 75:12,
  210:22                     151:18, 175:24,           282:19, 291:25             218:5                    75:20, 76:4, 76:9,
lipid [47] - 45:12,          214:1, 214:2,           looked [12] - 42:13,       lowering [21] - 14:20,     109:16
  52:21, 73:3, 73:12,        217:11, 248:18,           48:2, 89:19, 158:2,        15:17, 19:17, 79:20,    Manku [2] - 23:16,
  82:18, 84:24, 85:3,        253:18, 255:9,            158:8, 189:19,             94:19, 103:25,           77:25
  91:6, 92:12, 93:23,        255:10, 276:4,            203:11, 203:18,            112:10, 127:2,          manner [3] - 53:23,
  94:5, 94:16, 94:25,        278:9, 278:12, 291:9      208:15, 227:1,             158:1, 186:17,           83:6, 84:6
  97:8, 97:10, 97:11,      listen [2] - 238:22,        240:4, 240:5               191:8, 191:16,          manufacture [1] -
  97:19, 99:4, 99:8,         250:18                  looking [18] - 33:19,        192:18, 193:20,          58:12
  99:11, 102:17,           listing [7] - 252:7,        35:23, 59:7, 73:14,        194:5, 194:9,           manufactured [2] -
  117:16, 117:17,            252:9, 253:4,             85:18, 139:18,             194:20, 197:18,          55:9, 129:20
  120:7, 122:15,             253:11, 253:15,           178:1, 186:22,             199:7, 213:5, 244:24    manufacturer [1] -
  124:7, 127:3, 142:2,       255:2, 263:15             187:5, 190:21,           Lowering [2] - 190:23,     173:4
  143:10, 143:14,          lists [6] - 81:20,          191:19, 202:19,            197:12                  manufacturing [8] -
  157:25, 158:1,             100:19, 106:2,            211:3, 214:8,            lowers [1] - 251:10        49:23, 51:18, 58:11,
  179:3, 180:20,             214:12, 217:11,           243:25, 255:2,           lowest [1] - 103:25        58:15, 60:16,
  202:17, 204:13,            294:10                    294:10, 294:11           lump [1] - 234:23          171:13, 194:25,
  213:5, 218:16,           literally [2] - 47:22,    looks [3] - 258:17,        lunch [3] - 137:8,         224:5
  219:6, 226:12,             54:5                      258:18, 258:19             137:12                  manuscript [6] -
  228:3, 232:24,           literature [12] - 15:4,   lose [1] - 260:2                                      35:13, 35:16, 35:18,
  244:10, 271:6,             23:19, 33:10, 130:6,    Lovaza [62] - 15:22,                  M               35:21, 36:3
  271:12, 275:13             181:2, 193:6,             18:6, 33:21, 37:9,                                 March [36] - 32:14,
lipid-altering [1] -         198:25, 204:6,            41:18, 41:22, 41:25,     M.D [1] - 42:6             33:12, 35:3, 150:14,
  143:10                     213:1, 216:4, 231:5       42:3, 42:4, 43:9,        Madison [1] - 2:11         150:15, 152:14,
lipid-focused [2] -        litigation [7] - 3:15,      43:11, 45:18, 45:23,     magnification [1] -        152:19, 175:25,
  73:3, 73:12                135:10, 169:18,           45:25, 61:13, 61:14,      146:14                    176:12, 176:20,
lipid-lowering [2] -         170:1, 259:14,            61:15, 61:18, 61:20,     magnitude [1] -            176:24, 177:4,
  158:1, 213:5               259:20, 259:24            79:22, 80:5, 158:4,       186:16                    177:5, 178:7, 183:7,
lipidologist [1] - 23:17   live [1] - 24:4             158:7, 158:13,           mail [4] - 7:17, 35:25,    184:7, 189:22,
lipids [12] - 42:19,       liver [1] - 16:20           165:6, 183:3, 183:8,      156:10, 156:14            190:1, 190:3,
  70:11, 70:13, 70:14,     lives [1] - 28:9            183:9, 184:22,           mails [1] - 291:19         192:13, 192:18,
  71:23, 178:24,           living [1] - 24:2           185:13, 185:15,          main [1] - 19:14           193:19, 194:4,
  179:24, 198:18,          Lo [3] - 165:9, 165:10,     185:23, 186:7,           maintain [7] - 12:18,      195:22, 196:5,
  201:7, 203:4, 228:5,       165:12                    186:9, 188:19,            39:7, 91:11, 92:5,        198:25, 205:14,
  229:11                   Lo-vais-a [2] - 165:9,      192:2, 192:8,             119:25, 135:9,            209:2, 210:24,
lipoprotein [15] -           165:12                    192:17, 193:14,           135:12                    213:3, 215:25,
  13:16, 15:18, 16:21,     Lo-vau-sa [1] - 165:10      193:19, 193:23,          maintained [2] -           224:14, 243:22,
  16:22, 17:6, 17:17,      lock [1] - 5:21             194:9, 195:5,             104:5, 136:11             248:4, 249:11,
  93:21, 94:5, 94:12,      lodge [1] - 124:23          195:24, 196:14,          maintaining [1] -          278:12
  97:8, 97:10, 97:11,      lofty [1] - 55:4            196:19, 197:2,            104:15                   marginally [1] -
  97:19, 99:4, 124:8       London [2] - 56:25,         199:7, 201:25,           mait [1] - 165:11          276:12
lipoproteins [4] -           57:5                      207:13, 207:16,          major [25] - 15:14,       MARINE [95] - 19:6,




          MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                              (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 330 of 350


                                                                                                                            28
 19:12, 20:3, 21:12,     material [3] - 51:15,     19:25                     77:22, 78:10, 78:13,     Metabolism [1] - 74:5
 21:16, 23:10, 28:19,     58:12, 194:23           mechanisms [1] -           85:23, 86:1, 89:22,      metabolized [1] - 59:2
 31:25, 35:9, 35:22,     materiality [1] -         174:11                    108:20, 109:8,           metadata [8] - 189:3,
 45:11, 53:1, 65:7,       160:25                  median [3] - 35:10,        109:17, 109:21,           189:8, 189:14,
 65:9, 67:5, 67:7,       materials [5] - 115:9,    35:11, 140:1              109:24, 110:12,           189:17, 189:18,
 67:10, 73:2, 79:2,       115:17, 115:23,         Medical [4] - 12:23,       110:17, 124:22,           189:20, 189:22,
 79:3, 79:8, 79:9,        116:10, 117:2            13:21, 14:17, 134:9       125:19, 128:11,           190:6
 80:23, 80:25, 81:10,    math [2] - 258:24,       medical [57] - 28:1,       129:2, 151:5, 156:7,     method [9] - 24:16,
 81:12, 82:4, 82:14,      259:2                    37:10, 50:6, 52:13,       187:20, 221:8,            27:6, 32:19, 41:20,
 82:16, 82:17, 83:12,    matter [4] - 7:15,        52:14, 52:15, 52:19,      221:9, 222:1, 222:4,      44:13, 44:19, 47:13,
 86:4, 86:13, 90:22,      40:18, 162:6, 299:19     53:5, 53:7, 53:11,        222:24, 223:6,            47:14
 90:24, 91:2, 92:12,     matters [3] - 4:24,       53:13, 53:17, 54:17,      241:14, 241:20,          methodological [2] -
 92:15, 92:21, 92:22,     21:18, 210:3             55:5, 56:10, 60:10,       241:21, 241:22,           36:19, 46:9
 92:25, 93:1, 93:3,      maut [1] - 165:11         63:18, 72:6, 72:13,       241:23, 243:15,          methodology [1] -
 93:4, 95:2, 95:4,       maximal [1] - 104:14      72:22, 73:1, 79:11,       292:23                    206:14
 95:9, 96:3, 96:8,       maximally [5] - 21:4,     90:14, 102:24,           meets [1] - 256:1         methods [7] - 23:24,
 96:10, 96:22, 97:3,      52:5, 64:8, 152:1,       102:25, 103:5,           Megan [1] - 3:7            25:11, 25:16, 25:22,
 97:12, 97:18, 99:17,     152:4                    103:13, 103:14,          Mehar [2] - 23:16,         27:11, 165:5, 253:24
 99:20, 101:14,          maximum [2] -             103:15, 103:17,           77:25                    MICHAEL [2] - 1:14,
 101:17, 101:18,          103:25, 104:4            103:20, 103:23,          Meier [1] - 147:17         2:12
 102:19, 103:7,          McKenney [1] - 18:3       104:13, 105:13,          mellitus [2] - 64:15,     Michael [3] - 3:7, 3:14,
 103:19, 105:1,          MEAGAN [1] - 1:14         105:14, 105:18,           141:25                    289:15
 107:17, 107:22,         Meagan [1] - 48:16        106:2, 106:18,           men [4] - 91:4, 119:22,   middle [5] - 15:10,
 108:19, 111:1,                                    107:6, 107:10,            141:19, 217:18            50:18, 100:14,
                         meals [1] - 84:12
 112:9, 112:14,                                    107:25, 108:7,           mention [2] - 112:25,      113:20, 132:8
                         mean [29] - 6:2, 29:9,
 119:4, 121:18,                                    108:11, 108:13,           231:4                    might [15] - 56:6,
                          51:12, 51:13, 57:16,
 123:1, 130:16,                                    122:18, 140:3,           mentioned [36] - 8:17,     108:7, 124:25,
                          67:8, 71:19, 86:25,
 138:13, 138:16,                                   140:4, 140:5, 152:7,      29:25, 42:2, 42:25,       133:15, 179:11,
                          94:17, 97:10,
 139:3, 153:25,                                    160:8, 161:4,             53:3, 54:17, 55:8,        184:1, 206:16,
                          125:24, 133:7,
 154:1, 154:4, 166:7,                              161:15, 167:21,           67:15, 72:22, 77:2,       226:13, 227:5,
                          149:7, 152:4, 159:3,
 168:23, 168:24,                                   168:3, 178:25, 287:1      79:23, 83:22, 84:7,       256:11, 259:2,
                          163:1, 171:8,
 169:11, 174:1,                                   medication [4] -           85:7, 91:15, 91:23,       266:9, 294:23,
                          172:19, 179:3,
 187:25, 198:18,                                   17:21, 17:22, 17:25,      93:13, 98:12, 99:7,       296:25
                          181:9, 182:14,
 237:7, 238:11,                                    92:19                     112:12, 123:9,           mildly [1] - 209:25
                          200:16, 201:15,
 238:12, 254:2,                                   medications [9] -          128:22, 140:13,          milestones [1] -
                          215:10, 216:9,
 254:14, 256:7,                                    11:8, 12:14, 39:17,       142:8, 143:13,            259:17
                          223:3, 231:2,
 272:22, 285:5                                     61:3, 84:25, 92:13,       148:9, 149:4,
                          282:17, 287:10                                                              milky [1] - 10:4
mark [2] - 256:13,                                 112:11, 133:15,           149:11, 156:23,
                         meaning [6] - 72:10,                                                         milligrams [34] - 9:25,
 294:16                                            143:10                    183:20, 190:25,
                          90:4, 141:22, 180:5,                                                         10:2, 13:7, 27:5,
marked [5] - 225:23,                              Medicine [4] - 22:2,       213:4, 223:12,
                          180:21, 272:10                                                               52:3, 52:8, 64:13,
 254:18, 282:2,                                    144:16, 145:18,           286:23, 288:1,            65:3, 71:3, 71:6,
                         means [21] - 29:4,
 289:17, 294:12                                    286:24                    294:25                    71:8, 71:11, 73:11,
                          38:1, 52:1, 67:9,
marker [5] - 45:12,                               medicine [2] - 22:21,     mentioning [3] -           73:16, 88:24, 91:10,
                          70:24, 83:6, 147:8,
 94:16, 94:25, 99:8,                               183:1                     183:22, 205:21,           91:11, 91:14,
                          152:5, 167:9,
 124:8                                            medicines [1] - 57:3       222:23                    117:20, 120:3,
                          170:24, 172:14,
markers [1] - 228:6                               meet [18] - 23:5, 38:9,   mentions [2] - 132:19,     124:10, 139:21,
                          173:7, 173:15,
market [3] - 30:13,       178:23, 179:18,          38:11, 52:25, 74:7,       251:4                     142:4, 142:6, 142:7,
 172:17, 260:3            179:21, 189:8,           83:1, 83:4, 92:9,        merely [1] - 290:5         142:10, 142:15,
marketed [8] - 153:19,    189:17, 222:2,           102:1, 104:19,           merits [1] - 217:8         143:1, 151:22,
 178:13, 178:17,          269:20, 282:19           104:23, 107:13,          met [15] - 29:22, 83:3,    151:24, 184:22,
 180:6, 180:12,          meant [1] - 260:1         121:22, 121:23,           95:4, 104:25,             186:19, 248:22
 181:6, 181:9, 183:2     measured [2] - 71:23,     123:19, 127:7,            107:16, 119:7,           million [6] - 54:22,
marketing [2] -           138:17                   168:3, 289:9              120:10, 140:4,            140:12, 140:14,
 110:15, 169:7           measurement [4] -        meeting [53] - 19:8,       140:17, 143:14,           173:24, 258:25,
markets [2] - 57:25,      142:19, 142:23,          19:10, 19:11, 53:24,      148:22, 150:12,           259:11
 183:1                    142:24, 143:4            73:19, 74:9, 74:10,       161:3, 164:7, 234:15     mind [4] - 45:19,
marking [1] - 256:14     measurements [3] -        75:5, 75:13, 75:24,      Metabolic [3] - 74:6,      134:4, 176:13,
Mason [2] - 47:21,        119:14, 138:21,          76:5, 76:11, 76:12,       128:7, 245:24             299:12
 289:20                   143:14                   76:22, 77:8, 77:9,       metabolic [3] - 10:13,    Mineral [1] - 247:3
matching [1] - 143:18    mechanism [1] -           77:11, 77:15, 77:16,      56:5, 56:12              minimize [1] - 123:14



         MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                             (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 331 of 350


                                                                                                                            29
minimum [6] - 43:8,       288:4                     114:13, 116:18,           267:10, 267:14,         141:3, 141:8,
 85:18, 85:19, 102:9,    MONDAY [2] - 3:1,          118:13, 131:18,           268:15, 268:19,         141:13, 141:15,
 105:2, 254:20            138:1                     136:3, 137:6, 141:3,      268:25, 269:25,         144:19, 144:23,
minor [1] - 61:23        money [2] - 167:16,        145:9, 145:22,            270:4, 270:8,           145:9, 145:14,
minority [1] - 39:2       168:15                    148:20, 156:8,            276:20, 277:6,          145:22, 146:2,
minus [1] - 98:6         monitored [1] - 195:7      159:14, 164:17,           278:21, 279:5,          146:8, 146:10,
minute [1] - 162:2       monotherapy [1] -          166:4, 183:13,            283:3, 283:10,          147:11, 147:13,
minutes [10] - 48:13,     67:12                     220:12, 220:22,           283:23, 284:21,         151:13, 151:16,
 70:2, 75:13, 76:5,      month [2] - 32:2,          239:2, 254:18,            285:17, 287:9,          152:25, 153:4,
 76:22, 77:15,            299:13                    260:20, 295:3             287:11, 287:14,         153:6, 153:8,
 109:17, 109:24,         months [2] - 46:19,       moved [5] - 6:21,          289:14, 289:25,         154:16, 154:19,
 220:16, 269:10           260:4                     59:23, 78:16, 111:9,      290:2, 290:5,           154:20, 154:24,
MIRANDA [1] - 1:2        morbidity [1] - 53:12      267:4                     290:22, 291:3,          155:2, 155:13,
mischaracterized [2] -   Mori [56] - 26:14,        moves [2] - 59:3,          291:7, 291:18,          155:15, 157:7,
 37:13, 44:4              26:21, 34:6, 34:9,        93:15                     296:6, 298:6,           157:12, 157:21,
misleading [1] -          35:6, 35:10, 36:3,       moving [4] - 58:20,        298:18, 298:20,         159:14, 159:19,
 208:21                   42:16, 42:17, 43:9,       146:17, 260:16,           299:3, 299:5            161:23, 163:8,
misnomer [1] - 233:19     43:16, 199:11,            270:10                   MS [224] - 8:15, 9:6,    199:23, 200:9,
misplaced [1] - 24:25     199:16, 199:20,          MR [128] - 4:13, 4:19,     9:9, 48:16, 48:24,      200:15, 201:2,
mispronouncing [1] -      200:5, 201:4, 202:1,      4:22, 5:24, 6:6, 6:11,    49:2, 49:11, 62:25,     210:2, 262:7,
 264:5                    202:11, 202:20,           7:6, 7:10, 7:23, 8:5,     63:3, 63:4, 63:10,      262:11, 262:14,
misrepresentation [1]     202:23, 203:6,            8:9, 8:11, 9:12, 9:14,    63:15, 64:2, 64:4,      263:6, 263:13,
 - 45:1                   203:12, 203:18,           9:23, 30:8, 63:12,        66:2, 66:6, 67:3,       263:20, 264:1,
                          204:3, 206:5,             77:3, 86:18, 87:18,       67:6, 68:15, 68:17,     265:12, 265:15,
Miss [1] - 261:8
                          206:17, 206:18,           113:14, 114:15,           69:19, 69:25, 70:7,     265:20, 266:15,
missed [1] - 269:1
                          206:19, 207:19,           116:20, 118:15,           70:8, 74:14, 74:21,     266:18, 266:25,
mistakes [1] - 45:8
                          207:23, 207:24,           124:23, 125:3,            76:25, 77:6, 77:19,     268:10, 269:17,
mix [1] - 259:8
                          208:3, 208:5, 208:9,      125:24, 131:20,           77:21, 78:7, 78:9,      269:24, 270:12,
mixed [1] - 130:8
                          208:13, 209:18,           136:5, 141:5,             81:2, 81:6, 82:8,       270:15, 273:6,
mixture [4] - 15:23,
                          214:12, 214:14,           145:11, 145:24,           82:10, 83:15, 83:17,    273:14, 275:19,
 61:16, 61:20, 61:24
                          214:21, 214:25,           154:15, 159:16,           85:4, 85:6, 86:25,      275:21, 276:25,
Mochida [12] - 129:20,
                          216:1, 218:1, 218:4,      162:2, 162:6,             87:13, 88:16, 89:1,     277:2, 277:7,
 172:24, 173:3,
                          218:20, 219:2,            162:11, 162:15,           89:2, 89:17, 89:18,     277:17, 277:20,
 178:13, 178:17,
                          219:12, 219:25,           162:17, 163:1,            90:18, 90:21, 93:7,     277:24, 278:25,
 180:22, 193:2,
                          220:3, 226:19,            163:5, 163:19,            93:9, 94:7, 94:9,       279:11, 279:20,
 193:5, 194:7,
                          273:4, 273:22,            163:22, 164:1,            95:17, 95:20, 96:14,    279:24, 280:1,
 222:18, 224:13,
                          275:1, 275:3, 275:17      164:4, 200:2,             96:16, 97:4, 97:6,      280:5, 281:9,
 224:17
                         Mori's [1] - 43:1          200:12, 201:3,            97:14, 97:16, 100:7,    281:12, 283:6,
Mochida's [6] - 173:8,
                         morning [13] - 3:21,       210:13, 220:14,           100:11, 103:8,          283:12, 283:18,
 187:13, 187:14,
                          5:7, 8:15, 9:14, 24:8,    220:20, 220:21,           103:11, 105:19,         284:1, 284:15,
 195:12, 195:16,
                          48:13, 49:12, 69:24,      228:13, 228:22,           105:21, 106:11,         284:17, 284:24,
 196:7
                          138:9, 250:16,            233:19, 233:23,           106:13, 108:2,          285:1, 285:14,
model [1] - 136:24
                          269:22, 288:1, 295:1      233:24, 239:1,            108:4, 108:15,          286:1, 286:13,
modest [1] - 180:23                                                                                   286:15, 287:5,
                         most [21] - 4:18, 8:18,    240:6, 240:8,             108:17, 109:11,
modestly [1] - 209:11                                                         109:13, 110:3,          287:25, 288:18,
                          13:9, 13:15, 16:9,        240:12, 240:14,
modification [1] -                                                            110:5, 111:21,          288:23, 289:4,
                          22:8, 31:10, 33:2,        241:9, 241:12,
 244:10                                                                       111:23, 113:3,          289:7, 291:21,
                          36:15, 41:4, 80:16,       252:12, 252:16,
Modification [1] -                                                            113:5, 113:12,          292:6, 292:9,
                          94:16, 94:25, 99:7,       252:22, 253:1,
 210:22                                                                       113:17, 114:3,          294:21, 295:6,
                          99:8, 161:10,             253:3, 254:17,
moieties [1] - 61:21                                254:22, 256:13,           114:5, 114:13,          295:10, 295:12,
                          164:16, 180:19,
molecular [1] - 57:13                               256:17, 260:14,           114:18, 114:23,         295:16, 295:20,
                          180:22, 182:7,
molecules [1] - 54:9                                260:18, 261:3,            115:7, 116:18,          295:23, 296:15,
                          253:12
moment [12] - 32:24,                                261:10, 261:19,           116:23, 118:13,         296:17, 296:20,
                         mostly [1] - 7:11
 33:15, 45:8, 189:2,                                261:25, 262:4,            118:18, 118:24,         296:23, 297:7,
                         mot [1] - 268:23
 203:7, 229:11,                                     262:16, 262:19,           119:1, 125:1, 125:9,    297:13, 297:19,
                         motivated [1] - 25:21
 233:16, 263:18,                                    262:25, 263:2,            126:5, 126:9,           297:22, 297:24,
                         motivation [2] - 26:8,
 264:2, 264:8,                                      263:10, 263:16,           126:10, 131:18,         298:2
                          46:2
 269:18, 295:19                                     264:16, 264:18,           131:23, 135:6,         multi [2] - 105:6,
                         mouse [1] - 112:2
moments [2] - 161:25,                               265:5, 265:7,             135:8, 136:3, 136:8,    150:2
                         move [26] - 7:1, 63:10,
 220:10                                             265:11, 265:18,           137:9, 138:5, 138:7,   multi-national [1] -
                          77:1, 91:25, 113:12,
Monday [2] - 8:21,                                  266:4, 266:22,            138:10, 138:15,         150:2



         MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                             (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 332 of 350


                                                                                                                              30
multinational [2] -       necessary [5] - 16:5,      35:11, 213:21,            196:15, 197:9,            notebook [1] - 31:2
 56:13, 231:1              16:13, 19:1, 159:1,       216:2, 216:11             198:7, 198:22,            noted [2] - 20:25,
multiple [22] - 44:17,     159:2                    NEVADA [3] - 1:1, 3:1,     209:21, 218:12,            130:12
 54:9, 59:15, 79:23,      need [63] - 5:6, 6:8,      138:1                     220:22, 227:12,           notes [3] - 261:6,
 79:24, 90:3, 90:9,        9:2, 12:10, 38:24,       Nevada [4] - 1:7, 1:23,    232:19, 237:24,            261:8, 294:6
 117:16, 133:15,           39:2, 39:3, 39:12,        2:8, 2:13                 239:5, 256:23,            nothing [1] - 222:15
 157:15, 157:16,           40:6, 40:7, 42:6,        never [7] - 111:7,         260:3, 287:23,            notice [3] - 12:12,
 174:24, 179:3,            45:7, 45:17, 52:19,       111:8, 156:9,             296:25, 300:25,            44:5, 164:23
 213:20, 213:25,           52:25, 53:3, 53:4,        168:20, 176:5,            301:25                    Notice [3] - 164:20,
 214:14, 216:3,            53:5, 53:13, 53:17,       230:5, 287:2             Next [2] - 197:12,          164:22, 164:24
 216:10, 278:20,           53:24, 56:11, 58:19,     new [65] - 18:6, 22:14,    210:21                    noticed [1] - 294:9
 279:2, 279:9              72:5, 72:12, 73:1,        28:5, 28:15, 28:25,      nexus [2] - 47:3           notified [1] - 150:23
Multiple [1] - 213:9       79:12, 90:7, 110:9,       46:12, 47:9, 57:24,      niacin [6] - 15:8,         notify [1] - 251:20
muscle [1] - 80:13         110:18, 122:21,           78:17, 82:6, 85:12,       79:24, 80:15, 127:3,      novel [2] - 25:17, 31:4
must [5] - 25:19, 29:1,    123:5, 126:5,             95:11, 102:16,            129:13, 234:19            November [6] - 35:8,
 41:11, 132:11, 282:1      127:15, 140:5,            102:22, 103:6,           Niacin [1] - 16:8           151:7, 245:25,
myocardial [3] - 64:9,     140:7, 151:4, 151:6,      106:17, 106:21,          Nicholson [1] - 291:7       292:16, 292:20
 144:4, 147:22             155:9, 156:12,            107:5, 108:8,            night [5] - 8:19, 288:1,   NSPO [1] - 116:4
                           160:7, 161:4,             108:21, 109:1,            288:24, 289:2,            Number [1] - 273:7
           N               161:25, 162:10,           109:4, 110:16,            289:10                    number [76] - 4:3, 4:5,
                           164:19, 179:11,           111:2, 111:5, 111:6,     nine [2] - 98:2, 139:1      5:1, 14:3, 14:12,
n-3 [1] - 22:10            180:14, 187:8,            122:10, 124:1,           Nissen [2] - 21:17,         23:1, 23:2, 37:8,
name [14] - 33:14,         188:1, 235:8, 261:6,      130:4, 150:17,            28:19                      37:12, 38:20, 38:21,
 49:6, 49:7, 49:8,         264:5, 265:21,            152:19, 159:21,          non [5] - 51:19, 144:3,     41:11, 42:10, 43:13,
 50:10, 51:8, 61:12,       269:19, 280:10,           159:23, 159:24,           144:4, 147:22              52:12, 52:18, 55:2,
 72:15, 129:23,            290:20, 293:19,           160:1, 166:16,           non-EPA [1] - 51:19         58:5, 59:6, 59:22,
 164:9, 191:1, 264:5,      295:3, 297:11,            167:2, 169:6,            non-fatal [4] - 144:3,      61:2, 61:17, 63:22,
 278:9, 297:8              298:4, 299:11,            169:10, 169:14,           144:4, 147:22              75:25, 78:16, 79:19,
named [1] - 276:16         299:12                    170:8, 171:3,            nonclinical [8] -           85:18, 85:20, 85:24,
names [1] - 187:5         needed [26] - 51:4,        172:12, 172:22,           55:15, 58:16, 78:3,        93:2, 96:24, 100:19,
narrow [1] - 37:20         56:18, 58:13, 61:12,      188:2, 221:24,            109:23, 109:24,            102:9, 102:14,
narrowly [1] - 44:19       78:14, 78:23, 82:21,      222:21, 229:13,           110:1, 111:20,             105:2, 105:7,
national [5] - 150:2,      84:14, 89:25, 91:3,       238:13, 245:21,           172:23                     108:12, 110:2,
 161:15, 241:14,           91:4, 91:6, 91:8,         247:20, 251:19,          none [5] - 25:25, 35:5,     110:6, 111:12,
 241:20, 241:21            92:19, 110:20,            252:16, 252:18,           47:17, 214:6, 255:11       118:21, 127:18,
National [3] - 22:16,      117:17, 119:25,           253:7, 288:2,            noninfringement [3] -       132:10, 143:21,
 71:14, 161:21             120:2, 122:1, 122:5,      288:25, 289:1,            30:17, 37:4, 48:9          146:18, 149:13,
natural [1] - 17:24        141:19, 141:21,           289:5, 291:5,            noninfringing [5] -         157:19, 158:8,
naturally [1] - 51:16      142:3, 142:5, 185:14      291:15, 291:16,           24:14, 24:16, 25:1,        161:14, 162:14,
nature [3] - 111:8,       needing [3] - 5:25,        293:2, 293:9              37:13, 37:15               164:25, 173:3,
 133:19, 157:20            120:8, 122:16            New [11] - 2:11, 22:2,    nonmisleadingly [1] -       175:3, 175:20,
NC [1] - 169:23           needs [13] - 26:5,         60:5, 134:2, 134:7,       134:24                     179:24, 205:18,
NCE [6] - 169:14,          50:6, 52:13, 52:14,       134:13, 134:15,          nonqualified [1] -          207:1, 255:8, 255:9,
 169:19, 172:18,           52:15, 54:17, 55:5,       134:18, 144:16,           257:7                      255:10, 256:5,
 173:2, 174:8, 174:23      72:10, 72:22,             145:18, 286:24           nonregistration [1] -       258:10, 259:13,
NCEP [1] - 71:15           167:21, 168:4,           newly [1] - 61:6           220:9                      268:18, 268:21,
NDA [21] - 12:20,          251:20                   news [1] - 159:10                                     268:24, 275:22,
                                                                              nonsignificance [1] -
 50:19, 50:23,            Neema [1] - 3:19          next [46] - 1:25, 14:9,                               279:25, 281:6,
                                                                               202:14
 104:19, 106:15,          negates [1] - 24:14        59:19, 60:2, 69:23,      noon [1] - 137:15           283:7, 285:17,
 108:19, 122:5,           negating [1] - 53:18       78:10, 81:14, 93:14,     normal [5] - 10:1,          289:3, 295:2, 295:14
 124:1, 124:3,            negative [3] - 215:11,     94:8, 97:5, 97:7,         10:3, 71:2, 71:21,        numbers [9] - 6:17,
 125:21, 128:23,           215:15, 234:20            103:10, 131:15,           232:25                     20:16, 107:13,
 128:24, 171:12,          negotiations [2] -         134:1, 134:3,                                        215:22, 260:21,
                                                                              normally [2] - 31:1,
 173:1, 243:22,            157:4, 157:15             134:20, 145:6,                                       261:11, 266:2,
                                                                               179:17
 244:18, 246:3,           neighborhood [1] -         166:4, 175:5,                                        295:4, 296:22
                                                                              north [1] - 24:3
 246:19, 246:25,           259:10                    176:10, 176:15,                                     numerous [2] - 46:8,
                                                                              Northern [2] - 58:4,
 247:14, 252:1            network [4] - 55:7,        181:22, 184:15,                                      292:19
                                                                               62:14
Near [1] - 211:18          55:17, 55:22, 56:18       185:1, 188:14,                                      Nutrition [1] - 199:12
                                                                              note [7] - 13:14, 24:9,
necessarily [2] - 38:1,   neurological [1] - 23:3    188:25, 190:20,                                     nutritional [1] - 12:4
                                                                               24:23, 66:2, 74:15,
 198:3                    neutral [5] - 35:1,        191:24, 191:25,                                     nutshell [1] - 47:1
                                                                               81:2, 144:20



         MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                             (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 333 of 350


                                                                                                                              31
                           204:2, 218:24            Office [9] - 115:19,       118:3, 119:8, 122:2,      78:14, 78:16, 184:1,
          O
                          observe [1] - 18:12        116:3, 131:13,            122:3, 127:11,            297:4
object [10] - 86:24,      observed [13] - 15:13,     132:1, 134:2, 134:7,      127:19, 132:12,          openings [4] - 3:22,
 126:4, 163:7,             28:5, 28:19, 99:13,       134:13, 134:15,           132:19, 141:1,            3:23, 9:11, 37:10
 163:12, 200:25,           104:7, 147:25,            134:17                    141:25, 143:16,          opens [1] - 31:2
 201:1, 265:12,            148:12, 245:4,           office [1] - 44:2          144:2, 144:21,           operating [1] - 211:10
 288:7, 289:3, 291:16      245:6, 245:16,           officer [3] - 49:19,       145:7, 147:4,            opinions [1] - 48:3
objected [1] - 8:23        245:20, 246:14            116:4, 174:23             147:18, 147:20,          opportunity [7] - 7:20,
objecting [2] - 288:10,   obtain [3] - 51:16,       official [5] - 76:5,       149:11, 149:21,           74:17, 167:18,
 292:22                    134:24, 197:16            76:22, 109:17,            149:24, 150:8,            264:10, 267:7,
objection [66] - 63:12,   obtained [1] - 125:15      135:5, 150:23             153:17, 162:17,           267:22, 268:2
 77:3, 86:18, 87:19,      obtaining [1] - 55:8      Official [1] - 1:22        166:19, 173:3,           opposed [6] - 54:5,
 113:14, 114:15,          obvious [12] - 25:18,     officially [1] - 126:19    175:3, 177:9,             54:7, 147:17,
 116:20, 118:15,           27:11, 41:10, 41:16,     offset [1] - 137:2         181:16, 182:7,            191:19, 249:7,
 124:23, 125:14,           42:5, 42:8, 42:12,       Oil [1] - 247:3            186:6, 188:5,             297:18
 125:15, 125:22,           43:8, 43:15, 44:23,      oil [5] - 30:20, 32:19,    190:17, 192:19,          opposing [1] - 48:20
 126:8, 131:20,            45:3, 175:15              42:1, 225:11              192:20, 195:4,           opposite [1] - 39:12
 136:5, 141:5,            obviously [21] - 27:16,   older [4] - 24:2, 91:5,    199:3, 199:11,           optimistic [1] - 163:21
 145:11, 145:24,           47:4, 87:15, 95:11,       119:23, 141:19            203:5, 204:5,            option [3] - 89:14,
 154:15, 154:24,           105:13, 121:25,          Omacor [4] - 61:7,         204:10, 205:18,           160:16, 269:9
 159:16, 163:15,           136:21, 160:24,           183:4, 282:9, 282:11      208:12, 219:15,          options [8] - 33:20,
 163:16, 199:23,           163:7, 163:11,           omega [2] - 88:13,         219:16, 219:21,           42:11, 52:19, 257:3,
 200:21, 200:22,           164:18, 166:9,            282:18                    221:2, 221:4,             257:4, 257:7,
 200:24, 210:3,            170:12, 182:10,          omega-3 [18] - 15:23,      222:25, 223:10,           257:14, 257:25
 210:11, 210:12,           188:12, 204:2,            18:6, 18:15, 18:17,       223:12, 229:14,          oral [3] - 69:14, 126:3,
 254:19, 261:7,            217:2, 222:7, 229:3,      18:23, 22:11, 23:17,      233:17, 240:4,            126:6
 262:3, 262:6, 263:4,      237:21, 241:24            51:11, 61:7, 61:16,       244:23, 248:16,          Orange [7] - 252:2,
 263:19, 263:20,          obviousness [12] -         61:17, 61:21, 61:23,      253:12, 261:5,            252:4, 252:6, 253:4,
 263:24, 264:8,            25:13, 25:14, 27:16,      79:22, 198:17,            261:16, 262:10,           253:10, 253:15,
 265:14, 265:16,           27:20, 27:22, 29:22,      219:24, 282:15,           263:18, 264:2,            255:2
 266:10, 266:12,           30:6, 30:17, 41:3,        282:16                    266:8, 266:18,
                                                                                                        Order [1] - 290:23
 266:14, 266:16,           41:4, 43:12, 48:9                                   268:11, 269:9,
                                                    omega-3s [4] - 51:15,                               order [10] - 5:10, 8:21,
 266:18, 267:21,          occur [3] - 12:14,                                   270:2, 270:19,
                                                     130:8, 172:5, 282:21                                16:3, 51:19, 53:8,
 267:23, 269:14,           77:9, 187:19                                        275:4, 278:4, 282:8,
                                                    omega-6 [3] - 51:15,                                 148:19, 149:1,
 276:20, 277:6,           occurred [8] - 77:8,                                 286:22, 287:14,
                                                     61:23, 219:24                                       186:3, 288:3, 291:9
 277:13, 278:21,           77:10, 104:4, 147:4,                                288:9, 291:3,
                                                    omega-6s [1] - 282:21                               orders [1] - 290:17
 279:3, 279:6, 283:3,      150:22, 151:7,                                      293:13, 293:20,
                                                    onboard [1] - 85:1                                  ordinary [3] - 19:20,
 284:12, 284:21,           161:1, 234:19                                       295:18, 298:7
                                                    once [6] - 59:9, 268:2,                              25:21, 257:8
 287:23, 287:24,          occurrence [6] -                                    one-gram [4] - 68:8,
                                                     284:18, 298:8,                                     organ [2] - 10:19, 72:8
 288:17, 293:3,            43:23, 140:1, 144:2,                                68:9, 89:7, 89:13
                                                     298:21                                             organic [1] - 70:14
 296:4, 296:6,             147:18, 147:20,                                    one-to-one [1] -
                                                    oncology [1] - 62:15                                organization [2] -
 298:16, 298:18            159:25                                              143:16
                                                    one [139] - 4:17, 4:22,                              62:5, 62:8
objectionable [1] -       occurrences [2] -                                   one-to-one-to-one [2]
                                                     5:1, 7:10, 7:12, 8:12,                             orient [3] - 32:7,
 267:25                    126:17, 259:17                                      - 83:6, 119:8
                                                     8:18, 11:19, 14:22,                                 176:10, 240:9
objections [6] -          occurs [2] - 11:23,                                 ones [2] - 221:2, 221:4
                                                     19:15, 20:11, 23:21,                               orientation [1] -
 162:23, 163:6,            146:15                                             ongoing [1] - 62:7
                                                     23:24, 26:16, 27:4,                                 175:21
 163:10, 163:22,          October [1] - 124:21                                online [2] - 252:4,
                                                     30:24, 31:24, 33:2,                                orienting [1] - 177:2
 285:17, 292:14           OF [2] - 1:1, 1:12                                   252:5
                                                     37:8, 38:16, 41:6,                                 origin [1] - 198:18
objective [5] - 56:10,    off-label [1] - 24:24                               OPDP [1] - 116:4
                                                     42:9, 43:14, 44:16,                                original [16] - 35:20,
 133:20, 199:22,          offer [7] - 5:19, 48:2,    44:20, 44:24, 45:13,     open [19] - 58:16,
                                                                                                         50:19, 50:23, 57:24,
 201:5, 201:8              124:24, 163:3,            47:21, 50:8, 50:21,       69:16, 73:4, 83:13,
                                                                                                         58:17, 65:16, 65:18,
objectives [4] - 53:2,     163:14, 294:23,           55:13, 58:23, 59:3,       85:7, 85:9, 85:22,
                                                                                                         82:6, 95:11, 103:6,
 54:1, 81:19, 81:20        294:24                    67:22, 67:23, 68:8,       86:7, 102:7, 104:25,
                                                                                                         122:5, 124:3,
obligation [1] - 153:19   offered [11] - 6:3,        68:9, 70:20, 74:15,       107:18, 124:21,
                                                                                                         128:23, 168:23,
obligations [1] -          252:13, 262:24,           83:6, 85:21, 86:1,        126:17, 132:13,
                                                                                                         188:2, 229:12
 123:19                    268:13, 270:3,            87:4, 89:7, 89:13,        133:13, 133:19,
                                                                                                        originally [1] - 51:14
oblong [1] - 67:23         270:6, 288:22,            90:3, 98:15, 101:25,      151:5, 151:7
                                                                                                        orphan [1] - 56:7
observation [2] -          293:14, 293:22,           102:3, 102:10,           Open [1] - 235:5
                                                                                                        Osterloh [1] - 23:22
 99:13, 104:6              294:6, 294:15             104:1, 105:3,            opened [1] - 222:5
                                                                                                        otherwise [5] - 5:20,
observations [2] -        offering [1] - 264:13      107:15, 112:16,          opening [5] - 4:24,
                                                                                                         40:24, 58:23,



         MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                             (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 334 of 350


                                                                                                                                 32
 238:23, 265:22           P.M [1] - 138:1             245:8, 246:5, 246:8,       61:6                       252:1, 252:7, 252:9,
outcome [17] - 28:14,     package [9] - 13:24,        247:2, 264:20,            part [26] - 8:2, 13:24,     253:23, 254:4,
 29:13, 34:2, 56:15,       195:10, 221:9,             268:21, 268:24,            41:5, 72:23, 82:6,         254:12, 254:25,
 122:8, 123:8,             221:10, 221:23,            269:11, 273:8,             99:23, 102:6, 104:9,       255:5, 256:3, 256:9,
 123:16, 127:8,            222:1, 222:24,             273:10, 273:12,            108:19, 115:12,            262:15, 263:2,
 127:18, 139:18,           223:6, 223:13              273:15, 274:1,             128:23, 134:19,            266:2, 266:5
 158:2, 197:19,           packaging [1] -             275:7, 275:8, 280:4,       136:22, 140:13,           patentable [1] - 46:25
 234:2, 234:14,            196:17                     280:7, 280:18,             148:16, 152:19,           patented [1] - 47:12
 239:8, 259:14,           page [153] - 1:25, 6:17,    281:14, 281:16,            155:21, 164:16,           patents [27] - 27:20,
 259:20                    13:3, 13:20, 15:9,         295:2, 295:4,              173:8, 196:1, 202:6,       30:24, 32:3, 47:12,
outcomes [18] - 64:20,     18:9, 19:13, 21:16,        300:25, 301:25             225:19, 229:12,            173:18, 174:24,
 73:14, 123:13,            64:3, 66:10, 75:1,        PAGE [3] - 300:3,           236:19, 292:8              175:7, 175:10,
 127:1, 128:25,            75:2, 75:3, 75:8,          301:3, 302:3              parte [1] - 45:20           175:15, 175:24,
 129:7, 129:11,            75:9, 75:11, 75:15,       pages [8] - 24:12,         participate [1] - 76:14     221:18, 251:21,
 129:18, 130:9,            75:17, 76:1, 76:2,         90:25, 191:25,            participated [1] -          253:18, 254:1,
 130:11, 158:9,            76:6, 76:7, 76:8,          195:2, 229:21,             272:8                      254:5, 254:13,
 230:25, 232:2,            76:16, 76:18, 77:12,       266:8, 293:11             particles [12] - 13:18,     255:9, 255:10,
 235:25, 243:5,            77:14, 77:17, 81:14,      pain [4] - 80:13, 133:5,    13:19, 17:1, 17:5,         255:12, 255:21,
 243:9, 244:9, 244:24      82:9, 82:12, 82:13,        133:10, 133:11             17:8, 17:12, 18:14,        256:5, 256:7,
outline [1] - 177:21       90:19, 93:8, 93:11,       painting [1] - 240:1        18:19, 18:20, 18:21,       261:22, 263:1,
outside [6] - 19:7,        93:12, 96:15, 96:18,      pancreas [3] - 10:17,       94:5                       276:17, 278:13
 146:15, 198:1,            96:19, 97:5, 98:9,         72:8, 72:9                particular [25] - 16:15,   patents-in-suit [1] -
 277:14, 285:10,           100:9, 100:10,            pancreatitis [9] -          40:25, 44:20, 57:22,       30:24
 285:25                    101:1, 101:3, 103:9,       10:16, 10:17, 10:20,       59:17, 64:18, 65:5,       path [2] - 27:15, 27:19
outstanding [1] -          103:10, 105:20,            13:9, 16:4, 16:6,          80:4, 90:8, 103:18,       pathway [1] - 224:10
 163:6                     105:23, 106:12,            39:6, 72:7, 91:17          157:2, 157:23,            patience [1] - 54:15
oval [2] - 67:22, 90:23    109:12, 109:15,           panel [2] - 19:7            162:14, 163:17,           patient [42] - 15:25,
overall [1] - 235:13       109:16, 110:4,            panels [2] - 93:24,         167:10, 171:13,            26:5, 26:15, 34:19,
overarching [1] -          110:7, 114:22,             226:13                     189:9, 194:11,             38:4, 56:8, 65:20,
 287:3                     114:24, 118:22,           paper [9] - 18:3,           200:8, 203:19,             71:19, 73:7, 80:17,
overlap [1] - 256:11       119:16, 132:7,             26:25, 27:8, 36:6,         246:18, 253:24,            90:7, 90:13, 91:1,
overlappingness [1] -      132:8, 138:13,             140:21, 140:24,            272:20, 282:20,            91:3, 100:4, 107:11,
 255:16                    141:11, 145:6,             202:16, 206:15,            294:6                      117:13, 119:20,
overlays [1] - 233:11      146:5, 146:7, 148:2,       208:14                    particularly [5] -          119:22, 122:14,
overlooked [1] - 45:13     148:4, 151:14,            paragraph [29] -            29:18, 80:14, 109:1,       123:3, 123:4,
overpowered [1] -          152:17, 177:25,            15:10, 22:5, 68:21,        225:23, 234:18             127:10, 129:18,
 122:24                    178:1, 179:21,             96:15, 96:18, 96:20,      parties [12] - 3:25,        129:24, 133:14,
overridden [1] - 15:19     182:23, 183:14,            96:21, 96:24, 96:25,       5:11, 6:12, 6:15,          141:16, 150:2,
overrule [1] - 200:21      184:3, 184:16,             97:5, 97:7, 98:10,         6:22, 7:11, 11:11,         150:5, 154:3,
overruling [1] - 200:23    185:2, 188:15,             99:19, 112:1, 112:2,       30:4, 252:14, 254:9,       182:21, 193:3,
overturn [1] - 135:14      190:21, 191:25,            113:21, 132:8,             289:17, 292:17             194:1, 205:12,
                           197:10, 198:8,             174:19, 183:13,           parties' [5] - 6:15,        226:3, 231:1, 234:6,
overview [1] - 30:18
                           202:20, 203:1,             195:1, 204:23,             6:24, 30:1, 81:3,          236:20, 248:25,
own [27] - 11:16,
                           204:7, 204:20,             225:8, 239:19,             294:11                     250:8, 271:3, 271:4
 12:19, 12:23, 14:17,
                           205:3, 209:9, 211:2,       240:15, 240:20,           parts [1] - 84:9           Patients [1] - 12:3
 20:7, 24:20, 27:12,
                           211:16, 211:25,            273:12, 275:6,            party [3] - 5:20, 75:4,    patients [193] - 9:16,
 27:19, 27:21, 28:12,
                           213:8, 216:19,             275:10                     224:4                      9:18, 10:6, 10:12,
 43:3, 45:22, 53:19,
                           217:6, 217:13,            paragraphs [4] -           pass [2] - 17:1, 17:5       10:23, 11:16, 12:7,
 55:16, 56:4, 80:4,
                           222:10, 223:14,            160:4, 160:5,             passed [1] - 292:23         12:10, 12:16, 13:4,
 160:23, 165:25,
                           224:7, 224:25,             223:16, 239:4             password [2] -              13:13, 14:3, 14:12,
 186:2, 209:17,
                           225:9, 229:6, 230:5,      parallel [1] - 201:11       297:21, 297:24             14:19, 14:23, 15:1,
 213:5, 224:9, 226:8,
                           230:16, 231:23,           parameter [2] - 93:23,     patent [35] - 9:17,         15:19, 15:24, 16:3,
 258:12, 280:15,
                           232:11, 232:20,            99:11                      29:21, 31:3, 31:4,         16:12, 17:15, 18:22,
 280:22, 281:4
                           233:17, 233:22,           parameters [9] - 97:8,      31:15, 31:22, 34:18,       19:2, 19:3, 19:18,
owner [1] - 171:12
                           233:23, 234:25,            97:10, 97:11, 97:19,       34:21, 35:15, 35:24,       19:22, 20:6, 21:2,
owning [1] - 260:11
                           236:4, 236:13,             99:5, 124:8, 202:17,       44:2, 44:18, 45:6,         21:7, 21:8, 22:13,
                           236:25, 237:24,            218:16, 229:20             170:1, 174:2,              22:20, 25:11, 26:1,
           P               239:3, 239:6,                                                                    26:19, 26:21, 26:22,
                                                     Park [1] - 3:8              174:12, 174:15,
                           240:13, 242:2,            PARK [1] - 1:15             174:18, 181:17,            27:1, 27:3, 27:5,
p-values [2] - 100:23,
                           242:24, 243:24,           Parmaceuticals [1] -        221:16, 251:23,            27:7, 28:2, 28:7,
 101:8
                           244:2, 244:20,



         MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                             (775) 329-9980
 Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 335 of 350


                                                                                                                          33
28:9, 32:23, 33:5,     patients' [1] - 142:21    113:23, 115:5,           permissible [2] - 6:13,   phase [11] - 57:14,
38:17, 38:20, 38:23,   pay [1] - 16:3            120:21, 121:2,            115:8                     58:23, 59:3, 59:11,
39:1, 39:4, 39:6,      payroll [1] - 47:22       122:9, 122:22,           permit [3] - 3:23,         59:12, 83:14, 92:3,
39:14, 39:15, 40:5,    PCSK-9 [1] - 158:10       123:6, 123:11,            157:9, 267:7              102:5, 102:8, 105:1,
40:6, 41:16, 42:3,     PDR [1] - 42:4            129:1, 129:25,           permitted [2] - 92:16,     140:11
43:21, 44:7, 44:12,    peaks [1] - 282:19        136:19, 140:6,            170:2                    phases [3] - 58:18,
45:3, 45:24, 46:1,     Peck [1] - 39:25          141:23, 147:9,           perseverance [1] -         58:21, 82:25
47:5, 51:25, 52:2,     peer [4] - 120:14,        147:24, 148:11,           54:15                    phasing [1] - 157:22
52:6, 52:9, 52:17,      181:2, 193:6, 216:4      149:4, 149:7,            persistence [1] -         phenomenon [3] -
52:21, 64:11, 65:2,    peer-reviewed [1] -       149:14, 149:17,           103:16                    39:11, 39:21, 142:22
71:16, 72:4, 73:8,      120:14                   149:18, 182:16,          person [3] - 25:21,       phrase [4] - 154:5,
73:15, 79:15, 81:25,   Peggie [2] - 294:3,       203:13, 203:14,           191:18, 263:17            154:22, 155:5,
82:21, 83:7, 83:12,     294:8                    204:15, 205:7,           personal [2] - 86:19,      195:16
83:25, 84:1, 84:3,     pending [1] - 35:15       206:9, 207:19,            125:15                   phrased [4] - 106:17,
85:18, 85:20, 85:25,   people [19] - 19:19,      207:25, 208:25,          personally [1] -           179:10, 218:6,
89:8, 89:11, 89:14,     19:20, 21:12, 29:15,     215:15, 223:20,           205:22                    237:17
90:10, 90:22, 90:24,    55:24, 71:5, 71:22,      224:4, 224:14,           personnel [1] - 3:16      phraseology [1] -
91:15, 91:16, 91:20,    84:16, 84:19, 99:21,     224:17, 231:1,           persons [1] - 13:10        158:12
91:22, 92:2, 92:7,      125:7, 126:3,            232:9, 233:4,            perspective [11] -        phrasing [6] - 67:12,
92:8, 92:12, 92:14,     215:20, 263:16,          234:12, 239:14,           10:1, 15:25, 35:23,       157:20, 158:15,
92:16, 92:19, 97:2,     278:16, 278:20,          242:12, 242:18,           35:24, 137:10,            196:13, 197:23,
99:17, 99:21, 100:1,    279:2, 279:9, 279:16     244:5, 244:7,             149:10, 175:10,           232:4
100:16, 102:9,         people's [1] - 213:3      244:11, 244:12,           194:25, 254:10,          physical [4] - 12:4,
102:14, 105:2,                                   245:20, 246:12            255:23, 255:24            84:17, 91:12, 92:5
                       per [73] - 9:25, 10:2,
105:5, 105:7,                                   percentage [4] -          perspectives [2] -        physician [2] - 13:1,
                        13:7, 22:19, 27:5,
107:15, 107:22,                                  92:22, 121:24,            121:13, 202:6             80:17
                        41:20, 52:3, 52:8,
107:23, 107:24,                                  146:18, 147:4            pertain [1] - 104:2       physicians [7] - 24:15,
                        64:13, 65:3, 69:1,
108:12, 112:22,                                 percentages [1] -                                    25:5, 25:10, 38:1,
                        69:9, 71:3, 71:6,                                 pertaining [1] - 103:15
117:14, 117:15,                                  224:11                                              96:12, 180:12,
                        71:8, 71:11, 73:11,                               perturbing [1] -
119:6, 119:17,                                  perform [5] - 55:18,                                 180:13
                        73:16, 83:8, 83:13,                                117:23
119:18, 120:5,                                   59:15, 101:25,                                     pick [1] - 17:6
                        85:25, 86:12, 91:10,                              petition [5] - 216:15,
120:22, 123:1,                                   110:20, 111:12                                     pictorially [1] - 118:21
                        91:11, 91:14, 97:20,                               216:20, 217:7,
124:9, 139:4, 139:5,                            performed [7] - 99:24,
                        97:24, 97:25, 98:2,                                217:9, 219:4             pieces [2] - 222:23,
139:18, 139:25,                                  184:5, 184:8, 193:5,
                        98:4, 98:7, 99:4,                                 Ph.D [2] - 56:24, 57:6     231:4
140:6, 141:20,                                   226:2, 226:15,
                        99:12, 102:11,                                    Pharma [2] - 3:4,         Pierre [1] - 78:2
141:24, 142:9,                                   232:22
                        104:3, 104:14,                                     49:16                    pills [1] - 39:7
142:15, 142:17,                                 perhaps [4] - 48:14,
                        105:3, 107:19,                                    pharma [1] - 56:13        pivotal [12] - 59:11,
142:22, 143:1,                                   69:22, 125:20,
                        117:20, 119:10,                                   PHARMA [1] - 1:4           59:16, 65:6, 80:5,
143:8, 146:16,                                   222:22
                        119:11, 120:3,                                    pharmaceutical [6] -       83:9, 86:5, 86:8,
146:19, 149:8,                                  period [42] - 32:1,
                        120:17, 120:20,                                    30:21, 50:5, 57:18,       90:16, 96:6, 96:9,
149:15, 150:4,                                   82:18, 82:24, 83:10,
                        120:23, 121:1,                                     63:19, 94:17, 111:10      96:13, 98:14
151:23, 152:5,                                   83:11, 83:16, 83:18,
                        121:4, 121:6,                                     PHARMACEUTICAL            place [2] - 56:13,
152:8, 152:9,                                    83:20, 83:21, 83:24,
                        124:10, 129:24,                                    S [2] - 1:4, 1:8          72:22
160:13, 180:10,                                  84:19, 84:21, 85:21,
                        139:21, 142:4,                                    Pharmaceuticals [8] -     Placebo [1] - 247:3
180:20, 180:23,                                  88:10, 91:22, 92:17,
                        142:6, 142:7,                                      24:20, 57:7, 57:11,      placebo [33] - 73:3,
181:15, 182:2,                                   104:16, 119:5,
                        142:10, 142:15,                                    58:4, 59:25, 60:4,        83:7, 86:8, 92:24,
184:6, 186:18,                                   119:6, 119:13,
                        143:2, 143:17,                                     60:6, 62:16               97:24, 98:3, 98:6,
194:10, 205:1,                                   119:15, 138:20,
                        151:22, 151:24,                                   pharmacokinetic [3] -      99:5, 99:14, 102:5,
209:11, 209:25,                                  138:25, 139:2,
                        186:19, 196:19,                                    187:9, 280:11,            107:17, 119:9,
212:5, 225:12,                                   142:17, 143:7,
                        196:20, 217:19,                                    280:22                    121:1, 121:3, 121:7,
225:23, 228:4,                                   150:18, 150:25,
                        218:4, 237:2, 237:4,                              pharmacokinetics [2]       139:5, 139:10,
232:23, 232:25,                                  151:2, 166:16,
                        237:15, 248:22                                     - 18:11, 58:25            143:18, 146:22,
238:2, 239:15,                                   167:10, 167:22,
                       perceive [1] - 23:25                               pharmacology [5] -         147:3, 150:7, 159:4,
241:2, 248:21,                                   168:16, 170:10,
                       percent [67] - 15:24,                               56:25, 57:1, 57:2,        182:3, 201:10,
249:1, 250:13,                                   170:25, 175:11,
                        18:8, 18:14, 26:17,                                57:13, 281:7              201:17, 209:3,
270:22, 270:25,                                  188:9, 258:4,
                        26:21, 32:14, 38:19,                              pharmacotherapy [1]        217:17, 245:10,
271:8, 271:10,                                   275:24, 283:17
                        38:23, 39:3, 40:6,                                 - 72:2                    245:19, 246:20,
271:14, 271:18,                                 periodically [1] - 83:1
                        45:4, 45:12, 45:14,                               pharmacy [1] - 29:6        251:5, 274:8
271:19, 272:7,                                  periods [4] - 54:14,
                        53:9, 92:14, 97:23,                                                         placebo-controlled
272:8, 274:20,                                                            PharmaStem [1] -
                        98:3, 98:6, 99:16,       84:12, 168:5, 168:9                                 [7] - 73:3, 86:8,
274:21, 281:25                                                             46:22



       MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                           (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 336 of 350


                                                                                                                                  34
 102:5, 107:17,              160:22                    policy [1] - 211:12        279:20, 279:21,            108:18, 109:5,
 201:10, 201:17,            plasma [3] - 237:3,        poorly [1] - 14:19         281:10                     109:20
 217:17                      237:9, 272:6              population [49] - 26:5,   possibly [1] - 180:13      precursor [1] - 17:3
placed [1] - 72:2           plastic [1] - 297:24        26:15, 65:20, 73:7,      post [1] - 156:6           predate [1] - 187:18
places [2] - 63:23,         plausible [1] - 40:14       89:10, 91:1, 91:3,       postdoc [1] - 57:10        predecessor [1] - 23:2
 118:21                     play [2] - 20:13, 145:4     107:11, 117:13,          postdoctoral [1] -         prediscussed [1] -
plain [1] - 200:6           played [2] - 20:14,         119:20, 119:22,           57:8                       101:23
plaintiff [4] - 153:5,       116:25                     122:14, 123:4,           posthoc [1] - 234:21       predisposition [1] -
 269:14, 289:2, 291:1       player [1] - 56:17          127:11, 129:19,          postmarketing [3] -         39:14
Plaintiff [1] - 49:3        playing [1] - 260:7         129:25, 141:16,           153:9, 158:14,            predominant [2] -
PLAINTIFF'S [1] -           plays [2] - 102:24          150:2, 150:5,             249:12                     61:21, 282:16
 301:4                      pleased [1] - 160:25        153:12, 153:23,          posttext [1] - 100:6       preface [1] - 198:21
plaintiff's [3] - 162:18,   PLESSIS [1] - 2:5           153:24, 153:25,          potential [10] - 15:19,    prefer [6] - 5:7, 48:21,
 268:1, 291:17              plot [7] - 104:1, 104:8,    154:2, 154:4, 154:5,      28:8, 96:12, 108:6,        89:8, 89:11, 191:18,
Plaintiff's [17] - 12:22,    120:20, 147:16,            154:22, 156:22,           110:10, 112:7,             297:17
 62:23, 63:5, 63:7,          147:17, 147:19,            158:12, 182:21,           174:22, 183:15,           preferably [1] - 90:3
 63:11, 63:14, 66:1,         148:7                      193:3, 194:1,             211:6, 239:22             preference [1] - 40:19
 66:3, 67:4, 74:13,         plus [16] - 54:20,          205:12, 231:1,           potentially [5] - 10:18,   prejudice [5] - 290:8,
 76:17, 77:1, 77:5,          54:23, 86:1, 107:17,       231:16, 233:5,            84:25, 85:1, 132:18,       290:11, 291:13,
 95:17, 100:8, 103:3,        107:22, 119:9,             234:7, 236:16,            133:13                     292:2, 293:19
 113:16                      140:12, 146:22,            236:17, 236:21,          power [3] - 14:20,         preliminary [4] - 4:23,
plaintiffs [21] - 1:6,       146:24, 170:20,            237:3, 237:5,             122:23, 123:4              59:7, 110:11, 110:13
 3:6, 8:16, 9:15,            173:23, 215:11,            237:14, 248:25,          powering [1] - 123:2       Preliminary [1] -
 48:17, 63:10, 76:25,        232:8, 244:4, 249:3        249:22, 250:8,           PowerPoint [1] -            110:22
 113:12, 114:13,            point [53] - 11:11,         271:3, 271:4              241:13                    premeeting [1] -
 116:18, 118:13,             12:25, 20:7, 24:25,       populations [1] - 56:9    practice [3] - 22:21,       221:10
 131:18, 136:3,              30:13, 34:18, 37:17,      portfolio [3] - 54:7,      45:21, 161:11             preparation [1] -
 141:3, 145:9,               40:13, 40:25, 46:11,       60:23, 61:1              praise [1] - 21:11          245:11
 145:22, 159:14,             47:16, 50:24, 60:4,       portion [14] - 5:22,      pre [22] - 73:20, 74:11,   prepare [6] - 33:13,
 285:20, 294:24,             69:23, 79:19, 84:22,       8:7, 66:13, 86:4,         75:5, 75:13, 75:24,        35:16, 264:25,
 297:4                       88:19, 94:15, 103:2,       86:5, 86:6, 86:7,         75:25, 76:5, 76:22,        290:21, 293:17,
PLAINTIFFS [1] - 1:14        112:16, 122:9,             101:6, 107:17,            77:8, 78:10, 78:13,        293:22
Plaintiffs' [35] - 66:16,    124:16, 130:15,            113:20, 122:4,            78:16, 89:21, 102:1,      prepared [3] - 16:17,
 111:18, 113:13,             131:5, 132:2,              178:9, 181:11,            108:20, 109:7,             81:12, 81:13
 113:18, 114:1,              151:19, 156:15,            229:15                    109:17, 147:9,            prepares [1] - 35:13
 114:10, 114:14,             167:14, 177:7,            portions [2] - 5:1,        148:10, 148:17,           preparing [4] -
 114:17, 114:19,             187:3, 192:25,             266:6                     187:19, 222:1              109:21, 197:15,
 116:2, 116:12,              212:7, 213:20,            pose [1] - 125:7          pre-declare [1] -           289:19, 289:21
 116:14, 116:19,             216:10, 220:15,           posed [1] - 109:21         148:17                    prescribe [4] - 40:10,
 116:22, 118:14,             226:7, 236:18,            position [5] - 49:17,     pre-IND [17] - 74:11,       40:12, 40:17, 40:20
 118:17, 131:22,             236:23, 239:5,             60:7, 60:11, 155:8,       75:5, 75:13, 75:24,       prescribing [26] -
 133:22, 135:7,              254:8, 259:3,              234:8                     75:25, 76:5, 76:22,        63:8, 63:23, 63:25,
 136:4, 136:7,               266:20, 278:15,           Positioned [1] -           77:8, 78:10, 78:13,        66:8, 66:13, 66:18,
 138:11, 141:4,              279:17, 279:24,            211:18                    78:16, 89:21,              66:20, 67:14, 95:14,
 141:7, 144:17,              281:4, 285:5, 287:2,      positions [5] - 60:12,     108:20, 109:7,             95:16, 95:24, 96:1,
 144:20, 145:13,             290:13, 291:3,             129:5, 129:12,            109:17, 187:19,            96:12, 98:18,
 146:1, 159:6, 159:7,        292:21, 294:24             135:9, 135:12             222:1                      109:10, 111:16,
 159:9, 159:15,             pointed [4] - 30:19,       positive [13] - 132:23,   pre-specified [4] -         115:12, 138:11,
 159:18, 296:10              127:15, 185:24,            199:5, 224:24,            73:20, 102:1, 147:9,       152:13, 152:16,
PLAINTIFFS' [2] -            263:13                     232:1, 234:2,             148:10                     152:21, 152:24,
 300:3, 300:7               pointing [4] - 130:14,      234:13, 234:21,          precedence [1] -            187:25, 197:5,
plaintiffs' [2] - 30:1,      132:16, 193:14,            234:22, 240:1,            10:21                      207:7, 207:11
 295:8                       275:15                     240:21, 243:4,           precedent [4] -            Prescription [2] -
plan [8] - 48:13, 293:4,    points [10] - 23:5,         243:15                    185:24, 186:9,             115:19, 116:3
 293:5, 293:8, 293:9,        24:8, 37:6, 104:2,        positively [1] - 224:21    236:14                    prescription [6] -
 293:24, 299:7               132:5, 216:5, 216:9,      possession [2] -          precise [5] - 191:13,       18:15, 18:17, 18:23,
planet [1] - 33:3            238:15, 239:20,            193:12, 288:12            228:11, 247:22,            115:14, 183:1,
planned [1] - 188:7          249:10                    possibility [1] - 279:8    258:10, 273:2              225:12
planning [1] - 140:11       policies [1] - 30:5        possible [6] - 8:1,       precisely [1] - 179:21     prescriptions [4] -
plans [2] - 85:11,          Policy [1] - 134:9          278:19, 279:1,           preclinical [4] - 58:20,    29:6, 29:7, 47:5,



          MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                              (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 337 of 350


                                                                                                                           35
 47:8                      183:22, 194:18,           process [21] - 5:8,     professionals [1] -      pronounce [1] - 9:21
presence [1] - 56:14       214:16, 221:7, 232:5       6:12, 58:6, 58:7,       98:13                   pronunciation [1] -
present [11] - 3:6,       price [6] - 16:3, 16:5,     116:25, 121:12,        profile [13] - 52:23,     165:12
 3:10, 3:13, 3:15,         257:10, 258:20,            121:15, 128:13,         73:21, 79:15, 80:4,     proof [2] - 59:4
 3:17, 3:18, 3:19,         259:15                     130:20, 130:25,         80:9, 90:8, 95:7,       proper [4] - 13:23,
 128:18, 154:6,           primarily [1] - 11:12       134:8, 135:15,          102:2, 120:12,           25:2, 25:8, 165:10
 210:16, 230:10           primary [45] - 38:15,       135:17, 140:12,         121:25, 122:2,          property [7] - 174:3,
presentation [5] -         52:21, 73:20, 81:19,       156:1, 156:17,          150:1, 275:14            175:17, 227:10,
 211:5, 211:8,             81:21, 83:10, 92:21,       160:22, 168:4,         profiles [1] - 219:11     253:14, 254:10,
 241:13, 241:18,           92:22, 93:12, 95:5,        188:8, 228:21, 256:3   program [39] - 29:19,     255:15, 256:1
 246:23                    97:12, 98:25, 102:1,      processes [1] -          36:7, 36:8, 49:25,      proportion [1] - 89:8
presentations [2] -        117:17, 118:3,             128:14                  55:23, 60:20, 72:20,    proposal [1] - 187:22
 27:14, 165:17             118:8, 119:13,            produced [6] - 18:17,    72:21, 72:24, 73:23,    proposed [30] - 11:19,
presented [5] - 89:6,      120:11, 120:15,            189:14, 289:6,          73:24, 74:1, 78:11,      11:20, 11:24, 25:10,
 98:20, 141:11,            121:22, 122:15,            289:24, 290:17,         78:19, 78:20, 78:25,     28:24, 74:1, 74:2,
 241:14, 241:16            124:16, 130:1,             291:22                  85:11, 85:15, 87:6,      91:25, 106:6, 117:2,
presenting [6] - 5:8,      139:13, 140:17,           product [60] - 15:23,    90:17, 91:25, 95:1,      117:6, 121:14,
 90:13, 90:14,             143:21, 143:23,            18:6, 18:12, 22:23,     111:9, 121:14,           124:4, 124:12,
 133:10, 148:13            143:25, 144:15,            25:4, 27:25, 29:5,      136:22, 140:13,          152:20, 152:21,
presents [1] - 56:4        145:17, 146:6,             31:11, 32:11, 32:18,    165:25, 177:22,          152:23, 153:16,
preserve [1] - 29:18       146:13, 147:10,            33:23, 33:25, 34:25,    177:23, 183:23,          153:20, 156:5,
preserving [1] -           148:10, 149:5,             41:19, 42:7, 50:8,      186:2, 186:11,           175:19, 177:22,
 292:13                    180:20, 182:16,            50:9, 51:14, 53:2,      186:23, 187:2,           247:23, 248:3,
president [6] - 49:18,     232:9, 232:23,             53:14, 55:9, 56:10,     193:11, 193:12,          248:6, 248:24,
 59:25, 60:8, 77:25,       234:2, 234:14,             60:25, 61:8, 61:10,     197:17, 226:11,          249:12, 249:19,
 174:23                    234:20, 239:13,            61:12, 63:19, 79:23,    285:5                    267:8, 269:14
prespecified [7] -         246:13, 271:6              80:20, 87:8, 102:3,    Program [1] - 71:15      proposing [1] - 110:9
 120:10, 121:22,          principal [1] - 35:22       112:18, 129:19,        programs [6] - 54:22,    proposition [1] -
 127:8, 129:3, 144:8,     principally [3] - 11:10,    129:23, 167:10,         57:14, 94:18,            220:1
 146:13, 149:1             59:21, 246:20              171:18, 171:24,         123:10, 159:4,          proprietary [3] - 5:2,
press [14] - 20:23,       principle [3] - 59:5,       172:7, 172:15,          165:20                   5:13, 23:19
 21:15, 159:20,            119:24, 211:10             172:16, 172:21,        progress [15] - 55:15,   pros [2] - 134:1,
 159:22, 159:25,          print [5] - 113:8,          172:24, 173:6,          55:24, 57:13, 57:20,     134:17
 160:5, 160:6,             115:18, 116:6,             178:18, 179:22,         57:23, 57:25, 58:5,     Prospective [1] -
 160:20, 160:21,           116:8, 253:12              180:9, 183:8,           58:11, 58:20, 58:21,     235:5
 160:23, 169:2,           priori [1] - 197:7          183:21, 196:23,         59:11, 59:20, 61:10,    protect [2] - 55:10,
 169:9, 169:22, 175:6     priority [4] - 10:23,       196:24, 202:1,          78:17, 253:14            174:21
prestigious [2] - 33:2,    10:25, 150:24, 161:2       211:22, 219:5,         progressed [1] - 111:9   protecting [1] -
 182:8                    private [2] - 7:15, 7:18    219:19, 224:4,         progressing [2] -         132:15
presumably [2] -          PROBE [2] - 235:2,          224:14, 225:11,         78:14, 285:5            protection [1] - 29:17
 214:4, 215:2              235:5                      234:24, 282:21         project [7] - 57:22,     protective [1] - 198:17
pretrial [8] - 11:5,      problem [2] - 53:11,       Products [1] - 74:6      75:12, 75:20, 76:4,     protocol [9] - 101:22,
 24:9, 24:12, 28:23,       286:7                     products [26] - 20:9,    76:9, 78:1, 109:16       121:9, 121:11,
 209:5, 209:9, 291:9,     problems [2] - 16:7,        30:21, 50:7, 52:24,    projects [2] - 54:9,      126:20, 136:18,
 292:11                    16:9                       59:21, 60:21, 62:6,     58:6                     148:16, 150:13,
Pretrial [1] - 290:23     Procedure [1] -             79:16, 79:17, 79:19,   promise [2] - 175:12,     228:15, 238:14
pretty [5] - 162:3,        164:13                     79:24, 79:25, 80:1,     198:22                  proud [1] - 166:9
 163:19, 163:21,          proceed [11] - 4:21,        80:15, 112:20,         promising [3] - 33:7,    prove [6] - 27:22,
 226:23, 265:22            9:3, 9:10, 70:6,           127:4, 128:7,           34:25, 161:16            28:17, 29:22, 37:20,
prevail [1] - 25:19        89:15, 126:8,              129:14, 157:15,        promote [3] - 40:24,      37:24, 39:12
prevent [1] - 266:7        163:24, 176:8,             157:17, 157:18,         112:21, 134:25          proven [3] - 113:22,
                           186:6, 270:12, 299:7       157:20, 158:8,         promoting [1] - 113:1
preventing [1] - 10:22                                                                                 115:4, 193:24
                          proceeded [1] -             173:16, 185:5,         promotion [1] -
prevention [2] - 33:8,                                                                                provide [10] - 21:6,
                           150:13                     194:24                  115:14
 232:23                                                                                                26:10, 96:11, 107:4,
                          proceeding [7] -           professional [1] -      Promotion [2] -
previous [2] - 22:10,                                                                                  156:25, 232:13,
                           45:20, 135:1, 135:2,       191:12                  115:20, 116:4
 60:12                                                                                                 252:17, 252:19,
                           135:4, 135:13,            professional's [2] -    promotional [4] -
previously [13] - 6:3,                                                                                 295:1, 297:14
                           135:19, 264:13             99:2, 99:10             115:9, 115:16,
 85:8, 98:24, 99:15,                                                                                  provided [8] - 23:6,
                          proceedings [2] -          professionally [1] -     115:23, 117:2
 101:14, 109:12,                                                                                       26:8, 154:10,
                           125:11, 299:18             55:18                  prone [1] - 26:23
 128:22, 149:4,                                                                                        231:21, 232:17,



         MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                             (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 338 of 350


                                                                                                                               36
 252:20, 252:25,           153:9, 160:4, 273:9,    purview [1] - 157:16       15:15, 15:16, 17:24,       238:19, 275:15
 282:5                     273:12, 279:22,         push [1] - 265:10          21:18, 160:22,            ratio [5] - 147:7,
provides [3] - 29:17,      281:10                  pushing [1] - 236:3        172:3, 180:12,             147:8, 147:24,
 87:11, 107:7             pulled [4] - 116:10,     put [18] - 5:25, 7:25,     188:10, 228:17,            148:8, 233:3
providing [1] - 178:8      215:22, 224:15,          15:25, 16:21, 30:10,      228:19, 288:12            Rationale [1] - 225:1
provisions [1] - 174:4     258:18                   35:18, 55:6, 72:21,      quotation [1] - 21:17      rationale [8] - 140:3,
public [13] - 5:4,        pulling [1] - 215:23      74:23, 91:20,            quote [2] - 25:2, 28:24     140:4, 165:6,
 12:25, 14:17, 30:4,      purchase [2] - 257:7,     149:10, 162:8,           quoted [1] - 28:13          177:21, 187:2,
 38:22, 74:17,             257:14                   168:13, 202:16,          quotes [1] - 38:13          187:22, 193:9, 225:5
 124:21, 126:18,          pure [14] - 32:15,        240:6, 246:20,                                      raw [1] - 194:23
 132:15, 151:5,            43:10, 43:18, 45:4,      264:16, 271:8                       R               reach [1] - 44:4
 151:7, 160:24,            45:15, 185:5, 191:4,    puts [1] - 230:4                                     reached [3] - 33:7,
 205:18                    194:20, 206:22,         putting [4] - 164:17,     R&D [9] - 60:6, 60:9,       74:4, 295:1
publically [5] - 103:1,    207:19, 207:25,          180:7, 181:12,            62:15, 74:4, 181:20,      react [1] - 295:21
 144:22, 204:3,            224:4, 224:14, 233:8     238:18                    191:12, 191:18,           reacting [1] - 181:5
 258:10, 258:14           purifications [1] -      PX [11] - 11:18, 15:5,     255:14, 259:6             reaction [2] - 80:16,
publication [24] -         51:18                    18:4, 19:9, 20:22,       raise [7] - 7:18, 15:24,    160:20
 18:5, 33:4, 118:3,       purified [48] - 19:24,    21:14, 22:1, 240:6,       19:3, 56:18, 117:3,       reactions [2] - 153:20,
 118:7, 120:14,            22:19, 25:17, 26:1,      240:12, 250:23,           164:2, 187:3               249:21
 144:15, 145:17,           26:9, 32:10, 32:16,      295:11                   raised [3] - 115:22,       read [14] - 38:3, 40:14,
 146:6, 146:7,             33:19, 34:7, 34:19,     PX291 [1] - 295:15         209:24, 238:16             45:5, 65:19, 66:23,
 181:25, 199:18,           37:2, 41:16, 43:9,                                Raises [1] - 213:10         102:1, 129:2,
 201:8, 206:19,            44:11, 51:10, 51:12,              Q               raises [1] - 42:5           180:16, 198:23,
 208:1, 214:15,            51:17, 55:8, 62:1,                                raising [6] - 14:24,        209:5, 261:1, 261:5,
 219:15, 237:10,           129:19, 171:6,          qualification [1] -        20:6, 20:18, 113:24,       261:7, 285:6
 242:9, 270:22,            171:7, 171:10,           143:14                    115:5, 251:5              reading [3] - 206:17,
 270:23, 272:15,           171:14, 171:18,         qualified [1] - 179:17    randomization [6] -         210:9, 262:2
 272:19, 273:1,            172:7, 172:11,          qualifying [6] - 82:24,    138:18, 138:22,           ready [4] - 62:8, 70:6,
 286:24                    172:15, 172:19,          113:24, 119:5,            138:23, 139:1,             70:7, 138:4
publications [3] -         172:20, 178:18,          138:25, 141:24,           143:3, 144:1              real [5] - 21:20, 22:12,
 33:3, 71:1, 213:18        184:9, 185:13,           142:23                   Randomized [1] -            28:1, 290:7, 292:1
Publications [1] -         185:14, 192:24,         quality [3] - 55:19,       235:5                     realities [1] - 30:14
 198:10                    194:21, 205:19,          60:16, 218:7             randomized [12] -          reality [4] - 36:6, 36:8,
publicly [2] - 103:1,      219:19, 223:20,         quarter [1] - 136:16       73:3, 83:5, 90:24,         36:10, 152:7
 258:18                    224:18, 225:17,         quest [1] - 28:5           91:22, 102:5,             realize [1] - 264:4
publish [1] - 35:14        281:25, 283:1,          questioning [2] -          107:16, 119:8,            realized [1] - 290:20
Published [1] - 222:11     283:20, 284:19,          265:24, 284:2             119:18, 142:24,           really [11] - 5:15,
published [14] - 5:3,      285:3, 285:9            questions [33] - 13:22,    143:16, 146:16,            19:20, 20:2, 27:1,
 33:2, 129:16,            purities [1] - 224:8      86:22, 87:24,             182:3                      61:5, 136:20, 156:9,
 140:21, 195:24,          purity [2] - 207:21,      106:17, 109:22,          range [24] - 14:5,          175:21, 212:8,
 204:4, 214:14,            224:11                   109:24, 125:10,           51:15, 59:1, 71:6,         270:8, 286:1
 222:25, 223:10,          purport [1] - 263:21      138:9, 151:3,             71:7, 73:11, 73:16,       reason [15] - 88:12,
 237:8, 237:10,           purportedly [1] -         155:14, 161:24,           90:4, 90:16, 107:20,       90:6, 197:6, 197:7,
 272:12, 272:23,           30:25                    176:10, 194:2,            117:19, 122:23,            207:24, 208:2,
 272:25                   purpose [21] - 42:18,     260:14, 261:19,           124:10, 139:19,            258:16, 284:13,
publishes [1] - 252:2      79:7, 79:11, 82:18,      261:21, 267:9,            142:4, 142:6, 143:3,       289:13, 290:14,
pull [37] - 11:18,         82:22, 83:23, 84:8,      270:16, 275:4,            149:12, 152:5,             290:16, 290:19,
 12:22, 13:4, 15:5,        84:21, 84:24, 85:8,      277:22, 283:4,            157:25, 172:4,             292:25, 293:13,
 16:18, 18:4, 19:9,        85:22, 86:3, 91:23,      283:7, 283:10,            213:6, 228:4, 281:7        294:5
 21:14, 22:4, 64:2,        92:3, 96:17, 96:21,      283:17, 283:21,          ranges [1] - 142:19        reasonable [10] -
 77:19, 90:20, 93:7,       105:25, 185:15,          283:24, 284:3,           rapid [2] - 18:18,          25:23, 26:10, 41:12,
 95:18, 103:8,             228:1, 245:18            284:9, 284:11,            286:25                     41:14, 43:6, 44:14,
 105:19, 106:11,          purposes [6] - 11:15,     284:13, 285:21,          rapidly [1] - 18:20         46:15, 46:16,
 109:11, 110:3,            65:8, 70:20, 74:18,      287:6                    rare [4] - 11:9, 43:22,     174:16, 224:13
 111:21, 113:3,            87:16, 269:7            quicker [1] - 162:19       43:24                     reasonably [1] - 31:19
 114:3, 114:24,           pursuant [3] - 8:21,     quickly [2] - 161:8,      rarer [1] - 56:7           reasoning [1] - 18:2
 118:24, 120:16,           169:7, 291:22            162:3                    rat [1] - 112:1            reasons [8] - 46:5,
 138:10, 138:14,          pursue [2] - 150:10,     quintessential [1] -      rather [9] - 9:3, 16:14,    102:20, 126:21,
 141:13, 146:8,            150:11                   279:9                     20:16, 30:5, 134:16,       130:18, 132:13,
 147:11, 151:14,          pursuing [1] - 212:12    quite [12] - 5:12,         220:9, 232:13,             219:16, 230:5,



         MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                             (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 339 of 350


                                                                                                                            37
 230:13                     85:23, 265:4              184:9, 194:8,           66:25, 121:18,            182:16, 204:25,
Rebecca [1] - 241:16       recognizes [1] - 160:7     205:20, 205:24,         123:17, 123:18,           206:3, 232:9,
rebuttal [2] - 6:16, 7:8   recollection [3] -         207:19, 207:25,         127:15, 137:3,            234:12, 235:16,
recap [1] - 205:17          177:19, 191:15,           228:5, 229:16,          137:4, 137:5, 137:7,      239:14, 244:5,
receipt [1] - 75:23         267:4                     230:11, 238:10,         139:15, 139:16,           244:7, 245:12,
receipts [1] - 257:11      recombinant [1] -          248:14                  139:17, 140:3,            245:15, 245:20,
receive [5] - 24:4,         57:14                    REDUCE [101] - 20:24,    140:10, 140:15,           246:13, 246:14
 143:16, 169:10,           recommend [1] -            22:3, 22:9, 23:13,      140:16, 140:17,          reductions [8] - 52:20,
 182:3, 252:24              40:23                     29:6, 36:11, 36:12,     140:20, 140:25,           79:14, 80:7, 84:23,
received [29] - 21:10,     recommendation [2] -       36:13, 36:15, 37:2,     141:10, 141:17,           112:14, 117:22,
 31:24, 47:23, 63:14,       106:5, 107:9              45:10, 46:4, 46:5,      141:24, 142:9,            127:6, 207:18
 77:5, 78:12, 113:16,      recommended [2] -          46:6, 46:20, 47:2,      143:6, 143:7,            Refer [1] - 8:10
 114:17, 116:22,            88:24, 90:13              47:8, 47:11, 47:13,     143:25, 144:7,           refer [14] - 4:1, 4:2,
 118:17, 128:3,            reconsideration [4] -      47:15, 53:25, 64:19,    144:13, 145:3,            9:19, 58:7, 64:22,
 131:22, 134:12,            128:11, 128:19,           64:22, 65:21, 66:21,    145:4, 145:18,            65:7, 65:9, 73:1,
 136:7, 136:16,             130:25, 131:15            66:25, 121:18,          146:3, 146:13,            79:2, 125:25, 131:2,
 139:5, 139:10,            record [27] - 4:3, 4:4,    123:17, 123:18,         146:22, 148:6,            163:13, 250:8,
 141:7, 145:13,             4:7, 7:18, 7:22, 7:25,    127:15, 137:3,          149:22, 150:11,           274:19
 146:1, 159:18,             8:4, 39:24, 49:6,         137:4, 137:5, 137:7,    151:10, 151:18,          reference [58] - 4:6,
 161:7, 161:8,              66:3, 74:15, 74:18,       139:15, 139:16,         151:19, 161:6,            5:17, 33:6, 34:6,
 166:20, 170:23,            81:3, 109:14,             139:17, 140:3,          166:7, 173:12,            34:15, 35:6, 35:7,
 188:3, 257:1, 268:8,       144:20, 165:3,            140:10, 140:15,         173:17, 173:21,           35:10, 36:4, 42:17,
 296:13                     166:5, 216:14,            140:16, 140:17,         174:2, 241:18,            44:17, 44:20, 64:21,
receiving [4] - 12:5,       222:15, 249:17,           140:20, 140:25,         242:25, 244:21,           93:18, 94:3, 94:10,
 100:17, 133:22,            251:17, 268:23,           141:10, 141:17,         245:6, 245:13,            105:11, 110:23,
 134:14                     269:7, 269:20,            141:24, 142:9,          245:17, 245:19,           111:2, 113:19,
recent [2] - 253:12,        269:23, 294:8,            143:6, 143:7,           246:17, 247:8,            114:20, 115:8,
 290:3                      299:18                    143:25, 144:7,          247:10, 247:17,           115:24, 122:11,
recently [14] - 8:24,      recording [1] - 20:14      144:13, 145:3,          248:6, 248:10,            123:7, 125:19,
 24:18, 52:4, 197:5,       recross [2] - 287:10,      145:4, 145:18,          254:2, 254:14,            153:2, 153:12,
 252:18, 253:5,             287:13                    146:3, 146:13,          255:13, 255:22,           153:15, 153:24,
 255:9, 255:10,            recruited [6] - 50:18,     146:22, 148:6,          256:5, 271:4, 271:7,      162:13, 173:6,
 288:8, 288:11,             57:11, 58:3, 59:24,       149:22, 150:11,         271:10, 271:17,           196:16, 199:16,
 288:25, 289:6, 289:7       60:5, 62:13               151:10, 151:18,         271:20, 286:17,           199:20, 200:13,
recess [10] - 69:24,       red [3] - 16:24, 104:2,    151:19, 161:6,          286:23, 286:24,           201:5, 202:21,
 70:1, 70:4, 137:15,        146:23                    166:7, 173:12,          287:1                     204:3, 206:5,
 220:17, 287:20,           redact [2] - 74:17,        173:17, 173:21,        reduced [10] - 14:22,      209:17, 214:12,
 298:4, 298:5,              144:21                    174:2, 241:18,          72:5, 99:4, 149:17,       215:4, 215:18,
 299:14, 299:15            redactions [1] - 5:3       242:25, 244:21,         180:25, 204:15,           215:22, 215:24,
recision [1] - 130:11                                 245:6, 245:13,          205:6, 206:18,            217:11, 218:1,
                           reddening [1] - 80:17
recission [2] - 231:5,                                245:17, 245:19,         208:25, 242:18            219:12, 219:25,
                           REDDY'S [1] - 2:10
 235:23                                               246:17, 247:8,         reduces [4] - 20:19,       220:1, 242:21,
                           Reddy's [4] - 3:5,
recitation [1] - 284:4                                247:10, 247:17,         32:17, 43:18              260:25, 273:4,
                            3:13, 11:20, 289:15
                                                      248:6, 248:10,         reducing [5] - 21:7,       274:15, 288:16
recognition [1] -          Redirect [1] - 300:5
                                                      254:2, 254:14,          47:14, 47:15,            referenced [18] -
 21:11                     REDIRECT [1] -
                                                      255:13, 255:22,         112:22, 240:25            74:16, 77:8, 111:11,
recognize [27] - 24:6,      270:14
                                                      256:5, 271:4, 271:7,   reduction [50] - 10:21,    117:9, 233:16,
 63:5, 75:9, 75:16,        redirect [2] - 287:8,
                                                      271:10, 271:17,         16:12, 16:14, 45:12,      247:11, 260:17,
 81:7, 131:8, 144:24,       287:12
                                                      271:20, 286:17,         45:15, 53:22, 54:19,      261:2, 261:4,
 152:12, 159:7,            reduce [41] - 12:18,
                                                      286:23, 286:24,         56:16, 85:3, 88:12,       262:13, 262:17,
 164:20, 176:17,            19:21, 20:1, 20:5,
                                                      287:1                   92:23, 94:20, 94:22,      262:23, 268:17,
 189:11, 199:20,            20:11, 20:18, 21:2,
                                                     REDUCE-It [1] - 46:6     97:23, 98:3, 98:6,        268:18, 272:4,
 216:15, 220:24,            26:18, 26:20, 28:6,
                                                     REDUCE-IT [100] -        98:25, 99:12,             280:17, 282:9, 295:4
 241:13, 243:21,            32:12, 38:17, 43:10,
 245:23, 246:23,                                      20:24, 22:3, 22:9,      120:22, 120:25,          references [14] - 35:5,
                            47:6, 51:25, 52:6,
 252:6, 252:9,                                        23:13, 29:6, 36:11,     121:2, 121:8,             43:18, 44:17, 45:2,
                            53:8, 53:19, 64:9,
 253:10, 254:25,                                      36:12, 36:13, 36:15,    122:25, 123:2,            45:14, 176:16,
                            65:1, 80:6, 84:25,
 255:4, 256:18,                                       37:2, 45:10, 46:4,      127:14, 130:1,            188:17, 188:19,
                            123:11, 124:7,
 264:19, 265:6                                        46:5, 46:20, 47:2,      147:9, 147:25,            204:8, 213:16,
                            127:12, 179:23,
                                                      47:8, 47:11, 47:13,     148:12, 149:5,            216:1, 266:6, 283:9,
recognized [5] -            179:24, 180:9,
                                                      47:15, 53:25, 64:19,    149:7, 149:14,            283:21
 21:13, 26:23, 28:16,       181:3, 181:15,
                                                      64:22, 65:21, 66:21,    159:13, 161:18,



          MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                              (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 340 of 350


                                                                                                                              38
referencing [2] -          refocus [1] - 27:12        106:10, 173:12,            45:10, 222:20,            215:3, 247:7, 249:21
 260:24, 268:20            refresh [1] - 191:15       227:13, 246:3,             222:22, 227:7,           reported...defects [1]
referred [19] - 4:15,      refusing [1] - 134:4       253:19, 256:3,             227:10                    - 13:10
 33:6, 71:12, 74:7,        regard [9] - 32:7,         262:25, 284:11            remain [2] - 92:16,       reporter [1] - 262:22
 83:19, 94:13,              33:13, 37:12, 41:4,      relates [2] - 138:20,       120:1                    Reporter [1] - 1:22
 127:17, 127:18,            167:2, 176:10,            255:8                     remainder [1] - 141:24    reporting [4] - 15:7,
 127:22, 133:2,             208:10, 228:25,          relating [4] - 73:22,      remained [1] - 62:5        215:3, 223:1, 274:5
 133:6, 152:16,             239:25                    125:12, 155:17,           remaining [9] - 7:12,     reports [4] - 82:2,
 180:18, 200:13,           regarding [8] - 8:22,      163:17                     8:12, 8:18, 9:1,          103:21, 156:15,
 251:23, 252:2,             115:23, 117:3,           Relations [1] - 256:18      149:18, 163:9,            181:2
 261:22, 272:23,            117:4, 130:2, 166:1,     relationship [1] -          163:10, 268:5,           represent [9] - 164:9,
 280:3                      197:16, 288:3             186:17                     288:11                    176:3, 176:9,
referring [36] - 58:8,     regardless [3] - 29:4,    relative [19] - 92:24,     remarkable [1] - 43:16     189:21, 209:8,
 71:13, 71:14, 72:8,        47:3, 173:18              97:23, 98:3, 98:6,        remember [23] - 9:19,      253:11, 258:6,
 72:18, 79:17,             regimen [2] - 82:23,       99:5, 99:14, 121:1,        88:25, 165:7,             268:3, 275:13
 105:22, 110:25,            196:19                    121:2, 121:6,              165:13, 165:15,          representation [5] -
 111:1, 123:16,            regions [2] - 85:16,       129:25, 147:9,             165:18, 165:21,           211:14, 215:17,
 127:21, 131:3,             106:25                    147:24, 148:11,            166:1, 176:20,            224:12, 265:23,
 133:3, 161:19,            registration [4] -         202:17, 232:9,             176:25, 177:1,            267:1
 187:12, 191:7,             193:23, 201:13,           234:23, 244:5,             184:2, 204:8, 208:4,     representations [4] -
 192:15, 195:17,            201:15, 218:7             245:20, 246:12             210:21, 220:11,           211:7, 216:22,
 196:1, 197:25,            regrouped [1] -           relatively [5] - 18:6,      240:9, 240:15,            217:3, 222:8
 214:19, 226:18,            133:24                    186:10, 193:6,             250:24, 251:5,           representative [3] -
 226:22, 226:24,           regularly [1] - 276:17     203:2, 244:7               270:7, 273:2, 295:14      3:18, 164:11, 219:23
 229:10, 233:18,           regulate [2] - 88:11,     relaxed [1] - 88:5         removal [2] - 17:13,      represented [2] -
 240:23, 268:24,            115:14                   relay [2] - 125:4, 126:2    18:19                     141:23, 257:8
 269:8, 269:12,            regulates [1] - 216:25    relayed [1] - 126:6        remove [1] - 51:19        representing [2] -
 269:23, 275:7,            regulations [1] - 173:7   release [17] - 20:23,      removed [1] - 17:9         200:19, 224:17
 275:9, 275:10,            regulatory [56] -          21:15, 22:2, 61:4,        render [1] - 27:11        represents [2] -
 275:16, 280:18             31:23, 31:24, 39:25,      159:10, 159:21,           renders [1] - 25:18        234:12, 292:4
refers [8] - 67:7,          49:24, 50:11, 50:13,      159:22, 160:1,            renew [1] - 210:2         request [14] - 74:9,
 83:16, 86:11, 97:7,        50:16, 50:20, 50:22,      160:5, 160:6,             Reno [3] - 1:7, 1:23,      74:10, 75:24, 76:11,
 152:1, 153:23,             57:15, 57:16, 57:17,      160:20, 160:22,            2:13                      76:21, 109:21,
 274:2, 274:15              57:21, 58:5, 59:10,       160:23, 169:2,            RENO [2] - 3:1, 138:1      128:10, 128:19,
reflect [3] - 77:15,        60:1, 60:13, 62:7,        169:9, 169:22, 175:6      repeat [3] - 168:8,        144:21, 221:7,
 105:11, 278:20             74:4, 78:4, 85:14,       relegated [2] - 232:12,     265:3, 266:13             227:21, 228:24,
reflected [44] - 63:21,     87:5, 116:4, 121:11,      238:17                    repeating [1] - 229:14     233:13, 299:11
 63:22, 66:12, 67:19,       121:15, 131:5,           relevance [1] - 37:12      repeats [1] - 203:10      requested [2] - 14:12,
 67:20, 68:3, 68:10,        156:14, 157:14,          relevant [6] - 36:13,      repetitive [1] - 286:12    117:6
 68:18, 69:2, 69:14,        166:16, 166:20,           48:5, 66:25, 74:4,        rephrase [6] - 154:16,    requesting [5] - 75:5,
 77:11, 80:6, 90:23,        167:3, 167:9, 168:5,      88:8, 251:21               166:18, 192:15,           76:21, 77:2, 217:9
 93:4, 95:9, 95:10,         168:9, 170:24,           reliably [1] - 55:9         276:25, 280:20,          requests [1] - 76:23
 95:12, 100:4, 100:5,       172:9, 173:20,           reliance [4] - 24:24,       284:24                   require [9] - 12:17,
 100:23, 102:21,            173:25, 174:4,            165:24, 172:23,                                      28:14, 40:24, 47:4,
                                                                                report [21] - 15:14,
 105:23, 106:7,             174:8, 174:24,            230:20                                               74:19, 133:11,
                                                                                 21:15, 80:24, 81:10,
 109:6, 110:6,              185:24, 186:9,           Reliant [15] - 60:4,                                  286:4, 293:2, 293:23
                                                                                 81:12, 81:13, 81:15,
 111:15, 111:16,            188:8, 191:12,            60:6, 60:7, 60:11,                                  required [23] - 34:2,
                                                                                 81:17, 81:18, 82:4,
 111:19, 111:25,            191:18, 201:18,           60:19, 60:22, 60:23,                                 54:11, 55:14, 55:19,
                                                                                 93:5, 95:10, 100:5,
 120:13, 135:3,             228:11, 230:19,           62:2, 62:3, 62:10,                                   81:25, 104:18,
                                                                                 103:19, 144:15,
 135:4, 135:19,             240:2, 246:18,            62:11, 62:12,                                        108:22, 109:3,
                                                                                 145:2, 145:5, 145:7,
 135:20, 145:6,             253:13, 255:21,           282:22, 282:25,                                      120:5, 123:13,
                                                                                 215:2, 218:4, 263:16
 148:25, 153:20,            255:23, 255:24            283:16                                               128:10, 152:20,
                                                                                Reported [1] - 1:22
 166:25, 169:12,           REIG [1] - 2:5            relied [3] - 34:14,                                   153:17, 185:7,
                                                                                reported [19] - 15:11,
 187:24, 209:23,           Reig [1] - 3:11            34:20, 45:11                                         185:18, 186:15,
                                                                                 26:17, 27:5, 33:10,
 271:21, 277:5, 279:8      REIG-PLESSIS [1] -        relies [1] - 41:8                                     193:22, 195:9,
                                                                                 112:19, 127:16,
reflecting [2] - 153:21,    2:5                      rely [9] - 26:13, 27:10,                              197:17, 197:19,
                                                                                 129:22, 135:17,
 207:17                    rejected [2] - 24:19,      27:21, 32:3, 35:6,                                   223:7, 281:3, 288:4
                                                                                 142:24, 158:8,
reflective [1] - 161:3      228:8                     173:8, 187:13,                                      requirement [12] -
                                                                                 182:20, 200:5,
reflects [3] - 66:20,      rejoin [1] - 62:14         187:14, 230:22                                       85:24, 92:4, 102:8,
                                                                                 202:11, 204:14,
 97:23, 279:2              related [9] - 70:10,      relying [6] - 34:4,         206:18, 209:18,           104:21, 105:6,



          MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                              (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 341 of 350


                                                                                                                               39
 109:5, 109:6,             278:18, 280:25           146:3, 146:7, 147:2,       167:7, 292:22             127:6, 149:23
 109:19, 122:11,          respective [3] - 6:24,    147:6, 147:23,           reviews [3] - 77:13,       robustly [2] - 95:4,
 122:12, 123:7,            68:23, 195:5             148:14, 149:22,            102:22, 135:4             129:2
 133:19                   respond [4] - 26:22,      158:9, 161:6,            revised [3] - 66:19,       robustness [1] -
requirements [13] -        128:4, 133:23,           161:13, 230:22,            153:21, 271:22            148:25
 85:15, 104:18,            277:12                   231:14, 236:5,           revision [1] - 76:21       rodent [2] - 110:15,
 104:24, 104:25,          responded [1] - 126:1     236:9, 236:14,           revisions [1] - 117:6       110:21
 105:12, 106:7,           responding [1] -          237:7, 239:21,           reward [6] - 29:14,        role [14] - 51:3, 57:23,
 121:16, 186:3,            236:23                   240:21, 244:11,            31:4, 31:20, 166:15,      58:10, 60:9, 60:14,
 217:10, 218:23,          response [14] - 26:6,     285:6, 286:16,             167:15, 173:20            102:24, 116:24,
 230:19, 250:17,           37:6, 109:25,            286:25, 287:1, 287:3     Rhythmol [1] - 61:2         132:15, 145:4,
 256:2                     110:11, 110:13,         resume [1] - 138:4        rich [1] - 31:4             155:20, 190:12,
requires [2] - 29:19,      116:5, 155:1,           RESUMED [1] - 138:6       right-hand [3] - 18:10,     255:14, 260:7,
 133:9                     186:16, 228:18,         retained [2] - 20:8,        101:6, 274:13             264:24
requiring [7] - 11:12,     229:23, 229:24,          28:12                    rights [1] - 174:2         room [3] - 21:24,
 38:8, 38:9, 64:11,        230:7, 275:4, 283:21    retired [1] - 24:2        rigid [1] - 107:12          28:20, 72:12
 144:6, 200:20, 250:8     Response [1] - 110:22    return [1] - 166:21       rigor [1] - 201:16         Rosebrow [3] - 132:2,
requisite [3] - 14:11,    responsibilities [7] -   revascularization [2] -   rise [14] - 15:15,          132:10, 133:4
 25:6, 108:12              49:20, 50:12, 60:15,     64:10, 144:5               15:20, 16:10, 18:8,      Rosebrow's [4] -
rescind [2] - 130:19,      87:4, 124:16,           revenue [1] - 136:25        18:22, 26:11, 26:19,      135:20, 135:23,
 236:1                     181:20, 259:7           review [45] - 12:19,        46:24, 121:24,            135:25, 136:10
rescinded [2] -           responsibility [3] -      12:23, 13:1, 50:19,        122:24, 123:6,           roughly [2] - 38:16,
 136:21, 228:14            60:18, 60:25, 221:20     74:5, 87:11, 87:14,        226:4, 226:16,            122:22
rescinding [3] -          responsible [7] -         89:24, 95:13, 98:13,       226:25                   round [1] - 158:18
 126:20, 135:14,           57:18, 60:21,            102:23, 102:25,          rises [4] - 112:15,        Rounds [3] - 3:14,
 136:17                    125:11, 130:5,           103:5, 103:13,             209:13, 225:22,           289:15, 292:4
rescission [2] - 229:2,    157:25, 254:7,           103:14, 103:20,            282:2                    ROUNDS [9] - 2:12,
 272:1                     263:17                   105:13, 105:14,          risk [65] - 10:9, 10:11,    289:14, 289:25,
research [5] - 49:18,     rest [1] - 36:3           105:17, 105:18,            10:14, 10:15, 10:20,      290:2, 290:5,
 51:4, 60:19, 77:24,      result [8] - 19:25,       106:3, 106:4,              11:1, 13:9, 14:25,        290:22, 291:3,
 77:25                     20:16, 45:16, 72:9,      115:16, 115:20,            15:3, 16:2, 20:19,        291:7, 291:18
reserve [1] - 163:11       131:16, 195:6,           116:4, 116:25,             20:20, 22:13, 22:19,     route [2] - 69:13,
reserved [1] - 160:2       234:20, 250:7            117:2, 122:1, 122:6,       28:7, 28:11, 28:16,       69:14
residual [4] - 53:15,     resulted [4] - 166:12,    122:7, 127:16,             28:18, 39:5, 52:6,       routinely [1] - 45:21
 53:20, 140:7, 140:8       232:8, 244:5, 247:17     131:17, 150:24,            52:9, 53:8, 53:15,       row [10] - 108:3,
resolution [5] -          results [86] - 11:2,      151:1, 151:3,              53:20, 53:22, 54:19,      108:5, 108:6, 148:9,
 128:13, 130:25,           18:15, 18:18, 18:19,     151:10, 155:23,            56:16, 64:9, 64:15,       148:10, 148:13,
 227:20, 228:24,           21:12, 21:16, 22:7,      158:11, 158:20,            73:17, 91:17, 91:20,      148:21, 149:3,
 233:13                    22:9, 25:24, 31:21,      161:2, 188:3, 267:23       94:21, 94:24,             274:2, 274:5
resolve [8] - 5:7, 9:2,    35:9, 35:14, 36:15,     Review [8] - 12:23,         123:11, 127:12,          RPR [2] - 1:22, 299:21
 9:4, 9:7, 269:22,         36:16, 36:18, 36:25,     13:21, 14:17, 128:6,       127:14, 129:25,          RRR [1] - 246:12
 287:22, 287:24,           45:7, 45:9, 46:6,        131:14, 157:16,            139:23, 140:7,           rule [7] - 121:23,
 294:19                    46:7, 46:20, 64:17,      157:24, 198:9              140:8, 142:1, 147:9,      122:23, 123:5,
resolved [2] - 12:8,       66:22, 66:25, 82:2,     reviewed [10] - 30:1,       147:25, 148:11,           261:7, 264:7, 298:8,
 169:19                    95:2, 95:9, 95:12,       120:14, 157:18,            149:4, 149:14,            298:10
resource [1] - 214:5       95:15, 96:8, 97:18,      158:6, 181:2, 193:6,       149:17, 159:12,          Rule [1] - 164:12
resources [3] - 22:24,     99:20, 99:25,            201:22, 216:4,             160:14, 160:17,          rules [1] - 122:20
 140:9, 167:23             101:11, 101:12,          223:24, 276:5              161:17, 232:9,           ruling [5] - 37:5,
respect [26] - 65:16,      102:17, 111:15,         reviewer [14] - 102:24,     233:3, 233:5,             37:19, 267:21,
 67:10, 78:11, 87:2,       111:19, 112:4,           103:15, 103:17,            235:16, 244:6,            288:15, 294:2
 89:4, 117:10,             118:8, 120:9,            103:20, 103:23,            245:12, 245:15,          run [3] - 239:4, 241:5,
 121:17, 122:11,           120:13, 120:15,          104:13, 106:2,             245:20, 246:12,           264:14
 122:12, 127:19,           123:15, 129:2,           106:18, 107:6,             246:14, 248:14,          running [1] - 168:7
 128:15, 132:4,            129:21, 130:6,           107:10, 108:1,             248:22, 249:3            runs [1] - 169:23
 134:4, 135:9,             130:16, 132:23,          108:7, 108:11,           Risk [1] - 242:3           rush [1] - 130:18
 135:12, 138:16,           134:25, 135:16,          108:13                   risks [1] - 21:2
 149:5, 150:16,            138:13, 139:8,          reviewers [3] - 96:11,    risky [1] - 168:4
                           139:9, 142:25,           105:14, 145:7
                                                                                                                   S
 156:25, 157:3,                                                              robust [7] - 52:20,
 158:11, 267:2,            144:12, 144:14,         reviewing [5] - 5:11,       79:13, 84:23,            sa [1] - 165:10
 271:20, 272:17,           144:15, 145:17,          157:17, 157:25,            117:22, 123:2,           safe [8] - 53:23, 73:20,



         MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                             (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 342 of 350


                                                                                                                                40
 95:7, 102:2, 105:8,      scope [5] - 13:2,           225:1, 225:9, 229:7,       209:21, 210:1,            281:20, 281:21,
 106:6, 122:1, 259:19      87:25, 283:4,              243:21, 243:25,            211:18, 212:13,           281:22
safer [1] - 107:24         284:14, 286:8              244:2, 245:18,             212:20, 213:7,           sentences [7] - 96:24,
safety [34] - 59:8,       screen [8] - 74:23,         249:12, 249:19,            213:8, 213:11,            96:25, 98:19,
 59:17, 79:15, 80:4,       110:20, 115:3,             250:10                     213:16, 214:17,           196:14, 234:19,
 82:3, 83:10, 86:3,        116:11, 164:17,           Section [5] - 138:12,       214:20, 214:24,           258:2, 281:15
 86:9, 90:8, 90:17,        169:2, 258:17,             153:1, 153:9,              216:17, 217:14,          separate [7] - 8:10,
 96:7, 96:10, 104:18,      275:20                     153:11, 190:24             217:22, 217:23,           102:17, 106:9,
 104:23, 105:12,          screening [5] - 83:16,     sections [7] - 66:24,       218:18, 221:11,           124:6, 186:2, 228:2,
 106:7, 106:10,            83:18, 83:20,              95:14, 153:17,             222:11, 223:16,           228:3
 106:12, 106:15,           142:17, 143:7              199:2, 202:16,             223:21, 225:3,           separated [1] - 106:9
 107:3, 120:12,           seal [6] - 5:16, 5:21,      203:20, 249:7              225:14, 225:15,          separately [2] - 47:12,
 120:15, 121:25,           5:25, 6:4, 8:2, 77:2      sedentary [1] - 84:17       225:20, 228:21,           105:4
 122:4, 128:22,           sealed [10] - 5:9, 5:17,   Sedlack [3] - 190:17,       233:6, 233:17,           sequential [1] - 149:1
 135:16, 150:1,            5:19, 6:4, 6:8, 8:7,       191:11, 191:21             235:9, 239:7,            series [13] - 51:17,
 181:24, 184:19,           8:10, 30:2                Sedlack's [1] - 190:7       241:22, 242:4,            74:25, 78:15, 93:13,
 185:7, 185:19,           sealing [2] - 6:10,        see [145] - 14:1, 17:12,    243:12, 243:13,           94:17, 107:1,
 186:2, 230:24             74:19                      19:14, 35:18, 38:24,       246:8, 249:24,            109:22, 109:23,
Saito [1] - 242:21        seated [3] - 49:5, 70:5,    42:14, 42:18, 43:3,        249:25, 256:21,           123:10, 126:25,
sake [1] - 58:14           220:18                     43:10, 97:8, 97:9,         258:1, 262:2,             149:12, 149:23,
sales [1] - 241:21        second [29] - 12:1,         110:23, 111:3,             262:13, 267:23,           188:1
sample [1] - 274:23        19:13, 21:16, 53:3,        122:25, 147:2,             267:24, 273:20,          serious [3] - 10:20,
samples [4] - 82:25,       64:24, 65:4, 65:18,        152:1, 152:2,              273:21, 274:2,            16:2, 16:9
 272:11, 274:20,           68:20, 69:15, 73:6,        153:11, 153:12,            274:15, 274:16,          seriously [1] - 10:15
 274:24                    73:7, 90:23, 99:6,         154:16, 160:10,            281:22, 293:6,           seriousness [1] - 16:5
San [1] - 2:6              99:9, 103:24,              160:18, 164:22,            293:19, 293:25           Serono [4] - 57:11,
Sando [1] - 46:14          113:21, 117:9,             168:20, 170:5,            seeing [2] - 176:6,        58:2, 58:3, 58:9
Sandos [1] - 57:7          148:13, 148:21,            170:6, 175:1, 175:2,       224:6                    serum [6] - 198:18,
satisfied [2] - 105:1,     153:14, 160:4,             176:14, 178:5,            seek [2] - 25:5, 121:14    201:7, 203:4,
 105:6                     166:19, 178:1,             178:15, 178:16,           seeking [8] - 29:2,        203:12, 208:17,
Saturday [4] - 8:19,       206:6, 211:2, 243:2,       182:5, 182:18,             29:3, 123:21, 124:5,      232:25
 288:1, 288:24, 289:2      273:9, 273:13, 292:5       183:18, 184:24,            124:6, 229:15,           serve [2] - 17:2, 84:8
save [1] - 28:8           secondary [19] -            184:25, 185:10,            244:17, 261:17           served [8] - 8:19, 10:7,
saw [5] - 5:10, 28:13,     10:25, 45:6, 81:20,        185:11, 186:20,           seem [1] - 244:11          14:19, 96:6, 164:21,
 37:10, 44:1, 262:8        81:22, 93:2, 93:14,        186:21, 187:5,            send [1] - 35:21           164:24, 288:2,
scale [2] - 204:12,        93:17, 94:2, 95:5,         187:11, 190:8,            senior [7] - 49:18,        288:19
 234:10                    97:13, 99:1, 117:24,       190:9, 190:22,             59:23, 60:8, 134:10,     set [7] - 9:4, 99:24,
scenario [1] - 108:6       120:11, 140:18,            191:9, 192:4,              134:18, 135:5,            100:6, 129:9, 162:1,
schedule [4] - 91:4,       144:7, 144:8,              192:10, 192:11,            190:10                    204:24, 292:25
 119:24, 299:6,            144:10, 146:6,             195:14, 195:15,           sense [5] - 5:6, 36:5,    sets [2] - 55:18,
 299:12                    148:13                     196:9, 196:21,             130:7, 287:22,            102:18
scheduled [1] -           secretion [1] - 18:18       196:22, 197:12,            294:23                   setting [1] - 228:23
 143:19                   section [58] - 11:21,       197:13, 197:22,           sent [5] - 126:19,        settled [1] - 48:19
schizophrenia [4] -        63:24, 64:1, 64:3,         197:23, 198:10,            131:4, 154:12,           setup [1] - 299:9
 23:4, 33:18, 183:17,      66:11, 66:14, 66:23,       198:11, 198:20,            156:14, 235:22           seven [8] - 31:24,
 184:13                    67:15, 67:17, 67:18,       198:21, 198:23,           sentence [35] - 66:14,     45:14, 170:4,
                           68:6, 68:12, 68:13,        199:1, 199:2,              93:13, 93:14, 98:21,      170:21, 170:23,
science [4] - 53:7,
                           68:16, 68:19, 69:4,        199:14, 199:15,            98:22, 99:6, 99:9,        172:9, 174:1, 175:4
 54:6, 54:10, 57:2
                           69:7, 83:16, 92:18,        200:24, 201:8,             103:24, 104:10,
Science [1] - 56:23                                                                                       seven-and-a-half [6] -
                           93:8, 94:8, 95:15,         201:21, 202:14,            107:20, 153:14,
sciences [1] - 56:24                                                                                       170:4, 170:21,
                           95:19, 96:4, 96:5,         202:21, 202:24,            182:13, 184:10,
scientific [15] - 33:3,                                                                                    170:23, 172:9,
                           96:19, 96:20, 103:9,       202:25, 203:9,             186:14, 191:3,
 35:23, 46:22, 49:19,                                                                                      174:1, 175:4
                           103:13, 103:14,            203:16, 203:25,            196:2, 196:15,
 49:23, 54:8, 54:25,                                                                                      seven-and-one-half
                           106:12, 106:15,            204:1, 204:18,             204:23, 205:2,
 71:1, 126:25, 129:6,                                                                                      [1] - 31:24
                           110:22, 111:2,             204:19, 204:20,            209:15, 209:21,
 182:8, 204:6, 231:5,                                                                                     seventeen [1] - 274:22
                           111:20, 111:22,            204:22, 205:2,             217:14, 217:23,
 236:1, 284:7                                                                                             several [4] - 89:12,
                           111:24, 112:2,             206:6, 206:11,             218:12, 224:2,
Scientific [1] - 198:9                                                                                     198:16, 239:4,
                           112:3, 112:18,             208:19, 208:20,            225:20, 226:6,
scientist [1] - 191:12                                                                                     294:10
                           185:11, 198:9,             208:22, 209:14,            226:20, 235:9,
scientists [2] - 23:7,                                                                                    Severe [1] - 225:2
                           198:11, 222:11,            209:15, 209:20,            241:4, 280:19,
 59:23                                                                                                    severe [50] - 4:14,



         MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                             (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 343 of 350


                                                                                                                                41
 9:18, 10:23, 20:4,      27:19, 37:25, 43:18,      Similar [1] - 237:18       sizes [2] - 274:23,          123:23, 123:25,
 21:6, 21:9, 23:11,      73:20, 82:13, 104:1,      similar [15] - 12:13,       274:24                      124:5, 124:6,
 25:16, 25:22, 26:1,     146:21, 146:25             33:25, 60:14, 60:15,      skill [4] - 19:20, 25:21,    128:25, 150:14,
 26:9, 27:8, 28:3,      shown [14] - 16:24,         119:4, 121:18,             55:18                       151:6, 152:19,
 28:9, 37:25, 38:7,      20:17, 21:6, 23:25,        134:12, 157:20,           skilled [4] - 42:12,         229:7, 230:14,
 38:17, 38:21, 38:25,    53:8, 80:6, 112:18,        160:3, 237:3,              42:13, 42:16, 44:14         230:23, 248:8
 39:10, 39:15, 41:17,    118:22, 123:9,             237:19, 237:20,           slide [54] - 16:18,         so-called [3] - 19:6,
 43:25, 52:1, 52:17,     139:8, 148:3,              245:13, 245:16             114:24, 143:24,             194:24, 272:10
 54:18, 61:8, 65:2,      149:13, 263:7,            similarities [1] - 245:7    149:24, 162:12,            societies [1] - 161:15
 71:16, 71:22, 73:1,     275:22                    similarly [2] - 22:1,       162:13, 176:14,            society [1] - 287:1
 106:20, 112:22,        shows [7] - 28:20,          101:5                      176:15, 177:1,             Society [5] - 22:16,
 166:22, 184:22,         82:12, 83:4, 100:20,      simple [7] - 13:22,         181:11, 181:22,             22:17, 161:21,
 185:8, 185:20,          100:23, 274:11,            16:19, 32:6, 41:7,         184:15, 185:1,              161:22, 238:4
 185:25, 186:11,         274:13                     43:11, 251:8, 267:24       188:14, 188:25,            soft [4] - 61:15, 67:16,
 194:15, 207:13,        shrink [1] - 17:8          simpler [1] - 133:4         189:4, 190:20,              67:23, 89:7
 223:24, 225:12,        SHT [12] - 9:20, 10:12,    simplicity [1] - 58:14      190:21, 191:24,            soft-gelatin [2] -
 250:13, 250:20,         11:2, 11:12, 14:21,       simplify [2] - 72:18,       197:9, 198:7,               67:23, 89:7
 271:14, 271:18,         15:1, 15:24, 16:12,        85:17                      198:22, 210:20,            solely [2] - 34:20,
 271:21, 280:23,         26:19, 26:22              simply [2] - 16:14,         211:16, 211:25,             230:23
 282:1                  shuttling [1] - 93:25       29:11                      212:1, 212:3, 213:8,       solid [2] - 104:12,
severely [9] - 14:23,   sic [1] - 232:19           Simultaneous [1] -          213:19, 213:20,             146:24
 19:2, 65:19, 71:10,    sick [2] - 10:6, 10:8       228:12                     213:22, 214:1,             solution [2] - 267:8,
 71:24, 73:6, 79:14,    side [19] - 6:1, 16:8,     single [16] - 14:22,        214:2, 214:12,              269:15
 83:25, 117:14           16:14, 32:22, 36:13,       22:23, 34:19, 44:21,       215:8, 215:21,             someone [4] - 98:16,
shaded [2] - 120:19,     42:7, 42:9, 42:10,         51:17, 55:8, 59:14,        220:23, 232:5,              133:14, 186:4,
 142:20                  43:7, 43:11, 52:23,        62:1, 94:16, 156:15,       232:19, 239:5,              252:17
shadowed [1] -           80:2, 80:3, 80:13,         182:25, 185:24,            241:9, 241:25,             sometime [2] - 5:6,
 142:20                  112:19, 197:2,             220:9, 239:8,              242:3, 242:8,               228:19
share [3] - 121:12,      219:17, 290:6,             264:20, 266:8              242:25, 243:20,            sometimes [9] - 4:15,
 156:10, 258:21          290:18                    SIPES [19] - 1:14,          246:5, 246:22,              10:4, 15:15, 44:17,
shared [2] - 115:19,    sidebar [2] - 7:22, 8:6     4:13, 4:19, 4:22,          247:3, 251:16,              59:14, 156:11,
 221:7                  sign [4] - 215:9,           5:24, 6:6, 6:11, 7:6,      256:14, 256:23,             157:11, 174:14,
shares [6] - 257:7,      215:10, 215:11             7:10, 7:23, 8:5, 8:9,      258:5                       174:15
 257:8, 257:9,          signatories [1] - 145:7     8:11, 9:12, 9:14,         slides [10] - 30:9,         somewhat [1] -
 257:15, 257:17,        signed [2] - 131:25,        9:23, 298:6, 298:20,       30:16, 32:6, 162:7,         161:12
 258:9                   216:19                     299:3                      162:8, 177:16,             somewhere [2] -
sharing [3] - 75:13,    significance [3] -         Sipes [5] - 3:7, 4:23,      206:4, 216:3, 297:2,        259:10, 292:21
 109:17, 221:9           21:13, 148:23, 149:3       9:15, 29:24, 294:25        297:4                      Sonnenschein [1] -
Sheinberg [1] - 40:22   significant [29] - 28:1,   sites [2] - 55:23,         slight [1] - 229:21          3:9
SHGT [1] - 4:15          33:1, 34:12, 43:2,         139:25                    slightly [1] - 26:16        SONNENSCHEIN [1] -
Shilling [1] - 78:1      72:13, 80:16, 87:21,      sitting [2] - 207:7,       slow [3] - 235:8,            1:16
short [6] - 14:11,       120:21, 121:3,             207:11                     295:7, 295:18              soon [2] - 21:11,
 14:15, 39:4, 40:7,      121:7, 130:13,            situation [6] - 74:8,      slowly [1] - 261:8           298:10
 108:10, 192:4           136:12, 136:15,            92:1, 108:11,             small [16] - 21:25,         sorry [31] - 30:11,
shortly [1] - 286:23     149:20, 150:8,             136:21, 158:15,            28:20, 33:4, 39:1,          76:17, 92:25, 96:18,
show [20] - 18:19,       158:14, 161:10,            161:12                     54:4, 54:6, 56:17,          135:3, 135:21,
 23:13, 25:20, 26:4,     180:19, 182:15,           situations [3] - 29:18,     62:15, 160:24,              140:22, 153:2,
 26:19, 26:21, 29:20,    187:18, 215:1,             160:3, 168:18              202:15, 220:9,              168:8, 176:21,
 31:17, 32:2, 36:13,     226:4, 226:16,            six [16] - 35:4, 41:23,     244:7, 274:25,              189:6, 196:1,
 38:10, 41:15, 53:20,    226:25, 232:8,             43:17, 88:10, 110:2,       276:14, 276:15,             206:19, 228:13,
 68:18, 94:18, 101:8,    233:9, 235:15,             110:4, 110:7,              278:16                      233:15, 235:8,
 102:2, 181:3, 206:2,    239:12, 273:19             111:12, 119:5,            smaller [2] - 89:8,          246:8, 257:4,
 265:25                 significantly [14] -        138:24, 139:1,             89:11                       260:22, 262:10,
showed [13] - 18:7,      34:10, 42:22,              212:6, 212:7, 214:1,      smoking [1] - 39:17          265:13, 270:2,
 22:3, 45:11, 45:14,     202:12, 203:12,            214:2, 217:19             smudged [1] - 35:19          279:25, 285:12,
 53:1, 53:25, 112:14,    206:9, 208:3,             six-week [3] - 88:10,      snapshot [2] - 175:19,       285:14, 287:10,
 180:25, 181:3,          208:13, 208:17,            119:5, 138:24              206:6                       289:1, 293:7, 295:8,
 205:5, 208:24,          217:20, 218:5,            size [2] - 249:23,         snapshots [2] - 162:8,       295:19, 296:17
 233:8, 267:4            219:13, 233:2,             278:15                     164:17                     sort [2] - 217:10,
showing [9] - 23:11,     238:10, 260:5             sized [1] - 56:8           SNDA [14] - 123:21,          294:19



         MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                             (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 344 of 350


                                                                                                                               42
sorted [1] - 255:3         200:24, 214:18,           105:15, 157:19,            179:15, 180:3,            146:22, 146:24,
sought [4] - 13:25,        226:20, 250:10,           168:19                     183:5, 183:6, 184:1,      147:25, 149:12,
 33:24, 248:13,            251:12, 251:15,          spot [1] - 115:18           185:11, 185:16,           149:15, 149:18,
 248:20                    252:8                    spring [1] - 73:25          186:21, 197:6,            152:2, 152:4, 152:6,
sound [3] - 250:25,       specifically [21] -       SR [1] - 61:2               197:7, 199:15,            161:10, 161:17,
 253:19, 258:21            50:19, 56:21, 61:14,     stability [1] - 55:11       203:10, 208:12,           182:4, 204:16,
sounded [1] - 125:4        111:24, 138:12,          stabilization [4] -         210:9, 210:17,            204:17, 209:3,
sounds [6] - 124:25,       139:13, 144:3,            83:21, 83:24, 91:21,       211:3, 212:22,            228:4, 232:2, 232:7,
 174:16, 217:24,           146:9, 147:21,            138:20                     213:13, 213:23,           232:8, 235:16,
 227:10, 258:23,           154:9, 179:2, 179:8,     stabilized [1] - 143:9      214:4, 225:15,            239:10, 245:10,
 299:3                     180:20, 186:15,          stable [6] - 82:23,         226:14, 233:25,           271:8, 271:11
source [3] - 87:10,        200:11, 205:23,           91:12, 119:9,              234:17, 237:17,          statins [13] - 16:9,
 224:16, 242:9             237:14, 263:14,           119:10, 119:11,            239:17, 239:24,           28:7, 45:22, 82:19,
sourced [3] - 51:14,       276:1, 283:13,            120:1                      240:23, 240:24,           94:19, 99:21, 123:9,
 103:19                    289:20                   staff [3] - 255:24,         244:3, 273:15,            152:5, 152:8, 152:9,
sources [4] - 193:14,     specified [5] - 73:20,     277:15, 297:12             280:7, 280:21,            205:1, 241:2, 244:4
 205:18, 207:22,           102:1, 147:9,            stage [1] - 276:13          281:23                   statistical [7] -
 258:19                    148:10, 172:8            stake [3] - 27:23,         statements [20] - 4:24,    100:22, 101:6,
SPA [18] - 121:9,         specifies [1] - 100:15     259:21, 259:24             27:12, 98:9, 117:4,       101:9, 148:15,
 121:11, 121:17,          speculate [2] -           stance [1] - 136:11         117:7, 157:20,            148:20, 148:23,
 121:18, 121:20,           154:25, 155:11           stand [3] - 48:1,           161:1, 192:11,            149:2
 121:21, 122:3,           speculation [8] - 22:8,    223:9, 267:11              203:19, 210:14,          statistically [8] -
 122:13, 123:19,           154:15, 277:6,           standard [6] - 25:2,        212:25, 219:15,           34:12, 43:2, 120:21,
 130:10, 130:19,           278:21, 279:3,            41:6, 41:9, 46:15,         232:14, 238:19,           121:3, 121:7,
 136:21, 229:2,            279:9, 285:18,            85:13, 259:8               239:25, 240:20,           182:15, 215:1,
 230:24, 231:5,            285:22                   standards [5] - 41:4,       250:15, 278:5,            235:15
 235:23, 236:1, 272:2     speed [2] - 162:8,         46:14, 55:19,              279:15                   statistician [1] - 44:3
space [6] - 56:3, 56:5,    295:22                    193:21, 241:6             STATES [1] - 1:1          statistics [1] - 49:24
 56:12, 79:21,            spell [1] - 49:6          standpoint [1] -           States [13] - 30:11,      statutory [1] - 169:25
 130:12, 194:16           spelled [3] - 107:1,       255:21                     33:24, 51:21, 53:11,     stay [4] - 169:25,
spanned [1] - 55:22        126:21, 258:2            stands [6] - 20:11,         85:16, 132:16,            170:18, 170:21,
speakers [1] - 47:20      spelling [2] - 106:16,     93:21, 124:1, 235:5,       172:17, 192:20,           279:13
speaking [23] - 95:2,      187:1                     242:6                      194:3, 231:16,           steeped [1] - 188:12
 103:25, 106:19,          spells [3] - 81:23,                                   236:17, 237:3,           step [2] - 21:8, 134:6
                                                    Stanford [1] - 56:24
 112:4, 115:1,             230:13, 257:18                                       282:12                   stepping [1] - 33:15
                                                    start [17] - 5:22, 9:16,
 121:20, 121:21,          spend [2] - 139:15,                                  states [3] - 69:8,        steps [7] - 51:18, 55:7,
                                                     10:8, 30:17, 32:6,
 122:14, 161:12,           168:14                                               160:6, 273:15             78:23, 128:3,
                                                     32:9, 37:5, 41:18,
 179:13, 195:20,          spent [6] - 29:13,                                   States-based [1] -         134:15, 134:21,
                                                     75:1, 78:21, 79:1,
 211:11, 214:15,           166:6, 167:16,            79:3, 105:24, 151:3,       237:3                     165:5
 217:7, 221:23,            168:2, 205:13,            156:10, 222:3,            statin [72] - 20:20,      Steps [1] - 197:12
 224:17, 224:21,           226:11                    295:15                     21:4, 46:1, 52:5,        Steve [4] - 48:17, 49:8,
 226:21, 237:11,          spike [1] - 39:19         started [9] - 78:22,        53:5, 53:14, 53:18,       241:24, 300:4
 238:7, 254:1,            spikes [1] - 39:16         79:4, 125:17,              53:19, 61:4, 64:8,       STEVE [2] - 49:3, 49:9
 254:16, 257:24           spirit [1] - 122:16        227:14, 261:21,            73:8, 73:9, 73:15,       Steven [2] - 21:17,
special [9] - 101:22,     spite [4] - 73:9,          268:12, 271:8,             80:14, 91:7, 92:15,       28:19
 121:9, 121:11,            117:18, 139:19,           290:21                     92:16, 92:19, 99:17,     Stewart [2] - 190:7,
 126:20, 136:18,           140:5                                                99:22, 100:16,            191:11
                                                    starting [7] - 33:13,
 148:16, 150:13,          split [1] - 54:8                                      100:17, 100:19,          still [14] - 21:24,
                                                     37:4, 58:10, 78:17,
 228:14, 238:14           sponsor [13] - 59:9,                                  101:5, 117:18,            28:20, 37:17, 46:2,
                                                     110:4, 235:9, 273:13
specialist [1] - 38:20     74:8, 107:4, 121:12,                                 117:23, 119:9,            46:19, 89:11, 140:6,
                                                    starts [2] - 178:5,
species [6] - 61:23,       130:4, 150:17,                                       119:10, 119:11,           166:18, 173:1,
                                                     298:24
 109:3, 110:15,            151:3, 152:20,                                       120:1, 120:6, 120:8,      188:14, 189:25,
                                                    state [9] - 49:6,
 110:21, 282:16,           156:10, 156:19,                                      120:20, 122:16,           267:14, 267:15,
                                                     108:22, 129:4,
 282:18                    167:11, 167:17,                                      122:18, 122:19,           280:19
                                                     160:12, 178:6,
specific [19] - 30:16,     251:20                                               122:22, 124:9,           stipulated [6] - 3:25,
                                                     178:9, 227:2,
 37:16, 75:25, 76:21,     sponsor's [2] - 76:11,                                127:12, 129:23,           4:1, 4:2, 4:3, 4:7,
                                                     278:23, 280:9
 121:15, 148:19,           167:23                                               132:18, 139:18,           294:11
                                                    statement [41] - 36:1,
 152:21, 164:23,                                                                140:5, 141:20,           stipulation [2] - 163:3,
                          sponsored [2] -            152:7, 170:6,
 171:14, 179:7,                                                                 143:9, 143:12,            292:16
                           123:10, 222:18            171:11, 174:16,
 179:21, 181:6,                                                                 143:17, 143:18,
                          sponsors [4] - 55:14,      175:2, 178:10,                                      stock [10] - 257:2,



         MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                             (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 345 of 350


                                                                                                                   43
 258:9, 258:12,          141:17, 179:18,        90:2, 90:24, 91:4,      204:21, 205:5,          281:3
 258:20, 258:24,         184:11, 194:17,        91:12, 91:22, 92:4,     205:10, 218:8,         submit [15] - 6:15,
 259:5, 259:15,          194:20, 218:16         92:6, 92:9, 92:11,      218:10, 218:14,         6:22, 14:7, 41:15,
 259:18, 260:4,         studies [92] - 26:14,   93:1, 93:3, 93:5,       220:5, 220:9,           42:4, 46:21, 46:25,
 260:11                  42:24, 43:20, 51:5,    94:1, 94:14, 95:3,      220:10, 223:23,         48:4, 48:7, 108:18,
stop [1] - 39:20         51:6, 56:15, 57:2,     95:4, 95:10, 96:20,     224:22, 226:3,          122:10, 123:21,
stopped [1] - 125:18     59:5, 73:18, 73:19,    96:22, 97:3, 97:12,     226:24, 227:24,         152:20, 253:23,
stopping [1] - 45:24     87:7, 108:18,          97:18, 99:20, 100:5,    228:1, 229:1,           288:4
storage [2] - 70:20,     108:23, 109:3,         101:14, 101:22,         230:21, 231:2,         submits [1] - 150:17
 84:10                   109:8, 109:20,         101:23, 103:7,          232:6, 234:2,          submitted [32] - 44:3,
stored [1] - 84:11       110:21, 111:11,        103:19, 103:21,         234:14, 235:2,          50:24, 58:13, 82:4,
story [3] - 28:20,       111:13, 111:15,        104:5, 104:11,          235:14, 236:9,          82:6, 103:21,
 31:12, 86:22            111:25, 112:5,         104:16, 105:5,          238:8, 239:9,           106:22, 108:7,
storyboard [7] -         112:6, 127:18,         105:7, 107:17,          239:11, 239:21,         109:9, 122:5, 122:7,
 114:8, 114:21,          149:21, 158:1,         107:22, 110:10,         240:18, 243:3,          123:23, 128:22,
 115:19, 116:7,          158:2, 166:7, 166:9,   110:14, 112:1,          243:4, 243:5,           129:10, 150:21,
 251:1, 251:2            166:12, 166:15,        112:2, 112:9,           243:15, 244:22,         151:2, 152:18,
storyboards [1] -        173:21, 180:16,        112:14, 117:9,          246:15, 247:11,         152:22, 156:6,
 116:9                   180:19, 180:24,        117:11, 117:12,         248:16, 270:20,         222:5, 224:19,
storyline [1] - 36:6     181:13, 181:14,        117:14, 117:21,         270:22, 271:5,          229:4, 229:12,
straightforward [4] -    187:10, 188:2,         117:25, 118:2,          271:9, 271:17,          235:20, 238:13,
 30:5, 30:20, 41:7,      193:2, 193:5,          118:4, 118:7, 118:8,    271:20, 272:8,          248:4, 253:16,
 180:8                   195:13, 195:16,        118:20, 118:22,         272:10, 272:15,         254:13, 255:1,
strategy [2] - 78:2,     195:17, 195:18,        119:3, 119:17,          272:24, 274:24,         255:5, 266:5, 296:18
 78:3                    195:21, 195:24,        119:19, 119:24,         275:11, 286:17,        submitting [1] -
stream [3] - 229:18,     196:8, 198:16,         120:9, 120:10,          286:18, 286:19,         128:24
 229:20, 248:18          199:8, 199:9,          121:17, 121:22,         286:21, 287:3          subsection [2] -
strength [4] - 68:1,     201:14, 201:25,        122:6, 122:8,          Study [1] - 96:19        106:10, 231:12
 68:2, 68:3, 68:5        203:2, 213:21,         122:23, 123:3,         study-by-study [1] -    subsequent [12] -
                         213:25, 214:1,         123:5, 123:8,           132:6                   23:12, 96:24,
strengths [1] - 86:13
                         214:2, 214:6, 214:7,   123:15, 123:16,        studying [1] - 26:15     110:19, 122:1,
strict [1] - 230:19
                         216:4, 216:6,          123:22, 125:22,        sub [1] - 243:10         134:6, 143:20,
strike [7] - 154:10,
                         216:10, 222:25,        127:21, 129:15,        subanalysis [1] -        150:25, 158:17,
 156:11, 156:13,
                         223:10, 226:2,         129:16, 129:17,         232:23                  222:5, 239:13,
 157:1, 157:5,
                         226:10, 226:12,        129:25, 132:4,         subgroup [8] -           257:18, 258:2
 157:11, 163:17
                         226:15, 226:18,        132:6, 132:9,           100:15, 101:4,         subsequently [4] -
strike-through [3] -
                         226:19, 234:20,        132:13, 132:17,         234:13, 234:21,         58:10, 95:13,
 154:10, 156:13,
                         234:23, 236:15,        134:25, 136:12,         239:13, 242:17,         128:12, 237:8
 157:1
                         272:9, 272:18,         136:22, 137:3,          242:19, 244:21         subset [1] - 100:16
strike-throughs [1] -
                         272:20, 280:12,        137:4, 137:5, 137:7,   subheadings [1] -       substance [1] -
 157:5
                         280:15, 280:17,        138:13, 138:17,         106:10                  199:25
string [1] - 20:9
                         280:18, 280:22,        138:18, 139:3,         subject [5] - 69:23,    substantial [7] -
stroke [5] - 64:10,
                         280:25, 281:7,         139:16, 139:18,         121:25, 210:3,          15:15, 24:13, 24:25,
 141:22, 144:5,
                         281:25, 286:11         139:24, 140:3,          259:12, 265:21          37:13, 37:15,
 147:22, 160:15
                        Studies [2] - 213:9,    140:20, 141:10,        subjective [5] -         132:25, 245:12
strokes [2] - 10:12,
                         222:11                 141:12, 141:19,         132:21, 133:2,         substantially [1] -
 10:22
                        study [236] - 15:7,     142:9, 142:16,          133:6, 133:7, 133:8     56:8
strong [4] - 13:7,
                         15:11, 27:3, 33:1,     142:18, 143:6,         subjectively [1] -      substituted [1] - 29:5
 222:22, 232:13,
                         33:4, 34:2, 35:9,      143:20, 143:23,         133:18                 substitution [1] -
 238:19
                         36:12, 36:24, 42:18,   144:14, 145:2,         subjects [4] - 69:18,    30:14
strongly [2] - 236:8,                           145:3, 145:5, 145:7,
                         46:8, 53:1, 53:25,                             69:20, 88:10, 100:19   succeed [1] - 168:20
 239:20                                         146:22, 154:4,
                         58:20, 59:6, 72:25,                           submission [14] -       succeeded [2] - 28:5,
struck [3] - 156:21,                            168:23, 173:22,
                         78:25, 79:3, 79:8,                             6:13, 6:18, 33:13,      28:18
 250:1, 250:4                                   179:18, 180:19,
                         79:9, 80:23, 80:24,                            116:6, 150:14,         Success [1] - 211:19
structured [1] -                                180:22, 182:1,
                         80:25, 81:10, 81:12,                           150:15, 150:16,
 236:19                                                                                        success [8] - 25:23,
                         81:13, 81:15, 81:16,   182:10, 197:19,         176:24, 197:15,
stuck [1] - 17:15                                                                               28:22, 41:12, 44:15,
                         81:18, 81:19, 81:23,   199:11, 200:2,          243:22, 253:15,
studied [14] - 26:21,                                                                           46:16, 46:17,
                         82:1, 82:4, 82:14,     201:5, 201:10,          254:11, 264:25
 90:16, 91:2, 93:1,                                                                             148:18, 291:9
                         82:16, 82:17, 82:20,   201:19, 201:21,        submissions [4] -
 93:22, 97:12,                                                                                 successful [15] -
                         83:3, 83:5, 84:22,     202:7, 202:15,          27:14, 170:2, 254:7,
 119:20, 120:22,                                                                                31:20, 53:24, 73:18,
                         85:20, 86:14, 88:9,    203:5, 204:13,



         MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                             (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 346 of 350


                                                                                                                              44
 73:19, 140:16,             174:15, 175:10,             42:14, 185:3, 229:7       173:16, 174:8,           49:5, 49:8, 63:2,
 140:17, 166:15,            186:23, 216:4,            taste [1] - 38:13           193:14, 201:16,          63:13, 66:5, 69:22,
 166:21, 167:25,            216:9, 218:14,            taught [1] - 212:25         202:8, 205:11,           70:1, 70:5, 74:20,
 168:16, 168:17,            222:21, 228:1,            taxes [1] - 259:12          227:9, 250:16,           77:4, 81:5, 87:9,
 168:18, 234:3,             230:21, 238:9,            teach [2] - 44:6,           264:13, 284:7, 299:6     87:20, 88:3, 88:18,
 238:12                     239:20, 246:18,             209:12                  terrible [1] - 16:8        89:15, 113:15,
successfully [2] -          280:23                    team [11] - 60:5,         territory [4] - 180:6,     114:16, 114:25,
 52:25, 234:15             Supported [1] - 242:3        61:10, 74:4, 103:18,      180:12, 183:25,          116:21, 118:16,
successively [1] -         supported [7] - 112:6,       106:3, 151:1,             192:22                   125:6, 125:14,
 136:23                     168:23, 181:25,             155:21, 156:16,         tertiary [4] - 81:20,      126:7, 131:21,
suffice [4] - 4:12,         195:12, 196:7,              186:10, 188:10,           81:22, 117:24,           136:6, 137:6,
 59:14, 185:25,             198:16, 250:15              253:13                    144:10                   137:11, 138:4,
 186:11                    supportive [2] - 133:1,    team's [1] - 132:15       test [1] - 204:24          141:6, 145:12,
sufficient [4] - 14:7,      240:25                    teams [6] - 57:19,        testified [8] - 49:4,      145:25, 153:2,
 46:12, 55:11, 59:10       supports [4] - 31:4,         57:23, 58:10, 58:11,      99:16, 125:10,           153:5, 153:7,
sufficiently [1] -          90:13, 199:5, 218:20        58:15, 105:13             154:24, 221:4,           154:18, 155:1,
 154:14                    supposed [2] -             technical [9] - 49:21,      280:14, 284:6,           155:8, 157:6, 157:8,
suggest [3] - 26:1,         228:20, 294:4               55:2, 55:13, 56:1,        286:12                   157:13, 159:17,
 244:23, 275:11            suppressed [1] -             102:23, 109:23,         testify [7] - 125:17,      161:25, 162:5,
suggesting [1] - 244:8      233:3                       162:6, 233:7, 233:25      164:25, 210:6,           162:10, 162:12,
suggests [1] - 236:14      Supreme [1] - 41:9         technically [1] - 290:4     290:8, 290:15,           162:16, 162:21,
suit [2] - 30:24, 170:17   Surface [1] - 295:21       TECHNICIAN [1] -            292:5, 292:10            163:2, 163:13,
sum [1] - 275:11           surpass [1] - 186:3          279:23                  testifying [2] - 5:19,     163:21, 163:24,
summarizes [1] -           surprise [2] - 22:7,       technology [1] - 3:16       212:23                   200:7, 200:18,
 242:8                      290:18                    temporary [1] - 39:20     testimony [35] - 5:8,      210:8, 220:12,
summary [14] - 37:5,       surprising [2] - 22:8,     ten [8] - 27:24, 32:4,      5:9, 5:17, 5:19, 5:22,   220:15, 220:18,
 39:24, 96:3, 205:5,        43:22                       54:20, 257:9,             6:3, 6:6, 6:18, 6:21,    228:14, 233:15,
 254:19, 261:25,           surprisingly [2] -           257:15, 257:21,           7:3, 20:8, 23:16,        233:21, 238:21,
 262:19, 263:3,             20:15, 21:10                257:22, 257:24            24:4, 28:13, 31:7,       238:24, 252:10,
 263:21, 266:7,            susceptible [1] -                                      31:9, 39:23, 39:24,      252:13, 252:19,
                                                      ten-year [3] - 257:9,
 266:11, 267:14,            282:2                                                 48:2, 65:8, 70:10,       252:23, 253:2,
                                                        257:15, 257:24
 267:24                                                                           74:18, 117:10,           260:16, 260:22,
                           sustain [2] - 163:15,      tens [1] - 28:8
Summary [1] - 243:25                                                              163:17, 165:4,           261:5, 261:15,
                            284:12                    tentatively [1] - 76:13
                                                                                  200:1, 210:4, 261:4,     261:21, 262:2,
Sunesis [3] - 62:16,       sustained [1] - 279:6      Term [1] - 211:19
                                                                                  270:10, 282:9,           262:5, 262:10,
 62:17, 62:18              swallowed [1] - 69:15      term [30] - 37:25,
                                                                                  283:24, 283:25,          262:12, 262:15,
superabundance [1] -       swallowing [1] - 89:10       38:25, 39:2, 39:4,
                                                                                  296:9, 297:1, 298:14     262:17, 262:20,
 17:19                     Swiss [1] - 57:6             40:7, 56:14, 59:13,
                                                                                testing [4] - 59:5,        263:1, 263:4,
supplement [2] -           switch [2] - 62:25,          64:20, 73:13, 122:8,
                                                                                  217:10, 222:3,           263:18, 263:24,
 124:2, 244:18              279:23                      128:25, 133:4,
                                                                                  226:24                   264:2, 264:23,
supplemental [14] -        Switzerland [2] - 57:8,      137:3, 139:17,
                                                                                text [2] - 110:8, 110:19   264:24, 265:2,
 122:10, 124:1,             57:12                       179:3, 179:9,
                                                                                TG [14] - 4:9, 16:13,      265:6, 265:13,
 125:21, 128:24,           sworn [5] - 49:4,            179:10, 179:13,
                                                                                  19:17, 64:12, 65:1,      265:16, 265:19,
 150:17, 152:18,            298:8, 298:9,               179:20, 180:6,
                                                                                  71:9, 88:12, 92:22,      265:25, 266:13,
 159:24, 229:13,            298:10, 298:21              181:19, 189:9,
                                                                                  103:25, 104:10,          266:16, 266:23,
 238:13, 243:22,           system [2] - 29:17,          193:21, 204:24,
                                                                                  244:7, 244:22,           267:3, 267:12,
 246:3, 246:19,             53:13                       205:25, 230:25,
                                                                                  244:24, 244:25           267:19, 268:11,
 246:24, 247:14                                         250:1, 257:9,
                                                                                TG-lowering [2] -          268:16, 268:20,
supplementation [2] -                 T                 257:15, 257:24
                                                                                  19:17, 103:25            269:2, 269:19,
 275:13, 275:14                                       terminology [6] -
                                                                                TGs [7] - 11:6, 15:18,     270:1, 270:5, 270:6,
supplements [3] -          table [15] - 97:15,          69:21, 70:10,
                                                                                  16:17, 21:7, 26:16,      270:11, 270:13,
 30:21, 172:3, 172:4         97:17, 97:18, 98:8,        165:10, 178:25,
                                                                                  28:7, 99:12              276:23, 277:13,
suppliers [1] - 194:23       98:10, 98:16, 98:20,       227:11, 228:11
                                                                                                           277:19, 277:23,
supply [2] - 55:12,          98:23, 99:19,            terms [30] - 6:6, 24:6,   that' [1] - 298:2
                                                                                                           278:23, 279:3,
 194:22                      100:12, 100:18,            30:6, 53:21, 54:18,     THE [189] - 1:2, 1:14,
                                                                                                           279:6, 279:25,
Support [1] - 198:9          101:2, 101:11,             55:16, 80:11, 97:12,      3:4, 3:21, 4:17, 4:20,
                                                                                                           283:15, 284:5,
support [24] - 23:5,         101:12                     99:10, 121:20,            5:5, 6:2, 6:9, 7:4,
                                                                                                           284:23, 285:12,
 58:20, 87:7, 104:19,      Table [5] - 138:14,          121:21, 128:21,           7:9, 7:21, 8:2, 8:6,
                                                                                                           285:23, 286:4,
 106:5, 110:15,              139:9, 274:1, 274:15       128:22, 142:2,            8:14, 9:2, 9:7, 9:10,
                                                                                                           287:7, 287:10,
 112:9, 128:18,            tables [1] - 100:6           149:16, 150:20,           9:13, 9:21, 29:24,
                                                                                                           287:12, 287:15,
 129:5, 173:9,             talks [5] - 31:2, 41:22,     161:2, 161:15,            48:11, 48:23, 49:1,
                                                                                                           287:17, 287:19,



          MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                              (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 347 of 350


                                                                                                                                     45
 288:13, 288:21,            269:6                      258:20, 269:21,              47:21                    trial [116] - 6:22, 8:22,
 289:1, 289:5,            third [11] - 73:13, 83:6,    287:20, 294:22,            touch [1] - 106:3            19:4, 19:6, 19:12,
 289:12, 289:23,            83:7, 102:12,              298:5, 299:7               touched [2] - 46:6,          20:3, 20:24, 21:12,
 290:1, 290:3,              104:11, 146:5,            Today's [1] - 160:13          286:20                     21:16, 22:3, 23:10,
 290:14, 290:25,            148:21, 160:4,            today's [2] - 74:18,        touching [1] - 103:15        28:19, 30:1, 30:2,
 291:5, 291:14,             204:10, 274:2              269:10                     towards [14] - 5:19,         31:21, 31:25, 35:14,
 291:20, 291:24,          thorough [1] - 106:4        together [2] - 55:6,          57:24, 61:10, 77:17,       36:16, 36:17, 36:18,
 292:8, 292:24,           thoroughly [1] - 30:3        107:1                        78:14, 78:16, 79:6,        38:14, 42:21, 46:7,
 295:5, 295:8,            thousand [1] - 107:23       tolerability [4] - 79:15,     91:25, 100:15,             46:18, 57:25, 58:12,
 295:11, 295:13,          thousands [3] - 28:9,        80:4, 80:9, 120:12           100:22, 101:5,             64:18, 64:20, 65:5,
 295:18, 295:21,            47:23, 54:6               tolerable [4] - 53:23,        111:10, 156:9, 269:5       65:7, 66:21, 66:25,
 296:4, 296:7,            threatening [1] -            73:21, 95:7, 122:2         traditional [1] - 244:10     67:1, 73:2, 73:5,
 296:16, 296:21,            10:16                     tolerate [2] - 52:5,        tranches [1] - 257:19        73:6, 73:7, 73:12,
 297:5, 297:9,            three [26] - 26:17,          152:8                      TRANSCRIPT [1] -             73:13, 73:14, 79:2,
 297:17, 297:20,            42:11, 47:20, 59:12,      tolerated [4] - 21:4,         1:12                       81:11, 84:18, 86:4,
 297:23, 298:1,             59:20, 59:21, 62:3,        64:8, 152:2, 152:4         transcript [4] - 6:23,       86:6, 88:3, 88:11,
 298:3, 298:11,             72:23, 73:18, 73:19,      tomorrow [6] -                7:5, 8:10, 299:18          89:10, 90:7, 90:17,
 299:1, 299:6               100:20, 119:5,             238:23, 293:25,            transfer [1] - 62:6          96:3, 96:5, 96:8,
themselves [1] - 95:15      119:8, 136:22,             294:1, 297:10,             transformation [1] -         96:12, 98:14, 102:1,
theoretically [1] -         138:25, 140:13,            297:18, 298:4                148:6                      102:17, 119:4,
 15:17                      144:9, 147:20,            tonight [1] - 297:18        transition [1] - 62:8        119:25, 120:2,
Theorow [1] - 174:22        152:10, 156:18,           took [10] - 27:17,          transporting [1] -           123:13, 127:3,
theory [1] - 38:2           173:12, 173:17,            28:18, 33:22, 46:1,          93:25                      127:9, 127:13,
therapeutic [2] - 26:5,     174:1, 174:10,             99:21, 134:23,             trash [1] - 36:18            127:14, 127:15,
 27:17                      282:18, 291:22             173:23, 228:17,            treat [10] - 15:2, 15:8,     127:22, 129:1,
therapies [9] - 19:17,    three-and-a-half [1] -       228:21, 258:6                18:7, 25:11, 26:9,         129:18, 133:1,
 50:6, 80:21, 112:12,       26:17                     top [23] - 20:20, 53:14,      44:12, 45:3, 51:22,        133:13, 146:13,
 140:7, 161:4,            three-part [3] - 72:23,      53:18, 73:14, 96:15,         183:16, 207:13             146:17, 148:19,
 167:20, 168:3,             136:22, 140:13             100:15, 100:18,                                         150:5, 150:7, 150:9,
                                                                                  treated [3] - 11:13,
 244:25                   three-week [2] -             110:8, 114:7,                                           165:25, 166:21,
                                                                                    71:17, 238:2
therapy [47] - 10:7,        119:5, 138:25              120:20, 127:11,                                         167:16, 168:11,
                                                                                  treating [6] - 17:25,
 11:23, 12:11, 12:18,     THRIVE [1] - 127:4           129:23, 141:18,                                         168:15, 174:9,
                                                                                    19:1, 19:5, 25:16,
 18:24, 21:4, 38:9,       throughout [6] -             143:12, 143:17,                                         185:25, 201:11,
                                                                                    25:22, 32:20
 38:24, 39:2, 39:3,         84:18, 91:12, 92:5,        143:18, 147:3,                                          217:17, 222:16,
                                                                                  Treatment [1] - 225:2
 40:16, 52:6, 64:9,         104:5, 119:25, 120:1       147:25, 148:9,                                          222:20, 223:10,
                                                                                  treatment [43] - 9:18,
 67:11, 72:3, 73:8,       throughs [1] - 157:5         148:21, 149:18,                                         223:19, 224:24,
                                                                                    11:13, 14:21, 20:4,
 73:10, 73:15, 80:14,     thumb [5] - 6:22,            203:1, 274:15                                           230:25, 231:8,
                                                                                    20:10, 20:21, 21:5,
 80:18, 91:7, 99:17,        122:20, 252:17,           topic [10] - 31:13,                                      231:14, 232:1,
                                                                                    21:8, 21:20, 22:13,
 100:16, 100:17,            252:19, 252:24             89:21, 165:5,                                           238:12, 238:13,
                                                                                    22:18, 25:12, 26:6,
 100:20, 101:5,                                        165:17, 165:23,                                         240:25, 242:8,
                          Thursday [1] - 7:17                                       26:12, 27:8, 32:20,
 122:17, 124:9,                                        200:8, 200:17,                                          242:13, 247:7,
                          ticked [2] - 107:6,                                       33:8, 38:9, 40:15,
 129:23, 132:18,                                       200:23, 271:25,                                         247:10, 269:10,
                            108:13                                                  41:20, 52:18, 98:2,
 140:5, 148:1,                                         273:3                                                   285:6, 286:8, 288:3,
                          ticking [1] - 108:1                                       99:11, 100:20,
 149:15, 149:19,                                      topics [4] - 107:2,                                      288:6, 288:14,
                          tied [4] - 98:20, 98:23,                                  100:25, 112:21,
 152:2, 152:4,                                         109:22, 164:25,                                         291:4, 292:5,
                            187:4, 254:13                                           119:8, 146:21,
 161:10, 161:16,                                       270:18                                                  293:17, 295:6,
                          ties [1] - 189:15                                         147:1, 160:16,
 161:17, 182:4,                                       total [16] - 68:25, 69:2,                                298:16
                          timeline [3] - 32:6,                                      184:20, 185:8,
 232:2, 232:7,                                         69:3, 90:23, 102:14,                                  Trial [2] - 222:12,
                            73:22, 77:7                                             185:20, 195:6,
 235:17, 239:10,                                       105:7, 119:18,                                          242:3
                          timely [2] - 7:1, 167:21                                  195:11, 195:23,
 239:23, 244:9,                                        139:25, 140:12,                                       TRIAL [1] - 1:12
                          title [5] - 190:23,                                       196:6, 196:17,
 244:23                                                170:20, 179:19,                                       trials [48] - 22:10,
                            190:24, 197:11,                                         204:17, 232:8,
therefore [4] - 127:14,                                180:21, 182:22,                                         22:22, 23:1, 23:3,
                            213:9, 242:24                                           233:3, 274:20,
 219:9, 235:10,                                        271:2, 271:7, 291:15                                    23:6, 23:12, 23:19,
                          titled [1] - 110:22                                       274:21
 235:13                                               totality [1] - 102:18                                    28:15, 29:13, 31:15,
                          to-mait-o [1] - 165:11                                  treatments [3] - 16:8,
they've [4] - 10:8,                                   totally [7] - 33:17,                                     31:17, 31:18, 33:18,
                          to-maut-o [1] - 165:11                                    160:8, 199:9
 161:8, 170:15,                                        171:11, 174:2,                                          33:19, 41:22, 55:6,
                          today [18] - 5:6, 5:25,                                 Trevor [2] - 199:11,
 294:17                                                174:5, 193:2, 234:6,                                    55:12, 59:13, 59:14,
                            6:7, 6:10, 23:14,                                       203:5
thi [1] - 76:10                                        238:14                                                  59:15, 62:7, 74:1,
                            36:17, 64:21, 65:8,                                   triacy [1] - 206:8
things... [1] - 21:25                                 totals [1] - 170:21                                      78:24, 80:5, 93:24,
                            70:10, 149:21,                                        triacylglycerols [1] -
thinking [2] - 184:1,                                                                                          94:1, 96:6, 127:1,
                            151:17, 184:2,            Toth [3] - 39:9, 44:10,       206:12
                                                                                                               127:4, 127:7, 129:7,



         MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                             (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 348 of 350


                                                                                                                                46
  129:11, 130:11,            47:5, 47:6, 47:14,      turn [62] - 13:3, 62:22,     261:17, 266:19,           89:24, 94:8, 98:10,
  168:7, 168:19,             47:15, 51:25, 52:2,      66:1, 66:10, 67:2,          279:24, 282:19,           101:22, 123:19,
  174:14, 184:5,             52:7, 70:16, 70:18,      67:3, 67:18, 68:15,         288:7, 288:10,            164:12, 170:7,
  184:8, 213:4, 213:5,       70:19, 71:20, 72:4,      69:17, 69:19, 69:22,        288:16, 289:3,            173:7, 235:20,
  223:12, 226:8,             72:7, 72:11, 73:10,      72:14, 73:22, 74:12,        289:10, 289:19,           274:16, 288:3,
  235:24, 235:25,            73:15, 80:7, 84:7,       74:22, 75:8, 75:15,         290:9, 291:13,            292:16
  241:6, 243:9               91:9, 93:25, 97:23,      76:1, 76:6, 76:16,          291:16, 292:10,          underlined [1] -
triangles [1] - 104:2        112:22, 113:23,          77:7, 81:1, 83:16,          293:21                    110:19
tried [3] - 41:13,           115:5, 117:19,           90:18, 90:19, 90:25,      two-and-a-half [1] -       underlying [6] - 11:3,
  229:3, 268:25              120:18, 120:22,          95:17, 95:19, 98:24,        62:4                      12:24, 84:6, 265:1,
triggered [1] - 170:1        124:7, 124:9,            100:7, 101:1, 103:3,      type [11] - 59:1, 74:10,    267:16, 272:20
Triglyceride [2] -           132:25, 138:17,          111:18, 114:1,              135:1, 147:16,           underneath [1] -
  190:23, 197:11             139:19, 142:3,           114:23, 117:8,              148:5, 158:18,            198:15
triglyceride [59] - 4:9,     142:21, 160:14,          118:5, 119:16,              172:16, 178:8,           understood [11] -
  9:24, 12:14, 12:18,        179:1, 179:6,            131:6, 135:21,              201:20, 218:10,           26:6, 168:5, 201:9,
  17:14, 19:22, 21:3,        179:25, 180:2,           137:4, 138:12,              227:9                     201:23, 202:9,
  38:18, 39:14, 52:7,        180:9, 180:15,           140:22, 143:5,            types [7] - 94:1,           212:23, 236:22,
  52:20, 64:12, 70:24,       180:25, 181:4,           144:17, 145:15,             107:13, 147:18,           236:25, 266:12,
  79:13, 79:20, 83:2,        181:15, 183:10,          148:2, 151:14,              174:5, 174:6,             283:20, 286:13
  84:23, 91:19, 92:10,       184:9, 191:16,           152:11, 153:1,              210:14, 219:6            undertaken [1] - 167:6
  92:23, 93:24, 97:21,       192:9, 192:18,           159:6, 204:20,            typical [3] - 74:8,        undertaking [1] -
  97:22, 98:25,              192:24, 193:20,          237:10, 247:2,              159:1, 159:2              168:11
  112:10, 112:14,            194:6, 194:8, 194:9,     248:2, 259:24,            typically [3] - 58:25,     underway [1] - 51:6
  117:22, 120:3,             194:10, 199:7,           260:1, 273:8,               159:20, 160:2            undue [1] - 91:20
  120:25, 122:25,            205:20, 205:24,          277:20, 279:12,                                      unexpected [7] -
  123:2, 127:2, 127:6,       206:3, 206:8,            281:9                                U                23:25, 35:17, 35:19,
  142:3, 142:8, 142:9,       206:18, 207:2,          turning [5] - 32:6,                                    36:2, 45:7, 45:9,
  142:15, 142:19,            207:20, 207:25,          37:3, 41:3, 59:18,        U.S [8] - 1:23, 51:20,      45:16
  143:2, 151:20,             209:12, 211:22,          126:11                     57:25, 58:14,             unfolded [1] - 188:8
  151:21, 151:23,            212:5, 212:11,          turns [2] - 19:23, 20:3     106:25, 194:1,            unfortunately [1] -
  179:14, 179:23,            228:4, 228:5,           TV [4] - 114:8, 114:9,      234:6, 237:16              24:3
  180:23, 186:17,            232:25, 271:12           115:18, 116:7             ultimate [1] - 87:8        unhealthy [1] - 11:6
  191:7, 194:20,           trouble [1] - 17:15       twenty [1] - 38:19         ultimately [15] - 17:7,    unique [3] - 23:7,
  197:18, 206:13,          true [11] - 19:23,        twice [3] - 39:7, 69:10,    17:10, 30:5, 52:15,        27:17, 27:21
  207:17, 217:20,            46:13, 46:23, 54:13,     69:11                      55:12, 56:9, 61:12,       UNITED [1] - 1:1
  218:5, 239:16,             183:5, 183:6,           two [76] - 3:15, 8:23,      83:1, 87:20, 105:8,       United [13] - 30:11,
  248:21, 249:1,             289:25, 290:2,           8:24, 23:12, 23:16,        109:8, 134:10,             33:23, 51:21, 53:11,
  271:19, 271:23             290:24, 291:21           26:13, 32:18, 37:3,        134:19, 254:7,             85:16, 132:16,
triglyceride-lowering      truthful [9] - 211:14,     37:12, 41:1, 41:22,        263:11                     172:17, 192:20,
  [4] - 79:20, 112:10,       213:13, 213:23,          42:8, 42:24, 46:4,        ultra [3] - 56:7, 185:5,    194:2, 231:16,
  127:2, 194:20              214:25, 215:17,          51:23, 57:14, 61:20,       191:4                      236:16, 237:2,
triglycerides [127] -        217:3, 222:7, 229:3,     62:4, 64:15, 65:13,       un-met [2] - 140:4,         282:12
  4:16, 10:3, 10:10,         232:15                   66:24, 67:20, 67:24,       161:3                     universal [1] - 16:11
  10:21, 10:24, 11:3,      truthfully [1] - 134:24    69:11, 82:20, 86:13,      unambiguous [1] -          University [3] - 56:24,
  12:7, 12:8, 12:11,       try [18] - 9:19, 27:12,    86:15, 90:16, 96:23,       33:7                       56:25, 57:4
  13:6, 13:11, 13:18,        36:18, 41:10, 41:16,     98:19, 98:25, 99:25,      unaware [1] - 202:7        unless [3] - 38:7,
  14:21, 14:22, 15:2,        43:8, 48:1, 48:2,        100:4, 109:3,             uncertain [1] - 249:23      261:6, 284:12
  15:8, 16:4, 16:12,         134:24, 157:19,          110:15, 110:20,           uncertainty [5] -          unlike [3] - 41:25,
  16:20, 16:22, 16:24,       162:7, 165:13,           110:21, 113:21,            28:17, 126:25,             86:6, 162:17
  17:2, 17:7, 17:8,          165:15, 193:16,          119:5, 123:15,             127:5, 129:7, 236:1       unlikely [1] - 163:20
  17:13, 17:20, 17:25,       194:3, 202:10,           127:3, 128:12,            unclear [2] - 31:9,        unmet [17] - 45:17,
  18:7, 18:17, 18:23,        233:25, 240:1            138:25, 146:21,            179:20                     50:6, 52:12, 52:14,
  19:3, 19:6, 19:21,       trying [16] - 12:13,       147:1, 147:5,             uncomfortable [1] -         52:15, 52:19, 53:5,
  20:6, 20:12, 20:18,        28:17, 31:13, 33:16,     156:18, 166:12,            8:3                        53:13, 53:16, 54:17,
  21:21, 22:20, 27:2,        34:22, 55:4, 56:17,      174:5, 174:6,             uncontrolled [1] -          55:5, 56:10, 72:22,
  28:2, 32:12, 32:17,        56:18, 206:19,           177:16, 188:19,            108:24                     73:1, 79:11, 167:21,
  32:21, 34:20, 39:5,        231:5, 232:13,           189:1, 194:13,            uncorking [1] - 17:23       168:3
  39:19, 41:20, 43:10,       234:23, 275:10,          203:20, 205:13,           under [19] - 18:14,        unpack [1] - 173:3
  43:19, 43:21, 43:23,       283:18, 283:19,          220:6, 227:13,             25:8, 37:24, 47:6,        unprecedented [1] -
  44:7, 45:4, 47:4,          297:15                   249:3, 253:2,              63:24, 69:7, 77:17,        136:20



          MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                              (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 349 of 350


                                                                                                                            47
unrelated [1] - 47:23                              72:15, 72:20, 73:14,    vendor [3] - 55:7,         visual [1] - 115:2
                                   V
unreliable [1] - 36:19                             83:8, 84:23, 85:25,      55:17, 55:21              VLDL [20] - 13:18,
unseal [1] - 5:22        vague [1] - 198:5         88:23, 92:24, 96:2,     verify [5] - 261:6,         15:17, 16:21, 17:5,
unstable [3] - 64:10,    vais [2] - 165:9,         96:10, 97:20, 97:25,     265:1, 267:11,             17:7, 17:8, 17:12,
 133:4, 144:5             165:12                   98:2, 98:4, 98:7,        268:2, 294:17              17:16, 17:19, 17:22,
untimely [1] - 8:24      valid [1] - 27:20         98:11, 99:3, 99:11,     version [9] - 152:18,       17:23, 18:1, 18:13,
unwilling [1] - 152:9    validated [3] - 94:16,    100:25, 101:8,           154:6, 154:23,             18:19, 18:20, 93:18,
up [88] - 4:10, 7:16,     94:25, 99:8              101:19, 101:21,          156:4, 156:5,              93:20, 93:22, 93:24,
 11:3, 11:18, 12:22,     validity [2] - 39:9,      102:15, 104:3,           288:20, 288:21,            99:1
 13:4, 15:5, 15:10,       45:22                    104:14, 105:8,           288:24, 297:2             VLDL-C [4] - 93:18,
 15:12, 16:1, 16:18,     valuable [1] - 46:24      105:12, 109:10,         versions [4] - 6:23,        93:20, 93:22, 99:1
 18:1, 18:9, 19:9,       value [5] - 148:24,       111:17, 112:10,          7:2, 61:4, 155:23         voice [1] - 115:2
 19:16, 19:21, 21:14,     234:6, 236:11,           112:21, 113:1,          Versus [1] - 192:2         voiceover [1] - 115:1
 22:4, 30:10, 31:2,       259:3, 259:4             113:9, 113:22,          versus [7] - 3:5, 88:13,   Volume [1] - 1:8
 40:17, 47:9, 50:24,     valued [1] - 258:25       114:8, 115:3,            196:20, 202:23,           voluminous [1] -
 51:4, 58:16, 62:19,     values [5] - 100:23,      115:13, 115:23,          204:16, 251:5, 272:8       255:8
 64:3, 72:11, 74:23,      101:8, 101:9,            117:10, 119:9,          vertical [1] - 146:20      voluntarily [1] -
 77:19, 78:16, 90:20,     202:14, 206:7            119:10, 120:17,         vest [1] - 257:17           249:22
 93:7, 95:18, 96:23,     Vanda [1] - 24:20         120:20, 120:23,         vesting [1] - 258:2        volunteers [1] - 58:24
 100:9, 103:8,                                     121:1, 121:4, 121:6,    vetted [1] - 187:23        vote [1] - 151:9
                         Vannozzi [1] - 62:25
 104:22, 105:19,                                   127:10, 127:11,         VHTG [2] - 4:16, 9:20      VP [1] - 190:10
                         variable [4] - 85:1,
 106:11, 109:11,                                   138:11, 143:11,         via [1] - 130:24           vs [1] - 1:7
                          93:12, 93:18, 98:25
 110:3, 110:17,                                    143:17, 146:23,         viability [1] - 55:13
                         variables [6] - 82:3,
 111:21, 113:3,                                    147:3, 147:25,
                          93:4, 93:14, 93:15,
                                                   151:11, 152:14,
                                                                           viable [1] - 183:21                  W
 114:3, 114:24,           94:2, 99:1                                       Viagra [1] - 23:24
 116:10, 118:24,                                   154:6, 155:17,                                     waiting [1] - 166:18
                         varied [1] - 193:16                               vice [4] - 49:18, 59:25,
 120:16, 126:12,                                   157:17, 159:12,                                    walk [2] - 82:15, 86:21
                         variety [2] - 102:22,                              60:8, 77:25
 128:12, 138:8,                                    161:2, 165:6,                                      walked [2] - 156:5,
                          132:5                                            vice-president [4] -
 138:10, 138:14,                                   165:20, 165:25,                                     250:15
                         various [18] - 58:21,                              49:18, 59:25, 60:8,
 141:13, 142:13,                                   166:1, 169:6,                                      wants [3] - 35:13,
                          71:1, 76:23, 81:24,                               77:25
 146:8, 147:11,                                    169:23, 171:3,                                      208:10, 211:14
                          82:3, 82:25, 87:2,                               video [2] - 7:5, 20:14
 151:14, 153:9,                                    171:6, 171:7,
                          95:14, 100:25,                                   view [15] - 35:9, 45:18,   Ward [2] - 24:21,
 156:24, 160:4,                                    171:15, 174:22,
                          128:21, 155:23,                                   127:10, 129:13,            24:23
 162:1, 163:1, 163:6,                              174:25, 175:11,
                          183:4, 193:21,                                    185:4, 193:23,            Ward's [2] - 24:19,
 164:1, 171:17,                                    177:22, 186:7,
                          228:16, 255:16,                                   282:25, 285:8,             24:24
 182:14, 184:2,                                    186:23, 191:1,
                          256:9, 278:5, 283:8                               285:9, 285:13,            warn [1] - 207:9
 189:10, 203:21,                                   191:21, 192:3,
                         Vascepa [191] - 11:24,                             285:15, 285:24,           warned [1] - 207:16
 204:24, 208:11,                                   192:4, 192:9,
                          12:20, 14:22, 15:1,                               286:18, 287:4             Warner [2] - 24:22,
 228:23, 240:6,                                    196:18, 197:11,
                          20:4, 20:11, 20:17,                              viewing [1] - 292:13        24:24
 247:13, 270:16,                                   201:25, 211:22,
                          21:1, 21:5, 21:10,                               views [22] - 130:3,        Warner-Lambert [2] -
 273:9, 273:12,                                    212:2, 212:4, 212:9,
                          22:12, 22:25, 27:25,                              130:21, 132:3,             24:22, 24:24
 275:11, 279:22,                                   212:19, 217:11,
                          28:6, 28:8, 29:4,                                 132:9, 133:1, 135:3,      warning [5] - 42:4,
 281:10, 287:1,                                    221:25, 223:8,
                          31:10, 33:14, 34:24,                              135:18, 136:10,            45:18, 197:1, 197:2,
 288:8, 289:18,                                    225:6, 229:16,
                          35:16, 36:1, 36:9,                                193:9, 202:16,             264:12
 298:15                                            230:11, 232:3,
                          40:1, 41:23, 50:10,                               231:7, 231:9,             wash [3] - 83:21,
update [1] - 294:4                                 237:2, 237:15,
                          50:11, 50:16, 50:19,                              231:10, 278:20,            84:21, 84:24
updated [5] - 8:19,                                238:9, 239:22,
                          51:2, 51:7, 51:13,                                279:2, 279:9,             wash-out [2] - 84:21,
 252:20, 253:5,                                    243:11, 243:18,
                          51:20, 51:21, 51:22,                              284:19, 284:20,            84:24
 271:22, 288:18                                    245:13, 245:16,
                          52:4, 52:11, 52:12,                               285:3, 285:25,            washed [2] - 82:21,
upper [2] - 91:13,                                 247:20, 248:13,
                          52:19, 52:25, 53:17,                              286:2, 286:5               143:9
 91:18                                             248:20, 250:7,
                          53:21, 53:24, 54:16,                             virtually [1] - 19:17      washing [1] - 84:24
US [4] - 41:9, 207:13,                             250:12, 250:19,
                          54:21, 54:24, 61:19,                             virtue [9] - 92:8,         Washington [2] -
 221:12, 236:20                                    251:10, 252:7,
                          61:25, 62:22, 63:9,                               133:18, 147:3,             1:17, 1:20
USA [2] - 1:8, 183:3                               253:4, 253:19
                          64:6, 65:11, 65:12,                               147:25, 149:19,           wasted [1] - 163:16
Usage [2] - 63:25,                                Vascepa's [6] - 63:20,
                          65:13, 65:17, 65:24,                              150:12, 185:23,           watching [1] - 29:16
 66:14                                             64:24, 67:13,
                          66:9, 66:12, 67:11,                               211:2, 260:11             watermarks [1] -
uses [1] - 172:8                                   112:25, 115:9, 117:4
                          67:15, 68:1, 68:8,                               vis-à-vis [2] - 177:2,      152:23
                                                  vast [2] - 47:4, 47:8
                          68:21, 68:24, 68:25,                              220:3                     Waxman [3] - 29:17,
                                                  vau [1] - 165:10
                          69:2, 69:3, 69:6,                                visits [2] - 81:25,         169:8, 174:9
                                                  Vegas [1] - 2:8
                          69:9, 69:13, 72:14,                               143:19                    website [1] - 13:1



         MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                             (775) 329-9980
  Case 2:16-cv-02525-MMD-NJK Document 365 Filed 02/05/20 Page 350 of 350


                                                                                                           48
week [10] - 88:10,         297:24, 298:2               195:15, 196:22,
                                                                                           Z
 92:23, 100:21,           whole [8] - 55:22,           203:16, 212:20,
 104:4, 104:15,            69:15, 91:24,               223:21, 224:7,           zero [5] - 147:8, 151:9,
 119:5, 138:24,            107:20, 122:2,              233:6, 250:10,            204:10, 214:23,
 138:25, 292:5             168:2, 209:23,              250:21, 273:21            214:24
weekend [1] - 258:21       234:10                     workforce [1] - 136:19    zoom [1] - 199:3
weeks [22] - 37:23,       whole-scale [1] -           works [2] - 18:12,        Zuchero [1] - 78:4
 38:2, 38:5, 40:10,        234:10                      170:8
 40:11, 40:18, 40:21,     Wicker [1] - 78:2           world [2] - 22:12, 28:1
 40:25, 41:23, 41:24,     wide [1] - 21:11            worry [1] - 162:24
 138:22, 139:1,           willing [5] - 91:3, 91:6,   worthy [1] - 130:14
 156:7, 175:5,             91:11, 92:5, 119:23        write [1] - 297:23
 217:20, 290:9,           window [6] - 37:20,         writes [1] - 35:25
 290:15, 291:13,           54:3, 80:18, 86:10,        written [3] - 7:5,
 292:10                    124:22, 130:9               192:11, 237:6
weigh [2] - 90:10,        withdraw [3] - 80:18,       wrote [1] - 296:21
 133:25                    284:15, 286:14
weight [3] - 68:10,       withdrawing [1] -                      Y
 68:18, 88:6               265:13
welcome [1] - 22:7        withdrawn [1] -             Yahoo [1] - 258:7
well-designed [4] -        289:10                     year [18] - 20:23,
 36:24, 235:14,           witness [41] - 48:14,        34:17, 34:22, 41:1,
 238:8, 239:11             48:19, 48:21, 49:3,         60:9, 85:21, 86:1,
well-established [1] -     77:13, 86:19, 86:23,        102:10, 105:3,
 41:7                      87:24, 88:14, 88:17,        107:15, 146:16,
well-known [3] -           88:20, 125:24,              170:8, 182:1,
 142:22, 192:13,           126:2, 162:4,               244:23, 257:9,
 192:17                    163:12, 199:24,             257:15, 257:24
well-served [1] - 10:7     199:25, 200:3,             years [47] - 27:24,
well-studied [1] -         200:8, 200:10,              29:19, 31:24, 32:4,
 218:16                    212:24, 263:7,              33:5, 40:18, 54:20,
WEST [1] - 2:7             263:8, 263:11,              55:3, 56:1, 62:3,
West [5] - 3:11, 24:19,    263:22, 264:22,             62:4, 62:9, 89:13,
 24:21, 24:23, 24:24       267:10, 285:19,             107:1, 140:1,
West-Ward [2] -            287:18, 287:23,             141:19, 143:20,
 24:21, 24:23              291:9, 293:3, 293:4,        149:13, 165:11,
West-Ward's [2] -          293:5, 298:8,               169:6, 169:10,
 24:19, 24:24              298:13, 298:21              170:4, 170:9,
whatsoever [2] -          WITNESS [9] - 49:8,          170:21, 170:23,
 40:19, 290:12             114:25, 157:13,             172:9, 173:12,
whereas [1] - 271:7        228:14, 233:21,             173:17, 174:1,
whereby [1] - 136:24       238:24, 264:24,             174:10, 175:4,
wherewithal [1] -          265:6, 287:17               182:14, 188:11,
 167:13                   witness' [1] - 297:1         193:13, 212:6,
white [1] - 10:5          WITNESSES [1] -              212:7, 226:12,
Whitt [4] - 3:8, 7:13,     300:3                       237:8, 237:9,
 8:12, 8:15               witnesses [7] - 290:8,       257:21, 257:22,
WHITT [28] - 1:15,         290:15, 292:4,              259:7, 259:16,
                           293:9, 293:17,              273:1, 276:22,
 8:15, 9:6, 9:9,
                           293:24, 298:17              291:22
 287:25, 288:18,
 288:23, 289:4,           women [3] - 91:4,           yellow [1] - 16:25
 289:7, 291:21,            119:22, 141:19             Yokoyama [12] - 33:6,
 292:6, 292:9,            wonder [1] - 287:22          46:17, 188:20,
 294:21, 295:6,           Woolley [1] - 78:3           188:22, 237:9,
 295:10, 295:12,          word [5] - 9:22, 206:8,      242:15, 244:8,
 295:16, 295:20,           206:13, 222:22,             270:23, 270:25,
 295:23, 296:15,           253:20                      271:3, 271:14, 273:1
 296:20, 296:23,          words [15] - 9:3,           yourself [2] - 50:16,
 297:7, 297:13,            181:6, 187:11,              176:10
 297:19, 297:22,           191:9, 191:13,



          MARGARET E. GRIENER, RDR, CCR NO. 3, OFFICIAL REPORTER
                              (775) 329-9980
